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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 2 of 486 PageID: 681
     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 3 of 486 PageID: 682
Renee Dahring, MSN, RN, CNP,CCHP, FAANP                                                        Ph: 651-484-6183
3110 Evelyn Street, Roseville, MN 55113                                         Email: mindthegaps@comcast.net

Education

       University of Minnesota, Minneapolis, Minnesota
               Masters of Science in Nursing – May 2000
               Family Nurse Practitioner Program

       North Dakota State University, Fargo, North Dakota
              Bachelor of Science in Nursing – May1989

       Moorhead State University, Moorhead, Minnesota – 1985 through1987
             Pre-nursing coursework

Licensure and Certification

       ANCC Board certification - Family Nurse Practitioner
       Minnesota State Registered Nurse
       Minnesota State Public Health Certification
       DEA registration
       Certified Correctional Health Professional (CCHP)

Professional Experience

       Centurion, Roseville, MN
         Per diem NP – July 2020 to present
               Provide acute and primary care for Hennepin County Workhouse

       Anoka County Jail, Anoka, Minnesota
          Independent contractor, March 2018 to present
              Nurse Practitioner services to inmates in the jail.

       University of Minnesota, Minneapolis, Minnesota
         Teaching Specialist, Sept 2011 to present
               College of Nursing – Family Nurse Practitioner Program, Entry Level Masters Program

       Metropolitan State University, St. Paul, Minnesota
        Community Faculty September 2019 to present
              Family Nurse Practitioner program clinical skills instructor
        Community Faculty 2009 - 2012
              Instructor for pre and post licensure nursing health assessment course

       Advanced Practice Solutions, Little Canada, Minnesota
         Director of Clinical Services, 2016 to 2018
         Nurse Practitioner, October 2001 to 2019
               Acute and primary care to adults and juveniles of both genders in Ramsey County Correctional facilities.
               Other assignments included prisons, Healthcare for the Homeless project, public health agencies,
               refugee screening, family planning and urgent care centers.
         Clinical Director 2006 - 2009
               Recruiting and hiring of NP’s and PA’s for per diem and locum tenens assignments. Development of job
               descriptions, hiring strategies, strategic planning. Responsible for coordination and oversight of website
               and database development as well as marketing and public relations initiatives. Involved in company
               strategic planning.

       Centurion, Roseville, Minnesota
        Nurse Practitioner, casual - October 2016 to March 2019
               Provide direct care to inmates in the state prison

       MEnd Correctional Care, Waite Park, Minnesota
        Nurse Practitioner, part time April 2012 to August 2016
             Provide direct care to inmates in several jails in Minnesota
     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 4 of 486 PageID: 683
Renee Dahring, MSN, RN, CNP,CCHP, FAANP                                                        Ph: 651-484-6183
3110 Evelyn Street, Roseville, MN 55113                                         Email: mindthegaps@comcast.net

         Open Cities Health Center
           Nurse Practitioner, Sept 2011 to May 2014
                Acute and primary care for inmates in Ramsey County Correctional Facilities
                Development policies and procedures, provided continuing education for nursing staff

         RHSC, Minneapolis, Minnesota
          Nurse Practitioner, February 2003 to December 2004
               Provide acute and primary care to adults and juveniles in Ramsey County correctional facilities

Leadership and Committees

         National Commission on Correctional Health – Nursing Education Subcommittee – 2018 to present
         Minnesota APRN Coalition – President 2014-2018 Chair of Education Planning Committee and Legislative
         Committee 2018 to present, Communications Chair 2013-2014,
         Minnesota Prescription Monitoring Program Advisory Task Force 2016 to present
         Reviewer – Rural Advanced Practice Provider Loan Forgiveness Program 2019
         Legislative Advisory Committee on Standards of Care for Incarcerated Pregnant Women – 2014 to 2018
         Clinician 1 Editorial Advisory Board Member 2015 to 2019
         Board of Directors 3rd District Nurses Association – APRN Director 2005-2007
         APRN Steering Committee – 3rd District Nurses Association 2005-2008
         Fellow American Association of Nurse Practitioners (FAANP)

Memberships

         American Association of Nurse Practitioners
         Academy of Correctional Health Professionals
         Minnesota APRN Coalition
         American Correctional Nurses Association

Awards

         2018 State Award for Excellence – American Association of Nurse Practitioners

Presentations

PRESENTATIONS
National
            10/2018                 “APRNs in Corrections” NCCHC Fall Conference, Las Vegas, NV

            10/2018                 “Breathing Easier – Managing Asthma in Corrections” NCCHC Fall
                                    Conference, Las Vegas, NV

            11/207                  “Breathing Easier – Managing Asthma in Corrections” NCCHC Fall
                                    Conference, Chicago, IL

            06/2017                 “Resumes Worth Reading”, American Association of Nurse
                                    Practitioners Conference, Philadelphia, PA

            05/2017                 “Alcohol Withdrawal Management Protocols and Staff Education”,
                                    NCCHC Spring Conference, Atlanta, GA

            04/2011                 “Job Search Secrets and Resumes Worth Reading”, American
                                    Academy of Anesthesiologist Assistants 35th Annual Conference,
                                    Destin, FL,

State, and Local
     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 5 of 486 PageID: 684
Renee Dahring, MSN, RN, CNP,CCHP, FAANP                                                     Ph: 651-484-6183
3110 Evelyn Street, Roseville, MN 55113                                      Email: mindthegaps@comcast.net

          Annually 02/2015         “Resumes Worth Reading”, Annual Minnesota Nurse Practitioner
          through 02/2019          and Nurse-Midwife Student Conference, Minneapolis, MN

          09/2019                  Protecting your Practice” Correctional Health Conference,
                    “              Alexandria, MN

          10/2018                  “APRN Advocacy” MN NACNS Fall Conference, Burnsville, MN

          10/2018                  “Finding the Sweet Spot – Diabetes in Corrections” Correctional
                                   Health Conference, Alexandria, MN

          04/2018                  “Legislative Update” APRN Summit and Pharmacology Review,
                                   St. Paul, MN

          09/2017                  “Diagnostic Cues and Clues” Correctional Health Conference,
                                   Alexandria, MN

          06/2017                  “Common Clinical Issues – I’m all Ears”, 1st Annual Correctional
                                   Healthcare Nursing Conference, St. Cloud, MN

          09/2015                  “Breaking Bad - The Role of the Correctional Nurse” Correctional
                                   Health Conference, Alexandria, MN

          02/2015                  “Healthcare in Corrections”, Southeast Asian Services,
                                   Minneapolis, MN

          09/2014                  “Breathing Easier – Managing Asthma in Corrections” Correctional
                                   Health Conference, Alexandria, MN

          11/2013                  “Gut Feelings: Assessing Abdominal Pain” Correctional Health
                                   Conference, Alexandria, MN

          06/2013                  “Women in Corrections” HealthPartners OB/GYN Wabasha Clinic,
                                   St. Paul, MN

          11/2012                  “A Systematic Approach to Assessing Chest Pain”, American
                                   Correctional Health Services Association (MN Chapter),
                                   Alexandria, MN

          05/2010                  “Corrections 101”, Long Prairie Memorial Hospital and Home,
                                   Long Prairie, MN

          03/2010                  “OB 101: The Pregnant Inmate”, Adult Detention Center, St Paul,
                                   MN

          09/2009                  “OB 101: The Pregnant Inmate”, Ramsey County Correctional
                                   Facility, Maplewood, MN


Publications (solicited)

       Dahring, R. (2010). Taking Call, Lessons from Experience. Advance for Nurse Practitioners, 18 (4), 45-46

       Dahring, R. (2010). Today’s Job Market? Bound to change. Advance for NPs & PAs, 1(1), 16
     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 6 of 486 PageID: 685
Renee Dahring, MSN, RN, CNP,CCHP, FAANP                                                      Ph: 651-484-6183
3110 Evelyn Street, Roseville, MN 55113                                       Email: mindthegaps@comcast.net


       Dahring, R. (2010). New Grad or unemployed? Don’t get rusty while waiting. Advance for NPs & PAs, 1(3), 14

       Dahring, R. (2011). Need Job, will Travel: Consider locum tenens. Advance for NPs & PAs, 2(1), 18

       Dahring, R. (2011). Locum Tenens, part 2: What’s in it for you? Advance for NPs & PAs, 2 (3), 20

       Dahring, R. (2011). Your Journey is just beginning. Advance for NPs & PAs, 2(4) 39-40

       Dahring, R. (2011). Working with recruiters: What’s the real deal? Advance for NPs & PAs, 2(5) 14

       Dahring, R. (2011). Overcoming negatives in your work history. Advance for NPs & PAs. 2(7) 16

       Dahring, R. (2011). The big question: How can you find the right fit? Advance for NPs & PAs. 2(9) 11

       Dahring, R. (2011). Image Alert: What do you look like online? Advance for NPs & PAs. 2(11) 17

       Dahring, R. (2012). What’s on tap for NP and PA jobs in 2012? Advance for NPs & PAs. 3(1) 11

       Dahring, R. (2012). Contract Negotiation: Don’t be afraid. Advance for NPs & PAs. 3(3) 18

       Dahring, R. (2012). Finding Your First Job. Timing, resume writing and other advice. Advance for NPs & PAs. 3(4)
       26-27

       Dahring, R. (2012). Who –or what – is reading your resume? Advance for NPs & PAs. 3(5) 15
       Dahring, R. (2012). The top 5 faux pas committed by job seekers. Advance for NPs & PAs. 3(7) 18

       Dahring, R. (2012). Before you answer the phone, Read this. Advance for NPs & PAs. 3(9) 13

       Dahring, R. (2012). Conferences offer much more than education. Advance for NPs & PAs. 3(11) 17

       Dahring, R. (2013). Predictions and Resolutions for 2013. Advance for NPs & PAs. 4(1) 7

       Dahring, R. (2013). How to Plan for Your Job Search. Advance for NPs & PAs. 4(5) 19

       Dahring, R. (2013). Contracts: Avoiding the Wrong Regrets. Advance for NPs & PAs. 4(7) 16

       Dahring, R. (2013). Where’s Your Mountain and how will you climb it? Advance for NPs & PAs. 4(9) 13

       Dahring, R. (2013). Cover Letter Caveats. Advance for NPs & PAs. 4(11) 13

       Dahring, R. (2013). Don’t sabotage your 2014 Job Search. Advance for NPs & PAs. 5(1)


Other publications (solicited)

       Author of a biweekly blog titled “Career Coach” (2009 to 2017) for Advance (Merion Publishing) Topics are
       market, professional issues and job search advice for NPs and PAs. www.advanceweb.com

Miscellaneous

       Owner of “NP Career www.npcareercoach.com which provides information on resumes, interviewing and job
       searching, current market trends as well as workshops and seminars for NPs and other advanced practice
       clinicians.
       Served as Expert Witness for correctional health. Have reviewed and supplied opinions for over 25 cases in
       various states.
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 7 of 486 PageID: 686




                                                        AUG O7 2018




                     FREEMAN, □ ONELL
                             12/25/1975




                                                              MCCI MED RECORDS 1
     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 8 of 486 PageID: 687
 Monmouth Adult (MCCI}
 1 waterworks road                                                                         Patient Profile - Su1n1nary
 Freehold, N,J 07728
 732-866-3665 Fax 732-866-3669
 732-866-3665 Fax 732-866-3669
   Patient Name                                                                    Pafient Number                       DOB                                    Age                   Gender
  FREEMAN, DONELL                                                                  CCS_26184                            12/25/1975                             42                    M

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i Allergies
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  Allergy Items                            No Known Allergies             N/A                           6/30/2015                     Yes                   Added via dynasnic ilocumeur
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 Acute                                      Symptoms                            Abnormality of Gait         781.2             J/19(2016                            No                      Yes
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 Acute                                      PSYCH: Depression                   Unspecified Major           296.30            6/30/2015                            Yes                    Yes                I.
                                                                                Depression, Recurrent                                                                                                        !."
                                                                                Episode

 Acute                                      PSYCH: Sub:st.ancc Abu:sc           Alcohol Abu:;c              305,0             (i/30/2015                           No                     Yes
 Chronic                                    RESP: Asthmo                        Asthma Not Otherwise        4lJ3.9            6/30/2015                            No                     Yes
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 No Active Diets

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 6/30/2015              6/J0/2015 2:25:00 PM              7/2/2015 8:00:00 PM      0                        No                            No                             No

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 No Active Special Needs




 3/20/2017                    100     18           98.00          NIA      70.00       121194         NIA            NIA            NIA          No           NIA        No         NIA          NIA
 8:45 AM

 2/21/2017                    81      18           98.70          NIA      70,00       118/7[         N/A            NIA            NIA          No           NIA        No         NIA          NIA
 8:43 AM

 111412017                   79       16           97.50          NIA      70,00       123/86         NIA            NIA            NIA          No           NIA        No          NIA         NIA
 1;36 PM
 1/9/2017                     IOI     16           98.10          NIA      70.00       141183         NIA            NIA            NIA          No           NIA        No         NIA          NIA
 9:57 AM

 J/8/2017                    98       18           98.00          NIA      70.00       134197         NIA            NIA            NIA          No           98         No         NIA          NIA
 4:20 PM

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   Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 9 of 486 PageID: 688


! Vitals cont'd                                                                                                         1



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9/22/2016        IOI    16    98.70    200.00   70.00   128175      NIA    28.7   NIA   No   NIA       No   NIA   550
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 7113/2016       74     16    98.40    NIA      70.00   123180      NIA    NIA    NIA   No   NIA       No   NIA   NIA
9:53 AM

6/24/2016        NIA    NIA   NIA      200.00 70.00     NIA         NIA    28.7   NIA   No   NIA       No   NIA   NIA
 10:32AM

6/24/2016        94     16    97.90    NIA      70.00   101/78      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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6/20/2016        I I5   16    97.70    199.00   70.00   106/68      NIA    28,6   NIA   No   NIA       No   NIA   NIA
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3i24/2016        M      18    98.70    NIA      70.00   134/76      NIA    NIA    NIA   No   NIA       No   NIA   NIA
 11:12AM

2/26/2016        64     16    97.80    NIA      70.00   120/74      NIA    NIA    NIA   No   NIA       No   NIA   NIA
11:04AM

 12/15/2.015     63     16    97.20    NIA      70.00   [32/73      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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 12(1/2015       60     16    97.50    199.00 70.00     11sn1J      NIA    28.6   NIA   No   98        No   NIA   425
 9,56 AM
 ! 1/13/2015     62     16    97.80    NIA      70.00   L24l80      NIA    NIA    NIA   No   97        No   NIA   NIA
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7/27/20!'5       63     NIA   97.90    205.00   70.00   l \3/59     N/1\   29.4   NIA   No   NIA       No   NIA   450
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7/2612015        62     16    98.30    NIA      70.00   104/67      NIA    NIA    NIA   No   NIA       No   NIA   NIA
8:23 PM

7/25/2015        74     L6    98.91}   NIA      70.00   [36191      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7/23/20\ 5       62     18    97.90    NIA      70.00   123/74      NIA    NIA    NIA   No   NIA       No   NIA   NIA
3:15 PM

7/,21/201 S      66     18    98,10    NIA      70.00   I0\/64      NIA    NIA    NIA   No   NIA       No   NIA   NIA
7.:30 PM
7120/2015        102    18    98.10    NIA      70.00   115/78      NIA    NIA    NIA   No   NIA       No   NIA   NIA
4:0llPM

7/19/2015        54     16    98,30    NIA      70,00   104/67      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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711812015        65     16    97.10    NIA      70.00   118176      NIA    NIA    NIA   No   NIA       No   NIA   NIA
7:00AM

7ll512015        55     18    98.00    NIA      70.00   102162      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7114/2015        62     18    97.30    NIA      70.00   104/71      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7/13/2015        60     18    98.00    NIA      70.00   113/76      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7/12/2015        69     18    97.20    NIA      70,00   103/69      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7/1112015        70     16    97.90    NIA      70,00   112/77      NIA    NIA    NIA   No   NIA       No   NIA   NIA
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7110/2015        50     18    98.30    NIA      70,00   98147       NIA    NIA    NIA   No   NIA       No   NIA   NIA
4:00PM
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    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 10 of 486 PageID: 689

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  7/7/2015                     63                    18           98.20   NIA      70.00   96165     NIA   NIA    NIA   No   NIA   No   NIA   NIA
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 7/6/2015                       50                   18           98.00   NIA      70.00   98/55     NIA   NIA    NIA   No   NIA   No   NIA   NIA
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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 11 of 486 PageID: 690




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    Last Move                     TLs~itut        Loca~ion              Rec'd pate/Time                    Inmate C!.asa                                      g:ective
        6-30-2015 11,og           MCCl            D   02                  t;-)O~2O1s 13, 09                GJ Grand ,Arry                                      6-30-2015



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    Terror1stic Threats                    Sex offender                            ¥son Hist.ory                                                                    Psych Hl~,t~o,r~y____
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    Child Abuse                            Prior Probations                                                                                                         Escape H:1.story
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    00                                     00




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    1otal Term         None




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                              CJ-lUFLCT BI            OR USE
                                                                Cl5--2Al
                                                               FORCS- ON CCU OR             ....    Pend.log Grand J

                                                                                                      Court & Next. tlate
                                                                                                                             6-~0-2015            Unpri.id
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        6-30 :2015- C 0       Aberdeen Twp                                                          Set                      6-lo-101s            vu~l cash aonq                 JS0,000.00
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                              ROBBERY-BI                                                                                     6~1c-2oi~            ~npaid                         150, 000_, 00
                              VWlf '!O' BE       FAXED                                                Court & Next Date




    Emergenc:yl karen                             boet:.eng

                                                                                                                                                               MCCI MED RECORDS 5
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 12 of 486 PageID: 691




            732-915-00ii
            Girlfriend




current Addr     DONELL                     FREEMAN
                 33 :rel'l'\sen ave                                                 )-:


                new brunswlck         N.1   071.0:J
                 XX None
                 (T32.) 846-7221




Alias       hY.A SSN 145-86-481B
                                                                                    ii
            7-.Y:A DOB o8/l7N7
            '.Lhll'10RE                         SllANDALE:
            GRAY                                NARK
            SPEAA                               MAR.QUAN
            WILLIAMS                            MARQUA.N
            F'OLK                               IGNNETtt
            SSN'ffc 452566500
            FREEMAN                            DARNEL,L




scars/7attoos/Markinzs

SV.Ju,L SCAR ON RT. EYE




                                                               MCCI MED RECORDS 6
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Printed: 613012015 at 1:52 AM                                                                                                                                 P.::ige: 1/4
                                                                           Bayshore Community Hospital
                                                                                727 N BEERS ST
                                                                                      HOLMDEL, NJ, 07733
                                                                                           (732)739-5924
Physician Notes
Patient Name; FREEMAN, OOt4ELL                                                        Date of Service: 06129/2010         1:3.D Physl{llan: Yuan
Dat~ of Birth: 12/25/1975                  Age: 39 Yrs       Sex; M              Ch•rt#: 6300127934              Medfec#: 00591513           PMD:
HlSTOlU' OF PRC:~E:N-:.' l!.,L,H\!!;s: DON!i:LL }'R~£MA.N :s a 3:1 -yeQ.!:'~Qld ½al@ who presents v.ia pc.lice ~or: evu.luat..io:n ...,fteL
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<111y cu-:1·;;i1;~ si.l~lcl~ t:l..n•, :)1,hcr p!,lycr.i.;tr~c llY!!IPCOn·s:     (-i hallwc~not:or:s, 1-; homic:,_L.nl L::c.itHlll.                 OLherwise:
 (-1 fevi:r,       '.-! hea..::cch':, \-: dyspnarl, (-; vcmitin.g, (~l s:ubstan.c~ abuse. Hes hJstcry of r,sycr.:<iltr.k dis~rde~:
d.i:!.~tP..':.Si.OO.




Re\lIL~l (if ~YS'l'l-:MS:Uthet \,hell\ the ~)'1\\1)\..C!\\& M,:":>QC,\.<1.\.1:1,J \'Jl.\.h ';,ha ptes"'nt li!'Jer,l'.s, Ll',1: !:OlH:iw:.oq :.s repo.r.~ed ·,;nh
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vn·A:, SIGNS~        Per ou:se'          t1.;..c.e, reviewed by me Bl?; 12~/90, HR: 116, RR: 20, 'f~ 9U.9 deyrees.
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IIE:AD:    (-} sc.:;.lp/t.".IC.1,a.l f:well1.aq, (-) ,;talp/fac:lal ter,de:r:riess.
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&:N~·r: Mu<!t.m!> mtlmO!daes ~10.1.st. Ai.n,ay patent:               {-I s:..r::.dct. (-) ~dor of alcohc.:.
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J-\F.AR1' Alm CARD10\11'S\.Ul,Ah;           {-) Hreg\·.J..arity, {-j fl'l',H:IDUl', l-) g~Unp.
ABDU."1EN AND Gl:         $0!•_;     -'.i ~endertH~~:!.
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~::tremit?Cs; Wlf7,.
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l?SYCH:       t-:      apparent ;·,,;.,lu<::na-;.ions o:- {i.'.'lus:l.ot1s. A::fcct: normrll.



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 FREEMAN, DONELL                                                              Medree #: 00591513                            Coait#:     6300127934



                                                                                                                                                    MCCI MED RECORDS 7
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                                                                                              727 N BEERS ST
                                                                                            HOLMDEL, NJ, 07733
                                                                                               (732)739-5924
  Physician Notes
 Patient Nam.: FREEMAN, DONELL                                                                     Date- of Service: 06/29/2015        ED Phya;lcian: Yua11
 Oatoof Birth: 12J25/1975 Age: 39 Yts                                   Se)t: M                  Chart#: 6300127934         Medrec #: 00591513          PMO:
  PLl'l'l'ELf::'l'
  RUW
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                                                                                H
                                                                                        '                 :J5,0-IJ3.0            p
 LYHPJJ P.E::RCF.NT
 MOHO ?E:'RCENT
 1,:05 PrnteNT
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 13!-.SC ?l:RC8lff
 U£.U1' ABSOL
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 f;c'.JS J\.BSOL                             {1.1)                                      10.,.3/uL         0.0-(i.~/              p
 13ABO Al:iSOL                               O, l                                       l{p•3/ul,         0.0-C.l                p




 BALC-ALC08C1,                                                               "'D<1t!! l:.ad;U29/2C::.5 10:0,1 :55 J?M

                                             Result                             f'lag Uriit               Ref' RartgB

 ALCOHc;.,                                   164                                B       rng/dL            <10
 ALC:Crnc:;..,                               Ttl3 tes~ is for medical purpos~s o~ly.                                                                          F
 A:.C()HO~                                   Tte spe~im~n bas been received without
 A.:..CCJHOL                                 c\~ain o! custoCy and \\a.s aot. been                                                                  F
 hi,COHO'L                                   h;;ndled as ii .legaL specimen.




 Ml:l'f3-META8Q,:,'f.C E'ROFILE:                                                             1   Date Bad::6/29/::!•JlS lC:0l,.:55 PM

                                             Result                             flag Unit                 Ref, R~ngf.            Status

 SOOI~                                       142                                        MMOL/L            131- us                E'
 PO'fhSSlU~                                  .IJ •   3                                  nuool/l.          3,6 ... 5,1            F
 C~LOH1DE                                    104                                        nul'lol/:.        ~8-101                 F
 CO2                                         :'I                                L       m,1101/L          21-30                  F
 BLODP :llH~A UllROOtr;H                     13                                         mg/df..           1-20                   r
 llLUCOS£,                                   96                                         MG/D1             74-1C6                 F
 cR::l\TI!\rNB                               l. 37                              H       MG/DL             0,66-; .. ~'~          t
 CAL(;.'.::.UM                               9 ,,                                       111g/dL           8.4-10,~               r
 ~~TON GAP                                   21                                 H                         9-18                   E°
··.CAt,t:Uh1'..'ff!i) OSHO                   283-- -         -       •-'"-·~·---· - -        ·- - - - - · - - -          .. -----.-f'~·
 sut1 CRI:! ~J:i:.cro                        ~
 G'l:'H. AF'BICAN-)i.t~ER  >60                                                                            >6C
 Gf'R l~ON AFR!GAN,-.l\Mi$ 5U                                                   L                         >60
 Gf'R Nd~ AFRH:Mf-A~R S.:ages (>! Cbrouic: Kiclney Digease tCi.\!J!                                                                                       F
 GJ;'f< #ON A!:RlGt).N-AMER S-:age l)P..'H;J.' j.-_ptlon GFR ml/min/:, ')Jm2                                                                                                        F
 GF'i' UON A.i:AiCAN-At-l£R l                            K]dney flamO?ge. w/No:nri/Hi GFR                       >90                                                       F
 GP~. NO.N Ar~lCAN-Mllm 2                                l{idnej' li.sma,je w/!'J11.ld d.e.crease G,·:~         6C-!i9                                                        I•'
 GF.l. NG:'\ Al:RlCl\H-1\MER 3                           ModeYate. Mcrease GfR                                  3()~$9                                                        p
 GFil No:-; AF!l!C,\N-AMER 4
 CF.fl.    NON      .1\lrr..:cJi,~l-Mlli!R   5
                                                         Severe d~craa~e. GFR
                                                   ;<,idni!Y 1ail'..l~e 01:. d!.alya..l.s           <15
                                                                                                                15-29                                                     ,, F
 GFR       NON      Ar'fiTC/\N-1'Y,F,R       ?.he eGFR is• not acc.ui'ate for \Tah.:.e.!l
 GFR       NON      AF'R1CMI-AMER            ""->60 ml /min O.t:'- fot Gpf( St.~g,a 1 Ot St.fltje :!                                                                  r
 GL"R     .NON      A~'H.ICAN-Af1ER          CKD is defined us eGFR <6Q ml/u1i11/l. 73m2                                                                          F
 mm        ~IC!li   AHt(CAM-AMfi:K            for .,,,..,.3 111on1.,hs- wi.th or w~L1iout. hidn~y· da,1\<1gc.                                                                       r



  FREEMAN, OONELL                                                                            M•drec #: 00591513                           Chart#:   6300127934


                                                                                                                                                                  MCCI MED RECORDS 8
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                                                                                                                                                                      i.




  Printed: 6/30/1015     flt   1:52 AM                                   Bayshore Community Hospital
                                                                               727 N BEERS ST
                                                                             HOLMDEL, NJ, 07733
                                                                                (732)739-5924
  Physician Notes
  Patient Name: FREEMAN, DONELL                                                   Date of Sorvice: 06/2912015            ED Physician; Yuan
  Date oi Birth; i2125!1975 Age: 39 Yrs                       Sex; M         Cho.rt#: 6300127934               Medree #: 00591513         PMD;
 ~=~-~-==~~=--~~==~-==~--==~-==~=~==b=====~=--~----~=--=                                    --=~~••c,,,•-·,"'="'----"'
  Tes7.                            Ret.1ult                          f'lag Unit          Ref. Range             Status

  APPEARAHCE                       cu:r,,R                                                                         e
 URINE; CO!.OR                     \'F.U,OW                                                                        e
 ~RINE GLUCOSE                     t-1£fiA'f1VE                           mg/dL         NEG                        F
 l;\'UN£ BlLI                      tH~G1~•rf.\'El                                       IJE<.l                     r
 URTNE IIETONES                    'I"RJ,::E                        A     mg/dL         NCG                        r
                                   >='..'.• 030                                                         03 □
 URrnE SPEC GRll.VlT~
  l)IUNE BL()OO                    'fM:.:r-                         A
                                                                                         1. 1)05-1.
                                                                                         NCG                       ,.
                                                                                                                   F

 URINE      PH
 URINE PM'I'E:IN QUAL
                                   ::i.t:
                                   Tt~/\:'.:E                       A     MG/OL
                                                                                         5,0-9.0
                                                                                         NCG                       ,.e
 OR URCSII,WOGF.M                  0 "                                    EU/DI.         0. '.:!-1. 0              f
 URINE: NT!RlTES                   NF.c,;i:rns:                                          NEG                       r
 OS J..ELJKOCi:'-Yli:S             NEl,.A'L'l\l!!:                                       NEC                       F




 RJMlC -s'.IR M-1 CRO                                              *Date B2.ck;6/29/2015 10:37:55 PM

 Te.st                                                              fldg Unit           :l.ef .R,rnge              St",iHUS

 mnN!J; RBC'!;                     o-:(                                   /HPf           0-2                       F
 BAC't'&;R~A                       occ:1n:w                               /HPf.                                    r




                                                                     £lag Unit          Ref. Ri:1.MJ8              Sca.tus

 URrnE CANNABINOlDS                l>OBITJVE                         A                   NB\;                      r
 URIN~ P~ENCYCLIOIN~               ITT:.GA~IVE                                          NEG                        f
  ORIN£ COCAINE                    »a~lT!VE                         A                    NILG                      F
  ORIN£ NE'rllAMnJE:'rAt).'JNli: Nl',·JATIVE                                              MEG
 UR!H£         0P1Ar£S.               N£GAT1Ve                                           NEG                       F
 ORINB         AMPHE1'.~tUN£S         NEGl;.'J'IVP,                                                N~G             p
 URil~t        BENZODTAZBPINE Mfll'1'1V2.                                 A                        tff.(;          F
 URJ.NE.       TRIC'lCl.lC AN'fil)Jl:f'RESSA~•r NEGAT1Vt!                                                     Nl!G
 UlUNE         !-'!l!:TllADOm!       NE:GATIVS                                                     N~G             F
 URINF.        DARB'l;.TURATF:S       NFGl\'!'IVF.                                                 trnc            r
   URINE; OXtCOOONE                  'N'"EGATJ}.,'E                                                NE:i;           F
   l/R1.l:,IE FROi?OXn1-lll.n~e      1'/£GA'rlV~                                                   NeG             r
__ Uflllel.-.S.Ck.-l. INl'ERe.- .. ~-'l'hi:!Se _ahS.a.ys._.pl'..01!.i.d.e._pr_el.iJttl"'.la"'y sc•·eeru.n.q_ _ _ _ _ __
   DRUG .SCRN l.Wl'ERP                )i'OH Mim:cAL PURPOSES ON1Y.                                                            r
 DHLIG S:CRN !N'l'E:RP             Spe~linen an..ilys:ia wo1s performad                                                           f
  DRUG E.CHN lWl'ERP               wit;hO\\t, chai:1 of oµstody handlinrr,                                                            f
  DRUG SCR<.\I lN'fSRJ?            l.t {:onfir:uat:ory t-e.stii-.g of 1:1 pt~.!iiti\le                                                     F
  DRUG SCRN IN·rm\P                acx:aenin.g rli!.i;~1;t:1,: is cllnic:ally· indicated                                                         b'
 DRUG SCRN UlTERP.                 pl1,1;1se submit ar. ot<Jer S}?e.ci fyin$ the rJ:::·ug                                                             r
 DRUG SC}I.N INTEIH'               to .ca Jnalyzed by our refe.t:ah-!:e· laboratory                                                                   e
 D~UG S.C_RN l!~'l'El~P
 DRIJG SCRN INTERP
                                   b_y a mo.re sp1;.1c.H:i.<:: 'me'thocl.
                                   Thf: fo11owin9 ~re cut off val.ue,<;; for the                                              "                  F
  bf<l)G SCR~ IN'1'£l'H'.          sc!.'~tm.in,;i assnys:                                                          f
  CHUG SCRN       r.:~rn::fw       C,;11:n_,binci.,;i                                    50 ng/ml,                                                        r
  PRtlG    SCRN   JNTERP           Ph~•ri~yc;. i.d.J ne                                  25 n_g/r:1.l.                                                    r
  i)RtJG SCRN lN 1rnRF'            Coc·~inc M.etr.ibo,l:lLes                            150 nq/mL                                                         F
  DRUG SCRN l!>:'J!B.IU!
  DRUG SCR)l 1:-:TF.\'-il"
                                   !',!l'l L-hQtr1phe t ami.r1a$
                                   Op\,;ite~
                                                                                        500 ni,J/mr~
                                                                                       100 119/r.iL
                                                                                                                                                          •
                                                                                                                                                          r
  D~OG SCRN IN'l'ERP               Arn'phett1t.i.lnes-                                  5{)0 ng/mL                                                        e
  DRLlG !:iCFl'! l\,l't'BRP        aen::o,:n azep £:)es                                 J.,SO n-g/mL                                                      r
  t:RUti SC:IU~ IN'l'lm.P          Lr}.<iydtc Ani:icl~pcessat:f.S                       300 ug/inL                                                        F

  FREEMAN, OONELL                                                          Medrec #: 0_05Sl5l3                            Chart#:     6300127934



                                                                                                                                                 MCCI MED RECORDS 9
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                                                                Bayshore Community Hospital
                                                                     727 N BEERS ST
                                                                    HOLMDEL, NJ, 07733
                                                                       (732)739-5924
Physician Notes
Patient Name: FREEMAN, DONELL                                          Date of Servi.::~: 06/2912015       ED Physician: Yuan
Date of Birth: 1212511975 Age: 39 Yre             Sex: M            Chart.#: 630012793-4       Medrnc #: 00691613            PMD:
DR!JG ~C~N IN'i'G p          Met 1ador,e                                     200 HQ/rnL                                                  F
DRUG SCRN lN'l'i!Rl?         Bc1r.bitui;a;t6S                                :'00 r.g/mL                                                 F
TJRUG SCKN IN'PEFtP          Oxyc::idone                                     : uo   r.q/mL                                               F
nP.UG SCR~ Il<IT£RP          P!'opo:-:~•phene                                JVO l:\J (.~fl.                                             p


                                                                                                                                                                iI
~ulse o;,c: 91% on RA. indicating ad~qu2.te oxygenation
      pE'lVi.o;/left. hip: t1<1p; t.cre~i in place, as ren(i by n:f-'
;,;_-(=I'{


f:MERG:'.NCY Of?AR'J'ME.N'l' COURSE ANO 'l'F\~ATMEN'l': Patient pJaced 1.n F.l!l:?1g~ncy !le-partinent physician obt;;-rvation .st«itl)S
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accm"ately .reflects t.M se.tvice I per.sona·lly performed and the decisions made :Oy rue.



  l.!1git,3lJy ~igne.d by. t)r, 'i\lan. 1 Ann-lee on 'J'•Jesdvy 1 June 30, 2015 at 01:.SO

Condition: STASLE.
Diagnosis: MVA, L HIP CONTUSION, DEPRESSION 4) POLYSUBSTANCl!.ABLISE
94760 99219 99217

These notes were digitally signed by Dr. Ann--lee Yuan M.D, on Tuesday, June 30, ?015 at 01:50



                                                                                    Physician: Yi.Ja.'11 1 Ann-lea M. D,
             PMO:

             PA:

 FREEMAN, DONELL                                                  Medret. #: 00591513                         Chart#:      6300127934



                                                                                                                                   MCCI MED RECORDS 10
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 17 of 486 PageID: 696




         MERIDIAN HEALTH               JSUMC•OMC•RMC•BCH•SOMC
                          ADULT CRISIS EVALUATION
                        70332-00SCX (9--H)S    PAGE! 1 OF 10                             6300127934 06129115                  EMR W07
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                        1111 11 1111111111                                               fAEUW-l)lOUHl
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          IDENTIFYING INFORMATION

          Patient Name:    ~ On-c.,t ( Fr-.u,WJ 0\.-1'\                        Date ol Birth:    1-i.. l'?.51 I Cl t S-
          Does the patient have a Mental Heallh Advam;:ed Direciive? l,i'No         f.JY&s
          II No, does the pa!lent request it'lformalian?                       If Yest has a copy been obttiined?
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          PRESENTATION
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          COLLAToRAL CONTACTS



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     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 18 of 486 PageID: 697                                                                                   I
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                                    MCRIDIAN BEHAVIORAL HEALTH
                                    C JSUMC U OMC C RMC :J BCH

 •.                               CRISIS DISCHARGE INSTRUCTIONS
                                      70332·007CX (10-14)S            PAGEc 1 OF 2


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                      DISCHAFIGE INSTRUCTIONS, .
                      Instructions:
                      C If condition worsens, please return to the nearest emergency department immediately. Crisis card given.
                     C Appointments arranged:
                          :J Jersey Shore Behavioral Health/TM$, Parkway 1OD Complex, Building 5, 3535 Route 66, Neptun·e 732-643-4400


                          □   Riverview Behavioral Health (Booker Behavioral Health) 661 Shrewsbury Ave., Shrewsbury 732-345•3400



                          C Children's Mobile Response (877) 652-7624:


                         0 Monmouth County Adult Face to Face Outreach Follow-up (732) 923-6999

,Q·.·
    ..
'··:,.    _-
                         ·~1 Monmouth County Cllild Clinician (732) 923-6999


                         1i/;atlent will call to arrange for appointment (specify phone number, location, type of appointment)




                     C:. Educational information provided to patient and family
                     0 Patient left AGAINST MEDICAL ADVICE (AMA)
                     ~ Patient refused all services
                     '.J LWT patient refused medical clearance; risks and benefits of refusing medical clearance discussed with
                     patient and/or family members
                     D Other lnsiruclions:
                     Patient1s Signature:·:;,('"~.' 1   •   '•. )   <,. l. ·;
                     Clinician's Signature·:_·'~~~~- --~~-.
                     IMPORTANT PHONE' NUMBERS        .. ..,.,)
                                   Addictions Holllni , •....... , ... 800·322-5525                    Domestic Violence .. , ......... , ....•. 732-264-4111
                                   Alcchollcs Anonymous .......... 800-245-13TT                        Women's Conter/Monmou1h ... , , ... , . , . 732·2M-4111
                                   Alanon ........ , , .... , ....... 973-744-8886                     Children's Crisis Intervention .. , , , .• , , .. 732-923-$999
                                   Detox - New Hope .•.........• 732-946-3030                          Family Crisis Intervention .. , •. , ... , .... 732-409-4826
                                   Narcotics Anonymous •.•. , •.• , . 800-992-0401                     Physician Referral Services .. , .. , .• , ... 732•776-4445
                                   AIDS Hotline , ....• , , , , , , .. , , . 800-624-2377              Poison Control , .. , , ............. , , . , 800-962-1.1!53
                                   A-Team Screening .... , ...•...• 732-774-0151                       NAMI. ..... , ........... , .. , , , , .... a00-950'NAMI
                                    Meridian Behavioral Health .... , 800-822-8905                     Ocean Counly Mobile.Screening ..... , .. 732·886-4474
                                   Monmoulh Caunly. Mobile Screening 732'923-6999

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                    MERIDIAN BEHAVIORAL HEALTH
                       JSUMC    :·1 OMC :.1 RMC -7 BCH
                               CLIENT RIGHTS
                              Bl 646-0S0CX (10-14)8
                                                                                       6300\2J934 06/2Si15               EMIi   wo7
0                                                                              .     . FREEMAN ,DONELl
                                                                               Medi<: 00591513 \2125175 39 M E0039B050B

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                                    'CO4000"

      As a client at Meridian Behavioral Health Services you are entitled to the
      following rights:
      The right to be free from unnecessary or excessive medication.
      The right to not be subjected to non-standard treatment or procedures, experimental procedures or
      research, psycho-surgery, sterilization, electro-convulsive therapy or provider demonstration programs,
      without written informed consent, after consultation with counsel or interested party of your choice. If the
      client has been adjudicated incompetent, aut11orization for such procedures may be obtained only pursuant
      to the requirements of N.J.S.A. 30:4-24.2(d)2.
      The right to treatment In the least restrictive netting free from physical restraints and Isolation.
      The right to be free from corporal punishment.
      The right to privacy and dignity.
      The right to the least restrictive conditions necessary to achieve the goals of treatment/services.
      The right to not be required to perform work for the facility unless the work Is part of the client's treatment
      and Is performed voluntarily by the client.
      The right to be notified and to have the opportunity to appeal an involuntary discharge.
0     These rights may not be denied under any circumstances                                                                                      I
                                                                                                                                                  '.
                                                                                                                                                  !
                                                                  Confidentiality                                                                 I
                                                                                                                                                  ! :
      All information and records directly or lndlrect!y identlfy!rrg any person currently or formerty receiving services from an aggncy shall
      be 1realed as confidential, and may only be di$C\osed under those clrm1tnstanoes as outlined In state law NJSA 30:4~24.3 and NJAC
      10:37-6.79.

      The confidenliallty of alcohol an<l drug abuse pauent records maintained by this program Is prolected by Federal law and
      regulations. Generally, the program may not say to a person outside the program that a patient attends tha program or disclose any
      Information idenUfying a patient as an alcohol or dtug abuser unless:
      The patient consents in writing;
      The disclosure is allowed by a court order; or
                                                                                                                                                  II
      The disclosure Is made to medical personnel in a medical emergency or to qualified personnel for research, audit or
      program evaluation.
      Violation of the Federal law and regulations by .a program is a crime. Suspected violations may be rf;lpo_rted 10 apprdprlate
      authorities In accordance with Federal. regulations. Federal law and regulations do not protect any !nform<1tion-about a crime
      committed by a palier'lt either at the program or against any person who works for the program or about any threat to commit such a
      crime. Federal laws and reg1.11auons do not protect any Information abou1 suspected chlld abuse or ne_glect from being reported
      under slate law to appropriate State or local aulhorities. {See 42 use 290dd~5 and 42 use. 290es-3 for Federal-laws and 42 CFR
      Part 2 for Federal regµlatlons)


      By signing below I acknowledge that:
      I have received a copy of my Client's Rights and these rights have been explained to rne
      I have received a copy of the Meridian Behavioral Health Grlevance Procedure
£'\   I have received Information regarding Mental He.;lth Advance Directives
-~    Client or Guardian Signatur,y;'..,\e-'_ _.:_._.:..':.:..'~(_,\..,~~•'"-·,,,_,\_ _--"'..,_/-_,Date        b) ;,, ;{;':,Time/,,;,' i)gtnfpm
      Witness Signature _ _
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06/30/2015                                     Bavshore Communitv Hosoital                                   Page: 1,
-1 :42
                                               727 N BEERS ST HOLMDEL,
                                                 NJ, 07733 (732)739-5924


Patient Name: DONELL FREEMAN                                                 Date of Set11lce : 0612912015
Age: 39Yrs      Sex: M                                                     Medical Record II: 00591513
 After Care Instructions

 We are pleased to provide you with emergency care. Please review these Instructions when you return
 home in order to better understand you diagnosis and the nece,;sary further treatment and precautions
 related to your condition.
 DEPRESSION:
 Your exam shows you have signs of mental depression. This is a very common problem since 1 person In 4 will
 have a severe depression during their lives. Although depression is very common, it is often hard to recognize.
 Symptoms of depression may include feeling unhappy or worthless, chronic tiredness, and self-destructive
 thoL1gh1s and actions. Depressed patients have trouble w(th insomnia, or some1imes they sleep 100 much. Some
 complain of headaches or feeling anxious. Depression makes it difficult to concentrate or make decisions.
 Unexplained physical complaints and substance abuse are also common problems in depression which cart
 occur at any and all ages.

 Depression is believed to be caused by an imbalance in brain chemicals. It may be triggered by an unpleasant
 event, but it may also start without any apparent reason, Relationship crises, a death in the family, financial
 worries, retiring, or other stressors are often Involved. Many medical illnesses, some medicines, alcohOI, and
 drug abuse often play a part. Depression interferes with your basic ability to function in life. It upsets your
 relationships as well as your sleep, ea\ing, and worl< habits. When you're depressed, you don't have enough
 energy to solve all your problems.

 Depression usually gets better with treatment. fhis can include antidepressant medicine, but it may take weeks
 before the proper dose and benefit are reached. Counseling, talking with a therapis~ minister, counselor, or a
 friend can help you gain insight into your problem and regain control of your life. Eating a good diet, getting
 regular physical exercise (such as wal\<ing for 30 minutes every day), and no\ abusing alcohol or drugs are also
 very helpful to recovery. Treating depression often takes 6 months or longer, but the results are good. Be sure to
 call your doctor and arrange for follow-up care as suggested by our staff,

 Please return immediately if you feel that you are not able to function, or if you feel you may harm yourself or
 others.


 FACIAL & SCALP CONTUSIONS:
 The exam today shows a contusion (deep bruise) around the face or scalp. Injuries around the face and head
 cause a lot of swelling, especially around the eyes. This is because th.e blood supply to this area Is so good.
 Usually the swelling from a contusion wilt be better in 2-3 days, but it takes 7-10 days for a "black eye" to clear
 up.

 You should apply ice packs to the injured area for about20-30 minutes every 2-3 for the first 2 days. Use mi.Id
 pain medicine as needed. Please cal! or retum here right away if you nbtice:
 • Severe pain or headache, unrelieved by mild pain medicine.
 • Sleepiness, confusion, personality changes, or vomiting,
 • Persistent nosebleed, double or blurred vision, or drainage from the nose or ear.

 There may be a mi\cl headache, slight dizziness, nausea, trouble concentrating, and we.akness for a few day;,
 This usually clears up with bed rest and mild pain medicine. Contact the c!octor if any symptoms are continuing


For   [)ONELL FREEMAN,                            Tuesday, June 30, 2015     1:42

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06/30/2015                                     Bavshore Communitv Hoscital                                  Page:   ~
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                                                727 N BEERS ST HOLMDEL,
                                                  NJ, 07733 (732)739-5924


Patient Name : DON ELL FREEMAN                                               Date of Servlce : 06/2912015
Age: 39Yrs      Sex: M                                                     Metllcal Record#: 00591513
 after 3 days. Anyone with a head injury rnust be regularly checked by a responsible person every 2 hours, for at
 least 24 hours after the injury.


                                                                                                                        i
 CONTUSIONS:
 The examination today st1ggests a contusion (bruise), Which Is an area of trauma and bleeding under the skin,
 which can often cause discoloration, pain and swelling. If x-rays were taken, they do not show a broken bone;
 however, this is only a preliminary reading. All x..rays will also be checked by a Radiology specialist and you will
 be called ii a fracture is seen or if more studies may be needed to be sure about the diagnosis. Some fractures
 do not show up on x-rays, and others, such as growth plate fractures In children, are sometimes hard to see
 initially. For this reason, any painful area must remain immobilized and not used or walked on, and make sure
 you arrange follow up carefully, as Instructed.

 The treatment of contusions includes:
 * Rest. Compression bandages (ACE), slings, immobilizers or splints are sometimes used to reduce motion,
 prevent reinjury, and relieve pain.
 • Elevating!he affected area can reduce swelling.
 ' It may be helpful to apply ice packs every 2-3 hours for 15 minutes during the first 2 days. Avoid heat.
 • If medication was prescribed to reduce pain and inflammation, be careful to check and see if drowsiness is one
 of the side effects of the medication.

 A hematoma may form fn large contusions; this is a collection of blood in the deep tissues. Hema tom as are
 usually reabsorbed by the body naturally, but sometimes they need to be drained. Please contact a doctor or go
 to the emergency room right away if the contusion shows signs of infection (increased redness, red streaks,
 swelling, Increased pain), of if there is any fever, numbness, or tingling.

 The injured area should remain immobilized and an orthopedist must be seen for follow-up care if pain or
 swelling hasn't gone away after several days. Further studies, such as more x-rays or MRI, may be necessary
 then.




 MOTOR VEHICLE ACCIDENTS:
 You have suffered injuries in a car crash. Although you have been injured, hospital care does not appear to. be
 needed right now, You can expect Increasing pain and stiffness from your bumps and bruises for the first day
 after an accident. These minor injuries are usually much better after 3 days.

 Neck muscle strains are very common with car crashes and can cause moderate pain and spasm. Treatment for
 these strains and bruises includes rest, ice packs for the first 2 days, and medicines to reduce pain and
 Inflammation. Signs of more serious Injuries (hat require medical attention right away include:
 * Severe neck, chest, or abdominal pain,
 * Trouble breathing or repealed vomiting.
 • Weakness, fainting, or numbness,
 • Pain that shoots into your arm.a or legs,



For   DONELL FRl=:EMAN,                           Tuesday, June 30, 2015     1:42

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06/30/2016                                     Bavshore Communitv Hosoital                                  Page: 3.
.1:42                                          727 N BEERS ST HOLMDEL,
                                                 NJ, 07733 (732)739-5924


Patient Name : DONELL FREEMAN                                                Date of Service : 06/29/2015
Age: 39Yrs     Sex: M                                                      Medical Record#: 00591513
 Please see your doctor or return here for follow-up care as advised. Wear your safety belt properly every time
 you get into a car; this is your best protection against serious injury.




 Discharge In police custody.




ED Phy : Yuan, Ann-lee                                                        ED Nurse : Lynch, Robert
Private Physician                                                             Referral




                                                                                                                           I
                                                                                                                           l




For DONE.LL FREE:MAN,                             Tuesday, June 30, 2015      1:42
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Patient: FREEMAN,DONELL                              D~te Of Birth: 12/25/1975
MR;'t: M1107395                                      Date Of Exam: 03/31/2015
                                                     Account#; J6371244
Referring Physician: Lee, Stephen H., M.D.           Location: UNK

        EXAMS: 002845483 HIP 2V LFT 73510
                                                                                        I
    Indication: Trauma.

    Procedure: Left hip.

   Findings: There is again evidence of deformity of the femoral head
   with arthritic change involving the the acetabulum and femoral head.
   The joint space is significantly narrowed. Single surgical screw is
   seen passing through the neck into the head of the femur compatible
   with previous surgery. When compared with an earlier study of l/29/15
   left hip appears similar.




    Reading Performed at: Mercy Medical Cen~er on
   Workstation PACS-T01-63ES


             •• REPORT SIGNED IN OTHER VENDOR SYSTEM 04/01/2015    *•
                Reported By: Dinker, Robert E., M.D.




       CC: Stephen H., M.D. Lee

       Technologist: Christina L. Thanner R.T.
       Transcribed Date/Time: 04/01/201.5 (0808)
       Transcriptionist: RAD.,RAD
       Printed Pate/Time: lJ./J.3/2015 (1147)

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 11/13/2015 11:50:47 AM -0500 FAXCOM                               PAGE 4      OF 5




Patient: PREEMAN,DONELL                                Date Of Birth: 12/25/1975
MR#: M1107395                                          Date Of Exam: 03/10/2015
                                                       Account#: JG345451
Referring Physician: Lee, Debra S. M.D.                Location: UNK

        EXAMS: 002833736 CXR 2V 71020

    INDICATION: Chest pain and shortness of breath.

    PROCEDURE: Chest x-ray 2 views.

    COMPP..RISON: None.

   FINDINGS: The lungs are clear. The cardiomediastinal silhouette is
   normal. No significant osseous abnormalities.

    IMPRESSION: Normal.




    Reading Performed at: Mercy Medical Center on
    Workstation PACS-T01-6C9B


              •• REPORT SIGNED lN OTHER VENDOR SYSTEM 03/11/2015    **
                 Reported By: Cartagena, Alicia M,D




       CC: Debra   s.   M.D. Lee

       Technologist: PIER EPPS, R.T. (R)
       Transcribed Date/Time: 03/11/2015 (0918)
       Transoriptionist: RAD.RAD
       Printed Date/Time: 11/13/2015 (1147)

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    Mercy Medical Center - 301 St:. Paul Place - Baltimore, MD 21202
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Patient: FREEMAN,DONELL                                 Date Of Birth: 12/25/1975
MR#: M1107395                                           Date Of Exam; 01/29/2015
                                                        Account#: J6299320
Referring Physician: Vrasich, Chuck, MD                 Location: UNK

        EXAMS: 002812675 HIP 2V LFT 73510
    INDICATION: Left hip pain.
    PROCEDURE: Left hip.
    TECHNIQUE: AP pelvis and AP and frog-leg lateral views of the left
    hip.
    COMPARISON: None.                                                                    Ir
    FINDINGS:

    There is hypertrophy of the left femoral head and acetabulum with
    significant joint space narrowing in the left hip, near complete loss
    of joint space superiorly. Orthopedic screw is noted in the left
    femoral neck. Right hip joint and pelvic osseous structures are
    unremarkable.

    IMPRESSION:
    Chronic changes left hip as above.




    Reading Performed at: Mercy Medical Center en
    Workstation PACS-BCOS-6D3S

                **   REPORT SIGNED IN OTHER VENDOR SYSTEM 01/29/2015 ••
                     Re,ported By: GUPTA,. l\NKUR M.D.


       CC: Chuck, MD Vrasich
       Technologist: PAMEpA PRINCE, R.T. (R)
       Transcribed Date/Time: 01/29/2015 (J.211)
       Transc,ciptionist: .RAD.RAD
       Printed Date/Time: 11/13/2015 (1147)
    PAGE 1                   Archived Report Printed From PCI

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                                   41()•332-9284




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                                                              MCCI MED RECORDS 20
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              (.

       Monmouth County
       Mof(mouth Adult (MCCI)
       1 iaterworks road
       ~hold, NJ 07728
       (32,866-3665 ext 3651 Fax 7~2-866-3669
                   Page1 of1
                         Monmouth County Sheriff's Office ... Corrections Division
                                                                                                     Status: D Adult      □   Juventle
  I                                 Special Medical Directive
                     Patient Name                     Pa1ient Nu'mber                                                I
              FRJ',EMAN, DONELL              I            26184               I
                                                                                  Booktng Number
                                                                                    3279258
                                                                                                     Date of Birth
                                                                                                     12/25/1975
                                                                                                                         Today's Data:
                                                                                                                          6/30/2015


      Section 1. Medical Staff Objective
      Once completed by Medical this Directive must be delivered immediately lo a Custody Sllpervlsor.

      Date:        {p · 30 · I 5             Time:             /   o!.f.J,(       Expiration Date:   '7 J6 /6

      Describe the special medical objeclive action that lhe custody staff supervisor is to accomplish based on the
      medical needs of the inmate. Include the reason for this actipn.




      Section 2. Custody Supervisor Action

      Data Received:           r,,/3t,f,;-
                                r   I
                                                         Time Received:       _/.c,Y_'f_?___
      Name (print):                                   Wo1-'.---'§fgnature:        --»~~c.='.,,,""""a'.·":-:==.______
      Describe the actions taken by this supervisor to accomplish the described objective .
                   .::L      A/of1f1(!)       (J,{           <
                                                          t,.,rifttp'  , ,,,,.      .v..st'#-/7o                 t,,,,1-ru+
                           of           S-7,tf'v f,
      Name of any staff notified by the supervisor (print): ~r,..,,~f{f._i'lf~•c.-----------------

      Section 3. Watch Commander Review
      Signature below signifies that the Watch Commander has ensured compliance with this directive.
      Name (print): _ _ _ _ _ _ _ _ _ _ _ Signaturei: _ _ _ _ _ _ _ _ _ _ _ _ __

      Date: _ _ _ _ __                       Time: _ _ _ _ __

      Section 4. Captain Review

      Name (print): ------~---Signature: _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ __
      Comments: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                             MCCI MED RECORDS 21
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                                                                                                                            1,
                                NO TOP BUNK/TOP TIER KOP fORM                                                          r·        j
                                                                                                                   (
                                                                                                              r,~·
      Name N_umber: ------~3_:Z~Z_f'--'=2"--'5__,!J;.J------
                                                                                                          (
      Pod:                 7)                                                                                                        i ·,.
              ------------------------                                                                                               I
                                                                                                                                     I .':


      Date Ordered: _ _ _ _ _ _.......c..<l,_·3'--·-c,_. _1'""5______

          o Nq Top Bunk/Top Tier for 5 Days: Stop. Date: _ _ __
          f No Top Bunk/Top Tier for 90 Days: Stop Date: f3/3d!<
          o No Top Bunk Until Stop Date: _ _ _ __
          o No Top Tier Until Stop Date~
                                                                                                                                     I
          •   This fonn must be kept on 'your persoo at all times                                 :
              You are to show·thls form to your pod!officer each time you are transferred to a new potj.               '·,.
          •   If you are moved to a t_~p bunk or a to'p tier before the stop date on this form you are to inform
              your pod officer immediately.
          •   If you lose this form your low bunk /tier order will be discontinued until you are re-evaluated by
              medical.



      1/M educated on Low Bunk/TI er form:                     k         (Staff Initials)




      Only valid if on green paper.




                                                                                                 MCCI MED RECORDS 22
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                                                                                                                                             I
   Monmouth County
   Monmouth Adult (MCCI)
                                                                                                                                             I
    1 wate~orks road
    Freehold, NJ 07728
    732-866·3666 ext. 3651 Fax 732-866-3669
            Pan~ 1 or 1
                   Monmouth County Sheriff's Office -Corrections Division
                                                                                                   S1atus: D Adult        D Juvenile
                              Special Medical Directive
              Patient Name
           FREEMAN, DON!:LL           I        Patient Number
                                                  26184             I        Soo\<ing Number
                                                                                3279258
                                                                                                   Date of Birth
                                                                                                   12/2511975
                                                                                                                      I   TQ\'.lay1s Date:
                                                                                                                           6/3012015


   Section 1, Medical Staff Objective
   Once completed by Medical tl1is Directive must be delivered Immediately to a Custody Supervisor.

   Date:    G· 3U         I 'S'       Time:            I   "I./-<            Expiration Date:     1 ·J6·r<'
   Staff Name (print): ----'---"-llc.....U.a:®c.t.a';.I'."'-;,.,_,___ Signature: _ _ __,,.;Jc.(ueJ.l.-21
                                                                                                      ...'.Jl,,_·'.,;kf~----
   Describe the special medical objective action that the custody staff supervisor is to accomplish based on the
   medical needs of the inmate. Include the reason for this action.




   Section 2. Custody Supervisor Action

   Date Received:         ~!{"                    Time Received:      _:..l__,_tj_if_?_ __
   Name (print):                                &i.-fv,'----signature:       --:£?_(,~.,/,~~~~~-:"'.-= =------
   Describe 1he actions taken by this supervisor to accomplish 1he described objective.
                ;:L       ;f/~;1'fi(t,     ,?,('(      wr/€'fl7     tlV       (J>tV.56fv7                          t.,_,;/'ttl-f




   Name of any staff no1ified by the supervisor (print): _.,t-.;=ff{,c:.;,tf=·---------------

   Sectlon 3, Watch Commander Review
   Signature below signifies that the Walch Commander has ensured compliance with 111is directive.

   Name (print):     no:,_#?'~                                  Slgnatura:    g:· &:::-;L
   Date:     51;_/4                    Time:      /f"'

    Section 4. Captain Review



    Comments: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                                          MCCI MED RECORDS 23
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   Monmouth County
   Monmouth Adult (MCCI)
   1 waterworks road
   Freehold, NJ 07728
   732-866-3665 ext. 3651 Fax 732-866-3669
            Panei of1
                     Monmouth County Sheriff's Office -corrections Division
                                                                                                                         Status:       □   Adult   D Juvenile
                                     Special Medical Directive
                                                                                              Booking Number             o.ate of Birth        I   !oday's Date:
                 Patient Name
           FREEMAN, DONELL                        I
                                                              Patient Number
                                                                  26184                I          327925a                12/26/1975                 12/1/2015


   Section 1. Medical Staff Objective
   Once completed by Medical this Directive must be delivered Immediately to a Custody Supervisor.

   Date:    I>   I, IIr                           Time: J') I        <;                       Expiration Date: __      er&
                                                                                                                        _____
   Staff Name (print):Th'              t-h-~hrx)                                     Signature:    ~----..

   Describe the special medical objective action that the custody staff supervisor is to accomplish based on the
   medical needs of the inmate. Include the reason for this action.     W                   b t,v lo      bW'l l / /                   --/-7~ +, '/
                                                          £TI:?
   Section 2. Custody Supervisor Action                                                                                                                            I
   Date Received: _ _ _ _ _ __                                    Time Received: _ _ _ _ _ __

   Name (print): _ _ _ _ _ _ _ _ _ _ _ _ Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __                                                                                   i;
   Describe the actions taken by this supervisor to accomplish the described objective.




   Name of any staff notified by the supervisor (print): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Section 3. Watch CommanderRevlew
   Signature below $ignifies that the Watch Commander has ensured compliance with this directive.

   Name (print): _ _ _ _ _ _ _ _ _ _ _ _ Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Date: _ _ _ _ __                                Time: _ _ _ _ _ __

    Section 4. Captain Review
   Name (print): _ _ _ _ _ _ _ _ _ _ Signature: _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ __

   Ccmmerits: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~ - - -




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                                +   I:,.   2   1 4 4 0   I)   .l -Z 1 6:~ 3 S :5 l    Ct, 0 8 1 9 3 9   C P 1   1 9 S 7. P N X   /,l   *

                                                                                                                                       MCCI MED RECORDS 24
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 31 of 486 PageID: 710




       I
     Mpnmouth County
     /lfpnmouth Adult (MCCI)
     1 waterworks road
    ;Freehold, NJ 07728
                                                                                                             ~ccs
                                                                                                              CORRECT CARE
                                                                                                              50lUTIONS
     732-866-3665 ext. 3651 Fax 732°866°3669
                         Paae 1 of 1
       Booking Admission to CW/lnfirmary/C-Pod/B-Pod/E-Dorm
                                                                                               Status:   □   Adult   □   Juvenile
                              Sheet
                     Attention: Bookina Suoervisor Fax Number 5982
                  Patient Name
                                       I
                                             Patient Number
                                                                  1      Booking Number
                                                                             3279258
                                                                                               Dale of Birth
                                                                                               12125/1975
                                                                                                                 I   Today's Date;
                                                                                                                      6/30/2015
            FREEMAN, DONE:LL                    26184



    Date and time sheet delivered to Booking Supervisor: _ ___,0"---'·3'°-=0'--'"r_,;=--__I_Cf.:......;:...-'c...;_ _ _ __


    Booking Nurse Printed                                                    /J /',,
    Name/Signature and time: - - - - - - - - - - - - - - " - " ' ( , { J I _ : : : ·_ld.::_·''-'-·'-1---------


    Name of Bookipg Supervisor Notified:       ------''.5'-<j'-_-'t/P=-=<..J):::...;::../_<!:'-':___________
                                                                                                                                     i ::
                                                                                                                                     r.::

    Booking Supervisor Signature and time signed: _ _ _ _"-...,-~----;...-'"___..=--·-~------------                                  t)


           Medical        Mental Health     To CW             To Infirmary       To              To                       To
           Reason           Reason          Cell#                Cell#          C-Pod          E-Dorm                  B-Pod
             ✓                    ✓                                                ✓               ✓                     ✓


              t             A'              5A
                                           31:. ·"E,Z:ol-!1-...;/::,
    Place copy of this form in the patient's chart.
    Stamp as "copy"




                                                                                                         MCCI MED RECORDS 25
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Monmouth County
Monmouth Adult (MCCQ
1 waterworks road
Freehold, NJ 07728
                                                                          l\o
732-866-3665 ext 2407 Fax 732-866-3669
              Pane 1 (>f 1
                          Monmouth County Sheriff's Office - Corrections Division
                                                                                               Status: CJ Adult    tJ Juvenile
                                     Soecial Medical Oirectrve
                                                                                                                   Today 1s Date:
                      Patient Name
         FREEMAN, DONELL                   I
                                                   Patient Numb$r
                                                      26184           I     Booking Number
                                                                               3279258
                                                                                               Date ol Birth
                                                                                               12/2511975      I    4/2612016


Section I. Medical Staff Objective
Once completed by Medical this Directive must be delivered immediately to a Custody Supervisor.

Date:       't /ef5 II½'                   Time:      IO 3·7                Expiration Date:   C7G;,
Staff Name (print):             Dr     1-\etshn,;1                  Signature:   K:trAJ/l, L      f,,,- -[)y - /-ksh0;
Describe the special medical objective action that the custody staff supervisor is to accomplish based on the
medical needs of the inmate, Include the reason for this action.
                                                                                 l)W    bunk
                                                     hio
Section 2. Custody Supervisor Action

Date Received; _______                                Time Received; _______

Name (print): _ _ _ _ _ _ _ _ _ _ _ _ Signature; _ _ _ _ _ _ _ _ _ _ _ _ _ __

Describe the actions taken by this supervisor to accomplish the described objective,




Name of any staff notified by the supervisor (print): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Section 3. Watch Commander Review
Signature below signifies that the Watch Commander has ensured compliance with this directive.
Name (print): _ _ _ _ _ _ _ _ _ _ _ _ Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ __

Date: _ _ _ _ _ __                          Time: _ _ _ _ _ __

 Section 4. Captain Review
Name {print): _ _ _ _ _ _ _ _ _ _ Signature: _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ __
Comments: ____________________________________




 Mor,mol.A.h 2{1'14




                                                                                                      MCCI MED RECORDS 26
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                                                              MCCI MED RECORDS 27
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    .A.CCS
   COARECT CARE
                                                                          HEALTHCARE REQUEST
                                                                   SOLIC/TUD DE SERVICIO DE SALUO
    ~' •1   I,   l,i   '/    '   !J   '/   ~ I




                                                                                                   DOB (Fecha d'~ nacimient~               /Q , ;z,s • i 97s;
                                                                                                   Living Unit (Unidad): __,4         y_'__
                                                                                                                                         ?/ ~-----                       I
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                                                                                                                                                                         I.



                                                                                                                                   ✓--.,
                                                                                                                                                                         1-·

  D Medical (Medico)                             D Behavioral He~lth (Sallld M•ntal)               u Dental (Dental}

   Nature of problem or Request (be specific)                                      Naiuraleza del problema o solicltud (sea especiflco)




  I con:sent to be treated by Health Care Staff tor the cond!tlon described. l understand that the. faciUty may charge me for same af \hes.a
  services and m<"ly deduct rt (mm my account during this current or rvture Stays in the facillty. I understand that I will receive health ~re
  regan:llas.s of my abillty to pay,
  Doy mi col'ISentlmlento para ser tratado par el personal de atenci6n de satud para las ccr,didor.as descritas. Entlendo que la
  1nstalad6n me p1.1ede. cobrar por algunos de estos servlcio~ y p1.1ede.~ descontarlo de mi cuenta durarlte esta a futuras esrandas.
  Entlendo que voy a reclblt atenc16n me!dlca, independientemente de I 9a.pacldad de page.

  Patient Signature (Flrma del Paclento): _ _,.q.ID,:.,.<.,.)'.-1-"',J(,£..JL------D•t• (FecM): _ _ _ _ __
                            This Is. s confidential document and should <Jn y bo p/{Jc;ad In a 00.sfgMted area, rned/cal box or given d!recvy to medical statl.
       G.s.tt!l .g:!J urt dOGumento c.onfidenda/ y s6fo debe ~e.r ,wlocado en un area deslgnada, caja m8dlce o anuegada oirat;tamente a! par.;cm~I medico.

                                                                     DO NOT      WRrre BELOW THIS LINE
  -------------------------~-------------------------~----~--        (ro BE COMPLETED BY TRIAGING STAFF)




  INITIAL:                   □ Sick Call         □ Nurse    D HCP        □   Dentist   □   Behavioral Health □ !;ye Doctor            □ Other _ _ _ _ _ __



                                                                   (TO BE-COMPLETED BY HEAL iHGARe STAffl

        □        PaUentseen (if appicable)                                         a . Patient out:!lde of facility (liospital, court, eto.), reschedule upon return
        0        Response seiit lo patient (If applicable)                         □    Patient refused 1 Refusal Form complete
        □         Patient raleased from custody                                Fee Charge          Cl No      CJ Yes, Amount$_ _ _ _ _.;____ __
                                                                  ~/)'k,,v_t<J_              L/lea.,€'../!n ,/":i-4<,u j ~
            +r\_./ aa:':½i e~ ". cu,p:u-1;:r oV \
  RESPONSETOPATIENT/COMI\IISNTS
                                                                                                                   ,-
                             NOTE: 'l'realment informetioJ'I should not be notad above Out should Os documented on !he appropriale lfeatment form(s)

                                                                     0       ~Q'(M1.t1G\J                                                                ,- 11-r 6
                                                                   stJ;;lsrgnature                                                                      Date
  Form Nurnber: SC001UNOOOACC8!102413                                                      2-Part Form                                                       Paget of1




                                                                                                                                                MCCI MED RECORDS 28
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                                                                                                                                     RECEIVED
                                                               . HEALTHCARE REQUEST                                             Date: _ _ _ _ _ __
                                                          SOLICITUD DE SERVICIO DE SALUD                                        lnitla!s; _ _ _ _ __
                                                                                                                                Tune: _ _ _ _ _ __



   Name (Nornbre):           '.3,;,,,,\ ~ \_\ !s'HQ I"\. eN                               DOB (Fecha de nacirniento):              \:,;\ '   d S · I 9:t,
   ID # (W de ldentlficacl6nJ:               [,,   ~             a~ /1<f\                 Living Unit (Unldad): ---'A-'.-·-'?"---------

  &rMedlcal (Medico)                0 Behavioral H•~lth (Salud Mental)                    O Dental (Dental]              O Other_ _ _ _ _ _ __


  Nature of problem or Request (be specific)                             Naturaleza de! problema o sollcltud (~ea especifico}




  I consent to be treated by Health Care Staff for the condttlon described. t understand that the.facility may charge me for some of these
  services and may deduct tt from my account during th.ls current or future stays in ~he faclUty. l understand that I wm receive health care
  regardless of my ablli1y to pay.
  Day ml cansentlmiento para ser tralado por el peraahal de atend6n de s-alud para las c:ondiciones descrihl$, Entiendo que !a
  lnstalaclOn me puede. t:abrar por algunos de estos servicios y pueden descontarto de ml cuenta durarrte esta o Muras estancias.
  Entlend{) que voy a re~ibit atenci6n medica, lndapendlentemente de mi capaclda.d de pago,

  Patient Signature (Flnna del ?a<,iente): _ _ _~ - - - - - - - - - - - Date (Fecha): _ _ _ __
                  Th/.s is o oonfidential dac:vment and shoo/d only ba p/ar;ed in a d6$igrtated area, medical box or gfVen directly to medical staff.·
       Este es u11 ctocumenta canfidsno/.il y sd/o debs S6f ~,~ao en un ares deslgn_ada, c:aja tnf}drca o sntrogada d/rectament& .al personel medico,

                                                          . DO NOT WRITE BELOW THIS LINE

  --------------------------------------------------------~--                    . C BY rr!.IAGING STAFF}




  INITIAi..;       D Stci< Call     Cl Nurse       □   HCP    Cl Denlist     □   Behavioral Health □ Eye Doctor             □   Other _ _ _ _ _ __


                                                         (TO SE COMPl.ETEO $Y HEALTHCARE STAFF)
                                                                                                                                                                     r
                                                                                                                                                                     '
       □       Patient seen (If applicable)                              □    Patient outside of fuclllty (hospllal, oourt, etc.), re.ochedu1" upon return
       □       Rospanse sent to patient (If appll'?9i'la)             {fl(_ Patient refused, Refusal Farm complete.                                         ·
       □       Patient released from cus-tody,                     Fee Ch(lrge           □ ·No     □ Yes, Amount$,_ _ _ _ _ _ _- ' -

  RESPONSE TO PATIENT I COMMENTS,~. .,,W"'-'-f,.lll"I&""·1 0 . \ Z " ' - - - - - - - - - - - - - - - - - - - - -



                   NOTE: Treatment irrtonrlatton should                                     ba documeritet'S on thE1 appfOf?,if:lt& tn,atmlant l o n n ~ ( s .) ..

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  Form Number: SC00lUNOOOACCBtl.02413                                         H'art Form                                                            Page 1 oft



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                                                                                                                                           RECEIVED
        ACCS
        COR~ECT CARE
                                                                           HEALTHCARE REQUEST
                                                                 SOLICITUD DE SERVICIO DE SALUD
                                                                                                                                     Date: _ _ _ _ _ __
                                                                                                                                     Initials; _ _ _ _ _ __
        S !l   l   U 1   !   :,)   •'l   S-                                                                                          TI1rn~: _ _ _ _ _ __




      N me (Nombre):                      31'.l\\l l\:,. '.\-&9- fu_cJ                            DOB (Fecha de nacimiento):             h· -J.-.S- M:\S
      ID# (N' de identiflcacion):                  \, ; ) ~                                       Living Unit (Un/dad): _ _         -.,,A....._,z..~------
                                                    .             r)_~         tiA
                                                               He~lih (Salud Mental)                                             D Other_ _ _ _ _ _ __
       · Medical (Medico)                     D Behavioral                                        o Dental (Dental)
      Nature of problem or Request (be specific) Naturaleza del problema o solicltud (sea especifico)




      I consent to be treated by Health Caro Staff for the condition desoribed. I under.land that the facility may cflarge me for same of these
      services and may deduct it from my account during this current or future Stays In the fac:Hity. ! understsnd that I win receive health care
      regardless of my ability to pay.
  Doy mi consantimiento par~ ser tratado par el personal de atend6n de salud para las- condiciooes de~cmas. Eni:iandci que !a
  !nstalac!On me puede. cobrar par algunos de estos $eJV!cios y puede!l dascontarla de mi cuenta durante este o futuras estanoias,
  t.l\tiendo que voy a rec1bir atencl6n rnedlca, independlentemente de mi c acldad de pago,



                      This is a contldentliaf c/Qcumtmt and should oniy          IaCGd in a dss.lgnat   area, medicai box or giYefl dJrectJy ro m~/caJ staff.
          E:ste es 1m docvmento coofide11i:1e1 v s&a debe ssr co/ocado en un ares des/gnada,             ca/a med/ca a ,:;ntro{Jada d!Mctamente st personal m~d/C(),

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      -----------~----~------------------------------~-----------    (TO BE COMPLETED BY TRIAGING STAFF)


  TRlt'iGE;.
 .:,_ ... -.. _v·.



  INITIAL:               OSlckCa/1            □   Nurse   □   HCF'     □   Dentist   □   Behavioral Health     □   E:ye Doctor    Cl 01her _ _ _ _ _ __


                                                                (TO SE OOMPleTW BY HEALTHCARE STAFF)

          □        Patient seen (,f applicable)                                  O . Patient outside of faolll\y (hospital, court, etc.), re•cho<lule upon rewm
          □        Response ,ent 10 patien\ (If •PPil'?')ble)                    □    Pattent refused, Refusal Form complete
          □        Pa«en\ released from cus\ody                             F•• Charge          'f'"       □. Yes, Amount$•------.--~
                                                                                                                  . ...,l'-"o"-IIJ"--fi'-.
  RESPONSE TO PATIENT, COMMENTS, _ _ _ _ _ _ _ _ _ _.J.i..,lwf!,,.A,._/.,,.0c.slLoc.f\cc.;..,;'L::.-_V1,().;...c,1""_                                          __,«"'---
                                                                                     M      Po' t½t¼
                         NOJC; Treatment informs/ion Should not ba noted above l?ut should Qe cJ®JJmented on th~·appropriare treatment tormls)



                                                                Staff srgnature
                                                                                 !L..JV:\J',~                                                         tl?,a r,.
                                                                                                                                                     Date
  Form Num!)er: SCOOiUNOOOACCB\102413                                                    2-Part form                                                    Page1of1




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     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 37 of 486 PageID: 716




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    Me,lltal [Medico}             □   Beha\>loral Heallil {Salud Wienfaij             [l De!rrlal   (Oer,ial)     ~er_·_ _ _ _ __

   ature of problem or Request (be spe,:ific) Naturaleza. del problem• o solld!ud {sea espBCffico)                                                                         1,
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 Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 38 of 486 PageID: 717




                                                                                                                                                 RECEIVED
                                                                    HEALTHCARE REQUEST                                                   Oat<:
                                                            soucmm DE SERVlCIO DE:..SALUD                                                1~.!.iisc'-.---,."J-/ft'Hl'-f--
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Name (Nombre)::3:}Nd <,.,\.\                  £:e: i>l2 tA 11,"1                               008 (Fecha de nacimiento): \ 'Z,                      • ;;;. .S '/ '1    1.:5
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Ledica/ (Medico)                  □   Behavioral Health (Salud Mental)                         CJ O~ntal (Dental)                  □    Other_ _ _ _ _- __

Nature      of problem or Request (be specific)                                Naturaleza de!_ problema o solicltud (sea especffioo)




I consent to be treated by Health Care- Staff fur the ~ndltlon described, f understand that the facility may dtarge me for some of these
services and may deduct It from my aco'ount dlJring this current or fr.Jfure stays in the f;actlity. I understand that I will receive heafth care
raga,dless af my abillt<J to pay.           ·
Doy ml consentimlento para sef tr'atadCl por e[ pemonal de atenciCln de s.;i!ud para las condiclcoes d9:acrttas. Entien~.o que la
in~JaciOn me puede cobrar por algunos de                        ~sto.a   :5ervlcio.s   y pueden descantarlo de mi cuenta durante e.sta o futuras est.and~,
Entiendo que voy a recibir atendO~ miidica, lndepenclientemente de ml capacidad de paga,

Patient Signature (Finn• d·•I Pacl?nte;;:Jls:u:J                           R.H tlf.,OW\9,-J                                          Dato·(F•cha):            {A ·l? •ii',olf,
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INIT!Al.:      . □ Sic!< Call       □ Nurse        □ RCI'         □ Dentist        1J Sehavloral Health 1J Eye Doctor                   □ Other _ _ _ _ _ __

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    □    ·Response sent to patier\1 (~pli?Jble)
    D Patient released from cu'!tody
RESPONSE




form-Number:. SCOO:tUNOOOACCB!:l.02413_                                                2-PartForrn                                                                  Pagel ofi




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 39 of 486 PageID: 718                                                                                            ''



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                                                                                                                           D Other_ _ _ _ _ _ __
  EY'Medical (Medico)               O Behavioral Health (Sal,ud Mental)                      0 Dental (Dental)

  Nature of problem or Request (be specific)                                  Naturaleza del problem a o solicitud (sea especlflco)




  I consent to be treated by Health Care Staff for 1he condition described. l understand that the facility may charge me for some of these
  serv!c;es and may deduct it from my acoount during this current or future stays in the facility. 1 llndeistand that I will receive health care
  regardless of my ability to pay.            ·
  Doy mi consentlmlenlo para ser tratado por el personal de atencf6n de satud para las condtciones descrl\a:s. Entiendo que la
  instalaci6n me puede cobrar por algunos de estos .serviclos y pueden descontarlo de mi cuenta durante esta o Nturas estancias.
  Entlendo que voy a recibir atenci6n medlCq,..~!entemente de mi capacld~d de pago.

  Patient Signature (Flnna del Paciente): ,---.
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          8$/e e!J- ml do1;um'inlo CQf!fldencial y s6lo dlJbe S6f oofocado en un 8rea OSsignada, ca/a m,Mica o antrogm;la directamente al pereonaf mM/co.

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  TRIAGE:                                         □    U~ent:                             Triage Dated-       ('fb lnilials: J}r;_ Time:'-'•--"
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  INITIAL:          □   Sick Call    □   Nurse         □     HCP    □   Dentist   □   Sehavioral Health   □   Eye Doctor    □    Other _ _ _ _ _ __


                                                                 (TO BE COMPLETED BY HE.ALTH¢AR5 STAFF}

          D    Patient.seen (If applicable}                                   □   Patlen\ outside of facility (hospital, court, etc.), reschedule upon return


      D
          □    Response sent1o patie~t (If appll-,able)
               Patient released from custody

  RESPONSETOPATIENTICOMMENTS_i,::fJcc£.:eW_;.·
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                                                                                  Patient refused, Refu!$al Focm,comp!E!te

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  Form Number: SC001UN0OOACCBl102413                                              2-Part Form                                                       Page loll




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                                                                HEALTHCARE REQUEST                          Ii,              Date: --//'-~fr----
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 bi llledlcal (Medico)            q Behavioral Heatth (Saiud Mental)                     □ Oental (Dental}              CT Other_ _ _ _ _ _ __

 Nature of problem or Request (ba specific)                             Naturaleza de! problema o solicitud (sea especilico)




 1consent to be treated by Health Care Staff for the condition described, I und~t°Qtand tha! the facility may ch<1rge me for -Some of the5e
 servrce~ and may deduct it from my account during this currant or future- stays 111 the raclllty, I understand that l wlll receive health i::~re
 regartlleos of my abmty to pay,
Doy mi cansentlmlent:o para sar tratado por el personal de atencidn de aaluct para las condiclones desoitas. Entlendo que [a
lnstalacldn ma puede cobrar por algunos de estos serv!cios y pueclell d.es~ntarlo de mi GUenta dvrante sta c futuras estancias.
Entiendo q1Je voy a recibir ateno.i6n rn.!iidlca, tndependientemente de ml c:ap c1d.ad pago.

 Patlent Signature (Flrma def Pactente): ~•C:::::,.,Z::µ~dS._L;:____::,,_.:\-\.L,.~~:_7:,m,e (Fecha): J                                         \   'D '---:r \1
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TRIAGE:

INITIAL,        C 810!< Call      C Nurse       □. HCP      Cl Denttst Cl Behavioral Healtt, ti Eye Doctor                Cl Other _ _ _ _ _ __


                                                       (TO SE COMP'L~D SY HEALTHCARE STAFF}

      CJ Patient seen (ifappllcable)                                   0    Patlontoutslde of facility (hospital, o,urt, etc,), reschedule upon return
      □ Response sent \<l patten! (tt appli'?"bie)                     Cl   Patient refused, Refl)sal Fonn oomplete
      t:l Patientreleaoed\'rOrncustody                           F""Charge          .   □ No    p-<,es,Amount$              15,Q
RESPONSETOPATIENT/COMMENTS_..1.N~P..1.'L"'IJ"-'-\'Y\U-'-""'J""---------------


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                                                              MCCI MED RECORDS 35
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  Monmouth County
  MQnmouth Aduft (MCCI}                                              Medication Order
  1 watarworl<S road
  Freehold1 NJ 07728
  Palle,1t Neme                           PoUenl Number                  Booking Number             Birth Dfife   Dale Of Service
  FREEMAU 1 OOUELL                        26184                          3279258                    12125/1975    6/3012015

      Order Overvic:•-:.w:__~----
  i
  i Ordered By: Hashmi, Kabeeruddin on06/30/201502:28PM
                                                                               ·1
      I St.art Date i Medication                                     j Dose
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       E-Slgricd by Knbee:r11ddin H11shmi n 07/06/20J..'i 04:41 PM'EST



                                                                                                                      MCCI MED RECORDS 36
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 43 of 486 PageID: 722




  Monmouth County
  Monmouth A du/t (MCCI)                                         Medication Order                                                                                  'I
  1 wate,works road
  Free.hold, NJ 07728
   Patient ,'lfune                        Pr:tient Number          Booking Number                      Birl.h Dete           Date Of .Service
   FREEMAH, DOHELL                        26-184                   3279258                             i2125/f975            711/2015

    Order Overview

    Ordered Br- Buttler, Janke on 07/01/2015 ll:04AM

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     E-SigncJ by Janice 8\1ttlt.,r11 07/0112{H~ 11:04 .AM: EST




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 44 of 486 PageID: 723




  Monmouth county
  Monmouth AduH (MGCf)                                                  Medication Order
  1 waterworks road
  Freehold, NJ 0'1728
   Patient Mame                           P&trent Nc1m!Mr                 Bookirrg Numb-er   8irlh Date   Dale Of Se1vfoe
   FREEMAN, DONELL                        26184                           3279258            12125/1975   7H/20f6

    Order Overview

    Ordered By; Raskauskas, ThEres on 07/01/201511:28AM

   !'L.,-.~----
      Start Date    j ~Medication

                   -·rl chlordiazepoxide
   1----··

   I   7/1/1015
                                         25 mg c:apsu!e: give 2 ca-~~~le PO
                        B[D AM & HS for 2 days.




    £-Signed hy Theresa. Rask-auskm; n 07/U 1/2015 I_ I :2$ Al'-1 EST                                                  Page l of I




                                                                                                              MCCI MED RECORDS 38
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 45 of 486 PageID: 724




  Monmouth County
  Monmouth Adult (MCCI)                                           Medication Order
  1 wate,works road
  FreehoJ['1 NJ 07728
  PetientNrune                         PEJtienf .Vumber             Booking Number                   Birth Dete          Dt1fe Of Service
  FREEMAN, 0-O~lELL                    26184                        327925G                          12125/1975          71112015

   Order Overview

   Ordered By: Raskau.skas, TherEsa on 07/01/201511:34AM




  1
  1
  1; 7/1/1015
                  albuterol sulfate 2..5 mg/3 ml (0,083 %) solution for
                  nebufization: givei miniliter JNH £very 3 )lq~1r~ PRflJ
  i __________ ., forlBO_d_,_ys_,_ _ _ _ _ _ _ _ __
                                                                                 1      milliliter   rEveiy 3 hours      lS~-1 ~
                                                                              Notre By. Rasi«lu«az. Theresa Nurse i'tactitioner 07/DJ./201511S4AM




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      E-Signed by Theresa Raskauskns n 07/01/2015 l 1:J5 AM EST                                                                         Page I ofl




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  Monmouth County
  Monmouth A dlllt (MCCI}                                          Madication Order
  1 wate,works ror1cl
  Free.holr,fi NJ 07728
  Petienti'\lame                        Palieni Number                 Booking Number                     B/rlh Date           Date Of Service
  FREEMAU, DOHELL                       2611)4                         327925-ll                          12126/1976           7l1!2015

   Order Overview

   O.-dered By~ Raskiluskas, There~ on 07/01/201511:35AM
   ,- . . --- - -·--1·· ------
   1   Start Date    Med'lCZltion
   L_. ____ ·---- - · ~ - - - - - - - - - - - - - ~

                    l acetaminophen 325 mgtobl~~;;e-i~~biet PO BID 1·------1···- ---·-· --i ------·-·--1                    ~--·--r
   I_n11201s                                                                                            J
                    I M.,.1 & HS PRN_f_~~~-~~r~:_l~__o~ muscle p;;im or spa.sin. i .·--2 ....L._ tablet ._ BID AM & HS_}        7       I Yes
                                                                                   Noted 8y. Ra~kau-sk:Js, Theresa N11m PradWor.er 07/0l/201511:36AM


                      loperamide 2 mg capsule: give 1 capsule PO BID
                      AM & HS PRN for 7 day~. For additional faose.
        J/1/WlS       bowel movements following initial l □ pen1mide
                      dose, Do not a,;cecd 16mg in24 hours.




        7/1/2015      BID AM & HSmg
                      medrzine25
                      occurs,
                                       for 7 day5, lf naus.ea □ rvomiting
                                  PRNchewable_,_,b_l_et_,_g_,v_e_l_t_,b_l_e!_P_O                     =
                                                                               _ ____,_~~-'--t-,~l--•-___J._:l~-AMc·~HS
                                                                                                 u                              7 ___,_l IY-es       'l_o____·1
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                                                                                   Nakc By, /?a5kau9W-S, TMresa Mme Practitfcmff 07.fiJ1/2015.11:36AfYI




       E~Signed by Theresa R□Bkauska~ n 07/01/2015 l l;J6 AM EST                                                                                 Page 1·or I_




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  Monmouth County
  MonmcµtfJ Adult (MCG!J                                            Medicatic,11 Order
  1 waterworks road
  Freehold) NJ 07728
  Patient Name                             Patient Number               Booking Number                             Birth Date            DiJle Of Service
  FREEMA1-1 1 ODNEll                       261114                       3"279253                                   1212.5!'1975          711012015

          Order Overview
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          Ordered By: Hashmi, Kab€:cruddin an 07 /10/201510:39AM

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  j                                                                                           Not~dBJ~ Hashmi., Kabeerl.i/tctin Provider 07/10/2015 l.D.'39AM

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           E-Signed.by Kabeeruddi11 Hn$hnti n 07/10/2015 10:49 AM EST




                                                                                                                                               MCCI MED RECORDS 41
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  Monmouth County
  Monmouth Adult (MCCI)                                                         Medication Order
  1 waterworks road
  Freehold, NJ 01728
  Petient Name                                     Patient Number                     Bookifli] N/Jmber                     Bfrth Date          Date OF Sero/ce
  FREEMAN, OOUELL                                  26184                              32792SB                               '121251197-5        7/1412015

        Order Overview
  r· ..
  j Ordered By: Buttler, Janice ot,07/01/201511:04AM
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                   Date ,M_•d_l_ca_,_"'_"
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                  1 tablet PO Q AM for90 day,.
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                                                                                                 Nilt€d By. Buttler, Jar.ire MH Nur1;e Pmdlh'oner 07/0l/20J.51.l.'04AM



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            E-Signei:I by Janice Ruttier n 07/1412015 OJ:58 PM EST                                                                                                  Page I of I




                                                                                                                                                     MCCI MED RECORDS 42
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 49 of 486 PageID: 728




  Monmouth county
  Monmouth Adult (MCCf)                                           Medication Order
  1 waterworR8 road
  Free.hold, NJ -0"1728
  Patienti'Veme                          Pi,ffenl Number              8ookh1{1 Number                        Birth Dflle            Dale   or Servke
  FREEMA~l, OOllELL                      2&134                        3279258                                '[2/2511976            7114)2016

      Order Overview

      Ordered By: Buttler, Janice on 07/14/2015 03:59PM

  !i r;~~·o-.-,-e~-M-edi-
     c'_____
                        1ation                                                - -I -~ose   r   UOI\I
                     L..._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __,__ __.,__ _ _ _L..._ _ _ _ _c_""(Days)
                                                                                                         I     F;e~~e~~ i}~;atlonsj PRN 1,· ·-K~P
                                                                                                                                            Li---'-----
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  I    ----,j-z_o_lo-ft_(_S_ert-,-,t-m-,)-l_O_O_mg tablet 91vel.S tablet PO
      'i                                                                      I!              ---·--·Q--A--M--    No       ··--1-            1,.       i,   No i,
                                                                                                               90
  ii_ 7/15/2015      i QAM for90 day~.-----                      -- --- _!__1_.s_~_•_•_b_r,_,_,_____~1____ 1                                           L______ i
                                                                                   N!.ltfd BJi Buttlc:1\ Janice 1\fH Num: P1adtlio!1it 07(14;2015 03:59PM




       1Viigned by Janke Bultler n 07/14/2015 03;59 PM EST                                                                                         Page l of I




                                                                                                                                           MCCI MED RECORDS 43
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 50 of 486 PageID: 729




  Monmouth County
  Monmouth Adt1/t (/IACCI)                                  Medication Ord,or
  1 vraten1orlts road
  Freehold, NJ 07728
  Paliellt Mame                       Pati1mt Number            Book!ng Number                   /3irlhDa/e             Date 0( Service
  FREEMAll, DONELL                    26184                     3279253                          '1212-6(19-75          1omw15

   Order q,1_~~ic.c•ccw'---------

   Ordered By: Buttler, Janice on07114/l01S 03:59PM                                                                               -                    -i
    Start Date    IMedkat~~~--•-·          _ _ _ _ _ _ _ _ _ _ _ ~o~e     !      r-··-~~~-· J.     Frequency        ~ D~~~~n~~~RN~l.~~i]
                                                                                                                                                       7
     10/7/2015 ) Discontinued - Zoloft (Sertraline) 100 mg tablet:
                  [_give1,5 tablet PO QAM for90 days,
                                                                      I Ls•-•1  .
                                                                                     tablet           QAM ......
                                                                                                               __
                                                                                                                  ·,,l-_90_______ :,.   Nol,I


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                                                                          Noted B}r Bi;tt!cr, Janfce MH Nun.e Pn:n;rnion,,..r 07/14/2015 03:59PM




    F.-Signc<l h}' Jatlke B11Hler n J0/07WH5 04:15 PM EST                                                                                 Puge I af·\




                                                                                                                               MCCI MED RECORDS 44
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 51 of 486 PageID: 730




  Monmouth County
  Monmouth Adult {MCCI}                                             Medication Order
  1 waterworks road
  Freehold, NJ 07728
  Petlent NBme                          Patiellt Number                 Booking Numm::r                        Birlh Date          Date or Service
  FREEMAH, DOWELL                       26184                           327926&                                12/2511976          10lli20i5

   Order Overview

   Ordered By! Buttler; Janice on 10/07/2015 04:19PM
                                                                                                        ...... -·-r-·-·
                                                                                                       UOM j Fn~quency


                   !
     10/8/2015 i~1~tt(s~~~li~e)         loom~·  t~blEt: .gi~~-2   ;~b,~~·po·Q     j             i                   Q AM
   ,__ _ _ _ILA_~_l_fo_,_9_0_da--'y_,_·- - .. ·- -- ·- .. --                    . J .....2..   J____   tablet _ L __ _ _ _L
                                                                                     i\'oted By: 8urt/e1,. Janice 14H N1m;e Prac_tftloner l0J()l/2015 04:19PM




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    !::-Signed by Janice BL1ttle-r » 10/07/2015 04!19 PM EST                                                                                        Page 1 of   i




                                                                                                                                         MCCI MED RECORDS 45
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 52 of 486 PageID: 731




  Monmouth Coonty
  Monmouth Adult (MCCI)                                         Medication Order
  1 wate.tworh road
  Frnfl/rold, NJ 01728
  PatleritName                          Pa!leni Mumber              Booking r\fumber         Blrlh Dale    Date Of Senl/C-&
  FREEMAtl1 DONELL                      26184                       327925B                  12125i'1975   12/H2015

   Order Overview

   Ordered Br. Hashmi, K11bee1uddln an 12/01/201511:20AM
   r----------·~···"•·
                                                                              I         I
   I                I
     Start Date Medication                                                    J_Do.se   f.
   - - - - ~ - - - - - · - · - - · - - . ----. -            ... -
                    !   Mob-ic {Meloxicam) 7.5 mg tablet givel tablet PO   r· 1
       12/1/2015
                    I   Q HS for15 dcPJ<;,




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                                                                                                                                        ! .·




       E-Signcd by KabccmdJin Hashmi n 12/01/201:'i 11 :20 AM EST                                                         Pa;ge I ofl




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 53 of 486 PageID: 732




  Monmouth CotJnty
  Monmouth Adult (MCCI)                                                   Medication Order
  1 waterworlnt mad
  Freehold, NJ 07728
  Patient Name                                 Patient Number               Booking Number                    E:/rlh Date         Dale Of Sen!ice
  FREEMA~lj DOHELl                             26184                        3279258                           12125l1975          1212412016

       Order Overview

       Order-ed By.: Hashmi, Kabee.ruddin on 12/24/2015 01:SSPM

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           Sta.rt Oat.
                         _
                             MediC'.lt_io_n_ _ _ _-_-_-_··_-_._-_·_-_-______·_-l_l_o_o_,._._li__u_o_M
                                    _                                                         1
                                                                                                                            0
                                                                                                    _ _j__F_ce_q_u_e_n_cy_Li_,,ura""tio'ns: PRN
                                                                                                                             i   {Oaci__i".. ••·-··
   ,--
   1
           U/28/2015
   l_ ____~fo_,_1~80 days.
                             albuterot sulfate 2.5 mg/3 ml (0.083 %) solution for
                             nebulization: give.! milliliterlNH Every 3 hours: PRN      1         mi!Hliter   Evety3 hour5        180         Yes
                                                                                                                                        ~ - - ' __ __J l
                                                                                             Noted By. Hasl'lml, Kaileetuddfll Pnrvtder 12/24/2015 0l:56PM
                                                                                                                                                          No    i




           E:Sign~d by Kub~_cniddin Hashmi rt );!./24/201S 01:56 PM EST                                                                               Page _t of I




                                                                                                                                        MCCI MED RECORDS 47
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 54 of 486 PageID: 733




  Monmouth Caoniy
  Monmouth Adult {MCCJ)                                               Medication Order
  1 waterworks road
  Freehold, NJ 07728
  P&Uerd ,Wme                             Pc:tient Numb-er                    Bookit19 Number                        Bftth Dale              Date Of Service
  FREEMAH, D0!1ELL                        261&4                               3279253.                               12/2511975             11.130l2015

   Order Overview

  !; Ordered Byt Buttler, Janke; on 12/30/2015 03:02PM
  ;l                 rl                                             1!_.Do·,-1
                                                                   ....   ···--   ·-   i          !, Durat~~l, PRN I KOP '1
   1_s_ta_rt_D_a_te.....1_M_e<1_1ca_tlo_n_ _ _ _ _ _ _ _ _ _ _ _ _-.L_ _"--'---·~.?M_._I ~~~uency L. J.D;iys) i ___ .. !. _··-_.]

               /     i       Zoloft (Sertratine} 100 mg tablet give2 tabl1:t PO Q
                                                                                       1-          ;-             . r·                 !-··--·-.. i·             ·-   -··7
                                                                                                                                                                      No..J
         116 2016
   i.......... ~-········__J_AM for90 days. med'renewal.                                     2     \    tab!Et     ] ·-·-·~~~-····· [_.. 90           i N~.. 1
                                                                                            Noted By: ilt.ttlff, )(Jnice r.m P.'t>·rse Practitioner 12/3'0/2015 0:S;02PM




       E•Sigried by Janke B11ttler n 12/30/2015 0_J:02 PM·EST                                                                                                 Page l of I




                                                                                                                                                  MCCI MED RECORDS 48
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 55 of 486 PageID: 734




  Monmouth County
  Monmouth Adult (MCCI)                                            Medication Order
  1 waten'forlf~ ,-oad
  Free.hold, NJ 07728
  Patient Name                             Patient Number               Booking Numbe.                Birth D1tle          Date Of Service
  FREEMMJ, DONELL                          26134                        3-279253                      12125/1915           3124/2016


   Order Overview
  r-
  ! Ordered By:: Una'C.hukwu, Daniel on 03/24-/201612:53PM

   l ~-~~t Date [ Medical~~~-
       - --~~-> - - - - - -
       3/24/1016
                    !Tylenol Extra Strength {Acetaminophen) 500 tng
                     i tablet:   give2 tablet PO Q HS PRN for? da-y5.         L2      _,__''_b_l"-_ __L___Q_H_s      J_ _ _ 1_~',__ v~       i- -~~
                                                                               Noted By: lJnachV~Wll,. Oar.ft?! Num Practitionff -03/24/1016 !2;53PM




       £-Signed by Daniel Unachukwtt n.03/2_4/1016 11:53 PM _EST                                                                             Page 1 ofl




                                                                                                                                MCCI MED RECORDS 49
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 56 of 486 PageID: 735




  Monmouth County
  Monmouth Adult (MCCI)                                        Medication Order
  1 wate,worlfs road
  Fr~ehoJd, NJ 01728
  Patient {\lam&                         Pati&nt Number            Booking Number                             BirlhDr1/e        D~:te Of Sendce
  FREEMAl-l, DONELL                      26184                     31.7925lJ                                 12(25/1975         312912016


   Order Overview

   Ordered By: Butt!rr, Janice on 03/29/2015 02.:52~M

                                                                                                                    i Ou;:.;ti,:;n~"j
                                                                                                            I
                                                                                              UOM , ____Frequency -~ (Days) ,


      4/5/1016
                   .iI   Zo!oft(Sertrcline)100 mg tablet: give2tabl&PO Q   [ ..
                                                                                   2
                                                                                        r· -· tablet   . ··1·,··   QAM
                                                                                                                           1-·~·- -- -··-.-··

                                                                                                                           [ __ . 90      , No
                         AM for 90 days. med renewal,
                                                                                        i
                                                                                  Noted {3,; 6uWe1; Janice MH r.:um Practitioner 05'/2912016 Q2;52PM




    E-Signed by Janice Buttler n 03/29/20 Ih-02;~2 PM l.ls·t                                                                                     Page I vf l




                                                                                                                                       MCCI MED RECORDS 50
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 57 of 486 PageID: 736




  Monmouth County
  Monmouth Adult (MCCI)                                           Medication Order
                                                                                                                                              ~•...
                                                                                                                                               ..
                                                                                                                                                  •'.
  1 wamrworks road                                                                                                                            _,.,.   _,,,,
  Free.hold, NJ 01728
   Patient Name                           PaBent. t>Jumber            Booking Numbf;f                Birlh D~te           Defe Of Service
   FREEMAN 1 DONELL                       261ll4                      3279258                        12/25/1975           612:12016




                                                                                          UOM
                                                                                                                                                              I
  l'r·-·· ··-··
  'I 61212016          Discontinued - Zoloft (Sertralit)e) 100 mg tablet:
                                                                            ·r;·1                                                                             '
                                                                                                                                                              I,._
                       give 2 tablet PO Q AM for90 days. med renewal.                    tablet          QAM              90
       I
                                                                               Noted BJ> Buttler, Janice MH Nutse Practitioner 03/29/7016 02:52PM             ..-,.



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       E-Signed by Janke B\lttlern 06/02/20!0 10:18 AM F.ST                                                                            Page l Of'I

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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 58 of 486 PageID: 737




  Monmouth County
  Monmouth Adult (MCCI)                                                  MedlcatiM Order
  1 W<Jterworks roaci
  F~ehold, NJ 07728
  P&tient Name                               Patf~ot Number                  BoJJking Number                     Birlf1 D1,/e               Defe Of Service
  FREEf-,lfA H, DO#ELL                       25184                           32792"53                            i2/25i1975                 6120/2016

   Order Overview                                                                                                                                                       .1

   Ordered By: Hashmi, Kabeeruddin on 06/20/2016 01:57PM                                                                                                  I
       Start Date     l ~e~;~~~
   ' - - - - - - ' - - - - - - - - - - - - - - - - ' - ·_
                                                                                  "· ..   -T~-~~~-j   UOM          Frequency
                                                                                                _L._ _ _-1.__ _ _ .•••••
                                                                                                                                      ID~~:; ~r P~N ! KO;·l
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       6/25/2016
       _            nebuJization: give 1 mi!lirrter
         _ _ __,__•_lb_u_,._,_ol_,c_"_lf_,,_._2_5_"_'
                        for180 days,
                                                                                                                   ~
                                                               lNH Every 3 hours PRN )l _1_.l__~,-·,11_·,1~·,._,_L~·-·e~
                                                     _g._13_m_L_(0_._03_3_•_¼)_,_o_lu_t_io_n_f_o_,_,_    -.                ~~,~-~-
                                                                                                                                 ,,~__·l·   180          -  No i
                                                                                                                                                     -·_[_~·Er
   L
                                                                                                 No,ted By: HDshmi, Kabeeruddin Pr-avider 06/20!.?0J 6 Ol:57PM




       E-Sigoed by Kal:>eemddin Hashmi n -06/20/2016 Of:57 PM EST                                                                                         Page I (If l




                                                                                                                                                     MCCI MED RECORDS 52
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 59 of 486 PageID: 738




  Monmouth County1 NJ
  Monmouth Adult(MCCI}                                               Medication Order
  1 wat~rworks road
  FreehoJri, r,.1J 01728
  Patient Name                             Patient Number                   Booking Number         Birth Date           Date Of Service
  fREEMAtl, OOHELL                         26184                            3279258                1·2125/1!}7.5        912V2U16


      Order Overviaw

      Ordered By! Ha!ihtni, Kabeeruddin on 09/22/2016 12:29PM

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  i

  i
                       I ·                                                         i
      L~t~rt_°.~te __ .. ~.~t~~-----------------'-i_D_o_s_eJ_____ .t_,,_Frequency \ (Days)
                                                                                             UOM   !               · Durations:~:
                                                                                                                    f



      r-···
      !    9/22/2016
                       'T Tylenol (Acetaminophen) 325--~-g-;ili·l~~~g;~-2              2
                        l tablet PO BID AM & HS PRN fo-r90 day5.



  ' - - - - - - - - - - - - - - -- - - -·-                     -   ------




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          ·ll-Signed by Kabeeruddin Hashmi n 09i22/20t6 12:29 PM EST                                                                  Page I of I




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 60 of 486 PageID: 739




  Moomou1ti Counfy1 NJ
  Monmouth Adult (MGCI)                                               Medication Order
  1 waterwCTrffs road
  Freehold, NJ 07128
  Patieot Namfl.                               P;,;lienl Number             Boaking Number                 Birth D~le       Dale OF Service
  FA.EE.MAH, DOHELL                            2618-4                       327'9258                       12126/1&7.5      12/6i1016


   9"rder Overview

   Ordered By; Ha~hmi, Kabe.eruddin on 12/06/2016 02:21PM

   1 Start Date           !. Medication                                       ···700,.I           UOM   I
                                                                  ------'''---              .I.
   r···-----· - -··
   j 12/6/2016
   ! ----~--
                      ·   1•   hydrocortisonel % Topical Ointment: give.1
                               ointment TOP- BID AM & HS PRN for 7 days:.
                                                                                       1   ·1 · o;nm,en;-1 BID AM &_~s [__7 _      \ Yes      '-~~-1
                                                                                                   Noted   a,, Mu,(ionn, Monro RNl:0612016::/2lP/1_j




     E-Signc<l by Marisa Marciano n 1-2/0(-Jl0 l 6 02:21 PM EST                                                                            Page I of I.

     E-Signed by Kabeeruddin Hru,hmi, l?n:i-vider on 12/08/2016-.03:.!S PM RST



                                                                                                                                 MCCI MED RECORDS 54
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 61 of 486 PageID: 740




  Monmouth County 1 NJ
  Monmollth Adult (MCCI)                                                Medication Order
  1 warerworks road
  Fro.eho/d, NJ 07728
  Pet/ent Nflrne                             Pati~nt Number               Booking Numb·er                    Birlb Date          Date or Service
  FREEMAl~ 1 OotlELL                         26184                        3279250                            12/25/1975          12113/2016
                                                                                                                                                                 i
                                                                                                                                                                 Ii
   Order Overview                                                                                                                                                ;i
       O.-der-ed By: Hashmi,· Kabe.e:ruddin on 12/13/2016 02:29PM                                                                                                ,,:1'
   r--                I                                                                                                                                          11
   1
   i
    Start     Date I Medkation
       ----·---··--L·-·----- ..... -······                                                                                                                        I
                                                                                                                                                                  I



        11/22/2016
                          albuterol rnlfate 1.5 mg/3 ml (0.083 %) s~lu~ion for \
                          nel:Julization: give 1 milliliterlNH Ever/ 3 hau1a PRN j'   1        milliliter    Ever/ 3 hours       180
                                                                                                                                                   I
                                                                                                                                            Yes 1 No             I
                                                                                                                                                   I              I,
                          for180 d;:tys,                                                             _ _c__ _ _ _J _ _ _ _ _ _ _ I
                                                                                          Noted By. Hashmi, K.!1be£wddin Provider 12/13/2016 02:29PM



   i ll/21/20l6 ·1 Tylenol (Acetaminopfu:n) 325- trig tablet: give..2             f ·;·--1·
                                                                               tablet ·          90  Yes
   l~_ _ __.__t,_b_le_t_P_O_B_I□_A_M_&_HS_P_RN_fo_r_9_0_d_ays_,_,-----'---'---~~----'---------'--~=~--!_·
                                                                         1
                                                                                                            1·~~;:~ ~ -~~-•11
                                                                                                          ______ \
                                                                                                                                                   j ~:-···1
                                                                                            iVtlted By; HG.s.hmi, Kabeerudd/n Provfder 12/13/2016 0.2:29PM




       E•Signecl by Kal>ecrucldin Hashmi n 12/.1312016' 02:29 PM ES-r                                                                            P::ige 1 of I




                                                                                                                                       MCCI MED RECORDS 55
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 62 of 486 PageID: 741




  Monmouth County, NJ
  MonmQut/l Adult (MCCI)                                           Medication Ord"r
  1 waterworks road
  FrntJhoJd,   NJ 01728
  Pelient Name                           Patient Number               Booking Number         8irlh D~le          D1,/e Of SerY1ce
  FREEMAN, DOHELL                        2S"1B4                       3279253                12'2511976          12a11201s


   Order Overview

   Ordered By! Ha~hmi, Kabeervddin on12{21/.201611:44AM




                                                                                                                                                   i
   lr~/l!/20lG !-hy~rocortisone 1 % Topiu1I Ointment: give 1
   1~----'l_o_in_t_~~~~T?~ BID ~M & HSPRNforlO days.
                                                                                       Noted By, Mr:m:ian-,,Marisa RN 12/2l/2016 ll:44AM

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     f•Slgned   hy Marisa M,m::ia110 o 12/21/2016 11:44 AM El:ST                                                                P.tge I of·I

     E-Sigoed by Kul.rncruddin Ht1-Sh.ml, Provider on 12ti3/21ll6 I0:55·AM EST



                                                                                                                      MCCI MED RECORDS 56
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  Monmoutfl County1 »J
  Monmouth Adult(MGGI)                                       Medication Order
  1 waterworks roBd
  Freehold, NJ onw
  Pstfeat Name                         Patient 1V1Jmber          Booking Number                          8irlf1Daie          Ditle 0( Service
  FREEMAfl, DOHELL                     26HW                      327925{1                                1212511976          1!9/2017




    Ordered By: Tyas., Pauline on 01/09/2017 U:49AM

      ~-~-rt Date   _l M_edkation _________

                                                                                  I    tablet        I       QAM      --1     7     I    No     I   ,10   i
                                                                                  L                                     L.           I          l         11
                                                                                 N,;;tEd By. Tyus, Pouifne Nurre PractitLaMr 0.!ft)9;2017 11:49AM             1



   r· li10/1017     j prednisone 20 mg tablet: give2 tablet PO QAM for
                    j 5 days,                                            I   2
                                                                                  i
                                                                                 .L   _'_'b_l_•'_         Q_A_M_ _ ,I
                                                                                                    __1__ _
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   1... ~,          -l·-·--'----------------
                                                                                 Noted By: Tyus, Pur.:line ,\l,;rse Praditione1 Cl;V9/.W.!7 11:49AM




     E-S[glled by Pauline Tyas n 01/09/2017 J l :49 AM EST                                                                                    Page I of 1




                                                                                                                                  MCCI MED RECORDS 57
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 64 of 486 PageID: 743




  Monmouth County 1 MJ
  Monmouth Adult (MGGI)
  1 wate,worfn; road
                                                                  Medication Order                                                                           i\
  Freeholdi NJ 01128
                                                                                                                                                             !

   PaUenrName.                           Patient Number               [Jooking Number                 Blrth Dale             Dale Of Service
   FREEMAff 1 DONELL                     26184                        3279258                         12125/1975            212112017                        I   .1

                                                                                                                                                                 i
       Ordered By: Hashmi, Kabee-ruddin on 02/21/2017 09:41AM                                                                                                    I
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                                                                                                                          Durations. i PRN     I KOP
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                                                                                                                      '    (D~y_s)   ;         , -·-··
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  a'          ····--·-r·
  11 ]/2l/lOl 7 ! h?drocortls:one.1 % Topical Ointment: givel
  :i ·          101ntmcntTOPB1DAM&HSforl0days,                                   I   1   1· oinMont Jam AM & HS       i
  If - -          ·-·"- ~ - - - - - - - - - - - - - ' - - - - -
                                                                                               Noted By; Man:iar.-D,Mari~a ffN 02/21;2017 09:41Al'•1




       £-Signed-by. MMisa Marcia110 n 02121/2017 09;41 AM EST                                                                                Page l of I

       E-Sigiled by Kab.eemddin H118)m1i, ProviJer on (}4/0412017 09:31 AM EST


                                                                                                                                 MCCI MED RECORDS 58
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 65 of 486 PageID: 744




  Monmouth County, NJ
  Monmouth Adult {MCCI)                                             Medication Order
  1 waten'lorks road
  Fre.QhOJd1 NJ 01728
  Pafi't!ntMame:                          Patient ,\lumber               Booking Number                        Birlh Dale          Date or Service
  FREEMAtl 1 DOUEll                       26184                          3279268                               12/25/1976         3120120--f7

   Ord~r Overview
  rOrdered By! Ha_s_h_m_i_,K_a_b_e_er_u_d_d-in_o_1_1O_l_/_20_/_20_1_7_0_9_:<l-_l_A-~,-1--------------
  ,
   !l St~rt D;i.te   I Medication                                                      Dose   f
                                                                                              I
                                                                                                    UOM                       r
                                                                                                                 frequency 1 _JDays)      l
                                                                                                                             Durations PR~-!- K~~         l
                                                                                                                                     __ i__________ 1_____ !
                     I



       3/20/2CJ1.7
                         hydrocortisonel % Topical Ointment give30
                         rnillillterTOP BID AM & HS for 10 days.                   i
                                                                                       3
                                                                                        0
                                                                                                  milliliter   iBID AM &~-~-i---~O        [ NoT-~o-]           I
   ~-----'---------------------'
                                                                                                        Noted BJ.~ Manfano, Mariw RN 03/Z0/2017 09:44AM




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      E-Slgned _b)I M11ri_M Marciano n 03/20/2017 !l9i44 AM EST                                                                                  Page I of l

      E-Slgm::d·by K.alieentddin Hashmi. Provider on 05/()2/2017 07:51. PM ES'!'



                                                                                                                                       MCCI MED RECORDS 59
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 66 of 486 PageID: 745




                                                              MCCI MED RECORDS 60
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 67 of 486 PageID: 746




  Monmouth County
  Monmouth Adult {MGCJJ                                            Physician Order
  1 wat~orks mad
  F,--et;1hold, f'ofJ07728
  Pafient Neme                        Patient Number                  Booking Number    Birth Date     Dste O.F Sent/Cf:
  OONELL FREEMAN                      26134                           3279258           1'2126/1976    6/30/2015

  Patient Problems:
   Observed
                  Category Type              Problem                                          Confirmed By
   Date
                           PSYCH: Sut,stance At h /Ab                                                                                l
   06 _30 _2 0'/S Acute    Abuse               co o   use                                                                            I
   06-30-2015 Chronic  RESP: Asthma                              Asthma Not Otherwise Specified
     _ _ 5 Acute       PSYCH:                                    Unspecified Major Depression,
  106 30 201
  ~ - - - - - - - ... [)epre1,_',iQ11.                           Recurrent Episode _________



                                                            Allergy
                                                            J'}g l{nown Aflergi_es_

    Orders

             Added 06/30/20i5 02:27 PM EST by rCard/n LPAf ! - - - - - - - - - - - - - - - - - - - - - - - - ~

     c.w. for suicidal idea/ions. c1iva protocol for etoh wld. low bun!< x 90 days due to physical infirmities. re                   I.<


   r\Jolen' by
   '"Control W'1$ NOT noted"'




    F.-Si.~ned by Robert Curditi n 06/30/2015 02:27 PM EST                                                             Page I of l

    E..,Signed by Knb~·crnd_Jin Hoshmi n 07/06/2015 04:41 PM UST
    F-Signed by [>:i.frkia Aiiz n 07!06/2015 07:43 PM EST


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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 68 of 486 PageID: 747




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  P.fonrnouth County
  Monmouth Adult (MGCJ)                                             Infirmary Physician Order
  1 waterworks road
  Freehold, NJ07728
  Pattent Nem&                               Patient Numb&r                   Booking Number          Birth Date      Dat& Of Service
  DONELl FREEMAU                             26184                            327&256                 12125/1976      711/2016




                                                                                                                                 ·-1
      Patient Problems:
      Observed
                           Category Type                                  Problem                            Confirmed By
      Date
      , 06-30-2015 Acute                  ~f[s~H: SubS/ance Alcohol Abuse
      \06-30-2015 Chronic RESP: Asthma                                    Asthma Nol Othenvise Specifled
        06- _      Acute  PSYCH:                                          Unspecified Major Depression,
      1    30 2015
      ,            _____Depression_                                      .B~9urrent Ef)i:sod_e ___ .......
      Patient Allergies:
      !Observed                                                    Allergy
      Wale                 Type
      !06-30:2015          A!lergy_ lte_rns ···-· ___ _            No Known Allergjes ...
  I                    .


  I_ Orders·_. · · · - - - - - - - - - - - - - - - - - - - ~ - - - - - - - - -
              Added 07/01120151 t:36 AM EST by traSk~u.skas Nurse.Practitioner                 >-------------------~


      Noted /)y
      ,..,,:-;;,Control was NOT noted;.-;;,.




       E,Sigm.:d by Thei"e~:1 Roskaus-kM 11-97/0 t/2015 I l-:J6. l}M- EST                                                           Page I ofl
       I:'.-Sign~d by Kathryn F11ct.ina n 07/01/20-15 11:48· .-i.M EST



                                                                                                                            MCCI MED RECORDS 62
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 69 of 486 PageID: 748




      1\-lonmouth County
      Monmouth Adult (MCCl)
      I watenvorkv rQµ,J
      F'reelloM,·NJ 07728
                                                       Infirmary
                                                    Physician's Order
                                                                                                                                        .,,Jii;
                                                                                                                                   CORRECT CAR,
                                                                                                                                   $:)LUTIONS
                                                                                                                                                     ccs
      732-866·3665 ,xi. 36SI fax 732·866·3669 ~ - - - - - - - - - - - - '

      l'!ilh>nl Nmm:                           Ptlllrnr M1m1J,r.r      IJ,ml:111~ Nvmb,1r         !)at,•'!flJmll                    Tl/,/{~~- '.1· /}11M
      FREEMAN, DONELL                          26184                   3279258                     12/25/1975                      712112015

                ALLERGIES

      Phvsichin:                                                           I                       ..

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                                 Another hrand of drug identical in
                                 con1eut ma>' be □ tlispen:;cd unless
      Da+e   &. Time:            cLAckPd.         ;
     1-,7;,,Ticn //)""·       10.(/oun Jo             - • " T7T,., " ,o.:--ir· JI
                              l/1.11"' ·- ,,I_ IA - ~i ,_        z~-.. , 't1,_( V
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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 70 of 486 PageID: 749




      Monmouth County
      Mmmu)l1th Adu/I (MCCJ)
      1 wale.nvorks road
                                                              Infirmary
                                                           Physician's Ord.er
                                                                                                                                                      .,,;.,:CCS
                                                                                                                                                 CORRECT CARE
      FreefU)/dJ NJ 07718                                                                                                                        SOLUTIONS
      7.12-866-3665 e<:J. 3651 Fox 731-866-JM9 '---------------_____J

       r•afuml ~./wnl!                                  Pa11t,111 Nm11,kr           /Jimkh1g Nllmh<iT                  D1w 11//J/rlh             Thdt4• ·~ /Jm,•
       FREEMAN, DO~ELL                                  26184                      3279258                             12/25/1915                7/27/2015

                  A LE.RGIES

      Phvsician:                                                                         I
                                         A11other brand of drug idetnical in
                                          content may be □ dispensed unless                                                                                                          I
      Dilote "'"Time:                     checked.
     ... J::;.--,f(c'.(,J   ';(~Va,._.   •; ,ll    n II.- .. /./Jf,./u.            ·,,         ,. I     "   ..... '·         ,                          a   A

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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 71 of 486 PageID: 750
                                                                                                                                        '.. i




  Monmouth County
  MoJJmouth Adult {MCCI)                                            Physician Order
  1 wafo.,works ro.id                                                                                                                   1:
  Freehold, NJ07128
  Patient .Ve.me                       Petient i\11..•mber             Booking Number         Birt~ 0Hte    OW; Of Service
  OOHELL FREEMAN                       26184                           327!1258               12/2511976     127/2016

  Patient Problems:
   Observed                                                                                        Con/inned By
                    Category Type                                 Problem
   Date
   06-30-2015 A cute                PSYCH: Subs/a11ce             A' h /Ab
                                    Abuse                          ,co o    use
  I06-30-2015       Chronic         RESP: Asthma                  Asthma Not Otherwise Specified
                                    PSYCH:                        Unspecified Major Depression,  Janice Bull/er
  l~6-::0-~0-15 _Acute              Depression                    Recurrent_Episode __________
   Palient Allergies:
  !oliserveci                                                Allergy
  !Date       Type
  I06-30-2015 Allergy Items                                  No /(nown_/\l~le~rg=iec=s_____

    Orders

           ~dded 071271201512:!57 PM /EST by c]rirdan_Nurse Practitioner ! - - - - - - - - - - - - - - - - - - - - ~

     CCC follow up 90 days

   ;\lofedby
   ~control was NOT noted"·~:"




    E•Signed by Catht'rini:.lfordon n 07/27/ZOIS 12:57 PM ES'J'                                                          P:lgc I of I

    E~Stgned by LaU:ren Werlhwein ll 07n.7/20!5 02:03 PM EST



                                                                                                                  MCCI MED RECORDS 65
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 72 of 486 PageID: 751




  Monmouth County
  Monmouth Adult (MCCJ)                                                                                Physician Order
  1 waterworks road
  Freehold, NJD1728
  Patient f-lame                                                            Petiimf Number              Booking Number       Bfrth Date       Dl!,'e Of SenJir;;~
  OOflELL FREEMAN'                                                          21J1B4                      327:9258             1212511975.      11/13/2015

   Patient Problems:
   observed                                                                                                                        Confirmed By
  1                                     Category Type                                             Problem
  ;Date
   ' 06-30-2015                         Acute                        PSYCH: Substance Al h /Ab
                                                                     Abuse              co o    use
       06-30-2015 Chronic                                            RESP: Asthma     Asthma Not Otherwise Specified
                                                                     PSYCH:           Unspecified Major Depression,
       06-30-2015 Acute                                                                                                            Janice Buttler
                                                                    .Depression       Recurrent Episode
   Patient Allergies:
   i•Date
     Observed                           T ·
                                           ype
                                                                                             Allergy
   I

                                                                            =====··=··:::.·=N=o=K=n=rn=vn=A=l/e=rg"::i:"=·e.s:_---..:_·..:.::.=-=====-=======-1
                 .. :_20:.:··1__,s_:.:A-:_1/e:_rg'.':y'.:.,C.::te:_mc_::s:_··
  ,':L0:_.6:_:3:_0-:_


  [orders                                                  -·--··-·------·-------~-----                                                    __________ __J

                     A~(ied 11/1312()15 {0:08 AM EST by traskiJuskas Nui:re Practltkmer f - - - - - - - - - - - - - - - - - - - - .

        Please obtain medical records - radiology only - from Northern state Prison and Mercy Hospital Baltimore
        form signed
   1\Jotea fJy
   ,~~control was NOT notedfo




       E-Signed by_ Thet~..s!t Raskau~kas 11 I 1/1 j/2015 10:06 AJV]                          1::s·r                                                            Page I of I
       E-Si'gnetl by Krista Killim:.n 11/13/2015 ]j :00 AM EST



                                                                                                                                                    MCCI MED RECORDS 66
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 73 of 486 PageID: 752




  Monmouth County
  Monmouth Adult (MCCI)                                               Physician Order
  1 waterworF<s road
  Freehold, NJ07728
  PotlentName                        Patient Number                     Booking Number    Birth Date        De:te Of Service
  OOHH L FREEMAN                     26184                              327925-8          1212611975        1211/2015
  Patient Problems:
  rOiiSe'{Ved                                                                                   Confi1med By
   Date              Category Type                                Problem

   06-30-2015 Acute                ~f;s~H: SubSlance Alcohol Abuse
   06-30-2015 Chronic       RESP: Asllima                       Asthma Not Otherwise Specified
  \. 06 _30 _2015 Acute     PSYCH:                               Unspecified Major Depression, Janice Buttler
          ·- ·-·-. -·· ______,_D~e,,p'-'re"'s"'s"'io""n.c__ __,_R,.,ecccc-cu,_.rr:ce,_.nt'-'E~,p"'1:c·s~od~e~_____________~
  Patient Allergies:
  IObserved
  iDale
                T"p8
                 "
                                        Al/engy                                                                      ·-·----·1
  i 06-30-2015 _Al/e/;qy)tems --------~N~o l(nowll Allen.~g~ie~s _ _ _ _ _ __




           Added 1210112015 11:18Af.f E.$Tby khashml P(OV/der ' - - ~ - - - - - - - - - - - - - - - - - - - - - -

    ccc 90 days

    MDSC r.vo weeks

    xra y left hip

    Low bunk low tier U/1 ETG

   i\lotecl hy
   il,/,l'/Controf was NOT noted;;-.t'~




    &.Signed b)' Kubccrtu.ldln.Hashmi, Pmvider   Oil   12/01/2015 l"I: 19 AM.EST                                           P_ag~. J of I

    E~Sign.ed hy Krim:a Killins n 12/01/ZOI$ 11:51 AM EST



                                                                                                                 MCCI MED RECORDS 67
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 74 of 486 PageID: 753




  Monmouth County
  Monmouth Adult (MCCI)                                           Physician Order
  1 waterworks rofJd
  Freehold, PJJ0772B
  P;uienfName                        Patient Number                  Booking Number        Birth Dete    Date Qf Service
  DOflEll FREEMA~                    26184                           3179268               12125/t975    12/Hi.12015
   Patient Problems:
   Observed                                                                                     Confirmed By
                    Category Type                             Problem
   Date
   06-30-2015 Acute      PSYCH: Substance Al h /Ab
                         Abuse              co o    use
   06-30-2015 Chronic RESP: Asthma        Asthma Nol 0/heiwise Specified
                         PSYCH:           Unspecified Major Depression,
   06-30-2015 Acute ... _J)_epress1on
                                   ·      Recurrent Epjsade __ _         Janice Bull/er

   Patient Allergies:
   ; Observed - -- --                                  -_.,_, .. ·-·--·----- ____, __ .

   12:;Q-:!01!>. :;:;gy_l/~111s__ _________ ::~e;;QIV/1 Allergie§
    Orders


          ~dded12!1512.0i5f2:_15PMESTbyebarjo_nNUISePractltfoner                     f-----------------------~



   Noted by
   '""Control was Nor noted"'·'




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    £-Signed by Ellefl Bilrton n 12/15/2015 12:15 PM EST                                                               P::lg:e I ot' I

    E-&igned hy Cher;tl Roman n l2'15/2.0l'i OJ :Jg PM EST



                                                                                                               MCCI MED RECORDS 68
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 75 of 486 PageID: 754




  Monmouth County
  Monmouth Adult {NfCCI)                                          Physician Order
  ,- wate,work$ rortd
  Fre.Ghold, NJ07728
  Peflenf Name                       Petf-ent Nr!mber               Booking Number        Birth Date     Date Of Servic1:t
  DOfiELL FREfMAH                    26154                          321!1258              12/25(1975"    3124/2016

   Patient Problems:
  r -· ...............
  1 Observed             C t                                   Problem                          Confirmed By
   Dale                   a egory Type
   03-19-2016 Acute               Symptoms         Abnormality of Gait
   06-30--2015 Acute              PSYCH: Substance Al h I Ab
                                  Abuse                           co o   use
   06-30-2015 Chronic             RESP: Asthma                 Asthma Not Otherwise Specified
                                  PSYCH:                       Unspecified Major Depression,  Janice Buttler
   06-30-2015 Acute               Depression                     Recurren{fl'Lsode. _ _ _ _ _ _ _ _ __
   Patient Allergies:
   Observed              r
   Date                  ype                             Allergy                                                                       i
   .06:~0~~0!5 All~y //ems                              No f{nmvn .AUe_rgies

    Orders

         - Added 03/24/2018 [2.52 _PM EST by duhachuktvu· Nur~ i?ractitfoner ~ - - - - - - - - - - - - - - - - - ~


     Follow up in 90 days.

     Medication when pain in the /efl leg flares

   Noted by
   H-~(',-0ntrol was NOT noted,,;.""-




    £."Signed by Daniel Unaclrnk.wu n-03/24/2016 12-:52 PM EST                                                           Page J' Or!

    E~Signcd by, Llluren Werthwein n 03/24/2016 OJ:24 PM EST



                                                                                                               MCCI MED RECORDS 69
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 76 of 486 PageID: 755




  Monmouth County
  Monmouth Adult (MCCI)                                        Physician Order
  1 waterworks road
  Freehold, NJ01728
  Petlent ,'Vam&                     Patienl Number              Booking Nnmb·er      Birth Dale     Date or Service
  0ONEtL FREEMAfl                    26184                       '3279268             12125/1975     6}2012016

  Patient Problems:
   Observed                                                                                Con/inned By
   Date             Category       Type                    Problem
   03°19-2016 Acute               Symptoms         Abnormarity of Gait
                                  PSYCH: Substance Al h I Ab
   06-30-2015 Acute               Abuse              co o    use
   06-30-2015 Chronic             RESP: Asthma             Asthma Not Othe1wise Specified
                                  PSYCH:                   Unspecified Major Depression,
   06-30-2015 Acute                                                                       Janice Buttler
                                  Depression               Recurrent E'p_isode
   Patient Allergies:
         .
   Obse,ved
              .

                    T
                      --------------·-········                                                                  -·-7
                                                       Allergy
   Date              ype                                                                                                  i
   .06_,:3_002015_ IHl~rg)I Items                      No Known Allergies                                                 '
                                                                                                                 ····-----1


  j Orders

             Added 08120/2016 10:0.7 AM EST by ·diJl1achLIJn11u Nu~ P~~tltloner f - - - - - - - - - - - - - - - - - - ~




   Noted by
   ,. . . ."'Control was f,JOT noted;.;.-;,
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    !}Signed by Daniel Unadmkwu n.0(,/20/2016 .10:07 AM EST                                                         Page I or I

    E-Signed by Lauren \Vcrthwdn 11 06/20/2016 10: IO AM EST



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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 77 of 486 PageID: 756                                                               l' ·1

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  Monmouth County
  Monmouth Adult (MCCI)                                              PhJsician Order
  1 w.aterwork!! road
  Freehold, NJ01'128
  PBtientNBmfl                         Patient Nambei-                Booking Number                Birth Dst~     Dete Of &:rvtce
  oo,iELL FREEMAN                      26184                          327925-8                      12Ji5/1975     6/24/2016



   Observed                                                                                              Confrrmed By
                    Category Type                                Problem
   Dale
   03-19-2016 Acuie                 Symptoms                     Abnormality of Gait
                                    PSYCH: Substance             A' h /Ab
   06-30-2015 Acute                 Abuse                          1CO a    use
   06-30-2015 Chronic               RESP: Asthma                 Asthma Not Othe,wise Specified
                                    PSYCH:                       l)nspecified Major Depression,
   06-30-2015 Acute                                                                                      Jamee Buttler
               ___....e:D:,:eeP~c,ec,:ssion                      Recurrent_ Epis,_,,o,.,d,.,e____
   Patient A Uergies:
                    -------
   Observed    T                                                                                                                      !
                                                            Allergy
   Date         ype
   06-30-20'15 Allergylte_ms                                No Known Allergies                                                       j'
    Orders


          A~ded 08124./2016 f i:_43 ~M EST bydunachukl!U Nurse r:racti~Iriner          >-------------------~

     Follow up in 90 days.

     Continue with Albu/erol neb treatment as needed daily_


   Noted by
   "'Control was /./OT not<>cf'"




    E~Sigru.:J by Daniel Unacl1ukwu n 0(i/24/20.l 6 11 :43· AM EST
    E-Sign1"d b}'. Lll1!re1i Werthwoin n 06/24/20i°tl 11:51 AM EST



                                                                                                                         MCCI MED RECORDS 71
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 78 of 486 PageID: 757




  Monmouth County
  Monmouth Adult (MCCI}                                                 Physician Order
  1 wat&Worla. road
  Freehold, NJ07728
  P&tlent N•ame                        Pelie.nt Num/Jf:r                     {3pokH)g Number         Birth Oat&     Dale Of Service
  DOHELL FREEMAtl                      2Gt84                                 3279258                 12/15/1975     711312016

  Patient Problems:
   ---••••-   -   • - - - - - - - - - - - - -                   •a••••"_,,_, _   _,   -T•-   •----------

   Obsetved                                                                                                Con/inned By
              Category Type             Problem
   Date
   03-19-2016 Acute    Symptoms         Abnormality ofGaff
                       PSYCH: Substance A' k /Ab
   06-30-2015 Acute    Abuse             1co, ,o  use
   06-30-2015 Chronic RESP: Asthma      Asthma Not 0/henvise Specified
      _ _        Acute     PSYCH:       Unspecified Major Depression, Janice Buttler
   06 30 2015
          ------~O~e~p~r~e~s~s~io=n    .Recurrent E,.P~is~o~d~e~-----       ______
  Patient Allergies:
  i Oaseived - - - - - - - - - - - -
  iDate          Type               Allergy
  [Oli-30-2015 Allergv Items        No Known Allergies

    Orders

              Add~ or(13f.2.D16 11~54 AM E-S~ by·dvnar;h1Jk1YIJ·NurS;e Pract/Uoner f - - - - - - - - - - - - - - - - - - ~

    Please allow Inmate to use own Orthopedic shoe in his properly. Inmate has one foot shorter than the other.

   Noted by
   ""Control was NOT noted"''




    E,Signe<l by Daniel Unactrnk.wu n 07113/2016' I f:54 A,_M   EST                                                               Page I of\

    E•Signecl.b;, Marisa tviardano n 07/13/2-016-07:27 PM ES1


                                                                                                                          MCCI MED RECORDS 72
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 79 of 486 PageID: 758




  Monmoutl1 County1 HJ
  Monmouth Adult {MCCT)                                                Physician Order
  1 wat~rworks road
  Freehold, NJ01728
  P1:1tientNeme                           Pr,tiem N1}mber                Booking Nnmb-":Jr      Birlh Dete    Date Of Service
  OONELL FREEPJIAtl                       2.6184                         32:7926-8              12/2511975    9/22/2016

   Patient Problems:
   Observed Category Type
   Date
                                       Symptoms
                                                                  Problem
                                                                  Abnormality of Gait
                                                                                                     Connm1ed By·-                 I
        03-19-2016 Acute
  !,.   06-30-2015 Acute               PSYCH: Substance Alco ho (Ab use
                                       Abuse
  i06-30-2015            Chronic       RESP: Aslilma    Asthma Not Otherwise Specified
   06- 30_2015 Acute
  i,                                   PSYCH.-          Unspecified Major Depression,  Janice Bult/er                               •1


  ,___,___ ______O=e,,_pr'-'e"'s"'s~io"n'----~R~e~cu"'r-'-re"'n"'l__,E=<Pccis"'o'-'d._,e'------               .. ___ ________ _
        Patient Allergies:
   fObserved            T-yp_e_ _ _ _ _ _ _ _A-11-e"-gy-----------~
  1Date                                                           ,,                                                                iI
  i 06-30-2015          Allergv Items                        No /{nown Allergies _________ ..                                   __ _I


         Orders

         - - Added 09/22/2018 12:27 PM EST by l<hashml Provld~r.. - - - - - - - - - - - - - - - - - - - - - - - - - ,



         diaglf3
         HgBA1C

         ccc90 days




        Noteci bv
        'K•*Coniro/ was NOT noted'"'




         E-Signed by Kabecrud,lin H!Ulluni, Provider ,m 09/22/2016 12:28 PM EST                                             P3ge I of l

         E-Si811ed by l!nmm Wcnhwcin, RN .:m 09(22/2016 01:J I f>M EST



                                                                                                                  MCCI MED RECORDS 73
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 80 of 486 PageID: 759




                                                                                                                                          I.


  Monm'Outh Coanty 1 NJ
  Monmouth Adu/t(MCG/)                                             Physician Order
  1 waf.erworf<,S road
  Freehold, NJD1728
  Pntienf Name                          PalientNumber                    Bookipg Number     Birllt Oi:JI&    Date Of Servfc,;:
  OONELL FREEMAU                        26f84                            3279253            1~/25/1975       1V2612016
   Patient Problems:
    Observed
                Catego1y Type                                   Prob/e.m                            Confim1ed By
    Date
    03-19-2016 Acute     Symptoms                               Ab1JOrmality of Gait
   l06-30-2015 Acute     PSYCH: Substance                       Al I (Ab
                         Abuse                                    co 10   use
   i06-30-2015 Chronic RESP: Asthma                             Asthma Not Otherwise Specified
                         PSYCH:                                 Unspecified Major Depression,
   Ioa-30-201 s Acute
                         Depression                             Recurrent Epjsode .
                                                                                               ,Janice Buttler

   Patient Allergies:
                                                                                                                                  ·,

                                                                                                                                 _j
             Addefi 1212.61201$ 10:35AM EST by khasfifr?; P(OV/dsr          >----------------------~

   Noteo' by
   "'Control was NOT noted'"




       E-Slgncd by K11bcetuddin Hashmi. Pnwider on 12/26/20.16 1.0:3ci AM EST                                               Page I of 1
       E-Si"gncd by Lani"ell Werlhwehi, RN (HJ 12/26/2016 11:23 AM EST



                                                                                                                   MCCI MED RECORDS 74
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 81 of 486 PageID: 760




  Monmouth County, HJ
  Monmouth II dult (MCGI)                                            Physician Order
  1 waterworks road
  Freehold, NJD"/728
  Patient r\/&me                        Patienl Number                   Booking Number      BJrth Dale      011/e Of .Si:,11,•/c.o
  DONELL FREEMAN                        26184                            '.3270258           12125/1975      1/9/2.017
  Patient Problems:
  i Observed                         Type                         Problem                          Confirmed By
   Date              Category
   03-19-2016 Acute                  Symptoms         Abno,mality of Gait
   06--30-2015 Acute                 PSYCH: Substance A' h /Ab
                                     Abuse             ,co o use                                                                         I
   06-30-2015 Chronic                RESP: Asthma                  Asthma Not Otherwise Specified                                       I
   06--30-2015 Acute                 PSYCH:
                                     Depression
                                                                   Unspecified Major Depression,  Janice Buttler
                                                               ... Recurrent Ep,=.1,=·so=de"---------                                  J
  Patient Allergies:
  /Observed          T
  IDate               ype                                    Allergy
  [O.li:3_0-2015 Al/ef!}JI_ Items                            No Known Allerg~ie~s_ _ _ _ __

  · Orders

           Ad~ed 01/09(.2017 11:53 AM EST_byptya:; Nurse.Practitioner \ . - - - - - - - - - - - - - - - - - - - - ~




   Noted iJy
   s..>o;'Con.trol was NOT noted",..~                                                                                                            Ii




    E-Signed by Pa_uline Tyas, Nurse Practi1im1er on OL/09/ZO) 7 J_ 1:5~ Al\·f eST                                                Pilge I of l

    E-Sibrned by Laure-n Werthwein, RN on 01/-09/2017 12:17 PM EST



                                                                                                                    MCCI MED RECORDS 75
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 82 of 486 PageID: 761




                                                              MCCI MED RECORDS 76
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 83 of 486 PageID: 762


                                                                                                                                                                I;




  Momnauth County
  Monmouth Adult {MGCJJ                                          Provider Progress Notes
  1 wate,works road
  Freehold, NJ07128




  albuterol sulfate 2.5 mg13 n,L (0.083 %} ~olution for              LOO            Monmouth Facility! Every3      7/1/2015 2:00:00 Pr-,.1 ~~'28(20151:59tl0
                                                                                                                                                                I
  nebullzatton                     ·                                 millilit~r     hours
                                                                                                                  10/8/2015 8:00,'()0
  Zoloft {Sertraline} 100 mg tsblet                                  2.llO tablet   Monmouth fadriti.r: Q AM                              1/612016 7:59:00 AM
                                                                                                                   AM                                            !'.
   Patient Problems:                                                                                                                                             I
                                                                                                                                                                 I
            -~--·······-········
   Observed                                                                                                      Con/inned By
   Date               Category Type                                 Problem

   06-30-2015 Acute                    ~::,,~H: SubS tance Alcohol Abuse
   06-30-2015 Chronic                  RESP: Asthma                 Asthma Not Othenvise Specified
                                       PSYCH:                       Unspecified Major Depression,
   06-30-2015 Acute                                                                                Janice Buttler
                                       Depression                   Recurrent Episode
   Palient Allergies:
   =---···-· -- -··
   ,observed T                                                 Allergy
   >Date            ype
   I
   1Q6:30~2()_1,, )\//ergy Jtern_s ..                          No Known AllefJJi~s _
   l:zl Vital Signs Taken
   Patient Vitals:
                                                                    _._ .. ,_ -------------~                                  --·-· -··"
   Observed Blood                                                                                                              BM/
                                          Pulse          Resp. Rate Temp                  Pulse Ox              Weight
   Date     Pressure
    11-13-
    2015
                    124/80                62             16                  97.80           97
    09:13AM
    f.0!.
    Notes I History:
                      '-------~--'-------•~--'---~--
            Added 111131201510:0BAMEST t,y~asJ<auskas Nurse                       Practitioner f - - - - - - - - - - - - - - - - - - - ~
     S: c/o left hip pain limes several years, injury form youth /hat is getting more painful. 'wants.hip repaired"
     0: vss
     Left hip injury, limping gait
     full ROM
     A; limping gait, reporeted hip injury
     P: will request medica/records, for signed




    E,Sigt1c<l by 'fheres:i. RnskauSkas 11 l l/{3/201'5 10:05 AiVI EST                                                                          Page I of 1




                                                                                                                                        MCCI MED RECORDS 77
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 84 of 486 PageID: 763




  Monmouth County
  Monmouth Adult {MGCJ)                                          Progress Notes
  1 watetWorffs road
  Free.hoJrJ, NJ077"/.IJ
  Patient ,\lame                       Piillent Number
  DOUELL FREEMAN                       26184



  albute"rOI sulfate 2,5 mg/3           %) solution for        1,00          Monmouth Fad!lty: EV.ery 3     7/1/2015 2:00:00 PM ~;,~'1.3/2015 1:59:00
  nebu\ization                                                 mmmter        hours
                                                                                                            10/8/2015 8:00:00
  Zoloft (Scrtraline) 100 mg tablet                            2.00 tablet   Monmouth facilil)'~ Q AM                            L'6J2016 1~59:00 AM
                                                                                                            AM
                                                                                                            12)1/2015 7:00:00    12116/2015 6;59:00
  Moblc [Melo:dcam) J.S mQ tablet                              LOO tablet    Monmouth Fi1dllt)1 Q HS
                                                                                                             PM                   PM
   Patient Problems:
   IObserved        Category Type                             Problem                                      Confirmed By
                                                                                                                                       ---7
   !Date
                                      PSYCH: Substance        Al h I Ab
                                                                                                                                              I
   06-30-2015 Acute                   Abuse                     co o    use
   06-30-2015 Chronic
   I06-30-2015 Acute
                                      RESP: Asthma
                                      PSYCH:
                                      De[!_ression
                                                              Asthma Not Otherwise Specified
                                                              Unspecified Major Depression,
                                                              Recurrent E(lisode ....
                                                                                                 Janice Buttler
                                                                                          . --.. --•-·---
                                                                                                                                        _J
   Patient Allergies:
   Observed         T                                      Allergy
   Date        ype
   06-30-2015 Alie              Hems ___ _          ...... NoKnown Allergies·--~-----------
   □    Vital Signs Taken
   Patient Vitals:
   ~ ~ - - ~ ~ ~ ~ - - - - - - - - - - - - - - - - - - - - - - - - -····--~ ...
   IObserved
   ! Date
                     Blood
                     Pressure
                                          Pulse          Resp. Rate Temp               Pulse Ox           Weig/it        BM/                  I
                                                                                                                                              I



    Notes / History:


    --- Added 12(!!51201/i 12;/f PA/eST t,yei,a,ton Nursii Pmct/uoner < - - - - - - - - - - - - - - - - - - ~

     s. IM seen for fol/owup for ft hip pain. IM had surgery as a child. /M reports it hurts lo walki and this is a
     chronic condffion. o. xray revealed degenerative changes, walks with ump. ap, chronic pain continue mobic
     as ordered. continue bottom bunk
                                                                                                                                                        i
                                                                                                                                                        '"




    E-Signcd by Ellen Barton n 12/15/Zt'>lS 12:14 PM EST                                                                                Puge i or 1




                                                                                                                                MCCI MED RECORDS 78
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 85 of 486 PageID: 764




  Monmouth County
  Monmooth Advlt(MGCIJ                                      Provider Progress Noles
  1 WO'tell'lorks road
  Free.froid, NJ07'!28




   albuterol sulfate 2,5 mg/3 ml _(0.083 %) rnlution for       1.00         Monmouth fa.dilly. Every3      6)25i2016 2:00:00   12/22/20161:59:00
   nebullzatlon                                                mitliliter   hour5                          PM:                 PM

   Patient Problems:
    observed· · ---· ·---~                                                                               Confirmed By
    Date             Category Type                            Problem
    03-19-2016 Acute                Symptoms         Abnorma/11y of Gait
                                    PSYCH: Substance Al h I Ab
    06-30-2015 Acute                Abuse              co o    use
    06-30-2015 Chronic              RESP: Asthma              Asthma Not Otherwise Specified
                                    PSYCH:                    Unspecified Major Depression,
    06-30-2015 Acute                                                                                     Janice Butt/er
                                    Depression                Recurrent Episode
   Patient Al/e1gies:

    g~~erved         Type                                  Alle,gy
    06-30-2015 Al/ergy_lfem""s'---------'N'"o"-'--'-Knceo,,w.,_.n,.,A:,;11,.,,e,,,rge,ie:,,sc__ _ __
    0 Vital Signs Taken
   Patient Vitals:
    Observed Blood                                                                   Pulse Ox           Weight        BM/
                                        Pulse        Resp. Rate Temp
    Date     Pressure
    07-13-
    2016           123180               74           16               98.40
    10:58 AM
    EST

     Notes I History:

        -   Added 07113120/6 11:53 AAlESTbydunachukwu ('lurw Praclltloner             1-----------------~
      S: Inmate has chronic left hip pain for several years, injury from youth that is getting more painful, seen in
      medical last week

      0: VSS, no temp

      PE Chronic Left hip pain and tendemess, abnorma/gait, full ROM

      IMP: Chronic pain.

      P: Inmate can use own          Orthopedic shoe in his property.




                                                                                                                                                   j,



     E-Signi;_d by Daniel Unaclmkwu n-07/J 3/2016 l_t:53 AM EST




                                                                                                                           MCCI MED RECORDS 79
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 86 of 486 PageID: 765




  Monmouth County, 1-IJ
  Monmouth Advft (MCC/)                                             Progress Notes
  1 wa~rworks road
  freehold, NJ07728
                                           Patient Number              Bookirlf} Number
                                           261M                        '279258


                                                                 2.00 tablet     Monmouth Fadlify: BIO AM & 12/21/2016 7:00:00         3/21/2017 6:59:00
  Tylenol {AcetaminoJ')h.::11) 325 mg t1.1btet
                                                                                 HS                               PM                   PM
  albuterol sulfate 2.5 mg/3 ml ((J,083 %) solution for          1.00            Monmouth Facility: E\ri'ry 3     t2/22/2016 2:00:00   6/20/2017 1:59:00
   nebuHzation                                                   millllil'er     hOur;;                           PM                   pi,..,1

   Patient Problems:
   i61seriied
   i Dale             Category Type                             Problem                                          Confirmed By
   i03-19•2016        Acute    Symptoms                         Abnom,alily of Gait
   loa.30-2015 Acute                     ~;::Sc::r·· SubSfance AlcofloiAbuse
    oa.30.2015 Chronic                  RESP: Asthma         Asthma Not Othenvise Specified
                                        PSYCH:               Unspecified Major Depression,
    06-30.2015 Acute                                                                        Janice Buttler
                                    ... Depression ········- Recun-ent Epjsode . .
   Patient Allergies:
                          -··    . -·.
   !Observed          T                                      Allergy
   !Date        ype
   I06-30·2015 Allergy Items . .                             No Known Allergies
   D    Vital Signs Taken
   Patient Vitals:

   rg~~erved-· ~~~~Ure                       Pulse          Resp. Rate Temp                 Pulse Ox            Weight       BM/


    Notes I History:


            Mded 01/0812017 02:41 AM EST byMMa,i;iano RN                f----------------------~
     Neb tx administered.




    E-Signed hy '!>fariRa. Marciano; RN on 01/0812017 02;4·1 AM EST                                                                         Pag:e 1 of 1




                                                                                                                                  MCCI MED RECORDS 80
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 87 of 486 PageID: 766




   Monmouth County, NJ
   Monmotith Adult {MCCJ)                                       Progress Notes
   1 waterworks road
   Fm.Mold I NJD7728
                                      Patient Number                8ooking Number                  Birth Det&
                                      261&1                         3279258                         12/26/1976



                                                               , tablet       !'donmouth faclltty: BID AM & 12/21/2016 7:00:00   3/.U/2017 6:59:00
   Tylenol {Acetamfnophen) 325 mg tablet                      2 00
                                                                              HS.                           PM                   PM·
   albuterol sU!fat~ 2,5 mg/3 ml (0,083 %) solution for       LOO             Monmouth Facility; Every3     12/22/2016 2:00:00   6/20/20171:59:00
   nebuHzatfon                                                millillt~r      hours                         PM                   PM
   Patient Problems:
   !observed
                     Category Type                           Problem                                       Confirmed By
   !Date
   '03-19-2016 Acute               Symptoms                  Abno1ma/ity of Gait
                                   PSYCH: Substance          A' h I Ab
    06-30-2015 Acute               Abuse                      1co o    use
   , 06--30-2015 Chronic           RESP: Asthma              Asthma Nol Otherwise Specified
   'I0&-3l>-2015    Acute
                                   PSYCH:                    Unspeciffed Major Depression,
                                                                                                           Janice Buttler
                                    Depression ---'Recurrent. Episode ...
   Patient Allergies:
   g~~erved-Ty,_p_e_ _ _ _ _ _ _ _ _A_ll_er_g_y_ _ _ _ _ __

    06-30-2015 Allergy //ems                              No Known Al/erg_ies .
    □ Vital Signs Ta ken
   Patient Vl1als:
   •1Observed        Blood
                                         Pulse         Resp. Rate Temp                  Pulse Ox          Weight       BM/
   1Date             Pressure

    ·Notes/ History:

           Added 01/0B!,2_017 08:ii4AMEST.by AIV/gnapiano RN f - - - - - - - - - - - - - - - - - - - - - - ~




                                                                                                                                                     1·(




    E-Signed by Alida Vignapiano, RN i:ln 01/08/2017 08:54 AM EST




                                                                                                                            MCCI MED RECORDS 81
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 88 of 486 PageID: 767




  Monmouth County, N"J
  Monmouth A rtult (MCCI)                                  Provider Progress Notes
  1 waterv;orlrs road
  Freehold, NJIJ1128




                                                              UJO tablet   Monmouth Fadllty: BID AM & 12/21/2016 7:(JO:OO . 3/21/2.017 6:5~00
  Tylenol (Acetaminophen) 325 mg tablet
                                                                           HS                            PM                   PM
  albuterol sulfate 2.S mg.B ml (0,083 %) 50lutlon for        1.00         Monmouth Fad!ity: Every 3     12!22/2016 2:00:00   6/20/2{1171:59:00
  nebut!zation                                                milllllter   hour~                         PM                   PM

      Patient Problems:
   iObserved
    Date                           Category Type             Problem                                    Con/inned By
       03-19-2016 Acute                     Symptoms         Ab110rmalityofGait
       06-30-2015 Acute                  PSYCH: Substance Alco ho/Ab use
                                         Abuse
      06-30-2015 Chronic                 RESP: Asl/1/'na      Asillma Not Othenvise Specified
        _   _
      06 30 2015         Acute           PSYCH:_              Unspecified Major Depression, Janice Bull/er
      ~-- _........ _. .. . ... __ ______[_}'!J2fflS§!'"'-- . flecurrent Ep1sod~         . __________ _
      Patient Allergies:
  !Observed        T
                                                          Allergy
  IDate             ype
   1()_6_-~0:-2015 Allergy Items
       D     Vital Signs Taken
      Pa/Jeni Vitals:
      ,-;;-;---· .. ·--·       .
   I Obse,ved                      Blood
   JDa/e                           Pressu,_e___
                                              P_u_ls_e_ _
                                                        R_esp. Rate Temp             Pulse Ox          Weight       BM/


  , . Notes I History:
  I                        .       .

       ,-----! Added Q!/09/2017 !/:in AM ESTbyptya~ Nuroe Practitioner : ' - - - - - - - - - - - - - - - - - - - ~

         singular not available

         give zyrtec 10 mg daily x 7 days/allergy




         S. 41 yo AA male with hx of Asthma presents with cfo frequent exacerbation since moving from M2 -A2. Pl
         re.ports ever since his move he has been having frequent exacerbation and frequent treatment,; for asthma. Pt
         reports he has not had an episode in over 5 yrs

          0: ptinnad

         lungs" inspiratory and exp wheezing




                                                                                                                                   Puge I of2




                                                                                                                         MCCI MED RECORDS 82
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 89 of 486 PageID: 768
                                                                                                                                       i"




  f.'Jcmmouth County, NJ
  Monmouth Adult {MCCJ)                                             Provider Progress Notes
  1 wnh;!rworl<s ror1d
  Freehold, NJ01728
  Paffen(N:3tne                         Patient Number                        Booking Number   Birth Date   Dste or Sen·ice
  DONELL FREEMAfl                       26184                                 32:79268         12/2611976   11'9/Z-017



    A- Asthma exacerbaffon

    P: Prednisone 40 mg x5

    singular 10 mg daily x 30

    continue to monjfor

    flu 5days




   E-Signed by Pauline- Tyas. Nwse Practitioner nn l)J/09nOl7 11:46 AM EST
   E-Signed. by Paulfoe Tynii. Nunie Practit({l)wr   (Ill   OJ/()9/2itlJ-1 l:5 I AM EST




                                                                                                                 MCCI MED RECORDS 83
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 90 of 486 PageID: 769




   Monmouth County, NJ
   Monmouth Adult(MCCJJ                                      Provider Progress Notes
   1 wat~orkJ road
   Freehold 1 NJ07728
                                       Patient Number
                                       26'l84



                                                                              Monmouth Fac\llty. BID·AM & 1"2/21/2016 7:00:00    3/21/2017 6:59:00
   Tylenol (Acetaminophen) 325 mg tablet                        2.00 tablet
                                                                                                                                 PM
                                                                              HS                            PM
   a!bvterol sulfate 2.5 mg13 ml (0,083 %) S"olutlon for        1.00          Monmouth Facillty: Every3     12/22/2016 2:00:00   6/l0/2017 1:59:00
   nebulizatio11                                                millmter      hours                         PM                   PM
                                                                                                            1/10/20178:00l00     1115/2017 7~59:00
   prednisone 20 mg tablet                                      WO tablet Monmouth F~cmty: QAM              AM                   AM
                                                                                                            1/10/2017 3:00:00    1.!17/20t7 7:59:00
   Zyrtec /Cetlrlzlne) 10 mg tablet                             LOO tablet Monmouth Fad!lty; Q AM           Ar...•1              AM
   Patient Problems:
    Observed                                                                                               Confirmed By
               Catego1y Type             Problem
    Dale
    03-19-2016 Acute    Symptoms         Abnormality or Gait
                        PSYCH: Substance Al h /Ab
    06-30-2015 Acute                  Abuse                      co a         use
    06-30-2015 Chronic                RESP: Asthma             Asthma Not Otherwise Specified
                                      PSYCH:                   Unspecified Mafor Depression,
    08-30-2015 Acute                                                                          Janice Buttler
                                      De ression               Recurrent E, isode
   Patient Allergies:
    Observed T                                              Allergy
                                                                                                                                          ~1,
    Date        ype                                                                                                                         I

    06-30-2015 Allergy Items ..                             No Known A/lergf'!~.. ________________ !
    D Vita/ Signs Taken
    Patient Vitals:
   [observed          Blood                                                             Pulse Ox          Weight        BM/
                                          Pulse            Resp. Rate Temp
   !Dale              Pressure

     Notes I History: ·                                                                                                                               I
            Addi>p 01li412017 03:06 PM EST.byptyas &urse,Pracl/Yoner'e-------------------~


      S - Pl is here forfol/ow up of frequent asthma exacerbation since changing pods. Pt reporls feeling mafor
      improvement since he was placed on prednisone and zyrlec 5 days ago

      O - Pt in NAO, Lungs clear bf/

      A -Asthma exac improved

      Plan- prednisone completed, continue zyrlec until de




     E-SignccJ by Pauline. Tyas, Nunie PmcthiC1ncr on 01/14/2017 03:06:PM RST




                                                                                                                            MCCI MED RECORDS 84
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 91 of 486 PageID: 770




                                                              MCCI MED RECORDS 85
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 92 of 486 PageID: 771
                                                                                                                                                                                    i
                                                                                                                                                                                    i.




   Monmouth Co1mty1 HJ                                                             Skin Problems
   Monmouth Adult (MCCI)                                               Nursing Documentation Paih.way
   1 waf.e.tworks road
   Free.hold, NJ<J7128
   Pstienl Name                               Petient Number                           Booking Number                      Birth Date               Date Of Service
   OONUL FREEMAtl                             261\l<                                   :J.279258                           12-.125/1975             12/6JZ016

       This pathway is not meant to be applicable to every patient nor to take the place of sound medical judgment;
                                    when in doubt, please contact a medical provider.

    Date of Visit                                 1216/2016
    Time of Visit                                 230
     Gender                                        (~ Male O Female
     Race                                         AA

   Patient Problems:
    Observed                                                                   Problem                                             Confirmed By
               Category Type
    Date
    03-19-2016 Acute    Symptoms                                               Abnormafily of Gait
    06-30-2015 Acute    PbSYCH: Substance                                      Alcohol Abuse
                        A use
    06-30-2015 Chronic  RESP: Asthma                                           Asthma Not Otherwise Specified

    06-3_0_-2_0_1_5_A_c_u_t_e_ _,~c:,:!,;~~ion __ ___ _                        ~~du~,~~;~is~°JeDe~~e~~io~'.- __ Janice                        -~uttl_e_r_ _ _ __,
    Patient Allergies:

   1~;~~~~::~:e;g~.!.'lte"'r_._,n, _s____-·_· ·_·-_,_-~,1_~', -'e~-";-":"'·~v"'n-"A""l~e,,,-~.,.g:"'e"-s-··_--_··_-··_-·_--_-_--_--_-_-_-_-···_---_-_·-_•_-·-_ _ _ _·_·-_--...11
     Current Medications


     al1Jutero·1 sulfat~ 2.S mg/3 ml (0,083 %~ wlution for                 .   1,(XJ   mllllllter Monmouth F-odl~:.fvery 3           6J2sno16 2:00:00 12/22/20161:59:00
     nebullzatlon                                                                                  llOurs    ·                       PM                 . PM
                                                                                                   Monmouth Facility: BJD AM         9/22/2016 7,00:-00 12/21.12016 6:59;00
     Tylenol (Acetaminophen) 325 mg tablet                                     2.00 tablet                                           PM                PM
                                                                                                   &HS

     h~drocqrti~O~e 1       ~ ~~plcal Ointment                                 1.00
                                                                               ointment
                                                                                                   Monmol!th Facility: BIO AM
                                                                                                   &HS
                                                                                                                                     11/6/2016 7'00,00 12/13/2016 6:59,00
                                                                                                                                     PM .              PM


     SUBJECTIVE .

     Date of Onset                                 12/412016
     Tirne of Onset                                0800
                                                    @ New Onset                O   Chronic Complaint
     Duration (Chronic)
     Makes Better                                   D Lotion        □     Cool water
     Makes Worse




                                                                                                                                                                       Pagel' ofS




                                                                                                                                                                                         I.
                                                                                                                                                         MCCI MED RECORDS 86             I
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 93 of 486 PageID: 772




   Monmouth County, NJ                                 Skin Problems
   Monmouth Adult {MGGJ)                         Nursing oocumentation Pathway
   1 waterworlfs roud
   Freehold, NJQ1728
   PetientName                 Patient Number           Booking Number              Birth Date   Date or Service
   DOflEl.L FR&MMl             26184                    3279258                     12/26/1976   12/6/2016



   [ M"'dical History             G1I None

     Surgical History             □ None

       G'l Ust significant
       left hip issue


     Social History               G1I None

     Symptoms                     □ None

      □ PainRaUng
      _ _/10
      Location
       □ Fever

       □ Malaise
       {;,] Itching
       GZl Burning
       □ Pustules

       □ Blisters

        □ Cracking

        □ Swelfllng

        □ White/Patchy
        □ Flaking
        O   Uce/Scabies/Nits
        □ Weeping

        □ Drainage
       Describe


     Of;3JECTIVE·.

    Patient Vitals:
    =---c--=-7-··-··-··--··· ·-~-- ...
     Observed Blood                                                      Pulse Ox
                                Pulse       Resp, Rate Temp
     Date     Pressure
     12-06-
     2016                                   18            97.50
                  159/109       79


                                                                                                               Page 2 of&




                                                                                                    MCCI MED RECORDS 87
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  Monmouth County, tlJ                                          Skin Problems
                                                                                                                          '.

                                                                                                                          *
  Monmouth Adult {MCCJJ
  1 waterworks roacJ
  Freehold, NJD1728
                                                          Nursing Documentation Pathway
                                                                                                                          .
  Patient Name                         Patient Number            Booking Number            Birth DBte   Date Of Setvice
  DONELL FREEMAN                       26184                     327925ff                  12126)197&   12/6/201S.

   2016
                    159/109            79          '18              97.50
   02:36 PM
   EST

   AVPU                  (!J   A/e1t   O    Responds to Voice       O   Responds to Pain   O   UNRESPONSIVE


   COLOR                 Gil   Pink □ Pallor       O     Flushed □ Jaundiced □ CYANOTIC

   SKIN
     Gil Warm
     Gil O,y
     □ Cool
     □ M01sr!C!ammy

     □ O/APHORETIC

     0     Intact
     □ Excoriation
     □ Mite Burrows
   Location

   SKINTURGOR                    @ Normal        O      Decreased


   LESIONS               ®     Yes     O    No

   LOCATION
     □ Scalp

     □ Face
     □ Neck
     □ Chest
     □ Stomach
     Gil   Back
     □ Axillae
     □ Lett arm □ Right arm
     □ Perineum
     Gil Right thigh Gil Left thigh
     □ Righi leg □ Left leg
     □ Buttocks




                                                                                                            MCCI MED RECORDS 88
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   Monmouth County1 1LJ                                   Skin Problems
   Monmouth Adu rt (MCCJ}
                                                   Nursing Documentatlori Patllway
   f waterworks road
   Freehold, NJfJ7728
   PeNentNeme                     Patienl Number           Booking Number                    Birth Date    Delea Of service
   DONELL FREEMMI                 26184                    327'9258                          12126/1.976   12/6/2016


  j    D       Buttocks
                                                                                                                                        I
      EXAM                 □ Normal

        □ Etyfhema
        □ Inflammation

        □ Edema
        □ Excoriations

        D Scales
        5ZI Scabs
        □ Lice/Scabies/Nits

        □ Bleeding
        □ Weeping

        □ Abscess

        □ Purpura
        □ Macu/es
        □ Papu/es
        □ Pustules

        □ Vesicles

        □ Wells
        □ Streaking

        □ Unfamiliar lesion
       Descrit>e
        D       Blanches with pressure
        □ Drainage
       Describe
        □ Swelling



      I o Erriergent @ Not ~merge.n(, e~aluate for Urgent .•                                                                            I
       Immediate evaluation by the HCP; if not available activate EMS. Notify HCP after activation of EMS.
       Tnne Provider Notified
       Time EMS Activated
        □       Third Degree Bums on >10% of the body,second degree burns on >25% of the body, third
           r                                                     •,    .,,   r   •   •   •




                                                                                                                         Page 4 of s·




                                                                                                               MCCI MED RECORDS 89
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 96 of 486 PageID: 775




   Monmouth County, »J                                     Skin Problems
   Monmouth Adult (MCCI}
                                                    Nurs!JI!l 0-ocumentati.on PathwDy
   1 waterworks road
   Fre/U1old, NJ07728
   PstientName                     Petient Number           Booking Number              Birth Dele   Dete or St:1h1/ca
   OOUELL FREEMAN                  26184                    3279268                     1212511975   12/6/2016


        □ Third Degree Bums on >10% of the body, second degree burns on >25% of the body, third
        degree to hand, foot, face, or genitalia or high voltage/lightening bum

          □ Activate EMS

          □ Maintain airway
          □ Cover with bum blanket
          □ Monitor vital signs

        □ SBP <100, HR >100         02 sat <92
        □ Radiation Bums

        □ Electrical burns - obtain EKG


      .0    Urgent      ®   Not Urgent• evaluate for Routine

      ff condrtion deteriorates consider upgrade to emergent
         □ Third degree on 2-10% of the body, second degree on ·/5-25% of the body; second degree to hand, foot,
        face or genitalia
        □   /v/inor bum plus smoke exposure
        □   Temp>100
        □   Abscess with palpable fluid filled sack
        □   Rash with secondary infection
        □ Drainage/pus, erythemalredness with streaking
        □   Systemic symptoms: (UR/IUTl/allergic reacu·on)
        □ Cellufilis
        □   Probable Herpes Zoster involving face
        □   Presence of pustules, vesicles multiple papules or furuncles in beard area
        □   Rash with secondary infection
        □   UnfamiTlar lesions
        □   Ucelcrabs involve eyelashes
        □   Recurrent or not responding to protocol

    I   GZf Routine .. ·

      Data collection that does nottrigger emergentiurgent intervention
      If condition deteriorates consider upgrade to urgent or emergent
        D Boils


                                                                                                                    Page 5 of'8




                                                                                                         MCCI MED RECORDS 90
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   Monmouth Courity1 NJ                                  Sl1in Problems
   Monmouth Adult (MGCJJ                          (llurslng Documentation Pathway
   1 watenvorks road
   Freehold, NJ07728
   PBIJ-ent N&me                 Patient Number           80Dkfng Nf1mber           8/rtfl Dete   Q;,(<} Of service
   OOf-lELL FREEMAtJ             261&4                    3279268-                  12/25(1975    12f6/2016

       U    tJ01/s
       □    Probable He,pes Zosteo'herpes simplex if extensive areas of involvement or palient is
       immunocompromised
       D Minor second and third degree bum
       □ Lice/crabs
       □ Scabies

       □ Acne
       Rl Dermatitis
       □    Tinea pedislunea cruris



       0 Emergent lnteiventions O Urgent /nteiventions @ Routine lnteiventions ·

    1. Emergent interventions

       D    Immediate evaluation by the HCP
       □ If EMS activated reassess everr 5 minutes until EMS arrival.

       □ Maintain airway                                                                                                    i
       □ Additional interventions as        ordered
      Consider           □ Oxygen □       IV Fluids

    I· Urgent Interventions .
       □    Reassured patient
       □    Contacted HCP using SBAR format
       □    Acetaminophen 650mg po BID x 2 days PRN for any painful skin condition
      Consider             □ JV Fluids
       □    Additional interventions as ordered
       □    Instructed per Patient Education Fact Sheet
       □    Instructed to contact medical if symptoms reoccur
       D Patient verbalized understanding of self-care; symptoms lo report & when to return for follow-up

      Routine l~terventiori~

       Rl Reassured patient
        □   Probable Herpes Zosterlsimplex refer HCP




                                                                                                      MCCI MED RECORDS 91
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 98 of 486 PageID: 777




  Monmouth County, NJ                                          Skin Problems
  Monmouth Adult (MCC/)                                 Nursing Documentation Pathway
  1 waterworks road
  Freehold, NJ01128
   Patient Name                     Patient Nurnbe;:           Booking Number           8/rti1 Datv    Dote Of S1:rvice
   OOtlELL FR£EMMJ                  26184                      3279258                  12.125.11975   12/IIJ2016

       LJ 1-'robable He1pes Losterls1mptex reter Ht;f-1
       □     Acetaminophen 650mg po BID x 2 days PRN for any painful skin condition

       I                                                             Boils
            □    CULTURE ALL DRAINING WOUNDS AND IMPLEMENT MRSA PROTOCOL IF !NO/CA TEO
            □    If open wound, cover with proper dressing and dressing changes daily until healed
            0 Immediate isolation for open, draining wound, if indicated

       I                                               Minor second/third degree burn                                          I
            □   Cool compress; cleanse with sterile saline solution, pal dry, cover with clean dry dressing, keep
            blisters intac~ monitor for signs of infection

       I                                                         Lice/Crabs
             □ Pyrelhrin shampoo 0.33%, one app/icauon nmv and one in 7-10 days if indicated follow directions on
            label for application procedures.
            □    Provided clean clot/Jing and bedding.
            □    Jso/ated pauent and clothing per facility policy
            □    Notified custody for decontaminaUon per facility policies

        I                                                         Scabies
            □    Obtained urine pregnancy test (if female). Rx contraindicated in pregnancy
            □    Obtained order from HCP for Stromectol (lvem,ectin}
            □    Provided clean clothing and beddmg.
            □    Isolated patient and clothing per facility policy
            □    Notified custody for decontamination per facility policies

        I                                                            Acne
            □    Instructed patient to keep affected areas clean
            D Refer to HCP for large number of pustules with inflammation or deep painful dermalinvolvement

        I                                                            Hives
            □ Refer to HCP if extensive
            □    Consider use of Allergic Reaction - Emergent NOP


        I                                                    Contact Dermatitis                                                 I
             ~   Advised thorough washing of skin and clothes lo avoid additional irritant
             Pl Advised that rash 1vill imorove over 7-10 davs

                                                                                                                      Page 7 of 6




                                                                                                           MCCI MED RECORDS 92
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  Monmouth County, nJ                                                  Skin Problems
  Monmouth Adult (MCCJ)                                      Nursing Documentation Pathway
   1 wete,works road
   FrQPhOld, NJ07128
   p3//enl Nsff>ft                    Patient Number                     Booking Number                        BirltlDete   03/e Of Service
                                      26134                              3279258                               1212&11976   '{2/6/2016
   OOflELL FREEMAN
            ~ r\UVIU\.,\,I u,v,vu~II ~fUUJJfll}J VI   urHI• t,1/,V \.,t\.J'l.1/\,,J- lV Ult~JIU la!UUIU'-'f/LU nruu,11


            Ga Advised that rash will improve aver 7-10 days
            □ Educated the patient regarding avoidance of reoccurrence and avoiding allergen exposure
            Ga Hydrocortisone cream 1% apply topically to affected area TID x 7 days for severe discomfort

                                                                 Tinea pedisltinea crurls
            D Advised patient to l<eep area clean and dry
            □   Referred to HCP for any severely macerated, cracked, or brol<en sl<in

         □    Additional interventions as ordered                                                                                                           i
         □    Instructed per Pahent Education Fact Sheet                                                                                                    I
         □    Instructed lo contact medical if symptoms reoccur
         □ Patient verbalized understanding of self-care, symptoms to repori & when to return for follow-up


   I D Additional Documentation
   I Sch.eduled Follow-up
       0 None - resolved
       □    Provider
       □    Behavioral Health
       □    Nursing
       □     Referral to
      Referral to
        □    other (provide detailj
      Provide detall

      Refusals

        □    Refusal form signed
        □    Referred to HCP for repeal refusal
        0 No further action required
                                              Use Progress Not& for additicma/ documentation
    NUR NDP2l                  ,    This pathway is not mean/ to b.e appllcab/e lo eve!}' paffent nor to take the place of sound
                     •
                         1 022 0 15 medical Judgment; when ,n doubt, please contact a med1ca/.prov1cler.




      E-Signed by Mad.~:i-flfaTciano, RN on 12/06/201§ 02:3/J PM EST                                                                      P:::ig,;: S ufS




                                                                                                                                MCCI MED RECORDS 93
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   Monmouth County, HJ                                               Skin Problems
   Monmouth Adult {MCCI)                                      Nursing Documentation Pathway
   1 wate,works road
   Fm.Mold 1 NJD1728
   Patient 1\1.eme                      Potienf Nt.imber                 &okfflg Numb-er                 BfrttiDete           08/e Of Servlce
   DOflEtl FREEMAN                      "'184                            3279258-                        12/26/1975           2/21"2017

         This pathway is not meant to be applicable to every patient nor to take the place of sound medical judgment;
                                      when in doubt, please contact a medical provider.

       Date of Visit                       2121/2017
       Time of Visit                       0930
       Gender                              (•) Male O Female
       Race                               AA

   Patient Problems:
   \Observed
                             Category Type                       Problem                                         Confirmed By
   !Date
   XXX-XX-XXXX Acute                  Symptoms         Abnormafity of Gait
   I
                                      PSYCH: Substance Al I I Ab
   Ioa-30-2015               Acute    Abuse              co m    use
   i
   ! 06-30-2015 Chronic               RESP: Asthma     Asthma Not 0/henvise Specified
   I                                  PSYCH:           Unspecified Major Depression, Janice Bull/er
   lo6.:!o:201s Acute                 Depression       Recurrent Episode_ ... ····-··-- __________
    Patient A/Jergies:
                     - - - - - - - - - - - - - - - - - -•----·--·-.,-- --- - - -
                     .   .

   i Observed   T                         Allergy
   ·1Date        ype
   . 06-30-2015 Allergv Items __ ----~N~o~K~n~°'~v~n~A~ll~e~,g~ie~s~------                                                                         I
       Gurrent Medications


                                                                                                                  12/21/2016 7:oo·:oo · 3/21(1.0116:S9:00
       Tylenol (A~etamlnophen) 325 mg tablet .                   ._ 2 ,_00 ta_b!e~   ~~;~oUth Fadl~ SlD.M-1       p~j      .            PM
       atbuterol sulfate 2.5 mg/3 ml (0,083 %) solutlon for       1.00 rulSlirltu f\hfonmouth Fadtity: Every 3    12/22/2016 .2:00:00   6/20/2017 1:59:00
       nebullzation                                                                   ours                        PM                    PM
                                                                  1.00               Monmouth Facility. BID AM    2/21/2017 ]<1)0:00    3/3!2011 6:59:00
       hydr·ocqrtlsone.1 %Topicat Oi~tmi::nt                                                                      PM                    PM
                                                                 .· ointment         & HS



       SUBJECTIVE

       Dale of Onset                       2/1712017
       Time of Onset                       0800
                                             ® Ne1v Onset O Chronic Complaint
       Duration (Chronic)
       Makes Better                          □ Lotion □ Cool water
       Makes Worse




                                                                                                                                             Page 1-ofS




                                                                                                                                   MCCI MED RECORDS 94
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   Monmot1itl County, tlJ                                    Skin Problems
   Monmouth Adult (MCCJ)                              Nursing Documentation Pathwa.v
   1 waterworks road
   Froehold, NJIJ'/'128
   Patien(Nsmf!                   Patient Number              Booking Mi.Hftbf:tr                          BirtN D&te             Dute Of Service
   DONELL FREEMAN                 26184                       3.279258                                     12/2511976             2)2.1/2017



    Medical History                  [;;J None

    Surgical History                 [;;J None

     Social History                  [;;J None

     Symptoms                        □ None

       D    Pain Rating
      _ _/10
      Location
       □ Fever
       □    Malaise
       [;;J Itching
       □    Burning
       □    Pustules
       □    Blisters
       □ Cracl<ing
       □    Swellilng
        □   Whffe/Patchy
        □   Flaking
        □   Uce/Scabies/Nits
        □ Weeping
        □ Drainage
      Describe


     OBJECTIVE

    Patient Vda/s:
                          ..                                                        . ....... ,-.--•-· -   -   ··-- -- ,. -- ·-
    Observed     Biood
                                   Pulse       Resp. Rate Temp                      Pulse Ox                     Weight           BM/
    Date         Pressure
    02-21"
    2017                                                        98.70
             118ll1                81            18
    09:43AM                                                                                                                                                   ,..
    _EST ___

     AVPU                  @   Ale1t O Responds to Voice O Responds /p Pain O UNRESPONSIVE
                                                                                                                                                              I

                                                                                                                                                Page 2 oft;




                                                                                                                                      MCCI MED RECORDS 95
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   Monmouth Cormty, ~IJ                                    Skin Problems
   Monmouth Adu/t {MGCIJ                            titJrsin!I Documentatiofl Pathway
   1 wat.uworks .oad
   Freehold, NJ07728
   PBlient Name                    Petieni Numt&r            Book/f/g Numb/Jr           Birth Date    Date Of Service
   DONEl.L fREEMAH                 2618-4                    327925-!f                  12/2511.976   2121"12017


   I AVPU              (!) Ale1t   O Responds to Voice O Responds lo Pain O UNRESPONSIVE                                        I
    COLOR              RI   Pink □ Pallor □ Flushed □ Jaundiced □ CYANOTIC

    SKIN
      □ Warm
      □ Dry
      □ Cool
      □ Moist/Clammy

      □ DIAPHORETIC

      □ Intact
                                                                                                                                    I
      □ Excoriation                                                                                                                 I
      0 Mile Burrows
     Location

     SKIN TURGOR              @ Normal O Decreased


     LESIONS           @ Yes O No


     LOCATION
      0    Scalp
      D Face
      □ Neck
      □ Chest
      □ Stomach

      □ Back
      □ Axillae
      □ Left arm □ Right arm
      D Perineum
      RI   Right thigh □ Left thigh
      □ Rightleg □ Left leg
      □ Buttocks


     EXAM               □ Normal

          n Ervthema
                                                                                                                    Pngc3-ufS




                                                                                                          MCCI MED RECORDS 96
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   Monmouth County, HJ                                    Sl<in Problems
   Monmouth Adult {MCCJ)                            Nursing Documentation Pathway
   1 waterworks road
   Frnuhold, NJ01728
   Patient Name                   Palit!nl Number          Booking Number           Birth Oct&   Dst& Of &arVice
   OONELL FREEMAN                 26184                    3279258                  12/2511976   2121/2017



        □   Erylhema
        □ Inflammation
        □   Edema
        □   Excoriations
        □ Scales
        □ Scabs

        □   Lice/Scabies/Nits
        □ Bleeding
        □ Weeping
        □ Abscess
        □ Purpura
        □   Macules
        D Papules
        D P11stules
        D Vesicles
        □ Welts
        □ Streaking
        □ Unfamiliar lesion

       Describe
        □   Blanches wUh pressure
        □ Drainage
       Describe
        □ Swelling



     I O Emergent ® Not Elllergon_t · evaiuate for(Jrgent •                                                        I
       Immediate evaluation by the HCP; if not available activate EMS. Notify HCP after activation of EMS.
       lime Provider Notified
       Time EMS Activated
        □ Third Degree Burns on >10% of the body, second degree bums on >25% of the body, third
        degree to hand, foot, faoe, or genitalia or high voltage/lightening bum

            □   Activate EMS
            n   Mafntain alrwav




                                                                                                     MCCI MED RECORDS 97
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   Monmouth County, ~IJ                                  Skin Problems
   Mo11n10uth Adult (MCCI}
                                                  Nursing ooc11mentatloll Pathway
   1 waterworks road
   Fre~hoJd, NJ07728
   PelienrName                  Fetie11tNnmbctr           Bookjng Number            Bfrt/1 Date   Dale Of Service
   DOflELL FREEMAN              26184                     3279258                   12125/1975    2/Z'fi20t7


         □ Maintain airway
         D   Cover with bum b/ankot
         □ Monitor vital signs

       0 SBP <100, HR >100 02 sat <92
       □ Radiation Burns
       D E/ectlica/ burns- obtain EKG

       0 Urgent ® Not Urgent. evaluate for Routine

      If condition deteriorates consider upgrade to emergent
        □ Third degree on 2-10% of the body, second degree on 15-25% of/he body, second degree to hand, foot,
       face or genitalia
       □ Minor bum plus smoke exposure
       □ Temp>100

       □ Abscess with palpable fluid fliled sack

       □ Rash with seconda,y infection

       □ Drainage/pus, erythemalredness with strea/1ing

       □ Systemic symptoms: (URJ/UTl/allergic reaction)

       D    Ce/lu/ilis
       □    Probable Herpes Zoster involving face
       D Presence of pustules, vesicles mul/Jple papu/es or furunc/es in beard area
       □ Rash      with secondary infection
       □ Unfamifiar lesions

       □ Lice/crabs involve eyelashes

       □ Recurrent or not responding to protocol


        EtlRoutine
                                                                                                                             I
      Data collection that does riot trigger emergent/urgent intervention
      If condition deteriorates consider upgrade to urgent or emergent
        □ Boils
        □ Probable Herpes Zoslerlherpes simplex if extensive areas of involvement or patient is
       immunocompromised
        D   Minor second and third degree burn



                                                                                                                Page-5 of8




                                                                                                      MCCI MED RECORDS 98
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    Monmouth county, NJ                                   Skin Problems
    Monmouth Adult {MCCJ)
    1 waterw-ork$ road
                                                    tforsing OocomentaUon Patl\way
    FPJahold, NJD7728
    Pal/en( Nem&                   Patient Number           Booking Number            Birth Dede    Deltt Of Service
    DONfLL FREEMAN                 26184                    3279-2511                 12125/1:976   212\/2017

         LI Minor second and third degree bum
         D   Uce/crabs
         □ Scabies
        □ Acne
         ~   Dermautis
         □ Tinea pedisltinea cruris




         0 Emergent Interventions O           Urgentlnterventions        ® Routine Interventions

       Emergent Interventions

        D    Immediate evaluation by the HCP
        D    If EMS   activated reassess every 5 minutes until EMS arrival.
        □ Maintain airway
                                                                                                                               i
                                                                                                                               !
         □ Additional interventions as ordered
       Consider           □ Oxygen □ IV Fluids

       Urgent Interventions

        □ Reassured patient
         □   Contacted HCP using SBAR format
        □ Acetaminophen 650mg po BID x 2 days PRN for any painful sl<in cond#ion
       Consider            D   IV Fluids
        □ Add1/ional interventions as orrfered
        □    Instructed per Patient Education Fact Sheet
        □    Instructed to contactmedica/ if symptoms reoccur
        □ Patient verbalized understanding of self-eare, symptoms lo report & when to re/um for follow-up


     /. Routine Interventions
                                                                                                                           I
        @ Reassure:dpalient
        □ Probable     Herpes Zosterlsimplex refer HCP
         □   Acetaminophen 650mg po BID x 2 days PRN for any painful skin condiuon

        I                                                        Boils                                                 I
            □   CULTURE ALL DRAINING WOUNDS AND IMPLEMENT MRSA PROTOCOL IF INDICATED




                                                                                                       MCCI MED RECORDS 99
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   Monmouth County, fU                                          Skin Problems
   Monmouth Adult {MCCIJ                                 Nursing Oocumentatlon Pathway
   1 watarworks road
   FreMald, NJD1728
   Patient Name                         PaUen{ Numb&r            Boo1<ing Numbt1r          Birlh Date    Date Of serlifce
   DOHELL FREEMAN                       2.6134                   3279268                   12J25l1975    2.12112017
                                                                     ...,,.,,,,_.                                                   I
       I

                □ CULTURE ALL DRAINING WOUNDS AND IMPLEMENT MRSA PROTOCOL                               IF INDICATED
                □ If open wound, cover with proper dressing and dressing changes daily until healed
                □ Immediate isolation for open, draining wound, if indicated


       I                                                Minor seco11d/tl1ird degree burn                                            I
                D Cool compress; cleanse with sterile saline solution, pat dry, cover with clean dry dressing, keep
            blisters intact, monitor for signs of infection

                                                                   Lice/Crabs
                 D Pyrethrin shampoo 0.33%, one application now and one in 7-10 days if indicated follow directions on
                label far application procedures.
                □    Provided clean clothing and bedding.
                □    isolated patient and clothing per facility policy
                □    Notified custody for decontamination per facility policies

                                                                    Scabies
                □    Obtained urine pregnancy test (if female). Rx contraindicated in pregnancy
                □    Obtained order from HCP for Stromectol (lvermectin)
                □    Provided clean clothing and bedding.
                □    isolated patient and c/othkig per facili/y policy
                □    Notified custody for decontamination per facility poflcies

           I                                                             Arne
                □ Instructed patient to keep affected areas clean
                □ Refer to HCP for large number of pustules with inflammation or deep painful denna/ involvement


           1.                                                            Hives                                                          I


                 □   Refetlo HCP if extensive
                 □ Consider use of Allergic Reaction - EmergentNDP


           I G1I Advised thorough washing of skin and clothes
                                                      Contact Dermatitis.                                                               I
                                                              to avoid additional irritant
                 □ Advised that rash will improve over 7~ 10 days
                 □ Educated the patient regarding avoidance of reoccurrence and avoiding allergen exposure
                 f,iJ Hydrocortisone cream 1% apply topically to affected area TIO x 7 days for severe discomfort



                                                                                                                            P:1ge 7 ofH




                                                                                                            MCCI MED RECORDS 100
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   Monmouth Cour1(y 1 NJ                                      Skin Problems
   Monmouth Adult {MCCJ)                               Nursing Documentation Pathway
   1 waterworks road
   Freehold, NJ07128
   Petif:nt NBme                    Patiept Number                  Booking Nvmber     Birlh Dste    Dele Of SeN/ce-
   DONELL fREEMMl                     26184                         3279258            12/25/1-975   21Z112017

           EZI Hydrocortisone cream 1% apply topically to affected area TIO x 7 days for severe discomfort                    t:
                                                                                                                              i
                                                                                                                              ''· .-.
                                                          Tinea pedis11inea cruris
           □   Advised patient to keep area clean and dry
           □ Referred to HCP for any severely macerated, cracked, or broken skin

        □    AddiUonal interventions as ordered
        □    Instructed per PaUent Education Fact Sheet
        □    Instructed to contact medical if symptoms reoccur
        □ Patient verbalized understanding of self-care, symptoms lo report & when to return for follow-up                        i;
                                                                                                                                  L
     . D Additional Documentation·.

     Sched.uled Follow-up


      EZI None - resolved
      □ Provider
       □   Behavioral Health
       □   Nursing
       □    Referral to
     Referral to                                                                                                                  I
       □    Other (provide c/etailj                                                                                               '
     Provide deiail

     Refusals.


       □    Refusal form signed
       □    Referred to HCP for repeat refusal
       EZI No further action required
                                              Use Progress Note for additional documentation
    NUR NDP           t       This pathway is not meant to be applicable to every paUent nor to take the place of sound
                   27, 022315 mediaaljlldgmenl; when 1n doubt please contact a med1ca/prov1rfer.




     E-Sig11e<I by Mnrimi Marciano, RN on 02/11/2017 09:45 AM E8T




                                                                                                       MCCI MED RECORDS 101
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   P.fonmouth County, HJ                                              Skin Problems
   Monmouth Adult (MCCIJ                                    Nur.sfng Documentation Pathway
   1 waterworks road
   Fre~hold, NJ07728
   PslfentName                        Patient ,\Jumber                 Booking Mumber                    Birtl7 Date         Date Of Service
   DOflELL FREEMAN                    26184                            3279268                           12/2611976          312012017

         This pathway is not meant to be applicable to every patient nor lo take the place of sound medical judgment;
                                      when in doubt, please contact a medical provider.

     Date of Visit                       3/2012017
    Time of Visit                        0930
     Gender                              @    Male O Female
     Race                                AA

   Pauent Problems:
    ·observed         Category Type                             Problem                                         Confirmed By
    Date
    03-19-2016 Acute               Symptoms                     Abnonna/ity of Gail
                                   PSYCH: Substance              Al h /Ab
    06-30-2015 Acute               Abuse                           co o use
    06-30-2015 Chronic             RESP: Asthma                  Asthma Nol othenvise Specified
                                   PSYCH:                        Unspecified Major Depression,  Janice Buttler
    06-30-2015 Acute
                                   _D_epn,ssfo,~_ __         ___ Recurrent Ep,~1,,,·s.,,od"'e"--------------
    Patient Allergies:

    g~rerved ~;,~ -                                         Al/ellJY
    08-30-2015 . Allergy)lems __ - ~ - __ _,N=o,_J~,,_n,-,oe,wccnecAc,lecleccrg,,.i..,e_,_s_ _ _ _ _ _ _ _ _ __

     Current Medications


                                                                 2 DO t; bi t · Monmouth Fadt!ty: BtD AM          12/21/2016 7:00:00   3/21/2017 tJ;:59:00
     Tylenol (Acetam!Mpl'Jenl 325 "!19 tablet·                    '      11   I!·   &.HS                          PM                   . PM

     albuterol suffate 2.5 mg/3 ml (0.083 %} solution For                 ·irrt     Monmouth Facmty: Every 3      12/22i2016 2:00:00    6/20/lJJ17 1:59:00
                                                                1 ,00 m1 11 er hours                              PM                    PM
     nebUlizat!on
     .            -                                              30,00              Monmouth filcflll.y: BID AM . 3{IO/l0l7 7:00:00     3/30/2017 6:59:00
     hydrocartisan'e:t % Toplcal Olntm-ent                       mllllllttJ · ·     & HS .                        PM                    PM



         SUBJECTIVE •·

     Date of Onset                        3/18/2017
     Time of Onset                        0800
                                          @ New Onset           O     Chronic Complaint
     Duration (Chronic)
     Makes Better                          □ Lotion □         Cool water
         Makes Worse




                                                                                                                                               Page I of8_




                                                                                                                                MCCI MED RECORDS 102
                                                     ·,
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   Monmouth County, NJ
   Monmouth Adult {MGCIJ
   1 waterworks road
   Freehold I NJD1728
   Pafi&ntNome-
   00rJELt FREfMAU
                                 P1;tie11t f•,11.Jmber
                                 26184
                                                                Skin Problems
                                                          Nursing Documentation Pathway


                                                                  Bookin.r; Wumb&r
                                                                 n7S2S8
                                                                                                Birth Dale
                                                                                                12J25J197S
                                                                                                             Oete Of Service
                                                                                                             312f.lJ2017
                                                                                                                                   ~.
                                                                                                                                    r-,·
                                                                                                                                     ,.,




    Medical History                   (:;;] None


    Surgical History                  (:;;] None


    Social History                    [,') None


    Symptoms                          0    None

       0    Pain Rating
      ~-110
      Location
       0    Fever
       0    Malaise
       Rl Itching
        □ Burning

        □ Pustules

       0    Blisters
        (:;;] Cracking
        0   Swe/Ulng
        0   White/Patchy
        □ Flaking
        O   Lice/Scabies/Nits
        0   Weeping
        0   Drainage
       Descn1Je
                                                                                                                                                l
                                                                                                                                                l

   I C)BJECllVE                                                                                                                             I   i
                                                                                                                                                I

    Patient VitaTs:
                                                                                                                                                '
                          ..
     Observed Blood                                                                  Pulse Ox       Weight   BMT
                                     Pulse           Resp. Rate Temp
     Date     Pressure
     03-20-
     2017                            100             18             98.00
     09:45AM
                  121/94
     EST

     AVPU                  @ Ale1t   O    Responds to Voice         O   Responds to Pain        O   UNRESPONSIVE


                                                                                                                               Page 2 ofS




                                                                                                                 MCCI MED RECORDS 103
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   Monmouth Com1ty, 1-lJ                                       Skin Problems
   Monmouth AdUrt{MCCJ)                                  Nursing Documentation Pathway
   1 wate,worlrs road
   Freehold, NJ077'28
   Patient Name                      Patient Numbftr            8ookfng Number            Birth Dete    Date Of Sef\liC.-J
   DOfrELL FREEMAN                   261-84                     3279258                   1'2125/1975   312012017


    AVPU                   @ Alert   O   Responds to Voice         O   Responds   lo Pain O   UNRESPONSIVE
                                                                                                                                      I
    COLOR                  0   Pink □ Pallor □ Flushed □ Jaundiced □ CYANOTIC

    SKIN
      l;zJ Warm
      l;zJ Dry
      D Cool
      D Moist/Clammy
      □ DIAPHORETIC

      □ Intact
      □ Excoriation
      D Mile Burrows
     Location

     SKIN TURGOR                O    Normal     O      Decreased


     LESIONS               @ Yes     O   No

     LOCATION
      □ Scalp
      D Face
      □ Neck
      □ Chest
      □ Stomach
      D    Back
      D    Axil/ae
      □ Left arm □ Right arm
      D Perineum
      0 Right thigh 0 Left thigh
      d    Righi leg □ Left leg
      □ Buttocks


     EXAM                  □ Normal

          Pl Ervthema

                                                                                                                         Page 3 uf8




                                                                                                            MCCI MED RECORDS 104
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   Mo11mou1h County, NJ                                   Skin Problams
   MonmouUJ Adult {MGCI}                           tJursing Documentation Pathway
   1 waterworks road
   Freehold, NJ01728
   PetientName                   Pa-tient Number           Booking Number           Birth Dale   Drrte Of Sen:fce
   DONELL FREEMA!l               28184                     3279-258                 12125/1975   J/20/2017



       ~    Eryt/Jema
       □    Inflammation
       □ Edema
       D    Excoriations
       □ Scales
       □ Scabs

       □ Lice/Scabies/Nits

       □ Bleeding

       □ Weeping

       □ Abscess

       □    Purpura
       D    Macules
       □ Papules
       □ Pustules
       D Vesicles
       □ Wells
       D    Streaf(ing                                                                                                         I
       □    Unfamiliar lesion
      Describe
        □   Blanches with pressure
        D   Drainage
      Descnbe
        □ Swe/llng



       .O   Emergent       ® Not Emergent- evafuate fo~ Urgent

      Immediate evaluation by the HCP; if not availabl" activate EMS. Notify HCP after activation ofEMS.
      Time Provider Notified
       Time EMS Activate.d
       □ Third Degree Bum.son >10% of the body, second degree bums on >25% of the body, third                                  I·
       degree to hand, foot, face, or genitalia or high voltage/lightening bum                                                 r,.
           □ Activate EMS
           n   Maintain aitwav


                                                                                                                )'age 4 of.S




                                                                                                    MCCI MED RECORDS 105
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 112 of 486 PageID: 791




   Monmouth County, lfJ                                   Skin Problems
   Momnout11 AC/ult {MCCJJ                          Nursing Documentation Pathway
   1 waOO.rwarks road
   freehold, N.JfJ7128
   Patlent Ne<m:                  Patiel1t Number          Booktng Number           BirttJDute   Dote Of Service
   OONELL FREEMAN                 26184                    3279258                  12125/1975   3120/2017


            □ Maintain a/,way

            0 Cover with bum blanket
            □ Monitor vital   signs

        0    SBP <100, HR >100 02 sat <92
        □ Radiation Bums

        □    Electrical bums - obtain EKG

        0 ·Urgent      ~J Not Urgent• evaluate for Routine

       If condition deteriorates consider upgrade to emergent
        □ Third degree on 2-10% of the bodY, second degree on 15-25% of the body, second degree to hand, foot,
       face or gem/al/a
        □    Minor bum plus- smoke exposure
        □ Temp>100
        D Abscess with palpable fluid filled sack
        D Rash with secondary infection
        □    Drainage/pus, eryfhema/redness with streaking
        □    Systemic symptoms: (UR/IUT/lallergic reaction)
        □ Ce/luff/is
        □    Probable Herpes Zosler involving face
        D    Presence of pustules, vesicles muffip/e papu/es or/iJruncles in beard area
        □    Rash with secondary infection
        □    Unfamiliar lesions
        □    Uce/crabs involve eyelashes
        □    Recurrent or not responding to protocol

         □ Routine

       Data collection that does not trigger emergent/urgent intervention
                                                                                                                           i
       If condition deteriorates consider upgrade to urgent or emergent                                                    ,.'
         D Boils
         D Probab/eHerpes Zosterlheipes simplex if extensive areas ofinvolvement or patientis
        itnmunocorhpromised
         D Minor second and third degree /Jum




                                                                                                    MCCI MED RECORDS 106
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   Monmouth Coun1y, NJ                                       Skin Problems
   Monmouth Adult {MGCJ)                               Nursing Documentation Pathway
   1 waterworks roc1d
   Freehold, NJ01728
   Patient Mame                       Patient Number          Booking Number             Birlh Oat&    Date or service
   DOUELL FREEMAJf                    26184                   3279268                    12J25/1975    J/20/2017

       LJ Minar second and third degree burn
       □ Uce/crabs

       0 Scabies
       □ Acne
       □ De1mautis

        □   Tinea pedis/enea cruris



        0   Einor,;ent lnto,ventions          O   Ur,;ont lnte,ventions    ®   Routine lnte,ventions

      Emergent Interventions

        D   Immediate evaluation by the HCP
        0   If EMS   activated reassess every 5 minutes until EMS arrival.
        0   Maintain airway
        0   Additional inte,ventions as ordered
      Consider                 □   Oxygen □ IV Fluids

       u,g,.nt lnteniention.s


        D Reassured patient
        □   Contacted HCP using SBAR format
        □   Acetaminophen 650mg po BID x 2 days PRN for any painful skin condition
       Consider                O IV Fluids
        □   Additional interventions as ordered
        □   Instructed per Patient Education Fact Sheet
        □   Instructed to contact medical if symptoms reoccur
        □ Patient verbalized understanding of self-care, symptoms to. repott & when to return for fol/oiv-11p
             .        .   -.
       Routine lnterventhms

        [;i] Reassured patient
        □    Probable Herpes Zos/erlsimplex refer HCP
        D Acetaminophen 650mg po BID x 2 days PRN for any painful skin condition
        I                                                          Boils                                                    I
            □ CULTURE ALL DRAINING WOUNDS AND IMPLEMENT MRSA PROTOCOL IF INDICATE.D


                                                                                                                     Pagc6of8




                                                                                                          MCCI MED RECORDS 107
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   Monmouth County, NJ                                          Skin Problems
   Monmouth Adult (MCC/)                                  Nursing DocumentaUon Pathway
   1 waterworks road
   Fre~hold, NJ07728
   Pr.ffenti\'{l.mr:                    Patient Number            Booking Nr..•mber       Birth OetrJ   Dete Of se,wce
   DOHELL F~EEMAH                       2<1184                    3279258                 12125/1975    3i2.0J2017
                                                                         ...,..,,,..,                                               I
         I

              □ CULTURE ALL DRAINING WOUNDS AND I/v/PLEMENT MRSA PROTOCOL IF IND/CA TED
              □ If open wound, cover with proper dressing and dressing changes daily until healed
              □      Immediate isolation for open, draining wound, if indicated


          I                                              Minor second/tllird degree bum                                             I
              D Cool compress; cleanse with sterile saline solution, pat d1y, cover with clean dry dressing, keep
              blisters intact, monitor for signs of infection

                                                                   Lice/Crabs
               □ Pyrethrin shampoo 0.33%, one application now and one in 7-10 days if indicated fol/mv direclions on
              label for application procedures.
                 □   Provided clean cloU1ing and bedding.
                 □   Isolated patient and clothing per facility policy
                 □ Notified custody for decontamination per facility policies


                                                                     Scabies
                 □   Obtained urine pregnancy/est (ff female). Rx contraindicated in pregnancy
                 □   Obtained order from HCP for Stromectol (fvem1ectin)
                 □   Provided clean clothing and bedding.
                 □   fsolafed patient and clothing per fac17ity policy
                 □ Notified custody for decontamination per facmty pollcies


                                                                          Acne
                 □   Instructed patient to keep affected areas clean
                 □ Refer to HCP for large number of pustules with inllammation or deep painful dem1al involvement

                                                                          Hives                                                         I
                 □   Refer to HCP if extensive
                 □   Consider use of Allergic Reach·on - Emergent NDP


             I                                                  Contact De[l)latitis                                                    I
                 liZI Advised thorough washing of skin and clothes lo avoid additional im1ant
                 □   Advised that rash will improve over 7-10 days
                 □ Educated the patient regarding avoidance of reoccurrence and avoiding allergen exposure
                 liZI Hydrocortisone cream 1% apply topically to affected area TID x 7 days for severe discomfort


                                                                                                                         l'.age 7 of S-




                                                                                                           MCCI MED RECORDS 108
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   Monmouth County, HJ                                          Sl<in Problems
   Monmouth Adult (MCCI)                                Nt1rsing Documentation Patflway
   1 waterwor/(S road
   Preeha/d, NJD1728
   Pr:tientNtJm&                     Patient Number                 Booking Number        Birth Date     Dete or service
   DOHELL fru'<MAN                   26184                          327!}251f             12.125/1975-   '3/2.(J/2017

           G2) Hydrocortisone cream 1% apply topically to affected area TID x 7 days for severe discomfort

                                                           Tinea pedisltinea cruris
           □   Advised patient to keep area clean and dry
           D   Referred to HCP for any severely macerated, cracked, or brol<en skin

        □    Addiliona/ interventions as ordered
        □    Instructed per Patient Education Fact Sheet
        □    Instructed lo contact medical if symptoms reoccur
        □ Patient verbalized understanding of self-care, symptoms to report & ,vhen to return for fol/mv-up



      D    Additional Docµmentation

     Scheduled Follow-up

      G2) None - resolved
      D    Provider
      D    Behavioral Health
      □    Nursing
      D Referral to
     Referral to
      D     Other (provide delai0
     Provide detail




       □    Refusal form signed
       □    Referred to HCP for repeat refusal
       G2) No further action required

                                             Use Progress Note for additional documentation
   NUR NDP ?          This pathway is not meant to beapplicab/e to every patient nor lo lake the place of sound
          2 ·1 022315 medical Judgment; when m doubt, please contact a medical provider,




     £,Signed by Marisa Marciru10. RN Oll 03/20/2017 09;47 AM EST




                                                                                                             MCCI MED RECORDS 109
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                                                              MCCI MED RECORDS 110
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   Monmouth County                                               Infirmary Progress Notes
   Monmouth Adult (MCC/)
                                                                   FOR INFIRMARY USE ONLY
   1 wat~arks mod
   Freehold, NJD7728
                                                                                                                   Onle Of Se,vice
                                                                                                                   6/30/2015



   thiamine HO iOO mg tablet               1,00 tablet         Monmouth facility: Q AM       7/1/2015 8:00.00 AM   7/31/2015 7:59:00 AM

   Patient Problems:
       Observed
                       Category Type                                Problem                              Confim,ed By
       Date
       06-30-2015 Acule  PSYCH: SubStance Ale010
                                              I I Abuse
                         Abllse
     06-30-2015 Chronic  RESP: Asthma     Asthma Not Othe1wise Specified
     06-]o.2015 Acute    PSYCH:           Unspecified Major Depression,
    . _____ ____________ pepression       Recurr~nl)=f!Lsode_ _ _ __
   Patient Allergies:

   !B~~erved · ~Y~~                                            Allergy
   I
   JQ§:~0-:?015_J1llergyJterr,s __ _                __ ______ No Known Allergies__ .. ..........
       Ga   Vital Signs Taken
   Patient Vitals:
       Observed Blood
       Date     Pressure                 Pulse           Resp. Rate Temp                 Pulse Ox      Weight      BM/               ·1
                                                                                                                                      I
       06-30-
       2015
       04:00 PM 106161                   87              ·1B              98.00
       EST

              Mdod 06/30/20/5-05:07 PM EST by /QM/a Supa,v/sol)' Slaff f - - - - - - - - - - - - - - - - - - - 1

        S: l'M OK'

        O: A,O,X, 3, SKIN BROWN, WARM AND DRY. NO COMPLAINTS, NOD/STRESS. LAYING IN BED,
        MAKES POOR EYE CONTACT WHEN SPEAKING WITH 1/M. NO SIGNS OF AG/TA TION OR SELF
        HARM. 1/M WITHDRAWING FROM ETOH, CIWA=1.

        A: MALE JIM ON CONSTANT WATCH FOR SIi.

        P: CONTINUE TO MONITOR, REDUCING RISI< OF SELF HARM. REDU/CNG RISI< OF SEIZURES.




       E,Signcd by Lawrence Divitn 1r/J6/.~0/2015 05:07 PM EST                                                                              I
                                                                                                                                            I'




                                                                                                                     MCCI MED RECORDS 111
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  Monmouth County                                                               Provider Infirmary Admission
  Monmouth Adult (MCCJ)
  f waten.wrlcs road
                                                                                                           Orders
  FreMold, NJD1728
   Patient i"!snw                                Pafieni Mumb-er                                    BDoking Number                                Birt.fl 08/e                      Dare or Sari.•Jce
   DOflELL FREEMMI                               26-134                                             -3279258                                      i2J2511975                        6/30/2015


       1. Admit to              0 Infirmary Bed (!! Observation Bed O Medical Hous1i1g (Sheller Bed) 0 /so/a/ion Bed
                                      Isolation Bed          D         Contact □ Respirato1y □ Airborne

   Patient Problems:
   , Observed                                                                                                                                             Confirmed By
                       Category Type                                                      Problem
   fDate
   !                     PSYCH: Substance                                                 Af I I Ab
   !06-30-2015 Acute     Abuse                                                              co 10   use
   !
   ,06-30-2015 Chronic RESP: Asthma                                                       Asthma Not OfheMise Specified
   !
   i 06-30-2015 Acute
                         PSYCH:
                      ....Depression
                                                                                          Unspecified Major Depression,
                                                                                          Recurr~0LEp'"i"-so""d'-'e'----

       2. DI agnosis
  .1 SIi

   Patient Allergies:
   Ibiiserved          T                                                          Allergy
   jDate         ype
   i 06-30-2015 Allemv Items                        . ·-· ... -·     -            No Known Allergies                                         ·-                                     --                       .   "

       4. Vital Slgns                      @) QShift             0         Q 8 hours                O       Q 4 hours
                                                 times_ _days 7
                                           □     Fetal heart rate
                                           □ q shift □ q day unfil delivery


       5.Activity                          GZI Ad lib       □ Bed Rest □ Bed side Commode □ Bathroom with Assist


       6. Nursing                          □ /&Os                                                                                                                                                                    ........
                                                                                                                                                                                                                                I
                                           .                                                         . .. - ··---·-·-··--·- -                      ...    ·-··-···--·-·-·-                    ··-··
                                           □     Neuro Checks

             .. ··----··
                                           □ Weigh patient
                                                                           ·---   •-
                                                                                                                                                         ..   ··-- -··- -·--   ..              ·----··-               ...       i
                                           □ Oxygen
                     . . . - ···-···-- .        .... ··- ·--··--·~--- - ·--. ...                                               ------···-----                           ··-··---         '
                                                                                                                                                                                                   •····-

                                           □ Nebulizer Breal/Jing Treatments


       7. Diet                             Gil    Regular □ Cardiac □ ADA □ NPO □ Clear Liquid
                                             ADA_ _ kcal
                                           □ Soft □ Bland □ Pureed □ Fractured Jaiv


   18. lV                                  @ None           O
                                           r\ f,/,...,,rm,...I
                                                                     Hep Lock with flushes
                                                                 t;- ...
                                                                                                                            O
                                                                           ,1.;,,,,,.. (~'\ t ... ,...,1.... ln.rl o;,.,..,,.,..I:'
                                                                                                                                      PICC Line flushes
                                                                                                                                      r'\• nklA/ (\ r'ik~ l"J h/C'




                                                                                                                                                                                                          Page! of2




                                                                                                                                                                                             MCCI MED RECORDS 112
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   Monmouth County
   Monmouth Adult (MCGJ)
   1 watl;!rwork:s mad
   Freehold, N..107128
   PafientNlime
   DONEl.L fREEMAH
                                        r1:tlent Number
                                        26184
                                                          Provider Infirmary Admission
                                                                     Orders

                                                                 J8ookhig Numb-er
                                                                  3279268
                                                                                                IBirth Dste
                                                                                                 1212511975
                                                                                                              l;Oate or SenHce
                                                                                                              61'30/2015
                                                                                                                                 ~,
    8. IV                        (.!)   None    t_)   Hep Lock ~wm tlusnes   u      Plt:0 t...me riusfws

                                 0 Nonna/ Saline O Lactated Ringers O 05W O 051/2 NS

    9. Medications               □ Tylenol □ Ibuprofen □ Ducosate □ Sliding Scale Insulin
                                                                                                                                  I
     10. Labs                    □ DP-1 □ DP-2 □ DP-3
                                 □ Basic Metabolic Panel □ CBC with Diff!PLT

                                 □ PT □ PTT, Activated □ INR
                                 □ UA, Complete
                                                                                                                                         ;::
                                 □ Finger Stick Blood Sugars

                                        Finger Stick Blood Sugars O BID O TIO O QID O AC & HS O Other                                    i
                                 □ OU1er
                                                                                                                                         I
     11. Other                   □ Release of Jnfol1'1alion

                                 □ Initiate CIWA protocol

                                 □ Initiate Hunger Stnke Protocol
                                                                                                                                         I
                                 □ Initiate COWS protocol

                                 □ Dressing changes




    £-Signed hy Lawrence Divitu n 06/30/201:5 04\36 PM EST




                                                                                                                  MCCI MED RECORDS 113
                                                                                                                                                               ..·--   ...... -
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                                                                                                                                                                         l};_'.i




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult{MCCJ)
                                                                FOR INARMARY USE ONLY
   t wate,worl<s. road
   Fr@ghold, NJ07728
                                                                        Bookfng Number
                                                                        3279268



                                                                                                                  7/1(.2015 8:00:00     7/31/2015 7:59:00
   thiamine HCI 100 mg tablet                                    1.00 tablet   Monmouth ~acility: QAM
                                                                                                                  AM                    AM
                                                                                                                  7/2/2015 8:00:00      9/30/2015 7:59:00
   Zoloft (Sertratinc) SO 111g tablet                            1.00 tablet   t.\onmouth Fadlil;y: Q AM                                AM
                                                                                                                  AM
                                                                 2,00          Monmouth r::aclllty: BIO AM & 7/1/2015 7:00:00           7/3/2015 6:59:00 PM
   chlordlazepo:idde 25 mg capsule
                                                                 c11psule      HS                                 PM
   albuterol sulfrite 2.5 mg/3 ml (0.083 %) solution for         t.00          1'.·lon.mouth facility; Every 3    7/1/2015 2:00:00      12/28/2015 1:59:00
   nebuliz11tlon                                                 millillfer    hours                              Pt-.•!                PM
                                                                             Monmouth F<1ci1ity: BID AM &         7/1/2015 7:00:00
   acetaminophen 325     in9 tablet                              2,00 tablet
                                                                             HS                                   PM
                                                                                                                                        7/8/2015 6:59:00 PM

                                                                 1.00        Monmouth Fi1i::mw: BID AM &          1/1/2015 7:00;00
                                                                                                                                        7/,3/2015 6:59:00 PM
   loperamide 2 mg capmle
                                                                 c.apmle     HS                                    PM
                                                                             Monmouth Faclllty: Bro AM &          ·7 /1/201 S 7:00;00
   medizJne 25 mg mewab!flablet                                  1,P0 tablet                                                            7/8/2015 6:59:00 PM
                                                                               HS                                 PM
   Patient Problems:
    Observed
                       Category Type                            Problem                                          Confirmed By
    Date
    06-30-2015 Acute   PSYCH: SubSlance                         Alcohol Ab s
                       Abuse                                              u e
    06-30-2015 Chronic RESP: Asthma                             Asthma Not otherwise Specified
    06-30-2015 Acute   PSYCH:                                   Unspecified Major Depression,
      _ _ _ _ _ _ _ _D_e~p~re_s_s_io_n~                         Recurrent Ep,E;ode
   Patient Allergies:                                                                                                                                                       I
                                                                                                                                                                            !·;
   rg~reerved        -.,.,-y_p_e _ _ _ _ _ _ _ _ Allergy
                                                                                                                                                                            1.
   , 06-30-2015.Allel]}_y_ Items                           .. N.9 t<,n,_~IY{J_f?,//erg=ie=s----~-
                                                                                                                                                                            ,.
    1,ij Vital Signs Taken                                                                                                                                                  I
   Patient Vitals:
   ,··observed         Blood
   1Date
                                          Pulse        Resp. Rate Temp                     Pulse Ox
                       Pressure
                            -----------
            Added Ol/D//2015 05:46 PM €ST t,yyeverso~LP(v               f----------------------~                                                                            I
                                                                                                                                                                            1.! .
      /Im displays no signs or symptoms of withdrawal at this time CIWA- 0. Jim stated Iha/ he was raking zoloft
      when home. Advised that he speak with mental health personal lo discuss his medication needs.
      No verbalizan·on of suicidal idea/ions or gestures.
      Continue lo monitor as needed.




    E-Sig,ned by Yvette E\lcrsonn 07/01/2015 nt.:'15 PM EST                                                                                   Page I of l




                                                                                                                                   MCCI MED RECORDS 114
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 121 of 486 PageID: 800




  Mo11mouth County                                         Infirmary Progress Notes
  Monmouth Adult (MCCI)                                      FOR INFIRMARY USE ONLY
  1 waterwor!<S road
  Frnehold, NJ0772B




                                                                                                           7/1/20[5 3:00:00   7 /31/20151:59:00
   thiamine HCI 1-00 mgtabli!t                                LOO table't    Man mouth Faclllty; Q AM
                                                                                                           AM                 AM
                                                                                                        7/2/201.S 3:00:00     9130/2015 7:59:00
   Zolott. {Sertra!ine) 50 mg tablet                          1.00 tablet Monmouth Fadlit}'t Q AM
                                                                                                        AM                    AM
                                                              2.00        l\•lonmouth Fadllty: BID AM & 711/2015 7:00:00      7/3{2.01S 6:59:00 PM
   thlord!azepoxlde 25 mg ciiprnle
                                                              capsule-    HS                            PM
   albuterol sulfate 2,5 mg/3 ml (0,083 %l solution far       1.00        Monmouth Facility: Every 3    7/1/2015 2:00:00      12/28l201S 1.:59:00
   nebulizaUon                                                milliliter     hours                         PM                 PM
                                                                             Mon·mouth Facility: aiD- AM & 7/112015 7:00:00   7.t.3/2015 6:59:00 PM
   a.cetamlnophen 325 mg:tablet                               ?,00 tablet
                                                                             HS                            PM
                                                              1,00           Monmouth Facmty: BID AM & 7/1/2015 7:00:00
   !operamlde 2 mg capsule                                                                                                    7/3/20i5 6159;00 PM
                                                              capsule        HS                            PM
                                                                             Monmouth Facmtyl BIO AM~ 7/1/.2015 7;00t00
   mecll~ine 25 mg cheWable tablet                            1.{I0tablet                                                     7/o/201.S 6:59:00 PM
                                                                             HS                            PM
   Patient Problems:
    Observed
                                                                                                                                                      I
                      Category Type                          Problem                                      Confirmed By
    Date
    06-30-2015 Acute     PSYCH: SubSlance
                         Abuse                               Alco hoIA"
                                                                      vUSe
    06-30-2015 Chronic RESP: Asthma                          Asthma Not Othe,wise Specified
    06-30- 2015 Acute    PSYCH:                              Unspecified Major Depression,
         -------=D~e~p~re~s~s=ion_._                         Recurrent E isode
   Patient Allergies:
   IObserved     _T_,,:_p_e _ _ _ _ _ _ _ _A-1/ergy
   1Date
   I 06-30-2015 Altem:t Items                             No. Known Allergies
    l;;;J Vital Signs Taken
   Patient Vitals:
    Observed iitood                                                                                                   BM/
                                       Pulse        Resp. Rate Temp                  Pulse Ox           Weight
    Date     Pressure
    07-01-
    2015
    12:12 PM 118172                    95           20               98.70           98
    EST

            Added IH10ii20NJ .1~:1B'PM EST by kfackfna LPN.          e-~---------------------.
                                                                                                                                                      I':
      S) co headache a11d anxiety.
      O)a&a at rounds. seen by np. h&p complete.
      meds ordered.
      A) on C\V due to si. no attempts. also reports
      po/ysubs/ance abuse. placed on abbreviated librium
      protocol. to begin tonight currenily exhibits no active ,vd sx.
      P} will continue to monitor.




                                                                                                                                    Page l r,£2.




                                                                                                                          MCCI MED RECORDS 115
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 122 of 486 PageID: 801




   Monmouth County                                             Infirmary Progress Notes
   Monmouth Adult (MCCI}                                        FOR nmRMARY USE OIJLY
   1 wateJWOrks road
   Freehold, NJ01728
   Pstlent ,\lame                           Patient f,Jumber         Booking Numb·er      Birth Date   Dete Of Sel1f/C8
   OONEll FREEMAN                            26184                   '.!279:258           12/25/1976   711/2015
    j ,-,)   WIii GUHIIHUt: IU"/ fl.Ul!/HJI _·




                                                                                                                                   I




     E,Signed by Katluyn Fuckino n 07/01/2015 12:18 PM 8ST                                                            Pagu 2 of2




                                                                                                          MCCI MED RECORDS 116
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 123 of 486 PageID: 802




   P,fonmouth County                                        Infirmary Progress Notes
   Monmouth Adult {MGCI)
                                                              FOR IMFIRMARY USE ONlY
   1 waterworlfs road
   Frer;,hoJd, NJ07728




                                                                                                                7/1/2015 8:00:00   7/31/2015 7:59:00
   thiamine HO 160 mg tablet                                    LOO tablet      Monmouth Facility: QAM
                                                                                                                AM                 AM
                                                                                                                7/212015 8:00:00   9/30/2015 7:59:00
   Zo!oft {Sertraline) 50 mg tablet                             1.00 tablet     Mo11mouth Fac.llily: Q A.M                         AM
                                                                                                                AM
                                                                2,{lQ           Monmouth Facility: BID AM & 7/1/2015 7:00:00. 7/3/2015 6:59:00 PM
   (hlordlazepoxlde 25 mg rnpsu117
                                                                tap~ole         H5                              PM
   a!buterot su!tate 2.5 mg_/3 ml (0,083 %) rnlutlon for        1,00            Monmouth Facility: Every3       7/1/2015 2:00:00   12/28-/2015 i:59:00
   nebuti"zation                                                milliliter      hours                           PM                 PM
                                                                                Monmouth Facility: BID AM &     7/1/20157:0MO      7/8/2015 6:59:00 PM
   acetaminophen 325 mg tablet                                  Z.00 tablet
                                                                                HS                              PM
                                                                1.00            Monmouth Facmty: BID AM & 711/2015 7:QO;OO         7/8/2015 6:59:00 PM
   loperamfde 2 mg capsule
                                                                capmfe          HS                              PM
                                                                                Mor.mouth Fitclllty: BID AM & 7/1/2015 7;00:00     7/a/2015 6:59.:00 PM
   mellirlne 25 mg chewable tablet                              LOO ta bl.et
                                                                                HS                              PM

   Patient Problems:
   'Observed
                  Category Type                         Problem                        Conflrmed By
    Date
    06-30-2015 Acute          Abuse Substance Alcoha/Ab use
                              PSYCH:
    06-30-2015 Chronic RESP: Asthma                     Asthma Not OthetWise Speciffed
                              PSYCH:                    Unspecified Major Depression,
    06.-. ~:!
         3 01 5
             _ __ A_c_u_te_ _~D~e~p~re~s=-s~io~"---~R~e=-c=UIT~e=n~t~E~p~is~o~d~e_
    Patient Allergies:
   ,'0bserved T · ,.
   1,Date           ype                                    Allergy
   J0ll:30-2015 Allergy Items                          __ /'/9 l<:Q~WnAJ!ergi=-es"-----------
    i;,J Vita/ Signs Taken
   Patient Vitals:
   Observed Blood
                                       Pulse         Resp. Rate Temp                     Pulse Ox            Weight        BM/
   Date     Pressure
   07-01-
   2015
   04:27 AM gg/BB                       81           18                 97,90
   =~-----··---··
   EST              .             ________________ , - - - - - - - - - -
           Added 07/01/2015 11:38,AM ESc by~asRauskss Nurse Pr~cr.ttanei ! - - - - - - - - - - - - - - - - - ~

     S: progress note, clo nausea/headache from ETOH wfd, c/o homodica/lSI
     0: vss
     A: ETOH wld score 2
     P: continue monitoring SNU




     E,Signed by Theresa Raskamkm;n 01/01/2015 l l:38 AM BSl'                                                                            Page I of 1




                                                                                                                               MCCI MED RECORDS 117
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 124 of 486 PageID: 803




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adull(MCCJ)
                                                                FOR ltfflRMARY USE ONLY
   7 wat~rwo1·1<s road
   Freehold, NJD172B




   thiamine HCI 100 mg tablet           1.00 tabltt         Monmoutl1 Facility: QAM       7/1/2015 8:00:00 Al'.·1   7/31/2015 7:59:00 AM

   Patient Problems:
                                                                                                                                     ·7
    Observed                                                                                                                           i
                    Category       Type                          Problem                                 Confirmed By
    Date
    06--30-2015 Acute              PSYCH: SubSlance AleOI10I Abus
                                 Abuse                                        e
   , 06-30--2015 Chronic
   ,
                                 RESP: Asthma
                                 PSYCH:
                                                            Asthma Not 0/heovise Specified
                                                            Unspecified Major Depression,
                                                                                                                                               I
   , 06-30-2015 Acute                                                                                                                          i.
       ........ _-··· _.. _ _ _ _D_e"p,~r~es~s=i~on~--~R~e=c=u~rr=e=n~t=E=p=is=o~d~e_ _ _ __
   Patient Allergies:
   [Observed         r                                      Allergy
   :Dale             ype
   i06,30,2015      Allergylt~ms_                           No Known Allergies .
    [;:;I Vital Signs Taken
   Patient Vitals:
    Observed Blood
                                      Pulse           Resp. Rate Temp                 Pulse Ox        Weight        BM/
    Date     Pressure
    07-01-
    2015
             99168                    81              ·JB             97.90
    04:27 AM
    EST
           ,, ••••-•••••••W-----•------
           Added07!01!201504:30AMESTbyMussel/ LP",'                   f----------------------~

     S- "I heard there fs a special unit here for mental heaffl,, can I go there?"
     0- Rest1ilg on rounds, wakes easily. No distress or self ham, noted. CIWA=2 for anxiety.
     A- On CW for Sil, also being monitored for etoh WD                                                                                         r
     P- Continue to monftor


                                                                                                                                                I
                                                                                                                                                ;
                                                                                                                                                '·




    E-Signed by Heather Rus::eli·n 07/01/2015 04'.30 AM EST                                                                      Page l of I




                                                                                                                        MCCI MED RECORDS 118
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 125 of 486 PageID: 804




   Monmouth Counfy                                             Infirmary Progress Notes
   Monmouth Adult (MCCI}
                                                                   FOR INFIRMARY USE ONLY
   1 wat~'l!ortrs road
   Free.hold, NJ077'28
                                            Petfent Number
                                            26184



                                                                                                                7/1/2015 a:oo:oo     7,,31/2015 7:59:00
   thiamine HCI 100 mg tablet:                                      LOO tablet Monmouth Facility; Q AM                               AM
                                                                                                                AM
                                                                                                                1a.1201s a:oo:oo     9/30/2015 7:59:00
   Zofoft (SertraHne) SO mg tablet                                  1,00 tablet   Monmouth Faclltty: Q AM
                                                                                                                AM                   AM
                                                                    2,00          Monmouth Facllitt, BID AM & '7;1/1015 7:00:0/J     7/3/2015 5:59:00 PM
   cf1lordlazepmdde 25 mg caprn!e
                                                                    capsule       .HS                           PM
   a!bute:rol sulfate 2.5 mg~ ml{0.083 %) rnlutian for              1.00          Monmouth Facility: Every 3    7/1/2015 2:00:00     12/23/2015 t:59:00
   nebuflzatlon                                                     milliliter    hours                         PM                   PM
                                                                                  Monmouth Fadlity: BID AM & 7/1/i0l5 7:00:00        7,10/2015 6:59:00_ PM
   acetaminopht!n 325 mg ta~let ·                                   2.00 tablet
                                                                                  HS                            PM
                                                                    1.00          Monmouth Facility: BID AM&. 1111201s7:oo:oo
   Joperarn!de 2 mg capmle                                                                                                           7/8/20i5 6:59:00 PM
                                                                    capsule       HS                            PM
                                                                                  Monmo_uth Factllty: BID AM. & 7/1i2015 7:00:00
   mN:lb::[ne 25 mg chewable tablet.· -                             1.00 tabfl?.t                                                    7/812015 6:59:00 PM
                                                                                  HS                            PM
   Patient Problems:
    Observed
    Date             Category Type                                 Problem                                     Con/inned By

    06-30-2015 Acute                     PSYCH: Substance          Al I I Ab
                                         Abuse                       co 10   use
    06-30-2015 Chronic                   RESP: Asthma              Asthma Not Otherwise Specified
                                         PSYCH:                    Unspecified Major Depression,
    06-30-2015 Acute
                                    ... .P<=2ression               Recurrent Ep_"'is"o"ri"e _ _ _ _ __
   Patient Allergies:
                                                                                                - - - - - - - ···--·                 ---
   [Observed T                                                Allergy
     Date         ype
   [ 06-30-2015. Allergy Items                                No Known Allergies
    G1 Vital Signs Taken
   Patient Vitals:
    Observed Blood
                                             Pulse       Resp. Rate Temp                  Pulse Ox          Weight         BM/
    Dale     Pressure
    07°03-
    2015                                     81          18                9630
    12:33 AM 100/55
    .EST

            Added,07/0312,015 12:41AMES.T./JyhruSf)e/J LPN ! - - - - - - - - ~ - - - - - - - - - - - - - - ~

     s. WMn asked why he was lying on the floor I/M repffed, "I'm more comfortable down here, and I fell dizzy. My
     hands are also shaking.•
     QC Resting on rounds, wakes easily. Denies current Sil, appears depressed. /JM held out hand, no tremors
     noted or (ell in f/ngertip/i. C/WA;O, COWS=O. No signs of self harm noted.
     A- On CW for Sil, also being monitoredfor po/ysubs/ance WD
     P- Fluids encouraged, continue to monitor




    1!.-Signed by Heathm· Russell   11   07/03/2015 12:41 AM EST




                                                                                                                                   MCCI MED RECORDS 119
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                                                                                                                                                                 I;


   Morimouth County                                              Infirmary Progress Notes
   Monmouth AdUlt (MCCI)                                              FOR INFIRMARY USE ONLY
   1 wate/works road
   Fr~eholr:J, NJ01728


                                                                                                                                                                 i;
                                                                                                                                                                 ',
                                                                                                                                                                 :r
                                                                                                                     7/1/20158:00:00     7/31/2015 7:59:00
                                                                       1.00tablet    Monmouth facility: Q AM
   thiamine HO 100 mg tablet

   Zoloft (Sertral!neJ 50 mg tablet                                    1.00 tablet   Monmouth Fac!l!ty: Q AM
                                                                                                                     A.M
                                                                                                                     1/2/2015 8:00:00
                                                                                                                     Afl.·I
                                                                                                                                         AM
                                                                                                                                         9/30/2015 7:59:00
                                                                                                                                         Md
                                                                                                                                                                 I'X
                                                                                     Monmouth Fa(il!ty; BIO AM & 711/2015 7:00:00                                     '
   chlordlaupo:dde 25 mg capsule
                                                                       2.00
                                                                       cap.rnle      H5                              PM
                                                                                                                                         7/3/2015 6:59:00 PM
                                                                                                                                                                 if::
   albuterol mlfate 2.5 mg/3 ml [0,083 %) solution for                 LOO           f\fonmouth Facility: Every 3    7/1.11015 2:00:00   12/28/2015 1:59:00
   nebullzatlon                                                        milliliter    hours                           PM                  PM
   a(etaminoPhen 325 mg tablet ·                                       2,00 tablet
                                                                                   Monmouth Pacitlty; BID AM &. 7/i/2015 7:00;00
                                                                                   HS                           PM
                                                                                                                                         7/8/2015 6:59:00 Plv1   I'..
                                                                       1,00          Monmouth Facllityi BID AM & 711/201S 1:00:00
   loperamide 2 mg· capsule                                                                                                              7/8/2015 6:59:00 PM
                                                                       capsult'!     HS                          Pl'vt
                                                                                     r-.•1onmouth- facility: BID AM & 7/1/2015 7:00:00
   medlzine 25 mg chewable tablet                                      1.00 tablet                                                       7/3/2015 6:59:00 PM
                                                                                     HS                              PM
   Patient Problems,-
    ObseNed
                       Category Type                                  Problem                                       Confirmed By
    Date
                                       PSYCH: Substance               Al h I ,.
    0ihJ0-2015 Acute
    06-30-2015 Chronic
                                       Abuse
                                       RESP' Asthma
                                                                        co o J-UJUse
                                                                      Asthma Not 0/henvise Specified
                                                                                                                                                                 If
                                       PSYCH-                         Unspecified Major Depression,
    08-30-2015 Acute
                                       Depression                     Recurrent Episode
   PaUent Allergies:
    ObseNecf' T - - - - - - - - - - -
   Date           ype            Allergy
    98-30-2015 Allergy lte.111s .. ,                            No Known A!lergi~-~ _
    Gil Vital Signs Taken
   Patient Vitals:
                                                                                                                                                                  ,, ...
    ObseNed Blood                                                                                               Weight          BM/
                                           Pulse         Resp, Rate Temp                      Pulse Ox
    Date    Pressure
    07-02-
    2015
                                                                                                                                                                  i
    04:00 PM 104164                        70             16                 9720
    ~ST~.~~~~.
            Adlfed0.7!021201509:00PM EST bY,i<Y•~~erLPN ! - - - - - - - - - - - - - - - - - - - - - - ,

      S- IM stated• I want to hurt myself because of where I am" I am cfepressed"
     0- /M was compliant with vis. JM statecf he wanted to hurt himself but not anyone else, IM denies hearing
     voices. VIS wnl. IM refused Ubrium stafing "/ dont want that". IM on Ciwa and cows protocol with anxiety being
     his only wld symptom.
     A IM in Cl1!V far SIi and polysu/, W/D
        0


     P"Wi/1 conffnue lo monitor and offer fluids




     E~Sighe-tl by Kimbe.rl_y Yeager n07!02/..'.!0l-5-09!00 PM ES·T                                                                            Page ! of I




                                                                                                                                     MCCI MED RECORDS 120
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 127 of 486 PageID: 806




   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult {MCCI)
                                                             FOR INFIRMARY USE ONLY
   1 waterwor((!$ road
   frePhold, WJ07728




                                                                                                           7/1/2015 8:00:00-    7/31/2015 7:59:00
   thlamine HCI 100 mgt~btet.                                  1.00 tablet ·Monmouth Facility: QAM
                                                                                                           AM                   AM
                                                                                                           7/2/201 S 8:00:00    9/30/2.015 7:59:00
   Z.oloft {Sertraline) 50 mg tablet                           1,00 tablet   Mo11mouth Facility: Q AM
                                                                                                           .A.M                 AM
                                                               2.00          Monmouth Facilityi BID AM & 7/1/2015 7:00:00       7/3/2015 6:59:00 PM
   chlordlazepoxlcre 25 mg capsule
                                                               capsule       HS                            PM
   albuterol sulfate 2.S mgj3   ml (0,083 %] solution for     "1.00          Monmouth Facility: Ewry3      7/1/1!J1 5 2,00:00   12/23/2015 1:59:00
   ne:bulization                                               milliliter    hour~                         PM                   PM
                                                                             Monmouth Facility; BIO AM&. 7/lf]IJ15 7:ao.oo      7/3/2015 6:59:00 PM
   acetaminophen 325 mg tablet                                 2.00 tablet
                                                                             HS                            PM
                                                               1.00          Monmouth Facility: B[D AM &   111n01s 1:00:00      7/3/2015 6:59:00 PM
   loperamide 2 mg capm!e
                                                               caprnle       HS                            PM
                                                                             MonmoUth-Faclltty: 8[0 AM & 7/1/20.tS 7:00:00
   medlzlrie 25 n:ig chewahle tablet                           1.00 tablet                                                      7/8/2015 6:59:00 PM
                                                                             HS                            PM
   Patient Problems:
   r::--~-- ..
   ;Observed
                      Category Type                           Pro/Jlem                                   Confirmed By
   !Date
    06-30-2015 Acute                   PSYCH: Substance Al h !Ab
                                       Abuse              co o    use
    06-30-20'/5 Chronic                RESP: Asthma     Asthma Not Otherwise Specified
                                       PSYCH:           Unspecified Major Depression,
    06-30-2015 Acute                   Depression       Recurrent Episode
   Patient Allergies:
   Observed        ---------------                                                                                                    ·   ··1
    ~:!Io-2015 :~:;gy Items                             __ :;~e;::own Allerg=ie~s-------··•······---•·-·. · - - ·
    □   Vital Signs Taken
   Patient Vitals:
   I Observed          Blood
   IDale _             Pressure
                                           Pulse        Resp. Rate Temp                Pulse Ox         Weight

            Added Ol/021'40115 02;11F'M £STby KFac1i1ni, LPN . 1 - - - - - - - - - - - - - - - - - - - - - - ~ ~

     S) no com-plaints
     OJ a&a at rounds. refused librium
     wants only pscyhe meas. exhiblls
     no signs of active wd
     A) on c1v due to si. denies
     no attempts
     P) will con/fnue to momtpr,




    E•Slgned by Kathtyo Pt\dJna n 07/02/2015 02:13 PM EST                                                                             P.1gc I of 1




                                                                                                                            MCCI MED RECORDS 121
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   f.llonmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MCCI}
                                                                 FOR INFIRMARY USE OflLY
   1 waterworks road
   Freehold, WJ01'128
                                                                                                            Birth Dare           Date Of Service
                                                                                                            1212511975           11212016



                                                                                                                     7'1/1015 B:00:00    7r31;"2015 7:59:00
   thiamine HCl 100 mg tablet                                         l,OOtablet     Monmouth Fac!llty: QAM·
                                                                                                                     AM                  AM
                                                                                                                     7/2/2015 8:00:00    9/30/2015 7:59:00
   Zoloft (Sfrtraline) 50 mg tablet                                   1,00 tablet    Mohmol.lth facility; Q AM
                                                                                                                     AM                  AM
                                                                      2.00           Monmouth Facility: BID AM & 7/1/2015 7:00:00
   ~hlordiaz.epoxide 25 mg cap5ute                                                                                                       7/3/2015 6:59:00 PM
                                                                      capsule        HS                              PM
   albute:rol rnlfate 2.5 mg,13 ml (0,083 %) mlutlon for              1,00           MonhlOUth Facility: Evety3      7/1/2015 2:00:00    i2aa1201s t:59:oo
   nebuUzatlon                                                        milllliter     hours                           PM                  PM
                                                                                     Monmouth fpi;;!lit.y: 610 AM&. 7,11;;!015 7:00:00
   acetamlnOpht:h 32S mg tablet                                       2:00 tablet
                                                                                     HS                              PM
                                                                                                                                         7/8/2015 6:59:00 PM

                                                                      1,00           Monmouth facility, BID AM. & 7/1/20151;00:00
   laperamlde 2 mg Ci.lp.rn[e                                                                                                            718/2015 6:59:00 PM
                                                                      caprnle        HS                           PM
                                                                      1.00 tablet    Monmouth FacllttyJ BID AM & 1/1/2015 7:00:00        7/8}2015 6:59:00 PM
   mecllzine 25 mg chewable tablet
                                                                                     HS                          PM

   Patient Problems:
    Observed
                     Category Type                                Problem                                          Confirmed By
    Date
    06-30-2015 Acute                  PSYCH: Substance Al h /Ab
                                      Abuse              co o    use
    06-30-2015 Chronic                RESP: Asthma     Asthma Nol Otherwise Specified
                                      PSYCH:           Unspecifled Major Depression,
    06-30-2015 Acute                  De ression       Recurrent E:pf§0_de ___________
   Patient Allergies:
   r--·                                                                                                                                                i
   Ig~;,:rved
   \QB:$0:20.1§.
                     Type                                   Allergy
                     /\~~rgy Jtem_s; _____~N~o=Ki~no~•~vn~A=/le~c~g,e~·~s_ _ _ _ __                                                             _J
    511   Vita/ Signs Taken
   Patient Vitals:
                                                                                                                                                   ---1
    Observed Blood                                                                                                                                     I
                                         Pulse         Resp. Rate Temp                        Pulse Ox           Weight          BM/
    Date     Pressure
    07--02-
    2015
    01:55AM
    EST
            105169                       61            18                    98.40


            Added 07!021201510:1.0 AMEBTbytrasKaf/Skas 1,iurse Practitloherf----~-------------,
                                                                                                                                         ~         _j
      S; progess note, ednies complaint
      O:· Vss1 cowa score 2
      A: medically stable
      P: flu prn, conffnue ciwa monitoing




    E•Siftned hy ncr{'.~:t R11skil11skas-n 07/02/2015 10_:IO AM CST                                                                             Page I of I




                                                                                                                                    MCCI MED RECORDS 122
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 129 of 486 PageID: 808




   Monmouth County                                         Infirmary Progress Notes
                                                                                                                                              '
                                                                                                                                              .


                                                                                                                                              *
   Monmouth Adult (MCCJ)                                       FOR IMFIRMARY USE ONLY
   1 waterworks rc,fid                                                                                                                        .
   FrnehoJd, NJ07728




                                                                                                             7 ll,12015 8:00:00   7,31/20157:59:00
   thiamine rlCI HlO mg tablet                                  1.00 tablet    Monmouth Facility: Q AM                            AM
                                                                                                             AM
                                                                                                             7/2/2015 8:00:00     9/30/2015 7:59:00
   Zoloft {S.:rtraline) SO mg tilblet                           1,00 tablet Monmouth Fildllty: QAM                                AM
                                                                                                             AM
                                                                2,00           Monmouth filclflty: 8to AM & 7/1/2015 7:00:00      7/3/2015 6:59:00 PM
   ch!ordlazepoidde 25 mg rnpmle
                                                                <aprnle        HS                            PM
   atbuterol mlfate 2.5 mg/3 ml (0,083 %) rnlution for          1.00           Monmouth facility; Every3     7/1/2015 2:00:00     12/28/2015 L;59:0iJ
   nebuhzntion                                                  mllllllter     hours                         PM                   PM
                                                                               Monmouth FacilitiJ! BIO AM & 7/1./2015 7;00;00     7 l0/2015 6:59:00 PM
   acetaminophen ;145 mg ta\)let                                2,00 tablet                                  PM
                                                                               HS
                                                                1.00           Monmouth Facility: BID AM & 7/1/2015 7:00:00       1;a1201s6:59:oo pr;,,1
   loperamide 2 mg cppsul~
                                                                caprnle        HS                          Pf\•t
                                                                               Monmouth Fa(llity. BID AM&, 7/1/2015 7 :00 :00     7/a/201.5 6:59:00 PM
   meclizine 25 rilg chewable tablet                            1.00 tablet
                                                                               HS                            PM

    Patient Problems:
                                                                                                                  ···•·.-- - ~ -1
    Obse1ved          C I                                      Problem                                     Confirmed By
    Dale               a egory Type
                                        PSYCH: Substance Al h /Ab
    ~06-30-2015 Acute                   Abuse              co o    use
    \06-30--.2015 Chronic               RESP: Asthma     Asthma Nol Otherwise Specified
    l
    06-30--2015 Acute
                                        PSYCH:
                                        Depressiorr__ _
                                                         Unspecffied Major Depression,
                                                         Recurrent Episode
    Pauenl Allergies:
                         --------
    iObse,ved         T
    'Date              ype                               Allergy
    !06-30-2015       A/~!9ylt""em=s_ _ _ _--'N.,_,o,_,1<nown Allerg.,i"'es'------
    R] Vital Signs Taken
    Patient Vitals:
     bbse. rved Blood                     Pulse     Resp. Rate Temp                     Pulse Ox         Weight           BM/
     Date       Pressure
     07-02-
    f2015
    !01:55AM 105169                       61        18                 98.40

    LES!~======-=====;:::::;--
       Added07to2120150i:57AMESTbyhrw,sel/LPN.I----------------------~

        S- "/ need my antidepressant"
        0- Resting on rounds, wakes easily. No signs of self hann noted. C/WA=0, COWS=O, no. active WD
        observed.
        A- On CW for SIi, also being monitored for po/ysubslance WD
        P- Continue to monitor




     E-Slgned by Hea1hcr Russell n 07/02/'.Wl 5 01:57 AM BST                                                                             Page I of I




                                                                                                                             MCCI MED RECORDS 123
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 130 of 486 PageID: 809




   Monmouth County                                           Infirmary Progress Notes
   Monmouth A dull {MGGJJ
                                                                  FOR INFIRMARY USE ONLY
   1 waterworks road
   Freehold I NJD1728




                                                                                                                      7r1/2015 8:00:00   7/31/2015 7'.59:00
   thiamine: HCI 100 mg tablet                                     LOO tablet     Monmouth Facility: Q AM
                                                                                                                      AM                 AM
                                                                                                                      1121201s s:ooioo   9/30/2015 7:59:00
   Zoloft (Se1trallne) 50 mg tablet                                1.00 tablet    Monmouth Facility: QAM
                                                                                                                      AM                 M•I
   albuterof sulfate 2,5 mg.B ml (0,083 %) rnlutlon fo·r           LOO            Monmouth FadUty: Eveiy.3            7/1/2015 2:00:00   12/28/2015 1159;00
   nebulizatlon                                                    mllHJiter      hours                               PM                 PM
                                                                                  Monmouth Facility: BID AM & 7/1/201S 7:00:00
   ac~tahllnophen 325 mg tablet                                    2.00 tablet                                        pt,,,,
                                                                                                                                         7/8/2:015 6:59:00 PM
                                                                                  HS
                                                                   LOO            Monmouth Facility; BID AM&. 7/l/201S 7:00:00
   loperamlde 2 mg c&p~ule                                                                                                               7/8/2015 6:59:00 PM
                                                                   rnpmJe         HS                                  PM
                                                                                  Monmouth Fac!Hty; BID AM & 711/2015 7:00:00
   mecliz:lne 25 mg ~llew;:il:!le tablet                           LOO tablet                                                            7/8/2015 6:59:00 PM
                                                                                  HS                                  PM
   Patient Problems:                                                              ---   ····-   __ ., ________.,
   1   6&,erved- - ··-             -
   : Date              Category Type                              Problem                                            Confirmed By
   i
                                        PSYCH: Substance          Al     h I Ab
   !OB-30-2015 Acute                    Abuse                       co o    use
   !06-30-2015 Chronic                  RESP: Asthma              Asthma Not Othenvise Specified
   I                                    PSYCH:                    Unspecified Major Depression,
   J   06-30-2015 _Acute.              J;)epmssion                Recurrent Episode
   Patient Allergies:
   i Observed          T
                                                                                                                                          ·--·--1
   iDate                 ype                                Allergy
   I 06-30-2015 Allergy_/t_ems_ _ ..                        No /(nawn Allergies                                                           ___ :I
       I,!] Vital Signs Taken
   Pa/Jent Vitals:
       Observed Blood
       Date
       07-03-
                Pressure
                                           Pulse      Resp. Rate Temp                             Pulse Ox         Weight        BM/
                                                                                                                                                                i
       2015                                                              98,80
       04:00 PM 101163                     67          16
       EST

              Added07f031201511:23PM£STbykjeagerLPN                    1----------------------~
        S- 'of course I want lo hwt myself, Im not gelling any better"
        0- IM observed silting on f/001; /M compliant with VIS and pm medication. IM made no suicidal attempts.                                                 I
        A- Im in CW for SIi
        P- Wil/conilnue to monitor




       £,Signed by Kimberl)' Ycagt:r o 07/03/,WIS J'l:23 PM EST                                                                                Pnge l of I




                                                                                                                                     MCCI MED RECORDS 124
                ......
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 131 of 486 PageID: 810




   Monmouth County                                             Infirmary Progress Notes
   Monmouth Adult (MCGI)                                         FOR IIJFIRMARYUSE OMLY
   1 waterworks road
   FreP.hofd I NJ07128
                                                                                                                          Da/e Of SeiVice
                                                                                                                          7/3/l016



                                                                                                               7,1/2015 8:00:00   7,'31/2015 7:S.9:00
   thiamine HCJ 100 mg tablet                                       1.00 tablet   Monmouth Facility; QAM                          .e.M
                                                                                                               AM
                                                                                                               7/2/2015 8:00:00   9/30/2015 7:59:00
   2oloft {Sertraline) 50 mg talllet                                l.00 tablet   Monmouth Facility: Q AM                         AM
                                                                                                               AM
                                                                    2,00          Monm1Juth facility: BID AM & 711/2015 7;00:00   7/3.12015 6159!00 PM
   chl<nd!azepo.i,:Jde 25 mg raprnle
                                                                    cap~ule       HS                           PM
   albutero! sultate 2,5 mg/3 ml (0,083 %) solution for             1.00          Monmouth Facility: Every 3   711/2015 2:00:00      12/23/2015 1:59:00
   nebullzation                                                     mlllifiter    hour~                        PM                    PM
                                                                                  Monmouth Facili_ty: BIO AM_& 7/1/2015 7:00;00      7/3/2015 6;59;00 Pl\•\
   acetaminophen 325 mg tablet .                                    2.00 tablef
                                                                                  HS                           PM
                                                                    1.00        Monmouth Facility: BID AM & 7/1/2015 7:00:00         7/3/2015 6:59:00 PM
   !op,:iramide 2. mg capsule
                                                                    capsule     HS                            PM
                                                                                Monmouth Facility: 13I □ AM a 7/1/2015 7:00:00       7/o/2015 6:59:00 PM
   mec.lizine 25 mg chewable tablet                                 1.00 tabl~t
                                                                                HS                            PM

   Patient Problems:
   i Observed            Catega,y      Type                         Problem                                  Con/im1ed By
   iDate
   ' 06-30-2015          Acute         PSYCH: Substance             Al h I Ab
                                       Abuse                          co o    use
                                       RESP: Asthma                 Asthma Not Ot/Je1wise Specified
    0.6-3.0-2015 Chronic
                                       PSYCH:                       Unspecified Major Depression,
    06-30-2015 Acute
   1                                   Depression                   Recurrent Episode_--------·----• -·-·-
    Patient Allergies:
                         ---------
    Observed ·· "
   1Date        , ype                                         Allergy
   I06-30-2015 Alle1JJ.yftr;111=s_ _ _ _~N=o Known A/lerg~ie:::s,___ _ __
    □ Vital Signs Taken
    Patient Vrl:a/s:
    r                               --------------~-----
    ', Observed            Blood                       Pulse  Resp Rate Temp   Pulse Ox "'e1·ght BM/
    i.::D:::a:c:te:__ _ __cP_cr_e0 ::.ss:::uc:re:;__ _ _ _ _ _ _ ·__ _ _ _ _ _ _ _ _ _ _"_'_ _ --·---··                                         7
              Added_07I03/2DJ5 t0:42AIJEST bykFacklnaLPN                   !----------------------~
        S) 'i think i need-my med dose raised. nothing is happening'
        O) a&a at rounds. compliant Mth meds. po intake adequate.
        vss, no distress
        A) on cw due to si. no a/tempts. advised that meds were only recently
        started and needed to be given some lime to fake effect. im agreed to
        waff and continue with current dose. on librium for polysubstance abuse
                                                                                                                                                              i
        but has refused ii evewday, no active wd sx are noted.
        P) monitonng to continue st this time.




        E•Signcd by Kntluyn Fnrkina n 07/0312.015 10:42 ,h;.M EST                                                                           P:i.g~ l ofl




                                                                                                                              MCCI MED RECORDS 125
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 132 of 486 PageID: 811




  Monmouth County                                           Infirmary Progress Notes
  Monmouth Adult (MCCI)                                         FOR INFIRMARY USE ONLY
  1 waterworks road
  Fre12hold, NJ07728




                                                                                                                7/1/2015 8:00H)O    1/31/20151:59:00
   thiamine HCI 100 mg tablet                                    1.00 tilble-t   Monrnout~ Facility: Q AM                           AM
                                                                                                                AM
                                                                                                                7/2/2015 8!00:00    9/30/2015 7:59:00
   Zoloft {Sertraflne) SO mg tablet                              LOO tabfet      Monmouth f'acllily: Q AM                           AM
                                                                                                                AM
   albuterol rn!fate 2,5 mQ/3 ml (0,083 %) rnlution for          1.00            Monmouth Facility: Every3      711/2015 2:00:00    12/28/2015 1.:59:00
   nel:luH2atron               ·             ·                   milliliter      hours                          PM                  PM
                                                                                 Monmouth Facllity: BIO AM & 7/1/2015 7:00:00       7,1:/2015 6:59:00 PM
   acetaminophen 325 mg tablet                                   2.00 tabfet
                                                                                 HS                              PM
                                                                 1,00            f0onmo1Jtl) Fa<:lllty: BID AM & 711/2015 7:00!00   71MOiS 6:59:00 PM
   loperamide 2 mg caprn!e                                       rnprnle-        HS                              PM
                                                                                 Monmouth Fati!tty: BID AM & 7/1/2015 7:00:00       7/3/2015 6:59:00 PM
   me<li:zin,;. 25 mg chewable tabld                             1.00tabli!t                                     PM
                                                                                 HS
   Patient Problems:
    OliseJVed
                       Category Type                            Problem                                       Confirmed By                        \
    Dale
    06-30-2015 Acute
                                      PSYCH: Substance Al            h /Ab
                                      Abuse                        co o    use
    06-30-2015 Chronic
    06-30-2015 Acute

   Patient Allergies:
                                      RESP: Asthma
                                      PSYCH.·
                                      Depression
                                                                Asthma Not Olhe1wise Specified
                                                                Unspecified Major Depressfon,
                                                                Recurrent Episode                                    -~_J
        bserved · Ti
    Dale        ype                                        Allergy

   rn&-30-2015 Allergv Items                               No l<nown Allergies
    □ Vita/ Signs Taken
   Patient Vitals:
   I-Observed·
   l.Q.,,t~_ ·- .. .
                       Blood
                       Pressure
                                          Pulse           Resp. Rate Temp                  Pulse Ox
                                                                                                    ----
                                                                                                             Weig/JI        BM/                  J
             AddedOl/0412015 /1;33Ai; EST bydtazaroLPN               f---------------------~·
      S-Advised of SI thoughts but no plan. c/o depression. Denies nlvld or s&s rlt
      O-A&OX3. Calm and cooperative. No evidence distress or self harm. Advised po intake is adequate. Am
                                                                                                               ,vo                                         I'·
      m eds taken and tolerated.
      A Jim in CW for SIi
         0


      P- Willcontinue to monitor




     EaSignc<l by Danielle- Liiwrnn 07/04/201.5 I 1:33 AM EST                                                                              i>age. 1 of 1
                                                                                                                                                            I

                                                                                                                                MCCI MED RECORDS 126
                                                                                                                                                            I!
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 133 of 486 PageID: 812




   Monmoulh County                                                 Infirmary Progress Notes
   Monmouth Adult {MCCI)                                              FOR INFIRMARY USE ONLY
   1 waterworks road
   Fresllold, NJ0"/728




                                                                                                                     711/2015 8:00:00    713li2015 7:59:00
   thlan:iine HG 100 mg tablet                                         1.00 tablet    Monmouth Facility: Q AM
                                                                                                                     AM                  AM
                                                                                                                     7/2/2015 8:00:00    9/30/2015 7:59:00
   lo loft {Sertrallne) 50 mg tablet                                   1.00 tablet    Monmouth faclltty: Q AM                            AM
                                                                                                                     AM
   albuterol ~Ulfat~ 2,5 n1913 ml (0,083 %) rnlutfon.for               LOO -          Monmouth Facilit}-: Every 3    7,1/2015 2:00,00    12/28/2015 1:59:00
   nebuiJzatlon                                                        milliliter     hOUVi                           PM                 PM
                                                                                      Monmouth fadlity: BIO AM & 7/1./201.5 7:00;00      718/20 LS 6:S9:00 PM
   acetaminophen 325 mg tablet                                         2,00 tabret    HS                         PM
                                                                       1.00           /1..tm1mouth Facility: BID AM & 7/1/2015 7:00:00   7 /B/2015 15:59:00 PM
   loper:amfde 2 mg Glp~ule                                                                                           PM
                                                                       capsule·       HS
                                                                                      Monmouth Facility: BID AM & 7/1/2015 7;00:00       7/3/2015 6J59:00 PM
   mcdizln-i! 25 mg chewable tablet                                    1.00 tabl-et
                                                                                      HS                              PM
   Patient Problems:
       Obse,ved                                                                                                     Confi1med By
                       Catego1y Type                                  Problem
       Date
                                            PSYCH.- Substance         Al h /Ab
       06-30-2015 Acute                     Abuse                       co o    use
   ; 06-30-2015 Chronic                     RESP: Asthma              Asthma Not Otherwise Specified
   i                                        PSYCH:                    Unspecified Major Depression,
   IOB-o0-2015
          O

    -·-·-· ,. __...
                       A cute
                        -·-
                                            Denression
                              ....... - .......... c ..
                                                                      Recurrent Episode
                                                          ="'-'------'-"===1"-="'-------
    Palien/ Allergies:
   ~ - - - - - - - ----·-·--·----<"•
   IObse,ved   y;                                                  Allergy
   iDate        ype
   I06-30-2015 Allergy Items ......... __ _                        No Knmvn Aller"'i"-es,.__ _ _ _ _ _ _ _~····- __ _ _ __                     _J
       IY'l Vital Signs Taken
    Patient Vitals:
       Obse,ved Blood                                                                          Pulse Ox         Weight           BM/
                                                  Pulse       Resp. Rate Temp
       Dale     Pressure
       07-04-
       2015
       01:35 AM 106166    62                                  18
       lc§T_ _ _ _ _ _ _ _ __
              Added 07/04/2015 01•:31fAMEST by dVelal(!I LPN 1 - - - - - - - - - - - - - - - - - - - - - - - ' - - - ,

        8- no voiced complaints
        0- Obse,ved /IP resting on the floor during rounds-, wakes easily- alert.Denies current Sil, appears
        depressed, /IM held out hand, no tremors noted or felt in fingertips. No signs of self harm noted.
        A- On CW for Sil, also being monfforedfor po/ysubstance WD
        P- Flwds encouraged, continue to mollitor




       E-Signed by Deboruh Velar<li 11 07/0tl//4015 01:36 AM EST                                                                                rnge t of I




                                                                                                                                     MCCI MED RECORDS 127
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 134 of 486 PageID: 813




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adi.lit {MCCI)                                   FOR INflRMARY USE ONLY
   1 waterworks road
   Freehold, NJ07728
   Peflent Neme
   omlELL FREEMAU



                                                                                                        7(1/2015 S:00:00   7/31/2015 7:59!00
   thiamine HO 100 mg tablet                                  LOO tablet   Monmouth Fadffty; QAM
                                                                                                        AM                 AM                      I
                                                                                                                                                   I.
                                                                                                        7/2/2015 8;00:00   9r30;201s 7:59:oo
   Zofoft (SertraHne) SO mg tablet                            LOO tablet   Monmouth Facility; Q AM
                                                                                                        AM                 AM
                                                                                                                                                   '
   albuterol sulfate 25 mg/3 ml (0,083 %) ~olution for        1,00         Monmouth FadHty: Every3     7/1/2015 2:00:00    12/28/2015 1:59:00
   nebulizntion

   acetamrnopMn 325 mg tablet
                                                              milllrlter

                                                              2.00tabfet
                                                                           hours

                                                                           HS
                                                                                                       PM
                                                                           Monmouth Facility; BID AM & 711/2015 7:00:00
                                                                                                        PM
                                                                                                                           PM
                                                                                                                           7/3/20L5 6:59:00 Plvl
                                                                                                                                                   I.
                                                                                                                                                   I.
                                                                                                                                                   i ·;.

                                                              1.00         Monmouth f;iciJity: BID AM & 7/1120157:00:00    7f8/20L5 6:59:00 PM
   loperamide 2 mg capsule.·                                  <,w~u·re     HS                          PM

   meclizine 25 mg chewable tablet                            1.00 tablet:
                                                                           Monmouth facility: BID AM & 7/1,'2015 7:00:00
                                                                           HS                          PM
                                                                                                                           7/B/2015 6:59:00 PM     i
                                                                                                                                                   I,:·

    Paffent Problems:
    Observed                                                                                          Confirmed By
                     Category        Type                    Problem
    Dale
    06-30-2015 Acute                 ::::~H: Substance Alcohol Abuse

    06-30-2015 Chronic               RESP: Asthma            Asthma Not Otherwise Specified
                                     PSYCH:                  Unspecified Major Depression,
    06-30-2015 Acute                 Depression              Recurrent Episode. ..
    Patient Allergies:

    Observed Type                                         Allergy
    Date
    06-30-2015 Allergyf.t_erri~-----""N"'o'-'Ki..,_ncco::,w,,n.:._A,::11,cen"'g"'iec,sc__ __
    □ Vital Signs Taken
    Patient Vlla/s:
                                                                                                                                                       I
     Observed         Blood
                                         Pulse           Resp. Rate Temp             Pulse Ox        Weight         BM/                                !
    Date            Pres.sure
                    -'--==~--------------------------~
            Added 07/06/20M 12:58AIAEST/Jyhrusse/J.LPN            1----------------------,                                                             I



      S- No complaints voiced
                                                                                                                                                       ![ :·
      0- Resting on rounds, no distress or self '1arm noted
      A- On CW for SIi
      P- Continue to monitor




     E-Signed by Heather Russell n 07/0fi/201512:58 AM EST                                                                        Page I of l




                                                                                                                       MCCI MED RECORDS 128
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 135 of 486 PageID: 814




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult (MCCf)
                                                               WR ltffiRMARYUSE ONLY
   1 wate,work!J roarJ
   Freehold, NJ07728
                                                                       Bcoking Number
                                                                       3279258



                                                                                                                7}1/2015 8:00:00     7/31/2015 7!59:00
    thiamine HO 100 mg tablet                                    1.00 tablet     Morimouth Fac)!ity: QAM
                                                                                                                AM                   AM
                                                                                                                712/203. 5 8:00:00   9,130/2015 7:59:00
    Zoloft (Sertrallne} 50 mg tabfet                             1.00tab!et      fvlm1n1outh Fadllly: Q AM
                                                                                                                 AM                  AM
    nlbuterol rn!fate 2,5 mg/3 ml (0,083 %) ~o\ution for         LOO             Monmouth Facility: Eve!}' 3    7/1/2015 2\00:00     12/28/20151:59:00
    nebUIIUltic'lr,                                              mll!IHt~r       hours                           PM                  PM
                                                                                 Monmouth facility: BID AM & 7/1/2015 7:00:00
    acetaminophen 325 mg ta bid                                  2.00 tablet                                                         7 /8;20L5 6:59:00 PM
                                                                                 HS                              PM
                                                                 1,00            Monmouth Facilfty, BID AM & 7/1/IOIS ):00:00
    loperamlde 2 mg capsule                                                                                                          7/8/20L5 b:59:00 PM
                                                                 c:apsule        HS                              PM
                                                                                 Monmouth Facmty: BID AM & 7/1/2015 UJ0;Q0
    mcdizine 25 mg chewable table1                               1.00 ti'lblet                                                       7;8/2015 6:59:00 PM
                                                                                 HS                              PM
    Patient Problems:
    i gz~erved . . Category T;;~---------                       Problem
                                                                                                               Confilll1ed By

     06-30-2015 Acute                    PSYCH: Substance       Al     ho/ Ab
                                         Abuse                    co      use
     06-30-2015 Chronic                  RESP: Asthma           Asthma Not Otherwise Specified
                                         PSYCH:                 Unspecified Major Depression,
    i06-30-2015       Acute
                                       ..Depression             Rec~J[ent Episode
    L
    Palient Allergies:
     Observed
     Date       Type                                       Allergy
     06-30-2015 Allergy ltem=-s _ __                       ..f'/9 Known Allergies
     D    Vita/ Signs Taken
    Patient Vitals:
    rob.served         Blood
                                           Pulse       Resp. Rafe Temp                                                 _a_r,,_1/ ___-_-~_I
    IDate              Pressure                                                          _P_u_ls_e_o_x_ _w_e_ig_h_t

              A~d•d 07f{)!J{201/J 10:36AMEST/)y.d/azaro l,PN         1--------------------------,
         S- "Can I have.gatorade?" c/o depression.
         0- A&OX3. Aggravated by denial of gatorade. Cowlciwa completed last night . No evidence distress or self
        -harm. Am meds taken and IQ/erated.
         A- !Im in CW for SIi
         P- Will continue to monitor
                                                                                                                                                            L




                                                                                                                                                            !:




     E-Signed by Danielle LazarQ n fl7/05/2015 10:36 AM EST                                                                                Pagel ofl




                                                                                                                               MCCI MED RECORDS 129
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 136 of 486 PageID: 815




   Monmouth County                                         Infirmary Progro,ss Notes
   Monmouth Adult (MCCI)                                     FORINRRMARYUSE ONLY
   1 waterworks road
   Freehold, NJ07728




                                                                                                             7/1/2015 8:00:00   7/31/2015 7:59:00
   thiamine HO 100 m9 tablet                                  LOOt.ablet     Mon:mouth Facility: Q AM                           AM
                                                                                                             AM
                                                                                                             7/2/2015 8:00:00   913ono1 s 7:59:oo
   Zolofl (Sertraline) 50 mg tablet                           1.00 tnbld     Monmouth Facility: QAM
                                                                                                             AM                 AM
   albuterol :sulfate 2.5 mg,3 ml {0,083 %) solUtion for      1.00           Monmouth Facility: EVery'3      7/1/2015 2:00:00   12/28/20151:59:00
   n ebulization                                              n1!11ilitcr    hours                        PM·                   PM
                                                                             Monmouth Facility; BID AM & 7/1/2015 7;00:00       7/8/2015 6159:00 PM
   occtam!nophen 325 mg tablet                                 2.00 tablet
                                                                             HS                           PM
                                                              1,00           Monmouth Fa(;ility: BID AM & 7/1./2015 7;00:00     7/8/.2015 6:59:00 PM
   loperamide 2 !llfJ capsule                                 c-apmtc        HS                             .PM
                                                                             Monmouth Facility: BID AM & 7il/2015 7:00:00       7/a/2015 6:59:00 PM
   me<.llzine 25 mg chewable tablet                            LOO tablet
                                                                             HS                              PM

   Patient Problems:
    Observed                                                  Problem                                      Confirmed By
                      Catego1y        Type
    Date
                                                    t
    06-30-2015 Acute                  ;i,;;,~H: SubS ance Alcohol Abuse
      06-30-2015 Chronic RESP: Asthma                         Asthma Not Otherwise Specified
   '! 06-30-2015 Acute   PSYCH:                               Unspecified Major Depression,
      _ _ _ _ _ _ _ _ _D=epression _                          Recurrent Episode


   IPatient Allergies:
    g:~erved 7'_y_p_e _ _ _ _ _ _ _ _Al_/_e_rg_y_ _ __

   !06-30-2015       Allergv items                     -·-- No l<nown Allergies
    GZI Vital Signs Taken
    Patient Vitals:
    Observed Blood                                                                    Pulse Ox            Weight        BM/
                                        Pulse        Resp. Rate Temp
    Date     Pressure,
    07-05-
    2015
                                        65            18              98.60
    02:09 AM 111167
     EST

            Adrfed,OilD/!!2Dio02:11 AMESTby/,russel/LPtJ.f--"--------------------~

      S- When asked if he was still having thoughts of self ham1 JIM repHed, 'of course" and shook his head 'yes".
      0- Resting on rounds, wakes easily. No distress or self harm noted. CIWA=O, GOWS=O.
      A- On CW for SIi, also being monffored for po/ysubstance WD
      P- Continue to monitor
                                                                                                                                                       ,.
                                                                                                                                                       !
                                                                                                                                                       i




     E•Signed by Healher Russell n 07/05/2015 02:11 AM EST                                                                             Pag.~ 1. of 1




                                                                                                                            MCCI MED RECORDS 130
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 137 of 486 PageID: 816




   Monmouth Cotinty                                             Infirmary Progress Notes
   Monmouth Adult (MCCI)                                               FOR INFIRMARY USE ONlY
   1 waterworks mad
   Fre.etwJd, NJ07728




                                                                                                                      7 /1F,!0L5 8:00:00   7/31/2015 7:59:00
   thiami_ne HO 100 mg tablet                                           LOO tablet    Monmouth Fadfity. QAM
                                                                                                                      AM                   AM
                                                                                                                      7/2/2015 8:00:00     9/30/2015 7:59:00
   Zotoft {Sertrallne) SO mg ti:lblet                                   1.00 tablet   1\-lonmouth Facility: Q AM                           AM
                                                                                                                      AM
   albuterol sulfate: 2,5 mg./3 ml (0,083 :Ol solutlori for             LOO           Monmouth Facility: Every 3      711/2015 2:00:00     12/28/2015 1:59:00
   nebulization                                                         m11mrte:r     hour1                           PM                   PM
                                                                                      Monmouth Facility: BID AM &. 7/1,12015 7:00:00       7/3/2015 6:59:00 PM
   acetaminophen 325 ti\9 tablet                                        2,00 tablet
                                                                                      HS                              PM
                                                                        LOO           Monmouth-facility. BID AM &. 7/1/20151:00:00         7/3/20156:59:00 PM
   loperainid"e 2 mg· capsule:                                          Ci'!pmle      HS                              PM
                                                                                      Mon1110ot11 Facility: BID AM&. 711/2015 7:00:00      7/3/2015 6:59:00 PM
   meclizine 25 mg chewable tablet                                      LOO tablet
                                                                                      HS                              PM

    Patient Problems.·
    Observed                                                           Problem                                      Confirmed By
                Category Type
    Date
    06-30-2015 Acute       PSYCH:
                           Abuse Substance                             Alcoha/Ab use
    06-30-20-/5 Chronic    RESP: Asthma                                Asthma Not Otherwise Specified
    06-30-      Acute      PSYCH:                                      Unspecified Major Depression,
           2015
       _______          __,Dc:,e,,p"-re""ssigry .                      Recurrent Episode
    Patient Allergies:
                           ·----------                                                                                                            --7
    !Observed T                                                Allergy
    !Date        ype
    XXX-XX-XXXX Alle,rg)I_ Items                               No Known Allerg_"ie"s'-----
                                                                                                                              ____ __I
    ~    Vital Signs Taken
    Patient Vitals:
                    ----------
     Obseived Blood                                                                            Pulse Ox            Weight          BM/
                                           Pulse         Resp. Rate Temp
     Date     Pressure
     07-06-
     2015                                  50             18                  98.00
              96155
     05:00 PM
     EST



      S- No complaints voiced

      0- Resting on rounds on the floor, Denies SIi HI. No self injury noted.

      A- On CW for SIi and HI/.

       P- Will continue to monitor.




      E'...Sig.11eJ by Ashle.y Lubatbera 11 07/06/2015 07:31 PM F.ST                                                                              l':i.gc I ofl




                                                                                                                                      MCCI MED RECORDS 131
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 138 of 486 PageID: 817                                                                         i ••


                                                                                                                                                          !




   Monmouth Counfy                                           Infirmary Progress Notes
   Monmouth Advft (MCCI)                                       FOR !NfJRMARY USE OfllV
   1 waterworks road
   F~E'.hold I NJD7728




                                                                                                              711/2015 6:00:00   7/31(2015 7:59t00
   thiamine HCI 100 mgtabtet                                    1.00 tablet    Monmouth facility; QAM                             AM
                                                                                                              AM
                                                                                                              7/2/2015 3:00:00    9130/2015 7:59:00
   Zoloft (5ertraline) 50 mg tab-Jet                            LOO tablet     Monmouth fadlii.y: Q AM
                                                                                                              M-it                AM
   Hlbuterot s~ltate 2.5 mg/3 ml f.0,083 %j   sOlutlOnfor       1,00.          Monmouth facllity: Evi:ry3     7/1/2015 2:00:00    12/28/20151:59:00
   n eb Lllltation                                              milliliter ·   hours                          PM                  PM
                                                                               Monmouth facility: BID AM & 7/1/2015 7:00:00       7/0/2015 6:59:00 PM
   acetaminophen 325 mg tablet                                  2.00 tablet
                                                                               HS                          PM

   loperamide 2 mg· capsule
                                                                1.00           Monmouth Facility:   am AM &   71,/2015 7:00:00 ·· 7 /8-12015 6:59:00 PM
                                                                caprnfe        HS                             PM
                                                                               Monmouth Facility: BID AM & 7,-1/20157:00:00       7/S/2015 6:59:00 PM
                                                                                                                                                           :      .
   rneclizin~ 25 mg chewabre tablet                             1.00 tablet                                                                                 I
                                                                               HS                             PM                                           !
    Patient Problems:
                                                                                                                                                              I
    Observed ·
    Date      Category Type                                    Problem                                       Confirmed By                                     !
    06-30-2015 Acute                   PSYCH: Substance Alco ho/Ab use
                                       Abuse
    06-30-2015 Chronic     RESP: Asthma                        Asthma Not Otherwise Specified
    06-30-201 S Acute      PSYCH:                              Unspecified Major Depression,
                 -----~D~e~prf')ssion                          Recurrent Episode__________                              _ __ . _ __
    Patient Allergies:
    Observed   "                                            Allergy
    Date       ,ype
    06-30-2015 Atlergv Items                                No Known Alterg_"iec-s_ _ _ _ __
    D    Vital Signs Taken
    Patient Wais:                                                                                                                                             I
    I Observed         Blood                                                                                                                  7
                                                                                         Pulse Ox           Weight        BM/
    iDate              Press~u~r_e___P_u_ts_e_ _Resp. Rate Temp

             Adried07/0flll.oi512:32 PMESTl>ykFackina tfN              1----------------------~
      S) continues to report ineffectiveness ofzo/oft.
      ,vhen is it going to start working?'
      O) a&a at rounds. compliant with meds
      po intake adequate.
      A) on cw due to si. no attempts.
      P) will conilnue lo monitor.




     E~Signed by Kathry1i Fackina 11 07/06/2015 11:32 PM EST                                                                             Pflge I Of I




                                                                                                                             MCCI MED RECORDS 132
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 139 of 486 PageID: 818                                                                     1·: ..
                                                                                                                                                      I.... ,




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MCCI)
   1 wa~,worifs road
                                                             FOR nmRMARY USE ONLY
   Frei1ho/d, NJIJ77i8
   PetteflfNeme
   DONELL FREEMAH


                                                                                                          711/2015 3:00:00    7/31/2015 7:S9:00
   thiamine HCI 100 mg tablet                                 1.00tabtet    Monmouth Facility: Q AM
                                                                                                          Arv1                AM
                                                                                                          7/2/2015 S:00:00    9!30}2015 7:59:00
   Zoloft (Sertraline) 50 mg tablet                           1.00 tabfet   Monmouth facility: Q AM
                                                                                                          AM                  AM                       i
   albutero! rnlfate 2,5 mg/3 ml (0,083 %j solution for
   net11...1Hz.11tlon
                                                              1,00
                                                              rrdUlllter
                                                                            MomMUth Factllt)I: Every 3
                                                                            hours
                                                                                                          1/1./2015 2:00:00
                                                                                                          PM
                                                                                                                              LV28/2015 l:59:0o
                                                                                                                              PM
                                                                                                                                                       Ii
                                                                            Monmouth Facility: BID AM & 7 il/2015 7:00:00
   acetaminophen 3:25 mg tab!f;t                              2,00 tablet                                                     7/B}20l5 6:59:00 Plvl
                                                                            HS                            PM
                                                              1.00          Monmouth Facility: BID AM & 7/112015 7:00:00
   loperamfde 2: mg capsule                                                                                                   1.1a;2on 6:59:oo PM
                                                              Capsule       HS                            PM
                                                                            Monmouth fa(lllty: BIO AM & 7 /l/2015 7:00:00
   meclb:ine 25 mg chewable tablet                            1.00 tablet                                                     7/S/2015 6:59:00 PM
                                                                            HS                          PM
    Patient Problems:
    Observed
                     Category Type                           Problem                                     Confirmed By
    Dale
    06-30-2015 Acute                  PSYCH: Substance Al h I Ab
                                      Abuse                    co o         use                                                                        I
    06-30-2015 Chronic RESP· Asthma                          Asthma Not Otherwise Specified
    06-30- 2015 Acute           PSYCH:                       Unspeciffed Major Depression,
   ·-·-·•··---· .. -----~D~e~p.res5cio_n,_ _                 Recurrent Episode
   Patient Allergies:
   'Observed   T           -
   IDate        ype                                       Allergy
   I06-30-2015 AJl!JmV ltem_~s_ __                        No Known Allergies                                                                            I
    1:21   Vital Signs Taken
                                                                                                                                                        '
   Patient Vitals:
   --------·--- - - - - - - - - - -
   Observed Blood
   Dale         Pressure
                         Pulse Resp, Rate Temp                                      Pulse Ox          Weight         BM/                                I
   07'-07-
   2015
   03:45 PM 96/oS        63    16         9820                                                                                                           i

   EST                                                                                                                                                   !I.
             Adifed o7J0112011io4:_29 PM E$T bylDMra sui5er11sory_ Slaff     f---------------------~
       S:    " l'M ALRIGHT!

       0: A, O,X,3, SKIN BROWN, WARM AND DRY. POSITIVE Sf/ AT PRESENT TIME DIDNT VERBALIZE IF
       HE HAS A PLAN TO COMMIT SU/GIDE.. BLUNT, DEPRESSED MOOD, POOR EYE CONCTA T MADE.
       JIM SITTING ON EDGE OF BED QU/ETL Y WITH NO SIGNS OF DISTRESS.

       A.- MALE JIM ON CONSTANT WATCH FOR SIi.

       P: CONTINUE TO MONITOR, REDUCING RISK OF SELF HARM.




                                                                                                                                    Page I of 2




                                                                                                                         MCCI MED RECORDS 133
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 140 of 486 PageID: 819




   1.11.onmouth County                                      Infirmary Progress Notes
   Monmouth Adult (MCC!)                                         FOR INFIRMARY USE ONLY
   1 wa~orks rnad
   Fre~ho/d, NJ01728
   Pe/tent {Vame                      Patient NlJmber                Booking Number       Birth Date   [)ale Of Service
   OONELL FREEMMl                     26184                          327.9258             1:uiS/1975   7ll/2015




                                                                                                                                 i




     E-Signe~by Lawtci:!ci;: DiVWl n 07/0.7/.1015 04!29 PM·EST




                                                                                                          MCCI MED RECORDS 134
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 141 of 486 PageID: 820




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult (MCG/J                                        FOR INRRMARY USE ONLY
   1 wateirworks ro8d
   Freehold, NJOi728
                                         Patient Number
                                         28184


                                                                                                               7/1/:WlS 8:00:00   7/31/2015 7:59:00
                                                                 1.00tablet    Monmouth Fadlity: Q AM
   thiamine HCI 100.mg tablet                                                                                  AM                 AM
                                                                                                               7/2/2015 8:00:00   9130/2015 7:59:00
   Zoloft [Sertrarlne) 50 mg tablet                              LOO tablet Monmouth F,u:ility: Q AM           J\h:1              AM
   albutetol sulfate.   2.5 mg/3 ml ll),083 %) rnluUontor        LOO           Monmouth Fadlit)I! Eve!}' 3     7l1i2015 2:00;Q0   12/28/2015 1:59~00
   nebun:n,tion                                                  m!lllllter    hour.s                          PM                 PM
                                                                               Monmouth Fa dlity: BlD AM & 7/1/2015 7:00:00       7/8/2015 6:59:00 PM
   a<etaminophen 325 mg tablet                                   2.00 tablet                                   P~.-t
                                                                               HS
                                                                 LOO-          Monmouth Facility:°BiD AM & 7/1/20151:00;00        7/8/2015 6:59:00 PM
  · loperamide   2 mg capsule                                    caprnre       HS                          PM

   medlrine 25 mg chewable tablet                                1.00 tall let
                                                                               Monmouth Facility; sro AM & 711/2015 7:00;00
                                                                               HS                          PM
                                                                                                                                  7/8/2015 6:59:00 PM   I.
    Patient Problems:
    Observed                                                    Problem                                       Confi1med By
                        Category Type
    Date
    06-30-2015 Acute                  ~f,;,;1;,H: SubSfance Alcohol Abuse
    06-30-2015 Chronic       RESP: Asthma                       Asll1ma Not Otherwise Specified
      _ _              Acute PSYCH:                             Unspecified Major Depression,
    06 30  2015
        _____ ,.____ . ____.=Dc,e-,p,,_r,ces"s""iofl_           Recurrent Episode
    Patient Allergies:
    Observed T
    Date          ype
    06-3()_~2015 Allergy Items
                                                             Allergy
                                                             No Known Allergies._ __________
                                                                                                                         _]
    □ Vital Signs Taken
    Patient Vitals:
                        -------------------
    0 bserved            Blood                                                            Pulse Ox           Weight        BM/
                                            Pulse           Resp. Rate Temp
    Date                 Pressure

             AcidodQ7!07!'20.1502:1DPMl;STbyl<Fa<kihaLPN 1 - - - - - - - - - - - - - - - - - - - - - ~

      S) no complaints.
      0) a&a at rounds. rned compliant
      with adequate po intake,
      A) on cw due to si. no attempts.
      P) Will continue to monffor.




      E~Signed by Kathryn Fackina il 07/07/2015 02:10 PM EST                                                                             Page I· of!




                                                                                                                              MCCI MED RECORDS 135
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 142 of 486 PageID: 821




   Monmouth coonty                                             Infirmary Progress Notes
   Mo.nmouth Adult (MCCI}                                           FOR llfflRMARY USE ONLY
   1 wate,work, road
   Freehold, NJD'1'128
                                         Petfenr Number                                                 Birlf1 Oete
                                         26184                                                          12125/1975


                                                                                                                  7/1/2015 8:00:00   - 7fl1/2015 ?:59:00
   thiamine HCI HJO mg tablet                                        1.00 tablet   Monmouth Facility: Q AM                            AM
                                                                                                                  AM
                                                                                                                  7/2/2015 8:00:00    9i30/2015 7:59:00
   Zofoft (Sertrarfne) 50 mg tabfet                                  1.00 tablet   Monmouth Facility: QAM                             AM
                                                                                                                  AM
   albuterol mltote 2,5    mt,/3 ml (0,083 %) rnlution far           1.00          Monmouth f:adllty:"Ever13      7/1/2015 2:00:00    12/28i2015 1;59:00
   nebullzatlon   ·                                                  milliliter    hours                          PM                  PM
                                                                                   Monmouth Facility; 810 AM~< 7/1/2015 7:00:00       718i2015 6:59:00 PM
   acetaminophen 325 mg tabl"i!t                                     2,00 tablet
                                                                                   HS                             PM                                        I•
                                                                     LOO           Mo!lmouth facility: BIO AM & 7/1/2015 7:00:00      7/8/2015 6:59:00 PM
   loperamide 2 mg capsule                                           cap:sul.e     HS                             PM
                                                                                   fv1onmouth Facility: BIO AM & 7/1/2015 7:00:00     7/8/2015 6:59:00 PM
   meclizlne 25 mg chewable tablet                                   LOO tablet                                   PM
                                                                                   HS
    Patient Problems:
    Observed                                                                                                    Confirmed By
    Dale                Category Type                               Problem

    06-30-2015 Acute                   PSYCH: Substance A' h /Ab
                                       Abuse             ,co o    use
    06-30-2015 Chronic                 RESP: Asthma     Asthma Not Otherwise Specified
                                       PSYCH:           Unspecified Major Depression,
    06-30-2015 Acute                   Depression       Recurrent Episode                                                                                   i:

    PaUenl Allergies:
    16bserved T                                              Allergy
                                                                                                                                           ------\
    IDate           ype
    I06-30-2015._ l\ffergy Items                             No Known Al/erg1"'·e"s_ _ _ __
                                                                                                                ------~-J
    G1     Vital Signs Taken
    Patient Vitals:
    !"observed Blood                                                                        Pulse Ox           Weight        BM/
                                           Pulse        Resp. Rate Temp




    lit'M =-                               54


              Add•d07io7l201502:13:/•MESTbYW•l•nJi LPN
                                                        18


                                                                         1----------------------~
        S- No complain/s voiced
        0- Observed /IP resting on rounds, no distress or self harm noted-alert
        A- On CWfor S/1
        P- Cont/nue/o monitor




        E-Signe<l by T:iebon1h Velardi 1107/07/2015 0.1:I3 AM EST                                                                            Pugc.lorl




                                                                                                                                 MCCI MED RECORDS 136
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 143 of 486 PageID: 822




   Monmouth County                                            Infirmary Progress Notes
   Mo.nmotith Adult (MCCI)                                         FOR INFIRMARY USE ONLY
   1 wate1works- road
   Freaflold, WJD7728
                                                                                                         Birth Date
                                                                                                         1m51rn15



                                                                                                                 7 /1i2015 8:00:00   7/31/2015 7!59:00
   thiamine Hcr100 mg t~blet                                        1.00 tablet    Monmouth Facility: QAM
                                                                                                                 AM                  AM
                                                                                                                 7/2/2015 8;00!00    9/30/2015 7:59:00
   Zoloft (Seriraline) 50 mg tabfet                                 L00table:t     Monmouth Facility: QAM
                                                                                                                 AM                  AM
   albuterol sulfate   Z:s mg/3 ml (0.083 %) rnlutlon for           1,{]0          Monmouth-Fadllty; E.very 3    7/1/2015 2:00:00    12/28/20151:59:00
   nebulln1tlcin                                                    ml!liliter     hours                         PM                  PM
                                                                                   Monmouth   Facility: BID AM & 7,11/2015 1:00;00
   aci::tamlnophen 325 mg tab!~t                                    2,00 tablet                                                      7/8/2015 6:S9:00 PM
                                                                                   HS                          PM
                                                                    1.00           MonmouU1 Fi!dlity: BID AM & 7/1}2015 7:00:00      7/3/2015 6:59:00 PM
   lopernm!de 2 mg capsule                                          capsule        HS                             PM
                                                                                   Monmouth Facility: EllO AM & 7/1/'20157:00;00     7/3/2015 6:59:00 PM
   mec:li.zine 25 mg chewable tablet                                1.00 tabh::t
                                                                                   HS                           PM

    Patient Problems.·
                  ---- .. --,--·· ..    ,   ...... -
    Observed                                                       Problem                                      Confirmed By
                       Category Type
    Date
                                       PSYCH: Substance Al h /Ab
    06-30-2015 Acute                  Abuse               co o     use
    06-30-2015 Chronic                 RESP: Asthma     Asthma Not Otherwise Specified
                                       PSYCH:           Unspecified Major Depression,
    06-30-2015 Acute                   Depression       RecurrentJ=P(~pcfe,_________
    Patient Allergies:
     Ob:served
     Date        Type                                        Allergy
                                                                                                                                          ···7
                                                                                                                                                 I
    l
    Q~::J.0-2015 Allergv Items                          ···- No Known .A.~11---e._,rgcieccs,__ _ _ __                  --~--.,---------'
    □ Vital Signs Taken
    Patient Vitals:

    Igz:rved --~c.-~~:~cc~-~~~~u-r:e~~~~~P~u_,-s_e_______R~_e-s~p~.~R~a~te-To~e:m~p---P-ul_:se_o_x__w_e_ig_h_l __B_M_1_ _ __ ]                             i
                                                                                                                                                           !
              Added 07/081201!) 04:40 PM E-ST by/Divita Svpeo-isd0<st~ff . . - - - - - - - - - - - - - - - - - - - - ,

        S:    ' MY LEG HURTS, ITS FROM AN OLD INJURY." "1 USE TO GET TRAMODOL •

        0: A,0,X,3, SKIN BROWN, WARM AND DRY CALM, QUIET AND COOPERATIVE. LAYING ON
        MA TTRES C/0 OF PAIN TO LEFT LEG PAIN. STATED IT WAS FROM AN OW INJURY C/0 THAT THE
        DOSE OF TYLENOL DONT HAPPEN JIM SEEN STANDING AT TIMES BARING WEIGHT WHILE WALJ,{N
        JNCEL ROOM. DTATED HESBEEN TAKING ZOLOFT FORA FEW DAYS NOW, BUT NO

        k     'MALE JIM ON CONSTANT WATCH FOR SIP:

        P:     CONTINUE TO MONITOR, REDUCING RISK OF FALLING. CONTINUE




        l!.-Signed hy Lawrence Divila n 07/08/2.015 04:40 PM EST                                                                            Paget ofl




                                                                                                                                MCCI MED RECORDS 137
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 144 of 486 PageID: 823




   Monmouth County                                                     Infirmary Progress Notes
   Monmouth Adi/It (MCCQ                                                   FOR INFIRMARY USE OIJLY
   t watM'iocks road
   Freehold, WJ07728




                                                                                                                          1,11201.s a:oo:oo   7131/2015 7!59:00
   thiamine HO 100 mg tablet                                                 1.00 tablet     Monmouth F1u:lUt:y! Q AM      Af,•l              AM
                                                                                                                           7/2i2015 8:00:00   9{30/20157:59:00
   :Zoloft {Sertraline) 50 mg tablet                                         l.00 tablet     Monmouth FacHlly: Q AM                           AM
                                                                                                                           AM
   albuterol sulfah! ..2.5 mg/3     ml (0,083 %) 1olutlon for                1.00            Monmouth Facll!ty; Every 3  1,i11201s :wo:oo     12/28/2015 1;59:<J0
   t'lebu!lz~tlon                                                         .. milllllter      hours                       PM                   PM
                                                                                             Monmouth Facility: 01D AM & 7/1/2015 7;00:00     7/8/2015 6:59:00 PM
   acetaminophen 325 mg tablet                                               2,00 tablet
                                                                                             HS                            PM
                                                                             1,00            Monmouth. facility: BID AM & 7/1/2015 7:00:00    7/$/.Z0156:59:00 PM
   loperamide 2 fll.g capsule                                                rapsure         HS                            PM
                                                                                             Monrnouth Facllity: BID AM & 711/2015 -,;00:00   7,ffl/2015 6!59:00 Plvl
   mecllzim: .25 mg 1:hewabletab!et                                          1,00 tablet
                                                                                             HS                            PM

   Patient Problems:
   j Observed          -------------·-···----···------ ------····-·                                                                                    -,
   1     Date            Category Type
         06-30 _2015 Acute                 PSYCH: Substance Al
                                                                           Problem
                                                                                    h /Ab
                                                                                                                         Confim,ed By
                                                                                                                                                           I
                                           Abuse                               co o          use
         06-30-2015 Chronic                RESP: Asthma                     Asthma Not Othe1wise Specified
                                           PSYCH:                           Unspecified Major Depression,
   I06-30-201_ 5_ _A~ute
                   _.   _ ---"==='-----'====="'--~
                                           Depression                       Recurrent Episode
    Patient Allergies:
                                               ....• ·-· -- ----
   11'   Observed
         Dale
                         T
                          ype
                                                                      Allecgy
                                                                                                                                               __ ___J
                                                                                                                                                            l           I
                                                                                                                                                                        I,
    ,O.~6'---3""0'---"'20~1~5~A"'ll"'e'-'rg,,V___cl,,te"'m~s.__ _ _ _ ___,N_,_o=/~"n"-m"'vn_Allergi"s                                                                   '
                                                                                                                                                                        I
         □ Vital Signs       Taken                                                                                                                                      I


     Patient Vitals:
    IObserved             B/oori
                                                   Pulse           Resp. Rate Temp                      Pulse Ox        Weight         BM/
    I~
     Dale  Pressure
       -----
                Added07/0IJl20-1510;02 AME:STby kFackinaLPN: i - - - - - - - - - - - - - - - - - - - - - - 7

          S) continues to inquire about zoloft taking effect
          'ifs still not working'
          OJ in1 started med 6 days. ago. advised that full
          effectiveness may take lime, to occur is med
          compliant .vith adequate po intake.
          A) on cw due to sL maintains feelings of si.
          no attempts made.
          P) lo remain on cw. will monitor.




         E-Signed by Kathryn Fud.ina n 07/08/2015 10:0:! AM EST                                                                                      Psge 1 of I




                                                                                                                                         MCCI MED RECORDS 138
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 145 of 486 PageID: 824




   Monmouth County                                               Infirmary Progress Notes
   Monmouth AchJ/t (MCCJJ                                            FOR INFIRMARY USE ONLY
   1 wa~rworks road
   freehold, NJ07728
                                                                           Booking Number
                                                                           3279268



                                                                                                                  711/2015   s:oo:oo   7/31/2015 7: 59:00
   thiamine HCI 100 mg tablet                                         LOO tablet     Monmouth Facility: Q AM
                                                                                                                  AM                   AM
                                                                                                                  7/2/2015 8:00:00     9/30/2015 7:59:00
   Zofoft (Sertrallne) 50 mg tablet                                   LOO tablet     Monmouth facility: QAM
                                                                                                                  .Al\·I               AM
   albutuol sulfate 2.5 mg/3 ml (0.083 %} ~olutkin for                1.00           Monmouth Faci!it}~ Every _3 711i2015 2:00:00      12/28/2015 L:59:00
   ~ebulttat!on                                                       milliliter     hours.                      PM                    PM
                                                                                     Monmoutt1 Fad!ity: BID AM & 7/1/2015 7;00:GO      7/8/20LS 6:59:00 PM
   acetaminophen 325 mg tab tel                                       um tablet HS                                PM
                                                                      1.00           Monmouth Facility: BID AM & 7/1/20157:00:00       7/3/20LS 6:59:00 PM
   li;:iperamide 2 mg capsule                                                                                     PM
                                                                      <apsule        HS
                                                                                     Monmouth Facility: SID AM & 7/1/2015 7:00:00      7/8/2015 6:59:00 PM
   meclizlne 25 mg chewable tablet                                    1.00 tabld
                                                                                     HS                           PM

   Patient Problems:                                                                                                                                         !I·
    Observed                                                                                                    Confirmed By
                     Category Type                                   Pmblem
    Date
    06-30-20'/5 Acute                     PSYCH: Subs/ance           Al h /Ab
                                          Abuse                        co o     use
    06-30-20'15 Chronic                   RESP: Asthma               Asthma Nol Otherwise Specified
                                          PSYCH:                     Unspecified Major Depression,
    06-30-2015 Acute                      Depression                 Recurren(EplS.=·="=d=e_________________ ,
   Patient Allergies:



   w;~::::5
    □
                     :;qyltems
        Vital Signs Taken
                                                               Allergy
                                                               No Known Allergiefi ___________


   Patient Vitals:
   !Observed·- B~lo_o_d~-------~--- ····--·· ·
   lOale           Pressure Pulse Resp. Rate Temp                                             Pulse Ox         Weight           BM/

            Added 07I08/201501;56AM ES.T byhru8'iell LPN 1 - - - - - - - - - - - - - - - - - - - - - - - - - - ,

      S- No compl'1ints voiced
      0- Resting on rounds, no distress or se/fhann noted
      A- On CW for Sil
      P- Continue lo monitor




     E•Signed lly Heather Russell   11   (]7/(}8/2015 01:56 AM EST                                                                            Poge' I of 1




                                                                                                                                   MCCI MED RECORDS 139
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   Monmouth County                                               Infirmary Progress Notes
   Monmouth AdUft {MCCI)                                             FOR nlFIRMARY USE ONLY
   1 waterworks road
   Freehold, NJD7728
   Patient ,''.!eme
   DONELL FREEMAU


                                                                                                                  7/1/2015 8:00:00   7/31/2015 7:59:00
   t~iamlne HCI 100 mg·tab)t;"t                                       f..00 tablet   Monmouth facility: Q AM
                                                                                                                  AM                 AM
                                                                                                                  7/2i2015 8:00:00   9/30/20l 57:S9:00
   Zoloft (Sertrallne-l 50 tn(J tablet                                1.00 tablet Monmouth Facility: QAM          A.M                AM
   a!buterol sulfate l,S mgB ml (0,083 %) !iolution for
   nebulization              ·
                                                                      1.00
                                                                      mllHllter
                                                                                     Monmouth Facility: Every3
                                                                                     houri
                                                                                                                  7/1/2015 2:00100
                                                                                                                  PM
                                                                                                                                     12{28/2015 l:59:00
                                                                                                                                     PM
                                                                                                                                                             I
                                                                                                                                                             !··.·


   Patient Problems:
   !observed -·· ---------------- --~---"-·· ···-····---·
   1Date               Category          Type                        Problem                                     Confirmed By

    06-30-2015 Acute                     ~;,:~H:    SubStance Alcohol Abuse
    06-30-2015 Chronic                   RESP: Asthma                 Asthma Not Otherwise Specified
    06-30-2015 Acute                     PSYCH:                        Unspecified Major Depression,
   L __ _ _ _ _ • _ _ _                  .ccD=epressjo_n             . Recurrent Episode - · - · - - - - - -


                                                                Allergy
                                                                No   Known~AJ=le~rg~ie~s~----------
    0     Vital Signs Taken
    Patient Vitals:
    Obseived B l o o - d - - - - - - - - - - - - - - - - · - - · - - · · - ·
    Date         Pressure Pulse.    Resp. Rate Temp             Pulse Ox                                       Weight        BM/
     07-09-
     2015                                   88             18                97.90
     04:30 PM 122164
    "E""S'-'-T_ _ _ _ ··•··~···-·---------------·
              Ade/eel 07/09/2015 oiJ,.22 PM EST by kyeagerLPN.1-.- - - - - - - - - - - - - - - - - - - - - - ~

       S- IM stated "yes I ivant to hurl myself, Im just depressed, hopefully my new medication will help.
       0- IM compliant with VIS and intake. IM in bed mostof night. JM made no attempts to hurl himself_ JM A&O
       A" IM in CW for Sil
        P- ivil/ continue lo monitor




      E-Signed by Kimbt;-.rly Yeager n 07/09/201.S 09:22 PM EST                                                                             Pag~ ! (If   i




                                                                                                                                 MCCI MED RECORDS 140
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   Monmouth County                                           Infirmary Progre,ss Note,s
   Monmouth Advlt (MGCJJ
   1 wate,works road
                                                               FOR nmRMARY USE ONLY
   Frefmold, NJD7728
                                                                       Booking Number                                     Dete Of Servicl:f
                                                                       3279263                                            7i9/2015



                                                                                                              7/1/2015 8:00:00    7/31/2015 7!59:00
   thiamine HCI 100 mg tablet                                   LOO tablet    Monmouth Faclltcy: QAM ·
                                                                                                              AM                   AM
                                                                                                              7/2/2015 8:00:(10    9/30/2015 7:59:00
   Zoloft [Sertraline) 50 mg tablet                             1.00 tablet   Monmouth Facility; Q AM
                                                                                                              .'!iM                AM
   albuterol rnlfate 2,5 mg/3 ml·(0.083 %) solution for         1.00          Monmouth Fadl!ty: E.vezy 3      711/2015 2:00:00     12/W/2015 1:59:00
   nebulization                                                 mmmter        hours                           PM                   PM
    Palienl Problems:
   jObsefVed
                                                                                                                                                        I
                     Category Type                             Problem                                      Confirmed By
    Date
    06-30-2015 Acute                  PSYCH: Substance Al h I Ab
                                      Abuse              co o    use                                                                                    I.
                                                                                                                                                        I.,·
    06-30-2015 Chronic                RESP: Asthma     Asthma Not Otherwise Specified
                                      PSYCH.·          Unspecified Major Depression,
   10~~30-2015       Acute
                                  ~pressron ___ _··----. __ B_~t;;.urrent Episode
    Patient Al/erg/es:

   rg~~erved         Type                -----;,~~;;;-

   , 06-30-2015 Allergy Items                             No Known Ai[e,_-gieccs________
    D   Vital Signs Taken
   Patient Vitals:
                      Blood
                      Pressure
                                         Pulse        Resp. Rate Temp                   Pulse Ox           Weight         BM/         .       _j        i
           Added 07/091201/5 02•taPM €ST by l<Fack!na LPN              !----------------------~                                                         l
                                                                                                                                                        l:

     S) no medical complaints
     0 Ja&a al rounds.
     med compliant. po intake adequate.
                                                                                                                                                        i.
     A) on cw due to si. no attempts.
     P) wdl continue lo momfor.


                                                                                                                                                        I



                                                                                                                                                         i
                                                                                                                                                         '




    £~Signed by Katluyn Fnckino n 07/09/21)15 02:15 PM EST                                                                                Page I.of I




                                                                                                                             MCCI MED RECORDS 141
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 148 of 486 PageID: 827 .::·-.·-1_/~-

                                                                                                                                                                  i"""




   Monmouth County                                              Infirmary Progress Notes
   Mo.nmooth Adult (MCCJ)
   1 wate,worl<s roBd
                                                                  FOR ~fflRMARY USE OtJLY
   Freehold, NJ0'1128
                                                                                                                                  Date Of Sen,ice-
                                                                                                                                  71!>12015



                                                                                                                      7r1/201S a:00:00    7131/2015 7:59:00
    thlamine HO 100 mg tablet                                       1.00 l:liblet   Monmouth F11c.ility: Q AM
                                                                                                                      AM                  AM
                                                                                                                      7/2/2015 8:00:00    9/30/2015 7:59:00
    Zoloft (.Sertralfne) 50 mg tablet                               LOO tablet      Monmouth    fac.mty: QAM
                                                                                                                      AM                  AM
    albuterol sulfate 2.5 mg/3 ml (0,083, %) rnlt.Jt!an for         LOO             Monmouth f:"acility; El/eJY3      7/1/2.015 2:00100   12/28/2015 1:59:00
    nebulfzalion                                                    milliliter      hours                             PM                      PM



     !:~: : ::~et:o,y
    Patient Problems:

                   5                    :::CH: Substance APll'Obh/emfAb
                                        Abuse                        co o           use
                                                                                                             __C_o_n_fl_,m_e_d ~-y---              ·--1
     06-30-2015 Chronic                 RESP: Asthma               Asthma        Not 0thenvise Specified
     06-30-_20_1_s_A_c_u_te___          6_!~;-~_~,on ---·          ¼~S:,::~~~~::::~°Je~e-pre_::__ ··· ·······--·• ____ .__                              J
    Patient Allergies:
    r&:~erved          Type                                    Allergy
                                                                                                                                                   . . --1
    i06-30-2015        Allergy Jl~rn=s_ __                    .. No_Kriown Allergies                                                                   _J
     D   Vital Signs Taken
    Patient Vitals:
    r\Date-·-- __
     Obse,ved           Blood           Pulse
                        P_,_e_s_su_,_e_____
                                                          Resp. Rate Temp                      Pulse Ox            Weight         BM/

             Added 07Al912M5 01:49 AM ESTbyhnmellLPN                     f------------------------~
      S- No complaints voiced
      0- Resting on rounds, no distress or self /Jam,                  noted
      A- On CW for Sil
      P- Continue lo mo1111or




     E-Signed by Heather R\1~-~dl n 07/09/2015 01:49 AM EST                                                                                         Page I of 1




                                                                                                                                     MCCI MED RECORDS 142
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 149 of 486 PageID: 828




   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult (MCGJJ                                         FOR JtlFIRMARY US£ ONLY
   1 watenvorks rmtd
   Frne.hold, NJ01728



                                                                                                                                                       !>
                                                                                                            7/1/2015 8:00:00    1/31/2015 759:00
   thiamine HCI 100 mg tablet                                    L(}O tablet Monmouth Facility: QAM                             AM
                                                                                                          AM
                                                                                                          7/2/2015 8:00:GO      9/30/2015 7:S9:00
   Zolott [Sertrallne) 50 mg tablet                              LOO tablet    Monmouth Fsrillfy: Q Al-A                        Al\,1
                                                                                                          AM
   albuierol sulfate 2,5 mQ/3 ml (0,083 %i solutlon for          1,00          Monmouth FaCility: EverJ 3 7,,11201 s 2:00:00     12/28/20151:59:00
   nebulizat!on                                                  milliliter    hours                      PM                     PM
                                                                               Monmouth Fadllty: aro AM & 7/10J20l5 7:00:00      7/20/2015 6:59:00
   Maprosyn (NaproY.en) 500 mg tablet                            1,00 tablet                                                     PM
                                                                               HS                           PM

   Patient Problems:
                                                                    -----------                                  ----
                                                                                                       ··-···--····
    Observed                                                     Problem                                  Confirmed By
    Date             Category Type

    06-30-2015 Acute
                                           PSYCH: Substance Al
                                           ~~                     m  h I Ab
                                                                                    o ~ • ,I
    06-30-2015 Chronic                     RESP' Asthma          Asthma Not Otherwise Specified                                               1

    06-30-2015 Acute                       PSYCH:                Unspecified Major Depression_,_______ .. ______ I
                                           Depression            Recurrent Episode
    Patient Allergies:
                                 ------------·-----------
   !,Date
     Observed         Type                 Allergy
   i06-30-2015       Allergy {tr,_rr,~-- __ ... __ .. No Known Allergies
    D    Vital Signs Taken
    PaUent Vitals:
                                                                                                                                  . " .~------i
    IObserved         Blood
                      Pressure
                                               Pulse      Resp. Rate Temp                Pulse Ox       Weight          BM/
                                                                                                                               _ _ _ .I        I

    10ale              .   ··---·---·-·-
            Add•d 01i111201512:24 AM ESTby.hf11sse1I LPN              1----------------------~
      S- No complaints voiced
      0- Resting on rounds, no distress or self harm noted
      A- On CW for SIi, no attempts at self harm since placement
      P- Continue to monitor




                                                                                                                                                        !
                                                                                                                                                        I


                                                                                                                                                        I
                                                                                                                                                        I




      E-Signed 1:>Y HclltherRussell n 07/J 1/2015 12:24 AM EST                                                                          Pagt: t of I




                                                                                                                           MCCI MED RECORDS 143
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 150 of 486 PageID: 829




   Monmouth County                                               Infirmary Progress Notes
   Monmouth Adult (MCCIJ
   1 waterworks road                                                 FOR INFIRMARY USE ONLY
   FreehoJd, NJ0'/128
                                                                                                           Birth Defe




                                                                                                                    7/1/2015 3:00:00.   7131/2015 7:59:00
   thiamine HCl 100 mg tablet                                        LOO tablet    Monmouth Facility: Q AM
                                                                                                                    AM                  AM
                                                                                                                    J/2/2015 8:00:00    9/30/2015 7:59:00
   Zolofl (Sertratlnc) 50 mg tablet                                  LOO tablet    Monmouth Fadllty. Q A.l',!I
                                                                                                                    AM                  AM
   albuterol sulfate 2.5 mgi3 ml (0,083 %) sotutfonfor               1.00          Monmouth Facility, Every 3       7,-1/2015 2:00:00   12/28/201S 1:59:00
   nebullz11tfon                                                     mlnlliter     hQurs                            PM                  PM
                                                                                   Monmouth fad\lty: BID M.•1 & 7/1012015 7~0:00        7/20/2015 6:59:00
   Naprosyn !Naprox~n) 500 mg tablet                                 LOO tablet
                                                                                   HS                               PM                  PM
   Patient Problems:
   IObserved      -- · ·                                                                                                                      '. ¥••·1
   i Date        Category Type                                       Problem                                       Confi,med By
                                                                                                                                                     i
                                                                                                                                                             i

                                                                                                                                             J
       06-30-2015 Acute                 PSYCH: Substance             Al h /Ab
                                        Abuse                          co o    use                                                                           '
       06-30-2015 Chronic               RESP: Asthma                 Asthma Not 01/ienvise Specified                                                         :   .
                                                                                                                                                             i
                                        PSYCH:                       Unspecified Major Depression,                                                           '
   \ 06-30-2015 Acute
                                        Depression                   Recurre~IEQisode
   Patient Allergies:
                        -----
   1   Observed T
   1   Date      ype                                          Allergy
   I
   l.96-30-2015 A/lergvjtems                                   No Known Allergies __ _
       i,zJ Vital Signs Taken
   PaUenl Vitals:
       Observed Blood
                                                                                                                            ------- -------                  I
                                           Pulse         Resp. Rate Temp                    Pulse Ox             Weight        BM/
       Date     Pressure
       07-10-
       2015
       05:00PM
                      98147                50            18                98.30
       EST
                                                                                                                                                             i
              "Added 07/10/2015 07:40 PME:ST by alabarbera LPN f - - - - - - - - - - - - - - - - - - - - - - - - - ,

        S- /IM clo pain in back from injury years ago                                                                                                        I'
        0- JIM lying on 1/por in cell on rounds. Adequate po intake. 1/M slates he is still feeling SI. No self injury noted.                                /·
        1/M given ordered medication for pain.
                                                                                                                                                             I:
        A On CW for SI
          0




        P Will continue.lo monitor
          0
                                                                                                                                                             i




       E-Signi!<l by Ashley Labm'liera o 07/l0/2015 07:40 PM f.!ST                                                                           Pj,ge I of 1




                                                                                                                                   MCCI MED RECORDS 144
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   Monmouth County                                            Infirmary Progress Notes
   Mo11mouth Adutt {MCGI)                                         FOR INFIRMARY USE ONLY
   1 waterwork3 road
   freehold, NJ01128
   PstlentNam1::
   OON<ll PREEMAII


                                                                                                              7/1(20158:00:00     7131/2015 7:59:00
   thiamine HO     mo mg tablet                                   LOO tablet    Monmouth Facility; QAM
                                                                                                              AM                  AM
                                                                                                              7/2/20158:00:00     9/30/2015 7:59:00
   Zoloft {SertraUne} SO mg fabJet                                1.00 taoret   Monmouth fi:1cility; Q AM                         At,.-1
                                                                                                              AM
   albuterol sulfate 25 nlo/3 ml (0,083 %) solution for ·         LOO           Monmouth FacHlty; Every 3     7/1/2015 2:00:00    l2128t20151:59:00
   nebulization                                                   1hllf!tfter   hours                         PM                  PM
                                                                                Monmouth Fadnty: BTD A.M & 7/10/2015 7'.00:00     7/20/2015 6;59:00
   Naprosyn (Naproxen) 500 mg tablet                              1.00 tablet
                                                                                                                                  PM
                                                                                HS                         PM

   Patient Problems:
                                                                                     --------·· --
        Observed                                                                                             Confimied By
                        Catego,y Type                             Problem
        Date
        06-30-2015 Acute              PSYCH: Substance            Al ho/Ab
                                      Abuse                         co       use
        06-30-2015 Chronic            RESP: Asthma                Asthma Not Otherwise Spec,fied
                                      PSYCH:                      Unspecified Major Depression,
   l06-30-2015         Acute          Depression                  Recurrent. Episog,, .. _ _ _ _ _ _ _ __
   L--·- ·-···--

    Patient Allergies:
   '!Observed ;:p_e_ _ _ _ _ _ _ _A-1/e-,-gy_ _ _ __
        Date         ''
        ,06-30-2015 Allergv I/ems                       ___ JjfJ l{[Jo_1'!.fJ..Allerg"'ie,,.s _ _ _ _ _ _ __
        D   Vita/ Signs Taken
    Patient Vrtals:

   I[)~.~te'-----'-P"re"s"sccuccrec..__
    Observed           Blood            Pulse      Resp. Rate Temp Pulse Ox
                                        ...... _________________________
                                                                                                            Weight        BM/                    I
                                                                                                                                                 I
                                                                                                                                 ---- _____ __J
    1

              Mo~d07/10/20150?;32PMESTbykFa.ckln• LPN                    !-----------------------,
         S) co back pain from hip repracementwhen he was 14 years old.
         0) a&a. po intake adequate. med compNant. vss. sitting up and
         moving freely with no Visible signs of pain. issue was addressed by md,
         A) on cw due to si. no attempts. continues ro aver.
         P) wJl/ continue fo mornror.




        E-Signctl by Kathryn FP.cldna n 07/10/2015 02:32 PM EST                                                                            Page I of I




                                                                                                                             MCCI MED RECORDS 145
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   Morunouth County                                          Infirmary Progress Notes
   MonmouthAdult{MCCI}                                         FOR INFIRMARY USE OIJLY
   1 waterworks road
   Freehold, NJ07728
   PetkmtName                             Patient Number                                                               Ocie Of Service
   OOfrELL FREEMAW                        26184                                                                        711012015



                                                                                                            7,1/2015 8:00!00   7 /31/201S 7:59:00
   thiamine HCI t00 mg tabld                                    LOO tablet Mann101,1th Fadl"iti;: Q AM      AM                 AM
                                                                                                            7/2/2015 8:00:00   9/30/2015 7:59:00
   Zoloft   (S:ertraline) 50 mg tabret                          LOO tablet     Monmouth Facility! Q MA                         AM
                                                                                                            AM
   albuterol rnltati 2,5 mg/3 ml (0,083 %) solution for         1,00           Monmouth FaiUity: Every3     711/2015 2,00,00   12/23/2015 1:59;00
   nebullzaUon                                                  mllllliter     houn                         PM                 PM

   Patient Problems:
    Observed                                                    Problem                                   Conffrmed By
                        Category Type
    Date
    06-30--2015 A cute                   PSYCH: Substance A' h IAb
                                         Abuse                   rco o       use
    06-30-2015 Chronic RESP: Asthma                             Asthma Not Olhe1Wise Specified
    06-30--20l Acute                    PSYCH:_                 Unspecified Mijjor Depression,
                  5
    ····-- ·--·-····--·--·-·-·-·- ..... Depression·-·· ..... __ Recurren/Ejp1sode _ ______ _
    Patient Allergies:
   raiiserve,f ; - - - --                                   Allergy
   1oate                 ype
                                                                                                                                                    i.
   LQ§,$.00201_5_ f1i/1>_rgy lt~m~                         . No_Knmv,n Allergies · · · · - - - - - - - - - - -                                      '.
    GZl Vital Signs Taken                                                                                                                           i
    Patient Vitals:
                                                                                                                                                    ..I
    Observed Blood                         Pulse      Resp. Rate Temp                  Pulse Ox          Weight        BM/
    Date     Pressure
    07-09-
    2015                                                                                                                                            i
    04:30 PM 122164
                                           88          18              97.90                                                                        i!·.
    E'ST_
              Added 07111m01510:381jM EST by          khash,;.,ll'ro\'/dar _[--------------------~                                                  !
                                                                                                                                                    '.
      Pt is in the CW area forsuicidal ideation, Pl remains suicidal.
      Today pt states he wants u/tram for his chronic intermitent pain to the left hip.
      Hx of/efl hip repair done at the age of 14. Since then pt states fye had a fracture for the last few yrs. Pl stales he
      was in pnson and the fx was not treated.
      Pl is sitting in indian style-very comfortable.
      IMP chronic mild pain Pt has a history of substance abuse and ultram would be a poor choice
      Rec: naprosyn pm.




     Ii-Signed by Kabeeruddin Hashmi n 07/,10/2015 10:38 AM EST                                                                       Page l of I




                                                                                                                           MCCI MED RECORDS 146
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 153 of 486 PageID: 832




   Monm-oulh County                                             Infirmary Progress Notes
   Monmouth Adult (MCCJJ                                          FOR ltJFIRMARY USE OlllY
   1 waterworks road
   Freehold, fiJJ(J17'28
   PatfentNeme                                Pdient Number                                            Birtb Date
   DOlfELL FREEMA!J                           1.6134                                                   12126/1975



                                                                                                                711./2015 8:00:00   7131/2015 7:59:00
   thiamine HO 100 mg tablet                                       1.00 tablet    Monmouth Facility, Q AM
                                                                                                                AM                  AM
                                                                                                                7/2/2015 3:00:00    9/30i2015 7:59:00
   Zolofl {Sertral!ne) 50 mg tablet                                1.00 tablet    Monmouth fadlit_f QAM                             A.M
                                                                                                                AM
   albuterol rnlfote 2,5 mg/3   ml {_0,083 %) ~a1utlon for         LOO            Monmouth Facility: Ev~ry3     ·711/2015 2:00:00   12/28/2015 1:59:00
   nebullzatlon ·                     ·                            1ililliliter   hours                         PM                  PM

   Patient Problems:
   10;,;s"e·rvea--
   iDale              Catego,y Type                               Problem                                      Confirmed By

   : 06-30-2015 Acute                     ~g:s~H: SubSlance Alcohol Abuse
   XXX-XX-XXXX Chronic                    RESP: Asthma            Asthma Not Othe1wise Specified
   IL.,
    ,06-30-2015 Acute
        .,.   _____
                                          PSYCH:
                                          Depression
                                                                  Unspecified Major Depression,
                                                                  Recurrent Episode
    Patient Allergies:
   1g~~erved .     Type                   -     -- . ----A-lle_rg_y_ _ _ _ _ __                                                                -1
                                                                                                                                                !
    Lo6,3Qc?015 Al/ergy-'lt"'e'-'m,..,s'------'N,:,o'-IG'-'n"'o'",""-n'-'A""l""lec,rg"ie,,,s'-----"- ___ . ,, ___ ,                         __J
    □    Vital Signs Taken
    Patient Vitals:
                       Blood                                  Resp, Rate Temp               Pulse Ox          Weight        BM/
                                                Pulse

            Mded07l10J201501:~3AMESTbyhrussel/LPNf----------------------~
      S- No complaints voiced
      0- Resting on rounds, no distress or self harm noted
      A- On CW for SIi, no self injurious behavior since placement
      P- Continue to monitor




      E-Signed by Heather Russell n 07!10/201-501:53 AM EST                                                                               P'ase I of l




                                                                                                                                MCCI MED RECORDS 147
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 154 of 486 PageID: 833




   Monmouth Coun'l;v                                          Infirmary Progress Notes
   Monmouth ACWft (MCCJ)
                                                                FOR IIJFIRMARY USE Oil LY
   1 waterwor/G road
   Freehold, NJ01728




                                                                                                                7/1/2015 S:00:00    7/31/2015 7:59:00
   thiamine HO 100 mg tablet                                     l.00tablet    Monmouth Facility: Q AM
                                                                                                                AM                  AM
                                                                                                                7/2/2015" 8:00:00   9/30i:W15 7:59:00
   Zofoft (Sertrallne) SO mg tablet                              1.00 tablet   Mc:minouth Facility: Q Ah,!
                                                                                                                AM                  i\M
   albuterol sulfate 2,5 mg/3 ml (0,083 %) solut!on"for          1.00          Monmouth F<1d0ty: Ewry 3         7!1;2015 2:00:00    12/28/2015 l!S~:00
   nebulizatlcn                                                  mllll\\ter     hours:                          PM                  Pi\·1
                                                                                Monmo<Jth fQdlity. BID AM & 7/10/2015 7:00!00       7/20/2.015 6:59:00
   Naprosy~ (Napwxen) 500 mg tablet                              1.00 tablet

   Patient Problems:
                                                                               HS                               PM                  Pl\'!
                                                                                                                                                          I
    Observed
                     Catego,y Type                              Prob/em
    Date
    06-30-2015 Acute                  PSYCH: Substance
                                      Abuse
                                                                Af h !Ab
                                                                  co o       use
                                                                                                                                                          i
    06-30-2015 Chronic                RESP: Asthma              Asthma Not Othenvise Specified
                                      PSYCH:                    Unspecified Major Depression,
    06-30-2015 Acute
                                      Depression                Recurrent_'=e~is~o~d~e _ _ __
   PaNent Allergies.-
   [ Observed-- - - - - -
   !Dale         Type                                        Allergy
   I 06-30-2015 Alle1_yy_~lt~em=s_ __                        No Known Allergies _ _ _ __
    ~ Vital Signs Taken
   Paffent Vitals:
    Observed Blood
    Date     Pressure
                                        Pulse       Resp.      Rate Temp                 Pulse Ox            Weight         BM/
    07-11-
    2015
    07:17 PM 112ll7                     70           16                 97.90
    EST

           Added 0711112015 07.·i9 PMFST bycsrna{ls LPN > - - - - - - - - - - - - - - - - - - - ~ - - - ~

     S- No medical or mental health complaints offered
     0- Compliant with vitals and meds. Inmate is resting quieUy during rounds, no self injury noted or reparled. Po
     intake adequate
     A- Housed in constant watch secondary to suicidal ideatioh
     P- Continue to monitor until cleared per MH




    &-Signed by Cherie Smalls 11 07/l l/2Ul5 07: 19 PM EST                                                                                  Page I of I




                                                                                                                               MCCI MED RECORDS 148
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 155 of 486 PageID: 834




   , .• onm-outh County                                          Infirmary Progress Notes
   Monmouth Adult(MCCJ)
                                                                  FOR ltlf!RMARY USE OHL Y
   1 watenlrortra road
   Freehold, NJ0"/728




                                                                                                                7/1/2015 8:00:00      7131/2015 7:59!00
   thl1Hnine !Kl 100 mg tablet                                     1.00 tablet   Monmouth Fadllty: Q AM
                                                                                                                AM                    AM
                                                                                                                7/2/2015 0:00:00      9;30/2015 7:59:00
   Zoloft (Sertra!lnie.) 50 mg tablet                              1.00 tablet   Monmouth Facility: Q AM
                                                                                                                AM                    AM
   albuterol rnlfate 2.5 mg/3 hll (D,083 %} s1;1lutlon for         LOO           Monmouth Facility: Every 3     7/1/2015 2:00:00      12/28/20151:59:00
   tiebuli.:z.ation                                                milfilite.r   hours                          PM                    PM
                                                                                 Monmouth Fad!lty: BID AM & 7/10/2015 7;00:00         7/20/2015 6:59;00
   Maprosyri (Naproxe.n) 500 mg tablet                             LOO t-ablet
                                                                                 HS                             PM                    PM
   Patient Problems:
   .Date
    Observed
   I                    Cafegoty        Type                       Problem

    :6-30-2015 Acute                    i;;J;::S~H: SubSlance Alcohol Abuse
     6-30-2015 Chronic       RESP: Asthma                          Asthma Nol Otherwise Specified
     6-30- 2015 Acute        PSYCH:                                Unspecified Major Depression,
   1 . __ ____ __ ____ ~~~°"'J'ression _____                       Recurrent Episo_d_<l___
   Patient Allergies:
   !Observed__T________                                                                                                                       -7
   IDate        ype                     Allergy
   I06-30-2015 AJ/ergy__lt_em_s_ _ _ _ _/1/l_!/:(Ilown Allergies
    □ Vital Signs Taken
                                                                                                       -··---~--~--------.J
   Patient Wais:
   r,s;:-·--·
   1   O/Jserved
                  ---=-~---
                         Blood               Pulse        Resp. Rate Temp
                                                                                            -------
                                                                                           Pulse Ox           Weight
                                                                                                                       .   -~-.-----·-. -·-------,
                                                                                                                               BM/                1
   l_Date..              Pressure                                                                               - - - ·----- .. I
              Added 07/li/201510.'22 AM EST by CSf/18/ls_LPN           t-----------------------,
        S- No medical or mh clo at this time
        0- Inmate resting in bed, calm and quiet, no self injury noted or reported_ Po intake adequate
       A, Housed in constanllvatch secondary ID suicidal ideation
       P- Continue to monitor until further ordered per MH staff




       E,Signcd b}' Cherie Small:i n 01/11/2015 10:22 AM ES'l'                                                                             Page I ofl




                                                                                                                                 MCCI MED RECORDS 149
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   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult {MCCJ)                                       FOR ltfflRMARYUSE ONLY
   1 wat.vworks road
   Freehold, r,/J07128




                                                                                                             7 /1./2015 8:00:00   7131/2015 7:59:00
   thiamine HCt 100 mgtablet                                   l,00 tablet Monmouth facility: Q ~M                                AM
                                                                                                             AM
                                                                                                             7/2/1015 a:oo:oo     9/30/2015 7:59:00
   Zoloft (Sertraline] 50 mg tablet                            1.00 tablet     Monmouth Facility: Q AM
                                                                                                             AM                   AM
   albuterol :rn!fate 2,5 mg/3 ml (0,083 %) solution t9r       1.00            Monmouth facility: Every 3    7/1/2015 2:00:00     12/28/2015 1:59:00
   nebuflzalion                                                 tntllillter   • hours                        PM                   PM
                                                                               Monmouth facility: BID AM & 7/10/20157:00:00       7[2.0/2015 fr,59:00
   Naprosyn (Naproxen) 500 mg tablet                           1.00 tablet                                   PM                   PM
                                                                               HS
   Patient Problems:
       Observed                                                Problem                                      Confirmed By
                     Category Type
       Date
       06-30-2015 Acute               PSYCH.·Substance AtcoIlo/Abuse
                                      Abuse
       06-30-2015 Chronic
                       RESP: As01ma                            Asthma Nol Othenvise Speci/fed
       06 _30-20 15 Acute
                       PSYCH:                                  Unspecified Major Depression,
      -------~D~e~p~1~·es~s~ioIJ.                              Recurrent Episode      .. ~ -----·---~
   Patient Allergies:
   ,observed
   ,Date
   1                 Type                                  Allergy
   i06-30-2015 Allergy ~lteccm=s_ _ _ _ _'--'Ncco_,.l<no=wn_,",llec_~g,"'e.c_s_ _ _ _ __                                                                i:

       □   Vital Signs Taken                                                                                                                            !'
                                                                                                                                                        i;
    Patient Vitals:
   !·observed          Blood                                                                       BM/
   IDate__            _Pre_s_s_u_re___P_u_ts_e_,. ~=~~--R_a_t_e_Te_m_P
                                                                     ___ !'~l::_~x_ _
                                                                                    1>1_1e_ig_h_t_

             Added 0711212,01511:54 PM EST b{dve/ardl LPN             l-------------------------~
        S- No complaints voiced
                                                                                                                                                        1.
        0- obseNed /IP resting on rounds, no distress or self harm noted-alert
        A- On CW for SIi, no attempts at self harm since placement
        P- Continue to monitor




       E,Signed hy Dehorult Velardi n 07/12/201511:54 PM EST                                                                             Page 1 or,




                                                                                                                              MCCI MED RECORDS 150
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 157 of 486 PageID: 836




  Monmouth County                                           Infirmary Progress Notes
  MonmoufJ, Adult (MGGi)                                      FOR INFIRMARY USE ONLY
  1 waterwort,s road
  Free.hold I NJ0772B
   Patl&nf .--..iame                                                                                    Birth Date
   OOfJELL FREEMA>I                                                                                     12/26/'l!HS


                                                                                                                 7/1/2015 8:00:00      7/31/2015 7:59:00
   thiamine HCI 100 mg ta.blet                                 1.00 tablet Monmouth Facility; Q A.M                                    AM
                                                                                                                 AM
                                                                                                                 7121io1 s 3:00:00     9/30/2015 7:59~0
   Zolc,ft (Sertrafine] 50 mg tablet                           1.00 table.t   Monmouth facility; Q A~·l                                AM
                                                                                                                 AM
   albuterol sulfate 2,5 mg/3 ml (0.083 %) solution tor        1.00           ·~.1onmouth Ft1dl\tiJ: Every 3     7/1/2015 ,l:00:00     12/28/20151159100
   nebullzl'ltiOh                                              mil!lllter      hOurs                             PM                    PM
                                                                               Monmouth Facility; BfD AM & 7/10/20l5 7:00:00           7/20/2015 6:59:00
   Maprosyn (Naproxen) 500 mg tablet                           1.00 tiblet                                                             PM
                                                                               HS                                PM

    Patient Problems:
                                                                                       --·"   ------- -
     Observed                             Problem                                                               Confirmed By
                Category Type
     Date
     06-30-2015 Acirle   PSYCH: Substance Alco ho/Ab use
                         Abuse
     06-30-2015 Chronic  RESP: Asthma                          Asthma Not Otherwise Specified
     06-30-2015 Acute    PSYCH:                                Unspecified Major Depression,
          - - - - - - · ./.)/;pression                       ._13eCUffent Episode
    Patient Allergies:


                                                                                                                                             J
    r··-•- --
    1Observed    ~                          Al''
    / Date       'ype                         ,ergy
    [06-30-2015 _A/le_rg)l~l=te~m~s~_ _ _ _ No Known Allergies
     D Vital Signs Taken
    Patient Vitals:
    r·~-.. •e-,e

    ; Observed Blood                                      Resp. Rate Temp                     Pulse Ox         Weight         BM/
                                              Pulse
    [lla.f.e ___..:.P..:.re=ss:::u:::i.::e_
                Added 071.1'P2D1507;03 Pi! ESTby/DNft• supiiMSDI)' staff 1 - - - - - - - - - - - - - - - - - - - - ~

       S: NO VOICED COMPLAINTS.

       0: A,O,X,3 SKIN BROWN AND DRY NO DISTRESS, NO COMPLAINTS. CALM, QUIET AND
       COOPERTIVE ALLDAY. A TE DINNER WITHOUT COMPLAINTS. LA YING ON MATTRESS QUIETLY. NO
       SIGNS OF AG/TA TION OR SELF HARM.

       A: MALE VM ON CONSTANT WATCH FOR SIi.

        P: CONTINUE TO MONITOR, REDUCING RISK OF SELF HARM.




      E-Stgncd by Lawrence Divita 1107/12/201507:0J PM EST                                                                                   Pagel of 1




                                                                                                                                     MCCI MED RECORDS 151
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   Monrnoull1 County                                           Infirmary Progress Notes
   Monmouth Adult (MGGJ)
   1 waterworks road
                                                                 FOR INFIRMARY USE OllLY
   Fn;ehold, NJ07728
                                                                                                                             Dore Of Servic.e
                                                                                                                             7/1212015


                                                                                                                7,,1(2015 8:00:00    7/31/2015 7:59100
   thiamine HCI 100 mg tablet                                     l,00 t~bh:t    Monmo·uth Facility: Q.AM
                                                                                                                AM                   AM
                                                                                                                7/2/2015 3:00:00     9/30/2015 7:59:00
   ZoloH [Sertrallne) 50 mg tablet                                LOO tablet     Monmouth Facility:   Q AM
                                                                                                                AM                   AM
   albuterol sulfate 2.S mg/3   ml (0,083 'lb) solution for       1.00           Monmouth Facillty: £very 3     7/1/201S 2:00:00     12/28/20151:59:00
   nebullzatlon                                                   millltiter     hour~                          PM                   PM
                                                                                 Monmouth Facili'cy~ BID AM & 7/10/2015 7:00:00'     7/20/20! S fr.59:/JO
   Maprosyn (NaproxenJ 500 mg tabfet                              .1,00 tablet
                                                                                 HS                             PM                   PM
    Patient Problems:
   !ObsefVed
   .                 Category Type                               Problem                                       Confirmed By
   :oate
    06-30-2015 Acute                  PSYCH: Substance Al h /Ab
                                      Abuse              co o    use
    06-30-2015 Chronic                RESP: Asthma     Asthma Nol Otherwise Specified
                                      PSYCH:           Unspecified Major Depression,
    08-30-2015 Acute
                                      Depression     _ RecurreBf Episode ___ .
    Patient Allergies:
    Observed T
    Date         ype                                          Allergy
    Q6::J.O:W15 Allergy //ems                                 No Known A//erg/e.s~------- ____
    [;ii Vital Signs Taken
    Patient Vitals:
    6/:iserved Blood
                                         Pulse         Resp. Rate Temp                   Pulse Ox            Weight         BM/                             I
    Date       Pressure
    07-12-
    2015                                                                                                                                                    II.
    09.28 AM
               103169                    69            18                97.20
                                                                                                                                                            i:
    EST -----
           AdrJ&d 07/1-~~1.5 09:;)2 AM ESTbrlDMta.SUperv/sqry St'!.ff              e-------------------~
     S: "l'M ALRIGHT'

     0: A, 0)(,3, SKIN BROWN, WARM ANO ORY. NO COMP/A/NT$ OR DISTRESS. A TE 100 %
     BREAKFAST AND TOOi{ AM MED/CATIONS. 1/M LA YING DOWN OM MATTRESS. NO SIGNS OF
     AG/TA TION OR SELF HARM.

     A: MALE /IM ON CONSTANT WATCH FOR SIi

     P: CONTINUE TO MONITOR, REDUCING RISI{ OF SELF HARM.




    E-Signed by Lawrence Dlviti n 07/12/2015 09:32 AM EST                                                                                  Page 1 of I




                                                                                                                               MCCI MED RECORDS 152
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 159 of 486 PageID: 838




   Monmouth County                                            lnfinnary Progress Notes
   Monmouth Adult (MGCJ)                                          FOR ltJFIRMARY USE ONl Y
   f woterwor~ road
   Freehold) NJ01128
                                                                                                                             Date Of Service
                                                                                                                             7112/2015


                                                                                                                 7/1/2015 8:00:00    7/31/2015 7:59:00
   thiamine 1:10 100 mg tabret                                     LOO tablet     Monmouth Facility; Q AM                            AM
                                                                                                                 AM
                                                                                                                 7/2/2015 8:00:00    9/30;2015 7:59:00
   Zolofl [Sertraline) SO mg tablet                                LOO tablet     MonJ11outh Facility: Q AM                          AM
                                                                                                                 AM.
   a!buterol sulfate 2,5 mg;3 ml_ (0,083 %) sollltlon for         -1.00           Monmouth Facility: Every 3     7/1-/2015 2:00:00   12/28/10151:59:00
   nebUli.zatlon                                                   millillter ·   hotm                           PM                  PM
                                                                                  Monmouth Faci[lty: BID ..\M & 7/10/2015 7:00:00    7/20/WlS 6:59:00
   l'-laprosyn (Naproxen) 500 mg tablet                            1.00 tablet                                   PM                  PM
                                                                                  HS
    Patient Problems:
    Obse,ved                                                                                                    Confi11ned By
               Category Type            Problem
    Date
    06-30-2015 Acute    PSYCH:
                        Abuse SubS/ance Ale ohoI Ab use
      06-30-2015 Chronic RESP: Asthma                             Asthma Not Otherwise Specified
   I  06-30-201S Acute   PSYCH
    I~-_______ ____Qepression
                                                                  U11speciffed Major Depression,
                                                                  Recurrent Episode
    Patient Allergies:
    Observed   T                                             Allergy
                                                                                                                                                   -1
    Date        ype
    06-30-2015 Allerqv /lems                                 No Known Acclleccm~ie~s..___                _ ___________ ]                            I




    D    Vital Signs Taken
    Patient Vitals:
    IObserved Blooi:r
                                                                                                                       .- .--~------ -.-·--1
                                           Pulse            Resp. Rate Temp                  Pulse Ox          Weight         BM/ _ _ _ _ j
    i Date             Pressure
             Added omil201sD2:45AMESTf>yef{e/ardi/.PN                   e-----------------------~
       S- No complaints voiced
       0- obsetved /IP resffng 011 rounds, no distress or self harm noted-alert
       A- On CW for SIi, no attempts at self nann since placemen/
       P- Continue to monitor




       F.'.-SigM<l by Deboral1 Ve!mdi n 07112/2015 02:45 AM EST                                                                                Page f of L




                                                                                                                                MCCI MED RECORDS 153
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 160 of 486 PageID: 839




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult {MGGI)                                       FOR INFIRMARY USE O!ILY
   1 wate,vrorl<s road
   Freehold, NJ07728
   Patient Neme
   DONELL FREEMAN


                                                                                                             7/1/2015 8!{10:00   7/31/2015 7:59:00
   thiamine HO 100 mg.tablet                                   1.00 biblet   Monmouth Facility: QAM
                                                                                                             AM                  AM
                                                                                                             7/2/2015 8:00:00    9/30/2015 7:59:00
   Zoloft: {Sertrafine} SO mg tablet                           LOO tablet    Monmouth Facili'tj•: Q AM                           AM
                                                                                                             AM
   albuterol rnlfate 25 mg/3 ml (0,083 %) ~olution for         1.00          Monmouth Fadlff'.t, Evi!ry3     7/1/2015 2:00:00    12/28i20151;59:00
   nebul!zatlon                       ··                       milliliter    hours                           PM                  PM
                                                                             Monmouth facility: BID AM & 7/10/2015 7:00:00       7/20/2015 6:59:00
   N<1prosyn {Naproxen) 500 mg tablet                          1.00 tablet                                                       PM
                                                                             HS                          PM

   Pailent Problems:
    61>servet1             ----------------------
    Date              Categmy Type                             Problem                                      Confirmed By

    06-30-2015 Acute                   :i;:,,~:   Subsiance Alcohol Abuse
   06-30-2015 Chronic RESP: Asthma                             Asthma Not Olhetwise Specified
     _
   06 3 2015
             o_
              Arute   PSYCH:                                   Unspecified Major Depression,
   ~------·--~De.pJ1'ssJon                                     Recurrent Episode··- _ _ _ _ _ _ _ __
   Patient Allergies:
    Observed T                                           Allergy
    Date        ype
    06-30-2015 Al/ergyJ~!']_S..                    ·-·-·--· No Known Al/erg~ie~s~-----------
    □    Vital Signs Taken
    Pauent Vitals:
   IObserved           Blood               Pulse      Resp. Rate Temp                   Pulse Ox           Weight         BM/
   !Date               Pressure
   '···---
              Added07114/2Di5 /2:28AME8Tbyhws:ie/lLPN f - - - - - - - - - - - - - - - - - - - - - - - ~

      S- No complaints voiced
      0- Resting on rouncis, no distress or self hami noted
      A- On CW for SIi, no attempts at self hamJ since placement
      P- Conunue lo monitor




     E-Sign-:<l by Heather Russel! n 0711412015 !2:28 AM EST                                                                           Pag~ I of 1




                                                                                                                             MCCI MED RECORDS 154
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 161 of 486 PageID: 840




   Monmuuth County                                           Infirmary Progress Notes
   Monmouth Adufl (MCCI)                                        FOR INFIRMARY USE ONLY
   1 waterworks road
   F~MJold, NJ07728
                                                                        Booking NumMr                                     D&/e Of Servtce
                                                                        3279258                                           7/13/2016



                                                                                                              7/1/2015 8:00:00   7,61/.2015 7:59:00
   thiamJne HCI 100 mgtable.t                                   LOO tablet    Monmouth Faclllty:   Q AM
                                                                                                              AM                  AM

   Zo{oft {Se1iral!t1e) 50 mg tablet                            1.00 tablet Monmouth Facility: Q AM
                                                                                                              7/2/2015 8:00:00
                                                                                                              AM
                                                                                                                                  9/30/2015 7:59:00
                                                                                                                                  AM
                                                                                                                                                        i! -.
                                                                              Monmouth Fadl\tyt E.very 3      7/1/2015 2:00:00    12/2.8/2015 1:59:00   i.
   albuterol sulfate 2.5 mq/3 ml i(J,083 %) soh.itton for       1,()0
                                                                                                                                                        I;:
   nebullzatlon                                     ·            millillter   houn                            PM                  PM
                                                                              MonmGtJth Faclllt,;; BID AM & 7/10/2015 7•.00:00    7 /2fJ/2015 6:59:00
   Naprosyn (Naproxen) 500 mg tablet                            1.00 tablet                                                       PM
                                                                              HS                              PM
    Patient Problems:
    Observed                                                                                                Confim1ed By
                      Category Type                             Problem
    Date
    06-30-2015 Acute                   PSYCH: SubStance Alcohol Abu5 e
                                       Abuse
     06-30-2015 Chronic      RESP-Asthma                         Asthma Nol Other.vise Specified
    1
     06- 0-
        3 2015
                Acute        PSYCH.-
    , ---------'D=ep"'re,_.."s"s/cc-o,_,n_
                                                                 Unspecified Major Depression,
                                                                _,_R,,e"c"'u,_,rre=n,_t=E,,_pccis"o"de=---------
                                                                                                                                               I
                                                                                                                                              _,

    Patient Allergies:
    Observed
    Dale        ype
                      T                                     Allergy                                                                            I
    06-30-2015 Al/ergv Items                                No /(nown Allergies __________________

    EZI Vital Signs Taken
    Patient Vitals:
    Observed Blood                                    Resp. Rate Temp                   Pulse Ox           Weight         BMJ
                                         Pulse
    Date     Pressure
    07-13-
    2015                                              18                 98.00
    05:00 PM 113176
     EST

             Added 07/13/2015 OB:03/'M EST byaiaparbera LPN ~ - - - - - - - - - - - - - - - - - - - - - ,

      S- No voiced complaints,

       0c. I/M lying on floor in cell on rounds, Adequate po intake, 1/M slates he is s/111 feeffng SI. Noseff injury noted_

      A- On CW for SI

      P- Will continue to monitor




      E-Slgnetl by Ashley Labarbera rr07/13/2015 08:03 PM,EST                                                                            Page. I ofl




                                                                                                                             MCCI MED RECORDS 155
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   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult {MCCJ)
   1 wate.,works ro-ad
                                                                FOR INFIRMARY USE ONLY
   Fre~hold, NJD'n28
   Patient Name
   DOflELL FREEMAN


                                                                                                             7/l/l.015 8:00:00   7131/2015 7:59:00
   thiamine HCI 100 mg ta):)let                                 LOO-tablet Monmouth Facility: Q AM
                                                                                                             AM                  AM
                                                                                                             7/2/2015 iM0:00     9/30/2015 7:59:00
   Zoloft (Sertrnline] 50 mg tablet                             1.00 tablet   Monmouth facility: Q AM
                                                                                                             AM                  AM
   olbuterol sulfate 2.5 mg/3 ml (0,083 %) 5<llUt1on for        LOO           Monmouth Facility: Every3 ·    7/1/20\5 2:00:00    12/28/20151:59:00
   nebulization                                                 milliliter    hours                          PM                  PM
                                                                              Monmouth f,"Jdllt>,r: BID AM & 7/10/2015 7~00:00   7/20./2-015 6:59:00
   Naprosyn (Naprm::enl 500 mg tablet                           LOO tablet
                                                                              HS                             PM                  PM
   Patient Problems:
   1···· . ···---                                                                                                                         .., ·7
   i Obse,ved                                                                                                                                  I
                     Category Type                              Problem                                     Confirmed By
   ;Date
   !06-30-2015       Acuie            PSYCH: Substance Al h I Ab
                                      Abuse                       co o        use
   08-30-2015 Chronic RESP: Asthma                              Asthma Nol Othe1wise Specified
   06-30-2015 Acute   PSYCH:
        ------~Deeression
                                                                Unspecified Major Depression,
                                                                Recurrent Episorj_e _______                             _______]               I


   Panent Allergies:
   \"Obse,ved T
   iDate           ype                                     Allergy
   / 06-:J_0:2015 Allerqv Items                     ____ Jjo Known Allergies
    D Vital Signs Taken
   Pauent Vitals:
   I Obse,ved         Biooc/ .            Pulse        Resp. Rate Temp                  Pulse Ox        Weight           BM/
   [Date____          Pressure

           Acided 0_71131201/i 09:4:3 AM EI/Tby·l<Fackina LPN . f - - - - - - - - - - - - - - - - - - - - - - - ~

     S) no complaints
     0) a&a. med compHant. po intake adequate.
     A) on cw due to si. no der,n,1/ve response given curren/ly
     P) wlll continue to monitor.

                                                                                                                                                       Ir




    E-Signed by Kath1yn FacJ..iria n 07/13/201.S 09:43 AM EST                                                                          Page I of l




                                                                                                                             MCCI MED RECORDS 156
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 163 of 486 PageID: 842




   Monmouth County                                          lrtfirmary Progress Noles
   Monmouth Adult (MGCU                                         FOR INFIRMARY USE ONLY
   1 wateJworks road
   Freehold, NJO"l728




                                                                                                           7/1/2015 8:00:00     7/31/2015 7:59:00
   thiamine HCI 100 mg tc:btet                                  1.00 tablet   Monmouth Facility: Q AM
                                                                                                           AM                   AM
   albuterol sulfate 2.S mg/3 ml (0,083 %) rnrutian for         LOO           Monmouth Facmty: Every3      7,1/2015 2:00:00 PM ~!~23/20151:59:00
   nebuliwtion                                                  milliliter    hours
                                                                LOO tablet Monmouth Facillty; BIO Af,.:I & 7/l0/20l S ?:OO:OO   7/20/2015 6:59:00 Pf'd
   Maprosyn {Naproxen].500 mg tablet .
                                                                           HS                              Pr._.1
                                                                                                           7/15/2015 8:00:00    10/13/2015 7:59:00
   Zolott /Sertral!ne) 100 mg tablet                            1,50 tablet   Monmouth Facility! Q AM      Al'vl                M,•1

   Patient Problems:

   i,Date
     Observed        Category 1'ype                             Problem                                   Conffmied By

    06-30-2015 AC1Jte                  PSYCH: SubStance Alcohol Abuse
                                       Abuse                       -
    06-30-2015 Chronic RESP: Asthma                             Asthma Not O/henvise Specified
      _ _          Acute     PSYCH:                             Unspeciffed Major Depression, Janice Buttler
    06 30 2015
        .... --·-····-----"D,.e7p,,_re--:seosc:i,ccon.          Recurrent Episode
    Patient Allergies:
   ~feerve,T         ~;p_e_ _ _ _ _ _ _ _A_ll-ergy                                      ______··_--_-·_-_-_-·~.            ~1                            I
   lo6-30-2015 Allergy items.                              No Known Allergies _ _                                          _____J                        I
                                                                                                                                                         I
    □ Vital Signs Takon
    Pauent Vitals:
    !Observed ...... Blood
                                          Pulse           Resp. Rate Temp               Pulse Ox        Weight
    IDate             Pressure

            Added 07l15!201512:49AMESTby.hrussell LPN                  1-----------------------~
      S- No complaints voiced
      0- Restifig on rounds, no distress or self hami noted
      A- On CW for SIi, no self hami attempts of gestures since placement
      P- Continue to monitor




     E-Si1;,rncd by Heather Russell n 07/15i2015 12:49 AM EST                                                                          Page I of l




                                                                                                                              MCCI MED RECORDS 157
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 164 of 486 PageID: 843




   Monmouth County                                           Infirmary Progress Notes
   Monmouth Adult (MCCT)                                         FOR INFIRMARY USE OfllY
   1 waterworks road
   Freehold, NJ07728




                                                                                                               1111201s s:oo:oa     11311201s 7:59:00
   thiamine Hct 100 rng:tablo::t                                 1.00 tablet Monmouth facility: Q AM
                                                                                                               AM                   AM
   albuterol -sulfate 2.5 mg/3 ml {0,083 %) solution for         LOO             M·onmouth Facility: Ev~ry 3   7ii/20iS 2:00:00 PM ~!~23/20151:59:00
   nebullzation                                                  mlllmte-r       hours
                                                                 LOO tablet Monmouth fadlib/: BID AM & 7110/it}15 7:00100           7/20/2015 6:59:00 P1'1·1   ,-_
   Naprosyn (NaproxenJ 500 mg tablet                                        HS                         PM
                                                                                                               7/15i2015 8:00:00    10/13/2015 7:59:00          ;:
   Zoloft [Sertnlline) 100 mg tabld                              1.50 t.'lblel   Monmouth Fadlity; Q AM                                                        1
                                                                                                                AM                  AM

   Pauent Problems:
        ObseNed                                                                                                Confim1ed By
        Date           Category Type                             Problem

        06-30-2015 Acute              PSYCH: Substance           Al h /Ab
                                      Abuse                        co o    use
        06-30-2015 Chronic            RESP: Asthma               Asthma Not Othe1w!se Specified
                                      PSYCH:                     Unspecified Major Depression,
        06-30-2015 Acute                                                                        Janice Bu/lier
                                      Depression                 Recurrent Episode
   Patient Allergies:
   1- ·---··--·--- ----·•--·-·- --·-- - -·-- ---- ------·                    . -- .. --·-----
    ObseNed
   '1                  Type                                 Allergy
   ,Dale
   i06-30-2015         Allergy Items                        No Known Allergies
        ~ Vital Signs Taken
   Patient Vitals:
   , = - - ~ - - c - - - - - - - - - - - - - - - - - - - - - - - ---·- ---
   ObseNed Blood                                Pulse Ox Weight BMI
                         Pulse Resp. Rate Temp
   Dale         Pressure
   07-14-
   2015
   04:00 PM 104171       62    18         97.30
   EST

               Added 07!141201ff05:03 PMEsTbylDMta su~,vfsory staff ! - - - - - - - - - - - - - - - - - - ~

         S: "I KNOW WHAT WILL STOP ME FROM BEING DEPRESSED, EXTRA FOOD. ( 1/M SMILING)

         O: A,O X,3 SKIN BROWN WARM AND DRY. NO DISTRESS, NO COMPU\INTS. JIM TRYING TO GET
         EXTRA FOOD FROM NURSE INFORMED 1/lvf WE HA VE NOTHING TO DO WITH EXTRA FOOD
         UNLESS WE HA VE A DR'S ORDER FPR EXTRA FOOD. SITTING ON MATTRESS QUIETY, NO SIGNS
         OF SELF HARM.

         A:    MALE l!M ON CONSTANT WATCH FOR SIi. REDUCING RJSI{ OF SELF HARM.

         P: CONTINUE TO MONITOR, MONITOR FOR SIGNS OF SELF HARM. NOTIFY MENTAL HEALTH OF
         ANY CHANGES/




        £~Signed by Lawrence Divita n 07()4/2015 05:_03 PM EST                                                                             Pagel of I




                                                                                                                                  MCCI MED RECORDS 158
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 165 of 486 PageID: 844




   Monmouth County                                           Infirmary Progress Notes
   Monmouth Adult(MCCI)                                         FOR ihlFIRMARY USE ONLY
   1 wateIWOrlf:$ rolld
   FreMald, NJ07128




                                                                                                                711,'2015 S:00:00   7/31/2015 7:59:00
   thiamine HCI 100-mg tabret                                   LOO tablet      Monmouth Facility: Q AM
                                                                                                                AM                  AM
                                                                                                                7i2/2015 8:00:00    9!30/2015 7:59:00
   Zoloft (Sertraline} SO mg tablet                             1.00 t;.IJlet   Monmouth Facility; QAM                              AM
                                                                                                                ft.M
   albuterol rnftate 2,5 mg/3 ml ID,083 %) _solution for        1,00            Mpnmouth Faci!it}': Every 3     711/2015 2:00:00.   12/28/2015 1:59:00
   nebulization ·                                               mHIJl\ter       hours                           PM                  PM
                                                                                Monmouth Facmty:. BID AM & 7/10/2015 7:00:00        7/20/2015 6;59.:00
   Naprosyn (Naproxen} 500 mg tablet                            1.00 tabfet                                                         PM
                                                                                HS                         PM

    Patient Problems:
    Observed                                                                                                   Confl,med By
    Date             Category         Type                      Problem
                                      PSYCH: Substance          Al    h /Ab
    06-30-2015 Ac/Jle
    06-30-2015 Chronic
                                      Abuse
                                      RESP: Asthma
                                                                  co o    use
                                                                Asthma Not Othe1wise Specified
                                                                                                                                                           i
                                      PSYCH:                    Unspecified Major Depression,
    06-30-2015 Acute
                                      Depression                Recurrent Ee1cc·s-"od"-e"----------
    Patient Allergies:
    [ g~~erved·-,---T-y-pe_ _ _ _ _ _ _ _A_/l-e~-g-y-

    I06-30-2015 Allergy Items                              _ No Known Allergies
    D    Vital Signs Taken
    Patient Vitals:
       Observed Blood .... '"                           Pulse             Resp. Rate Temp  Pulse Ox           Weigh/
    Ip'--a:::l.::e_ _ _.cP.c1.::·e.::ss:::u:::~.::e__ •.••.. - ., .....,, ___ ., _____________
                                                                                                                             BM/            .. ____ J


            Added 07f14!201510:33AM EST bykFacklna ~PN                 f-----------------------~                                                           ,·
      S) no medical complaints
      OJ a&a. med compliant with adequate pointake.
      A) on c1v due to si, no a/tempts.
      P) will conUnue to monitor.




      E-Signed by Kathryn Fad.tnn11 07/t-'1/2015 10;33 AM BST                                                                              P;ige I of I_




                                                                                                                                MCCI MED RECORDS 159
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 166 of 486 PageID: 845




   Monmouth C-ounty                                          lnfinnary Progress Notes
   Monmouth Adult {MGCI)
   1 war~o11<S roBd
                                                              FOR INFIRMARY USE DillY
   Frnef10Jd, NJ0'1128




                                                                                                           7il/2015 8!00:00     7/31/2015 7:59:00
   thiamine: HCI 100 mg tablet                                 1.00 tablet   Monmouth focility:-QAM
                                                                                                           AM                   AM
   albuterol rnrtate 2,5 nig;3 mL (0,083 %] rnlutron for                     Monmouth Fac111ly: Every3     7/1/2015 2:00:00 PM ~f:,2o/20lS l:S 9 ~o
                                                               1,00
   nebulization                                                milliliter    hours

   Naprosyn (Nai:iroxenJ 500 mg tablet                         LOO tablet    Monmouth Fad!ity: B!D AM & 7/10/ 20l S 7 :oo:OO    7/20/2015 6:59:00 PM
                                                                             HS                            PM
                                                                                                           7/15/20.1.58:QO:OO   10/13/20.15 7:59:00
   Zoloft (S,ertra!lne) 100 mg tablet                          1.50 tablet   Monmouth Facmty: Q AM
                                                                                                           AM                   AM
   Patient Problems:
    Obse,ved
                      Catego1y Type                            Problem                                   Confirmed By
    Date
    06-30-2015 Acute      PSYCH: Substance Al h I Ab
                                        Abuseco o    use
   06-30-2015 Chronic     RESP: Asthma     Asthma Not O/henvjse Specified
                          PSYCH:           Unspecified Major Depression,
   06-30-2015 Acute                                                       Janice Burrier·
   ~ - - - - - - - - ~ - ~De
                           ~~ression
                                ~--~~~     Recurrent
                                             ~ ~ ~Episode
                                                     ~~----------·-··· ------
   Patient Allergies:

   •1gz~erved        Type                                  Allergy
   ~·0~6-_3~0~-=20~1=5~A=ll=er=g~v=l=te=m=s~-----=N~o~Ki=no~w=n=A=l=le=rg~i=es~--------- _ -·-···- . - - - - - ~
    D Vital Signs Taken
   Pa/jenl Vitals:
   !bbseive,r .a100,T                    . ·- ------ . ---- ·----                                                               .... ,. __ 7
   IDate__          _P_re_s_su_re
                               ___P_u_1s_e_ _R_e_sp_._R_a_te_1'_e_m_P___P_u_1s_e_o_x__Wejght                           B_M_l_ _ _              j
            Added 0711612015 12:1~ AM ESTby_i,,usi,eJI l.,PN          r-----------------------~
     &- No cnmplaints voiced
     0- Resting on rounds, no distress or self harm noted
     A- On CW for Sil, no self ham1 attempts since placement
     P- Continue lo mom1or                                                                                                                             i-




    E-Signed by Heather RU.~.sell n.o?/16/201512:39 AM EST                                                                            Pa~e ! of I




                                                                                                                              MCCI MED RECORDS 160
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 167 of 486 PageID: 846




   Monmouth County                                              Infirmary Progress Notes
   Monmouth Adult (MGCJ)
                                                                 FOR lNFlRIAARY USE ONLY
   1 woterwork$ road
   Freehold, MJD7728




                                                                                                                     7/1/2015 8:00:00     1/.31/2015 7:59:00
   thiamine HCI 100 mg 'tablet                                    1.00 tablet     Monmouth i::aciltty; Q Ar-..•1
                                                                                                                     AM                   AM
   a!buterol rnlfate 2.5 mg/3 ml j0.083 %) rnrut!on for           1.00            Monmouth facmty: Every3            7/1/2015 2:00:00 PM ~~~23/20151:59:00
   n~u!tz.atton                                                   mllllliter      hours

   Naprosyn (NaproxenJ.500 mg tablet                              1.00 t.iiblet   Monmouth facllity: BID AM & 7/10i20lS ?:OO:OO           7/20/2015 6:59:00 Pl\•1
                                                                                  HS            .                     PM
                                                                                                                      7/15/2015 8:00:00   10/13/2015 7:59:00
   Zoloft (Sertraline) 100 mg tablet                              1.50 tabh::t    Monmouth Facility: Q AM
                                                                                                                      AM                  AM

   Patient Problems:
   jObserved
   1Date               Category Type                              Problem                                            Confirmed By

    06-30-2015 Acute                   ~:::;,~H: Sub& tance Alcohol Abuse
    06-30-2015 Chronic               RESP: Asil1ma                Asthma Not Othenvise Specified
                                     PSYCH:                       Unspecified Major Depression,
    06-30-2015 Acute                                                                             Janice Buttler
                                     pep[ession                   Recurrent Episode
   Patient Allergies:
   Ig~~erved           Type                                 Allergy                                                          . - - ·-- ---     --1
   i 06-30-2015        Allergy Item,;__ ... ·-· ·--·---~N~o~K~n~Ol~V~n~A~/le=~=g~ie~s_ _ _ _ _ _ _ _ _ _ _ _ _ _ _~I
    GZI Vital Signs Taken
   Patient Vitals:
       ohserved aiaod ----               Pulse        Resp. Rate Temp                        Pulse Ox              Weight        BM/
       oate          Pressure
   07-15-
   2015
   04:43 PM 1021132      55      18        98.00
   EST
   = " - ' - - - - - - - - - - - - - - - ---- - - · · - - - - - - - - - - - - - - - - ~

              Added 0711&2015 07:20PM EST byyever,on LPN                f-----------------------.
       /Im had 110 c/o earlier in shift, later on c/o of pain. Alert and orien/alBd, ale most of dinner. Relaxing in cell
       /Im seems calm and comfortable at this time, no suicidal ideation or gestures
       Medicated for pain as prescribed,
       Continue to monitor and assist as needed.




       E~Signc<l by Yvette Everson n 0?/15/201"5 07:20 PM EST                                                                                   Page 1 oft




                                                                                                                                        MCCI MED RECORDS 161
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 168 of 486 PageID: 847




   Mohmouth Cotlllty                                         Infirmary Progress Notes
   MonmoLJth Adult (MCC'1                                         FOR UIRRMARY USE ONLY
   1 waterworlrs mad
   Freehold, NJ01728
                                                                        Booking Number
                                                                        3279258                                                                             I
                                                                                                                                                            I
                                                                                                               7 /ll2015 8:00:00     7/31/2015 7159:00
   thiamine HCI 100   m9 tablet                                   1.00 tablet     Monmouth facility: Q AM
                                                                                                               AM                    AM
   albuterol sulfate 2.5 mq/3 ml (0,083 %) rnlutlon for           LOO             Monmo\Jth Facmty: EveP/3                                      9
                                                                                                               7/1/2015 2:00:00 PM i~;W/20lS l:S :00
   nebulization                                                   milliJiter      hours
                                                                                  Monmouth fad!lly1 BID AM & 7/10/.20lS 7 :00:00     7 /20R015 6159:00 PM   i ;"
   Naprosyn \Naproxen) S:00 m9 tablet                             1.00 ~ablet     HS                         PM
                                                                                                             7/15/2015 8:00:00       10/13/2015 7:59:00
                                                                  1.50 tabli:-t   Monmouth Facility: Q AM
   Zoloft (Sertraline) 100 mg biblet                                                                         AM                      AM                     ,·.
   Patient Problems:                                                                                                                                        I
                                                                                                                                                            !
     Obse,ved                                                              Confirmed By
                Category Type              Problem
     Date
     06-30,2015 Acute    PSYCH: Substance Al I /Ab
   i                     Abuse                co 10            use
   i06-30-2015 Chronic RESP: Asthma        Asthma Not Otherwise Speciffed
   i06-Jo. 2015 Acute    PSYCH:            Unspecified Major Depression, Janice Buttler
   ,              ____D~e,pression ·-·   ..fi~_C._l!,iJf!.(l_t ~PL~~d__e._
   Patient Allergies:
    Observed
    Dale              Type                                 Allergy
    06-30,2015 Allergy Items                               No Known A/le~r~,"'-e"-s____________
    □   Vital Signs Taken
    Patient Vlra/s:
   !Observed          Blood                                                                                  Weight         BM/
    IDa.:.:tec__ _ __:_P_:_re.:cs=:s:::u::_re::____P_u_ls_e_ _R_e_s_p_._R_at_e_T<_e_m_P___P
                                                                                          __u_lse Ox

            Added07f1512015f1:22AMESTby i<FacklnaLPN 1 - - - - - - - - - - - - - - - - - - - - - - "

      S) no medical complaints
      OJ a&a. med compliant with adequate po intake.
      A) 011 c,v due lo si. contfnues to aver. no attempts.
      P} will continue to monitor.
                                                                                                                                                                I:




     E-Signcd by Katltryn F'11cJ.:inn n 07/15/2015 11:22 AM-EST                                                                            Page I of 1




                                                                                                                                   MCCI MED RECORDS 162         [..
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 169 of 486 PageID: 848




   Monmouth County                                             Infirmary Progress Notes
   Monmouth Adult (MCCIJ                                        fOR INFIRMARY USE OIKY
   1 wate.1v10rks toad
   Freehold, NJ07728




                                                                                                                    111.1201s a:oo:oo   7/31/2015 7:59:oo
   t~lamlne HCI 100 1119 tabl-et                                 1.00 tablet   Monmouth Facil!ty; Q AM
                                                                                                                    AM                  AM
   a!buterol sulfate 2.5 mg/3 ml (0,083 %} iolutlonfor           1.00          t,,,Jonmouth Facfllly: Evi!!'Y 3     1!1/2015 2:00iOO PM ~~:,W/20l.S l.:S9 :00
   ne:bullrntion                                                 milliliter    hour~
                                                                               Monmouth Facility: BID AM & W.0/20lS ?:OOiOO              7/20/2015 6:59:00 PM
   Naprmyn iNaproxenJ 500 mg tablet                              1.00 tabfet   HS                          PM
                                                                                                                    7/15/.2015 8:00:00   10/13/2015 7:59:00
   Zoloft {Sertra!ine} 100 mg tablet                             1,50 tablet   Monmouth Facl!rty: Q AM
                                                                                                                    AM                   AM

   PaUent Problems:
    Observed
                      Category Type                              Problem                                           Confirmed By
    Date
    06-30-2015 Acute                   ::~H: Suba tance Alcohol Abuse
    08-30-2015 ChronicRESP: Asthma                              Asthma Not Olhe11vise Specified
    06 _30_2015 Acute PSYCH:                                    Unspecified Major Depression, Janice Butiler
      _ _ _ _ _ _ _ _Depression.....                       . .. Recum,11/ Episode ... ···········---·-· ....
   Patient Allergies:
    Obse,ved
    Date
                 Ti
                  ype
   _0~:!J0:2_Q15 Allergy I/ems
    D Vital Signs Taken
                                                          Allergy
                                                          No Known Allergies                                                                     7
   Patient Vitals:
    Observed          Blood
   I,Date             Pressure
                                           Pulse       Resp. Rate Temp                      Pulse Ox              Weight         BM/

            Added 07111!/201/! 10:07 PM EST byyeverson LPN             1----------------------~
      ifm refused having his vital signs taken. lfm lays behind his bunk ,vi/h mattress on floor and blanket over his
      head.
      Jim Is alert, orientated. No suicidal idea/ions or gestures. Ate all his dinner
      Will continue to monitor and assist as needed.




                                                                                                                                                                I
                                                                                                                                                                i




     E-Signcd by Yvc1tc Uvcrsml n 07/16/2.015 10:07 Prvf EST                                                                                    P3ge l. of I




                                                                                                                                    MCCI MED RECORDS 163
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 170 of 486 PageID: 849




                                                                                                                                                             !·
                                                                                                                                                             I

   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult {MGGI)                                        FOR ltfflRMARY USE OHLY
   1 waterworf<S road
   Freehold J NJ07728
                                                                       Booking Mumbl':r                 Bffth D&k:
                                                                       3279258                          12/26/1975



                                                                                                               . 7/1}2015 8:00!00     7.81/2D15 7:59:00
   thiamine HCI 100 mg tablet·                                   LOO tablet Monmouth FadHty: Q AM
                                                                                                                 AM                   AM
   altiuterol sulfate 2.,5 mg,13 ml (0,083 %) ~olutlon for       LOO           Monmouth fadffty: Every 3                                2812015    9
                                                                                                                 7i1/2015 2;00:00 PM ~;.:;      i:S :00
   nebutizatlon                                                  mmmter        hours

   Naprosyn (Naproxen] 500 mg tablet                             LOO tablet    Monmouth Fae:ility: BID AM B:. ?/i0/20iS ?~OO:OO       7/20/2015 6:59:00 PM
                                                                               HS                                PM
                                                                                                                 7/15/1015 8:00;00    10/13,'2015 7:59:00
   Zoloft (5ertraline) 100 mg tablet                             1.50 tablet   Monmouth Facility: Q AM
                                                                                                                 AM                   AM

   Patient Problems:
   ~~-----------------·---·-··--·--·
    Obse,ved
    Date              Ca/-egory Type                             Problem                                       Confirmecf By

    06-30-2015 Ac11te
                                                        t 11
                                       ',:.};::;,~: SubS a ce A/coho/Abuse
    06-30-2o-t 5 Chronic               RESP: Asthma             Asthma Not Othe11vise Specifier!
   06-30-2015 Acute PSYCH:                                      Unspeciflecf Major Depression,                       Janice Buttler
   ~-------~Depression                                         .. -'-R,,ec-cecuecrr"e'-'n'-t.,E,cPecis., oo,do.e_________
   Patient Allergies:
    Obse,ved          T
    Date                ype                                  Allergy
   "0,.-6c:,-3c,0co-2e,0'-'1-"5~Aeclle,e"-"-''-''"'/e"-'m-'-'s'----~ _No Known Allerg~ie~s_ _ _ _ _ _ _ __
    D   Vita/ Signs Taken
   Patient Vitals:
   ;Obse,ved           Bloor!                                                              Pulse Ox          Weight            BM/
                                            Pulse        Resp. Rate Temp
   !Date_              Pressure

            Added07/16/201512:19 PMEBTby.kFsckina LPN                  >--------------~-------~
      S) no medical complaints
      OJ a&a at rou11ds. mer! compliant with adequate po intake.
      A) on cw cfue to si. continues to aver. r,o attempts.
      P) will continue to monitor.




     E-Signed hy Kathryn Fackina n 07/16/2015 1.2:D PM EST                                                                                   Pnge I of I




                                                                                                                                    MCCI MED RECORDS 164
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 171 of 486 PageID: 850                                                                           i




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MGGI)                                        FOR RJARMARY USE ONLY
   1 waterworks road
   Freehold, NJ0172B
                                       Patient Number                  Booking Number
                                       2{i181                          3279258



                                                                                                             1 ,11201s   s:oo:oo     7131/2015 7:59:00
   thiamine HO 100 mg tablet                                    LOO tablet Monmouth Facility; Q AM
                                                                                                             AM                      AM
   albuterol ~urfate 2,5 mg/3 ml (0.083 %) solution for         1.00          Monmouth Facl!lty: Every 3     7/1/2015 2:00:00 PM ~~S/20iS t:S 9 :00
   11ebulization                                                milliliter    hours
                                                                              Monmouth Facility: BID AM & 7 /10i2015 7:-00:DO
   Naprosyn (NaproxenJ S00 mg tliblet                           1.00 tablet                                                          7/20/201S 6:59:00 PM
                                                                              HS                          Pl'I,\
                                                                                                             7/15/2015 8:00\00       10/13/2015 7:59:00
   Zoloft {5ertrafine) LOO mg tablet                            1.50 tablet   Monmouth Faclllty: Q AM
                                                                                                             AM                      AJ>.4

   Palient Problems:
   iObserved
                  Category Type                                 Problem                                     Confirmed By
    Date
    06 _30-2015 Acute      PSYCH: Substance
                           Abuse
                                                                A' h /Ab
                                                                 rco o    use
    06-30-2015 Chronic     RESP.· Asthma                        Asthma Not Otherwise Specified
    06-30-201S Acute       PSYCH:                               Unspecified Major Depression, Janice Bu/lier
   ~-------··[_)epre.ssion                                      Recurrent Episode
   Patient Allergies:

   ~6-~.r3:0""-·2··e0d1·5···A~~l;e:y-/!-em-s-----A-lt-en-g-y----·•·-·-·--·-·-· _________
   Ioi                 ,   ~'L                            No Known Affergje_s,. ··-··· -·-·--
    □    Vital Signs Taken
   Patient Vitals:
   =~-~-~~---------··-··········•·-··
   IIQ.ale
     Ol>served        Blood             Pulse Resp. Rate Temp Pulse Ox
                      Pres-"s-'-urc.ce_______________·······,--···.
                                                                                                           Weight           BM/
                                                                                                                                                  _J
                                                                                                                                                    i
            AddedO?lf8/201512:J7 AMESTQydvelarcl/LPN · ~ - - - - - - - - - - - - - - - - - - - - - ~

     S- No complaints voiced
     0- Resting 011 rouncis-a/etf-no distress or self harm noted
     A- On CW for SIi, no attempts since placement
     P- Continue to monitor




     E.,Signed by Debornh Vcl:m:li n -07/18/2015 12:37 AM EST                                                                                Page I of l




                                                                                                                                   MCCI MED RECORDS 165
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 172 of 486 PageID: 851




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MCCI)                                      FOR INFIRMARY USE ONLY
   1 wate.rworlrs road
   Freehold, NJD77211
                                        Patlent Number
                                        26184



                                                                                                          7 ;1/2015 8:00:00      7/31/2015. 7:59:00
   thiamine HCI iOO mg tablet                                 1.00.tabld    Monmouth Facility; Q AM
                                                                                                          AM                     AM
   albuterol rnlfate 2.S mg/3 ml (0,083 %] rn!utlon for       1.00          Monmouth Facility; Every 3    7/lR0lS ?•Q0·OO PM 12/28/20.151:59:00
                                                              milllllter                                      1"'-   _,   •      PM
   nebulization                                                             hour~
                                                                            Monmoiith F.idlily; BID AM & 7!10/20lS J:OO;OO       7i20/2015 6:59:00 PM
   Naprosyn {Naproxe.n) 500 mg tablet                         1,00 tablet   HS
                                                                                                           PM
                                                                                                           7/15/2.015 8;00;{10   10/13/2015 7:59:00
   Zofoft {Sertraline) LOO mg tablet                          1.50 tabld    Monmouth Facility: Q AM
                                                                                                           AM                    AM
   Patient Problems:
    Observed                                                                                              Confirmed By
                     Category Type                            Problem
    Date
    06.J0-2015 Acute                   :i::s~H: SubSlance Alcohol Abuse
    06-30-2015 Chronic     RESP: Asthma                       Asthma Not Otheiwise Specified
      _ _      Acute       PSYCH:                             Unspecified Major Depression, Janice Bult/er
    06 30 2015
   ~ - - - - - - - · · · · Depression                         Recurrent Episode
   Patient Allergies:
   i Observed  17ype                                      Allergy
   'Dale
   I06-30-2015_Allergy Items                              No Known AllergLe_s        '   ........   -·---------------
                                                                                                                                              I
                                                                                                                                         ____ J



    □ Vital Signs Taken
   Patient Vitals:
   iObserved          Blood                                                                                               BMI
                                                                                                                                              1

   i~D_a_te____P_re_s_su_n_e___P_ul_s_e__~e~~:-~8.t:_ ~:m_P_ _ _P_u_is_e_o_x_ _w_e_ig_h_t_______                                              I
        -   Added07/174D15 07:16 PMESTbykyeagerLPN f - - - - - - - - - - - - - - - - - - - - - ~

     S- IM slated" Dant worry about it' (when asked if this writer could check his vitals) IM also stated, 'Im still
     depressed" when asked if he wanted to hurt himself, IM never verbally stated any SIi
     0- /M refused VIS. IM sitting on floor most of shift and talked wilh staff during rounds
     A- IM in CM! for Sil
     P- Will continue to monitor for any changes in behavior




     E-Signed by Kimberly \'eugern 07117/2015 07: 16 PM EST                                                                            Page I ofl




                                                                                                                              MCCI MED RECORDS 166
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 173 of 486 PageID: 852




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult (MCCI}                                        fORINflRMARY USE ONLY
   1 watt!rworks road
   Freehold, NJ077'2.8
                                                                                                    Birth Dfite            Date or Servrce
                                                                                                    12/2611975             7/17/2016



                                                                                                            711)2015 8;00:00       7131/2015 7:59:00
   thiamine HCI 100 mg tabft"t                                  1.00 tablet   Monmouth Fadlfty; Q AM        AM                     AM                    .
   albute.rof rnff;ite 2.5 mg;3 ml (0.083 %} so{utlon for
   nebulizatlon
                                                                 1.00
                                                                 ml!lillter
                                                                              Monmouth Facility: Every3
                                                                              hours
                                                                                                            7/1i2015 2:00:00 PM    ~f~   2Si20lS t:S 9 :GO


                                                                 LOO tablet Monmouth raclllty: BIO AM     & 7/l0/ 20lS   7:00:00   7/20/2015 6:59:00 PM
   Napros-yn {NaprnxenJ 500 mg tabli!t                                                                       PM
                                                                              H5
                                                                                                             7/15/2015 8:00:00     10/13i2015 7:59:00
   Z.::ilott [Sertral!nc) too mg tabl.:'t                        1,50 tablet Monmouth Facility: Q AM         AM                    AM

   Patient Problems:
        Observed                                                                                           Confim,ed By
                        Category            Type                Problem
        Date
        06-30-2015 Acu'e
                      ti
                                            PSYCH: SubS/ance Alcoh o/Ab use
                                            Abuse
   !I   06-30-2015 Chronic                  RESP: Asthma        Asthma Not Otherwise Specified

   10_fl-3~~2~_1ii -~-:"1: _____ ~!;~~ion                       ~~5/u':),~~~~:i°Je      Depression,        Janice Bufiler

    Patient Allergies:

   fobserved            Type                                 AIJ
   !Date                                                        ergy
   i06-30-2015          Allergy l"'te=m=s~------- .No Known Allergies
        D   Vital Signs Taken
    Patient Vitals:
   I Observed            Blood
                                                Pulse       Resp. Rate Temp             Pulse Ox          Weight           BM/
   IDate                 Pressure

              Addod07l17f201512:21 PMESTbykFacklna LPN                  1----------------------~

         S) no complaints
         0) a&a. med compliant with adequate po intake.
         A) on cw due to si. no attempts.
         P) will cantirwe lo monitor.




                                                                                                                                                             i
                                                                                                                                                             '·




        6-Signed by Kathryn Hickina n 07/11/2015 11:21 PM EST




                                                                                                                               MCCI MED RECORDS 167
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 174 of 486 PageID: 853




  Monmouth CoCinty                                          Infirmary Progress Notes
  Monmouth Adult (MCCI)                                        FOR INFIRMARY USE ONLY
  1 waterworlcs- road
   Free.hold, NJ07728
                                                                                                                          D&te Of service
                                                                                                                          7iH/2016


                                                                                                              Jjt/2015 8:00:00     7/31/20151:59:00
   thiamine HCI 100 mg tablet                                   1.00 tablet    Monmouth Fiicility: Q AM·
                                                                                                              AM                   AM
   albuterol sulfate 2,5 m913 ml (0,083 %) rnlution for         1.00           Monmouth FadlitiJ: Every 3     7/l/.2015 2:00:00 PM ~~128/20.15 L:59:00
   nebulization                                                 milllllter     hour~

   Napros}'n (NaproxenJ 500. mg tablet                          LOO tablet Monmouth f<ldlii;yl BID .AM & ]/l0/20lS 7 :00:00        7120/2.015 6:59!00 PM
                                                                           HS                            PM
                                                                                                              7/15/.2015 8:00;00   10/13/2015 7:59:00
   loloft [ScrtrallmJ 100 mg tablet                             l..50 tablet   Monmouth Fac!Uty: Q AM
                                                                                                              AM                   AM·
   Patient Prob/ems:
   !Observed
                     Category Type                              Problem                                      Confirmed By
   'Date
    06-30-2015 Acute
                                                       t
                                      ~[;;,H: SubS ance Alcohol Abuse
    06-30-2015 Chronic                RESP: Asthma                Asthma Not Othe1wise Specified
      _ _      Acute                  PSYCH:                      Unspecified Major Depression,                    Janice Buttler
    06 30 2015
   '------------~D~e=re"'s~s~io~n~                             .. flc=ecccccurc.crccen"'t"E,°'p~i~so~d~e~ _ _ _ _ _ _ _ _ _ _ _ _ _ _~
   Patient Allergies:
    Observed         T
    Date              ype                                  Allergy
    06-30-2015 Allergy_ /l~e~m~s~----~N~o~Ki~no~1•~n~A~!~le~rg,cie~s~_
    □ Vital Signs Taken
   Pauent Vitals:
    Observed BloocF                                                                                                       BM/
    D t      Pressure                     Pulse        Resp.     Rate Temp               Pulse Ox           Weight
   ~ ae _ _         -'.-'==-"------------------
            Added07!17!201502:18AMESTby~russellLPN ' - - - - - - - - - - - - - - - - - - - - - - -

     S- No complaints voiced
     0- Resting on rounds, no distress or self harm noted
     A- On CW for SIi, no attempts since placement
     P- Continue to monitor




     F>Signcd by Hci1thcr R11s8dl n 0'1117/2015 02:18 AM £ST                                                                             Page I ofl




                                                                                                                                 MCCI MED RECORDS 168
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 175 of 486 PageID: 854




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult {MCCI)                                          FOR INFIRMARY USE ONLY
   1 wateJworks road
   Freehold, NJU772B
                                                                                                                           0,,/e Of service
                                                                                                                           7i1Bf2015



                                                                                                               7/1/201S 3:00:00     1/31/2015 7:59:00
   thiamine HCI 100 mg tablet                                     1.00 tablet   Monmouth facility; Q AM
                                                                                                               AM                   AM
   albuterol sulfate 2.5 m913 ml (0,083 %) solution for           LOO           Monmouth facility: Every 3     //112015 2:00:00 PM ~~tl/2015 1:59:00
   nebullzatlon                                                   milliliter    hours
                                                                                ·Monmouth Facility: BID.AM & 7110/2015 7:00:00
   Naprosyn fNaproxerl) soa mg tab_fet                            t.OO tablet                                                       7/20/2015 6:59:00 PM
                                                                                HS                             PM
                                                                                                               7/15/201 S 8:00:00   10/13/1015 7:59:00
   Zoloft (Seitrallne) 100 mg tablet                              1.50 tablet   Monmouth Facility: Q AM
                                                                                                               AM                   AM

   Patient Problems:
   i Observed Category Type                                       Problem                                     Confirmed By
   toate
         06-30-2015 Acute     PSYCH: SubSlance                    Al h 0 I Abuse
                              Abuse                                 co
   f,.




   ioB-30-2015 Chronic RESP: Asthma                               Asll1ma Not OU1e11vise Specified
   i,06-30_2015 Acute         PSYCH:                              Unspecified Major Depression, Janice Buttler
   '···-··-· ··-  ----~D~e~p~re~s~s~io~n~                         Recurrent Episode
    Patient Allergies.-

   [i~::!:_5_A_T:_:_;_qv-lt-em_s_ _ _ ____ ::e;-::-o-1vn_A_ll_e_rg-ie-s---~ ----·-: ..:_-:_.·___-_····_--_-_-._ _

         □   Vital Signs Talren
     Patient Vitals:
                                                          Resp_ Rate Temp                  Pulse Ox          Weight
                                                                                                                                                II
                                             Pulse

               Addea07/19/201512;58AMESTbyhrussel/LPN.                 f----------------------~
         S- No complaints voiced
         0- Resting on rounds, no distress or self hanri noted
         A- On CW for SIi, no attempts at self harm since placement
         P- Continue to monitor




         E•Signed by Heather Ru~sell n 07/19/201-5 12:58 AM EST                                                                           Page I of I




                                                                                                                                  MCCI MED RECORDS 169
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 176 of 486 PageID: 855




  Monmouth Coun-f;y                                         Infirmary Progress Notes
  Monmouth Adult (MCG()
                                                                 FOR INFIRMARY USE OIJLY
   1 wate,works road
  Fr'iehold, N.JfJ7728




                                                                                                             7/1/2015 8:00:00     7/31/2015 7:59100
   thiamine HCI 100 mg tablet                                    1.00 tablet   Monmouth Facility; Q AM
                                                                                                             AM                   AM                     ' -
                                                                                                                                                         !-
   afbuterol n.1tfate 2,5 mg/3 ml (0.033 %} rnlution for         LOO           Monmouth facility: Every3     7il/2015 2:00:00 PM t;,~28/20151:59;00
                                                                 mllllliter    h.our~
   nebu!ization

   Naprosyn {Naproxen) 500 mg tilblet                            1.00 tablet
                                                                               Monmouth Facility: 810 AM &. 7/10Jl015 7:00:00
                                                                               KS                            PM
                                                                                                                                  7/20/2015 6:59:00 PM   ii
                                                                                                             7/15/2015 8:00;00    10/13/2015 7:59:00
   lo.loft {~ertraline} 100 mg tablet                            LSO tablet    Monmouth Facility: Q AM
                                                                                                             AM                   AM
   Patient Problems:
   -------·-------------------------------------- - - - - - - - - - - ~
   !Obse,ved
   iDate         Category Type Problem             Confilmed By

   !06-30-2015 Acute                    '.:;;:J's~H: SubSlance A/coho/Abuse
   !06-30-2015 Chronic                  RESP: Asthma             Asthma Nol Olhe,wise Specified
   '                                    PSYCH.-                  Unspecified Major Depression,
   l'---------===="'-------'--===-=-==-----------------
     06-30-2015 Acute                   Depressioa               Recurrent Episode              Janice Buttler

   Patient Allergies:
   , Observed     T
   loate            ype                      Allergy
   i   06-30-2015 All'![g_y_~lte=m=s_ _ _ _ _~N~o~Ki=n~o~w=n~A=ll~e"=g=ie~s_ _ __
       D Vital Signs Taken
   Patient Vitals:
   ~~--~~~~--------·-~--------·-
   l Observed           Blood
   '                                        Pulse       Resp. Rate Temp                  Pulse Ox          Weight        BM/
   i_Date_,,,--.---~"- P r e s s u r " e - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ~ - - j
              Added07118/201509:0iPMEST6ykyeagerLP/v ' - - - - - - - - - - - - - - - - - - - - - - - -

        S-JM voiced no complaints
        0- IM refused vis but ,vas compHanf with meds. im sitting on mattress on floor_ IM compliant with intake_ fM did
        not answer either way when asked if he wanted In hurt himself no labored breathing no cfo pain_
        A- Im in CW for Sil
        P- Will continue to monitor for any changes in behavior




       E--Sig11ed by Kimlx\rly Yeagern 01/lS/20lS 09:07 PM EST                                                                          Page l'ofl




                                                                                                                                MCCI MED RECORDS 170
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 177 of 486 PageID: 856




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MGCI)                                      FOR INFIRMARY USE OllLY
   1 waterworks road
   Freehold j NJD7728
                                                                     Booking Number
                                                                     3279258



                                                                                                              7/1/2015 8:00:DO    7/31/2015 7:59:00
   thlal'lline HCI 100 mg tablet                              1.00 tablet   Monmouth facility; Q AM
                                                                                                              .~M                 AM
   albuterol ~Ulfate 2,5 mg/3 ml (0.083 %) ~olutlon for       1.00          Monmor.Jth fac!lity: Ev~r,; 3     7/1/2015 2:00:00 PM ~:.~28/20151.:59:00
   ne.bullz.ation                                             milliliter    hour.a;
                                                              LOO tablet    Monmouth Facility: BID Atvf & J/10/ZOlS ?:OO:OO       1/20/2015 6:59:00 PM
   Naprosyn (NaproxenJ 500 mg tablet
                                                                            HS                                PM
                                                                                                              7/15/2015 8:00:00   10t'13/2015 7:59:00
   Zolo~ [Sertralil"!e} 100 mg tablet                         LSO tab!;,t   Monmouth Facility: Q AM
                                                                                                              Al\•1               AM

   Patient Problems:
    Obse1ved                                                                                                 Confirmed By
                      Category          Type                  Problem
    Date
    06-30-2015 Acute  PSYCH: Substance Al h I Ab
                      Abuse                                   co o       use
   06-30-2015 Chronic  RESP: Asthma                        Asthma Not 0/11e1wise Specified
      _ _     Acule    PSYCH:                              Unspecified Major Depression,   J                     . B HI
   06 30 2015
   L __ _ _ _ _ _ _ _.,,D,,,e=ree,s...,s,,,io,,_n.____ _ ___,Rec~(ff)Jll Epi~q[i?__ ______                  ---~mce_ u er
    Patient Allergies.·
   r-observed  T
   'Date        ype                                       Allergy
   I06-30-2015 Allergy Items _____ _                      .N.o Known Allergies __
    ~ Vital Signs Taken
    Patient Vitals:
    Observed Blood                                                                                                        BM/
                                          Pulse     Resp. Rate Temp                   Pulse Ox              Weight
    Date     Pressure
    07-18-
    2015                                            16                97.10
             118176                       65
    08:00 AM
     EST
     ··-·-·····--·----· ·····-·----·--··~·- ..,
             Addecl07f1/i/20ji511:WAME.STbyXyeagerJ.PN.J----------------------~

       S- /M slated, "Alright' when asked how he was doing
       0- IM compliant with VIS. IM compliantwith intake and medicaUon. IM sitting on floor in cell. NO Suicidal
       a/tempts made
       A- IM in CIW for SIi
       P- Will continue to monffor




       E-Sfgned by Kimbrrly Yeagcrn 07/fS/2015 11:20 AM EST                                                                              P:tge 1 oJ' I




                                                                                                                             MCCI MED RECORDS 171
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 178 of 486 PageID: 857




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Aciuft (MCCJ)                                       FOR INFIRMARY USE ONLY
   1 vmtruvtorks road
   Freehold, NJ07728
                                                                                                                            Date Of SeN/ce
                                                                                                                            7ii9i2015


                                                                                                               111,1201s a:oo:oo     7/31(2015 7:59:00
   thlarnine HCI 100 mg tablet                                   1.00 tablet Monmouth Fi;1cilily, Q Ar-.,1
                                                                                                               AM                    AM
   albuterol 5Utfate 2.S m_g/3 nil (l},083 %) solution for       1.00          Monmouth Facifily Every 3       J/1/20lS l:OO:OO PM 12/28/20151:59:00
   ne:butlzat!on                                                 milliliter    hours                                                 Pf',·1
                                                                               Monmouth Facllity; BID AM & 7/10/2015 7:00:00
   Naprosyn (Naprnxen.} 500 mg tablet                            1.00 tablet                                                         7/20/2015 6:59:00 PM
                                                                               HS                               PM
                                                                                                               7/15/2015 8:00:00     10.t.l3/Z01S 7:59:00
   Zoloft (Sertraline} 100 mg tablet                             t.50 tablet   Monmouth Facility: Q AM
                                                                                                                AM                   AM

   Patient Problems:
    Ol>se,ved
                      Category Type                             Problem                                       Confirmed By
    Date
    06-30-2015 Acute                   ~fJs~H: SubS tance Alco/Jo/ Abuse
    06-30-2015 Chronic
                  RESP: Asthma                                    Asthma Not Otherwise Specified
      _ _      Acute
                  PSYCH:                                          Unspecified Major Depression,           Janice Butlfer
    06 30 2015
   ~--------·_Depcession                                     .... B'!current Epe!:iseoo<>d,,e,__ _ _ _ _ _ _ _ _ _ _ _ _ __
   Patient Allergies:


   rg}t~~~5 -~:;~v,;e:~-------                               Allergy
                                                             No Known Allergies
    [,2] Vital Signs Taken
   Patient Vitals:
    observed ·aiaoci · ···· ·            Pulse         Resp. Rate Temp                   Pulse Ox            Weight        BM/
    Date            Pressure
    07-19-
    2015                                                                98.30
    10:21 PM 104/67                      54            16
   ,EST

             M<iedO_l!J9!201510:<2PMEST_bycsmalls L P N ! - - - - - - - - - - - - - - - - - - - - - - - - ,

       S- • I suffer from depression•
       0- No self injury noted or reported, po intake good. Naprasyn given as ordered for c/o baclc pain
       A-Inmate housed in constant watch seconda1y to suicidal ideationb
       P- Conlim1e to monitor until cleared per MH




       E-Sigm:d by Cherie Smalls n 07/19n0J5 10:22 PM EST                                                                                     Page· I of I




                                                                                                                                   MCCI MED RECORDS 172
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 179 of 486 PageID: 858




   Monmouth County                                             Infirmary Progress Notes
   Monmouth A dutt (MCCIJ
                                                                 FOR INFIRMARY USE ONLY
   1 watefWorks toad
   FreahoJd, NJf17728
   PetJent Name
   OOfJEtl FREEMAl1


                                                                                                               7/1/2015 8:00:00    7/31/2015 7:59:00
   thiamine Her 100 mg tabret                                     1.00 tablet· Monmouth Facility; Q AM
                                                                                                               AM                  AM
                                                                                                                                                   9
   albtiterol sulfate 2.5 mg/3 ml 10,083 %) rn!ution for          1.00          Monmouth Facility: Evecy 3     71112015 2:00:00 PM ~;,~ 2S/201S i:S :GO
   nebullzatlot\                                                  milliliter    hour.'i
                                                                                Monmouth Facility: BID AM & 7110i2015 7:00:00       7/20/201515:59:00 PM
   Naprosyn {Naproxen) 500 mg tablet                              1.00 tablet
                                                                                HS                             PM
                                                                                                               7/15/2015 8!00:00    10113/2015 7:59;00
   Zoloft {SMratlne) HlO 1119 tablf!t                             LS0 tablet    Monmouth Facility; Q AM
                                                                                                               AM                   AM

   Patient Pmb!ems:
    Observed
                      Catego1y Type                               Problem                                     Confirmed By
    Date
    06-30-2015 Acute                    ',;!Js~H: SubS tance Alcohol Abuse
    06-30-2015 Chronic RESP: Asthma                              Asthma Not Otherwise Specified
    06-30..2015 Acute  PSYCH:                                    Unspecifled Major Depression, Janice Bull/er
       -------~Di)p_r5'?~ion
   Patient Allergies:
                                                                 Recurrent Ep_is~d.~--
                                                                                                                                                           i
                                                                                                                                                           I_


    Observed          "                                       Allergy
    Date              ,ype
    06-30-2015 Allergy Items                             ___ _No Known 111/ergies
    D    Vita/ Signs Taken
   Patient Vitals:
   l obierved·---·Biooii              Pulse                                                                                                      I
                                                             Resp. Rate Temp               Pulse Ox          Weigh/        BM/                  _I
   igate            -'---P-'-re"s~s~u~re~----
            Addf!d 07119!201502:44F'MESTbyoflizerLPN_                '~-----------------------~
     S: "/'am sU/1 depress and yes I want lo hurl myself" when he was asked.
     O: A&Ox3. Flat affect. poor eye contact. complaint with medication. po intake adequate. Appears lo be free
     from slef harm.
     A CW/Sf.
     P. Continue to monitor




     E-Signcd by Orfic Bizcr n 07/19/2(11 S. 02:<14 PM EST                                                                                Page I of I




                                                                                                                                  MCCI MED RECORDS 173
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 180 of 486 PageID: 859




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult {MCCfl
                                                               FOR INFIRMARY USE ONLY
   1 waterworr<s foad
   FrtJeho/d, NJO"l728




                                                                                                           · 1111101s s:00:00   1131,no1s 7'.59too
   thiamine HO 100 mg tablet                                    1.00 tablet   Monmouth Facility: Q AM
                                                                                                             AM                 AM
   albuterol sulfate 2,5 mg/3 ml (0,083 %} rnfution for         1.00          Monmouth Faclllty: Every3     7/1/2015 2:00:00 PM ~~28/20151:59:00
   nebulization                                                 mitllliter    hours

   Zolo~ {Sertialine}   mo mg t;ib[et                           1.S0 tabf·et · Monmouth Facility: Q AM
                                                                                                            111s1201s stoo:oo   rn;B1201s   11s9:oo
                                                                                                            AM                  Mt
   Patient Problems:
   i Obse1ved
                        Category Type                           Problem                                    Confirmed By
   ;Date
   !06-30-2015           PSYCH: Substance Al h I Ab
                        Acute
                         Abuse                co o use
   j 06-30-2015 Chronic  RESP: Asthma        Asthma Not Otherwise Specified
                         PSYCH:
   i06-30-2015 Acute ... Depression·-·--     Unspecified Major Depression, Janice Buttler
   L-··--·- ~·~-,                        ... Recurren~t~E~p~is~o~d~e~------------
   Patient Allergies:
                                                                                                                                             I
   !Observed T                                            Allergy
   I Date       ype
   loB-30-2015 Allergy~/le~m~s~_                          No Known Allergies_. ______________                                                I
        D   Vital Signs Taken
                                                                                                                                                      ii
   Patient Vitals:
                                                                                                                                                      ''.
   ·I   Observed
        Date
                        Blood
                        Pressure
                                           Pulse       Resp. Rate Temp                  Pulse Ox          Weight         BM!            _J
              Mded 07/'2112015 12:23 AM EST by dgra1,~tLPN 1 - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ,

        Checked on /JM in CW due to SI

        1/M sleeping on floor of ceU quietly
         Continue lo monitor.




                                                                                                                                                       iI
                                                                                                                                                       t·




        E-Signed by Darren Gran11tn 07/21/2015 12:23 AM EST                                                                           Page I ofl




                                                                                                                            MCCI MED RECORDS 174
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  Monmouth County                                          Infirmary Progress Notes
  Monmouth Adult (MCGJ)
                                                                FOR INFIRMARY USE OlllY
  1 wate,worlcs road
  Freehold, NJ07128
                                                                       &okfng Number
                                                                       l279258


                                                                                                              7/1/2015 8:00:00     7/31{2015 7:59:00
   thiamine HO 100 mg tablet                                    LOO tablet    Monmouth FacllFty: Q AM
                                                                                                              AM                   AM
   albuterol suffate 2,5 mg/3 ml tD,083 %) 5olutio11for         1.00          Monmouth FanUty: Everif3        7/1t2015 2:00:00 PM ~~~28/2015 1:59:00
   nebuliz.ation                                                milliliter    hours
   Napro5yn (NaproxenJ 500 mg tablet                            LOO tablet    Monmouth fac!llty: BID Ar',,\ & 7i10/2015 7:00:00    712012015 G:sg:QO PM
                                                                              HS                              PM
                                                                                                              7/15/2.015 8:00:00   10/13/2015 7:59:00
   Zoloft {Sertraflne) 100 mg tablet                            1.50 tablet   Monmouth Facility: Q AM
                                                                                                              AM                   AM
   Patient Problems:
    Observed
    Date             Calego1y          Type                     Problem                                     Confirmed By

    06-30-2015 Acute                   PSYCH: Substance Al h IAb
                                       Abuse              co o use
    06-30-2015 Chronic                 RESP: Ast/Jma    Asthma Not Other.vise Specifled
                                       PSYCH:           Unspecified Major Depression,
    06-30-2015 Acute                                                                    Janice Buttler
                                       Depression       RecurrentJ'jpi,;ocle_
   Patient Allergies:
   'obsen1ed             --------------
       ate           Type                                 Allergy
   ~ 6-30::,2_0J 5. /11/e_r_gy_ Items                     No Known Allerg~ie~s_ _ _ _ _ _ _ _ _ _ ~ - - - - ~
    0 Vital Signs Taken
   Patient Vitals:
    Observed Blood
                                         Pulse      Resp. Rate Temp                     Pulse Ox         Weight           BM/
    Date     Pressure
    07-20-
    2015
             115178                      102        18                 98.20
    05:00 PM
    EST

             Added07!21JJ201507:43PMESTbyaJabam~•LPN                     >----------------------~
     S- No voiced complaints.
     0- flM lying on floor in cell on rounds. Adequate po intake. 1/M slates he is sti/1.feebng SI. No self injury noted.
     Compliant with PRN m1;:dication
     A- On CW for SI
     P- Will continue to monitor




                                                                                                                                                          i
                                                                                                                                                          !.
    £-Signed liy Ashl<,-y Labiubera n 07/20/2015 07;43 PM EST




                                                                                                                                 MCCI MED RECORDS 175
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   Monrr101.1th County                                         Infirmary Progress Notes
   Monmouth Adult (MCClj
                                                                FORJNF!RMARYUSE ONLY
   1 waterworks road
   Free.hold, #JD1728
                                                                                                     Birth Dale         Dale Of SeJVicff
                                                                                                     12/2611976         712012016



   thiamine HCI 100 mg tablet                                                                               711/2015 8:00:00       7/31/20157:59!00
                                                                 1.00 tablet   Monmouth F11dlity: Q AM
                                                                                                            AM                     AM
   albuterol sulfate .!.S mg/3 ml(0,083 %) ~olutlon for          1.00          Monmouth F11d!lty: Every3    7/1/20151:00:00 PM ~~~28/2015 L:S9:00
   nebullzation                                                  milliliter    liaurs

   Naprosyn {Naproxen) 500 mg tablet                             LOO tablet Monmouth Facility: BIO M,·f & //l0/20lS l:OO:OO        7/20/2015 6:59:00 PM
                                                                               HS                            PM
   Zoloft (Sertraline) LOO- mg tabl-el                                                                      7/15/2015 8:00:00      10/13/2015 7:59:00
                                                                 1.50 tablet   Monmouth Facility: Q AM
                                                                                                            Af.,1                  AM
   Patient Problems.·
    Observed
                      Catego,y Type                              Problem                                   COflfirmedBy
    Date
    06-30-2015 Acute                     PSYCH: Substance A' h /Ab
                                         Abuse             ,co o    use
    06-30-2015 Chronic                   RESP: Asthma     Asthma 11/ol Otherwise Specffied
    06-30-201.5 Acute                    PSYCH:           Unspecified Ma1or Depression,
                                                                                           Janice Buttler
                                         De ression       Recurrent E isode
   Patient Allergies:
    Observed                                              Allergy                                                                                ·-·   1
    Date          Type
    06-30-2015 __ Allergy Items __ _                      No Known A/lergie_s ___________ ----------~-
    □ Vital Signs Taken
   Patient Vitals:
                                                                                                                          --·   ✓-··   ...   '




   1i:!erv_e_d_...:ic..~c::~:::~d:::s:::urc:e'----__P_u_ls_e_ _R_es_p_._R_a_te_T,_e_m_p_ _ _P_u_ls_e_o_x_ _
                                                                                                          w_e_ig_h_t _ _B_A_11___ __               _J
            Added 0_71201201/512:36 PM EST by kFacklna LPN              1-----------------------~
     S) no complaints
     OJ a&a. med compliant. po intake good.
     A) on cw due to si. no attempts
     P)  wmcontinue to monitor.




    E•Signo!d by Kathryn Fnddna ll 07/20/,10.15 12:36 PM EST




                                                                                                                           MCCI MED RECORDS 176
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   Monrn-outh County                                        Infirmary Progress Notes
   Monmouth Adult (MCCI}
                                                                FOR INFIRMARY USE ONLY
   1 waie.nt1orks rocJd
   Freehold, NJD7728
                                                                                                        Birth Date
                                                                                                        1212611976


                                                                                                               · 7/1/2015 8:00!00      7/31/2015 7:59:00
   thiamine H(l 100 mg tablet                                   · 1,00 tablet . Monmouth Fadlity: Q AM
                                                                                                                AM                     ANI
   albuterol sulfate 2.5 mg/3 ml J.0,083 %} solution for         1.00          Monmouth Facmty; Every 3         ?/l/lOlS 2:00:00 PM 1P2M/28/2015 1;59:00
   nebulizatlon                                                  milliliter    hours

   Naprosyn {Napro)(en) 500 mg tablet                            LOO tabl~t    ti;H,ISonmouth Facllib': BID M•J & 7/10/2015 7:00:00    112012015 6159100 PM
                                                                                                                  PM
                                                                                                                7/15/2015 8:00;00      10/13/2015 7:59:(10
   Zoloft (Serttaline) io-0 mg tabl~t                            1.50 tablet   Monmouth Fadlity: QAM
                                                                                                                At>,•1                 AM

   Patient Problems:
   1
       g~~erved

       06-30-2015 Acute
                       Ca/egoty Type                             Problem

                                        PSYCH: SubSlance Alcohol Abuse
                                                                                                         - -- Confirmed a,y            -7
                                        Abuse                        ~
       06-30-2015 Chronic               RESP: Asthma     Asthma Nol Other.vise SpeciflerJ
       0B-30- 2015 Acute                PSYCH:           U11spec1fied Major Depression, Jallice Bu/lier                                             i
   ~--------~D_e£p~re~s~s~io~1~1___ Recurrent EpisorJe ,, __ ,,__ ···-··· ____ ____
   1                                                                                                                                .. _,,~-- ___J
   Patient Allergies:
   !Observed T
   \oate        ype                                        Allergy
   \06-30-2015 Allergy Items                               No Known Allergies
    □ Vita/      Signs Taken
   Patient Vitals:
   1Observed Blood                                                                                                                                  l
                                            Pulse       Resp, Rate Temp                    Pulse Ox         Weight            BM/                   !
   [Date __ ,, ,.. f>r_es_sure                                                                                                                  _,_J

              Adrferf071'2012015 01:51 AM EST byhrU$/lel/ LPN        1-----------------------~
        S- No complaints voiced
       0- Resting on rounds, no rJistress or self harm noted
       A- On CW for Sit, no self harm since placement
       P- Continue to monitor




       £,Signed by Hea1her R\lssell n 07/20/2015 O1:51 AM EST                                                                                P:ige l of!




                                                                                                                                    MCCI MED RECORDS 177
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                                                                                                                                                            I


   Monmouth County                                          Infirmary Progr<,ss Notes
   Monmouth Adult (MGGI)
                                                                FOR INFIRMARY USE ONLY
   1 waterworl<3 road
   Freehold 1 NJ01728




                                                                                                                  7.11/2015 8:00:0□   7/31/2015 7:59:00
   thii'lmfrie HCI 100 mg fob let                               1.00 tablet   Monmouth Facility: Q AM
                                                                                                                  AM                  AM
   albuterol mlfqte 2.s mg/3 mL (0,033 %) ~olution for          l.l.10        t-.-fonmouth Fadllty: Evet"'/3      7/1/2015 2:00:00 PM ~;,~'23/20151:59:00
   tiebullzatfon                                                milliliter    hour~
                                                                                                                 1,15/2015 $100tOO    10/13/2015 7:S9:00
   Zolalt (S-ertrall,ne) LOO mg tablet                          1.50 tablet   Monmouth Facilltj,1 Q AM
                                                                                                                 M-l                  AM
   Patient Problems:
    Observed
                       Categoty Type                            Problem                                          Confinned By
    Date
    06-30..2015 Acute                    PSYCH: Substance Al h /Ab
                                         Abuse                    co o          use
    06-30..2015 Chronic                  RESP: Asthma           AsU1ma Not Olhenvise Specified
                                         PSYCH:                 Unspecified Major Depression,
    06-30-2015 Acute                                                                           Janice Buttler
                                         Depression             Recurrent Episode
   Patient Allergies:
   I --- ... . ..
   lg:;;:rved Type                                        Allergy                                                                                  II
   LoB-30-2015 A/lerl}y_ Jtem~s~----~""~o~K~n~o~w~n~A~!~/e=rg,i~es~-----------   0
                                                                                                                                           ____ _J
    GZI Vital Signs Taken
   Patient Vitals:
                                                                                                                                                            ,.
                                           Pulse     Resp. Rate Temp                    Pulse Ox               Weight         BM/


                                           86        18                98.'I0


              Add~ 07/21/20/i>On/J PM EST by /Divita Superviso,y staff           f---------~----------.
        S:    "I DONT LIKE THIS ROOM' " IS THERE A BIBLE J CAN READ?"

        0: A; o,x;3, SKIN BROWN, WARM AND DRY. NO D/SffiESS, NO COMPlAINTS. SITTING ON
        MATTRESS, IN CORNER IN ROOM. NO SIGNS OFAGITATION OR SELF HARM.

       A: MALE 1/M IN SNUFOR SIP CONSTANT WATCH FORS/I.

        P: CONTINUE TO MONITOR, REDUCING RISK OF SELF HARM.




       E-Signed by Lawrence Divita n 07/2lf20t5'04:20 rM-F.ST                                                                               Page r of 1




                                                                                                                                  MCCI MED RECORDS 178
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 185 of 486 PageID: 864




   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult {MCGJ)                                      FOR INFIRMARY USE ONLY
   1 waterwork1t mad
   Free.hold, NJD7728
   Patient Neme                         Petient Number               EJooking Mumber                 Birlb Dete
   D01JELL FREEMAN                      261"4                        3279258                         12125/1975


                                                                                                            7/1/2015 8:00:00     7/31/Z015 7:59:00
   thJamine HCI 100 mg tablet                                  t.01:l tablet   Monmouth Facility: Q AM
                                                                                                            AM                   AM
   albuterol sulfate 2,5 mg/3 ml (0,083 %) SQlution for        LOO             Monmouth Fatillty; Every3    711i2015 2:00:00 PM ~!~2.8/20lS liS 9 :00
   nebuHzatton                                                 milliliter      hours
                                                                                                            7/15/2015 8:00:00    10113/2015 7:59;00
   Zoloft (Sertrallne} 100 mg tablet                           1.50 tablet     Monmouth FacJUty: Q AM
                                                                                                            AM                   AM

   Patient Problems:
    Observed
                     Category Type                            Problem                                      Confirmed By
    Date
                                       PSYCH.- Substance      Al h I Ab
    06-30-2015 Acute                   Abuse                    co o    use
    06-30-2015 Chronic                 RESP: Asthma           Asthma Not Othe1Wise Specified
                                       PSYCH:                 Unspecified Major Depression,
    06-30-2015 Acute                                                                         Janice Buttler
                                       De ression             Recurrent E Sode
   Patient Allergies.-
    Observed         T
    Date          ype                      Allergy
    06 030-2015 _Alle'IJy_~ll~em=s_ _ _ _ _~N~o~K~n~o~••~n~A~lle~n~g~ie~s_ _ _ _ _ __                                                        J
    D   Viral Signs Taken
   Patient Vitals:
    Observed
    Date
                      Blood
                      Pressure
                                          Pulse
                                                         Resp. Rate ;~;;,~ -           _P_u_l-se_O_x--Wi-e,-gh_t___B_MI             -   --7
                                                                                                                                                        I
            Added 07/2112015 0_1:32 PM E3TbykFack/Jla LPN 1 - - - - - - - - - - - - - - - - - - - - - - - ~                                             ;
                                                                                                                                                        'I
     SJ no complaints
     0) a&a. med compliant wff/J adequate po intake_
     A) seen by mh. cleared from c1v s/alus.                                                                                                            I,   __


     transfered to snu.
     P) monitoring to continue_




     E~Signcd by Kathryn Fackinan 07/21/201'5 0l:32 PM EST                                                                              Pugc I of J




                                                                                                                               MCCI MED RECORDS 179
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 186 of 486 PageID: 865




   Monmouth County                                          Infirmary Progress Notes
   Monmouth Adult {MCGIJ                                      FOR ltlFIRMARY USf; ONLY
   1 wate,woOO road
   Freehold, N./07728




                                                                                                            7,1;2015 a:oo:oo     7/31/2015 7:59:oo
   thiamine HCI HlO ITlg·tabld                                .LOO tablet    Monmouth Facility; Q AM
                                                                                                            AM                   AM
   albute-rol rnlfate 2.S mg/3 ml (O,OiB %) solution for       1.00          Monmouth Facilit,Ji Every3     7/liWlS 2:00:00 PM ~~l28i20l 5 l:S 9 :00
   ne-bullz.ation                                              milliliter    h0Ut$
                                                                                                            7/15/2015 St00100    10/13/2015 7:59:00
   Zoloft {Sertral!ne) too mg tablet                           1,50 tablet   Monmouth Facility: Q AM
                                                                                                            AM                   AM

   Patient Problems:                                                                                                                                   i
    Observed
                     Category Type                            Problem                                      Confim1ed By                                I
    Date
    06-30-2015 Acute                   PSYCH: Substance Al h I Ab
                                       Abuse                     co o        use
    06-30-2015 Chronic                 RESP: Asthma           Asthma Nol Otherwise Specified
                                       PSYCH:                 Unspecified Major Depression,
    06-30-20-/5 Acute                                                                        Jamee Buttler
                                       Depression             Recurrent E isode
   Patient Allergies:
    Observed
    Dale             Type                                  Allergy
   ~0=6-~3=0~-2=0~1=5~A~1=1e~r,~v~ll=e=m=s_ _ _ _ _ /lf<!IQ,o1vnt,Jl~rgjes ...
    GZI Vital Signs Taken
   Patient Vitals:

   Ig:~erved:         g%~~ure- -          ~~/~~        ~~~;:-~ale Temp                  Pulse Ox          Weig/Jt       BM/

            Added07122!201515;42by(not submilred/odilod yel)          !-------~--------------~
     P: CONTINUE TO MONITOR, REDUCING RISI< OF SELF

            Added 0712212015 04:3/iPM EST.by /Divila sui,e!Vfiw,y staff        f------~-------------,
     . S:   "NO, /'M OK I DONT NEED IT DONE. •

     0: A_,OX3 SKIN BROWN WARM AND DRY. NO DISTRESS, NO COMPLA!NTS. 1/M DIDNT WANT HIS
     VITAL SIGNS CHECKED, STATING HE'S OK. NO SIGNS OF AGITATION OR SELF HARM LA YING ON
     MATTRESS QU/ETY WITH NO DISTRESS.

      A:    MALE VM IN SNUFOR MENTAL HEALTH OBSERVATION, S/1


      P: CONTINUE TO MONTOR, REDUCING RISK OF L




     &-Signed by Lmvrcnce Divita n 07/22/2015 0<l:35 PM EST                                                                            Page 1 of l

     £-Signed by lmvn:nce Divita n 07_/22/2015 04:42 PM EST



                                                                                                                               MCCI MED RECORDS 180
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   Monmouth County                                                lnfinnary Progress Notes
   Monmouth Adult (MCGJJ                                               FOR INFIRMARY USE ONLY
   f waterworl<s road
   Fre.ehold, NJD7728




                                                                                                                                         111i2015 8:00:00              7/31/2015 7!59:00
   thinmine HCI 100.mg tablet                                          1.00 h1blef Monmouth Fadltty: Q AM
                                                                                                                                         AM                            AM
   albutero) 5ultate 2.S mg/3 ml (0,083 %) :.alutfon tor               1.00               Monmouth Facllll.y: Every 3                    7/1/2015 2:00:00 PM ~;~28/2015 1:59:00
   nebulfzatian                                                        mmrliter           hours
                                                                                                                                         7/15/2015 8100100             10/13/2015 7:5~00
   zorott (Sertral!ne) 100 mg tablet                                   1.50 tablet        Monmouth Faclllty; Q A/1.•1
                                                                                                                                         AM                            AM

   Patient Problems:
    Observed                                                                                                                           Con/inned By
                         Category Type                                 Problem
    Date
    06-30-2015 Acute                    :f~~H: SubStance Alcohol Abuse
    06-30-2015 Chronic                   RESP: Asthma                  Asthma Not Otherwise Specified
    06-30-201~ ~~ute_ _               __r:i;;~~sion               --   ~"";~"'-~'-'~"':':'-'~""1~-=~"~""is,."~--·~--:'--D-e_p_re_s_s_io_n_,__J_a_m_·c_e_B_u_tt_ler
   Patient Allergies:
   1-                 ·-----··- ·--·-----·-··                                                                                                                 - - - - · -··--· ·1
   ,Observed            T                                       Allergy                                                                                                            i        I.
   'Date                  ype
   I0&-30-2015 Allergy //ems                                     No Known Allergies                                                                          __ J
    □      Vital Signs Taken
   Patient Vitals:
   :~,g~!~~-e_rv_e_d~-~~~~~0-s~~u-r-e--~~;~~-             ~ ~;~;:      ~~;;~          :mp--- --~~;;;-;x--W.-e-ig_h_t_ _B_A_4_/_ _ _ I
   ~------------------------------
               Ad<ied 07/22/2015 i0:39 AM EST by kFacklria LPN ! - - - - - - - - - - - - - - - - - - - - - - - ,

        S) no complaints
        0) a&a. med compfiant with adequate po intake.
        A) on snu for mh observation. no fasues reported_
        P) will conffnue to monitor.




        E~Si(lne<l by KoUiryn-Fnckina n ()7/'];')./2015 J0:39 AM EST                                                                                                         Page I oft




                                                                                                                                                                     MCCI MED RECORDS 181
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                                                                                                                                                      I



   Monmouth County                                           Infirmary Progress Notes
   MonmoIJth Adult (MCCJ)                                      FOR JNARMARY USE ONLY                                                                  !
   f watmworks mad
   Freehold, NJ01728
   Petient Nemr:
   OONELL FREEMAW-
                                                                                                                                                      I
   thiamine HO 100 mg tablet                                   LOO tablet Monmoutl, facility; Q AM
                                                                                                         7/1i20ts a:oo:oo·
                                                                                                         AM
                                                                                                                              11311201s7:59ilO
                                                                                                                              AM
                                                                                                                                                      i
                                                                                                                                                      I;

   ,;lbuterol sulfate 2,5 mg/3   ml (0,083 %) rnlutlon for     1.00        Monmouth Fac!llty: Every3     l/1/20lS :WO:OO PM ~::28/20151:59:00
   nebu!iiation                                                mlHillter   hours
                                                                                                         7,15/2015 8:00:0Ci   10,1.3/2015 7:59:00
   Zol~ft {Sertraflnej 100 mg tablet                           LSO tabl'et Monmouth ~acility'. Q AM      AM                   At,,,•l

   Patient Problems:
   i6bserved                                                   Problem                                  Confirmed By
   ,Date             Category Type
    06-30-2015 Acute                   ;~::;,H: SubSlance A/coho/Abuse
    06-30-2015 Chronic RESP: Asthma          Asthma Not Otherwise Specified
      _ _        Acute     PSYCH:            Unspecified Major Depression, Janice Buttler
    06 30 2015
       ---------"D"e"p"r"e"s.,_s=iOf?. .     Recurrent Episode_.,._
   Patient Allergies:
   iobserved T - - - - -
    Date           ype                   Allergy
    06-30-2015 Alie~ yllems              No Known Alfe~r~gi~es~-----
    □    Vital Signs Taken
    Patient Vitals:
    I Observed-,---B"'loc-o-d-,--------
    1[),i/e         Pressure Pulse     Resp. Rate Temp                                Pulse Ox         Weig/JI        BM/

            Added071').212(J150t:36AMESTbyhr'-"'SeJILPN               >----------------------~

      S- No complaints voiced
      0- Resting on rounds, no distress noted. //M kneeling on floor with chest on the bed sleeping. No signs of self
      harm noted
      A- In SNU for MH observation, sip CW
      P- Continue to monitor




                                                                                                                                                          r



     E-Signe<l by Heather Rus:.cll n 07/22/2015(11;36 AM EST                                                                            Page I of l




                                                                                                                         MCCI MED RECORDS 182
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 189 of 486 PageID: 868




   Monmouth County                                           Infirmary Progress Notes
   Monmouth Adult (MCCI)                                       FOR INFIRMARY USE ONLY
   1 waff!:IWOrks road
   Freehold, NJ0'1728




                                                                                                               7il/2015 8:00:00     7{31/2015 7:59:00
   thiamine HCJ 100 mg·tab!et                                   1.00 tablet     Monmouth faciltty. Q AM
                                                                                                               AM                   AM
   albuterol sulfat€ Z,5 n,g;3 ml (0,083 %} rnlutlon tor        1.00            Monmouth Facillbf, Every 3     7i1/2015 2:00:00 PM ~~'.tl/20151:59:00
   nebuHzation                                                  rnmmter         hours
                                                                                                               7115/2015 8:00:00    10.tl.3/2015 7:59;{10
   Zoloft (Sertrallne-) 100 mg tabl.et                          1.50 t;:iblet   Monmouth Fadlity: Q AM
                                                                                                               AM                   AM                      ;
   Patient Problems:
   1Observed
                                                                                                                                                            Ii
                      Category Type                            Problem                                        Confirmed By
    Date
    06-30-2015 Acute
                                         PSYCH: Substance      Al h I Ab
                                         Abuse                   co o    use
    06-30-2015 Chronic                   RESP: Asthma          Asthma Not Othenvise Specified
                                         PSYCH:                Unspecified Major Depression,
    06-30-2015 A cute                                                                         Janice Bu/tier
                                         Depression            Recurrent Episode ___·~··-·_
   Patient Allergies:
    Observed   T                              Allergy
    Date        ype
    06-30-2015 Allergyllems ......-,.----·-·- No Known_~gie£
                                                                          ····-·~·--~~··~····1
                                                                                         ______j
    □ Vital Signs Taken
   Patient Vitals:
   I Observed          Blood
                                            Pulse          Resp. Rate Temp                 Pulse Ox          Weight        BM/
   lDale_--·-·---· Pressure
          - Added D712:ll2016 01:10 AM EST by hrusse/1 LPN

      S- No complaints voiced
      0- Resting on rounds, no distress noted
      A- In SNU forMH observation
      P- Continue to monitor




     E-Signed by Heather Russell n 07/23/2015 01 ;Ill AM EST                                                                               Page 1 of I




                                                                                                                                  MCCI MED RECORDS 183
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 190 of 486 PageID: 869




   Monmouth County                                        Infirmary Progress Notes
   Monmouth Adult (MCGJ)                                    FOR l~FIRMARY USE OtJLY
   1 wa f(lfWorks road
   Freehold, NJ017Z8
                                                                                                                            Date Of Service
                                                                                                                            7/2l/1015


                                                                                                                7/1/2015 8:00:0D    1/31/2015 7:59:00
   thlamine HCI 100 mg tablet                               1.00 tablet:   Monmouth Facilit>1: Q AM
                                                                                                                AM                  AM
   albutero! sulfate 2,5 mg/3 ml (0.083 %) solution for     l.00           Monmouth fadl!fy: Evi!ry3            7/l/201S 2:00:00 PM ~~28/2015 1:59:00
   nebullzation                                             milHliter      hours
                                                                                                                7115/2015 8:00:00   l0/13/20l5 7:59:00
   Zoloft (Sertraf-inej 100 mg tablet                       1.50 toblet    Monmouth Facrlltr, Q AM              AM                  A.M

   Patient Problems:
   !Observed                                                Problem                                        Confirmed By
   , Date             Category Type
    06-30-2015 Acute                    PSYCH.-Substance At h /Ab
                                        Abuse              co o    use
    06-30-2015 Chronic                  RESP: Asthma     Asthma Not Otherwise Specified
    06- _2015 Acute                     PSYCH:           Unspecified Ma)Or Depression,  Janice Buttler
       30
    ___________cD=e,,_pre=s:cs_~o_l}                        B.~.2.J!.rr-=e"-n"-t-=E"'p"'isc::o,,d,,e,________
   Patient Allergies:
   !Observed    T -------
   j Date        ype
   ; 06-30-2015 Allergv Items
                                      Allergy
                              ________ No Known Allergies                                                                                       I
                                                                                                                                              __,        ii.,.
    G3   Vital Signs Taken
   Palient Vitals:
     -·----~·
    Observed Biood                                                                      Pulse Ox        Weight              BM/
                                          Pulse     Resp. Rate Temp
    Date      Pressure
    07-23-
    2015
              123174                      62        18             97.90
    04:15 PM                                                                                                                                              i:·
    EST                                                                      ,   .. _.,-,----~


            Added07/23/201509:2oPMESTbyyeveISOnLPN f - - - - - - - - - - - - - - - - - - - - - - - - - - .

      S- Jim recieved si/fing at table tal/{ing to attorney. Vital signs stable_ No do_
      0- /Im remains cooperative and calm, no suicidal ideation or gestures, no apperance of responding to internal
      stimull
      A-P- Conffnue to monitor and assist as needed


                                                                                                                                                          1·
                                                                                                                                                          !




     E-$igncd by Yvene Everso11 n 07/23/2015 09:26 PM EST                                                                                 Page { of I
                                                                                                                                                           l!

                                                                                                                               MCCI MED RECORDS 184
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 191 of 486 PageID: 870




   Monmouth County                                         Infirmary Progress Notes




                                                                                                                                               *
   Monmouth Adult {MCCJ)
   t wate.rworf<s road
                                                              FOR INFIRMARY USE otJLY                                                            .      .
   Fret!hold, NJ07728
                                                                                                                          D1::te- Of service
                                                                                                                          71Z312015



                                                                                                             7/1/2015 8:00:00      7/31/2015 7:59:00
   thiamine HCI 100 mg tablet                                 1.!JO tablet   Monmouth Facility: Q AM
                                                                                                             AM                    AM
   albuterol rnlfate 2.5 mg/3 ml (0,083 %) 5olutlon for       1.00           Monmouth f;ic!lltr, Evuy3       7!1;2015 2.:00:00 PM ~?8/2015 1:59:00
   nebultzation                                               mitfillter     hours
                                                                                                            · 1/tS.120158:00:00    10;13/2015 7:59:00
   2oloft (Sertro1line) 100 mg t<1blet                        1.50 tablet    Monm·outh Facility: Q At\•1
                                                                                                              AM                   Ml

    Patient Problems,
    Obse,ved
                      Category Type                           Problem                                       Conlirme,J By
    Dale
    06-30-2015 Acute                     PSYCH: Substance Al h I Ab
                                         Abuse              co o    use
    06-30-2015 Chronic                   RESP: Asthma     Asthma Not Otherwise Specified
                                         PSYCH:           Unspecified Major Depression, J . B ff/
    06-30-2015 Acute
                                         Depress/on       RecurrentJ~pj~g,ge ·--••" --.----·~-- anice U ~r ··-·---~----
    Patient Aflergies:


   ~:~:~~--:~:gyltems . ----~--
    □ Vital Signs Taken
                                                          Allergy
                                                          No Known Allc,rg__ie_s_ _ __


    Patient Vitals:
   lObserved           Blood
                                             Pulse    Resp. Rate Temp                   Pulse Ox           Weight         BM/
   ! Date              Pressure
                                                                                                                                                            i.
            Added 0712312015 01:11. PM ESTby_kFacJ</na LPN

     SJ no complaints
     0) a&a. med comp with adequate po intake.
                                                                                                                                                            I
                                                                                                                                                            I
     A) on snu due to mh observation.                                                                                                                       !
     P) will continue to monitor.
                                                                                                                                                            l
                                                                                                                                                            I:


                                                                                                                                                            I

                                                                                                                                                             i
                                                                                                                                                             I-


                                                                                                                                                            i




     E-Signed hy Kathryn Fackina n 07123/2015 01 :11 PM EST                                                                               Page 1 of!




                                                                                                                             MCCI MED RECORDS 185
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   Monmouth County                                                 Infirmary Progress Notes
   Monmouth AdfJ!t {MCCI}                                             FOR INFIRMARY USE DllLY
   1 waterworks road
   FrnohoJd, NJ07728
                                           Patief11 Number                                                                        D£:(e Of Servlce
                                           26184                                                                                  7/2412016


                                                                                                                     1111201s a:oo:oo     11311201s 7:59:00
   thiamine HO 100 mg tablet                                           1.00 tablet     Monmouth f;,dlity; Q ~M
                                                                                                                     .Aa.M                AM
   a!buterol sulfate 2,5 mg13 ml. {0,083 %) rnlut\on for               1.00            Monmouth fadlily. EVi!ry 3    7/1}2015 2:00:00 PM ~~~2$/2015 1:59:00
   nebutizatlori                                                       milliliter      hours
                                                                                                                      7/15/2015 8:00:00   10/13/2015 7:59:00
   Zoloft (Sertraline) 100 mil t!)blet                                 1.50 ti'lblet   Monmouth Fadllt:y: Q AM        AM                  A.M

   Patient Problems:
    Observed                                                           Problem                                       Confirmed By
    Date               CategoIy Type
       06-30-2015 Acule                  Abuse Substance Alco ho/Ab use
                                         PSYCH:
   i06-30-2015         Chronic          RESP: Asthma                  Asthma Not Otherwise Specified                                                              I
                                                                                                                                                                  I
                                                                                                                                                                  '
   !     _ _           Acute            PSYCH:                         Unspecified Major Depression, Janice Buttler
       06 30 2015
   I
   L ._ _ _ _ _ _ _ _                 ___.,D..,e,,p=,ession..       ._f?ecurrent Episode,c_ ____
   Patient Allergies:
   1···········-···~--·------~
   lg~~erved           Type                                      Allergy
   l.QB-30:-2015. AJle,gyl,0Iec.cm,_..,s ______,N,_._o'<-'.Kecnceo:,,w=nA:,,l,,c1e,.,rg,,i.,,es
       □ Vital   Signs Taken
    Patient V-da/s:
   i Observed           Blood                                                                     Pulse Ox          Weigh/        BM!
    IDale_ _                            P_uf_se_ _R_e_s_p_._R_a_le_T,_e_m_p
                        Pressu_~r.::e ___

              Added 07/2/5/20J~ 12:06.AI.IEST by lmw.so/1 LPN f . - - - - - - - - - - - - - - - - - - - - - - ~

        S- No complaints voiced
        0- Resting on rounds, no distress noted
        A- In SNU for MH obseivallon
        P- Contiue to monffor




        E,Signcd by Heather R11sSell n 07/25/201512:56-AlvJ EST                                                                                      P~ge I ofl




                                                                                                                                        MCCI MED RECORDS 186
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 193 of 486 PageID: 872




   Monmouth County                                            Infirmary Progress Notes
   Monmouth Adult (MCCI)                                            FOR INFIRMARY USE ONlY
   1 waterworkt road
   Freehold I NJ07728
                                                                                                                            DareOf~rvice
                                                                                                                             /24/2016



                                                                                                                7/1/2015 8:00:00    7 /31iZo15 7:59:00
   thiamine HO 100 mg tablet                                        :t.OO tablet   Monmouth Facilit>r, QAM
                                                                                                                AM                  AM
   arbuterol sultate 2.5 mg/3 ml ('Cl.03-3 '¾) 5olutim1 for         1.tl0          Monmouth Fadlfly; Every3     711/2.015 2:00:00 PM ~;.~8i20151:59:00
   Mbulliatlon                                                      milliliter     hours
                                                                                                                1ii5/2015 8:00:00   10/13/2015 7:59:00
   Zoloft \Sertraline) 100 mg tablet                                1.50 tablet    Monmouth Facility: QAM
                                                                                                                AM                  AM

   Patient Problems:
       Observed                                                                                                ConfilmedBy
                       Categol}'       Type                         Problem
       Date
       06-30-2015 Acute                ::s~H: SubS tance Alcohol Abuse
       06-30-2015 Chronic RESP: Asthma                              Asthma Not Othe1w1se Specified
          30      A             PSYCH:                              Unspecified Major Depression,              Janice Buttler
       06- -2015 ... cuIe ·---- Depression                          Recurrent Episode                                                                     l·:
   Patient Allergies:
   rr;· -- --- -- - -
       Observed        T                                      Allergy
       Date              ype
   !
   l06-30-2015 Allergv /(ems                                  No Known Allergies _
       [;;] Vital Signs Ta ken
    Patient Vitals:
       Observed Blood                                   Resp. Rate Temp                     Pulse Ox          Weight        BM!
                                          Pulse
       Date           Pressure
       07-24-
       2015                               107           18                  /18.00
                      115176
       09:00 PM
    IE:ST. ________________~
              Added 0?/2412015 06,17 PM EST         by alabarbera.LPjV > - - - - - - - - - - - - - - - - - - - - - -
        $" No voiced complaints.

        0- JIM resting in bed during rounds. Adequate po intake. No se/fin]UI}' noted.

        A- In SNU for Mh OBS

        P- Will continue lo monitor




                                                                                                                                                            i
                                                                                                                                                            I
                                                                                                                                                            ;




        E-Sigried·hy Ashley Lab11tbern n 07/24/2015 08:17 PM EST·                                                                          Pogc I of 1.




                                                                                                                               MCCI MED RECORDS 187
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 194 of 486 PageID: 873




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult(MCCJJ                                       FOR ltfffRMARY USE OlllY
   1 waterworl(s raaci
   Free.hold, NJ07728




                                                                                                             1,112015 a:oo:oo     7 ,s11zo15 7:59:oo
   thiamine HCI 100 mg table~                                 1,00tablet    Monmouth.faciltt:y: Q AM
                                                                                                             AM                   AM
   atbuterol rnlfate 2,5 mg.8 ml (0,083 %) rnlution for       1.00          Monmouth fa{ll(ty: Every3        711/2015 2:00:00 PM ~~:,23/2015 1:59:00
   nebuHzation                                                milliliter    hour:,
                                                                                                             7,1.5/2015 8;00;00   10/13/2015 7:59:00
   Zoloft {SertraHni!.!) 100· mg tabfet                       1.50 tablet   Monmouth facJtity: Q A_r-.,\
                                                                                                             AM                   AM
   Patient Problems:
   [ Observed .       .
   , Date        Catego,y Type                                Problem                                       Confirmed By

   I06-30-2015 Acute
   1
                                          APbSYCH: SubS tance Alcohol Abuse
                                            use
   !06-30-2015    Chronic RESP: Asthma
   I06 _30 _2015 A I      PSYCH:
   ~------c_u_e__~D~~Pf"J:._~-~!.'?.fJ._
   Patient Allergies:
                                                              Asthma Not Othenvise Specified
                                                              Unspecified Major Depression, "Janice Buttler
                                                              Recl.}r.~re=n~t=Erp~,s~o~d~e------~--------                                   J
   Ig!~erved          ·   Type                            Allergy
   I96:30-201!i_,l\JleJflY /fems                          No Known Allergies_-·"-
    D Vital Signs Taken
   Patient Vitals:
   IObserved              Blood
                                              Pulse    Resp_ Rate Temp                  Pulse Ox           Weight         BM/
   Lgate                  Pressure

             Ad<ied 071241201511:31 AM EST by /<Facklna L P N . > - - - - - - - - - - - - - - - - - - - - - - ~

       S) no complaints
       0) a&a" med compliant po intake adequate.
       A) onsnu due to mh observafioR no issues,
       P) wi/1 continue to monitor"




       E-Signed by Kathryn Fad.ina n 07/24/2015 1h31 AM EST                                                                             Page I ofl




                                                                                                                             MCCI MED RECORDS 188
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 195 of 486 PageID: 874




   Monmouth County                                             lnfirn1ary Progress Notes
   Monmouth Adult (MCGIJ                                          FOR llff!RMARYUSE OflLY
   1 wat.erworlrs road
   Freehold, NJf17728




                                                                                                                     7/1/20.15 8:00:00      7131/2015 7:59:00
   thiamine HCt 100 mg tablet                                      1.00 tllbl.et   Monmouth Facility: Q Al\f
                                                                                                                     AM                     Arv1
   albuterol sotfpte 2.5 mg/3 ml (0,083 %) solution for
   nebullzatlon
                                                                   1.00
                                                                   millll!ter
                                                                                   Monmouth FM!lif:>;: Every3
                                                                                   hour~
                                                                                                                     7/1/201S 2:00:00 PM    ~:.is/20lS      9
                                                                                                                                                         l:S :00

                                                                                                                     7/15/2015 8:00:00      i0/13/it)15 7:59:00
   Zoloft (Settrallne) 100 mg tablet                               1.50 tablet     Monmouth Fatllity: Q AM
                                                                                                                     AM                     AM

   Patient Problems.·
    Observed
                     Catego1y          Type                        Problem                                         Confitmed By
    Date
    06-30-2015 Acute
                                       PSYCH: Substance Al              I I Ab
                                       Abuse                          co 10    use                                                                                 Ii
    06-30-2015 Chronic    RESP: Asthma                             Asthma Not Otherwise Speci(red                                                                  '
   , 06-30-2015 Acute     PSYCH:                                   Unspecified Major Depression,  Janice Bult/er
   L------·-· _ _ _ _ _ _ .Df:_(!_ression                          Recurrent Episode
   Patient Allergies:


   r?~:~:5           ::9Y..clfccemc.c.ccs_···_-·_--_-_--_·-_-_-·__.~._.:c.e;'-':n...

    □ Vital Signs Taken
                                                                                  y0\"'•c:.:nc,cA""l!""e1..,g,._iec--s_ _ _ _ _ _ _ _ _ _ . _   _J
    Patient Vitals:
   !"ObSeNBCi ----B/oO-cl                                                                      Pulse Ox          Weight            BM!
                                            Pulse         Resp. Rate Temp
   'Dale               Pressure

            Ac/dM 07/241201~ 0./:41 AIJ EST byhruooeULPN                f------------------------,

      S- No complaints voiced
      0- Resting on rounds, no dish·ess noted
      A- In SNU on MH observation
      P- Continue to monitor




     £-Signed by Heather Russell· 11 07/24/201.S 01 :41 AM !!ST                                                                                    rage l o-(1




                                                                                                                                      MCCI MED RECORDS 189
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   Monmouth County
   Moomnuth Adult (MCCJ)
   t Wflterworks road
                                                 Dental Informed Consent                                              ACCS
                                                                                                                      CORRECT CARE
   Free/told, NJ 07728                                                                                                t'.!OLIJ1.0N6
   JJl-866-3665 Fox 732-866-3669
   Pmie111 Nm11e                                  Pa1ie111 N111t1hc1·            Dato of Bini!                Toda;t1 's Dale
   FRl:f:MAN, DONl<LL                             Z(,184                         12/25/1975                 6/l9/2016


  This is my consent for (procedure):        □ Diagnostic     X•Ray      □ Oral Examination         □Scaling
                                             □ Restorations              □ Extractions-Tooth  Number~~-----
                                                                                         Patient Initial _·_;yt,c.1i"';.__ _ __

  □ Other,   as deemed necessary by the dentist: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



  I agree to the use of local anesthesia,

  The frequency of complications associated with oral surgery Is very low. However, with any surgical procedure there are
  certain post-operative occurrences, which you may or may not experience depending upon the na!ure of the procedure to                  I
  be performed.

  These may include, but are not limited to:
                                                                                                                                         I
                                 COMMON                                                    INFREQUENT
             'ORY SOCKET                                                * INFECTION
             • PAIN                                                     * PROLONGED SWELLING
             • SWELLING                                                 • HEAvY BLEEDING
             • TEMPORARY MILD OOZING OF BLOOD                           • TEMPORARY OR PERMANENT NUMBNESS
             • SLIGHT ELEVATION IN TEMPERATURE                            OF LIPS AND/OR TONGUE
             • SKIN DISCOLORATIONS                  ··--·               'ORAL SINUS OPENING AFTER EXTRACTION
             'LIMITED MOUTH OPENING                                      OF UPPER TEETH
             'NAUSEA                                                    ' BROKEN FILLING IN ADJACENT TOOTH
             • DIFFICULTY                                               • BROKEN ADJACENT DECAYING TOOTH

   Under certain Circumstances, special X-rays may be required.

   Medications and anesthetics may cause drowsiness.

   I understand that I rnay ask any questions about my surgery and alternatives, arid will be given a detailed explanation
   before the procedure.

   I acknowledge that all the Information given in rny medical history Is correct.




                                                        Witness t ~ O n l y
                                                                            J                          Date                       Time

   1have ex lained lhe matters in ·      a' above relating to the operation and/or pr~cedure and the risks, consequences and
                                  ared to understand and consented to the procedures described.

                                                                '6(2fi./((,



                                                                                                                 MCCI MED RECORDS 190
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   Monmouth County
   Monmouth Adult (MCCJ}                                            Dental Progress Note
   1 water1Jtorks road
   F~ehald, NJCJ7128
   P.;tJentNeme                               Pefient Number              Booking Mumber   Birth Date    Dote Of Service
   DOf.lELL FR.EEMA~l                         261ll-4                     J27925a          12/26/1975    6/29/2016

   Patient Problems:
    Observed                                                                                    Confirmed By
                         Category Type                              Problem
    Dale
    03-19-2016 Acute                       Symptoms                 Abnormality of Gait
    06-30-2015 Acute   PSYCH: SubS/ance Alcohol Abuse
                       Abuse
    06-30-2015 Chronic RESP: Aslhma                  Asthma Nol 0/henvise Specified
       _30_2015 Acute  PSYCH:                         Unspecified Major Depression, Janice Buttler
    06
    _ ··--·-·-· ______.D,.e2 p,,_r"es"'s"'i"'or",____,R_.,e_.c,.u,,_rc,reccno.l.=E,,p,,iso=d=e________
   Patient Allergies:
   1--·--·-·- ··- -·····- ········• .. ·••-·- -
       obse1ved          T                                      Allergy
   1
   lg:_10:2015__ /l~:;y_lten,s .                               .. No l<.nownA_~e[gies__

   [_ Time/Comments

             Added 06/29f2016" 10:55 AM EST by 1W~ran1ITT D8ntal Pro.vfckr 1 - - - - - - - - - - - - - - - - - - - - - - ,

       Exam and 4 BW's
       Findings:
       #1 0, $ M' 15 o, 31 0, 32 0. possible #14 Distal?




                                                                                                                                      i.
                                                                                                                                      !I.
                                                                                                                                      l:




       E-Signed by Wae-1 Ibrahim n 06/29/2016 10:55 AM EST                                                             Page: I of I




                                                                                                               MCCI MED RECORDS 191
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                                                              MCCI MED RECORDS 192
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   Monmouth County, HJ                                 Behavioral Health Structured
   Monmouth Adult (MCCI)
   1 water.JJorks road
                                                             Progress Note
   Freehold I NJD7728
   Pstlent Na"flUi                    Patient Number           Booking Number                   Birth Date       Date Of SefV{Ci']
   DONELL fREEMAH                     26184                    3279258                          12/2611976       101612016


   Status            (~ Adult   O Juvenile
     Referred from;

      □ Sick Call □ Nursing/Medical □ Behavioral Health □ Security                        Ga    Other
      lv/H fallow up after removal from SNR
      □     Post suicide watch release follow up

     Reason for Referral/Subjective Findit1gs
     IF post suicide watch release follow up, number of days since discharge

      "Good."

     Mental Status Exam

     Appearance:
       Ga   Appropn'ate □ Meticulous         D   Unclean □ Disheveled            D   Bizarre   D   Other
     Speech;
       Ga   Appropriate □ Expressive □ Loud □ Slowed □ Pressured                         O     Sfurred □ Other
                               ..... ·-··· ---- ---- """"··-··•·•-···--·· - - -
     Mood:
       0 Appropriate □ Depressed □ Euphonc □ Anxious □ Angry □ Irritable □ Other
     Affect:
       0 Appropriate       □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ Other

     Thought Form:
       [;,I Coherent □ Circumstantial □ Tangenlial □ Loose Assoc.
       □ Poverty of Thought □ Flight ofldeas □ Other

     Thought Content
       Ga   Appropriate □ Hallucinations □ Comp/obsess. □ Thought inseition
       □ Broadcasting           D Delusional   □ Suicidal D Homicidal □ Other
                                               - - - - - - ______ __     ,   ,



     Orientation:
       Ga   Person i,11 Place □ Time G2l Situation
      lnt.,lllgence:
       □ Above Aver~~e_!,!J_:'.'\ll_erage □ Below Average □ Developmentally Disabled
      Memory;




                                                                                                                                 P.age I of .3




                                                                                                                    MCCI MED RECORDS 193
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   Monmouth County, lU                               Behavioral Health Structured
   Monmouth Adult (MCCJ)                                   Progress Note
   1 watlYWorks. rolld
   Freehold, NJD7728
   Pattent N8me                     Petienr Numbet           Booking Numf>~r        BlrtO Dete            Date Of Service
   DONELL FREHl!A.tl                26184                    :3279258               12.11511975           10/6/2016


    Memory:
     0    Intact □ Immediate Impaired □ Recent lmpa,red □ Remote Impaired
    Insight:
     D    In/act   0   Good    D   Fair   D   Poor
    Judgmeo,t:
     □ Intact      0   Good □ Fair □ Poor
    Behavior:
      0.Appropriate □ Belligerent □ Agftaled □ Impulsive □ Withdrawn □ Other


     Current Status

    Medication CompITant?                                                                                <j) NIA   O   Yes   O    No

    Suicidal ldeations noted?                                                       0   Yes @ No         O   Refuses to answer

    Homicidal ldeations noted?                                                      0   Yes       ® No   O   Refuses to answer

     Assessmenu~d lnt<1rve.ntions Provided (include ·tasks assigned to patient, ihny)

     Seen in Medical. Logical I relevant thought st111cture, no symptoms of psychosis or mania. Calm, no distress or
     agitation. Stated that he felt "good.' Discussed the progress of his legal case. Also discussed his efforts at se/f-
     improvement, including pa1ticipation in numerous substance abuse programs. Denied current SI/Hi.
     Psychiatrical/y stable. No need for resumption of MH services at /his time.

     Plan (Please check.aH that apply} .··                                                                                             I
                                                                                                                                       '
      0   Treatment not indicated at this lime {understands how to access seJllices)
      □ Consulted with:

      □ Behavioral Health to follow lip PRN or through sick             call
      □ Behavioral Heafth foflow-JJp {#days/date)
     #days/
     date:
      □ Refer/a:

     Referto           D   Psychiatry □ Medical □ Discharge Planner □ Other
     Other
      □ Placed on Special Needs

      □ Placement on Special Needs considered and deterred

   BH217Ut100001',CCEll050116



                                                                                                                        Pag_e 2 nf 3




                                                                                                             MCCI MED RECORDS 194
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   Monmouth County, HJ                                 Behavioral Health Structured
   Monmouth Adult (MCGI)                                     Progress Note
   1 Wl!'t-eWtOrks roitd
   Freehold I NJ01728
   Prttient Nsm&                      Petienr Number               Booking Number              BirttlDete   Date Of Servir;i,
   DOfJELL FREEMAN                    26H~4                         ~279258                    12/26/t975   10/612016


   BH217UNOOOOACCEN-050116




     E-Signed by·AliciaCaputn-Smith, Mental Hcaltlt Profussional 01110/06/2016 OJ: 14 PM EST                                Pt1ge J of3




                                                                                                               MCCI MED RECORDS 195
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   Monmouth Counfy1 NJ                                Behavioral Health Structured
   Monmouth Adult (MCCI)                                    Progress Note
   1 watl»works road
   Freehold, folJ07128
   Patient ,VamtJ                   Patient Number            Booktng Mumber-        Birth D11te   Dete or Service
   0ONELL FREEMAN                   26184                     327925.s               12/25/1975    3/31.12017


   Status         ® Adult O Juvenile
     Referred from;

      D   Sick Call      D   Nursing/Medical   D     Behavioral Heaffh □ Security ~ Other
     Sentencing
      □   Post suicide watch release follow up

     Reason for Referral/Subj<active Findit1gs
   · IF post suicide. watch release foltow up, number of days sinc.e discharge

     1/M stated /hat he was doing well and although 9 years was a large sentence he was initially looking 'al much
     more lime.• Slated Iha/ he "could do 5 more years in prison, I'll be a/rig/JI with that." 1/M denied idea/ions of self
     harm and hasn't been prescribed psychiatric medication in several monUis. Informed 1/M of follow up contact on
     Wednesday.

   1 · Mental   Status Exam

     Appearance:
      Gil Appropriate □ Meticulous □ Unclean □ Disheveled □ Bizarre D 0/her
     Speech:
      Gil Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ Other
     Mood:
      0 Appropriate □ Depressed □ Euphoric □ Anxious □ Angry □ Itri/able □ Other
     Affect
       Gil Appropn·ate □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ OUJer
     Thought Form:
       Gil Coherent      □ Circumstantial □ Tangential □ Loose Assoc.
       □ Poverty of Thought □ Flig/Jt of Ideas □ other

      Thought Content:
       0 Appropriate         □ Hallucinations □ Comp/obsess. □ Though/insertion
       □ Broadcasting         D   Delusional □ Suicidal □ Homicidal □ 0/her

      Orientation:
       0 Person Gil Place         ~ Time    Gil Situatfon
                                                          ----
      Intelligence:




                                                                                                                     Puge I ofJ




                                                                                                      MCCI MED RECORDS 196
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   Monmouth Count-1, HJ                           Behavioral Health Structured
   Monmouth Adult {MCCJ]                                Progress Note
   1 waterw-orl,s road
   Freehold, NJ01728
   Paffcnt Name                  Petient Number             Booking Numoer                   Birth DFJte    Date Of Service
   DONELL FREEMAN                26184                      3279258                          12.125/1975    JJJ.112017


    Intelligence:
      □ Above Average        0 Average   □ Below Average □ Developmentally Disabled

     Memory;
      0 Intact    □ Immediate Impaired □ Recent Impaired □ Remote Impaired
                                                        ... - ·-· -·- ....... -···
     Insight:
      0 Intact □ Good □ Fair □ Poor
    Judgment:
      0 Intact □ Good □ Fair D Poor
                                 ·--···--------~-----            --···- ---·--·-----·-··---· --·
     Behavior:
      0 Appropriate □ Belffgerent □ Ag11ated □ Impulsive □ Withdrawn □ Other

     Current Status

     Medication Compliant?                                                                                 (!J NIA O Yes O No
     Suicidal ldeations noted?                                                               O Yes ® No O Refuses to answer
     Homicidal ldeations noted?                                                              0 Yes ® No O Refuses to answer

     Assessment an·d Interventions Provided (include tasks assigned                      io patient, If any) _
      1/M presented within normal lim,1s of functioning without signs or reports of psychiatric concem. 1/M was seen
      interacting with other inmates on the un,1 prior to our meeting. Appropriate, respectful, engaged, and u/iT,zed
      humor during meeting. Will follow up in 5 days.

     Plan (Please_ chee!< all that applyf

       □ Treatment not indicated at this time (understands how to access services)
       □   Consulted with:
       □ Behavioral Health to follow up PRN or through sick call
       0 Behavioral Health follow-up (#days/date)
     #days/
                    415
     date:
       □ Referto:
      Refer to      □ Psychiatry □ Medical □ Discharge Planner □ Other
      Other
       □   Placed on Special Needs
       □ Placement on      Special Needs considered and deferred


                                                                                                                              Page2 ofJ




                                                                                                                 MCCI MED RECORDS 197
                                                                                                                                     I.

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   Monmouth County, HJ                                  Behavioral Health Structured
   Monmouth Adult {MCCJJ                                      Progress Note
   1 waterworff~ roB-d
   Freehold, NJ01'f28
   Pat/enc Nam(;                      Petien( Number                Booking NumJJer       Birth Date   Date Of service
   DOUELL FREEMA!l                    2618-4                        ,mn5l!                12/2511975   3J3f/2017


      □ Placement on Special Needs considered and deferred

   BH217UtlOOOOACCEN050116




      E-Signed by Jesse Coudmy, Meri111l Health Professional on 03/31/2017 OJ:05 PM EST                                  Page3 of3


                                                                                                                                          i

                                                                                                          MCCI MED RECORDS 198
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   Monmouth County, HJ                               Behavioral Health Structured
   Monmouth Adult (MCCJ)                                   Progress Note
   1 wt1~rworhs mad
   Freehold, NJO'l728
   PatJentName                      Patient Number           Booking Nc.mber                  Bir/11 Dale       Det~ Of Sent/ct:
   OONELL FREEMAN                   26fa.4                   3279268                          12.Q5/197S        4/5/2017


   Status         (!) Adult   O   Juvenile

    Referred frQm:

     □ Sick Cali □ Nursing/Medical □ Behavioral Hea/111 □ Secudly                       E2l   Other
     sentencing flu                                                                                                                             I
                                                                                                                                                i
     □      Post suicide watch release follow up
                  ..
    · Reason for Ref&rral/Subjeetive Findings
    If post suicide.watch release foBow up, number of days since discharge

     Reports that he is well, denies any current concerns and is coping well in regards to sentence. Pleasant and
     cooperaUve, presents as stable.

     Mental Status Exam

     Appearance:
      EZI   Appropriate   D   Meticulous     D   Undean □ Disheveled □ Bizarre □ Other

     Speech;
      5Zl Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ other
     Mood:
      EZ1   Appropriate □ Depressed          D Euphoric   □ Anxious     D Angry     □ Irritable        D    Other

     Affect
      EZ1   Appropriate □ Tearful □ Blunted □ Flat          D   Labile □       Hos/Ye   □ Other

     Thought Form;
      @ Coherent □ Circumstantial □ Tangential □ Loose Assoc.
      D Poverty of Thought □ Flight of Ideas D             Other

     Thought Content:
      5Z] Appropriate □ Hal/Eidnailons □ Comp/obsess. □ ThoughtinserUan
      □ Broadcasting □ Delusional □ Suicidal □ Homicidal O OH,er
                           - - - - - - - - - - - - · · · · - · - - · · · ..... ··-
     Orientation:
      @ Pers.on E2) Pliiee @ Time @ Situation
     Intelligence:
       □ Above Average @ Average □ Below Average                   D Deve/opmentallyDisabled



                                                                                                                                   Page I of2




                                                                                                                    MCCI MED RECORDS 199
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   Monmou!f1 County1 NJ                                        Behavioral Health Structured
   Monmouth Adult (MCCJ)
   1 waterworks road
                                                                     Progress Note
   Freehold 7 ft/J01728
   PiitfentNam&                               Patient Number                Booking Nvmber                Bitffl D&te          Date Of Sefvice
   DONELL FREEMAN                             26Hl4                         3.279268.                     12/2511976           415/2017

      □ Above Average                 E21 Average         □ Below Average □ Developmentally Disabled
     ············--·---·"---··-·                                    ··---     ······-··--·""
    Memory;
      E2I   intact □ Immediate impaired □ Recent Impaired □ Remote Impaired
                                   - -· . ·- -·   -                                            ... ···-
    Insight:
      E2I Intact     □ Good □              Fair O Poor
     Judgment:
      E2I Intact     □ Good □              Fair □ Poor
     Behavior:
      E2I Appropriate        □ Belligerent □ Agitated □ Impulsive □ Withdrawn □ Other


     Current Status

     Medication Compliant?                                                                                                     @ NIA      O   Yes   O No
     Suicidal ldeations noted?                                                                            0 Yes ® No O Refuses to answer
     Homicidal ldeations noted?                                                                           O       Yes (!) No   O   Refuses to answer
                        .                             .                                                       .
    . Ass1usment and Interventions Provldeq (in~lu.de tasks assigned to patient, lfany) .

      offered supportive counseling and education, encouraged wellness and stability

     Plan (Please check all that applyt

       0    Treatment not indicated at this time (understands trow to access services)
       O    Consulted with:

       □ Behavioral Health to follow up PRN or through sick call

       □ Behavioral Health follow-up (#days/date)

     # days I
     date:
       □ Referto:

     Refer to          □ Psychiatry □ Medical □ Discharge Planner □ Other
     Other
       □ Placed on Special Needs

       □ Placement on Special Needs considered and deferred

    BH217UN0000ACCEtl.050116




     !l-Sigm.ld by Sarnh Snwntkowski, MMlnl Health Profossiona't. on 04/05/2017 11 :44 AM EST                                                 Page2ofl




                                                                                                                                   MCCI MED RECORDS 200
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   Monmouth County                                     Behavioral Health Special Needs
   Monmouth Adutt (MCCI)                                                    Note
   1 waterworks road
   Frnehold, NJD7'128
   Pet/en/ Name                       Petient Number                  Booking Number                 Birth Dale           Dale 0( Servlct!
   omtELL fREEMAU                     28184                           3279258                        11125/1915           3f712016


    Current Status and Progress Since Last Appointment:
    Met with /JM on 12. 1/M presented within normal limits of functioning without signs or reports of psychiatric
    distress. 1/M was seen sitting by the microwave drinking coffee prior to meeting. Inquired about /!M's plans for
    continued group attendance which he slated that he intended to continue and is furlhering himself with additional
    AA meetings. JIM stated that otherwise he was doing well at this time. IIM denied Sf/Hf and signed treatment
    plan.
    Describe Interventions Utilized/Taught During Session:
     Supportive counseling offered.
    Medication Compliant?                                        0 NIA @ Yes O No
    Suicidal ldeations noted?                                    0 NIA O Yes \!l No
    Homicidal ldeations noted?                                   0 NIA O Yes l!l No

    Does treatment plan require revision based on cULTent status?                                                                  0 Yes@ No
    Note changes:


   \ M~ntal Status Exam:· ·

    Appearance:
      [;zJ Appropriate □ Meticulous □ Unclean □ Disheveled □ Bizarre                                D Other
    Explain:
     Sp€ech:
      [;zJ Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ Other

     Explain:_________________ ··---··---- ---·---·-··-·---- -··---- -·-··-----·- ····--·-·------·--- ···-·-·----- ....
     Mood:
      [;zJ Appropriate □ Depressed □ Euphoric □ Anxious □ Angry □ lm1ab/e □ Other
     Explain:
     Affect:
      [;zJ Appropriate □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ Other

    _Explain:··-·-·.
     Thought Form:
      [;zJ Coherent □ Circumstantial □ Tangenffa/ □ LoaseAssociation
      □ Poverty of Thought □ Flight of/deas                   D Other
     Explain:
     Thought Content:
       [;zJ Appropriate □ Comp/obsess. □ Thought Insertion □ Broadcasting
       n   nf"lW~in11:tf   n   HRlfllrlm,Uon.-.:   n   S11ir-irir1l   n   Hnmir-irlaf   n   OlhPr




                                                                                                                             MCCI MED RECORDS 201
                                                                                                      .-.:, .. ···.·
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   Monmouth County                                   Behavioral Health Si,ecial Needs
   Monmouth Adult {MCCJ)
                                                                  Note
   1 wal&Works mad
   Freehold, NJD1728
   Pet.'entNsme                      Patient Number                Booking Number                 Birl.h Date           Detf:f or s.nvlce
   DONE.LL FREEMAN                    26184                        3279-253;                      12.12.6/197'fi        8J7/2:o15

      1.Y..1 ,1-1µp1uprJdH~ LJ l.,-UlflJ-IIUQO~.::.b. LJ 11/VU!Jllt llmt'rUJJII LJ DltJdUL--d.:lWJy

      □ Delusional □ Hallucinations □ Suicidal □ Homicidal                       D   0//Jer
    Explain:
    Orientation:
      [;zJ Person    RJ Place [;zJ Purpose [;zJ Time
    Intelligence:
      □ Above Average [;zJ Average □ Below Average □ Developmentally Disabled
    Memory:
      RJ Intact    □ Immediate Impaired □ Recent Impaired □ Remote Impaired                                                                            I
                                                                                                                                                       :.:
    Insight
      [;zJ Intact □ Good □ Fair □ Poor
     Judgment:
      [;zJ Intact □ Good D Fair D Poor
     Behavior:
      [;zJ Appropriate □ Belligerent □ Agitated □ Withdrawn [;zJ Cooperative □ Uncooperative

     Diagnoses (include ment:il disorder; and relevant medical conditions):

    Patient Problems:
             - - - - - - - - - - · · · · · · · · · · · - - - - ~-··---·-· - - - - - - - - - - - - - ~
    Observed                                                  Problem                                          Confirmed By
                     Category Type
    Dale
    06-30-2015 Acute               PSYCH: Substance Al h I Ab
                                   Abuse              co o    use
    06-30-2015 Chronic             RESP: Asthma     Asthma Not Otherwise Specified
                                   PSYCH:           Unspecified Major Depression,
    06--30-2015 Acute                                                              Janice Buttler
                                   De ression       Recurrent E, isode

      Current Dx MOD

     Plan (please chec~ allthatapply):

      0 Conilnue Special Needs visits.
           FoITow up in_._ n~rnber of days. Number of days/Date:                        monthly
      □    Refer to Psychiatry:
      □    Start Suicide Precautions:

      □    Refer to Medical:
                                                                                                                                                        '.'
      □    DIC from SN program-MH lo flu in 1 month to assess adjustment




                                                                                                                                        P:'lg~ 2 of3




                                                                                                                           MCCI MED RECORDS 202
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   Monmouth County                                  Behavioral Health Special Needs
   Mrmmouth Adu/t{MCCJ)
   1 watEUWOrl\'$ r0rni
                                                                 Note,
   FrrumaJd, NJD1728
   P<>fientName                      Petient Number          twokfng Number           Birth Dele   Dete Of Sen•rci:i
   OOHELL FREEMA•                    2618-4                  3279258                  12125/1975   a-m2015


     [;,) Other:
     continue with MH group




    E.Signed by Jesse Coudray n {}8/07/2015 07:04 PM EST                                                          P::ige,3.nfJ




                                                                                                     MCCI MED RECORDS 203
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   Monmouth County                                  Benavioral Health Special Needs
   Monmouth A duft (MCCIJ
   1 waterworks road                                              Note
   Freef1old, NJD1728
   Pettent Ne.me                  Peti'ent Number            Booking 1\'mnber             Birl.h D8W      De.te Of Service
   OONELL FREEMAN                 26184                      3279253                      11.l.25/'l975   11/1912015

    Current Status and Progress Since Last Appointment:
     Slates he is "fme", denies any current MH concems and contracts for safety at this lime. Noted that he is
     awaiffng x-rays for his knees, has already consulted with medical
    Describe Interventions Utilized/Taught During Session:
     Offered supportive counseling and education, encouraged continued stability
    Medication Compliant?                                 0 NIA @ Yes Cl No
    Suicidal ldeations noted?                             0 NIA O     Yes   @l No
    Homicidal ldeations noted?                            0 NIA CJ    Yes ,!) No

    Does treatment plan require revision based on current status.?                                                 0   Yes® No
    Note changes:


    Mental Stat.us Exam:

    Appearance:
      liZl Appropriate D Meticulous      □ Unclean □ Disheveled □ Bizarre □ Other
    Explain:
    Speech:
     liZl Approptiate     □ Expressive □ Loud □ Slowed □ Pressured                  D   Slurred □ O!her
    Explain: ....
    Mood:
      1,1] Appropriate    □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
    Explain:
    Affect:
      liZJ   Appropriate □ Tearful □ Blunted □ Flat □ Labile □ Hosble O Other
    Explain:
    Thought Form:
      1,1] Coherent     □ Circumstantial □ Tangenilal □ Loose Association

      □ Poverty of Thought □ Flight of Ideas □ Other
    Explain:
     ---··-----· ---·
    Thought Content:
     0 Appropriate □ Comp/obsess. □ Thought Insertion □ Broadcasl/ng
                                                                                                                                     .i.:
      □ Delusional □ Hallucinations □ Suicidal □ Homicirfal □ Other
    Explain: ·--· _
    Orientatlon:




                                                                                                                        Pllgel.of2




                                                                                                            MCCI MED RECORDS 204
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   Monmouth county                                        Behavioral Health Special Needs
   Monmouth Adult(MCCJ)
   1 watwworf<.s road                                                  Note
   Freehold, NJD1128
   Pet,ent Nami':                         Patient Number                 Booking Number             Birth Delft     Oat,; Of Sen•ice
   OO~ELL FREEMAN                         26184                          3279258                    11.J2S/197S     111rnno1s

         Orientation:
          0 Person       □   Place 0 Purpose 0 Time
         Intelligence:
          □ Above Average           0   Average     D   Below Average □ Developmentally Disabled
         Memory:
          0   Intact   D   Immediate impaired         D    Recent Impaired □ Remote Impaired
                                                                                                                                                Il
         Insight:
          0 Intact     □ Good      D Fair     □ Poor
         Judgment:
          0 Intact     □ Good □ Fair □ Poor
         Behavior:
          0 Appropriate       □ Belligerent □ Agitated □ Withdrawn □ Cooperative □ Uncooperative

         Diagnoses (include mentardisordersand relevant medical conditiqns):·.

     Patient Problems:
          bserved
          ate            Category Type                               Problem                               Confirmed By

    ~ 6-30-2015 Acute                   ~f:s~H: SubSiance Alcohol Abuse
    I,   06--3 00--2015 Chronic         RESP: Asthma                 Asthma Nol Olhe,wise Specified
         06 3 2015 Acute                PSYCH:                       Unspecified Major Depression, .Janice Buttler
    '--··--··-······ .               .._Q~fl.l.f'.~Sion              Recurrent Epis~o~d_e ___________

         Depression

         Plan (please check air that apply):

          0 ConUnue Special Needs visits.
              Follow up in__ number of days. Number of days/Date:                         1212015
          □   Refer lo Psychiatry:

          □ Start Suicide Precautions:

          □ Refer lo Medical:

          □ DIC     from SNprogram-MH lo flu in 1 month lo assess adjustment.
          □ Other:




         E~~Hgllctl by Sarah Smentkowski n 11/19/2015 03:12 PM EST                                                                Page 2 of 2




                                                                                                                      MCCI MED RECORDS 205
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   Monmouth County                               Behavioral Health Special Needs
   Monmouth Adult{MGGI}
   j wn~n•mrf<s road
                                                              Note
   Freehold I NJ0772.B
   Patien( Meme                    Patient Nvmbe-r           Booklng Number             Birth De/ti   Date or Sen:/ce
   DONELL FREEMAN                  26184                     :I27gaz68                  1212611976    12118!2015

    Current Status and Progress Since Last Appointment:
     Denies any current MH concerns and contracts for safety. Discussed hip pain and frustration that he may not
     be able to have ii treated in the manner he desires. Pleasant and cooperative for duration of assessment
    Describe Interventions Utilized/Taught During Session:
     Offered supportive counseling and educaifon, encouraged continued stability
    Medication Compliant?                                0   NIA (~ Yes        O   No
    Suicidal ldeations noted?                            0   NIA   O     Yes   ® No
    Homicidal ldeations noted?                           0   NIA   O     Yes @ No

    Does treatment plan require revision based on current status?                                             0 Yes@ No
     Note changes:


     Mental Status Eiram.:                                                                                                         !' .

     Appearance:
      0     Appropriate □ Meocu/ous □ Unclean □ Disheveled □ Bjzarre □ Other
     Explain:
     Speech:
      0     Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ Other
     Explain:
     Mood:
      0 Appropnate □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
     Explain:
     Affect:
      EZI   Appropriate □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ Other
     Explain:
     Thought Fonm:
      EZI   Coherent     D   Circumstantial □ Tangenha/ □ Loose Association
      D     Poverty of Thought □ Fffght ofldeas      D   Other
     Explain:
     Thought Content:
       0    Appropriate □ Comp/obsess, □ Thoughtlnserlion □ Broadcasting
       D    Delusional   D    Hallucinations □ Suicidal □ Homicidal □ Other
     Explain: __________________ ~ _
     Orientation:




                                                                                                                    P::1ge I of2




                                                                                                         MCCI MED RECORDS 206
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   Monmouth County                                             Behavioral Health Special Needs
   Monmouth Adult (MCGJ)
   1 waterworks road
                                                                            Note
   F~ehold, NJ0"/728
   PMlentNams-                              Patient ,''1am/Jer             Bookfng Mumber            Birth Dste     Dete Of Service
   OONELL FREEMAN                           26184                          3279268                   12/26{1976     121'J3Jitl1!i



    Orientation:
     E2l---Person      E2l Place E2l
            - - - - -· .......... - ... -
                                            Purpose      E2l     Time
    Intelligence:
     0 Above Average Gil Average                       □ Below Average □ Developmentally Disabled
    Men-iory:
     E2l    Intact □ Immediate impaired □ Recent Impaired [] Remote impaired
    Insight:
     E2l    Jntac/   0    Good     O    Fair    O    Poor
    Judgment
     Gil Intact □ Good □ Fair □ Poor
    Behavior:
      E2l   Appropriate □ Belligerent □ Agitated □ Withdrawn □ Cooperative □ Uncooperailve

    Diagnoses [includa mental disorders and relevant medical conditions):

   Patient Problems:
    Observed                                                                                               Conffmied By
                         Category Type                                  Problem
    Date
                                        PSYCH: Substance Al h /Ab
    06-30-2015 Acute                    Abuse              co o    use
    06-30-2015 Chronic                  RESP: Asthma     Asthma Not Othe,wise Specified
                                        PSYCH:           Unspecified Major Depression, Janice Buttler
    06-30-2015 Acute                    De ression       Recurrent Episode_ _ _ _ _ _ _ __

     Depression

     Plan (pleas_e_ check aH that apply):
                                                                                                                                                ; I
      E2l   Continue Special Needs visits.                                                                                                      '!

            Follow up in__ number of days_ Number of days/Date:                             1/2016
      □     Refer to Psychiatry:
                                                                                                                                                i:
      D Start Suicide Precautions:
      □ Refer to Medical:

      D DIC from SN prograni-MH to flu in 1 month to assess adjustment
      D     Other:




     E-.Sig11ed by Samh Sm~-ntkowski n 12/18/2015 01 :34 PM EST                                                                   Page: 2 of2




                                                                                                                       MCCI MED RECORDS 207
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   Monmouth County                             Behavioral Health Special Needs
   Monmouth Adult {MCCI)
   1 waterworl<$ road
                                                            Note
   Freehold, NJ07728
   Pe/ien{Meme                   P<:{ient Number        &oklng Mumber             Birttl DfJtli'   Dete or Sen:ice
   DONELL FREEMA!l               261"34                 3279258                   12115/1975       216/2016

    Current Status and Progress Since Last Appointment:
     Reviewed and signed Ix plan with writer, denies any current MH issues or concerns and able to contrac/ for
     safety. Asked writer for "research" linking "oppression and depression"; advised 1/M that he must seek this
     research on his own.
    De-scribe Interventions UtUized/Taught During Session:
     Offered supportive counseling and education, encouraged wellness
    Medication Compliant?                            0 NIA (~ Yes O No
    Suicidal ldeations noted?                        0 NIA O     ® No
                                                                  Yes
    Homicidal ldeations noted?                       0 NIA O Yes © No

    Does treatment plan require revision based on current status?                                             0 Yes(~) No
    Note changes:

     Mental Status Exam:

    Appearance:
      0    Appropriate □ Meticulous □ Unclean □ Disheveled □ Bizarre □ Other
     Explain:
    Speech:
      0    Appropriate □ Expressive      D   Loud □ Slowed □ Pressured □ Slurred □ Other
     Explain:
     Mood:
      0    Appropriate □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other

    Explain: -· ·-··- _-·- ...
    Affect:
      RI   Appropriate □ Tearful □ Blunted □ Flat □ Labile □ Hostlle □ Other

     §plain.: _______ --·······
     Thought Form:
      0    Coherent □ Circumstantial □ Tangential □ Loose Association
      □ Poverty of Thought □ Flight of/deas □ Other
     Explain:
     Thought Content
      0    Appropriate □ ComplobSess. □ Thoughtlnsertion □ Broadcasting
      □ Delusional □ Hallucinations □ Suicidal         D Homicidal      □ Other
     Explain:




                                                                                                                 Page I of2




                                                                                                      MCCI MED RECORDS 208
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                                                                                                                                                                      I




   Monmouth County                                                        Behavioral Health Special Needs
   Monmouth Adult (MCGI)
                                                                                         Note
   1 waterworlffl .road
   Freehold, NJ£J1728
   PftlientMame                                           Patienf Number             Booking NL'mher            Birth Date      Doti, or Service
   0ONELL FREEMAU                                         26134                      3279258                    12126/1975      2J6/Z016


    Explain:
    Orientation:
       RI      Person            RI Place 0               Purpose    RI    Time
     Intelligence:
       □ Above Average                         0 Average           □ Below Average □ Developmentally Disabled
           -            - - -   -·-·- - ·-- . - ..   -

     Memory:
       0 Intact             □ Immediate Impaired □ Recent Impaired □ Remote Impaired
    . ----····· ---   -------···-···-··-- --- ·•
     Insight:
       G'I Intact □ Good □ Fair □ Poor
     Judgment:
       RI Intact □ Good □ Fair □ Poor
     Behavior:
       0 Appropriate                     □ Belligerent □ Agitated □ Withdrawn □ Cooperative □ UncooperaUve

     Diagnoses (Include menta.1 disorders and relevant medical conditions):

    Patient Problems:
    ·ofuervea·- --- · -                                                           Problem                              Confirmed By
    Date                          Category               Type

     06-30-2015 Acute                                    PSYCH: Substance         Al h IAb
                                                         Abuse                     co o     use
    I06-30-2015                   Chronic                RESP: Asthma
                                                         PSYCH:
                                                                                  Asthma Not Otherwise Specified
                                                                                  Unspecified Major Depression,
    E0-2015 Acute                                                                                                Janice Bul/Jer
                                                         Depression               Recurrent Episode
                                                                                                                                                                          I'
       Depression                                                                                                                                                         II.

      Plan (please check. all that apply):
                                                                                                                                                                  I
        [21 Continue Speciill Needs visits.
               Follow up in_._ number of days. Number of days/Date:                                    3/2015
        □ Refer to Psychiat,y:

        □      Start Suicide Precautions:

         □ Refer to Medical:

         □ DIC from SN program-MH to flu in 1 month to assess adjustment

         □ Other




      E,Signe<l by S:i.rnhSmentkowski n:02/05/2016 12:36 PM-EST                                                                                    P::igr, 2of2




                                                                                                                                   MCCI MED RECORDS 209
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   Monmouth County                                              Behavioral Health Special Needs
   Monmouth Adult (MCC/)                                                     Note
   1 waterworks rnad
   Freehold I NJ07728
   Pa/lent Nim1e                             Pe.L'ent Nvmber              Booking Mumber            Birth Deleo   Osle Of .Service
   OOffELL FREEMAU                           26134                        3279268                   12115/1975    3/:W2016


    Current Status and Progress Since Last Appointment:
     Mel wiN1 1/M on A2. 1/M presented within normal fimi/s of functioning wffhout signs or reports of psychiatric
     concern. 1/M spoke about continuing to fight his case on his own and requested information on /he criteria for
     substance use disorder in the DSM 5. 1/M stated that he was othe1wise doing well and was keeping himself busy
     exploring how environment effects behaviors. IIM denied SI/HI.
    Describe Interventions Utilized/Taught During Session:
     Supportive counseJing, find requested information
    Medication Compliant?                                              () NIA   (!J Yes    O No
     Suicidal ldeations noted?                                          0 NIA O Yes        @   No
     Homicidal ldeations noted?                                         0 NIA O Yes        @   No

     Does treatment plan require revision based on current status?                                                         ()Yes@ No
     Note changes:


     Mental Status Exam:
                                                                                                                                             I .
     Appearance:                                                                                                                             !
      G'I Appropriate □ MeUculous □ Unclean □ Disheveled □ Bizarre □ Other
    .Explain:
     - ·- .. ___ ,_ .. _________________ .... -· ·--·-·--·- --·-·

     Speech:
      [;,J Appropriate □ Expressive □ Loud □ Slowed D Pressured D Siu/Ted □ Other
     Explain:
     Mood:
      G'I Appropriate □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
     Explain:
     Affect
      [;,J Appropriate □ Tearful                  D Blunted         □ Flat □ Labile □ Hosu/e □ Other

     Explain: .. ---~- ---·--
     Thought Form:
       G'I Coherent         □ Circumstanffal              D    Tangential □ /.Dose Association
       □ Poverty ofThought □ Flight of/cieas □ Other

     Explain: . ·-·-· ··--·-·-........... ~·
     Thought Content
       G'I Appropriate □ GomplobsesSc □ T!/olight Insertion □ Broadcasting
       D Delusional □ Hal/ucinailons D Suicidal □ Homicidal □ other



                                                                                                                                 Pngcl Of)




                                                                                                                      MCCI MED RECORDS 210
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   Monmouth County                                         Behavioral Health Special Needs
   Monmouth Adult (MGCIJ
   1 wate,worlfs road
                                                                        Note
   Frf!ehold, NJU77Z8
   PafientNeme                         Pati~nt Number                        Book}~ Number               Birth Date      OQfe Of Smvtce
   OOf~ELL FREEMMI                     261"84                                317925.8                    12/25/1975      3/22/2016

      □ Delusional      D   Hallucinations □ Suicidal □ Homicidal                           D   0/her
    Explain:
    Orientation:
                                                                                                                                                    I
                                                                                                                                                    '
      G1I   Person l:;;J Place   ttl   Purpose       G1I   Time
    Intelligence:
      □ Above Average          G1I   Average    D      Below Average              D     Developmenta(lyDisabled
     Memory:
      G1I   Intact □ Immediate Impaired □ Recent Impaired                               D --Remote  linpaired
                                                 -    -- -   . -·····-   ·--~-- ~-------.   -· .. -                                                 i.
    Insight:
      G1I   Intact □ Good □          Fair   □ Poor
     Judgment:
      G1I Intact □ Good □ Fair □ Poor
     Behavior:
      G1I   Appropriate □ Belligerent □ Agitated □ Withdrawn i:;;J Cooperative □ Uncooperative

    .Diagnoses {include mental disorders and relevant medical conditions):

    Patient Problems:
    ---------------~----.-.~.                              - - - - - - - - - - - - - - - - - -------~
     Observed C t   Type                                             Problem                                    Confirmed By
    Date        a egory
    03-19-2016 Acute    Symptoms                                    AbnormalityofGait
    06-30-2015 Acute                 ~:;:,,<:;,H: SubSlance Alcohol Abuse
    06-30-2015 Chronic                  RESP: Asthma              Asthma Nat Ot/Je,wise Specified
                                        PSYCH:                    Unspecified Major Depression,
    ._o_6-_3_0~--20_1_5_A_cu_te_.----=D'-'e=re'°s"'s"'io,,n _ ____;,Recurrent Episode. - ···--- _ _ _J_a_n,_·c_e_B_u_ttler

      Current Ox Major Depression

     Plan (pleas~ ch&ck all th~~ ~pply):. '·

      i;,J Continue Special Needs. visits.
            Follow up ln_·._     number of days. Number of days/Date:                            monthly
      □ Refer to Psychiatry:

       □ Start Suicide Precautions:

       □ Refer to Medical:

       □ DIC from       SN program-MH to flu in 1 month to assess adjustment

       □ Other:


                                                                                                                                      P~gc 2 uf J




                                                                                                                           MCCI MED RECORDS 211
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   Monmouth coonfy                                            Behavioral Health Speelal Needs
   MoJJmouth Adult (MCC/)                                                  Note
   1 waterwork.J road
   Freehold 1 NJD7'128
   Petifmf ,~)Broo                             Petient Number          Booking ,',Jumber        Birth O&t&   Date Of Senric<f
   OON"ELL FREEMAN"                            26184                   3279258                  1212611975   3/2212016


      □ Other:




                                                                                                                                         I.




      E-Signctl by   Jt>SS:ll   C1rndriiy 1\ 03tl2/20\6 07:34 PM-EST                                                        Pogc 3 of3




                                                                                                                MCCI MED RECORDS 212
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   Monmouih county                            Behavioral Health Special Needs
   Monmouth Adult (MCCI)
   1 waterworks road                                       Note
   Freehold, NJ01728
   Petle.otNemft                Petient Numb-er        Booking Number           B{rlh Dete      Date or Sero.:ice-
   DONELL FREEMAN               26184                  3279258                  12/25/1976      -4/2212016

    Current Status and Progress Since Last Appointment
     Met with 1/M on A2. JIM presented within 1JOrmaf limits of functioning without signs or reports of psychiatric
     concern. Stated that he was conllnuing to fight his court case, the information provided was helpful, and he is
     currently working on puffing in motions. Stated that at this time he didn't have pressing issues or concerns and
     was infonned how to contact MH PRN. 1/M denied SI/HI.
    Describe Interventions Utilized/Taught During Session:
     Supportive counseling offered
    Medication Compliant?                           0 NIA (~ Yes O No
    Suicidal ldeations noted?                       0 NIA O Yes <•) No
    Homicidal ldeations noted?                      0 NIA O Yes @ No

    Does treatment plan require revision based on current status?                                         0 Yes      (!l No
    Note changes:


    Mental Status Exam:

    Appearance:
     0 Appropriate    □ Metb1/ous □ Unclean □ Disheveled □ Btzarre □ Other
    Explain:
    Speech:
     0 Appropriate    □ Expressive      D Loud    □ Slowed   O Pressured D Slurred D Other
    Explain:
    Mood:
     0 Appropriate    □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
    Explain:
    Affect:
     0 Appropnate     □ Tearful □ Blunted □ Flat      D Labile   □ Hostile □ Other
    Explain:
    Thought Form:
     0   Coherent □ Circumstantial □ Tangential       D   Loose Associauon
     □ Poverty of Thought □ Fllght of Ideas □ Other
    l=xplain:.
    Thought Content
     0 Appropriate    □ Comp/obsess. □ Thought Insertion □ Broadcasting
     □ Delusional □ Hallucinations □ Suicidal        D Homicidal D Other




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                                                                                                  MCCI MED RECORDS 213
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   Monmouth County                                             Behavioral Health Special Needs
   Monmouth Aduft (MGCI)                                                    Note
   1 waterworks road
   Freehold) NJ0'172.8
   Petienf Nome                                Patient Number                &Joking Number                Birth Date     Date Of service
   DONELL FREEMAU                              26184                         3279253                       12/2511975     4/22/2016

       D      Delusional     D      Hallucinations □ Suicidal □ Homicidal                      O   Other
     E'x!)lain:_
     Orientation:
       GZI    Person   E2l   Place       E2l   Purpose     0    Time
    -····-···· ....          -·-·                -- -----· ... ·-··.
     Intelligence:
       □ Above Average               0     Average       D     Below Average     D       Developmenta!Jy Disabled
     Memmy:
       E2l    Intact □ Immediate Impaired                  D    Recent lmpair~d_[:J_        Fl~moie Impaired
     Insight:
       [,'I Intact □ Good □ Fair D Poor
     Judgment:
       [;ii Intact □ Good □ Fair □ Poor
     Behavior:
        [,i] Appropriate □ Belligerent □ Agitated □ Withdrawn G2) Cooperative □ Uncooperative
                                                                                                                                                          I
                                                                                                                                                          I
                                                                                                                                                          ,_
    _Diagnoses (include mental disorders and relevant medical conditions):
                                                                                                                                                          i
                                                                                                                                                          I
    PaUent Problems:
    ~---------------------·                                                      --·--   --- ·------------------------
     Observed                                                          Problem                                   Confirmed By
                       Category Type
     Date
     03-19-2016 Acute                      Symptoms                    Abnom,ality of Gait
                                           PSYCH: Substance            Al oho/ Ab
     06-30-2015 Acute                      Abuse                         c               use
     06-30-2015 Chronic                    RESP: Asthma                Asthma Not Olher\Vise Specified
                                           PSYCH:                      Unspecified Major Depression,
     06-30-2015 Acute                                                                                  Janice Buttler
                                           De ression                  Recurrent E isode




        [,i] Continue Special Needs visits_
               F ol!ow up in __ number of days. Number of days/Date:                                 monthly
         D     Refer to Psychiatry:

         □ Start Suicid<1 Precautions:

         D      Refer to Medical:

         □     DIC from SN program-MH lo flu in 1 month to assess adjustment.
         □ Other:



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                                                                                                                             MCCI MED RECORDS 214
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   Monmouth County                                     Behavioral Health Special Needs
   Monmouth Adult {MCCJJ
   1 waterworkS raad                                                Note
   Freehold 1 NJ01728
   Pafle()tName                        P&tienl Number           Booking Numb-er          Birth Date   Date Of Sendce
   OONELL FREEMAW                      26184                    3279268                  11125/1875   4122/2016


     □ Other:




                                                                                                                                i




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                                                                                                                                I
                                                                                                                                Ii
                                                                                                                                I
                                                                                                                                ti




    E•Signed by Jesse Coudray il 04/22/21>1'6 06:54 PM ESl'                                                       Page 3 of J




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                                                .:!
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   Monmouth Couni;y                                    Behavioral Health Special Needs
   Monmouth Adult (MCCJJ
   1 wate,worl<s road                                               Note
   Freehold, N.JQ7728
   p,3fi'ent ,',}ame-                   Pllf:ient Number        Booking Numbe-r           Bfrth Dele           Date Of Secrvlc~
   OONELL fREEMAIJ                      26184                   327925-8                  12125/HH5            6/18/2018

    Current Status and Progress Since Last Appointment:
     States 'I'm good', denies any C1Jrrenl MH issues and contracts for safety, pleasant and cooperative.
    Describe Interventions Utilized/Taught During Session:
     Offered supportive counseling and education, encouragecf stability
    Medication Compliant?                                    O NIA @ Yes O No
    Suicidal ldeations noted?                                0 NIA O       Yes l!)   No
    Homicidal ldealions noted?                               0 NIA O       Yes (~)   No

    Does treatment plan require revision based on current status?                                                       0 Yes@ No
    Note changes:


    Mental Status Exam:

    Appearance:
      Gil   Appropriate □ Meticulous □ Unclean □ Disheveled □ Bizarre □ Other
    Explain:
    Speech:
      Gil   Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slwred                        D     Other
    Explain:
    Mood:
      0     Appropriate □ Depressed □ Euphoric □ Anxious □ Angry □ lnitab/e □ Other
    Explain·
    Affect
      0     Appropriate □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ Other
    Explain: _________________
    Thought Form:
      0     Coherent □ Circumstantial □ Tangen/ial □ Loose Association
      □ Poverty of Thought □ Flight ofldeas □ Other
    Explain:
    Thought Content
      0     Appropriate □ Comp/obsess. □ Thought Insertion □ Broadcasbng
      □ Delusional □ Hallucinations □ Suicidal □ Homicidal □ Other
    Explain:
    ·---. ·-·-·----··-·-·- ----·· - . -··
    Orientation:




                                                                                                                             P:ige ! of"2




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   Monmouth County                                         Behavioral Health Special Needs
   Monmouth Adult (MCCI)
   1 waterworks ruBd
                                                                        Note
   FreelmJd, NJ07728
   Petient Neme                            Patient Number                Booking Numb-er            Birm Date      Date or Service
   DONELL FREEP.IIMl                       26184                         3279258                    12/25/1975     -511.812016

    Orientation:
      Rl    Pe1o011   Rl   Place     G2I   Pwpose     Rl    Time
    Intelligence:
      □ Above Average               Rl   Average □ Be/ow Average □ Developmentally Disabled
        ... <.-•--···--"--'"·-·-·                              ·-··         -··---
    Memory:
      Rl Intact     □ Immediate Impaired □ Recent Impaired □ Remote Impaired

    Insight:
      Rl    Intact □ Good □ Fa1i· □ Poor
    Judgment:
      0 intact      □ Good □ Fair □ Poor
    Behavior:
      G2I   Appropriate □ Belligerent □ Agitated □ Withdrawn □ Cooperauve □ Uncooperative

     Diagnoses (include meiit;il disorders.and reieva~tmedhial conditions):

   Patient Problems:
    Obse1ved                                                                                              Confirmed By
    Date              Category Type                                   Problem
    03-19-2016 Acute                     Symptoms                  Abnormality of Gait
    06-30-2015 Acute                     PSYCH: SubS tance Alcohol Abuse
                                         Abuse
    06-30-2015 Chronic                   RESP: Asthma              Asthma Nol Otherwise Specified
    06- _      Acute                     PSYCH:                    Unspecified Major Depression,  Janice Btiltler
       30 2015
   '----------~D=e,er_e,;~()11~ .                                  Recurrent Episode



                                                                                                                                              i:
     Plan (please check all that apply): ·

      E2I   Continue Special Needs visits.
            Follow up in__ numl>er of days. Number of days/Date:                           6/2016
      □ Refer to Psychiatry:

      □ Starl Suicide Precautions:

      □ Refer to Medical:

      □ DIC from SN program-MH to flu in 1 month to assess adjustment

      □ Other:




     E-8igned by S:ir:;h Smcntkowski n 05/18/2016 04:25 PM EST                                                                   Page 2 of2




                                                                                                                      MCCI MED RECORDS 217
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   Monmouth County                           Behavioral Health Special Needs
   MonmoLJth Adult {MCCJ)
   1 wate.rworl<s road                                    Note
   Freehold, NJ0'/728
   P~tient Nam&                 Patient Number         Booking Numoe.r            Birth Date    Dr:te or Service
   0OHELL FREEMAN               26184                  3279258                    12/2.5/1975   6/15f2U16

    current Status and Progress Since Last Appointment:
     Met with I/M on A 1. JIM presented within norm a/limits of functioning without signs or reports of psychiatric
     concem despite ceasing Zo/ofl 2 weeks earlier. JIM wanted to discuss current gains in legal understanding as he
     is represenang himself during court. Informed I/M that legal issues are outside my scope of practice, however
     he wanted to discuss passages he read to ensure his "reading comprehension" was co/Teet. I/M was engaged
     throughout the session and brought pape1work. I/M stated that he was othe11Vise doing we(/, was referred to SAS
     to ask questions regarding results of intoxication, and den;ed SI/HJ.
    Describe Interventions Utilized/Taught During Session:
     Supportive counseling
    Medication Compliant?                          @ NIA     O Yes O No
    Suicidal ldeations noted?                      0   NIA   O   Yes   l!l   No
    Homicidal ldeations noted?                     0 NIA O Yes ('1 No

    Does treatment plan require revision based on current status?                                        0 Yes      (i) No
    Note changes:


    Mental· Statu,. l:xam:

    Appearance:
     l:ZI Appropriate    □ Meticulous □ Unclean □ Disheveled □ Bizarre □ Other
    Explain:
    Speech:
     0 Appropriate       □ Expressive □ Loud □ Slowed □ Pressured □ Slutrnd □ Other
    Explain:
    Mood:
     EZl Appropriate     □ Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
    Explain:
    Affect:
     l:ZI Appropriate    □ Tearful □ Blunted □ Fiat □ Labile □ Hoslile □ other
    _Explain:
    Thought Form:
     0 Coherent      □ Circumstanba/ □ Tangeniiijl □ Loose Association
     □   Poverty of Thought □ Flight of/deas □ Other
    Explain:
    Thought Content:
      l:ZI Appropriate   □ Comp/obsess. □ Thought lh_serlion □ Broadcasting




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                                                                                                   MCCI MED RECORDS 218
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   Monmouth Counfy                                Behavioral Health Special Needs
   Monmouth Adult (MCC/1
   f v,oten'iorl<s road
                                                               Note
   F~Mofd, NJ0'17Z8
   Pcto'ent Ntune                    Patient Number         BooJ;!ng f,)umber             Birth Date   Drue Of Sen'ice
   OOflfLL FREEMAH                   26'f34                 327925.8                      12/25/1976   G/15/2.016


      0 Appropriate       □ Comp/obsess. □ Thouglll Insertion □ Broadcasting

      □ Delusional □ Hallucinations □ Suicidal □ Homicidal □ Other
    Expfain:
                                                                                                                                 1.
     Orientation:
      0 Person 0 Place 0 Pwpose 0 TTme
    Intelligence:
                                                                                                                                 j_--
      □ Above Average         E2l   Average □ Below Average □ Developmenlal/yD1sabled                                            1

    Memory:
      0 Intact      □ Immediate Impaired □ Recent Impaired □ Remote Impaired
                                  . ··--···---- ..                  -··--···-""""-···-
    Insight:
      G2l Intact    □ Good □ Fair □ Poor
     Judgment:
      0 Intact      □ Good □ Fair □ Poor
     Behavior.
      0 Appropriate       □ Belligerent □ Agitated □ Withdrawn i;,J Cooperative □ Uncooperative


     Diagnoses (Include mental disorders _and relev'ant medi~I conditions):

   Pa/Jent Problems:
    Observed                                                                                    C@firmedBy
                     Category Type                      Problem
    Date
    03-19-2016 Acute                Symptoms            Abnormality of Gait
                                                  t
    06-30-2015 Acute                :i;:,,~H: SubS ance Alcohol Abuse
    06-30-2015 Chronic              RESP: Asthma        Asthma Not Otherwise Speciffed
    06- 30_2015 Acute               PSYCH:              Unspecified Major Depression, Janice Buttler
                      ____D~ep=r~e~s=sio_'.l _          Recurrent Epis__,o"d"'e'---------



     Plan (pfease_ che~k all that appli>:°.

      0 Continue Special Needs visits.
           Follow up in__ number of days. Number of days/Date:                  monthly
      D    Refer to PsychiatJy:

       □   Start Suicide Precautions:

       □ Refer      to Medical:
       □   DIC from SN pmgram-MH to ffu in 1 month to assess adjustment


                                                                                                                     Prigc2of3




                                                                                                          MCCI MED RECORDS 219
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   Monmouth County                                 Behavioral Health Special Needs
   Monmouth Adult {MCGI)                                        Note
   1 watervrorlf~ ro&d
   Freehold, NJ01728
   Patient Mame                     Pellenl Number          Booking Number           Birth Date   Data or Service
   OONELL FREEMAN                   2"1&4                   3279263                  12125/1975   6/1612016



     □ DIC from SN program-MH lo flu in 1 month to assess ac(justmenl

     □ Other:




                                                                                                                                  !,:'
                                                                                                                                  1:




     E-Signcd by Jesse Coudray 11 06/1S/201607:11 PM EST                                                            P3g<; 3 of3




                                                                                                     MCCI MED RECORDS 220
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   Monmouth County                              Behavioral Health Special Needs
   Monmouth Adult (MCCI)
   1 waterworks road
                                                             Note
   FrQ81,oJd, NJ0'1728
   Petient Name                 P.atit:nt r-Wmber           Booking Number             8irtl/ Dcte           Date Of 8en:/ce
   DONELL FREEMAN               26184                       3279258                    12./2511975           71512016

    Current Status and Progress Since Last Appoin;rnent

     Met with IIM on A2. 1/M presented within normal limits of functioning w1rhou/ signs or reports of psychiatric
     concern. 1/M was seen laying down in the recreation yard. Discussed wiff1 1/M removal from the MH roster due
     to his continued stability and cessation of medication, which he agreed to. Discussed brie"y a follow up
     regarding last meeting and his defense for court which he was still counting on, however hasn't gone lo court
     yet. 1/M stated that he was continuing lo do well and returned to the recreation yard following this meeting. 1/M
     denied SI/HI.

    Describe Interventions Utilized/Taught During the S!!ssion

     Supportive counseling

    Current Status

    Medication Compliant?                                                                                  @ NIA        O   Yes   O No
    Suicidal ldealions noted?                                                        O Yes @:l No O Refuses to answer
    Homicidal ldeations noted?                                                         0   Yes    ®   No     O   Refuses to answer
    Does treatment plan require revision based on current status?                                                       ~) Yes    O No
    Note changes:
     remove from SN roster

    Mental Statu_s   Exam.

    Appearance:
     EZI   Appropriate □ Meticulous     D    Unclean □ Disheveled □ Bizarre        D    Other

    Speech:
     EZI   Appropriate □ Expressive      D    Loud □ Slowed □ Pressured        D   Slurred    D      Other

    Mood:
     RI    Appropriate □ Depressed       D    Euphoric □ Anxious □ Angry □ Irritable □ Other

    Affect:
     Gil Appropriate   □ Tearful □ Blunted □ Flat □ Labile □ Hostile           D Other
    Thought Form:
      RI   Coherent □ Circumstantial      D    Tangential   D   Loose Assoc.
      D    Poverty of Thought □ Flight of/deas □ Other

    Thought Content:




                                                                                                                            Pag{:. I of3




                                                                                                                 MCCI MED RECORDS 221
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   Monmouth County                                                       Behavioral Health Special Needs
   Monmouth Adult {MGC/J
   1 wat,uvro,-ks road                                                                Note
   Freehold, NJ07728
   Patient Name                                   Perient Number                     Booking Number             Birth D.!!le     Dille OJ SeN/co
   DOllELL FREEMAN                                26f84                              3279258                    12125/1975       7/6/2016


    Thought Content:
     EZl   Appropriate □ Hallucinations □ Comp/Obsess                                       D   Thought insertion
     □ Broadcasting □ Delusional □ Suicidal □ Homicidal □ Other

    Orientation:
     EZl   Person         EZl   Place      EZl    Time        EZl   Sffuation
    lntelligenee:
     □ Above Average
             -- -
                                         EZl   Average □ Below Average □ Developmentally Disabled
                                                  ----                                      ··---                   ··-···--
    Memory:
     EZ] Intact □ Immediate Impaired □ Recent Impaired □ Remote Impaired
             ·-   ~   .         . ·- .           . ···-             ··-····   -

    Insight:
     Gil Intact       □ Good □ Fair                       D   Poor
    Judgment:
     EZl   Intact □ Good □ Fair □ Poor
    Behavior.
     EZl   Appropriate □ Belligerent □ Agitated □ Impulsive □ Withdrawn □ Other


    ·. Diagnosis (include mental disorders and rele~ant l)ledlcal ~onditions):

    Patient Problems-
    Observed
    Date                  Category             Type                               Problem                               Conflrmed By
    03-19-2016 Acute                           Symptoms                           AbnormalityofGait
    06-30-2015 Acute                           :~;:,,~H: SobSlance Alcohol Abuse
    06-30-2015 Chronic
                    RESP: Asthma                                                  Asthma Not Othenvise Specified
      _ 0-
    06 3 2015 Acute PSYCH:                                                        Unspecified Major Depression,  Janice Buttler
           _______  Depression                                                    Recurrent Episode




   I Plan (please           check' all th~t applyJi                                                                                                          I
      □ Continue Special Nteeds visits_
           Follow up in_ _ number of days_ Number of days/Date:
      □ Start Suicide Precautions:

      D    Homework given on:

      D    Consult with:



                                                                                                                                               Page 2 of 3




                                                                                                                                   MCCI MED RECORDS 222
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                                                                                                                                 !




   Monmouth county                                   Behavioral Health Special Needs
   Monmouth Adult (MGGJ)
   1 MJ f.wworks road
                                                                  Note
   Freehold, NJ01728
   Patient Nsme                      Paffttr1t Number         eookMg Nl1mber           Birth Dete    Dal.e Of Service
   DDrlELL FREEP.fAN                 2:-6184                  3279268                  12/26/1-975   716/2016

     □   Consult with:

     GZI DIC from SN program. Follow up in one month.
     □   Othetc
    Refer to       □ Psychiatric Provider □ Medical □ Discharge Planner

   Bl1216UNOOOOACCEN050116




    E•Signed by J1;:11~e Coudray n 07/05/201601:49 PM EST                                                          Pagc3 of 3:




                                                                                                        MCCI MED RECORDS 223
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   Monmouth County                                          Behavioral Health Psychiatric
   MonmotAth Adult (MCCI}.
   1 wate:rworff!; road                                      Provider Initial Evaluation
   Freehold, N./07728
   P&tien{Meme                           P.atient Nvmt;er           Booking Number           Birth Dare   Date Of Se11Jlce
   OONELL FREEMAU                        26184                      32.79258                 1i125J1976    '/112015
   Patient Allergies:
   !Observed    T
   ; Date        ype                        Allergy
   i_06-3Q:?015 Allergy lterr1s_____ . ____ No Known Allergies                       ____ _ __

       Presenting Issue;
       "Im trying to get help, l"m suicidal and homicidal and I'm depressed. Mental illness is a stigma in my
       community. I did crack- I know thats stupid. Im ready to get some help'
       Current Psyehotropie Medications:
       no psych meds at this time

   I Current Status:
       History of P1ior Treatment?                                                                                 (•J   Yes O No
       jersey shore crisis and UMDNJ crisis
       Fam Hy Psychiatric History?                                                                                 0 Yes® No        ·1   ·<·'

       Relevant Past Medical HX and Medications                                                                    ® Yes O No       I
       chronic pain from hip replacement
       Prior Self Hann Attempt?                                                                                    (!)   Yes O No
       2X - tried to shoot self, OD
       Prior Violence Toward Others?                                                                               0 Yes® No
       History of Substance Abuse?                                                                                 @ Yes     O No
       Last Date ol Use
       ETOH and crack -last use 2 days ago

   I Mental Status. Exam: .
       Appearance:
        □ Appropriate □ Meticulous □ Unclean □ Disheveled □ Bizarre                        G1l Other
       Explain:        safety gown
                   .. -··-·-  ... ----
       Speech:
        @ Appropriate □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ Other
       Explain:
       Mood:
        tJ   Appropriate 0 Depressed [] Euphonc □ Anxious □ Angry □ frrHab/e □ Other
       El<plain:
       AtfP.ct"




                                                                                                                         Page\ on




                                                                                                             MCCI MED RECORDS 224
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   Monmouth County                                      Behavioral Health Psychiatric
   Monmouth Adult (MCCI)
   1 l'l-aterworks roBd                                  Provider Initial Evaluation
   Freehold, NJ07728
   Patient Name                   Petient NL'mter               Booking Number             Birth D~l-e      Date 0( Sen,rica
   DONELL FREEMAN"                26184                         3279-258                   12/25/1975       71112016
    7:AµJatrt .,_ •~.:- -·
    Affect:
      l,il Appropriaie □ Tearful □ Blunted □ Flat □ Labile                 D /1os/1Je D   Other
    Explain:
    l11ought Form:
      l,il Coherent □ Circumstantial □ TangenUal □ Loose Association
      □ Poverty of Thought □ Flight of/deas               D   Other
    Explain:
    Thought Content:
      1,i1 Appropriate □ Comp/obsess_ □ Thought Jnsertion □ Broadcasting
      □ Delusional □ /1al/ucinations        D     Suicidal □ Homicidal [;;J Other
    Explain:     report-1,_ seein1J_!'1.olher_a11~ siste!_~ ~1 past vague ab_olli voice,;_: possibly due to dnJ(1_1.J_Se
    Orientation:
      [;;J Person [;;I Place l,il Purpose l,ZJ Time
    Intelligence:
      □ Above Average l,ZJ Average □ Below Average □ Developmentally Disabled
                              -· -                                     --· ..
    Memory:
      [;;J Intact □ Immediate Impaired □ Recent Impaired □ Remote Impaired
    Insight
      □ Intact □ Good □ Fair           EZ1 Poor
    Judgment:
      □ Intact □ Good □ Fair           0   Poor
    Behavior:
      [;;J Appropriate □ Belligerent □ Agitated □ Wi//Jdrawn □ Cooperative □ Uncooperative

    Diagn_osis (include· mental disorders anil releva11tmedieal conditions):

   Patient Problems:
    Observed
    Dale             category   Type                        Problem                               ConlirmedBy
                                                    t
    06-30-2015 Acute            '.:J:~H: SubS ance Alcohol Abuse
    06-30-2015 Chronic      RESP: Asthma                    Asthma Not Otherwise Specified
    06-30-201S Acute        PSYCH:                          Unspecified Major Depression,
              ~-------'D"e"p"'ression                       Rec;urren/Episode             _ __

     IM reports depressed mood and treatedit by doing drugs suicidal and homicidal today

    Plan:

                                                                                                                           Pilge 2 of 3




                                                                                                               MCCI MED RECORDS 225
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   Monrnouth coun1Y                                          Behavioral Health Psychiatric
   Monmouth Adult {MCGJJ
   t warenrorks road                                          Provider Initial Evaluation
   Freehold, NJD7728
   Patient Name                          Peti&nt NL-mber             Booking Num.l:.er       Birtb Date    DB le O.f Service
   DONELL FREEMAN                        26il34                      3279258-                12/25/1.976   71112015


    Plan:

    1. Medication:
    zo/oft 50 mg qam
    2. Labs:
     none
    3. Other:
     continue constant watch
    4. Follow Up Date:              daily




    &-Signed by Jw1ice Bult!~•.r 11 07/01/20151 l':03 Atvf EST                                                            Pngc.3of3




                                                                                                              MCCI MED RECORDS 226
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   Monmouth County                                         Behavioral Health Psychiatric
   Monmouth Adult (MCCI)
   1 waterworks ror:td                                       Provider Follow Up Note
   Freefiold, NJ07728
   PeUentNeme                          PJJtient Number              BookiT!fl N11mber              Bfrtnom:e    Dete Of Sen:lc&



                                                                                                                                      J
   DONELL FREEMAN                      26-164                       3279268                        12/25/1076   7/1412015
   Palient Allergies.·
   r ··--- ··--···-·-                                            . - - ··--                ······-· ·-·--·· - - · -          .
   , Observed           T                                  All
   : Date                ype                                 ergy
   i_Q_/J-30-2015 Alle!9.J'lten1_§__ ·--······             Nal(nownA//ergies ··---· · - · ·--···· _ _ _ ...                       _

     Subjective:

     "im still depressed, J 1,ad a lot of stuff happen to me. Im trying lo gel help and noone helps me. Its not easy I
     have so many strikes against me"

    Mental Status Exam:

    Appearance:
      D     Appropriate     D   Meticulous      D   Unclean □ Disheveled          D     Bizarre {;zl Other
    El<J)lain:         laying on cot co~ered with safety gown, sits up to l~lk
    Speech:
      Gil Appropriate       □ Expressive □ Loud □ Slowed □ Pressured □ Slurred □ Other
    Explain:
    ··-·           -
    Mood:
      □ Appropriate GZl Depressed □ Euphoric □ Anxious □ Angry □ lnitab/e □ Other
    Explain:
    Affect:
      G2I Appropriate □ Tea1fu/ □ Blunted □ Flat □ Labile □ Hostile □ Other
    Explain:
    Thought Form:
      G'I   Coherent □ Circumstantial           D    Tangent/a/ □ Loose Association
      □ Poverty of Thought □ Flight ofldeas □ Other
    Explain:
    Thought Content:
      GZl Appropriate □ Comp/obsess. □ Thought Insertion □ Broadcasting
      □ Delusiona/ □ Hailucinations □ Suicidal □ Homicidal □ Other
    Explain:
    Orientation:
      G'I   Person {;zl    Place G'I   Purpose      G'I   Time
    Intelligence:
      □ Above Avernge           G'I   Average □ Below Average            D . -··
                                                                             Developmentally Disabled
       ..   ·"-"   .                   .. .                          -                  . ---·"· ··-··




                                                                                                                             Page I of3




                                                                                                                      MCCI MED RECORDS 227
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   Monmouth County                                   Behavioral Health Psychiatric
   Monmouth Acf/Jlt (MCCI)
   1 watMWorks ropd                                    Provider Follow Up Note
   Freehold, NJ07728
   Patient Name:                  Patient Number                  Booking 1Vumber    Birth Dttle   Date- Of Service
   DOflELL FREEMAN                26184                           3279263            12/2611-975   7/141201.6
    nl.'./A'bove"Average
     --
                             l,d Average    U He/ow Average U Uevelopmenlaf/y Lltsab/ed
                                              ----     .. ---·.               ...
    Memory:
     GZl Intact □ ..Immediate
                  , ,..
                              impaired □ Recent Impaired □ Remote lmpaited
                               ··-·
    Insight:
     □ Intact   O     Good GZ) Fair    O Poor
    Judgment
     □ Intact   D     Good 1,21 Fair   O   Poor
    Behavior.
     GZ) Appropriate □ Belligerent □ Ag11aied □ Withdrawn □ Cooperaljve □ Uncooperative

   I. Recent Lab Results:
     none

   [ Medication Side Effects:

     M denies SE

    AIMS:        0 JI/IA - based on current treatme11t

    Response to Treatrrient:

     poor

    Diagnosis {include nu,ntal disorders and relev'an~ medical conditions): •

   Patient Pra/1/ems:
    Observed
    Date          Category Type                            Prob/em                        Confirmed By

    06-30-2015 Acute           ~!~H: SubSlance A/coho/Abuse
    06-30-20'/5 Chronic   RESP: Asthma  Asthma Not Othe1Wise Specified
    06 _30_2015 Acute     PSYCH:        Unspecified Major Depression, Janice But/fer
            ------~D~e~p~te~ss~i~on~ ___fl,ecurrent Episoqe_________ ~--···---·--

     /M s/J7/ reports depressd mood and suicidal thoughts

    Plan:

    1. Meditation:
    die z:o/oft 50 zoloff 150 mg qam
    2. Labs:


                                                                                                                Page2 of J




                                                                                                     MCCI MED RECORDS 228
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   Monmouth County                                           Behavioral Health Psychiatric
   Monmouth A duft {MCCJ)
   1 waterworl<s ra8d                                          Provider Follow Up Note
   Freehold, NJfJ1728
   Patient Name                        Patient Number                Bookilig Number         Birth Date    D&te   or ~..enrice
   DOf-lELL FREEMAN                    26134                         327'9268                12/2!i/f975   7/141.2015
   ----U/t-2l11blbJd'2:rnua rvu my 4u111
    2. Labs:
     none
    3. Other:
     continue constant watch
    4. Follow Up Date:            daily




                                                                                                                                          j .·
                                                                                                                                          1·




    E-Signcd by Janice l3utt1er 11 07/14/2015 03:58 PM EST                                                                  Pag:c.3 of3




                                                                                                              MCCI MED RECORDS 229
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   Monmouth County                                        Behavioral Health Psychiatric
   Monmouth A dull (MCCJ)                                                                                                                        '
                                                            Provider Follow Up Note                                                             .'        ..).
   1 waterworks- mad
   Freehold, NJ0771.8                                                                                                                           ""'*··;'.
   Patient 1\Jame                        Pa/ient Number               Booking f,fumb-er                    Birth Dale    Deta Of Service
   OONELL FREEMAN                        26184                        3279258                              12/26/1976    711512015

   Patient Allergies:
   I .. · · · · - , - - - - - - - - - - - - - -
   ig:;:rved          Type                                 Allergy
   XXX-XX-XXXX Allergy /terns                             .. No   Knmvn Allergies

     Subjective:

     "I still am suicidal, I told you that yesterday. I have nothing to live for. You have no idea how bad my fffe is, I was
     Ji1 prison for 20 years"

   I. Mental Status eKam:
    Appearance:
      □ Appropnate □ Meticulous □ Unclean □ Disheveled □ Bizarre                                        G'I   Other
     Explain:      safety gown
     Speech:
      G'I    Appropriate □ Expressive □ Loud □ Slo1Ved □ Pressured                                 D   Slurred □ Other
     Explain:
     Mood:
      □ Appropriate       G1l Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
     El<P_lah1:
     Affect:
      □ Appropriate □ TeaIfu/                G'I   Blunted □ Flat □ Labile □ Hostile □ Other
     Explain:
     Thought Form:
      0      Coherent □ Circumstantial □ Tangenffal □ Loose Association
      □ Poverty of Thought □ Flight of Ideas □ Other

     Explain: ... ··········--~·--··· ....... .
     Thought Content:
      0      Appropriate □ Comp/obsess. □ Thought Insertion □ Broadcasting
      D      Delusional □ Hallucinations □ Suicidal □ Homicidal □ Other

     Explain,.. .                                                       . ·-·-··-····-·
     Orientation:
       G'I   Person   G1l Place [;a Purpose G'I TTme
                                                          ·-- ···-·- --------
     lntemgence:
       0     Above Average         0    Average □ Below Average □ Developmenta/ly Disabled
                               .   - . --- -·· --··----                         .....   -··-----····---------.. - --·




                                                                                                                                           Pag.e l of·~




                                                                                                                            MCCI MED RECORDS 230
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   Monmouth County                                      Behavioral Health Psychiatric
   Monmouth Adult (MCCI)
   1 vteiteJVrorks road                                   Provider Follow Up Note
   Freehold, NJ0'1728
   Paf/ent NB me                       Patient Number           Booking Number                   E!frlh ~te      Date Of servtce
   DONELL FREEMAN'                     26134                    3279268                          12/2611975      7115/2015

    nl'._i- 7fbove)iverage
                  .
                                 l,d Average
                      ·-·-----···· ·-····
                                               LJ He/ow Average      u    Uevelopmentally u1sabled
                                                                 ···- -··- -·-. -···                    •·--·.
    Memory:
      Gil   Intact □ Immediate Impaired □ Recent Impaired                 D    Remote Impaired
                                                                                                                                                   I
                                                                                                                                                   i
                                                                                                                                                   I
    Insight:
                                                                                                                                                   le
      □ Intact □ Good          Gil   Fair □ Poor
    Judgment
      D Intact    □ Good       Gil   Fair   D Poor
     Behavior:
     Gil    Appropn·ate □ Belffgerent □ Agitated □ Mlithdrawn □                        Cooperative   □ Uncooperative

     Recent Lab Results;

     none

     Medication Side Effects:
                                                                                                                                          7
     IMdenies SE                                                                                                                                   I
    AIMS:             0. NIA · based on current treatment :

     Response to Treatment .

     poor(med inc. 7114)
            .    .      . ..      . '      . . .   . .         .    . .

     Diag11osis (include mental disorder$ andrelevant medicaicondltlons): ·

    Patient Problems:
                                                                                                                                                   I
    Observed
                      Category Type                         Problem                                     Confirmed By                               I
    Date
    06-30-2015 Acute                 ;g;:;,~H: SubStance Alcohol Abuse
    06-30-2015 Chronic RESP: Asthma                         Asthma Not O/hMvise Specified
    06_-30 _2015 Ac t         PSYCH:_                       Unspecified Major Depression, Janice Buttler                                           I
             .     u e _._.. _P.epress,on                   Recurrent Episode

     /M continues to feel suicidal

     Pla11:                                                                                                                                   I'
     1. Medication:
     cont med
     2. Labs:


                                                                                                                              Puge2llf3




                                                                                                                  MCCI MED RECORDS 231
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   Monmouth Carinty                                     Behavioral Health Psychiatric
   Monmouth Adult (MCCJJ
   1 waterworl<S road
                                                          Provider Follow Up Note
   Freehold, NJD1728
   Patient Name                       Petienl Numt-er           Booking Numbe,          Bfrth Dnre     Dale Of Service
   DONELL FREEMAN                     26184                     3270253                 1212!:i/1975   111512015
   .....cbnrt,fYU·-·--- --
    2. Labs:
     none
    3. Other:
     continue constant walch for suicidal ideation
    4. Follow Up Date:            daily




     E-Signed by Janice Buttler n 07/15/2015 1-1:59 AM EST                                                           Page3 of3




                                                                                                          MCCI MED RECORDS 232
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   Monmouth County                                     Behavioral Health Psychiatric
   Monmouth Adult (MGCIJ
   1 waterworks road                                     Provider Follow Up Note
   Freehold I NJ{J7728
   Petfe.nt Neme                      Patient Number             Booking Numt.H.ff              Birth Date            D1:1/e Of service
   DONELL FREEMAN                     26134                      32.79258                       12125/1975            7/2ZJ2:o15
    Patient Allergies:
                                                                                               ------ -- ... --~- - . ---·-7
    gzterved--~;~~                                     Allergy                                                                                !

   I
   !2_6:::l_0-2015 A//ergylle111s               _____ Na Known Allerg~ie_s_ _ _ _ _ _ __
                                                                                                                                              !
                                                                                                                                          .___ J
     Subjective:

     When approached IM in inffrmary he stated "Im beginning ta fee/ better" I jsuggested that it might be time to
     consider moving lo GP and he began to go on about how sick he is and hmv we are trying to push him out. "If I
     want to hurt myself and you push me out I don1 /<now what can happen .... "

     Mental Status Exam:

    Appearance:
       D Appropnate          □   Meticulous □ Unclean       D Disheveled       □     Bizarre Qj Other
    Eoxplain:      bundled in safely gmvn on ffoor
    Speech:
     Qj Appropriate          □   Expressive   D Loud    □   Slowed    O Pressured D Slurred               □   Other
    Explain:
    ···--   -·-··-··-····.                                                               . ····-···-···                   ·············•-
    Mood:
       □ Appropriate Qj Depressed □ Euphoric □ Anxious □ Angry □ Irritable □ Other
    Explain:
    Affect:
       0 Appropriate         □ Tearful □ Blunted □ Flat □ Labile □ Hostile □ Other
     Ei<plain:                            ___________________________ _
    Thought Form:
       Qj Coherent □ Circumstantial           D    Tangential □ Loose Association
       □ Poverty of Thought □ Flight ofldeas □ Other

    .Explain: ····-
     Thought Content
       0 Appropriate         □ Comp/obsess. □ Thought Insertion □ Broadcasting
       □ Delusional □ Hallucinations           D   Suicidal □ Homicidal □ Other
     E.'.'l'lain::
     Orientation:
       5'I Person 0 Place QJ Purpose 0 Time
    lnleITigenc e:
       D Above Average 0 Average               □   Below Average □ Developmentally Disabled




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                                                                                                                         MCCI MED RECORDS 233
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                                                              MCCI MED RECORDS 234
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   Monmouth County                                         Self Harm Watch/Mental Health
   Monmouth Adult (MGCI)                                   Observation Release Summaf'/
   1 waterworks road
   freehold, NJ01128
   PatJent Namr:                          PDtient Number           Booking Nvmber          Birth Dete      Daf.J Of Serv/c~
   DONELL FREEMAN                         l-618-4                  '3279258                12126/197&       /2712015


       Date: 7/2712015
       Time: 8:40 am

   Patient Problems:
   l, Observed         ·           ·
                           Category Type                       Problem                           Confirmed By
   !Date
   I                                   PSYCH: Substance Al h /Ab
       06-30-2015 Acute                Abuse              co o   use
       06-30-2015 Chronic               RESP: Asthma            Asthma Not Otherwise Specified
                                        PSYCH:                  Unspeciffed Major Depression,
       06-30-2015 Acute                                                                          Janice Buff/er
                                        De ression              Recurrent E isode

       Discl1arge From:                          0   Self Harm Watch @ MH Oliservation
       Discharge Ordered by
                                             A. Caputo Smith, Ph.D.
       (CCS Staff Member):
       Reason for Admission:
        Suicidal ideation
       Progress Noted on Admitting Issues:
        Logical I relevant thought structure, no symptoms of psychosis or mania and he offered no reports of such.
        Calm but irritable. Slated he was "still depressed' but denied current SI/HI. Complained that I never see him this
        early in the moming (untrue) and that, '/ .vas hoping to see you around 11. • Psychiatrical/y stable for G.P
       Current Medications:
       1. Zolofl
        D     Check for sddltlon&I mecucation

       2.
        D     Check for edditfonal medlcatf.on

       3.
        D     Check fot additionsl msdlcatlon

       4.

   I· Discharge Recommendations: •·.                                                                                                        ·   I
        1,11 Client scheduled for fol/ow-up per policy, see SW Follow up Schedule (24 hrs post-release, 7 days
        post-release, 30 days pest-release}
         □ Refer to psychiatry tor follow-up
                                                                                                                                                    I
         □ Refer to. MH Special Needs Program

              [;z) Client ALREADY IN Special Needs Program
            □ Refer to MH group therapy




                                                                                                                              P:ige I ofl




                                                                                                              MCCI MED RECORDS 235
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   Monm<luth County                                      Self Harm Watch/Mental Health
   Momm:n.1UlAdult (MCCI)                                Observation Release Summary
   1 wamrworks road
   Freehold, NJ0772B
   P&tient Nam8                        Petient Numb~                   Booking Mimber    Birth Date    Detf1' Of Service
   OONELL FREEMAfl                     26f84                           3279268-          f2/25/'1975   7/2712015

      LI Heter to MH group il1erapy
      D     Refer lo MH counseling
      D     Refer to substance abuse services
      □     Refer to Psychiatric Gel/block
      521   Refer to General Population
      □     Refer lo Administrative Segregation Gel/bloc/{
      D     Refer lo Disciplinary Segregation Cellb/ock
      □     Refer to Discharge Planner
      D     Refer to medical (complete separate referral form) ·
      □     Other.·




                                                                                                                                        . I




                                                                                                                           Page 2 of2
      E•S:ibq'ted by Alicia Ci:tputo•Smith n·07/27/2015 09:50 AM EST




                                                                                                          MCCI MED RECORDS 236
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   Monmouth County                               Self Harm Watch/Mental Health
   Monmouth Adult (MCCI}                          Observation Follow-Up Note
   1 waterwork-. road
   Freehold, NJ077'l8
   PctientNeme                 Petie11t Number           Booking Number                Bfrlh Date               D&te Of Sel"l/iCf;
   OONELL FREEMAN              2Si84                     3279258-                      12.125/1975              7128(2015


    STATUS:                       0 Self Harm Watch O MH Observaffon
    REASON FOR VISIT:             0 Daily l!i SIPSW24hrs. 0 S/PSWD7 0 S!PSWD30
    FREQUENCY:                    0    Close Obse1vatio11     0   15/min

   Patient Problems:
    Observed                                                                                 Conli,med By
    Date            Category Type                    Problem
    06-30-2015 Acute         PSYCH:
                             Abuse Substance         Alco ho /Ab use
    06-30-2015 Chronic       RESP: Asthma            Asthma Not Otherwise Specified
                             PSYCH:                  Unspecified Major Depression,
    06-30-2015 Acute                                                                Janice Butller
                             De ression              Recurrent Episode

     Mental Status

     Sensoriurn:            0 Alert GZJ Orientedx 3      □ Distraclible □ Poor concentration □ Other
     Explain:
     Behavior:              GZl Calm    □ Agitated □ Slowed □ Other
     Explain:
     Mood:                  GZ) Euthymic     D    Depressed   D   Anxious □ Elevated        D       Irritable   D    Other
     Explain:
     Thought Process:       GZl Goal-Directed      □ Disorganized □ Loose Associations □ Tangential                         D Other

     Thought Content         □ Homicidal     D    Suicidal □ Paranoid      D   1-/allucinalions     D   Delusions        GZI   Other
     Explain: wnl
     Appearance:             GZl Well kept   □ Self-neglect □ Other
     Explain:
                 ---
     Speech:                 GZl Clear/Coherent     □ Spontaneous □ Pressured □ Poverty □ Other

     ~elai~:
     Affect:                 GZI. Appropriate    □ Inappropriate □ Constricted □ Blunted □ Other
     Explain:
     Memory:                 @ Recent Intact [;,] Remote Intact □ Impaired □ Other                                                            I
     Explain: .... - · · · - - - · · · · - · · - · - - - - - - - - - - - - - - - - - - - -
     Cognitive Estimate:       D High GZI Average D Low

     Risk Assessment




                                                                                                                                 J>agelof2:




                                                                                                                    MCCI MED RECORDS 237
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                                                                                                                                   I'
                                                                                                                                   l




   Monmouth County                                  Self Harm Watch/Mental Health
   Monmouth Adult {MCCJ)                             Observation Follow-Up Note
   1 waterworks road
   Freehold, NJD1728
   Palieni ,\Jame                  Petienl Number            Booking Nomb>Jr         Birth Date   DeJe Of Service
   DOlli:.LL FREEMAN               2618-4                    ~279258                 12125/1975   712.8/2015

    KISK    ASsessmenr
    Current Ideation:                               O    Yes @ No   O   Refuses to Answer
    Current Plan:                                   O    Yes ® No   O   Refuses to answer
    Any self harm since last MHP visit?             0 Yes @": No
                                                              1



    Describe:
    Review status of factors that lead to placement on watch/observation:
     S//MHO
    Medication:                @) Yes  O No
    Compliant:                 @   Yes O No O NIA
     Client's subjective report:
     /IM slated that he was doing well and was interested in joining the MH group. Discussed reasons for wanung to                  :·j
     join tile group, explained group composition, and what to expecr 1/M continued to deny idea/ions of self harm.                 i!
                                                                                                                                    !j
    Interventions utilized durin9 meeting:                                                                                          I:
     Supportive counseling, enroll jn MH group
                                                                                                                                    u
                                                                                                                                    c'i



     Plan   D   Complete this Section for Visits completed while Client on Watch or Observation Status


     Plan   tZI Complete this Section for Post Release Visits

        □   Initiate Suicide Walch
       Why?
        □   Initiate MH Obseivation
       Why?
        RJ Mental Heatth Follow-Up
              Follow-up Date: 8/3/2015
        D    Refer to Special Needs Program
        □ Refer lo MH Group
        □ Plan    for MH F/U after SIP D30 visit
        RJ Other
              enroll in MH group




     E-Signe<l by Jesse Coud~y n tmW/2015 07:44 PM EST                                                              !>age 1 or 2




                                                                                                     MCCI MED RECORDS 238
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   Monmouth County                                         Self Harm Watch/Mental Health
   Monmouth Adult (MCCIJ                                    Observation Follow-Up Note
   1 wate,worlra road
   Fre~hold, NJ07728
   Patient Name                          Patient Mumbrtr              Booking r>!umber           Birth O<1te          Date Of Service
                                         261'14                       3279-26a                   12125/1975           R/3/20'[5
   DOUELL FREEMAN

    STATUS:                                 () Self Ham1 Watch            O   MH Obse!Valion
    REASON FOR VISIT:                       0 Daily O SIP SW 24 hrs.              (!)   SIP SW D7 0 SIP SW D30
    FREQUENCY:                              0 Close Observation O              15/min

   Palient Problems:
    Obse1Ved                                                      Problem                               Confirmed By
                     Category       Type
    Date
                                    PSYCH: Substance Al I /Ab
    06-30-2015 Acute                Abuse              co ,o use
    06-30-2015 Chronic              RESP: Asthma     Asthma Not Othe,wise Specified
                                    PSYCH:           Unspecified Major Depression,
    06-30-2015 Acute                                                                                    Janice Bu/tier
                                    Depression                    Recurrent Episode.

     Mental Status ·                                                                                                                                 I
     Sensorium:                     0    Alert    0   O11ented x 3 □ Distractible □ Poor concentrauon □ Other
     Explain:
     Behavior.                      0     Calm    D   Agitated □ Slowed □ Other
     Explain:
     Mood:                          Ga    Eulhymic □ Depressed □ Anxious □ Elevated □ Irritable □ Other
     Explain:
     Thought Process:               0 Goal-Directed □ Disorganized □ Loose Associations □ Tangential □ Other
     Explain:..
     Thought Content:               D     Homicidal        D   Suicidal   D   Paranoid □ Hallucinations        D   Delusions □ Other
                                                                                                                                                         I:·
                                                                                                                                                         r:
     Explain:
     Appearance:                    Ga    Well kept □ Self-neglect □. Other
     Explain:
         .. ·------ ----·•·
     Speech:                        G1I Clear/Coherent □ Spontaneous □ Pressured □ Poverty □ Other
     Explain: ___ _
     Affect                         G1I Appropriate □ Inappropriate □ Constricted □ Blunted □ Other
      Explain:
      Memory:                       0 Recent Intact G1I Remote Intact □ Impaired □ Other
      Explain: .... ________ ....                                     ______ .............. .
      Cognitive Estimate:           □ High G1I Average □ Low

      Risk Assessment




                                                                                                                                        Page I of2




                                                                                                                          MCCI MED RECORDS 239
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   Monmouth cau11ty                                  Self Harm Watch/Mental Health
   Monmouth Adutt (MCCI)
   1 waterworks road
                                                      Observation Follow-Up Note
   Freehold, N..107728
   PallenfName                      Petrent Numoer               Booking Number       Birth DBle    Dale Of Service
   DOflELL FREEMAN                  26184                        32W258               12125/1.975   613l20'15

    KISK Assessment
    Current Ideation:                                 0 Yes     (!) No O Refuses lo Answer
    Current Plan:                                     0 Yes     @   No O Refuses to answer
    Any self harm since last MHP visit?               0 Yes(~! No
    Describe:
    Review status of factors that lead to placement on vmtchlobservation:
     SI
    Medication:                  @ Yes      O   No
    Compliant                    @J Yes     O   No   O   NIA
    CUent's subjective report:
     Reports that he is not suicidal al this time and is coping to the best of his ability in GP. Future-focused,
     discussed plans to start MH group and relapse preventions groups this week. Encouraged 1/M to make
     adequate use of these resources to engender change, as opposed to simply passing time; JIM receptive.
    Interventions utilized during meeting:
     Offered supportive counseling, encouraged wellness

    Plan D Complete this Section for Visits completed while Client on Watch or Observation Status

    Plan     10 Complete this Section for Post Release Visits
          □ Initiate Suicide Watch

      Why?
          □ Initiate MH Observation
      Why?
          □ Mental Heallh Follmv-Up
              Follow-up Date:
          □ Refer to Special Needs Program

          □ Refer to MH Group

          [;ii Plan for MH FIU after SIP D30 visit
              monthly MH contact
          □ Other




    E-Signetl-by Sarah Snwntkow~ki n 08i03/2015 01:11- PM EST                                                     Page 2 of 2




                                                                                                       MCCI MED RECORDS 240
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   Monmouth County                                    Mental Health Progress Note
   Monmouth Adutt (MGCJ)                             Use only If no other specific note ap-plies
   1 watMvmrks road
   Fr@~hold I N-101728
   Patient Mame                     Patient MumOer                B-ookf11g Numb-er                Birttl-Dete          Dete Of Service
   DOfJELL FREEMAN                  26'(64                         27.92/ill                       12/25/1915           10/912016

   Referral Source          □ Sick       Call   □ Nursing/Medical Referral □ Secunly Refe1ra/                    t:zl Other
   Reason for Visit         Inmate request

     Subjective

     "J'm feeling good. "

     Objective: Mental Status Exam

    Sensorfum               RJ   Alert   D      Oriented x 3 □ Distractib/e □ Poor concentration                 D   Other

    Appearance              RJ   We/I-kept □ Self-neglect □ Other

     Behavior               RI Calm D Agitated           □ Slowed □ OU1er

     Speech                 RI Cleadcoherent          □ Spontaneous □ Pressured □ Poverty □ Other

     Mood                   RI Eulhymic          □ Depressed □ Anxious □ Elevated □ Irritable □ Other

    Affect                  RI Appropn'ate         □ Inappropriate □ Constricted □ Blunted □ Other

     Thought Process        0 Goal-Directed □ Disorganized                D Loose Associations            □ Tangential □ Other

     Memory                 0 Recent Intact t:zl Remote Intact             □ Impaired □ Other

     Thought Content        0 WNL □ Homicidal □ Suicidal □ Paranoid □ Hallucinations □ Delusions □ Other
             Describe
       hallucinations I
            delusions:
     Cognitive Estimate      D High Ga Average D Low

     Assessment and Interventions Pro~id~d_ ·.

    Patient Problems:
    g~:rved .        Catego,y ··;;p; - - -·-                 Problem                                      Confirmed By

     06-30-2015 Acute             ~IJ's~H: SubS!ance Alcohol Abuse
     06-30-2015 Chronic  RESP: Asthma            Asthma Not Otherwise Specified
       _ _
     06 30 2015 Acute    PSYCH:                  UnspecifiedMajor Depression,           Janice Buttler
      - - - - - - - ~ D = e2 p"-re=-s=s"-io~n~--~R.ce=c"u""rr~e~n~tE~p~i=-so=d'-'e'-------···-··--• ..·--··-------'

      Seen in Medical. Logical I relevant thought structure, no symptoms of psychosis or mania, Calm, smiled, no
      distress or agitation Stated he wanted to s_ee me to than_k me forgetting him back on track Talked about a
      movie he was watching in his therapy group, Mas/mv's hierarchy of needs, and his childhood. No SI/HI.
      Psvchialricauv stable.




                                                                                                                                      Page I of2.




                                                                                                                           MCCI MED RECORDS 241     I
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   Monmouth County                                      Mental Health Progress Not,;
   Monmouth Aduft{MCCIJ                                Use only if no other specific rmte applies
   1 Wiiterworks road
   Freehold, NJ07128
   Peticmt NerM                       Patient Number                8ooking Nl1mber                 Birlll Date   D&ta Of Service
   DONELL FRE.EMAH                    26184                         J.279258                        12/2611975    10/9;2,016

   - movie he was watcmng         mhis tn'erapy'grciup,'Masimv'sh[erarcny o1 neeas, and hiscmldlii.iod. No SI/HI.
     Psychiatricalty stable.

    Plan

      □ Mental Hea/U, Treatment not indicated at this time-mental hea#h ,viii follow up as needed
      G2I Mental Health follow-up in__(# of days or date)
               Mental Health follow-up in(# of days or date} mont/Jly MH special needs visits
      □   Refer to Special Needs
      □   Refer to medical staff
      D   Refer lo psychiatric provider
      □    Consult wilh,_ _ __
          Consult
             with
      □    Completed ROI. Follow-up ,vhen infomiation is received.
      □    Homework assigned. Please 11st.
               List
      homework
     assignment
      D    Other Interventions
            Other
     Interventions




                                                                                                                                              i
                                                                                                                                              i

                                                                                                                                              Ii
     !!-Signed by Alidil Caputo-Smith n 10/09/2015 11:12 AM f::ST                                                               Page 2 of 2




                                                                                                                     MCCI MED RECORDS 242
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   Monmouth County                                    Mental Health Progress Note
   Monmouth Adult (MCCJ)                            Use only if no other specific note applies
   1 watetworlcs road
   Fr~ehold, NJ0772B
   Patient Nam&                  Pal.ient Numbr:r                Booking Number                  Birth Dete      Date Of Service
   OOHELL FREEMAN                2o184                           3279258                         12.12511975     1112.1'2016

   Referral Source         □ Sick   Call D Nursing/Medical Referral □ Security Referral [;zJ Other
   Reason for Visit        Inmate request

     Subjective .

     "I just <ranted lo update you on my case."

    Objective:.Mi,ntal Status Exam


    Sensorium              [;'I Ate11 □ OIienled x 3 □ Distractible □ Poor concentration □ Other

    Appearance             [;'I Well-kept □ Self-neglect □ Other

    Behavior               GZI Calm O Agitated          □ Slowed □ Other

    Speech                 [;'I Clear/coherent □ Spontaneous □ Pressured □ Poverty □ Other

    Mood                   GZI Eulhymic    □ Depressed □ Anxious □ Elevated □ Irritable □ Other

    Affect                 GZI Appropriate    □ Inappropriate □ Conslncted □ Blunted □ Other

    Thought Process        GZI Goal-Directed □ Disorganized □ Loose Associations □ Tangential □ Other
                                                                                                                                             '.
    Memory                 GZI Recent Intact GZI Remote Intact O Impaired                □ Other                                             !
    Thought Content        ~ WNL □ Homicidal □ Suicidal □ Paranoid □ Hallucinations □ Delusions □ Other
                                                                                                                                             I
            Describe
      hallucinations I
           delusions:
                                                                                                                                             '.
     Cc,gnitive Estimate    D High GZI AVerage □ Low

     Assessment and Interventions Provided

    Patient Problems:

    gz:;,erved      Category Type                           Problem                                     Con/inned By

                               PSYCH: Substance A' h /Ab
    06-30-2015 Acute           Abuse             ,co o   use
    06-30-2015 Chronic         RESP: Asthma                 Asthma Nol Otherwise Specified
                               PSYCH:                       Unspecified Major Depression,
    06-30-2015 Acute                                                                       Janice Buttler
                               Depression                   Recurrent Episode

     Seen in Medical. Logical I relevant thought structure, no symptoms of psychosis or mania. Calm, no distress or
     agitation. Denied feeling anxious or depressed, as indicated in sick ca/I referral; rather, statedhe wanledto
     discuss his legal case, Asked about being evaluated for court; if he decides lo assert a MH defense. W,w
     informed that these evaluations are not perfom1ed by MCCI MH staff, and that his allomev must request the




                                                                                                                               Pag~ I or.2




                                                                                                                    MCCI MED RECORDS 243
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   Monmouth Couniy                                       Mental Health Progress Note
   Monmouth Adult (MCCI)                               Use only If no other spectfic note appffe.s
   1 waiwwarks road
   Freehold, NJ07728
   Pal!ent Nflf1Je                    Patient Mumber                Booking Numoor                   Birth Dste   D&te Of service
   oom:LL FREEP•.lfAH                 26'f84                        3.279268                         12/25/1975   'il'12/2016

   - discuss his legal case. Asked abouf being evaluated 'for'couit, 7/ he decides to assertaMH defense. Was
     informed t/Jat these evaluations are not performed by MCCI MH staff, and that his attorney must request the
     evaluation. Also discussed his difficulty obtaining MH and substance abuse treatment in the community. Was
     receptive to feedback. Psychiatrically stable.

     Plan

             Mental Health Treatment not indicated af this time-mental health will follow up as needed
      l:zl   Mental Health follow-up in__ (# of days or date)
                 Mental Health follow-up in(# of days or date) monthly MH special needs visits
      0      Refer lo Special Needs
      D      Refer to medical staff
      □      Refer to psychiatric provider
      □      Consul/with.____.
             Consult
                with
      □ Completed ROI. Follow-up when infomiauon is received.

      D      Homework assigned. Please list.
            List
      homework
     assignment
      □ Other Interventions
                Other
     Interventions




     F>Signed by Alicia Cap11to-Sm.lth u 01/12/2016 11 :26 AM EST                                                               Page 2 of I




                                                                                                                    MCCI MED RECORDS 244
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   Monmouth County                                   Mental Health Progress Note
   Monmouth AduJt{MGGI)
   1 Vtat~rworks m1td                               Use onty if no otherspacmc note applles
   Fre~wJd, NJ07728
   PettentNeme                    PetientNumber                BookiRl;J r-!1Jmber            Bf'Ith Datr1     DattJ Of S~tvrce
   DONELL FREEMAH                  26184                        3279258                       12'25/1975       1/2212016
   Referral Source        D     Sick Call     D   Nursing/Medical Referral □ Secun"ty Referral ['1l Other
   Reason for Visit       1/M request

     Subjective

     1/M spoke a summary of his history which fed to his current situation and requested materials on how chronic
     pain can lead to depression and chronic arrests and homelessness can cause psychological distress.

     Obji>ctiv_e: Mental Status Exam

    Sensorium             Gil Alert Gil Oriented x 3       □ Oistractibfe □ Poor concentration □ Other

    Appearance            l'1l We/I-kept D Self.neg/eel D           Other

    Behavior              l'1l Calm     □ Agitated □ Slowed □ Other

    Speech                GZl   Clear/coherent □ Spontaneous □ Pressured □ Poverty □ Other

    Mood                  ['1l Euthymic       D    Depressed □ Anxious □ Elevated □ Irritable □ other

    Affect                l'1l Appropriate        □ Inappropriate □ Constnclerf □ Blunterf □ Other

    Thought Process       l'1l Goal-Directed        □ Disorganized □ Loose Associafions □ Tangential □ Other

    Memory                l'1l Recent Intact l'1l Remole Intact           □ Impaired □ Other

    Thought Content       l'1l WNL      □ Homicirial □ Suicidal □ Paranoid □ Hallucinations □ Delusions □ Other

            Describe
      hallucinations I
           delusions:
    Cognttlve Estimate     D     High   GZl   AVerage □ Low




    Patient Problems:
                                                                                                                                            I
    Observed
    Date           Category Type                          Problem                                     Confirmed By

    06--30-2015 Acute           PSYCH: Substance Ai h I Ab
                                Abuse              co o    use
    06--30-2015 Chronic         RESP: Asthma
                                PSYCH:
                                                           Asthma Not Otherwise Specified
                                                           Unspecifierf Major Depression, Janice Butt/i,r
                                                                                                                                    I
    06.-30°2015 Acute           Depression                 Recurrent Episode _ _ _ _ _ _ _ _ _ - - - - ~                            I
     Met with 1/M on F2. /llv1 presented within normal limits of functioning however had concems regarding how
     history affects MH Discussed with him similar situations anrf direcuons others have went with research anrf
     court re,1ardin,1 his issues. JIM rfenferf SI/HI.




                                                                                                                             ('age- l ofl




                                                                                                                 MCCI MED RECORDS 245
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                                                                                                                                         .

                                                                                                                                         •
                                                                                                                                              .
   Monmouth County                                       MentaJ Health Progress Nole                                                         .
   Monmo(Jth Adult (MCCI)                              Use only If no other spectfic note appfle..s
   1 watMWorks road
   Fn~ehold, NJD1128
   Pati~nt Na~                       Patient MtJmbQr                Booking Number                    Birlh Dele   Dare Of Ser:tce
   DOflELL FREEMAH                   26184                          3279263                           12/26/1975   1/2212016

   - liistofi7affects MH. 'oiscussed·,v'ii/i Jiim si"m1/iii- silualiii11i and iJlrections·others havewenrwith research and
     courl regarding his issues. JIM denied SI/HI.

    Plan

      D Mental Health Treatment not indicated at this ffme-men/a/ health will follow up as needed
      □   Mental Hearth follow-up in__(# of days or dale)
               Mental Health follow-up in(# of days or date)
      □   Refer to Special Needs
      □   Refer lo mech·cal staff
      □   Refer to psychiatlic provider
      □   Consult with,_ _ __
          Consult
             with
      D Completed ROI. Follow-up when information is received.
      D Homework assigned. Please list.
           List
      homework
     assignment
      0 Other lnteiventions
            Otherfid       td·r.    r
     lnteiveniions m reques e m orma 1011




      ~-Signed by Jesse Coudray 11 01/22/2016 08:09 PM EST                                                                           Pugc 2 of 2




                                                                                                                      MCCI MED RECORDS 246
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   Monmouth County                                        Mental H,.alth Progr,.ss Not,.
   Monmouth Aduft {MCCI)                                U&-e only if no othe-rspecific note applies
   1 waterworks road
   Freehold 1 NJD7728
   Pdt/enr Ncme<                   P<ttient Nl.•mbflr                Booking Nr.im9cr                 Birth Ocle             Dete Of servtc~
   CONELL FREEMAN                  m84                               3279268                          12126/1975             2!'24/2016

   Referral Source         □ Sic/< Call □ Nursing/Medical Referral □ Security Referral                             GZI   Other
   Reason for Visit        1/M request

    Subjective
   c__________c--'-------~--·
                                                                                                                                               _J
     l/M had questions regarding substance abuse as a mental illness1 treatment for people who infon-ned an
     emergency room that /hey were suicidal, and the sociological factors that could contribute to criminal and
     substance abuse activffy

    Objective: Mental Status Exam ·

    Sensorium              GZI   Alert [,'J Oriented x 3 □ Distracffb/e □ Poor concentration                        D    Other                          I
    Appearance             GZI   We/I-kept □ Self-neglect □ Other

    Behavior               [,'J Calm    D     Agitated □ Slowed □ Other

    Speech                 Ga    Clear/coherent □ Spontaneous □ Pressured □ Poverty □ Other

    Mood                   GZI   Euthymic □ Depressed □ Anxious □ Elevated □ lrrffab/e                                   D   other

    Affect                 Ga    Appropriate □ Inappropriate □ Constricted □ Blunted □ Other

    Thought Process        GZI Goal-Directed            □ Disorganized □ Loose Associations □ Tangential □ Other

    Memory                 l,'J Recent Intact GZI Remote Intact □ Impaired □ other

    Thought Content        □ WNL □ Homicidal □ Suicidal □ Paranoid □ Hallucinations □ Delusions □ Other

             Describe
      hallucinafions /
           delusions:
     Cognitive Estimate     □ High       Ga   Average □ LOW

     Assessment and Interventions Provided ·
                                                                                                                                                        i
                                                                                                                                                        l
    Patient Problems:
   =---------------------·-·-··-···--···•                                                                                                               !··
   · Observed                                                                                               Confirmed By
     Dale           Category Type                               Problem
                                  PSYCH: Substance              Al h fAb
    06-30-2015 Acute              Abuse                           co o   use
    06-30-201.5 Chronic           RESP: Asthma                  Asthma Not Otherwise Specified
                                  PSYCH:.                       Unspecified h4ajor Depression, Janice Buttler
    06-30-2015. Acute
                                  Depression                    Recurrent Ep1sod'L~ .. -.,..•...........-.... .. ·~·-~-----'
     Met w11h 1/M on 12. 1/Mpresented within normalfimits of functioning ,v,1h primary concern regarding his court
     case and strategies for defense. Informed 1/M that I am unable to provide legal advice and discuss his MH




                                                                                                                                 MCCI MED RECORDS 247
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                                                                                                                                             i




   Monmouth Cm.mty                                          Mental Health Progress Note
   Monmouth Adult {MGCJ)                                   Use only If no other specmc note appUes
   1 wateIWOrlB road
   Freehold, NJ07728
   PallentName                          Petient ,"lumber               Booking Number                Birth Dote   Date- Of SeN/ce
   DONELL FREEMAN                       26134                          3279253                       12/2611975   212412016

   ~ Met 1vi1h 1/M on 12. fiM presenter/within nornial limits of tfmctiomnf,vith primary concernregarding his court
     case and strategies for defense. tnfom1ed JIM that I am unable lo provide legal advice and discuss his MH
     questions with him. 1/M denied SI/HI and was informed how to contact MH services PRN.

    Plan

     □    Mental Health Treatment not indicated a( this time-mental health will follow up as needed
     □    Mental Health follow-up in__ (# of days or date)
               Mental Health fottow-up in(# of days or date)
     □    Refer lo Special Needs
     □    Refer to medical staff
     □    Refer to psychiatric provider
     □ Consult with~--~
         Consult
            with
     0 Completed ROI. Follow-up when information is received.
     D    Homework assigned. Please list.
               List
     homework
    assignment
      ~   Otller Interventions
    lnterve~l:i; continue .vith monthly SN canlacts




    F.-Signed by Jc...~i;~ Comlray n 02/2'1/2016 07:04 PM EST                                                                   Page 2 of2




                                                                                                                     MCCI MED RECORDS 248
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   Monmouth County                                    Mental Health Progress Note
   Monmouth Adult (MCCQ
   1 waten,,orks road
                                                    Use only lf 110 other spectflc noie applies
   Freehold, NJ0772B
   Pltlie11t N1;Jme               P.atieot Number                aoOkfng Numb-er                  BtrJJ Dete         Dfftf1 Of S;:;rvlce
   DONELL FREEMAN                 26184                          327.9258                         12/25/1-975        3i24/2016

   Referral Source          D Sic/{ Call D Nursing/Medical Referral □ Security Referral IQ] Other
   Reason for Visit         mh follow up

     Subjective

      Discussed ,vith 1/M substance use disorder, concerns he had regarding pain and depressJOIJ, and anxiety he feff
      trying to fight otvn coutl case.

     Objective: Mental Status Exam

     Sensorium              [;;] Alert [;;] Oriented x 3 □ Ois/ractib/e □ Poor concentration □ Other

     Appearance             [;;] Well-kept   □   Self-neglect     □   Other

     Bel1avior              IQ] Calm D Agitated □ Slowed □ 0/her

     Speech                 IQ] Clear/coherent □ Spontaneous                D   Pressured □ Poverty □ Other

     Mood                   IQ] Euthymic □ Depressed □ Anxious                   O Elevated        □   Irritable   O Other
     Affect                 IQ] Appropriate □ Inappropriate           O     Constricted □ Blunted □ Other

     Thought Process        IQ] Goal-Directed D Disorganized □ Loose Associations □ Tangential                              D    Other

     Memory                 @ Recent Intact IQ] Remote Intact □ Impaired □ Other

     Thought Content        IQ] WNL □ Homicidal           D Suidda/         □ Paranoid    D Halludnations           □ Delusions □ Other

                 Describe
        hallucinations I
               delusions:
     cognitive Estimate      D   High i;;J AVerage □ Low


   I AsseSS!ll\'!l!~ilnd lnt..rv..ntions Proviclecl .·•·
   Patient Problems:
    Observed
    Date        Category Type                      Problem                        Confirmed By
     03-19-2016 Acute     Symptoms                 Abnom,a/ily of Gait
     06-30-2015 Acute     PSYCH: Substance A' h /Ab
                          Abuse                     ,co o use
     06-30-2015 Chronic RESP: Asthma               Asthma Not Otherwise Specified
                          PSYCH:                   Unspecified Major Depression,
     06-30-2015 Acute                                                             Janice Buttler
                        . Depression . -· .. ~ ... Bewrrent Epjsode .. ,,,_ .

      Met with IIM on A2. 1/M presented within normal fimits of functioning without signs or reports of psychiatric
      concerns. JIM requested information several davs ago regarding substance use disordenvhich was given.




                                                                                                                                      Ptigc l.of2




                                                                                                                        MCCI MED RECORDS 249
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 256 of 486 PageID: 935




   Monmouth Coonfy                                       Mental Health Progress Note
   Mo11mo11fh Adu/t{MCGJ)
                                                       Use only ifno other specific note applfes
   1 waten.vorlf!S road
   Fr~e.hold, NJ07728
   Pefient Meme                        Pa/~nt Number               Booking Ntm1ber                 Birt() D&ti'J.   Date Of S&rvice
   DOflELL FREEMAH                     26f34                       3279258                         12/25/1975       J/2412016

   - Met ,vifh 1/M on A2. 771,f}iresenleawffhin ,ioni'ial Jiinifsoftunclioning wilhoulsigns orrepotrs of psychiatric
     concerns. 1/M requested infom,ation several days ago regarding substance use disorder which was given.
     Doesn't seem lo have pressing MH issues, however is interested in psycho-education seemingly for his court
     case. Again informed 1/M to seelc legal counsel if he intended to use information legai/y. 1/M denied SJ/HI.

    Plan

      D   Mental Heaffh Treatment not indicated at this time-mental health will follow up as needed
      D   Mental Health follow-up in__(# of days or date)
               Mental Health follow-up in(# of days or date)
      □   Refer to Special Needs
      0 Refer to medical staff
      D Refer to psychiatn·c provider
      D Consult wit/J.____
          Consult
             with
      □    Completed ROI. Follow-up when information is received.
      0 Homework assigned. Please list.
                                                                                                                                                  i.
               List
      homework
    assignment
      EZJ Other Interventions

    lnterve~i!! continue ,vith monthly SN contacts




     E-Signed by Ji::sse Coudrax n 03/24/2016 07:40 PM 13ST                                                                       P:,ige 2 of 2




                                                                                                                      MCCI MED RECORDS 250
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 257 of 486 PageID: 936




                                                              MCCI MED RECORDS 251
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 258 of 486 PageID: 937




 Monmouth County Correctional Institution
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              V
                    Rad·
 Final Radiology Report                                                         24/7/365          Call: 866.941.5695
                                                                                assistance        Online chat: https://access.vrad.com
 Patient Name:                     FREEMAN, OONELL                                    MRN:                      26184
 DOB {Age):                        12/25/1975 39                                      Gender:                   M
 Date of Exam:                     12/02/2015                                         Accession:
 Referring Physician:              Hashmi, Kabeeruddin                                # of Images:              2
 Ordered As:                       XR HIP 1 VIEW UNILAT


 EXAM:
  XR Left Hip, 1 View.

 CLINICAL HISTORY:
 39 years old, male; Signs and symptoms; Other: Limping gait; Additional info:

 TECHNIQUE:
 Frontal view of the left hip.

 EXAM DATE/TIME:
 Exam ordered 12/212015 10:21 AM

 COMPARISON:
 No relevant prior studies available.

 FINDINGS:
 Bones: Single cancellus screw within the proximal left femur. No acute fracture.
 Joints: Deformity of the left hip and acetabulum. Chronic. Severe degenerative changes.
 Soft tissues: non contributory.

 IMPRESSION:
  Deformity of the left hip and acetabulum. Chronic. Severe degenerative changes.



 Thank you for allowing us to participate in the care of your patient.
                                                                                                                                                              I
 Dictated and Authenticated by: McDonnell, Kevin, MD
 12/03/20151:05 PM Eastern Time (US & Canada)




                                                           CONflDENTIALITY STATEMENT
      This roporl Is intended only for use by the referring physician, rmd_on}y.in ai;cordance with law, /(you reoeived thfs.in error, ct;Jll 886-94f-5695,
                                                                          Page 1 of'1


                                                                                                                               MCCI MED RECORDS 252
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 259 of 486 PageID: 938




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   Monmouth County Correctional Institution
    .:-:i:::. Rad .
    .......
    ..;._;~:, '.· v
   Final Radiology Report                                                        24n/365           Call: 866,941,5695
                                                                                 a~sistance        Online chat; tittps:1/access.vrad.com
   Patient Name:                     FREEMAN, OONELL                                   MRN:                  26184
   DOB (Age):                        12125/1975 39                                     Gender:                   M
   Date of Exam:                     12102/2015                                        Accession:
   Referring Physician;              Hashrni, Kabeeruddln                              #of Images:
   Ordered As:                       XR HIP 1 VIEW UNILAT

   EXAM:
   XR Left Hip, 1 View.

   CLINICAL HISTORY:
   39 years old, male; Signs and symptoms; Other: Limping gait; Additional Info:

   TECHNIQUE:
   Frontal view of the left hip.

   EXAM DATE/TIME:
   Exam ordered 12/2/2015 10:21 AM

   COMPARISON:
   No relevant prior studies available.

   FINDINGS:
   Bones: Single cancellus screw within the proximal left femur. No acute fracture.
   Joints: Deformity of the left hip and acetabulurn. Chronic. Severe degenerative changes.
   Soft tissues: non contributory.

   IMPRESSION:
    Deformity of the left hip and aoetabulum. Chronic. Severe degenerative changes.



   Thank you for allowing us to participate in the care of your patient.

   Dictated and Authenticated by: McDonnell, Kevin, MD
   12/03/20151 :OS PM Eastern Time (US & Canada)                                                                                                              I




                                                             CONFIDENTIALITY STATEMENT
       This report r.s Jrilended only /orµse by fhe reiooing phy~/olan. and only in aGcordanr.e with tow. lfyOU recel!lcd /h~_m orror, c:al/ 866•94-1-5695.
    E-Signed by Kabeeruddin Hushrni, Provid.:r on OJ/04/2016 04:26 PM Esfraga 1 of 1                                                        Page I of' I
    E-Signed by KnheemdJin Haslimi-, Pr11Vidcr on Ol/{14/20 I 6 04:26 PM EST


                                                                                                                                MCCI MED RECORDS 253
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 260 of 486 PageID: 939




    Monmouth County
    Monmolllh Adult (MCCI)
    1 waterworks road
    Freehold, NJ 07728
    732--IJ66-3665 ext, 3651 Fax 732-866-3669
    P1Went N&m(j                              PBfienf Number                Booking NumOer                 Dllle of Birlh        Todi!J/S Data
    FREEMAN DONELL                            26184                         3279268                        12126/1975 12/1/2015

                           Monmouth County Correctional Institute 732-866-3560                     Fax 732-866-3669
              :r:~~
    Pod:-=----=----

    Order Practitioner:               'cl/:ir. Hashmi                      □ Dr, Donl<or                        □ Dr, Sandru
                                      □ Ellen Barton                       □ Calhy Jordan                       □ Tanecia Bruce~Owens


    ~ale           □Female,\)     _                                        Alien# _ _ _ _ _ _ __

    Nurses Signature       ~~w-
    Bodv Part                                                 #Views       Bo~v Part                                                    #Views
    Abdomen fK\!~L.                                              1         Patella sunrise View                                              1
    Abdomen Flat/Uorlaht                                         2         Pelvis                                                            1
    Abdomen Complete including Decubilus                                                                                                     4
                                                                 3         Ribs Unilat
    Erect Views
    Ankle Comnlete                                               3         Saccrum/Coccvx                                                    2
    Chest +PPD                                                   1         Shoulder AP/Lat/Y-view                                            2
    Chest AP/lat                                                 2         Saine Cervical AP/Lat/Oblioue                                     3
    Clavicle                                                     2         S nine Thoracic                                            Ooen Mouth
    Elbow Comolete                                               3         Snlne Lumbar                                                      2
    Femur AP/Lat                                                 2         Sternum                                                           4
    Finaers                                                      3         Tibia/Fibula flea                                                 2
    Foot 3 Views                                                 3         Toes                                                              2
    Forearm                                                      2         Wrist                                                             2
                                                                           Other                                                             3
    Hand                                                         3                                                                               --
    Heel (Os Calcis\                                             2
    Hin AP/Lat/Obllaue      IL)                                  3
    Hin Bilal/Pelvis                                    ...      5
    Humerus                                                      2
    Knee Ccmolete                                                3                 ,._

    Mandible                                                     3
    Nasal Bones                                                  3
                                                              Svmntom Dlannosis
    Abnormal Chest Sounds                                              Pleural Effusion
    CHF                                                                Pneumonia
    Concussion                                                         Persistent Vomitino

                                                                                                                                                          I:
                       "
    COPD                                                               SOB
    Couah                                                              SweJlino Limb
    DOD D=eneralive Disc Dis,                                          Trauma
    Feectlno Difficulties                                              URI      '     '
    PPD+                                                                   Other: I,     rn"'r I ~IA   CY•l'T
    Pain              ~                                                                           \J   V


    Tech Name         l )( f) /\h I\ ( I ½rt) ( .t'.Z-k\
                                                                -      J
                                                                              Date/Time exam done:         It)   \as        (Y./)11    I'?...- 2.     I




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 261 of 486 PageID: 940




                                                              MCCI MED RECORDS 255
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 262 of 486 PageID: 941




      Monmonth County
      Morwwuth Adult {.MCC!)
      l watem•ur/u;: road
                                               Refusal of Treatment                                        ACCS
                                                                                                            CORRECT CARE
                                                                                                                                I.
                                                                                                                                I
                                                                                                                                1_· ..
      Freelwld, NJ 07718                                                                                    S0ll)110NS
      732-866-3665 ,w. 3651 Fax 732-866-3669
       Pali,mr Name                            Palm/// N1m1bcr       &iokmg N1m1bc;         Dcmt1.[Bmh       r,;dap'i· Dar~
                                               26184                 3279158                 12/25/1975      10127/2015




      medical care as indicated below:


      _ _ A Refused medication                                          ___ E. Refused X-Ray service                             i :·
                                                                        ___ F, Refused other diagnosis services
      _ _ 8. Refused dental care
      _ _ C. Refused an outside medical appointment                              ~ e d physical exam                             I  !
      _ _ 0. Refused laboratory services                                _"""7
                                                                         __ H, QthhAe,r
                                                                               rn (Please specify)
                                                                                 H




      Reason for Refusal       G, ..:t f-:> I)!¼.                bl\ :\:br9~1)'.] 7


      P~nsequences Explained:
      ___A. Worsening Of Medical Conditions                             ___c. Permanent Disability
       _ _B.Death                                                       _ _ _D. Other _ _ _ _ _ _ _ _ _ __



       I acknowledge that I have been fully informed of and understand the above refused treatment and the risks
       involved in refusing. I hereby release and agree to hold harmless CCS and correctional personnel from all
       responsibility and any ill effects which may resull from this refusal.

                                                          and certify that I understand its contents.




                                                                 Time




                                                                                                         MCCI MED RECORDS 256
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 263 of 486 PageID: 942




      Monmouth Co11nty
      M011mnuth Ath,11 (.Mf.X1)
      1 woterwork.'t road
                                                 Refusal of Treatment
                                                                                                                      ACCS
                                                                                                                      CORR ~CT CARE
      Free/10/d, NJ 07728                                                                                             $0l;Jl10NS
      732-S66-3665 ext. 3651 Fax 732-866-.%69
       Puth:mr J,knH8                            Pa/JC•JJ }lumber          B01Jl'ing Number        Dale o[l:llrlh      Todtl)''sDau-
       FREEMAN, DO NELL                          26184                     3279258                 12/25/J975          12/1/2015


      I, - - - - ~ - - - - - - - - - - - - - h a v e , this day, knowing that I have a condition requiring
                        (Name of Patient)

      medical care as indicated below:


                A RefJ.1sed medication                                         - ~ E. Refused X-Ray service
                 8. Refused dental care                                        _ _ F. Refused other diagnosis services


                                                 --rt-')
      _ _ C. Refused an outside medical appointment                            _ _ G. Refused physical exam
      _ _ D. Refused laboratory services                                       _ _ H. Other (Please specify)


                                                                        6tto,..-►
      Reason for Refusal _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




      Potential Consequences Explained:
      ___A. Worsening Of Medical Conditions                                    _ _ _C. Permanent Disability
      _ _ _B.Oeath
                                                                               _ _o.          Other _ _ _ _ _ _ _ _ _ __



       I acknowledge that I have been fully informed of and understand the above refused treatment and the risks
       involved in refusing. I hereby release and agree to hold harmless CCS and correctional personnel from all
       responsibility and any ill effects which may result from this refusal.

                                    I have read this form and certify that I understand its contents.



       vwl~                                                         \



       Date              7   I                                          Time




                                                                                                                    MCCI MED RECORDS 257
   Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 264 of 486 PageID: 943




           Monmouth County
          Monmouth Adult (MCCI)
          1 Wt1lerworks road
                                                                    Refusal of Treatment
                                                                                                                                 ACCS
                                                                                                                                 CORRECT CARE
          Free/told, NJ O7728                                                                                                    601..UTIONS
          732-866-3665 ext, 3651 Fax 732-866-3669
            Pmient Nmn~                                             Pu1iim1Numbar          Bauking Nµ.mb~r     Dar,, afBi1·1h     Today's 1Ju1c
            FREEMAN, DON£LL                                         26184                  3279258             12/lS/1975         3/14/l0!6


           I, _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,have, this day, knowing that I have a condttion requiring
                                           (Name of Patient)

           medical care as indicated below:


                        A. Refused medication                                                _ _ E. Refused X-Ray service
                        B. Refused dental care                                               ___ F. Refused other diagnosis services
          _ _ C. Refused an outside medical appointment                                      ___ G. Refused physical exam
                                                                                                                                                       I
          _ _ 0, Refused laboratory services                                                 -X H. Other (Please specify)                              I
                                                                                                                                                       !



                                                                                                                                                       I
                                                                                                                                                       !
          Reason for Refusal _________________________________

                                                                                                                                                       I

          Potential Consequences Explained:
          _ _ _A. Worsening Of Medical Conditions                                            ___C. Permanent Disability
          _ _ _B. Death                                                                      ___o. Other _ _ _ _ _ _ _ _ _ _ __


          I aOknowledge that I have been fully informed of and understand the above refused treatment and the risks
          involved In refusing. I hereby release and agree to hold harmless ccs and correctional personnel from all
          responsibility and any ill effects which may result from this refusal.

                                                      I have read this fonm and certify that I understand its contents.




           Date                                                                     Time



¢ 2007 C()fl'D{;I Cire Sol\Jllon,,   LLC
OCS.CTM (fo,mmty,CCS-009}




                                                                                                                                MCCI MED RECORDS 258
  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 265 of 486 PageID: 944




                                                                                                                      ...lCCS
       l\fonmouth Couuty
       Monmouth Adult (MCCI)                             Refusal of Treatment
       J woterworks road                                                                                               CORRECT CARE
       Free/told, NJ 07728                                                                                             SOLUTIONS
       732-866-3665 exJ.1407 Fax 732-866-3669
         PatlemNamr.                                    Potl1mt Numm,        Bookillg Numb/Ir       Date of llirt/J     Todoy 's Dare
         FREEMAN, DON.ELL                               26)84                3279258                12125/1975          S/712016


       I, __Q-.:.=:..:.tf\---"'Qc:\.1.\1.....-=---::---c---------'have, this day, knowing that I have a condibon requiring
                               {Name of Patlenl)

        medical care as indicated below:


        ;/-.,_ A. Refused medication                                            _ _ E. Refused X-Ray service
                   B. Refused dental care                                       _ _ F. Refused other diagnosis services
       _ _ C. Refused an outside medical appointment                            _ _ G. Refused physical exam
        _ _ D. Refused laboratory services                                      _ _ H. Other (Please specify)




                                        \\ --1       0- _,              (/
        Reason for Refusal           -----'"'--'-IY\-'--'-_·T«'--"S=·,-,'-'--'-1_,_v..,_J_,jf----------------------




        Potential Consequences Explained·.
        $A. Worsening Of Medical Conditions                                     ___C. Permanent Disability
        ___.B. Death                                                            ___ D. Other _ _ _ _ _ _ _ _ _ _ __

                                                                                                                                             i
        I acknowledge that I have been fully informed of and understand the above refused treatment and the risks
        involved in refusing. I hereby release and agree to hold harmless CCS and correctional personnel from all
        responsibility and any ill effects which may resutt irom this refusal.

                                           I have read this form and certify that I understand its contents.




         Witness Signature                                                               ture

             61-1 I Ht                                                       )1?DA-
                                                                         Time



Co.1007 ~mu:tCara Soluliooi, LLC
CC$-{;102 {IOl'IIM'/ CCS--0/l!i}




                                                                                                                      MCCI MED RECORDS 259
  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 266 of 486 PageID: 945




         Monmouth County
         Monnwutlz Adult (MCCI)
         I waterworks roml
                                                                  Refusal of Treatment
                                                                                                                               ..ACCS
                                                                                                                                CORRECT CARE
         Free/zold, NJ 07728                                                                                                    SOLUTIONS
         732-866·3665 Fax 732-861/.c/669
                                                                  Pat/e/!J Numbtr    Booking Numbar           Date qfl1/r1h      Todny's Dme
          FREEMA.'l, DONELL                                       26!84              3279258                  12/25/J975         7/lS/2016



         I,   _,_V_·Y<i..;?=b.;.M_,::;,f1.;.[/4-_.1,1J.,L(,,tic,r)c.µ.ltq,/·4-· _ _ _ _ _h,ave, this day, !snowing that I have a condition requiring
                1
                                        {Name of Patlentr t   '



         medical care as indicated below:


         _ _ A Refused medication                                                      _ _ E, Refused X-Ray service
             B. Refused dental care                                                    _ _ F. Refused other diagnosis services
         _ _ C. Refused an outside medical appointment                                 _ _ G. Refused physical exam
         _ _ D. Refused laboratory services                                               L,7';,_ Other (Please specify)




         Potential Consequences Explained:
         ~ A . Worsening Of Medical Conditions                                          ___C. Permanent Disability
         _ _ _B.Death                                                                   ___ D. Other _ _ _ _ _ _ _ _ _ _ __



         I acknowledge that I have been fully informed of and understand the above refused treatment and the ri1,ks
         involved in refusing. I hereby release and agree to hold harmless CCS and correctional personnel from all
         responsibility and any ill effects which may result from this refusal.

                                                   I have read this form and certify that I understand Its contents.
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          _Ll)a£?ed
         Witness Signature
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         MrY7I&
              ,tn_sSignature
          -7,/5 -
          Date



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CC.5..CT02 (fonnwiY CCS.OO!U




                                                                                                                              MCCI MED RECORDS 260
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 267 of 486 PageID: 946




         Monn10utl1 County, N:J
         Monnwrith Adtllt (MCCI)
          I waterworks road
                                                                    Refusal of Treatment
                                                                                                                                 A.CCS
                                                                                                                                 CORRECT CARE
         Freehold, NJ /17728                                                                                                     ~QLUTIO~l$

         732-866-3665 Fax 732-866-3669
           Palieni Name                                             Pa1Jem Number       Bnnkir1g N1m1ber         Dweo/Eirrli      Toda1··s Dau
           FREEMAN, !JONELL                                         26184               3279258                  12/25/\975       9/28/2016


         1.       fre err,Cl)"\ , D:x,e I 1
                                          (Name of Patient)
                                                                                      have, this day, knowing that I have a condition requiring


         medical care as indicated below:


                       A. Refused medication                                                 ___ E. Refused X-Ray service
         _ _ 8. Refused dental care                                                          ___ F. Refused other diagnosis services
         _ _ C. Refused an outside medical appointment                                       _ _ _ G. Refused physical exam
          _ _ D. Refused laboratory services                                                 ~ H. Other {Please specify)




          Reasonfor~efusaJ                        I     C~n':,P ):,£.(CAIC,t I \            b0r\     Cl CJ,)   1ece•'c.od          fC,b( f.'c\ilS
         < A,;,t :tfu◊ :J:'N't't ~ bAd ·too 1"'£1\1 tb&t , \h<:i·t,


          PotelJ,V81 Consequences Explained:
          .....J.{__A. Worsening Of Medical Conditions                                       ~ C . Permanent Disability
          ___,8. Death                                                                       _ _ _ D. Other _ _ _ _ _ _ _ _ _ _ __



          I acknowledge that I have been fully informed of and understand the above refused treatment and the risks
          involved in refusing. I hereby release and agree to hold harmless CCS and correctional personnel from all
          responsibility and any ill effects which may result from this refusal.

                                                      I have read this form and certify that I understand. its contents.




                                                                                    ~j)rMJ~~
                                                                                       · nt Signatu e
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           Date                                                                     Tlrne



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                                                                                                                                                    I!
                                                                                                                                                    I;
        Monmouth County, NJ
        Mo11mo11tll A,iult (1J1CCJ)
        1 water1mrk:r, roa,f
                                                             Refusal of Treatment
                                                                                                                              .a..CCS
                                                                                                                              l':ORRECT CARE
        Freehold, NJ 07728                                                                                                    s°OLIJT!ONS
        7$2-866-3665 Fax 732-866-3669
          Patient ,"'-'al/le                                P11.Uc:11t N11mbel'       fioo~11g Number      D(l!l?Of!Jfi'th     Todczy's Dall!
          FREEMAN, DON"ELL                                  26184                     3279258              U/25/1975           J2/2612U6



        1, ___________________ have, this day, knowing that I have a condition requiring
                                   (NaiM of Patient)

        medical care .is indicated below:


                      A, Refused medication                                              ___ E. Refused X-Ray seivice
                      B. Refused dental care                                             ___ F. Refused other diagnosis services
        _ _ C. Refused an outside medical appointment                                    ___ G. Refused physical exam
        _ _ D. Refused laboratory services                                               _ _ H. Other (Please specify)
                                               ·----1
                                                   ··   L¼ 1..../ et .. <:.-~----·



         Reason for Refusal ________________________________




         Potential Consequences Explained:
         ~ A . Worsening Of Medical Conditions                                           _ c . Permanent Disability
         __c.c::Ji. Death                                                                ___,D. Other _ _ _ _ _ _ _ _ _ __



          I acknowledge that I have been fully informed of and understand 1he above refused trea1ment and the risks
          involved in refusing. I hereby release and agree to hold harmless CCS ,md correc1ional personnel from all
          responsibility and any ill effects which may result from this refusal.

                                        <'     I have read this form and certify that I understand its contents.



          Witness Signature


          Witness Signature                                                       Patient Signature


          Date                                                                    Time



02907 C9rrtctC2t1!1 6olutJon,, LLC
CGS.-0102 (/',lfrM>f./CC'S-00.Q)




                                                                                                                             MCCI MED RECORDS 262
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                                                              MCCI MED RECORDS 263
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 270 of 486 PageID: 949




                                                                                                                                                             I
                                                                                                                                                             \:.
   Monmouth County                                           Chronic Care Asthma/Pulmonary
   Mom11outh Adult (MGGI)                                                 Initial Visit
   1 vrateJworks road
   Freehold t NJO'l728
   Patient Name                          Pe-tie-nt ~lumber               Booking Number                    Birth Dete          Oct¢ Of Ser•tfce
   DOf-lEll FREEMAI-J                    26184                           32792!.iB                         12.125/197&          1271'2015


        □ Patient refuses the Chronic Caro Asthma/Pulmonary Initial Visit

              □ Appropriate "Refusal of Treatment" paperwork completed.


       SUBJECTIVE Review chart for other medical problems                                                                        EZI No complaints

   no c/o feels well no asthma attacks in 1 month
   Patient Problems:
        ·- . -··   -···
       Obse1ved                                                   Problem                                         Confim,ed By
                          Category Type
    Date
       06-30-2015 Acute             ~l:S~H:        SubStance Alcohol Abuse
   , 06-30-2015 Chronic               RESP: Asthma                Astt1ma Not Otherwise Specifled
   j _ _        Acute                 PSYCH:_                     Unspecifled Major Depression, Janice Bu/Uer
     06 30 2015
   ,                      ·--~~---···Q_ep[ess1on                  RecuJTent Ep1sod_<J______ _
    Patient Allergies:
       Observed
       Date               Type                                 Allergy
       _06-30-2015 _ Aller9yltems______ No Known Al/.-"e.,c"'ie'-'s'------------
   Medications (including Nebs):
   Name/Dosage/Frequency:
                                                    D     see MAR


                                                                                                                   7/1/2015 8100:00 ·   7/31/20157:59:00
   thiamine HCI 1.00 mgtaQlet                                      1.00 tablet• ·Monmouth Facillfy: Q AM ·          AM                  AM
   albuterol sulfate 2.5 mg/3 ml (0.083 %) solution tor            1.00              Monmouth Facility: Every 3     7/1}2015 2:00:00 PM ~ 2B/20iS l:S9 :00
   nebuliiation                                                    rnilllliter       hours
                                                                                                                    7,15/2015 8:00:00   10/13/2015 7:59100
   Zoloft (Sertralln~) 100 ~g. tablet_                                                                             _AM          .       AM


        EZi   Asthma □ COPD
       Onset of Disease:                             dx 2006
       Smoking History                               2-3 cigaretts I day
       Dale of last exacerbation                     1 month ago
                                                      D Dale of rast exacerbation is unlmown
       Frequency of exacert>ation                    4x a year
                                                      □ Frequency of exaceiba//on                is random
       Aggravating Factors                            D Seasonal Changes D Pollen EZ1 Dust □ Smog
                                                      EZJ Cigarette Smoke D Exercise D Pets D Other

       Prior asthma hospitalization:                  0      Yes® No
       Date:




                                                                                                                                                  Pagelof4




                                                                                                                                  MCCI MED RECORDS 264
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   Mm1t'l1t1Uth County                          Chronic Care Asthm•/Pulmonary
   Monmouth Adult (MGCIJ                                  Initial Visit
   1 waterwork!$ rPad
   Freehold) NJD7728
   PlilientName                Patient Numb&r              Booking Number              Birth Oete   Date Of Service
   DOffELL FA.EEMAH            26184                       3279253                     1212511976   7127/2015


    Date:
    Endotracheal intubation             0 Yes (ij No
    required?
    Approx Date:
    Typical Peak Flow                   450
                                        D     rypica/ peak flow unknown
    Date of last spirometry             today
                                        □     Date of fast spirometry unknown
    Chronic cough?                       0 Yes@       No
     Productive cougf1?                  0 Yes@ No
    Adherent to meds?                    ® Yes O No
     If no, give reason
     Steroids used to treat?             0 Yes     @ No     O Un/mown
     Name/dosage/when:

   I OBJECTIVE                                                                                                         I
    Patfent Vitals:
     Observed Blood             Pulse        Resp. Rate Temp                Pulse Ox      Weight    BM/
     Date     Pressure
     07-27-
     2015                       63                          97.90                         205       29.4
     12.·09 PM 113/59
     EST
     Pain Scale (0-10)                   0
     Lab Results:
      none available
     Diagnostic Results:
      pkflmv450

       Directed Physic,al Exam:

       SKIN I EXTREMITIES                    @ Normal   O Abnormal O Not done
       HEENT/NECK                            @) Normal O Abnormal O Not done
       HEART                                 @ Normal O     Abnormal O Nol done                                               ''
       LUNGS                                 @ Normal O     Abnormal O Nol done                                               l
       ABDOMEN                               @ Normal O     Abnormal O No/done
       GU/RECTAL                             0 Normal O      Abnormal @ Not done




                                                                                                       MCCI MED RECORDS 265
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   Monmouth County                               Chronic Care Asthma/Pulmonary
   Monmouth Adult (MCCI)
   1 waterworks mad
                                                           Initial Visit
   Freehold, NJ01i28
   Patient Name                 Pslient Numbe(            Booking Number               Birth De/11       Date Of Sen:lce
   OONELL FREEMAN"              2611.14                   327925B                      12125/1-976       7127/2016


      GU /RECTAL                           O Normal O Abnormal (!l Not done
      NEURO                                (!J Normal O Abnormal O Nol done
      OTHER                                0 Normal O Abnormal (!> Not done

    ASSESSMENT refer to CCS Definitions·ofDisease Control and Clinical Status


       6'l ASTHMA            Mild intermittent                                 Degree of Control: Good Control


       □ COPD                                                                  Degree of Control: Select One                           i.
                                                                                                                                       I

    INTERVENTIONS AND PLAN

    Medication Changes:                   @ None     O As follo,vs
    Diagnostics                           □   Chest x-ray    O   Drug Levels

    Education
                                          (!) Condition specific educaUon provided       O    Cond11ion specific education not
                                          provided
    Additional Education                  □ dietlnutrilion   6'l medication   □ disease process      O exercise
                                          6'l dmgfa/coholltobacco avoidance        □   symptom management
                                          □ weight management □ adaptalion lo incarceration □ other
    Other education
    Special Nursing Care:
    Immunizations                         6'] UTD

    Diet
     D = No Jlems Selected""
                                                                                                                                       i
    Restrictions, Activity Restrictions and Special Needs                      D   Other
     □   Housing: Bottom Bunk □ Housing: Bottom Level             O   Housing: Detox □ Housing: Medical Obse1vation
    Explain
    Comments      and Immediate Needs

    Treatment Plan
    This must have measurable treatment goal(s) and a timeframe to reach the goal(s). Use Chronic Care
    Treatment Plan Fam, for initial treatment plan WHEN NEEDED for treatment planning of multiple chronic
    medical problems or complex issues.

           Add~d 07/2712015 12:52 p/j E'STby cj~rdan NUJiJaPracUtloner   f---------------------,


                                                                                                                      P:i.gi; 3 of 4




                                                                                                          MCCI MED RECORDS 266
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   Monmouth County                                      Chronic Care Asthma/Pulmonary
   Monmouth Adult (MGGJ)
                                                                  Initial Visit
   1 waterworks rood
   Frnel10Jd, NJD7728
   PflfientName                        Patient Number             Booking Number          Birth   Oete    Date- Of Sen/lee
   DONELL FREEMAN                      26184                      327925&                 1212511975      7/2712016


            ·Added 07/27/2015 12:52 PM EST by cjordan Nurse Practitioner      >------------------~
       Ast/Jma goal no exarbaiion limeframe next CCC
       educated smol<ing cessaUon

    Other Orders
      □ Flu Vaccine (if indicated) □ Hep A vaccine (if indicated)              D Hep B vaccine (if indicated)

      Follow-Up Appointment in                     90days
        □ Discharge from Chronic Care Clinic
      Reason




                                                                                                                                        !
                                                                                                                                        I
                                                                                                                                        I'

     !:--Signed by Catherine Jord::m n 07/27/2015 12:52 PM ES'f                                                              Page4of4




                                                                                                                MCCI MED RECORDS 267
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                                                                                                                                              ,,"




   f.''lomnouth County                                    Chronic Care Periodic Exam or
   Monmouth Adu!l (MGCJ)                                         Follow Up Visit
   1 waterworks road
   Freehold, N./07ti8
   PefientNamt:                         Petie11t Number               Booking Mumber          Bfrtll Dete    Dete Of ~<1J/ce
   OOKELL FREEMAN                       26184                         3279258                 12/25/1:976    10J11IW15


        5il Patient refuses the Chronic Care Periodic Elfam or Follow Up Visit
            5il Appropriate "Refusal of Treatment" paperwork compfoted
   Patient Problems:

    g~;:rved          Category Type                                Problem                          Confirmed By

    06-30-2015 Acute   PSYCH: SubSlance Al h I Abus
                       Abuse                               co o       e
   l06-30-2015 Chronic RESP: Asthma                      Asthma Not Othenvise Specified
   I06- _
       30 2015
               Acule   PSYCH:                            Unspecified Major Depression, Janice Buttler                                               1'
   , ________________,D""e"p"-re,-:se:s,,io.,,nc-__ _ ____,_R--ec=uccnc.:c·ec:.:11,_t=E1cPc-is"'o.,de"-----------                                   I
    Patient Allergies:
                            ----·-·--··------ ---------,,------ --··· ....... ----------·--------                                                   I
    Observed
    Date              Type                                  Allergy
       06-30-2015 Alles         Items                       No Known Aller ies


                                                                                                                                    l
    Patient Vitals:
    lcibserved .. Blood                                                                Pulse Ox ·;~;;~-/_ _B_M_I _ ___
                                            Pulse         Resp. Rate Temp
    Lll"_le       Pressure




       E-Sigm:d hy Kathleen Fcn-aru.11 10/21/1.015 02':05 PM EST                                                               Pag_e l nf 1

       E-Signed hy Kilbccnu.ldin Hushrni 1l 11/03/2015 05:06 PM EST


                                                                                                                MCCI MED RECORDS 268
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   Monmouth County                                           Chronic Care Periodic Exam or
   MonmotJth Adult {MCCJ)
   1 vratetworffs road                                              Follow Up Visit
   Freehold, NJD'172/1
                                                                                                                                 Date Of Service
   PaUenfNflme
   00f1£LL FREEMMJ                          I
                                            Ps/ienl Number
                                            26184
                                                                          Bookil}Q Number
                                                                         I3279258
                                                                                                             8/rth Date
                                                                                                            112/26/1975
                                                                                                                                [1211/-2015


         □ Patient refuses the Chronic Care Periodic Exam or Follow Up Visit.
             □ Appropriate "Refusal                 of Treatment" paperwork completed

    Patient Problems·
        ····~-··-··-··'"~----·--------------·------
    [ Observed
    oate
                        Category Type                              Problem                                         Confirmed By
    1
    08-30-2015 Acute                     PSYCH: Substance A/ h I Ab
                                         Abuse                       co o      use
    06-30-2015 Chronic                   RESP: Asthma             Asthma Not Otherwise Specified
    06-30-2015 Acute                     PSYCH:                    Unspecified Major Depression, Janice Buttler
                                      .. Depression -·······--Rec~u~r~re~1~1t~E~p~is~o~d~e~_______




        Current Medications                                                                                                                □ see MAR


        a!buterol sulfate 2,5 mg/3 mL !(l,083 %}, solution fof
        nebullzatlon                                                mllllllter
                                                                                                                    10;8/201S 8:00:00
        Zolott (Sertraline) 100 mg tablet                           2,00 t-a!Jlet    Monmouth Facility: Q Af\-1                         1/6/2016 7:59:00 AM
                                                                                                                    AM


        List Chronic Diseases                         0 Asthma/COPD                 □ Diabetes □ GERO □ Hea11 Disease
                                                       □ HIV □ Hypertension                0   Pain □ Seizures □ Other
        Other
        Other

        SUBJECTiVE {Any p~blems since last                       vl!Stt ~ lo~lude pertinent 11\>9atives) · .                  · · 0 No Complaints

        For all diseases, since last visit, descnbe new symptoms
        chronic pain to the 1eft hip. Hx of fracture age 14 reTa/ed to mva. Pl is in a low bun/<.

         0 Asthma
         Number of attacks in last month?                                                           0
          Number of short acting beta agonist canisters in last month?                              0
         Number times awakening with asthma symptoms per week?                                      0




                                                                                                                                              Paget of4




                                                                                                                                   MCCI MED RECORDS 269
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   Monmouth County                                Chronic Care Periodic Exam or
   Monmouth Adult (MCCJ)                                   Follow Up Visit
   1 watetworks road
   Freehold, NJ01128
   Pallent Nafflfi              P,9tient Number             Booking Nombr1t              Birth Det,;    Date   or Sendce
   OOHELL FREEMMl               261"84                      l279258                      12125/1..975   12fi/2015

      u    ~e12ure d1somer
      □ Diabetes mellitus

      □    CV/hype,tension

      □ HIV/HGV

       □     GERD
       □ Pain


     Patient adherence with medications?               ©    Yes   O   No
     Patient adherence with diet?                      @> Yes     O   No
                                                                                                                                       1-·
     Patient adherence with exercise?                  @) Yes     O   No


     OBJECTIVE

    Patient Vitals.·
     Observed Blood             Pulse        Resp. Rate Temp                  Pulse Ox       Weight     BM/
     Date            Pressure
     12-01-
     2015                        60           16             97.50            913           199         28.6
             115179
     10:56AM
     EST ..

     Pain Scale (0-10)
     Labs
     HgbA1C
     HIVVL
      CD4
      Total Chol
      LDL
      HDL
      Trig
      INR
      Rahge of fingerstick glucose
      Range of BP monitoring
      Directed Physical Exam:

         SKIN/ EXTREMITIES                  ®        O
                                                  Normal     Abnormal      O   Nol done

         HEENT /NECK                        @ Normal O       Abnormal      O   Not done

         HEART                              ® Normal O        Abnormal     O   Not done

         LUNGS                              ® Normal O        Abnormal     O    No/done


                                                                                                                           Pagc2 of4




                                                                                                          MCCI MED RECORDS 270
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   MDmTiolltt1 County                             Chronic Care Periodic Exam or
   Monmouth Adult {MCCI)                                 Follow Up Visit
   1 wafi!rworlu road
   frEehold, NJ0'/128
   Patient Neme                 Petient Numbftr            Booking Homber             Birth Dete         Dete Of Service
   OOfJELL FREEMAH              261&4                      3279258                    12125/1975         1211(2015


      LUNGS                               (!)       O Abno1mal O Not done
                                                  Normal
      ABDOMEN                              ® Normal O Abnormal O Not done
      GU /RECTAL                           0 Normal O Abnonnal (!l Not done
      NEURO                                @ Nonna/   0 Abno1mal O Not done
      OTHER                                (!J Nonna/ O Abnorm al O Not done
      Physical Exam Abnormalities:


     A.SSESSMENT ·
                                                                                                                                         I
      1. asthma

                Degree of co.ntrol: Good Control                     · Clinical Status lmprov~d Status

                                                                                                   D C~ok foranolhir ~l'I/Ty

   1. l~terventions am! Plan

     Medication Changes:                  0 None ® As follows
                                          Pin medication- mobic 7.5
     Diagnostics                           □ Chest x-ray □ EKG □ Fasting Lipid Profile □ CD4 □ Viral Load
                                           □ Diagnostic Panel 1 □ Diagnostic Panel 2 □ Diagnostic Panel 3
                                           D Pap Smear D HgbA1c             □   PTI/NR □ Drug levels

     Monitoring                            □ Finger-stick G/ucose _x per dayl_x per week/_x per month

                                           □      BP_x per dayl_x per week/_x per month
                                           @ Condibon specific education provided        O   Condition specific education not
     Education
                                          provided
     Additional Education                 G1l dief/nufrilion G1l medicaaon GZI disease process R) exercise
                                           R) drugla/coho/Jtobacco avoidance □ symptom management
                                           R) 1veight management □ adaptafion to incarceration □ other
     Other education
     Special Nursing Care:
     Immunizations                         □ UTD

     Diet
       D    =No /iems Selected••

                                                                                                                           Pngc 3 of'4




                                                                                                            MCCI MED RECORDS 271
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   Monmouth County                                     Chnmic Care Periodic Exam or
   Monmouth Adult (MGC/J                                     Follow Up Visit
   1 waterworlfs road
   Freehold, NJ01728
   Pelienf Name                      P11tiant Number              Booking Number                 Birth Defe       Ds!e Of Service
   OOrlfLL FREEMAN                   26f84                        3279253                        12!2bli976       121112.015


     D = No Items Selected ••
    Restrictions (Special Needs)
     Ill    /-lousing: Bottom Bun/{     G'l   /-lousing: Bottom Level     G'l   Housing: Detox    G'l   Housing: Medical Observation
    Comments and Immediate Needs
     Pl has history of chronic pain.
    Treatment Plan
    This must have measurable treatment goal(s) and a timeframe to reach the goal(s). Use Chronic Care
    Treatment Plan Form for initial treatment plan WHEN NEEDED fortreatment planning of multiple chronic
    medical problems or complex issues.
      □     No change from current treatment plan
              Added 12/01/20151 t:17 AM ESTby 1'haslimi Provider         f--------------------7
       Asthma is not active- Goal met

        /-lip pain on the /ell - will tty pain med and do xray.

     Other Orders
      RI    Flu Vaccine (ifindicaled) □ Hep A vaccine (if indicated) □ Hep B vaccine (if indicated)
     refuses.

       Follow-Up Appointment in                  90days
           □ Discharge from Chronic Care Clinic
       Reason




      E-Signed by Kubeeruddin Ha~hmi, Provider ,:m 12/0112015 I t:17 AM EST                                                         Pagc4af4




                                                                                                                     MCCI MED RECORDS 272
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   Monmouth County                                            Chronic Care Periodic Exam or
   Monmouth Adult(MCCJ)                                              Follow Up Visit
   1 waterworks road
   Freehold, NJ0'/728
   Pfttlent Name                           Patient Number                      Booking Number                Birth Date          Date Of Service
   0OUELL FREEMAij                         261&4                               3279258                       12/26/{975          lJ24J2016


      D Patient ref1.1ses the Chronic Car" Periodic Exam or Follow Up Visit.
           □ Appropriate "Refusal of Treatment" paperwork completed

    Patient Problems:
    Observec/                                                                                                       Confim1ed By
    Date               Category Type                                   Problem
    03-19-2016 Acute                    Symptoms                       Abnormality of Gait
    06-30-2015 Acute                   ~~::,,~H: SubSlance Alcohol Abuse
                   RESP: Asll1ma
    06-30-2015 Chronic                                                 Asthma Nol Otherwise Specified
    06-30-20JS A ule
                   PSYCH:_                                             Unspecified Major Depression,  Janice Buttler                                            '
    ------··-c ___ QepressIon                                          Recurrent Ep1soc/e
    Patient Allergies:                                                                                                                                          I
     Observed          T
                                                                                                                                                    .l
    IDate                ype                                        Allergy                                                                             I
    I06-30-2015_ Aff'.'.rgy Lt,orns __             ·•-➔•-•-----···-·No Known Allergies ____ - - - - - - - - - - - - - - - · · · - J

     Current Medications                                                                                                                    □      see MAR
     ~~~~~~Z:'.:·_:~?:n~1r:~§I:~;~!.~t.: -~~:~~~.~x~tf~:;:~~~-~'.~;:~~~~-,~~~-~:;~~¾~i~g~z~l~~~~1~£ :~fntr~;~~#.::~~~?~tt:I~trn:;:;~~~I~ :~(~?l~
     atbuterol <..Ult.ate 2,5 ni{l/3 ml 1(),083 %J 1-orutlori for       1.00          Monmouth f~dllty: E:very :3   1212a1201s·2:oo:OO   6/25/20161159:00
     nebull.zation                                                      millllf'ter   hoUJS                         PM                   PM
     Zolott (Se.rtrnllne.) 100 mg tablet                                2,00 tablitt Monmouth fa dirty; Q AM         1/6/20i6 8:00:00 AM ~i:20l6     9
                                                                                                                                                  J:S :00



     List Chronic Diseases                              □ Aslhma/COPD □ Diabetes □ GERO □ Heart Disease
                                                        □ HIV □ Hypertension □ Pain □ Seizures                            D   Other
     other
     other

      SUBJECTIVE (Any problems since last visit • Include pertinent negatives)                                                    □ No Complaints


     For all diseases, since last visit, describe new symptoms
      Chronic pain

       □ Asthma
       □ Seizure disorder

       D    Diabetes mel/ilus
       □ CV/hypertension

       □    HIV/HGV




                                                                                                                                                   Page I of4




                                                                                                                                      MCCI MED RECORDS 273
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   Monmouth County                                 Chronic Care Periodic Exam or
   Monmouth Adult (MCCJJ
   1 wate,warks rood                                      Follow Up Visit
   Fr~ehafd, NJD7728
    Pa/l&ntName                 Patient Numbftr               Booking Number              Birth D&te     Dale OJ ~r,•ice
    OONElL FREEMMl              26184-                        3279258                     1212511975     312412016

      □ HIV/HGV

      □ GERO
      EZ1 Pain
       Pain Assessment
       Severity                           mild
       Quality                            3/10
       Location                           Left acetabulum
       Aggravating/Alleviating Factors    Abnomal gait
       Associated Symptoms                left acetabulum detonnity
       Context                            Clironic
       Duration                           Since inmate was 14 years old
       Impact of Pain on ADLs / sleep I mood I diet
        Slight abnonnal ga17
       Method of Pain Assessment
       (check all that apply)       EZ1 Direct Observation @ Self-Report D Third Party □ Other
       Symptom Screen (check all that apply)
                                           □ Bright red rectal bleeding □ B/ack/tany stools □ Hematemesis

                                           D      Incontinence □ Epigastric pain     D    Paresthesias


     Patient adherence with medications?                    @ Yes   O   No
     Patient adherence with diet?                           @ Yes   O   No
     Patient adherence with exercise?                       0 Yes@ No

     OBJECTIVE

    Patient Vitals:
     oiisenied aiood            Pulse        Resp. Rate        Temp            Pulse Ox      Weight      BM/
     Date         Pressure
     03--24-
     2016                       64           18               98.70
     12:12 PM 134176
     EST
                                                   .....   -·-•·--··-------------
     Pain Scale (0-1 O)
     Labs
     Hgb A1C
     HIVVL
     C04


                                                                                                                      P:1ge 2 of4




                                                                                                          MCCI MED RECORDS 274
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   Monmouth County                                  Chronic Care Periodic Exam or
   Monmouth Adult (MCCJ)                                   Follow Up Visit
   1 wamrVtarlfS roed
   Freehold, NJ07128
   Pat'entNeme                    Patient Numtn:r                Booking Number              BlritlDate            Date Of Service
   OONELL FREEMAN                 213184                         l279258                     1"2.125/1-975         312412016


    CD4
    Total Chol
    LDL
    HDL
    Trig
    INR
    Range of fingerstick glucose
    Range of BP monitoring
    Directed Physical Exam;

      SKIN I EXTREMrrlES                     0 Nonna/ ® Abnonnal O Not done
      HEENT/NECK                             ®      Normal   O   Abnonnal     O   Not done
      HEART                                  (!) Normal      O   Abnom1a/     0   Not done
      LUNGS                                  @ Normal        O Abnormal O Not done
      ABDOMEN                                ® Normal O Abnormal O Not done
      GU /RECTAL                             0 Normal O           Abnormal @ Not done
      NEURO                                  (!J Normal O         Abnormal    O Nol done
      OTHER                                  (~) Normal O         Abnormal    O   Nol done
      Physical Exam Abnormalities:
       Walking with a limp.


     ASSESSMENT

      1. Chronic Pain

                 Degree ofControl: FairC<Jn(r!:>i •-.· •                   . · Clinic:al S\~tus Stable Status
                                                                                                             0   Ohe<:kfurimothera.hy
                                                                                                                                                     I
   \ 1nterventicins _and _P!a!I •.                                                                                                               I
     Medication Changes:                     (!) None    O As follows
     Diagnostics                             □ Chest x-ray □ EKG □ Fasting Lipid Proff/e □ CD4 □ Viral Load
                                             D Diagnostic Panel 1 □ Diagnostic Panel 2 □ Diagnostic Panel 3
                                             □ Pap Smear D HgbA1c □ PTIINR □ Drug levels

     Monitorinq                              D Finoer-stick Glucose               x !)er davl     x oerweek/          x per month


                                                                                                                                     Page3 of4




                                                                                                                      MCCI MED RECORDS 275
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   Monmouth County                                      Chronic Care Periodic Exam or
   Monmouth Adult (MGCI)                                       Follow Up Visit
   1 watwworks road
   Freehold, NJ07728
   Pl'ftientNeme                       Patient Number               Booking Num/J-er           Birth Dnte      Dale Of Service
   DOffELL fREEMMl                     26184                        3279258                    12125/1975      3124/2016



    Monrtoring                                    □ Finger-stick Glucose _ x per dayl_x per wee!d_x per m onlh

                                                  D BP_x perdayl_xperweek/_x per month
                                                  ® Condition specific educauon provided         O   Condiuon specific education not
    Education
                                                  provided
    Additional Education                          0 dietlnutnfon 0 medication RI disease process 0 exercise
                                                   0   drug/a/co/Jo/Jtobacco avoidance RI symptom management
                                                   0   weight management        0   adap/aljon to incarceration □ other
     Other education
     Special Nursing Care:                        Pain control
     Immunizations                                 □ UTD

     Diet
      D - No Items Selected'*
     Restrictions (Special Needs)
      GZI Housing: Bottom Bunk 0 Housing: Bottom Level 0 Housing: Detox RI Housing: Medical Observation
     Comments and Immediate Needs
      Pain management
     Treatment Plan
     This must have measurable treatment goal(s) and a timeframe to reach the goal(s). Use Chronic Care
     Treatment Plan Forni for initial treatment plan WHEN NEEDED for treatment planning of multiple chronic
     medical problems or complex issues.
      GZl No change from current treatment plan
              ··Added03/2412016 12:52 PM EST_b}'duni!chukw11"Nurse~ Pr.icrftloner ! - - - - - - - - - - - - - - - - ~

        Goal: Pain control.

        follow up in 90 days.

        Medicab'on when pain in the left leg flares

     Other Orders
       □ Flu Vaccine (if indicated) □ Hep A vaccine (if indicated) □ Hep B vaccine (ifindicated)


        Follow•Up Appointment in                    f/u90days
         D    Discharge from Chronic Care Clinic
        Reason




      E-Sigm:tl by Daniel U11achukw,1 n 03/24/20 l 6 12:52 PM fXf                                                                Page 4 of4




                                                                                                                 MCCI MED RECORDS 276
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 283 of 486 PageID: 962




   Monmouth County
                                                          Initial Visit for Multiple Medical
   Monmouth Adult (MCCI)                                                Problems
   1 waternmrk'I road                                                   Chronic care
   Fmehold, NJ01128
   PetientName                           IPefWnl Number                !Booking Nvmber               !Birth Date         IDate Of Service                  \
   DOHELL FREEMAH                        1zarn4                        327920s                       11212s11915         !6124/2016


        D   Patient refuses the Chronic Care Initial Visit f<>r Multiple Medical Problems.
            □ Appropriate "Refusal              of Treatment" paperwork completed.

   Patient Problems:
       Observed                                                   Problem                                   Confirmed By
                  Category Type
       Date
       03-19-2016          Symptoms                               Abnom1a/ity of Gail
       06-30-2015 Acute    PSYCH:
                           Abuse Substance                       -Aico ha /Ab use
   '
   I06-30-2015    Chronic   RESP: Asthma       Asthma Not Othenvise Specified
   i06-30-201S    Acute     PSYCH:              Unspecified Major Depression, Janice Buttler
   '---------=D~e~p~re~s~s~io~n'--_-~R~e~c""ur"-o"'en"'t'-'E~p=i~so~d=e'----




   ~~~i}/t:;fai;~tt~t~tiif-~:.::-l?MlM{f:t,~8if:!,#i~(f~i~1i~i~{{t: :{{2l?HI~~~~~i,~/~i~~i1f.r->? }'.{~~~~@il]fr})i
   alt;iuterof sulf-ate 2,s·mg/3 ml (0.083 %)     _·r     1,00         Mrirlmouth Facility: Every Kabeeruddln      12/28/20;1..5       .6/25/20161:59:00
   solution for ni!buliuition                       . rue milliUter    3.hourS-                   Ha~hmi           2:00100 PM           PM
   albuterol mffate 2.5 mg/3 ml (0.083 %)           T     1.00         Monmouth Facllltr, Every Kiibeeruddin       6/25/2016 2:00:00   12/22/2016
   solutlon tor nebunzatlon                           rue mitlil!ter   3 hours                  Ha$hmi             PM                  1:59:00 PM


       Past Drug History            1,2] Tobacco abuse 1,2] Orng abuse 1,2] Alcohol abuse
                                    □ Risks of Drug, Tobacco and Alcohol abuse discussed

       Diet                         ®     Regular Diel     O    Medical Diet
                                    □     Additional food from commissary
       Diet details
       Exercises                     @ Regularly () Occasionally              O   Never
       Medication                    0 Compliantperpatient O Non compliant per patient@ Not on medication
       compliance                                                                                                                                              I
       MAR reviewed                  OYesONo                                                                                                                   !
                                     0    Compliant with meds          O   Non compliant with meds                                                             i
                                                                                                                                                               i
        1,2] ASTHMAICOPD

                                                    © Asthma O COPO
         Diagnosed                                  Diagnosed 2007
         Improved since arrival to jail              0 Yes® No
         Current Management                          0    B-agonist PRN □ Long acting B-agonist □ Inhaled steroid □ None




                                                                                                                                            Page I of6




                                                                                                                             MCCI MED RECORDS 277
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                                                         Initial Visit for Multiple Medical
   Monmouth County
   Monmouth Adult {MCCI)                                               Problems
   1 wafen>Eod,s road                                                 Chronic Care
   Fr<:e/:lold, NJD7128
   Petienl Name               Patient r,Jumber                              Boohing M1mber              Birth Oote   Date Of SeN/r:e
   DOUElL FREEMMI             26iM                                          3279258                     12/25/1976   6/2412016


      Current Management                     0 B-ago111st PRN □ Long acting 8-agonist □ Inhaled steroid □ None
      Triggers                         Allergenes
      Severity of exacerbation in past Mud
      Complaints / Issues / Labs and Plan discussed with Patient                                                                                    '
                                                                                                                                                    '
                                                                                                                                                    ''
      no complains
       I;;] Discussion of tngger avoidance, tobacco avoidance and rescue medication use.
                                                                                                                                                    i
                                                                                                                                                    i;
                                                                                                                                                    '
      □ HEPATITIS C


      □ SEIZURE DISORDER


      □ GERD


      □ HYPERTENSION


      □ LJPIDS


      □ PAIN


   I □ THYROID DISEASE
   I □ HIV/AIDS
   I □ CARDIOVASCULAR DISEASE
   I □   DIABETES MELLJTUS

   I□    OTHER MEDICAL ILLNESS AND COMPLAINTS


   I PHYSICAL EXAM .

    Patient Vitals:
     Observed Blood                               Resp. Rate Temp                            Pulse Ox       Weigbt   BM/
                               Pulse
     Date     Pressure
     06-24-
     2016                       94                16                         97.90
     11:19 AM 101118
     l;J'ff · · - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - '
                                  1,u11,.1   J,.I.P,r.    i\,.,.....,•.,,

                                                                                                                                       Psge 2 of6




                                                                                                                        MCCI MED RECORDS 278
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 285 of 486 PageID: 964




                                                                               Initial Visit for Multiple Medical
   Monmouth County
   Monmouth Adult (MCCIJ                                                                     Problems
   1 wafenYarks road                                                                      Chronic Care
   Free.hold, NJ01128
   Petiet1t Nemff                                             Patieot Numb&r             8001</ng Mnmbet            B/Jth Dale    Dale Of 88£1/ICe
   DOHELL FREEMMl                                             261!M                      3279258                    12l26/f97'6   W2412016



       GENERAL: Patient is WO, WN, NAO, MOx3_                                                                                                0       Nom,al

        □     Exceptions I Comments


       HEENT: NGAT, PERRL, EOM intact Mouth is without lesions. Mucous membranes                                                              0      Normal
       are moist
        □     Exceptions I Comments


       NECK: Supple. No lymphadenopathy or thyromegaly.                                                                                       0      Normal

         □     Exceptions I Comments


       LUNGS: Clear to auscultation.                                                                                                          0      Nom,al

         D     Exceptions I Comments


       HEART: S1 52 regular rate and rhythm. No murmurs.                                                                                      0      Normal      i:
                                                                                                                                                                 i:·_:
         □     Exceptions I Comments


       ABDOMEN: Soft, nontender, and nondistended No hepatosplenomegaly noted.                                                                0      Normal
                                                                                                                                                                 '
         □    .Excep/jons I Comments


       EXTREMITIES: No swelling and no tenderness.                                                                                            0 Normal
         □     Exceptions I Comments


       NEUROLOGIC: CN 2-12 intact, motor, sensory, cerebellar and gait grossly intact.                                                         0 Normal
         □ Exceptions I Comments


        SKIN'. No rash, ulceration, infections.                                                                                                0     Normal

         □      E~ceptions I Comments


        Genitalia Exam                                                                                                                               Deferred

         □ Male
        No masses, no lesions and no penile discharge                                                                                          □ Normal

         □ Female
        External genitalia normal, no discharge no lesions. Pelvic exam done with chaperone:                                                   □ Normal
        no discharge, normal cervix, no leslons. No cervical motion tender~ess.
         r7 ,-,.,...- ... .-,......... , ,.....,., ................. f,,..



                                                                                                                                                   Pagl! 3 of6




                                                                                                                                     MCCI MED RECORDS 279
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 286 of 486 PageID: 965
                                                                                                                                                                              I.




                                                                                                                                                                              i
                                                                                                                                                                              I
    Monmouth County                                    Initial Visit for Multiple Medical                                                                                     I
                                                                     Problems
    Monmouth Adult (MGCJ)
    1 waterworks road                                                  Chrnri1c Care
                                                                                                                                                                              i
    Fr~hoh!, NJ0172l!                                                                                                                                                         I
    ?etJent filrune              Patient Number                       Booking Numbt:r                   Birth Osle                  Date Of Service
    DOJIELL FREEMAN              26184                                3279253                           12125ft97S                  6/2-4/2016

   ~discharge, nom1al cervix, no lesions. No cervical motion tenderness.
        □   Exceptions I Comments
                                                                                                                                                                              I
     I Breast Exam:                                                                                                                                Deterred


     ~ectal Exam:


      ASSESSMENT


       ASTHMA                                                       Mild Persistent                                                           Fair Control

       COPD                                                                                                                                      Select One

       OTHER MEDICAL ILLNESS I COMPLAINTS/ COMMENTS


   / PLAN (including Medication cha~ges)


       r-J Adde~ 06124/2016 11:43.AM EST by dunachukvilu Nurse Practiffoner :
                                                                .                .

        Goal: keep asthma exacerbation off for the next 90 days.

        Follow up in BO days.


     Discussion with Patient
     Diet                                      0      Regular diet is appropriate □ Medical diet is indicated
                                                                                  ...... ,.                 .         ····-   ·--
                                               Brisk walk (4MPH) 30 minslday for 5 days and Muscle strengthening 2 times
     Exercise recommendation
                                               a week

                                                0     Agrees to continue
                                                □ Agrees to start

                                                □ Will not consider
            ·------·---- ·------
             ·--·                   ....   ---- ·-·         -- -·                                          .. --- . ---·--- -··---·       .                        ···-   -
     Body mass

      Current Weight                            200/bs
      Desired weight before next visit 190 lbs
              . ···-·----·----·-----·------------- ·····- ..                         .,   -- .   ----····- --- ··--·--·· ·-- --                    ...   ----·--·
     Goals Discussed-Attempt to meet before next visit



                                                                                                                                                   r>age 4 of 6,




                                                                                                                                     MCCI MED RECORDS 280
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   Monmouth Count,                                     Initial Visit for Multiple Medical
   Monmouth Adult (MCCJ)                                             Problems
   f waterworks rortd                                            Chronic Care
   Freehold 1 /IIJ07128
   Pe/ienr Name                       Petient Number            \Boolrlng Mam/Jer           \Birlh Dete   Date Of Service
   DONELL FREEMAN                   \ 2618-4                    3279258                     12126/1975    I6/2412016

    Goals Discussed-Attemptto meet before next vistt

        □ Blood Pressure

               0 less il1an 140190       □       less than 130/80 D goal met
        □ HgBA1C

               0 less Uian 7 D 7 - 8 D less than 9            □ goal met

        □ No seizures                                                                                                                 I


               D     goal met                                                                                                         I
             - -   -···· ····-···
        l'2l Minimize Asthma exacerbation                                                                                             1.-.


              l'2l None □ 2x week □ goal met
        □ LDL
               □ less than 70 □ less than 100 □ less than 190 □ goal met
                     - -- ·-·--·--------··-·
                                           ,,.                  ---- ----------·----·
        □ TSH
               D     normal range □ goal met
        □ HIV
               D     CD4 above 200 □ Vim/ load undetectable □ goal met
        D   Reflux                                                                                                                    I.


               D     none to occasional reflux □ goal met
        □ Cardiac disease                                                                                                             I
               D stabilize D goal met
        □ Hepab/isC
               □ education □ goal met                                                                                                     1:
        □ Other



      i,zJ Orders


         Follow Up
         Labs
         EKG
         Flu vaccine                              F-Oilow up in 90 days. Conffnue wfth Albuteroi neb treatment as needed
         Diet Changes                             daily,

         Other Nursing
         Instruction
         Stat Meds



                                                                                                                        Page 5 of 6




                                                                                                             MCCI MED RECORDS 281
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   Monmmlth County                                    Initial Visit for Multiple Medical
   Monmouth A duft {MCCJ)                                           Problems
   1 waterworks roctd                                             Chronic Care
   Freehalri, N.J01728
   P&tientName1                      Petienl Number              Booking r,Jumber-         Birth Date    Dal& Of Service
   DOJ./ELL FREEMAN                  261-84                      32792&8                   12/251197!;   6124/2016

         StatMeds




                                                                                                                                     I·'·
                                                                                                                                     I.
                                                                                                                                     1··




    E~Signed by Daniel Unachukwu n 06/'.N/2016 11 :43 AM ES'I'                                                         Page 6 of 6




                                                                                                           MCCI MED RECORDS 282
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 289 of 486 PageID: 968                                                                       I
                                                                                                                                                        I.,'




   Monmouth County, HJ                                              Progress Notes
   M,mmauth Adult (MCCV                                               Chn:mlc earn
   1 watenvorks road
   Freehold I NJ07728




   albuterol sulfate 25 m_g/3 ml (0.083 %] solution fol' _.      1.00           Monmouth facility: Every 3     6/25/2016 2:00ilO   12/22/20161!59:00
   nebuli:ration                                                  miUlllter     hOurs                          PM                  pf\/1
                                                                  l.OO tablet   Monmouth Facif(ly: BID AM & 9/22/2016 7:00:00      12/21/2016 6:59:00
   Tylenol !AcetaminoplH:rt) 325 tng tab!et                                     HS                             PM                  PM

   Patient Problems:
   jObserved                                                     Problem                                      Confirmed By
                     Category Type
   iDate
   !03-19-2016 Acute     Symptoms         Abnormality of Gail
                         PSYCH: Substance Al h /Ab
   '06-30-2015 Acute     Abuse              co o    use
    06-30-2015 Chronic RESP: Asthma       Asthma Nol Othenvise Specified
                         PSYCH:           Unspecified Major Depression, Janice ButJ/er
    06-30-2015 Acu1e   __DJJJJression     Recun-ent Episode
    Patient Allergies:
    ~---------------------                                                              ------ -- .... ·····----·-···
    Observed T
    Date            ype Allergy
    06-30-2015 Allergy Items __ _                             No Known Allergies                                                            _J
    □    Vita/ Signs Taken
    Patient Vfta/s:
    r---···--··-·----····-··-· --·---
    iObserved         Blood                Pulse         Resp. Rate Temp                   Pulse Ox          Weight        BM/
    !Date             Pressure

     Notes /History:

            Aa~eci09!22120J6 12:30 PM EST by khasnml P r o . v , d e r • f - - - - - - - - - - - - - - - - - - - - - - - - ,

      Flu shot offered but refused.




      B-Signed by Knbeen.tdd[n Hashmi. Provider on 09/22/2016 12:30 PM EST                                                                 P~ge.l ofl




                                                                                                                              MCCI MED RECORDS 283
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 290 of 486 PageID: 969




   Monmouth County, HJ
   Monmouth Adult (MCCJ}                                  Chronic Care Follow Up Visit
   1 waterworks road
   Fr~Mold, NJ0772B
   Pa/ient Name                         Patient Numb11r               8ooklflfl Number               Birth Dale          Date Of .Service
   OOflELL FREEMAN                      26'184                        3279268                        12125/1975          9/U/2016


         D   Patient refuses tl1e Chronic Care Fol/ow Up Visit
             □ Appropriate "Refusal of Treatment" paperwork completed.

   Patient Problems:
   I Observed                                                  Problem                                     Confim1ed By
   I Dale      Category Type
   XXX-XX-XXXX Acute    Symptoms                          AbnonnalityofGait
                                                    t
    06-30-2015 Acute                ~t,;,.t;,H: SubS ance Alcohol Abuse
    06-30-2015 Chronic          RESP: Asthma   Asthma Not Otherwise Specified
                                PSYCH:         Unspecified Major Depression,
   ! 06-30- 2D15 Acute                                                        Janice Buttler
                                Depression     Recurrent Episode
            ...... ··-·--- ------"'-""'--""="""-----'-'="""-'-""'-="'-"""-""'-----------                                                        J
   Pailent Allergies:
   1Observed
                  ------------------------------
                          T                                                  Atle'gy
   'Date                     ype                                                  "
   ' 0"'6'-'-3"0'---2"0'-1'-'5'-'-A"'li"en"'g,.y-"lt,,,e:..cm,.,s'---------'"N-"o'--'Known Allergies .... _______ --···--· .. __ .. ___________,
   c:i




   alb!Jterol sulfa~e-f,5 mg(:3 ml (0.08~ %1     : · T · 1.00        : Mon·mouth Fai::.mty: Every Kabecruddln·     6/25/2016         14/22/2016
   solution for nebulization                      · rue milliliter     3 hours                    Hashmi·          2:Cl0:00 PM      . 1:59:00 PM


     Past Drug History              □ Tobacco abuse          E1l Drug abuse □ Alcohol abuse
                                    Eil Risks of Drug, Tobacco and Alcohol abuse discussed
     Diet                           @ Regular Diet O Medical Diet
                                    □   Additional food from commissary
     Diet details
     Exercises                      C) Regularly      ® Occasionally O Never
     Medication                     ® Compliant per patient O Non compliant per patient O Not on medication
     compliance
     MAR reviewed                   0 Yes® No
                                    0 Compliant with meds O Non compliant wffh meds

         0 ASTHMA/COPD
                                                    (!) Asthma       O COPD
         Diagnosed                                 chi/hood
         Improved since arrival to jail             @ Yes O No
         Current Management                         0 B-agonist PRN □ Long acbilg B-agonist □ Inhaled steroid □ None
         Triggers                                  smoke




                                                                                                                                            Page 1 of5




                                                                                                                               MCCI MED RECORDS 284
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   Monmouth County, !1J
   Mo1Jmouth Adult (MCGJ)                           Chronic Care Follow Up Visit
   1 watervmrks. ro6d
   Freehold, NJ0172fl
   Pllflent ,.,ism;;,              Petient Numter           Bookmg Number          Birth Date     Dote Of Ser1Jlce
   DONELL FREEMAN                  26134                    3279258                12/25/1975     912212016

        Triggers                             smoke
        Severity of exacerbation in past mild
        Complaints I Issues I Labs and Plan discussed with Patient
           the past pt states he was told he was borderline diabetic. Will check lab. While child had hip swge,y. Pl
         1i1
         enquires about reevaf.
          GEi Discussion of trigger avoidance, tobacco avoidance and rescue medicahon use.




       □ SEIZURE DISORDER


   ~GERD

   I □ HYPERTENSION
       0 UP/DS

       □ PAIN


       □ THYROID DISEASE


       □ HIV/AIDS


       □ CARDIOVASCULAR DISEASE


       □ DIABETES MELLJTUS


       □ OTHER MEDICAL ILLNESS AND COMPLAINTS
                                                                                                                             7
      PHYSICAL EXAM

   Patient Vitals:
   =~-~~~~-~--------·---·--·-·-········-------------~--
   Observed Blood
                   Pulse Resp. Rate Temp Pulse Ox Weight BM/
    Dale                Pressure
    09-22-
    2016
    12:01 PM 12Bll5                101         16           98.70                     200         28.7
    .EST_. ___ - - - - · - - - - - - - - - - ~

        GENERAL: Patient is WD, WN, NAD, AAOx3.                                                               GEi Normal


                                                                                                                Page 2 of5




                                                                                                    MCCI MED RECORDS 285
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 292 of 486 PageID: 971




   Monmouth Coun1y, UJ
   Monmouth Adult (MCCJ)
    1 ware,worlu- road
   Freehold, NJ01728
                                                 Chronic Care Follow Up Visit
                                                                                                                   ··s::.
                                                                                                                    .'
                                                                                                                         .,

                                                                                                                              .1.


   r,Went Name
    OOPJELL FREEMAN
                                rstient Number
                                 <61>14
                                                        l~ooking Nilmber
                                                         327.9-263
                                                                                i~irt/1 Date
                                                                                 1212611976
                                                                                               l~"teor service
                                                                                               9/2212016                        I
       GENERAL: Patient is WD, WN, NAD, M0x3.                                                            l;;J Normal
        □ Exceptions I     Comments

       HEENT: NCAT, PERRL, EOM intact Moutt1 is without lesions. Mucous membranes
                                                                                                          l,ZJ Normal
       are moist
        [J Exceptions I Comments


       NECK: Supple. No lymphadenopathy or thyromegaly.                                                   Gil Normal
       □ Exceptions I Comments
     ~-

       LUNGS: Clear to auscultation.                                                                      GZI Normal
        □ Exceptions I Comments


       HEART: S1 S2 regular rate and rhythm. No mumnurs.                                                  [;zl Normal
        □ Excepuons I Comments


       ABDOMEN: Soft, nontender, and nondistended. No hepatosplenomegaly noted.                           1,ZJ NonJJal
        □ Exceptions I Comments


       EXTREMITIES: No swelling and no tenderness.                                                        GZI Normal
        RI   Exceptions I Comments
        Mild antalgic gait.

       NEUROLOGIC: CN 2-12 intact, motor, sensory, cerebellar and gait grossly intact                     Gil    Normal
        □ Exceptions I Comments


       SKIN: No rash, ulceration, infections.                                                             Gil    Normal
         □ Exceptions I Comments


       Genitalia Exam                                                                                           Deferred
         D Male
       No masses, no lesions and no penile discharge                                                      D      Nomia/
         0 Female
       External genitafta nomnal, no discharge no lesions. Pelvic exam done with chaperone:
                                                                                                          □ Normal
       no discharge, normal cervix1 no lesions. No cervical motion tenderness.
         ~   -      ..    ·-
                                                                                                            Puge 3 ofS




                                                                                                 MCCI MED RECORDS 286
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   Monmouth County, HJ
   Monmouth Adult (MCGI)                                 Chronic Care follow Up Visit
   1 wateTWorks road
   Fr-e8hald, NJ01728
   IPafi<mt Name
   loom:LL FREEMAN
                                      P&ti,ml Numbr;r
                                      I2s134
                                                                  18-ool..'ing Nwnoor
                                                                  3279258
                                                                                                 )Birth DeJe
                                                                                                 l1212s1191i;
                                                                                                                  ]De/e, Of Serv/ca
                                                                                                                  [9/2212016
                                                                                                                                                   I
                                                                                                                              LJ JVUl//!dl
       no discharge, normal cervix, no lesions. No cervical motion tenderness.
        □ Exceptions I Comments


    I Breast Exam:                                                                                                               Deferred      I
    I Rectal Exam:                                                                                                               Deferred \


   I ASSESSMENT
       ASTHMA                                                       Se/eel One                                              Select One


       COPD                                                                                                                   Select One


       OTHER MEDICAL ILLNESS I COMPLANTS I COMMENTS


     PLAN (including Medi.cation changes.) · ·




     Discussion with Patient
     Diet                                         0 Regular diet is appropriate         □   Medical diet is indicated
                                                 Brisk walk (4MPH) 30 mins/day for 5 days and Muscle strengthening 2 times
     Exercise recommendation
                                                 a week

                                                   □ Agrees    to continue
                                                   0 Agrees lo start
                                                   □    Will not consider

     Body mass

       Current Weight                   200
       Desired weight before next visit 200

     Goals Discussed--Attempt to meet before next visit

        □   Blood Pressure
               D less than 140 I 90          □   less than 130/ BO □ goal met
                        ..   -·------·-··----·              . -----·--------·----------
        □ HgBA1C



                                                                                                                                 Page 4 of 5




                                                                                                                    MCCI MED RECORDS 287
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 294 of 486 PageID: 973




   Monmouth County, MJ
   Monmouth Adult (MCCT)                                        Chronic Care Follow Up Visit
   1 watrifworks road
   Free.hold, NJ07728
   Patient NftfTle                          Patienl NL•mber                 Bookfng ,Vumber                    Birth Dale                   Oare Of Service-
   OONELL FREEMAtJ                          26134                           3279253                            12/25/1975                   9122/2016


         □ HgBA1C
                   □ less than       7 □ 7 - 8 □ less than 9 □ goal met
         □ No seizures

                   □    goal met
         1::21 Minimize Asthma exacerbation
                   1::21 None □ 2x week [;;I goal met
         □ LOL
                   D less than 70 □ less //Jan 100                0 less than 190          □ goal met

         □        TSH
                   □ normal range □            goal met
         □ HIV
                   □    CD4 above 200 □ Viral load undetectable □ goal met
         □        Reflux
                   □ none to occasional reflux □ goal met

         D        Cardiac disease
                   □    stabilize □ goal met
         □        Hepatitis C
                   □ education □ goal me/
             ..    -·- ·---·-----·-·-·---· ·-·-·····-------- --------- . --------·- .. -··- ···--- -··--- ··---- --··
                  --                                                                                                    - - ·------·-····
         □ Other



      [;;I Orders


          Follow Up
          Labs
          EKG
          Flu vaccine                                                               diag #3 HgBA 1C cco 90 days
          Diet Changes
          Other Nursing Instruction
          Stat Meds




     £-Signed by Kabeeruddin Ha~hmi, ProviJer on 09/22/2016 12:27 PM EST




                                                                                                                                              MCCI MED RECORDS 288
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 295 of 486 PageID: 974




   Monmouth County, NJ
   Monmouth Adult (MCCI)                                             Chronic Care Follow Up Visit
   1 waterworl<s rorJd
   Freehold, NJ07728
   Pette:n(Name                                  Pef/ent Number                     Book;ng Number                  Birth Ocie           Dal& Of Service
   DON ELL FREEMAIJ                              2fl18-4                            327.9258                        121.26/1975           12/2612016

       D    Patient refuses the Chronic Care Follow Up Visit
            □   Appropr/ato "Refusal of Treatment" paperwork completed.

    Patient Problems.·
    :observed
                 Category Type             Problem                                                                        Confirmed By
    ;Date
    ioJ-19-2016 Acute     Symptoms         Abnormality of Ga,/
    io6-30-2o-ts Acute    PSYCH: Substance A! h I Ab
                          Abuse              co o    use
     06-30-2o-t5 Chronic                     RESP: Asthma                   Asthma Nol Otherwise Specified
                                             PSYCH:                         Unspecified Major Depression,
     06-30-2015 Acute                                                                                      Janice Buttler
                                             Depression                     Recurrent Episode
    Patient Allergies:
                         ... _. --•.--·- -~----·-·--
     ObseJVed    T
     Date         ype                                                 Allergy
     06-30-2015 _Allergy Items


                                                                                    l\•lo nmouth FacHtt.y: BID Kai:leeruddln       12/2112016          3/21/.2017 6:59:00
   Tylenol (Acetamli-H:iJjhe_n) ·3·2s mi;, tablet         · ·rrue 2,00 tablet
                                                                                    AM &HS                     Hashmi              7:00:00 PM          PM
   albuterol -sulfate 25 mg/3 ml (0.083 %)                          1,0{)           Monmouth Flldllty:        Kabeeruddin          tl/22/2016          6/20/2017 1i59:00
   solution tor nebullzatlon.                                 True milliliter       Evefl/3 hours             Hashmi               2:.00:00 PM         PM
                                                          ·         1.00.       ·   Mo mriouth- FacilH:y:: BID Marisa Marciano, 12/21/2016             12/31/2016
    t'lydrocortirnne 1 ~ Topical Olnt_m~rrt                   True Ointment         AM &HS                     RN               7:00:00 PM             6;59:00 PM


     Past Drug History                     QJ Tobacco abuse □ Drug abuse □ Alcohol abuse
                                           bZI Risks of Drug, Tobacco and Alcohol abuse discussed
     Diet                                  ® Regular Diel O Med;cal Diet
                                           QJ Additional food from commissary
     Diet details
     Exercises                             0     Regularly      ®    Occasionally         O   Never
     Medication
     compliance
                                           @ Compliant pet patient                  O   Non compliant per patient         O      Not on med1catfon

     MAR reviewed                          0 Yes® No
                                           0 Compfiant with meds O                      Non compliant with meds

       bZ1 ASTHMA!COPD

                                                              ® Asthma O COPD
       Diagnosed                                              2006
       Improved since arrival to jail                         ® Yes O No




                                                                                                                                                         ?age l 01'6




                                                                                                                                           MCCI MED RECORDS 289
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   Monmouth County, NJ
   Monmouth Adult (MCCJJ                           Chronic Care Follow Up Visit
   1 wat~rworks road
   Freehold, N../07'128
   Pat,'ent Ne-me                Petienl Mumber              Booking Number              Birth D<:te       Date Of Sef\!.'ce
   DOHELL FREEl',MH              2.6'.'iM                    3279258                     1212511976        1212612016


      Improved since arrival to jail        (!l Yes   O No
       Current Management                   0 B-agonist PRN       □ Long      acting B-agonist    □ /n/Jaled steroid    D None
      Triggers                              shell fish-allergy related, cig smoke
      Severity of exacerbation in past Last heal attack- 2013
      Complaints/ Issues / Labs and Plan discussed with Patient
       No issues
        G!I   Discussion of trigger avoidance, tobacco avoidance and rescue medication use.


      □    HEPATJTIS C

      □    SEIZURE DISORDER
                                                                                                                                          J
      □ GERD


      □ HYPERTENSION
                                                                                                                                              I
                                                                                                                                              '
      □ LJPIDS


      □ PAIN


      0 THYROID DISEASE
                                                                                                                                              i
      □   HIV/AIDS

      □    CARDIOVASCULAR DISEASE

      □ DIABETES MELLJTUS


      0 OTHER MEDICAL ILLNESS AND COMPLAINTS

     PHYSICALl;lXAM

   Patient Vitals:
                                                                                                                                          I
    Observed Blood
    Date          Pressure
                                 Pulse        Resp. Rate Temp                 Pulse Ox      Weight         BM/
    12-26°
    2016
    10:24 AM 137185               100         16             97.70                          195            28
    EST


                                                                                                                          P<1g..: 2 or6




                                                                                                                MCCI MED RECORDS 290
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   Monmouth County, HJ
   Monmouth Adult (MGGIJ                          Chronic Care Follow Up Visit
   1 wat(!JWorks road
   Freehold, NJ07721J
   PtJtien! Nam~                 Patient Number           800k/ng Mvmber         Birth Oettt   Date Of service
   OONELL FREEMAH               26184                     327'9258               12)25/1975    12'2612016


                                         ---------------------------·---}
                                                                                                                        :
      GENERAL: Patient is WO, WN, NAO, AA0x3.                                                             E21 Nonna/
        □ Exceptions I Comments


      HE ENT: NCAT_, PERRL, EOM intact. Mouth is without lesions. Mucous membranes
      are moist                                                                                           Ga     Nonna/

        □ Exceptions I Comments


      NECK: Supple. No Jymphadenopathy or thyromegaly.                                                    Ga     Nonna/
        D   Exceptions I Comments


      LUNGS: Clear to auscultation.                                                                       RI     Nonna/
        □ Exceptions I Comments


      HEART: 31 S2 regular rate and rhythm. No murmurs.                                                   Ga     Normal
        □ Exceptions I Comments


      ABDOMEN: Soft, nontender, and nondistended. No hepatosplenomegaly noted.                            Ga     Normal
        D   Exceptions I Comments


      EXTREMITIES: No swelling and no tenderness.                                                         Ga /1/om,a/
        □ Exceptions I Comments


      NEUROLOGIC: CN 2-12 intact, motor, sensory, cerebellar and gait grossly intact.                     Ga     Nomia/
        □ Exceptions I Comments


       SKIN:. No rash, ulceration, infections.                                                            Ga     Nomia/
        D   Exceptions I Comments


       Genitalia Exam                                                                                          Deferred
        □ Male
      No masses, no lesions and no penile discharge                                                       D      /1/omia/
        D   Female
       External genitalia normal, no discharge rm lesions. Pelvic exam done with chaperone:               n      ,.1... ..,,..,,..,

                                                                                                              P:ige J of6




                                                                                                MCCI MED RECORDS 291
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 298 of 486 PageID: 977




   Monmouth County, UJ
   Monmouth Adult {MCCI)                           Chronic Care Follow Up Visit
   1 warerworlrs road
    Free.froid, NJD7128
    Petient Neme                Petient Numbttr             Booking Number           Birt.ti Dr:te   Dole Of S~Mce
    DONELL FREEMAI-J            2:6184                      3219258                  12/25/1975      12126/2016


       External genitalia normal, no discharge no lesions. Pelvic exam done with chaperone:
                                                                                                                                     i
                                                                                                                  □ Normal
       no discharge~ normal cervix, no !eslons. No cervical motion tenderness.
         □ Exceptions I Comments


       Breast Exam:                                                                                                 Deferred


       Rectal Exam:                                                                                                 Deferred
                                                                                                                                I    I
                                                                                                                                     I
                                                                                                                                     I
                                                                                                                                     !·'
   I ASSESSMENT                                                                                                                  I   '
                                                                                                                                     i
        ASTHMA                                           Mild Intermittent                                 Good Control


        COPO                                                                                                      Select One

       OTHER MEDICAL ILLNESS/ COMPLANTS I COMMENTS




       rl     Adcted 12i2612Q16 i0:35AMESTbykfiashmlPr6vlder:

       IFlu shot offered refused.                                                                                               I
      Discussion with Patient
     Diet                                 0    Regular diet is appropliate   D Medical diet is indicated
                                          Brisk walk (4MPH) 30 mins/day for 5 days and Musc,ie strengthening 2 limes
      Exercise recommendatibn
                                          a1Veek

                                           □ Agrees to continue
                                           0      Agrees to start
                                           □      Wilt not consider

      Body mass

        Current Welght                   195
        Desired weight before next visit 195

      Goals Discussed-Attempt to meet before next visit



                                                                                                                    Page4 of6




                                                                                                       MCCI MED RECORDS 292
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                                                                                                                                                                                 I
                                                                                                                                                                                 !
   Monmouth County, NJ
   Monmouth Adult {MCGJ)                                               Chronic Care Follow Up Visit
   1 v,aterworks roiJd
   Freehold, NJ07728                                                                                                                                                             i
   Pat/enr Neme
   DONELL FREEMAN
                                              Petienl Numuer
                                              I26f8.4
                                                                                   [Booking fo!/Jmber
                                                                                   13279268
                                                                                                                             IBirlh Dete
                                                                                                                             112/25/1.975
                                                                                                                                                      \Date or Service
                                                                                                                                                      112126/2016
                                                                                                                                                                                 i
    i.:ioals u1scussed-Attempt to rneet betore next visit

        □ Blood Pressure
                     □      less than 140 I 90     □     less u,an 130180              □ goal met

        □ HgBA1C
                     D      less than 7 □ 7 - 8 □ less than 9 □ goal met
                                                                        - ····--·····-·--·-- ___   ,,   ______   ··-·--·-· ........ -·-··--· --··-·
        □ No seizures
                     □ goal met

        i:21     Minimize Asthma exacerbation
                     i:21   None □ 2x .veek □ goal met
        □ LDL
                     D less than 70 □ less than 100 □ less than 190 □ goal met
        □        TSH
                     □ normal range           O   goal met

        □ HIV
                     □ CD4 above 200 □                  Viral load undetectable □ goal met
        □ Reflux
                     □ none to occasional reflux □ goal met
                                        --·        --    ··-··--··--    ··-·-···       --···--···---····-·-·------·-·-------··-··-----·
        □ Cardiac              disease
                     0      stabilize   O   goal met
                                                         ... - -·
        □ Hepatitis C
                     □ education □ goal met
        --   -   .
        □ Other



      i:21 Ord.,rs                                                                                                                                                                   !_.:




         Follow Up
         Labs
          EKG
         Ru vaccine                                                 ccc 90 days diag #2 HGbMG Labs to be done in 2 months.
         Diet Changes
         Other Nursing Instruction
          StatMeds




                                                                                                                                                                    Page 5 of6




                                                                                                                                                         MCCI MED RECORDS 293
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                                                                                                                                   I
   Monmouth County, t~J
   Monmouth A dull (MGCI)                              Chronic Care Follow Up Visit
   1 waterworks ,.oad
   Fre:ehoJd, NJ07728
                                     Pelienl Number              &oking Numt.:-er     B{rth Date    Dale 0( Se1vice
   Patient Name
   DONElL FREEMAH                    26'Hl4                       3279-258            12125/1:975   12''2612016




                                                                                                                                       i :-

                                                                                                                                       ''




      E-Signecl by KuUeeruddin Hashmi, Provider on !2/26/2016 10:3S AM EST                                            Page 6 of6




                                                                                                       MCCI MED RECORDS 294
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                                                              MCCI MED RECORDS 295
                                                                                                                                                     ... l .
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   f,fonmouth County                                       Medical Hlsto,v and Physical
   Monmooth Adult (MGCI)
    1 wat~nt1orks road
                                                                   Assessment
   Freehold, NJfJ"/728
    Patient Name                        Pefienl Numb-er               Booking Numbar              Birth Date       Dale: Of Servrce
    DOHELL FREEPJIA!l                   2618--4                       '3279158                    12/25/1975       6-120/2016


   [     l;7J Receiving Screening reviewed

       Patient Problems:
                                                                                                                                                               j_:.
    1Obseived
       Date            Category Type                            Problem                                 Confirmed By                                           I
       03-19-2016 Acute              Symptoms                   Abnonnality of Gail


    '  06-30-2015 Acute              PSYCH: Substance
                                     Abuse
                                                                Al h /Ab
                                                                  co o    use



    l
       06-30-2015 Chronic            RESP: Aslhma               Asthma Nol Otherwise Specified
                                     PSYCH:                     Unspecified Major Depression,  J .    tu
       06-30-2015 Acute              Depression
                                                                                                    8
                                                                Recurrent Epjsope -~- ----~---- amce u er
       Patient Allergies:
       I Ob,;erved
       !Date           Type                                Allergy
       IQ6,30-?Q1_§__!'\Jl.e!JIY 1~!"~ ....

    albuterol sulfate 2.5 mg/3 fl!l (~.083 %) solution for nebutization                   12./28J201S 2:00:00 PM    6/25/2016 1:59:00 PM


        Medicai 1-jisto,v.                                                                                                                       ]
        Medical Problems                                                                                                              D   None
                  GZI Asthma □ Diabetes □ Seizure Disorder □ Thyroid Disorder □ Heart Disease □ Hypertension
                □ COPD        D   Bleeding Disorder       D   Kidney Disease     D     Tuberculosis □ HIV □ Cancer □ Hepatffis C
        Asthma
        Diabetes - Insulin dependent
        Diabetes - Non insunn dependent
        Seizure Disorder - Grand Mal
        Seizure Disorder - Partial
        Seizure Disorder - Petit Mal
        Seizure Disorder - Drug/Alcohol Withdrawal
        Seizure Disorder - Other
        Thyroid Disorder - Hyperthyroid
        Thyroid Disorder - Hypothyroid
        Thyroid Disorder - Other
        Heart Disease. Coronary artery disease
        Heart Disease - Stents
        Heart Disease• Congestive heart failure
       , Heart Disease - Atrial fibrillation




                                                                                                                                  Page tofQ




                                                                                                                    MCCI MED RECORDS 296
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 303 of 486 PageID: 982




   Monmouth County                                    Medical History and Physical
   Monmouth Adult (MCCIJ
   1 waterworlts road                                         Assessment
   Freehold, NJD7728
   PetiefltName                    Pelient Mumbe;r            Booking Mvmber          Bfrth Date       Dflfe Of Service
   DOHELL FREEMAl1                 26'184                     3279-258                12/26/1975       6110/2016


    Heart Disease -Atrial fibrillalion
    Heart Disease - Other
    Hypertension
    COPD
    Bleeding Disorder
    Kidney disease - Renal insufficiency
    Kidney disease - End stage renal disease
    Kidney disease - Dialysis dependent
    Tuberculosis
    HIV - Compliant with medications
    HIV - Noncornpliant with medications
    HIV - Not on medic aliens
    Cancer
    Hepatitis C
    Other Illness / Details

    Medications                                                                                                           D     None
     Albuterol sulfate solution.
     Substance Abuse History                                                                                              Gil   None
    Substance Abuse                  O      Alcohol   O   Heroin   O benzodiazepines D    Cannil:,us   D   tobacco    O         Other
    Substance Abuse
    Alcohol
    Heroin
    benzodiazepines
    Cannibus
    tobacco
    Other
    Details

    Surgical History                                                                                                      i;;J None

      Glasses                                                                                                         Gil None
      Glasses                                                       □ Brought lo Jail □ Not brought to Jail   D   In Property
      Glasses -   Brought to Jail
      Glasses - Not brought to Jail
      Glasses - In Property
      Contacts                                                                                                        Gil None



                                                                                                                     Pnge2 of6




                                                                                                           MCCI MED RECORDS 297
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   Monmoufh County                                 MedieaJ History and Physical
   Monmouth Adult (MCCJJ
   1 wate,-works road                                      Assessment
   Freehold, /l!J07728
   Pi!lienfNeme                 Pstie,it N!!mber           eooldng r-Jumber              Birt/1Date        Deft?. or Servic,i
   DOflELL FREEMAN              26184                      J2Jg258                       12/2&/1975        6120/2016

       contacts                                                                                                            l.'{J   None
       Contacts                                                  □ Brought to Jail □ Not broughtto Jail □ In Property
       Contacts - Brought to Jail
       Contacts - Not brought to Jail
       Contacts - In Property

    Immunizations up to date?                                                                                       c~) Yes           O   No
                                                                       Cheek to view as         Gil   Medical History Summary

    Mental Health History


    Mental Health problems                                                                                                      Gll None
                                           □ Depression □ Schizophrenia □ Bipolar □ Anxiety □ PTSD □ Other
    Depression
    Schizophrenia
    Bipolar
    Anxiety
    PTSD
    Other

    History of Special Education?                                                                                                     None
    Head trauma?                                                                                                                Gil   None
                                        ------·----·--
    Patient concerned about ability to cope with incarceration?                                                      0    Yes@ No

    Previous suicide attempts?                                                                                          Gil None
    Are you feeling suicidal now?                                                                                    0 Yes(!! No
    ·-···--                  ···-···---
    Level of Cognitive Functioning                                   \!! Above Average O Average O Below Average
                                                                Check to view a,; Gil Mental Health History Summary

    Complaints/Review of Systems


    l"hysical Eltam ·

   Patient Vitals:
    Observed Blood
    Date          Pressure
                                Pulse         Resp_ Rate Temp                 Pulse Ox     Weight          BM/
    06-20-
    2016
    09:51 AM
                  106168         115          16           9710                             199            28.6
    s_ST ______····- - ·----~

                                                                                                                           Page3 of6




                                                                                                             MCCI MED RECORDS 298
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   Monmouth County                                 Medical History and Physical
   Monmouth A duU (MCCJ)
   1 watruv,orks road                                      Assessment
   Free.f10Jd, NJ07128
   PetienlName                   Patient Ntm1ber           Booking Number         Blrtn D&te   Date Of service                    --
   DONELL FREEMAN                26184                     32792&3                1212611975   6120/2016
                                                                                                                                II


      GENERAL Patient is well developed, well nourished, in no apparent
                                                                                                         Ga      No,mal
                                                                                                                                I
      distress_ Alert and oriented X3_
         □ Exceptions I Comments


      HE ENT: Head is normocephalic and atraumatic. Extraocular muscles are
      intact Pupils are equal, round, and reactive to light Nares appeared normal.                        ~ Normal
      Mouth is without lesions. Mucous membranes are moist.
         □ Exceptions I Comments


    I TEETH                                                                                       In good cond1/ion /


        NECK: Supple_ No lymphadenopathy or thyromegaly_                                                  Ga     Normal
         □ Exceptions I Comments
                                                                                                                            I
      LUNGS: Clearto auscultation.                                                                        Ga     Nom1al
         □   Excepffons I Comments


      HEART: S1 S2 regular rate and rhythm. No muImurs.                                                   Ga     Normal
         □   Exceptions I Comments


        ABDOMEN: Solt, nontender, and nomlistended. No hepatosplenomegaly
                                                                                                          l,'l Normal
        noted.
         □ Exceptions I Comments


        EXTREMITIES: No swelling and no tenderness.                                                       Ga     Normal
         □   Excepn·ons I Comments


        NEUROLOGIC: Cranial nerves II through XII, motor, sensory, cerebellar and
        gait are grossly intact
                                                                                                          Ga     Normal

         □ Excepilons I Comments


        SKIN: No rash, ulceration, infections.                                                            Ga     Normal
         0   Exceptions /Comments


    I PSYCHIATRIC: Normal affect.                                                                         f:il Normal       I
                                                                                                              Page 4 offi




                                                                                                 MCCI MED RECORDS 299
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   Monmouth County                               Medical History and Physical
   Monmouth Adult {MCCJ)
   1 waterwo1·ks road                                    Assessme1,t
   Freehold, N.J077W
   Putier,t Mame               Petient Numbf!r           Booking Number         Birth Daif:        Dfile Of Service
   DONELL FREEMAN              2618-4                    327'9268               12125/1975         6J2{f/201S-



      PSYCHIATRIC: Normal affect.                                                                               11] Normal
        □ Exceptions I Comments


      Genitalia Exam                                                                                             Deferred
        □ Male
      No masses, no lesions and no penile discharge                                                             □ Normal
        D    Female
      External genifaHa normal 1 no discharge no lesions. Pelvic exam done with chaperone:
                                                                                                                □ Normal
      no discharge, normal cervix, no lesions. No cervical motion tenderness.
        □ Exceptions     I Comments

                                                                                                                  Deferred


    I Rectal Exam:                                                                                                Deferred

    Comments



      EZl   Males Only
    Do you have sex with men?                                                                 O   Yes @ No      O     Refuses
    RPR offered?                                                                                            0 Yes O No
                                      0 Patient agreed - RPR Screening Ordered O Patient declined RPR Screening

     □ Female

    Are you currently pregnant?                                                                             0    Yes   O    No

    Pregnancy Education and Options discussed with Patient?                                                 0    Yes   O No

    Dental Hygiene instructions provided?                                                                   (!) Yes    O    No
    Detox Education provided?                                                                 @ Yes     O   Not Applicable

    Work Clearance

    General Work Clearance                                                                                  @YesONo
    Kitchen Clearance                                                                                       @ Yes       O   No

    General Comments



                                                                                                                 Page 5 of 6




                                                                                                     MCCI MED RECORDS 300
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   Monmouth Counfy                                      Medical History and Physical
   Monmouth Adult {MCG{)
   1 waterworks road
                                                                Assessment
   FroehQ/d, NJ07728
   Patient Name                      Patient Number               Bookrng Number       Birth Date   Date Of Servlcf:f
   omJELL FREEMAN                     26184                       3279258              12125/f975   6/2012016

    Gen8ral Comments

     TB iest. AAO X 3,NAD




    E-Signed by Dru1iel Unaclmkw\l n 061.20/20'16 In:07 AM EST                                                     Pll.ge6of6
    E-Signed by Kabeeruddin Hn.1hmi 11-07128/2016 10:-16 AM EST


                                                                                                      MCCI MED RECORDS 301
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                                                              MCCI MED RECORDS 302
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   Monmouth County
   Monmouth Adult (MCCI}                            Mental Health Group Note
   1 waterworks road
   Fmehold, NJ 01728
   Patient Mame                    Patient Mumber         Booking Number       B;'rth D&te   Dete- Of Sefllicf1
   DONELL FREEMAN                  26184                  327"9258             12.12611975   &1412.015



    Type
    of     process
    Group:
    Topic of Session·
     My role in consequences.
    Client Response to Topic:
     I/M's firs/ session in MH group, however ivas highly talkative and presented as versed in group process. Engaged
     group in his thoughts of change, accepting addiction, and a fife ofincarceration.




   . Communication/Social
       .   . .
                          Behavior: (check all
                                            .
                                               that   apply) .
                                                .:.•. ·, .· -



      [;zJ Slated thoughts/feelings clearly
      [;zJ Made supportive comments to others
      D Quiel, but responded to others
      D Made negative self-directed comments
      0    Statements not reality oriented
      GZI Initiated conversation
      □ Made independent decisions                                                                                             i
                                                                                                                               r
                                                                                                                               l
      □ Refused to participate

      □ Avoided eye contact

      D Demanding of others
      D Nol able to stay on task
      D    Speech pressured
      GZI ',\lilling to listen to others
      D    Influenced by others
       □ Quiet and withdrmvn

       0   Argumentive
       □ Accepted positive feedback

       D   Required prompting from staff
       □ Interrupts
       [;zJ Had good eye contact




                                                                                                                  Page 1 of2




                                                                                                MCCI MED RECORDS 303
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   Monmouth County
   Monmouth Adult (MCCI)                                  Mental Health Group Note
   1 waterwork$ road
   Freehold, f,/J 01728
   P~tient Nomey                    Patient r,Jumb&r            Booktng Nc.•mber     Birth Dete   Defe Of Service-
   DOfH:LL FREEMAN"                 26134                       32792&8              12J2SH91'5   81412.016

      ~   Had good eye contact
      □ Easily frustrated
      EZI Able to stay on t:,sl(
      □   Threatening!Dom1nating
      □ Olher.



    Note treatment plan goals targeted by this group:
     Encouraged conflnued compliance with treatment plan and group process as 11 applies to mental health needs.
    Treatment Plan reviewed?             0 Yes (!) No
                Chaf11les ReqUired? 0 Yes O No

    Plan (check all that apply}:

      EZI Continue Mental Heaffh Group

    ses~:       8111115
      □   Refer lo Mental Health for individual follow-up
      D   Refer to Psychiatry:


      □ Start Suicide Precautions:


      □   Homework assigned:
           Specify:
      D Refer lo Medical:
                                                                                                                           il·
      □   Disconflnue from Mental Health Group, MH to follow up in 1 week lb assess adjusbnent
             Reason for Discontinuation:


      □ Other:




    E,Signed by Jesse·Coudray n 0R/04/2015 03:56 PM EST




                                                                                                    MCCI MED RECORDS 304
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 311 of 486 PageID: 990




   Monmouth County
   Monmouth Adult (MCCJ}                             Mental Health Group Note
   1 watwvtorkS roed
   Freef10Jd, NJ 01128
   Patient ,'W:'lme                 Patienl Number         Booking Number       BirthDete    Date Of Service
   DOtlELL FREEMAN                  2618-4                 32.7926a             12/25/1975   B/2512015


     Type
     of     process
     Group:
     Toplc of Session:
     meaning I/Jrough loss
     Client Response to Topic:
     JIM spoke of how he had a similar life experience as another group member, but being 15 years older, had Ume to
     recognize where he could have coped differently. Spol,e of res@tment and guilt leading to continued substance
     abuse and feeling Iha/ he was never able to work U1roug/1 the grief_

    Client
    Hygiene: wnl

     CommunicaUon/Social Behavior: (check all            that apply]

      0 Slated thoughtslfeeffngs clearly
      E1l Made supportive comments to others
      D Quiet, but responded to others
      D Made negative self-directed comments
      □    Statements not reafffy oriented
      D    Initiated conversation
      D    Made independent decisions
      D    Refused to participate
      D    Avoided eye con/act
      D    Demanding ofothers
      □    Not able to stay on task
      □    Speech pressured
      0    Willing to listen lo others
      D    lnflue11ced by others
      □     Quiet and withdrawn
      D Argumentive
      D Accepted positiv~ feedback
      □ Requiredprompting from staff
      □ Interrupts
      0 Had good eye contact



                                                                                                          Page I ofl




                                                                                               MCCI MED RECORDS 305
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   Monmouth County
   Monmouth Adult (MCCJ}                                      Mental Health Group Note
   1 W8terworlfS road
   Frt!~hold, NJ 07128
   Pa/ient ,'\!ame                     Palient Number               Booking M11mber      Birth   ~te   Dale Of sen1ice
   OONELL FREEMAN"                     26184                        3279258              12!2SJ1.975   SJ25/2015
      .............. -, ·-
      0 Had good eye contact
      □    Easiiy frustrated
      0 Able to stay on task
      □    Threatening/DominatJi1g
      □ Other:



    Note treatment plan goals targeted             by this group:
     Encouraged continued comp/Janee with treatment plan and group process as it applies to mental /Jeallh needs.
    Treatment Plan reviewed?                0 Yes @ No
                     Changes Required? 0 Yes O No

     Pian (check all that apply):

      0 Continue Mental Health Group
       Next
    session: 9J-lli S
      0 Refer to Mental Hea/lh for individual fat/ow-up
      D    Refer to Psychialry:


      D    Siar/ Suicide Precautions:


      □ Homework assigned:
            Specify:
      □ Refer to Medical:


      □    Disconnnue from Mental Health Group, MH to follow up in 1 week to assess adjustment
              Reason for Disconfinuafion:


      □ Other:




    E-,Signect by Jesse C:oudruy n 08i2_5/2015 02:39 PM GST




                                                                                                         MCCI MED RECORDS 306
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   Monmouth County
   Monmouth Adult {MCCJ)                           Mental Health Group Note
   1 waterworks road
   Free.hold, NJ 01128
                                  Petient Number         Booking Number       Birth Dttle     Dllie Of Service
   PeUent Name
   OONELL FREEMAN                 26184                  3279'25"8            i2/25l1\'.11G   91112015



    Type
    of       process
    Group:
    Topic of Session:
     feeling lost
    Client Response to Topic:
    1/M requested to leave early due to physical illness. Wanted assurance he wouldn't be removed from the list.

     Client
     Hygiene: wnl

     Communication/Social Behavior: (check all that apply}


      □ Stated thoughts/feelings clearly

      □ Made supportive comments          to ofhers
      □ Quiet but responded to others

      □ Made negative self-directed comments

      □ Statements not reality oriented

      □ Initialed conversation

      □ Made independent decisions

      □ Refused lo participate

      □ Avoided eye contact
      □    Demanding of others
       □ Not able to stay on task
       □ Speech pressured
       □ Willing to listen to others

       D   Influenced by others
       □ Quiet and withdrawn

       □ Argumentive
       □ Accepted posMive feedback
       □ Required prompting from staff

       □ Interrupts
       □ Had good eye contact

       □ Easily frustrated




                                                                                                                 Page: l of2




                                                                                                 MCCI MED RECORDS 307
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                                                                                                                                    1,




   Monmouth County
   Monmouth Adult {MCGJ)                                       Mental Health Group Note
   1 watwworks road
   Freehold, N.J 0'1728
   Pet/entNe(llf:                       Pefievt Number               Bookiflg Number      Birth Date   Date Of Sentfca
   DONELL FREEMAU                       26184                        327!125-8            1212611976   9/1/2016


      □   Easily frustrated
      D A/Jle to stay on task
      O Threatening/Dominating
      EZI Other:
     didn't remain long enough to asses behavior

     Note treatment plan goals targeted by this group:
     Encouraged continued compliance with treatment plan and group process as it applies to mental heatih needs.
    Treatment Plan reviewed?                 0 Yes ® No
                    Changes Required? 0 Yes O No

     Plan (check all that apply):

      [;z] Continue Mental Health Group
          Next
    session:
                    918
      □   Refer to Mental Health for individual follow-up
      □   Refer/a Psychiat,y.


      □   Sta,t Suicide Precautions:


      □   Homework assigned:
           Specify:
      □   Referto Medical:


      □    Discontinue from Mental Hea/lh Group, MH to follow up in 1 weef{ to assess adjustment.
              Reason for Discontinuation:


      □ Other:




     E~Signt>.<l by Jesse Coudray n 09/01/201 S 02:55 PM EST                                                         l'uge 2 of 2




                                                                                                         MCCI MED RECORDS 308
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   Monmouth County
   Monmouth Adult {MCC/J                          Mental Health Group Note
   1 waterworks road
   Freehold, NJ 01728
   P<':tient Name               Petient NtJmber         Bookim; Number           BirthDctte      Date Of Service
   DOfjELL fREEMAH              26184                   3279258                  12/25J1976      9J3i20'ffi


    Type
    of       process
    Group:
    T epic of Session:
     defining purpose
    Client Response to Topic:
     I/M arrived late and affhoug/J initially spoke well regarding creating his puIpose and taf,ing the energy from his
     addiction in order lo dive111f to a greater purpose, soon ceased interaction and fell asleep. Will continue lo assess
     for this group.

    Client
    Hygiene: wnl

    Communi_cationlSoclal Behavior: (check all that apply)

     G1I Stated thoughts/feelings clearly
     □   Made supportive comments to others
     □ Quiet, but responded to others

     □ Made negative self-directed comments

     □ Statements not reaffty oriented

     □ Initiated conversation
     □ Made independent decisions

     □   Refused lo participate
     □   Avoided eye contac/
     □ Demancffng of others

     □ Not able lo stay on task

     □ Speech pressured
     □ Wllling to listen to others

     □ Influenced by others

     □ Quiet and withdrawn

     □ Argumentive
     □ Accepted positive feedback

     □   Required prompting from staff
     □ Interrupts
     □ Had good eye ccntact




                                                                                                               Page I of2




                                                                                                   MCCI MED RECORDS 309
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   Monmouth county
   Monmouth Adult (MCGO                                        Mental Health Group Note
   1 weterwor-ks road
   Pre~old, NJ 07128
   Patient Neme                        PaUent Number                 Soc,f'Jng Numbi;;r   Birth Dale   Dete Of S-erv/ce
   □ONELL    FREEMAN                    i!.6'J8-4                    3279258              12126/1975   91812.0-'f&


     □ Had good eye contact

     D      Easily frustrated
     D      Able to stay on task
     □ Threatening/Dominating
     1,11 other:
     disengaged

    Note treatment plan goals targeted by this group:
     Encouraged continued compliance with treatment plan and group process as it applies to mental heallh needs.
    Treatment Plan reviewed?                   0 Yes @ No
                  Changes Requ~ed? O Yes O No

    Plan (check aUthat apply):

     l:zl   Continue Mental Health Group

            Next 9122
    session:
     □ Refer lo Mental Health for individual follow-up

     D      Refer to Psychia/Jy:


     □ Start Suicide Precautions:


     □ Homework assigned:
             Specify:
     □ Refer ro Medical:


     □ Discontinue         from Mental Health Group, MH to follow up in 1 week to assess adjustment.
              Reason for Discontinuation:




                                                                                                                                    I
     □ Otheic




    e·-sign_ed by Jes~e Cou<lray tt 09/0Bf20! s·OJ:34 PM £ST                                                          Page 2 of Z




                                                                                                         MCCI MED RECORDS 310
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   Monmouth County
   Monmouth Adult (MCC/)                          Mental Health Group Note
   1 watiuworkS road
   Freehold~ NJ 07728
   PMientNsme                    Patient Number         Booking /\}umber          Birth [kite      Dete Of Service
   DOHELL FREEMAN                ;2S1&4                 32792&8                   12.126/1975      10ffi/2015


    Type
    of     process
    Group:
    Topic of Session:
     Recognizing symptoms of psychiatric distress
    Client Response to Topic:
     1/M was engaged with the movie this week stating that he is looking at it from a "clinical" perspective in order to
     draw out the benefits 1vhich could help him.

    Client
    Hygiene:      1
               \Vil


    Communication/Sociai Behavior: (check all that apply)

     □ Slated thoughts/feelings clearly

     0 Made suppoilive comments to others
     □   Quiet, but responded to others
     □   Made negative self-directed comments
     D   Statements not reality oriented
     □ initiated conversation

     □ Made independent decisions

     □ Refused to participate
     D   Avoided eye contact
     □ Demanding of others.

     □   Not able ta stay an rask
     □ Speech pressured

     □   WJ/fing to listen ta others
     D   Influenced by others
     □ Quiet and withdrawn

     □ Argumenffve
     □ Accepted positive feedback

     □ Required prompting from staff

     □   interrupts.
     □ Had good eye contact




                                                                                                                Page I of 2.




                                                                                                      MCCI MED RECORDS 311
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   MonmouU1 County
   Monmouth Adult (MGCJJ                                      Mental Health Group Note
   1 wate,works road
   Freehold, NJ 07718
   Patient Name                        Petient Number               Book/n9 Number       Birt/I Dale   Dt1te Of Service
   DONELL FREEMAN                      26184                        327925S              12125)1-975   10/6/2015

     LJ Had good eye contact
     □ Easily frustrated

     □ Able to stay 011 las/<
     □ Threatening/Dominating

     l;;J Other:
     Majonry of group was engaged Iii watching movie, 1/M was wnl throughout.

    Note treatment plan goals targeted by this group:
     Encouraged conUnued compliance with treatment plan and group process as it applies to mental heallh needs.
    Treatment Plan reviewed?                O Yes       (!' No
                Changes Required? 0 Yes O No

    Plan (check       aUthat apply):

     l;;J Continue Mental Health Group
       Next 1QV13
    session:
     D   Refer to Mental Health for individual follow-up
     □ Refer to Psychiat,y;


     □ $/alt Suicide Precautions:


     □ Homework assigned:
          Specify:
     □ Refer to Medical'
                                                                                                                                     I
     □   Discontinue from Mental Health Group, MH lo tb!/ow up in 1 week lo assess adjustment.
             Reason. for Discontinuation:


     □ Other'




                                                                                                                                     i
                                                                                                                                     !
                                                                                                                                     '


                                                                                                                                     r
    E..Signed.hy Jcs:i:e Coudray II l0/06/2015 06:08 PM EST                                                           P11gi: 2 or2




                                                                                                         MCCI MED RECORDS 312
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   Monmouth County
   Monmouth Adult {MCCI>                            Mental Health Group Note
   1 wate,works road
   Freehold., NJ 07128
   Patient Name                    Pe(lent Number         800/dng Number       Birth Date   Date Of Service
   DONELL FREEMAf~                 2.G-1.84               32:7lJ2&8            i2/25/1976   10/2012016


    Type
    of       process
    Group:
    Topic of Session:
     Recognizing psychiatric symptoms and distress
    Client Response to Topic:
     Completed film which was used to promote group topic. IIM presented as actively engaged as displayed by choice
     of his seat at the front of the class. IIM made appropriate comments and questions throughout.

    Client
    Hygiene: wnf

    Communication/Social Behavior: (check all that apply).

      □ Staled thoughts/feelings clearly

      □ Made supportive comments ta others

      □   Qwet, but responded to others
      □ Made negative self-directed comments

      □ Statements not reality oriented

      □ Initiated conversation

      □ Made independent decisions

      □ Refused to participate
      D   Avoided eye contact
      D   Demanding of others
      □ Not able to stay on task
      □ Speech pressured

      □ Wilting to llsten to others

      □ ln/1uenced by others
      □ Quiet and withdrawn

      □ Argumentive

      □ Accepted positive feedback
      □ Required prompting from staff

      □ Merrupls
      □ Had good         eye contact




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                                                                                               MCCI MED RECORDS 313
                                                                                                                        I
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  Monmouth County
  Monmouth Adult (MCGJ)                                      Mental Health Group Note
  1 waterworks road
  Freehold, ,VJ 01128
                                        Petient ,Vumbr:r           Booking Mum~r        Birth Date     D(lte Of Service
   Patient Neme
   DON"ELL FREEMAU                      26184                      327926'3             12/25/1975     1-0/2012015

     LJ Had good eye contact
     □ Easily frustrated

     □ Able lo slay on /ask
     0     T/,reatening/Dominating
     t2l   Other:                                                                                                                      I,.·.
     primarily focused on film this week. Appropriate behavior

    Note treatment plan goals targeted by this group:
     Encouraged continued compliance with treatment plan and group process              as ii applies to mental health needs.
    Treatment Plan reviewed?                 0 Yes @ No
                  Changes Required? 0 Yes O No

    Plan (check all that apply):

     0     Continue Mental Health Group
           Next
                  10127
    session:
      □ Refer to Mental Health for individual follow-up

      □ Refer to Psychiatry:



      □ Start Suicide Precautions:



      D    Homework assigned:
            Specify:
      □ Refer lo Medical:


      D    Discontinue from Mental Health Group, MH to follow up in 1 week to assess adjustment.
              Reason for Discontinuation:
                                                                                                                                          IL
      □ Other:




                                                                                                                          Page 2 of2
     £,Signed by Je~.~e Corn.lray n 10/20/201-5 (13:01 I'M EST



                                                                                                          MCCI MED RECORDS 314
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    Monmouth County                                         Medical History and Physical
    Monmouth Adult {MGGI)
    1 1//aterworl.$ road
                                                                    Assessment
    Fre.Mold • lifJ01728
    PcHentNeme                             Patient Number              Booking Number        BirlhDefe         Detc Of Servk:e
    DOf-lELL FREEMAH                       2Gf84                       3279258               1212511975        71112015


       i;;J Receiving Screening reviewed

         □    Per site policy, no Medical History and Physical Assessment required
         D Palienl refused Medical History and Physical Assessment
            D   Appropriate "Refusal of Treatment" paperwork completed


      History

    Patient Problems:
    , Observed                                                                                     Confirmed By
    !Date                 Category Type                          Problem
                                                                                                                                    i


                                                                                                                              I
     06-30-2015 Acute          PSYCH: SubSlance                  Alcohol Abuse
                               Abuse
     06-30-2015 Chronic RESP: Asthma                             Asthma Not Otherwise Specifted
     06-30-2015 A ute          PSYCH.·_                          Unspeci/iedMajorDepression,
     ------ .. -----~c _______ Dee_ress1on                       Recurrent Episode
     Patient Allergies:
     Observed             Type                               Allergy
     Date
     06-30--2015 A/te,gyjtems _.... __                      __ No_ Known Allergies_.


    thiamine HCI 100 ma tablet                                         7/1/2015 8:00:00 AM          7 (31/2015 7:59:00 AM

    Zoloft (Sertraline) 50 mg tabl~t                                   7/2/2015 8:00:00 AM          9/30/2015 7:59:00 MA

    -chlordia-zepo'Xide.25 mg c;=ip"sule                               ~/1/2~15 7:00:00 ~M          7/3/2015 6:59:00 PM


      1. Is there history of asthma, diabetes, seizure disorder, thyroid disorder, heart
      condition, hypertension, bleeding disorder, kidney disease, tuberculosis, HIV or                                      ® Yes O No
      cancer?
      El<plain:    asthma
      2. Do you currently take any medications?                                                                             @ Yes   O   No
      lfyes:      ----~m_b1~"c_ort
                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      3. Is there history of substance abL1se?                                                                              @ Yes   O Na
      Kind I
      Amount I        ETOH 1 pint day x 20 yrs, ecstacy, coke, last use 2 days ago. cig smoke 1 pk/day
      .Fr_".')ll~ilC_Y.
      4, Is there prior surgical history?                                                                                   @ Yes   O No
      Explain:         L hip repracemen~ L shoulder repair, hernia
      fi. f)n VOil f"IJrrPOtlVWP~rol~~~P-~ / r-rint~r-t,;;:?




                                                                                                                  MCCI MED RECORDS 315
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   Monmouth County                                            Medical History and Physical
   Monmouth Adult (MGGI)                                              Assessment
   1 waterworks road
   Freehold, NJ01728
   Petient Nam&                         Petfent M1mber                     Booking Number              Birth Date         Date or setvlce
   DOflELL FREEMAN                      26184                              3278268                     12/2611975         1/112015
     CA!Jldltr.   /.... /llj.J lt:µldt.:t:tllt:f/l1 L .!ll!UU/U~I lt::jldlf, Ht:/Hld

    5. Do you currently wear glasses/ contacts?                                                                                   (!) Yes    O    No

    If yes        E2l Glasses         □ Contacts

     6. Immunizations up to date?                                                                                   0 Yes O No C!) Unknown
     tetanus

     Exam
    Patient Vitals:
    rob·     d Blood
                                                                                                                          BM/
                                         Pulse          Resp. Rate Temp                     Pulse Ox       Weight
    [ Oa~erve Pressure
    I 07-01-
    '12015     99168                     81              18                  97.90
      04:27 AM
    IEST

      □ Female
                                                                                                                                                            .
                                                                                                                                                        ·.'.
     Are you currently pregnant?                                                                                                   0   Yes    O    No
                                                                                                                                                        I
     Breast Exam:                                                                                      0   Normal    O    Abnormal ® Deferred

    _Explain: _______ -····---··------ ________ ...
    Rectal Exam:                                                                                       0   No1mal    O Abnormal ®           Deferred
    Explain:
      D    Testicular Exam
     Testicular Exam:                                                                                  0 Normal O Abnormal O Deferred
     Explain:
     SKIN:                                                                                             0   Nom1a/     ® Abnormal O Deferred
     Explain: _ _la!ge surg scars left sholder, abd_omen, L _hip
     HEENT (including Dental Screen):                                                                  Cf> Normal. 0 Abnormal O Deferred
     Explain:__
     NECK:                                                                                             ® Normal O Abnormal O Deferred                   l
                                                                                                                                                        ;._

     Explain:                                                                                                                                           i'
                                                                                                                                                        !'

     CARDIOTHORACIC:                                                                                   ® Normal O Abnormal O Defem,d
     Explairr
     ABDOMEN:                                                                                          ®    Normal    O   Abnormal     O    Deferred

     Explain:
      MUSCULOSKELETAL:                                                                                 ® Normal O Abnormal O Deferred
      Explain:


                                                                                                                                        Pllge 2 ·or J




                                                                                                                             MCCI MED RECORDS 316
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                                                                                                                                         I




    Monmouth County                                    Medical History and Physical
    Monmouth AcJuft {MCCJ)
    1 waterworks road
                                                               Assessment
    Freehold, NJ0'1728
    Petient M&me                      Patient Number              Booklng N{}nlber        Bit1h Dete       DB!e Of Service
    0OllELL FREEMAhl                  26134                       327'3258                12)25/197"5      7/111016

     Explain:
     NEURO / NODES:                                                                       @ Normal      O Abnormal O         Deferred
     _Explain:
     ComnH~-nt~
      denies sefzures

     Mental Health {Comment on all "yes" responses) .

     1. Is there history of serious mental illness, major depression, schizophrenia, bi-
     polar disorder, anxiety?
                                                                                                                      @ Yes    O No
      _depression, hears voices
     2. History of special education?                                                                                 0   Yes(-:> No

     3. History of cerebral trauma?                                                                                   0 Yes@ No

     4. Patient concerned about ability to cope with incarceration?                                                   0 Yes@        No

     5. Are you fee0ng Suicidal or had Previous Suicide Attempts?                                                     @ Yes    O    No
     When/
                   homocide and SI
     Where?
     Level of Cognitive F,mctioning                                             O Above Average ® Average O Below Average

     Work Clearance

     General Work Clearance                                                                                           0 Yes® No
     Kitchen Clearance                                                                                                0 Yes® No

     Gener'!I Comments

      patient education




     E-Signed by Theresa Rnskauskns n 07/01/2015 l 1;34 AM EST                                                            Page 3'of 3

     E-Signed hy Kahccrrnli.lin Hushmi n 07/07nOJS 05:03 PM EST


                                                                                                             MCCI MED RECORDS 317
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                                                              MCCI MED RECORDS 318
                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 325 of 486 PageID: 1004

Monmouth Adult {MCCI)                                                                                                                                                               July 2015                                                                                                             Order Record History
 /f':atlentName_:.....•..:• ·                                                      . , ; patle"nt II;).                      ·..;. fyted Re~i:1.!~~.                  · 'Admisslyt.)::18'!¢·: -                 -•:.:Date of Birth           .s~:-
 FREEMAN, DONEL(                                                               26184                                                                                            06/3012015                          1212511975                   M
  Alter_Qies:       Nq Known Allergies

  Diaqnosis:        Uilspiac:ified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwise Specified, Abnormality of Gait


Discontinued
 MediCatlon. Orders
'.?.®~1~~1~.T.;f!','Q@#'~-~f~~eiP..:P..?:l.~t29~·?,;rt?:!$.'~:,'.:::N',;;,;·.;·:-~~Fl_:2-{d,~-;t{i~!A~ITl1tiT~~~~-:;::::a:·QV~3i~g~$:'9~.:_o~;_.. : [.·;•$:til,m!t-:D,at~ :p.110~_12q_1.s i,1;1.;2§ :l:-'$tart:p_ate_: -__,0119;1,go,1~.-:J~:90] ·:~~d:pate::-·~ o/!~a;~
  chlordiazepoxide 25 mg capsule: give 2 capsule PO BID AM & HS for 2 days. - Ordering Provider: Theresa Raskauskas
  Ttme        Typ~             1          2         3         4          s          6         7           a        9          10       11        12         13            14        15        15       17           1s        19        20       21        22        23       24          2s       2s        27         28        29         so        31
I os·oo
     •

  19:00
             !nit
             lnlt
                            ,.....i'~''r
                                    ,l:, • ".. , ,e ':""''~·'•       r,,,,;. "'°""''I'="'''
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                                                                                           '" ,,;.c, I'>:- =, c·,,~;,iL             '''"''""="='·
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                                                                                                                                         ~>:.....,,,,;,, cOJ• ..;,~.11. ,1'illi.iii~;"'e,''•jxc,;•,~,
                                                                                                                                    -"'• ii,~,;;~:9,,:;;,,~,            d.,.,,,__ M'.W"-, .._,,.,.,~,:~. "''""·~·       i.i'4i5rj·•V"l'
                                                                                                                                                                                                         Jt!X,,_'!::;,, ,,=.      l..-. •._.' "~~,.,_,;,
                                                                                                                                                                                                                                                ' '"~.k-•i.•'
                              .,. YE • KY M,~I i~r Wd~!kd 1~1f.H .f;~J~ ]JiW<:~• ifffl ~if1' -~ 1\k ~y,c ~~qf,a~ 1.~Jlllm ~~} It~ ;t~~ ifil~ll fili~i:] fii:~l.ih ?kt\ tf?t,@_, lGr..~~1 ·~~t~ t.t~f. t~:it- 11J:t!%~ :s~~iJ~: ,5ii%fai J:lll~l~ €:tit.@,
                                                                                                                                                                                                                                                              t"•,a'
                                                                                                                                                                                                                                                         ·-·-"""    'kj"-',.w,."
                                                                                                                                                                                                                                                                 ·•--~-,    ' ' '~.,.••<;w,~,,c.c:;,~;,,o'
                                                                                                                                                                                                                                                                                       ,,:., .•. .v., .Q\,,,,,,.,1 •-••·-•-                   ''""j'''''ij
                                                                                                                                                                                                                                                                                                                         ::'.....,j''·..J'~.le,,,$"='•'"
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:;:qt;~t,N&~.~1P}~~.9-?.::[:1i!Qi'd~tsm.w~:-:rumi_mp1.~;qr#1@t~:;.:07~99:;2jn,;.=1.;:{.;:~-Jf!~D~~r·::;;:·m1 ·;:.t21s·t:;..;~rn~~!sw~;:<.-~~o.y{~D!?~J 5,?~~:~9:(,.11 _J3Li6_!n~fO~tl:!_:·:: :·.~¢?.a<?n.:!J1~:,1~v;a:~':I _,,s;an.:oM~;~--- :_911,0)1!.29:f~:i§9~---1- ,~a~~9-~~~=~?T53"
 thiamine HCl 100 mg tablet: give 1 tablet PO Q AM for 3_0 days, If unable to give oral thiamine, contact Provider. - Ordering Provider: Kabeeruddin Hashmi
  Time        Type             1         2          3         4          5          6         7           8        g          iO       11        12.        13        14            15        16       17           18     19           20       21        22        23       24          25     26   27    28                    29         30        31
I08:00      11rut          I   KF    I   KF    I !::F I       DL    ( OL       I    KF    I   KF    I     KF   j   KF    j    KF   f   cs    I    ~D    I   ~F    I       Kl=   I   l(F   I   KF   I   l(F      f KY     I cs       j   KF   I   i:F   j   KF    j   KF   I   KF     I cs      J cs 1-Kf- \ RJ                !   RJ         m7~•:v,12~~-:]
·~,9iitl~g:~:@;;~~~q~g1&]:1~~iirJ$~.s·r~;;p;1~¢.®.t!JlU#_a.,~.P/.il{~~j.~frt'o/J1:;r,:;1%11:q;~l~.~-!\:·:~;;·i::/;~;i:Ji'~~(t:iflil@$.'tet~;-:,;::·11:q,1?/~~J?.i•~t.'?'?-~;:,j.::~qprtj~·:P:ate:.. J.rf11~_fZQ1.~;.:~_~i.~9-J?stattiSat:~-:,.~~P7f1'~1?_91~·-,:~:9.~,I '.;f:rfd -0¢~::: :. :~.191,1~~-o:1 ?'.:or:?.,~
 Zoloft {Sertralllle} i00 ffig tablet give 1.5 tablet PO QAM for 90 day.s. - Ordering Provider: Janice Buttler
   Time       Type             1         2          3         4          5-         6         7           S        9          10       11        12         13        14            15        16       17           18        19        20       21        22        23       24          25       26        27         28        29         30        31
 jos:oo pnit               f§~'i~filr£-tl-:&)Jll~&JC~!flf~~~t-?.$.ti~J~HWlliffil~~~:tJ~)}!#l)~mi~JJIT¥·~1                                                                           KF    I   KF   I   KF       I   KY   I cs       (   KF   I   KF    I   lff   I   KF   I   KF    I cs I cs I i::e I                  RJ    I   R)     !   RJ    I cz
?W~~~:l$.1~ft~.s)gl !L(J@e_r,~~~~1~'i~':\~-~~~1•~~E?~6.::~'.J.L:P~~~~a;~i .::;;p~(:2?@':i:~T~~Q\J .''.F$jjP.mtt~·~no0112p,ts~ ~-,~~[:"~ri.P.~~:-''.: :o.1.~~~Q1~:':~i'.9ClJ.:•$;_n·a_::Oatei'. ::i.:R.~'=?Q1$;;o-r;:~~:'
                                                                                                                                                                      0



 Zoloft {Sertra!ine) 50 mg tab[et give 1 tablet PO QAM for 90 days. -Ordering Provider: Janice Buttler
   Time       Type             12345678                                                                            9          10       11        12         13        14            15        16       17           i8        19        20       21        22        23       24          25       26        27        28         29         30        31
!oa:oq /rnlt               JUii:~!       KF    I   KF    1 DL I DL f                KF    J   KF    J     KF       f(F
                                                                                                                         I    KF
                                                                                                                                   1,s I         LO
                                                                                                                                                       I    Kf
                                                                                                                                                                  I       KF    JL1i~W:i.~iJti%YJl~i;'iii't~~~~~w:liJ~~e~~klq~~-~11~~"~7f~Jill~~~:J&~~1~:§:ri»i,Je:,)"~~iJ!2'~.'..J-:-::'t~~Q!tl-1~faw~\i;i~~:1
     PRN
:'J~~-~~l~~.?.~,\¥~-~f,~t,¥:{';Qil_\mll~~-~¢.~7@.Sl?Q1;;i,~iW~:-l~:,:,~['dr;'.f:~i;:;,:,~-:l.'J~ji~~<i.~ih)~~~~~,.,{,:_?_7'/q:~~~-,([~§li:q~~-;'.!97!0_1~,9.1:~:-:_1_1:,~S:-.j:@·rt:~:~)!l.!!~(~_1ff:~O.]·;;&;rya-_:·~::: P1Jos129·1_s 18_:5$
 acetaminophen 325 mg tablet give 2 tablet PO B(D AM & HS PRN for 7 days. For muscle pain or spasm. - Ordering Provider: Theresa Raskauskas
   Time       Type             1         2          3         4.        5           6         7           8        9          10       11        12         13        14            15        16       17           18     19           20       21        22        23       24          25      26         27        28         29         30        31
 I PRN - }f'mes - I                  I         I:i9-:3s J1 9 :11 _J 1s: J s /             j         /.1~g~if~i~f~~fijtfrlt.~~Sil~~lllif~tTi~~~':aj~,B;illl~iµ,k;;L';l~~~~';;4 .ft~.:ifflJ~11i4i::~:&:~~lk:'.;jl1I~!il;'.-~~;:~~i]:.ti:d:;i~-1,·~~Wr¥'~,~i:~ltt~hl}X~:-;,{:{J;-.~:.i'.';i.ij~.'.;.~_~jiJ~~~~f,-,li~:,_·,
 ~P.rtfaj.;Ji~O¥;.c~J.~?1:l'7~:d ;:_p_ro:~($tatqs~; .domptefea :t21.2B120~ s; 1M5~ '~-, .\.!{M@:1,~~i.f:;'.f iiif )ia$t' Mnill'i®~tea::·1:~·: •.:P.W~-4,2015:,,~,QB:"~) L$.1Jb.friif.pate;.,: p7!~1f.!0?6>:t t:~J-·::sta\fp:a1.e:.-:- 01101120, s 114:60 ~ e . · ::~-~ww. ).~.:~~9
  albuterol .sulfate 2.5 mg/3 nil (0.083 %} solution for nebulization; give 1 milliliter lNH Every 3 hours PRN for 160 days. - Ordering Provider: Theresa Raskauskas
   nme        Type             1         2          3         4          s          6         7           8        9          10       11        12         13        14            15        16       'l7          18        19        20       21        22        23       24          25       26        27        26         29         30        31
  PRN         lmes                                                                                   21:81.                                                                                                              1};57               1s:22 20:26'                                10:f,fji6':40
                                                                                                      "'lQ.                                                                                                               ,    "'                *LO       ~LO                           ~~




   1 CORRECT CAAi:
 ,A.s-clGJ<011s
                                                                                                                                                                           Page 1 of4                                                                                                                                                     01/0512018 18:17




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                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 326 of 486 PageID: 1005

Monmouth Adult (MCCI)                                                                                                                                              July 2015                                                                                                                                    Order Record History
 . l"j~.NariJ~:\,;~:,.: .                                             ;/:;:','.:..f~Eirtt:JD.                ·,: ~- Re:x>rfil!•:                     .... :Adrrii.s_slon_.Pate.. ::' :·. :!,-,: ,,_:Date":;:>~B-J!i!J   _;:,.I. _sex:-·
                                                                      26184                                                                                 0613012015                      I     12/2511975                 I    M
 Allel"!lres:    No Known Allergies

 Dlaqnosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not OtheIWise Specified, Abnormality of Gait


·p@~g\_l!~~,~-~~~-TEf]:I~~.d~f§rMS~{CO.inP.~~;O.?!P8~~:{S'ij~-~~:~:~~n~L']~";Wf!!~,~-'.::,;J::~:AllijjT(if#t~(,.~:::;;:~mR-1f~µ~§:J.~:~:t?:'.)X-:$\i9h'.iltQ~t~.>.,.¢7.l('JJ.~:::j:1.;~sJ:','::St?lt:·J:f~:-.:.:-Jl!,l()Y~0.1~·J·$:q_[(,.·j :_:_l;rid:pate.~;;.; '(?7~~1.>!p15_ :.~8.;59
loperamide 2 mg capsule: give 1 capsule PO BID AM & HS PRN for 7 days. For additional loose bowel movements following initial loperamide dose. Do not exceed 16mg in
24 hours.... Ordering Provider:· Theresa Raskauskas
  Time       Type             1        2       3        4        5        6         7           8      9      10        11          12    13          14           15          16         i7         1B        19       20         21             22                 23                24   25          26           27    28   29        30        31
IPRN /rimes               I       I        I        I19'11
                                                      il. I           I         I         /i!;&l[ilj~j:'.il"'Jiif~1~ii'2i;,4IJ:!.~~~lSlli,"i!"'~J'J7«,r.;"~1j'@'~•'fl!i0Pji~>"<J;0'""'Y''"'!j!fi.,•1Jj
                                                                                           . ,., .  •      .,_ "    >    • '   ·•   •          ""'               ·o.
                                                                                                                                                                ,,-,. .• '" -~ • '-• J. ·•
                                                                                                                                                                           '   -"'"' .    -..   ,_     i•f,i:~:,,,,c0ys& '~it,,,,,,,p,-.;ci<iT"-"'
                                                                                                                                                                                                          ~~                  .~p.~- ,,,.,,.:,., '"'"-•'-•' \t,•e:q·:•·
                                                                                                                                                                                                                                   «.~;c. ., •. ~,. \<,                   ,,,.
                                                                                                                                                                                                                                                                    ,!-',,-.,.~,
                                                                                                                                                                                                                                                                  ·• ,;. ,. , ,1.,.;,. ••~ ••\ ~ " , . ;,_ -">•C •                       ..c, - -




:9:t!i~t.i!:'.tt.:~te/!~-~ri•;:,f;;p~_~'f,~ttjtt:~:.cornpi~:d :1:rr~~P't!i:~:.1~:~9.:Hd-l\_''t•l:½~tt_t~ri,;;-:.:1,:il -'.:lli:!~:AB:m!r:ii#a~~~-:;.:::::;w1pS{2~.1~;.A~-~:EI •:,$t!~ri:i1fpat~:-;. ~~1.oj~pr~- :~-~-'~--!: ·-,s.tM .Daj:~t~•::q71o;i_12_01s•) ~-:89J:J;tid ,q,a.O?: ~'•.o711IB.f:291 s,,:i.s~~-1
meclizCne 25 rng·chewable tablet give 1 tablet PO BID AM & HS PRN for7 days. If nausea or vomiting occurs. - Ordering Provider: Theresa Raskauskas
  Time                                 2       3        4        5        6         7           8      9      10        11          12    13          14           15          16         17         18        19       20         21             22                 23                24   25          26           27    28   29        30        31
PRN                                                          I
                                             19:39119;-:U iS":35
                                              .KY..... -- (5 (S
                                                                                           •l!Ii~;/d.1~!3~~.ffi!i~~1r,j@1i~1~1~1.~l&!illr:mJ;t~~itl~~££Jiijff,;,~t11JiJ#2tn.%\t}f5:2t1~1,r:~ii~11.1rt~~t1.ri~;f1Jti'JH1ft~j{l~.LSif.,\,)li"j/:!::".fi4::~\
~,·q~~Ntt~:~.1~J~-~~~)M~:orc;~~i;?(q~~~~;g9.ajF#i~)Pl{~~~i~ff!t~@~,                                 ,,;_~i;'.~eft'.~ii4,?f.~S.t:A~to1rtfm~.('lj~::: -~011~91;?915~1-~;M7~\f$.Wfi1A:P?t'e1-~::'l!/~?{@
 Naprosy/1 (Naproxe11) soo· mg tablet give 1 tablet PO BID AM & HS PRN for 1o days. - Ordering Provider: Kabeeruddin Hashmi
  Tm,a       Type             1        2       3        4        5        6         7           8      9      10        11          12    13          14           15          16         17         18        19       20         21             22                 23                24   25          26           27    28   29        30        31
 PRN       ftimes         R(~~fib4i~~Mffi!fol:f&~~A./lfrittfilt! 19:02                                              09:36                            20;e0 19: 11                        l9~S6 10:28 17c57   ••                  ~!tlliE~1i~1f.~~~l,tl-Efft:mt:if.!ti:~U:i::..~F,f}1C;Y~n~;f'S;,i7~f.±:tm1&:t\~'.il:tfo£~li:t;:c~51'
                                                                                                              AL     CS                              "' LD  YE:                            KY   KY     CS  18;44
                                                                                                                                                                                               19:34        AL

                                                                                                                                                                                                     ""
 Patient ·Status Changes
 Patient Status                             Description                                                 To/From                                                    Date

-Active                                     Admittia,d to Facility                                                                                                  07127/2015 09:10

 Pain Assessment
Date                          Scor-e        Scale                    Location                         Reason                        lnitlals         Interventions                                                                      Result                                                 Follow Up Oatetlme                    Initials

 Order:.




 PRN Effectiveness
 Admin Date                                                                                                                          Follow Up Date                                      Result                                                                                                  Reason                         Initials

 Order.




                                                                                                                                                        Page2of4                                                                                                                                                                       01105/2018 18:17
 .AJ~RN~Tl~A~~



                                                                                                                                                                                                                                                                                                                          MCCI MED RECORDS 320
                                                                                    .. ---.-_,,......----- ··:·,::,=:---:--7·,                                 -    ~---   -----··--'"'"-•'•'•                                       .••.• ,,;;,-.....;.:.._.::;::.....:...S'-'.·...
                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 327 of 486 PageID: 1006

Monmouth Adult (MCCI)                                                                                                   July 2015                                                     Order Record History
.,Pat__!~ritl'.-l~e:.;:_c:..:..                         •-1~J,tient·1D ~:. ,:       : .,Mecl Rec:cird #     .:_;·_;,:_~~~)on.Date ,, : .::_:-."j .,":_p~te Of ~1rth :·   J .Se;~:··
FREEMAN, DONELL                                           26184                                                     06/3012015               I    1212511975             I    M
 Allen:.iies:· N_o. _KnoWti All~rgies


 nlagrioSiS: Un:S:i'pecifi~d Major Depression, Recurrent.Episode, Alcohol Abuse, Asthma Not Otherwise Speclfied, Abnormality of Gait

Notes
OrderNo                 tnitlals   Note CaWgory   Note.Dato            Item                       Status            Note

3157918                 YE         General        07/0112015 19:00 chlordiazepoxide 25            Refused           states does not need it
                                                                       mg capsule
3157918                 KF         General        07/02/2015 08:00 chlordiazepoxide 25            Refused           did not want
                                                                       mg capsule
3157918                 KY         General        07/02/201'5 19:00 chlotdiazepoxide 25           Refused           " ! ;font want them~
                                                                    mg capsule
3157918                 KF         General        07/03/2015 08:00 chlordiazepoxide 2.5           Refused           refused
                                                                       mg capsule
3157975                 LO         General        07/08/20.15 21:01 albuterol sulfate 2.5         Hold              not needed
                                                                    mg/3 ml (0.083 %)
                                                                    solution for
                                                                    nebullzat!on
3157975                 cs         General        07/19/2015 17:57 albuterol sulfate 2.5          Missed            im did not needed it
                                                                    mg/3 mL (0.083 %}
                                                                    solution for
                                                                    nebulization
 3157975                 LO        General        07/21/2915 18:22 albuterol sulfate 2.5          Hold              not requested
                                                                    rng/3 ml (0.083 %)
                                                                    solution for
                                                                    nebulization
 3157975                 LD        General        07/2212015 20;26 a!buterol sulfate 2.5          Hold              not needed, not requested
                                                                    111913mL(0.083%)
                                                                    solution for
                                                                    nebulization
 3157975                cs         General        07/2512015 10:14 albute-rol sulfate 2.5         Hold              not needed at this time
                                                                    mg/3 ml {0.083 %)
                                                                    solution for
                                                                    riebulization
 3157975                cs         Genera!        07/26/2015 16:40 a!buterol sulfate 2.5          Hold              not needed at this lime
                                                                    mg/3 ml (0.083 %)
                                                                    so[ution for
                                                                    nebulizatlon
 3193866                 LO        General        07/14/2015 20:00 Naprosyn                       Refused           dontwant
                                                                       {Naproxen) 500 mg
                                                                       tablet




..,k~~fi\.R~~1 1 ~A~~                                                                                           Page3of4                                                                         01/05/201818:17




                                                                                                                                                                                         MCCI MED RECORDS 321
                                                              ,--,--,------,-,---,-------,----,,--c-c-,----,--c--:-----,-,~~~---,,---,-----,----,~·---··--·                                                 ...-""' .
                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 328 of 486 PageID: 1007

Monmouth Adult (MCCI)                                                                                                                         July 2015                                                  Order Record History
__.;patie.JJl.Narru,:; ,·,; -.:::-... -                          ,.,:;J' ;~,)i;itie11U]5 ·•·"·   ·,t,; _.:,Med ~~cord:~".::'_,:,       _J\_dm.~fo[\,P,aie_ ··. [r::-:·Dat&of_Blrth   .:J .. ~ex .. I•
 FREEMAN, DONELL                                                        26184                                                             0013012015           I   12/25/1975          I    M
 A!lerqies:         No Known Allergies

 Diacinosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not OtheflNise Specified, Abnormality of Gait


_Initials Leaend
Initials         Use.-
AL               Labarbera, Ashley, LPN
cs              .Sma[ls, Cherie, LPN
CZ              Zlemba, Cheryl, LPN
DL               Lazaro, Danielle, LPN
KF               Fackina, ·Kathryn, LPN
KY              Yeager, Kimberly, LPN
LD               Divita, Lawrence, LPN
RJ               Jenkins, Roxanna
YE               Everson, Yvette, LPN


9rderJ\d111inlstratign Sites
Abbrevi__?-tion          Site




  i   COfi.RECT CA.RE
•..w,..S0'.LU1!~NS
                                                                                                                                       Page4of4                                                                    01/051201818:17




                                                                                                                                                                                                           MCCI MED RECORDS 322
                            ........,.._._. '     .. ------·--     -·-··-----·" -- ----.-.- : -.-.---· ..                          ·------.                                            ·--------•.---,
                                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 329 of 486 PageID: 1008

Monmouth Adult (MCCI)                                                                                                                                           August 2015                                                                                        Order Record History
 ,;,g~.~r-1..-Na~: ·, ·. :                                                 ·,:.:~3tiei:it•,!P ,.·:.   ,... J:::;. ;,.,Mei:f~.e~.#          :=2.~l ,.:•:.:_A.dmission_,D:=i:te~-;._::        ·o~-J)f8ir1h            Sex:.
 FREEMAN, DONELL                                                        26184                              I                                          I         os1301201s                  1212511975                  M
  Al!er,:iii:s:     -~re- K-nOWnA11ergies
 DiaanoSis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
~::,Qajer;ug::;:;§~,1-9.,1_p~}:~I ,iq;~~f:'.$Jli#¢hP.1#9.nt[rjµer,1~19r~)f$:i~·s ~;,,_;;r:.::::\:<~w~~r;'.g;~JI¼S_t_A~~J('iJSti:i~it·~'.;: •:1-C1t-~.mo.1§~.g~~p~r' .:J .:§U.l;im_1t:0:~e~·: (171.14-'.~fU. s::.~9:;~~_:j <sfa,fc1*~·-:.- 'D?f ~p1~p;,_:S'-'.Q~9q_:j ::~·end· fialf4~-, ·:·- ,1_~11~!?D1:S:•:.;91l~9_
 Zoloft (Sertraline} 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - Ordering Provider: Janice Buttler
  Time        Type               1        2      3         4       5        6         7         8     9            10        11       12         13        14     15         16        17   18        19       20       21        22    23      24       25   26     27       26        29          30   31
ios:oa      11ntt            I   LJ   I   LJ   I cz    j   RJ    I cs !    10    I   R)     j cs j cs          I   r1J   j   RJ   [   AL     I   RJ   I cs I       XR    )   KR   Ia I      R:J   j   DL   j   RJ   I   RJ    I        I cs I   RJ   I   RJIDLIRJ!RC                I   L:,     I   LJl-RJ

      PRN
1,'.Q~~f:)E~l~~:~~-7.~:FJ~r.~~~pj~_a_~12.l:2§.~~~£~E~;)~=:~_:/:r;;Y.;-ii:'~,~();:[t'#i:~~-i,'rir,iJS.t~_@:f.l)!;~~-,-~,S!:~--~O~ff;'._~f[w.e:r-:_(?!/O~fTii¥JR~'f(Dat8_:·::•:::oy1?.~@,1·?,''1~pd')ja~e~·::: ~?'~!.2~1~":13:?$
 albuterol sulfa_te 2.5 mg/3 ml (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Orderlng Provider: Theresa Raskauskas
  Time        Type               1        2      3         4       5       6          7         8      9           10        11       12         13       14      15         16        17   18        19       20       21        22    23      24       25   26     27       ,.        29          30   31
~


 Patient Status Chan9es
 Patient Status                                Dss<:ription                                            To/From                                                    Date




 Pain Assessment                                                                                                                                                                                                                                                                                                        ).\
 Date.                           Score         Scale                   Locatton                       Reason                           1nmar$             Interventions                                                      Result                       Follow Up Datetlme                  lnltlals

 Order.



 PRN Effectiveness
 Admill Date                                                                                                                           Follow U~ Date                              Res,tt                                                                 Reason                        Initials

 Order:




 Notes
 On:lerNo            Initials         Not.8 category           Not& Date                  Item                                    Status                        Nore




 ...lj~A!"rrq_t, ~Af~                                                                                                                                       Page 1 Of 2                                                                                                                         01/0512018 18:17




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                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 330 of 486 PageID: 1009

Monmouth Adult (MCCI)                                                                         August 2015                                       Order Record History
.;~P~ritN~f!ll:£t:• ...                    ·:c:_,.,_17.a:~~JO':   < :[M~ Rei;t;!rd-# :   · -.:,A-dmi~n~,--, · r-:;-:Date¢_Blfi~-.   .:Sex:..:
 FREEMAN, DONELL                           26184                                             os13012015         I    1212511975       M
 AUerAles:     No"-Known Afi9rg'ies

 DlaO.nosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Nat Otherwise Specified, Abnormality of Galt


 Initials Legend
Initials     Um
AL           Lab~fbera, Ashley-, LPN
cs           Smalls. Cherie, LPN
CZ           Ziemba, Cheryl, LPN
DL           Lazaro, Danielle, LPN
KR           Reed, Kendra
LJ           Jefferson, Lanee, LPN
 RC          Cardin, Robert, LPN
 RJ          Jenkins. Roxanna


Qrd~r Administration Sites
Abbreviation      Site




                                                                                           Page2of2                                                        01{05)201B 16:17
 _,k.fC).RN~TI ~A~l



                                                                                                                                                   MCCI MED RECORDS 324
                                           ·*" .....-..
                                                                                                     ' .. ---··     .. --·-··
                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 331 of 486 PageID: 1010

Monmouth Adult (MCCI)                                                                                                                                        September 2015                                                                                                Order Record History
 ; ~!3tt~o.t:~atne::   j ••                                               .<c:.;J~atlenJ:;ID., .. · . -~,r:=:;:Me.:! Recotd# ·.->                    •·'•
                                                                                                                                                            ,AdmiSSlon·:oaiei
                                                                                                                                                                 ---~----"
                                                                                                                                                                              .         : .·._Date _£f Blr\h .·-•A:::Sex; -
FREEMAN, !:JONELL                                                        26184                                                                                 06/3012015                  12/2511975             I M
 Al!erotes:         No Knowfl Allergies

 Diai:inasis: Unspecified ,Major Depression, Recurrent Ep1Sode, Alcohol Abuse, Asthma Not otherwise Specified, Abnormality of Gait


Discontinued
Medication Orders
tQnfi;!t:N9:i.~\-~~W'fP'kTl~Cittl!¥f$('!'.~:_;.,~.9~iii'i1J~.~- ~,QX!71201.~.::,~\.'.f5:;:;:::·,\';'1~/;.::Ylf~-"-~-n)X'ili-.µiSJAdl'l'lir'.lf~ed.:.,::;: ;.:.-~9!1?.@9.l~ J!~:~.9, ;:-!:;.St!~fu.1f.Oa_1_e~, 97{.14f;!!)'f~,,1 s~,:1 ,·'S1iirt:P.~e; :,q"[{~-~~~n~::!).~_;.90 :! ~,E'fi:d:l:late;:, . ,19f-1?(2CJ1.:5   'or~
 Zo\pft(Sertralin~) 100 mg tablElt glve 1.5 tablet PO Q AM_ for 90 days. - Ordering Provider: Janice Buttler
 7lme        Type                       2         3        4        5        6         7        S        9        10       11       12        13       14         15     16        17       i8      i9       20        21       22       23        24      25        26       27       28        29        30       31
I08:0o      j101t                    I ot     J   RJ   I RJ I cs I cs I IO                  j   RJ_I    01.   j   Fl"J   I 11, j cs       j   cs I a j            f(l   I oL   j ~          RJj¥cs1cs
                                                                                                                                                                                                                       "        SJ       DL    I   RJ
                                                                                                                                                                                                                                                            "        LJ       ~R    I R'.l
                                                                                                                                                                                                                                                                                                 " EJ,,,~~'j
      PRN
;p@.(h{g;~i~~"[zyz~;:~~~l~}~~~~~fuP1~!f¥1~~~!5:-%~®:T0,                                                  ?6'.t~¼!\~('!,fftwfAdili~~§.g~;1;;~m:1e:tiW?9-~~-~;,<{E~~niI(Q~:0mtfJJ;21'.i~~'~t1~~a::rt;~2I~!'fC!~fZR1.~.;J_t~m~]..:-~n.g:~P~(e.:,. ,~·~W~f?Q15:)'~~i~
albuterol suttate·2_5 mg/3 ml (0.083 °/11) solution for nebulization: give 1 mimliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskauskas
  Time       Type              1        2·        3        4        5        6         7        8        9        10       11       12        13       14         15     16        17       18      '19      20       21        22       23        24      25        26       27       28       29        30       31

iPRN F!mes i I i i i l I I i i I I I i~~• I                                                                                                                                                                                                                                                                      t:',~""-1
                                                                                                                                                                                                                                                                                                                 c_:J



Patient Status Changes
Patient Status                                Description                                                 To/From                                                Date




Pain A$sessment
Data                            Score         Seale                     Location                       Reason                         Initials       lnt~rventlons                                                          Result                            Follow Up Date time                     Initials

Ord,er:



PRN J=lfectiveness
Admln Date                                                                                                                           Follow LIE_ Oat&                             Re$Ult                                                                        Reason                           lnltials

Or-der:




.Ai.t,iRN~1 c/'-r~                                                                                                                                          Page 1 of2                                                                                                                                  01/05/2018 18:17




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                                       Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 332 of 486 PageID: 1011

Monmouth Adult (MCCI)                                                                                                September 2015                                           Order Record History
___,J:_~ei'd N·arr)e'.• ,                                                        •• 1 .,.   J~_$dJ~SCOrd#. :•·   . - . A§i~io,ii_b_ele ·:   ·~o~e ,OfBJl!_fi_. I.:·Seic:: .
FREEMAN, DONELL                                                                                                        06/30/2015               1212511975       I M
 Alleraies: No "Known·Allergies


 Diaqnosls: U_nspecified Major Dep'ression·, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait

 Notes
 OrderNo             Initials     Not;i_Cate9ory   Note Date-         Item                            Status            Noto

 3157975             CZ           General          09/14/2015 09:08 albutero! sulfate 2.5             Refused           dont 11eed
                                                                    mg/3 ml (0.083 %)
                                                                      solution for
                                                                    nebulizaticm
 3210101             CS           General          09/1912010 08:00 Zoloft (Sertraline)               Missed            no show
                                                                      100 mg tablet

 Initials Legend
 Initials       User
 cs             Smalls. Cnerie, LPN
 CZ             Ziemba, Cheryl, LPN
 DL             Lazaro, Danielle, LPN.
 KR             Reed. Kendra
 u              Jefferson,_·Lanee, LPN
 RJ             Jenkins, Roxanna


 Order Administration Sites
 Abbreviation           Site




   't,, ·CORRECT OARE                                                                                               Page2of2                                                             01/0512018 18:17
..Ase Lu 11.0 N·.s




                                                                                                                                                                                 MCCI MED RECORDS 326
                            ----; ,-·,··--.-:-·     ,-----.,..                                                                  -------···..         .----   -----·
                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 333 of 486 PageID: 1012

Monmouth Adult (MCCl)                                                                                                                       October 2015                                                                                        Order Record History
· ,·P_ali~j)t Najne:,,~                                            ···-~'.,~::                         -~-·Med:Re"CO~,i #   .==:=]~ ·.Adrpi.s:816.~ :o.ate,   · ·.-:_) .... Dati:ot~- ·-1::      sex_: . ;•!. ·..--=
 FREEMAN,.DONELL                                                  26184                                                                     06/30/2015             I    12/25/1975           I     M
  A!!eroies:         No Known.All,ergies

 DiaQ.nosts; UnSpecified MaJor Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
\ { 5 ~32~j~[~-~~Di~~#ijfu.t~;1_Qf~1~:~~'~:~~i&.04I::~~~-1$.!~l"f?:d:_/_~~~~-~;;·:f:fil®TW~~t~-,;)~,~~~:1-':$t~~-?a\e::,_, Rftt~9~_s_:·.~;P~,J ::Eti_d;tia_re_:i:-:: --1fJ!1~_o_;i_"P]!!~,
 Zolofl (Sertraline) 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - OnJering Provider. Janice ButUer
  Time         Type                  2       3       4       5        6       7       8         9       10     11      12        13    14      15      16         17    18     19       20         21          22       23   24   25      26     27      28       29       30     Si
jos:ao       jlnit           DL   I RJ   I LJ I cz I RJ           j   p.1   I ol   1•,X€~ill:~&'4eJ~fl~S??}illt@~:Tutt~]t'ffif~lillJ::~4MThJfil..~ii1J[i¼'cl~~~:ii.1J~~1£t~&.fi~:JYt~~~ili11~".f~r&JJ~f&~J;;JL~£]J~)'.1!~:j~1f!£:TuH}~'K~-0i!~~q~~SJ
;p~a:~~:{t;(f::pW~$,$i;_il$}::~:p9rop1~2~~~:;t~ttP~fi.;}?};~f};\f;~~.lfilW:-j~ijiinl~tt;i~!f:::::i::qF9$tf,9'1.!5;\~'-;i!~-·~¢.::;t;P.JOf!~R~$:::.w?1~]/:Sla_tt:'t:lateE :1:9>'.~9~-5_,~s~~:,~,~d'P;;n~/~;:-,p_1@2o.~_~rt?,I;W
 Zoloft (Sertraline) 100mg tablet give 2 tablet PO Q AM for 90 days. - Ordering Provider: Janice Buttler
  Time         Type          1       2       3:      4       5        6       7       8         9       10     11      12        13    14      1-5     i6         17    18     19      20          21          n          a     M   •    •   n a       ~                   m      ~
1os:oo       j1nit          ~llig!I~~~)~1~~~~~@1~1                                   RJ    I   I('(   I cs I cs I      OL    I   At   I cs I   CZ     Ia I    t   cs   I cs I R.l I RJ I            AL          ro     lfi.:i l"tJjt:i lRJ IR'.l lAL IRJ                 lps 111c
       PRN
<@jµ_~1fj/;l::~i{~@~~:~lil:l:t:9!:#~t~if{,ytjri:@9'$l:~1.W.??/.tQ~:p:~:r.~J@:~;;i,:;::q:;;:s,YV!;~:;)iW].i~~t;A't!l'!'!iJiIW~@.i),;~;':';9,Wt~f19l?::~;_p?,j~'.'.j';!S*§ffiit.'Q~~;:·:/1,7~9J~-qw,iJ.~.$•q;;;~_ts:tt·o:ate;(,;-07.(9:1/~i~A'4:;P:Cr:l:.:fi"itd_pate:=. ::.::1?f@{?.ns..).3A~-
 a:1but8r61 sulfate 2.5 mg/3 mL (0.083 %} solution for nebulization: 9ive 1 milliliter INH Every 3 hours PRN for 180 days. ~ Ordering Provider: Theresa Raskauskas
  Time         Type          1       2       3       4       5        6       7       8        9        10     11      12        13    14      15      16         17    18     19      20          21          22       23   24   25      26     27      28      29        so     31

~


 Patient Status Changes
 Patient Status                           Description                                           ToJFrom                                        Oat&




 Pain As?essment
 Da1e                        Score        Scale-                 Location                      Reason                   Initials      Interventions                                                      Result                    Follow Up Datetline                 Initials

 Ord-er:




 PRN Effectiveness
 AdTPin Date                                                                                                            Follow Up Dal8                        Result                                                                   Reason                     Initials-

 Order:




   '" CORRECT CA!ne
 ,...,.,,_& O 1. ,; T , 0
                ~ S
                                                                                                                                        Page i of2                                                                                                                       Oi/0512018 18:17




                                                                                                                                                                                                                                                      MCCI MED RECORDS 327
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                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 334 of 486 PageID: 1013

Monmouth Adult(MCCI)                                                                                                         October 2015                                                   Order Record History
::i,J?.~tJ~h(Name:·1.: •                          .... ,J: ,.'.~~eatiel)t 16·',;,_:        <,:~~ R.~!X'.rd ~     · ,\::: ,!-,dmissl()i'l~:-.;.::::·:-l_.:.::iPate:cf~irlb .   :j .:s.ex:·
 FREEMAN, DONELL                                          26184                                                             06/30/2015              I   12/25/1975             I M
  Al!eraie$:      No Known Allergies

 piaqnosls: Unspecified: Major Depression, Recurrent Episode, Alcohcil Abuse, Asthma Not Otherwise Specified, Abnom1ality of Gait


 Notes
 OrderNo            Jnitlals   Note Categqry   (llote Data                 Item                        Status                Note

 3578194            cs         General         10/1712015 08:00 Zolo1t (Sertraline)                    Missed                in speaker jam
                                                                           100 mg tablet
 3578194           LJ          General         10/24/2015 08:00 Zoloft (Sertraline)                    Missed                no show
                                                                100 mg tablet



 Initials      Use,
 AL            Labarbera, Ashley, LPN
 cs            Smalls, Cherie, LPN
 CZ            Zlemb~, Cheryl, LPN
 DL            Lazaro, Danielle. LPN
 KY            Yeager, K1mberly1 LPN
 w             Jefferson, t.,anee, LPN
 PS            Stager, Patricia, LPN
 RC            Cardin, Robert, LPN
 RJ            Jenkins, Roxanna


 Order Aclministration Site,;;
 A_bb~vfa1i~n         Stte




   J..· CORRECT CARE                                                                                                     Page2of2                                                                      01/05/20181B:17
 ..£so~u1ro·~$




                                                                                                                                                                                               MCCI MED RECORDS 328
                                                                                                                ~-------·                  ·--··
                                                 Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 335 of 486 PageID: 1014

Monrnouth Atjult (MCCI)                                                                                                                                            November 2015                                                                                                   Order Record History
 ·.:...~~N.~me: -,_,_.                                         .r,{-< ...:.,:1 ... ;·_-;,.pa,tient~D:·             : ,,:·:.s.~:R~.l"Q ~       ·>·- :- ·:~· } ::. Admisslo.n l;)aje:..•,=,: :' - ··oate ~f B)ftfr _::\[~~ex:,~-
  FREEMAN, DONELL                                                             26184                                                                                06/30/2015                       12/25/1975                 M
   Allers:t!es:      NO Known.AllergfeS

  Diagnosis; Unsp,f:!cified Major·DepreS:sion, Recurr1;::nt Episode, Alcohol AbLlse 1 Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
  Medication Orders
I'. :P,rj,iiitr:,W);}~I~l~?fI;;p~~:~tu!l:·r:~t'@;rjP,Iel~~~~-1/.0§/?9:t.~',;:oz~~~:'.)~~G'.~~~:-x1;wn1,;m3;2f)i-~'t\Ad@~t!i!~;;;_,.:·,'._'.·,;~V.991¢9:Wt~~~pq; Yl'~_$.tipl'lilt.p.ate;~;;~_gr97n.:91_S:J~_;1.~,1 :.~_fai:t:_Date;;, :;10!9§1.?9.!~-'.-,~~;99J :'.E~9_:0at0,'.-' .:-RYt@2_~1. ~;,:97::ss
  Zoloft{Sertraline) 1DD mg tablet give 2tabletPO QAM for 90 days. - Ordering Provider. Janice Buttler
                 Type                       2        3        4         5         6         7            8    9        10       11       12         13        14       15         16       17       16       19       20       21        22       23       24        25       26       27       28       29         30      31
             jtnit                 {S       CS                AL        RJ        RJ        LJ           LJ   RJ       RJ       AL       RJ         RJ        KY                           CS       AL       RJ       RJ       ~         LJ       RJ       R:i       KR       RJ       RJ       KV       CS         CS   '.{;'f:8;1/
       PRN
::r~ef:~;~~1.~~~I~f;P.@1[;:sta~G<j!'.(ll))it~~Nt~.~.ro~a~~!~f;Tif::~~Xd~ist~~W,;';:._~:9_W.~~f_:_J?:$_;ps_;.}'l,·i$1,i1:lri:IJt½l~;,/9719,11,?91,9,:JJ~4.f.$tai:t·•.1).alef',':iP?!.c;iJ17,9J!:i'./J.4;.99':/L~~~ti~te:;/~:Y'~-~J.~.-::j_~~
  albuterol sulfate 2.5 mg/3 ml (0.0~3 %} _solution for_nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskauskas
   llme        Type                1        2
                                                 I   '    i
                                                              4

                                                                    I
                                                                        5         6         7
                                                                                                         •I   9        10       11       12         13       14        15         16       17       16       19       20       21        22       2'       24        25       26       27       28       2S         30      31
                                                                                                                                                                                                                                                                                                                         p~Yit.;:J
 !PRN        I               I          I                                     I         I         I                I        I        I          I        I         I          I        I        I        I        I        I         I        i        I         i        I        I        i        I          I

  Patient Status Changes
  Patient status                                 Description                                                   To/From                                                 Oate



  Pain Assessment
  Oa1e                             sc_ore        see.le                      Location                         Reason                      Initials           Interventions                                                          Result                            Follow Up Datetime                      Initials

  Order:




  PRN Effectiveness
  AdminDate                                                                                                                              FoUow U_p Date                                Res.ult                                                                        Reason                             Initials

  Order:




  Notes
  OrderNo               Initials        Note- C:i,tegory          Note Da1e                                                          Status                        Note
                                                                                                 """


    t. CORRECT CAiiE                                                                                                                                          Page1of2                                                                                                                                          Oi/OS/20i8 iS:17
  """'1>.a o. t u
             1 -1 o ~ s




                                                                                                                                                                                                                                                                                            MCCI MED RECORDS 329
                                                                                                               ~--------------::-cc:c--:c-·=:-::--:-··---··--- ·--····--. ··---·--··--··                                                                                                                      '·,1-
                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 336 of 486 PageID: 1015

Monmouth Adult (MCCI}                                                                                                November 2015                                                               Order Record History
 ,Pa.fi~nt Name;'-,                          .:·,..f~~}D.                  :., ..J.'1.~ ~ecord 1f: .. : ....:·,;:.J:, .-)~.~iss!O.n Date.,.-·... j _-.. j;)i:iie Of Birth. - .L_.Sex:
FREEMAN, DONELL                            26184                                                                           06/30/2015            / 12125/1975 / M
 Allerales: No Known Allergies

 Dlaqnos!s; Unspecified- Major Depression,. Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specffied, Abnonnality of Gait


 Initials Legend
Initials __User
AL          Labarb_era,_Ashley, LPN
cs          srnaus, Gheri~ LPN
KR          Reed, Kendra
KY          Yeage., Kimberly, LPN
U           Jefferson, ~anee, LPN
RJ          Jenkins, Roxanna


Order Administration $!!es
Abbreviation          Site




.AJ~_Rf~q:r1.~Ar~                                                                                                 Page 2 of 2                                                                               01/0S/201818:17




                                                                                                                                                                                                    MCCI MED RECORDS 330
                                                  .. -....•-... '• -~::.                              ··----~-----· ------~-------·-- .. -----· -------                                 -----·                                -'-~:.
                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 337 of 486 PageID: 1016

Monmouth Adult (MCCI)                                                                                                                                                    December 2015                                                                                               Order Record History
i/Pi!ient}I~                                                                                                           · /: ~.MOO Rec'jrd # ·_ · -.:.{[ .. -Ad~iSSiof! Date                         -/Date-_OT_Btrtn·.::_ ·/_ ,sex;-_,,
  FREEMAN, CONELL                                                                                                                                                        06/30/2015                   12/25/1975               I       M
  AUerclle.s: No Known Allergies

  Dla<mosis:. ·\_JnsPec:ified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
  Medication Orders
 ,.QiYi!!i':~o:'.;_~~~AA2-9©Tulr;;@W-~~-~J;'.~(?TT}'P.~¢~~r,~:21l~Q~_=iii:1.~?9S?~.{l;;;;'.,~i);,Nr~fL;!:!:)l.-:~~t~iiw).~!'11ie!(:iVAo/~.§129,1§:>1.S,_:_qg+~t--$~~'t@e:: l.'1/91:~9~.5 •' :1.~.i?.9 j ;§tart":I;:li:ite_'{ ..gtp_1a91_S) -~,;-~J ;_1;~ .'Qate';-~- .·1.?f.1.5/2015 :,.~t~:§9·
 ·Mabie (M~loxicam) 7.5 mg tablet give 1 tablet PO Q HS for 15 days, - Ordering Provider: Kabeeruddin Hashmi
   Time    Type                 1       2        3         4        5           6                7        8        9         10        11        12       13        14       15         16     17      15        19       20           21       22     23   24       25        26     27     28      29       30          31
  19:00S j!nlt             I    n   I   AL   I   LPC   I   cs   I   vc    I    LJ         I     AL    I   Al   I   AL    I   CZ    I   vc    I   cs   I   CZ   I    vc   I   AL     )lli¥H~li~~~llit"~¥Jd.Tifk¥.'e'.lV~Y~~i1'!}1~lfi~·tdrJ;;"~~:'.:;;JT;;~:~a~1~~<*'si;rlif~?~-tle1£~n.r~E£~1:~~l.;SP£1':JV(G1~~W)::±-:iJ
 ;p~,~~-1~~-~?i~J'.!~Qrif.~!':'.S¼~~{@.-ffi~tij-,~:~~-01.~~~~~D\'i.'.i~~~~\rS'.]~i~~strA4fu~t:l""i"J.:?fg~Ci:.~.~TQ;?:PQDJg:fffiii\'(fP.atei; 'JOl[)!(2P.t~.;:_:t:9;;~~J·,;_s1a.ri:na~~ .;J~□~/?.91~-::e~.t!:YDJ ;Etii:fJ;)aie':_,;· ·. _Q1J~?9~.§:-'.o~~~
  Zolofl (Sertraline) 100 mg tablet give 2 tablet Pb Q AM for 90 days. - Ordering Provider: Janice Buttler
   lime       Type                      2        s         4        5           6                7        8        9         10        11        12       13        14       15         16     17      18        19       20           21       22     23   24       25        26     27     28     28        30          31
 f08:00      ~nit           f   KR·/ AL      j   KIi   j   AL   j•uf           LJ         /Al/ AL              j cz f        i;c   ! AL j        cs f     Lo   f    KR/ At          f   KY    >I:      ](Y   I   OL   I   l]       i   KY       ~     f ~/CT     /   n     f   (5    fa!      D      'L        i,:y   f   !IL


       PRN
;~P:~~~ff,'.~~~~-1'.).il.iJPr1~~tu~:m~~P.f#~:P:s.J.~@:-r:t?~';3i~~:.:;~,::·-'.l;:1,~=:t:w:•r~;i~;.:_:ik.~:M6i1!:1~~~!1\~:'::·~ ~:Q€iMBf.?~1~,:-1~?9)':fi$~bri.1n:p_ate; . ·:).2!.f.~f2.0J~:;_n_~ti!3_.t,:~t~·rt:tiate;;;::·J.m~r~.9.~.§;·,~-4~9-~-:):.J:.rur.:g~t_e.::·~- _;;0.~~?512q1:t?·' :1_3;:5_9
  a·lbUter0l Sulfate·2.5 mg/3 ml.(0.083 %) solution for nebulization: give 1 mllliliter lNH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
   nme        Type              1       2        s         4        s           a                7        a        9         10        11        12       13        14       15         16    17       ,a        19       20           21       22     23   24       25        2.s    21     2a     29        so          3i
 ~N                        1~~m[•tlf¥~~-'@tfiIT~J!W~~q!nits!ID}B~1~t~>1Jrr@11AjjJilil{~'.%1l~~lJJfH!f~lliJ)~[f!ts;n;~s[~]f£~WJ)!!il±~J]Edi&.~Jt~Af;J:_q~~t,i~<J::~~tq{~if:~~~~t~'.t'~~m§::t%~~n:§b,i~]~~f:SiJ~l-~l-~l-~l-~I
';}?.~exJ'!!?}}lt?J~-!-?,<;:,J fQ~t,$.!a_tiiS:-'.!(':Cot:QP.J~l~M'mS.~QJ{5iirt~=~-t!il,~;;_\~;U;::-\f•',{J/~-;,;:.\·-v~-Mm.if!~f~#~j~:-\~!'l~~f~0-1-?~: ~~-:AA::,:'.1~·,_@brn,1t.P:~w:::-_.9pg,y~o~_,?. ·,1 :1.l~;'q :_:$tart-p_are.::. ): ?!J01_J,~~f.:,~. 4::po_,l '::E;nd:p:are_:·:0 '                  :1212_w,i01§;~"l3_;q
  albuterol sulfate 2.5 mg/3 ml (0.-083 %) solution for nebulization: give 1 mil!il!ter \NH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskauskas
   Time       Type              t       2        S         4        5           6                7        8        9         10        i'l       12       13        14       15         16    17       18        19       20           21       22     23   24       25        26     27     2B     29        30          31

 ~                                                     J                                                                                                                                                                                                                                   ]h+s;J-liiit],, \c,J]ct\:,,;4


  Patlent Status Changes
  Patient Status                             Description                                                            ioJFrom                                                  Date



  Pain Assessment
  Oat,                          Score         Scale                      Location                                  Reason                         lnffials         lrlterventians                                                           Re-suit                      Follow U.e_ Datetime             Initials

  Order,




    i:. COPIRECT
  ..-.i;ot.vr10µ:s;
                     CARE                                                                                                                                            Page1of2                                                                                                                               01/05/20181B:17




                                                                                                                                                                                                                                                                                           MCCI MED RECORDS 331
                                                                              >":'::.,!-----•:-:-:'                                                       ·--            ----~----
                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 338 of 486 PageID: 1017

Monmouth Adult (MCCI)                                                                                                         December 2015                                        Order Record History
 ..P§a.t!en!_Na,rrle::,, :: .=.,· '· .-.                           \....:. . pawntl~l ';:~ReCOrd# :.'            •1 .: ••   ,;Admi~sioi1 ~ f . :;pateoi~- -:~:. -,
FREEMAN, DONELL                                                    26184                                                       0613012015      I     1212511975   I   M
 AJ!erqle"S:°N·o· Known Allergies


 Diaonosls:. Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not OtherNise Specified, Abnormality of Gait


PRN .Effectiveness
Admin Oat&                                                                                               Follow U_e_ Date                   R&sult                        Reason            Initials

Order:




Notes
OrderNo                 Jnltials           Note Category   Note Date            ltom                  Status                    Note
3578194                 LJ                 Genera!         12/0512015   os:oo   Zoloft (Sertraline)   Missed                   no show
                                                                                100· mg tablet

 Initials Legend
 Initials         User.
Al                L:1.barbera, Ashley, "LPN
 cs               Smalls, Cherie, LPN
 cz               Ziemba, Cheryl, LPN
 DL               Lazaro, Danie:lle. LPN
 KR               Reed, Kendra
 KY               Yeager, Kimberly, LPN
 LD               Divita, Lawrence, LPN
 LJ               Jeffersq.n, Lanee, LPN
 LPC              Carvalho, Luis, LPN
 RC               Cardl_n, Rpbe.rt, LPN
TR                Rohrman, Timothy, LPN
vc                Cotroneo, Vei'onk:c:i, LPN


Prder Administration Sites
 Abbreviation              Slt.e




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                                                                                                                                                                                      MCCI MED RECORDS 332
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                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 339 of 486 PageID: 1018

Monmouth Adult (MCCI)                                                                                                                                    January 2016                                                                                               Order Record History
 ·,Pa\:letit Naftl.~'..,.·:                                                 ~em:10.:.,,,....                ·.. -.-_.Med Re'eo(d#                -·,Admissiori•_nate :               .pate-¢.Birth        .,I .,c.Sex:. ·
 FREEMAN, OONELL                                                            26184                                                                       06/30/2015                    12125/1975             I   M
   Allemies:          No-~nown Allergies

  biacmosis: Unspecified Major Depression, Recurrent Epi1;;ode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnonnality of Gait


Discontinued
 Medication Orders
]PM;J.W:.:N'O:l':~W.~.Wf?4 ~P-~~t~i$tajti~':~:\t;o!)ij}l~d:P1~61?9~M.Qt.fil(/;p_\C_r,.:::;:'.,~wr.m.~::c:-:,J,o~-~m16fs~~ffe.Cr.,·7.:,~P~~g-~~F~:9,9":~::]?;$q~_'i:i:l~:P.t!W'.·.~P/07R,?~-?,:::1:6;:tS I· ,::,Stai:f,E'.$te;;:-: 1~?.O.V? :p_a_;(?!)-:j ' 'Cl'Jd :[Jate~_ ·.·, .·0_119~~0-~.6::0:1:59
 ZOloft {Sertra!lne) 100 mg tableit: ·give 2 tablet PO Q AM for 90 days. - Ordering Provider. Janice Buttler
  lime Type                       1        2        3        4        5           6      7       8     9       10       '!1      12       13       14       15       16       17       18       Ht      20        21        22     23       24       25        26      27       28       29        30      31
ICIB:00 It nil                r   KY   I   KR   I   KR   I   Re   I   AL    h~tfMl~1Hif!UP£NI~i~~r1as~11Ht~a@lfigfr.~ax:m:oilii~ilt~"iill;J;lll~~1B~~urs~~;1~~~illl~~'1.~V:S1£:tfl.!~Bti.:~:t~~twi1:c:4J.1:tt;r:~:1~~~m1t.}.i:s~v:it~'~,~~~~~-d~~~tWrl~~::·1
~·Q_r~t~fl~~r~~!3.Q~:'!!i/Y~ft'li~t;'§~~~;JpQ_itjPl~f.~!~i9_$~gt'.f!M07~9.~·~:1:t~'¥8.'~:,e~:v.r.mAA;:;,;:1iJ:f:i..~.SfMifili:t~-~~tea;;:;,~.:{Qo/~f?~,1.:~'~'(].Sll;i~;r:~?'.J'_::S4b'.IT)_it;J:}~~:s:~.' .j~~_g-1_~-~1_5~~12.;1~-;$fur:f:b.~·::-:;:}?-1.~0~0~6::'.~;RRj }.~.i:\<1-..D:*~;   ~-"•~~~o~~:-:P7.;§9.
 Zoloft.(Sertraline) ·100 mg tablet glve 2 tablet PO Q AM for 90 days. med renewal. - Ordering Provider: Janice Buttler
   Time         Type              1        2        -3       4        5           6      7       8     9       10       11       12       13       14       15       16       17       18       19      20        21        22     23       24       25        26      27       28       29        30      31
joa:oo jtnrt                  J£DiµL..~~~1~1~1~m1                                 AL   I oc. I cz I ~ I cs I cz I KY I w t os I KY I ~ KR I l(R I . RC I RC l ~ KR I                                              Co,       cz   1•csl      cs    I AL     j   KY      KR,•DGIDL                   KR    I l(R

      PRN
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                                                                                                                                                                                                                                                                                                                     1

 albuterol sulfate 2.5 mg/3 ml (0,'083 %) so!uUon for nebulization: give 1 milliliter !NH Every 3 hours PRN for i 80 days. ~ Ordering Provider. Kabeeruddin Hashmi
   Time         Type              1        2        3        4        5           6      7       8     9       10       11       12       13       14       15       16       17      18        19      20        21        22     23       24       25        26      27       28       29        30      31

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 Patient Status Changes
 Patient status                                 Description                                             'fo/F~m                                            Date

 Active                                         Admitted to Facil!ty                                                                                         01/0512016 08:19

 Pain Assessment
 Date                             Score         Scale                      Locatio11                 Reason                       initials       rnterventions                                                          Result                         Follow Up Datetime                     ln!tlats

 Order.




 PRN Effectiveness
 Admin.Date                                                                                                                        Follow Up Date                           Res,lt                                                                        Reason                          Jnltials


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 _}, CORR~Cl ¢ARE                                                                                                                                                                                                                                                                               01/05/2018 18:17
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                                     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 340 of 486 PageID: 1019

Monmouth Adult (MCCI)                                                                                                              January 2016                                                                      Order Record History
 ·::F~ietif.~:·.                                            ::::.--.P.atien.t IDC:: ...       :.,.Med"B.ec6td1F•< .. : !J   :.AdmisSio'.n_:1?,~e··:;:_.,.,.,:-r::::::0ate 6f 8.\'i1_h:.::.:1_.,sex::.
 FREEMAN, □ONELL                                                                                                                  0513012015                I    12/25/1975              I    M
 Auen~'ies:         t,J.o Kfiown AUergies

 D!aqno$is: lJnspecified Ma:ji:,r Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


 Notes
 OrderNo              lnWals    Note category   Note Data                    hem                         Status                    Note

 3960657              KR        General         01/16/2016 08:00 Zoloft (Sertraline)                      Missed                   nsx3
                                                                 100 mg tablet
 3960657              RC        General         01/18/2016 08:00 Zolofl (Sertraline)                      Missed                   refused to come: to cart
                                                                 100 mg tablet
 3960657              KR        General         01120/2016 08:00 Zoloft (Sertraline}                      Missed                   nsx3
                                                                              100 mg tablet
 3960657              cs        General         01/23/2016 08:00 Zoloft(Sertraline)                       Missed                   no show
                                                                 100 mg tablet
 396®57               DG        General         01/28/2016 08:00 Zoloft (Sertraline)                      Missed                   did   not show
                                                                              100 mg tablet

 Initials Legend
 Initials         User
 AL               Laqarbera, Ashley, LPN
 cs               Smalls, Cherie. LPN
 CZ               Zien,ba, Cheryl, LPN
 DG               Granat, Darren, LPN
 DL               Lazaro. D~nieUe, LPN
 KR               Reed, Kendra
 KY               Yeager~ Kimberly, LPN
 RC               Cardin, Robert, LPN


 Qrder Adminisjration <lites
 Abbreviation            Site




   ~·, C·OflBECT CARE                                                                                                         Page2 of2                                                                                         01/05(201818:17
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                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 341 of 486 PageID: 1020

Monmouth Adult (MCCI)                                                                                                                                   February 2016                                                                                             Order Record History
 . {e_i~itil:"N.atnt,·; ::·                                             · ·<i1'at.ieiit lD' .            · -:..fo.i!eti:Re:cord·_#_>>: .:,... { '.~:.Admis.siOi:1,.l?aie:,:.,_:_:: ,{ ·.._,_'!)~e of Blrtti ··;_ J Sex:::;-..
 FREEMAN, DONELL                                                       26184                                                                           0613012D15                   I 1212511975 I M
  Allerqies_: No Known Allergies

  DiaanosJs: Unspecified·'Major Depression; Recurrent Episode, Alcohol Abuse, Asthma Not otherwise Specified, Abnormality of Gait


Discontinued
  Medication Orders
1-t9.~~.r).@}:!~_q~~'!Hll•:i!.?'ri:f.!iJ;~~~i:~-!P.oiilJ:il.ef1~-:QN9~qJ~~:o.r::s~.';,:;:;,,)~:f~YV¥~1:>.t.l ;,4,.s(A<!rn\DI$t~¢P~;r:_~:~-4~41,?.0jB_:;o~:oo,:::ij.::~brrii.t:9at_e::.: ~~~~_9J9·_:.1§_~~--I· ·Sfa:rt:)~:}(fiW~()S_:oo:j :iE.itd-Oate:::: :!04195/29,s::i:mss~
  Zoloft (Sertral!ne) 100 mg tablet give 2 tablet PO Q AM for 90 days. med renewal. - Order[ng Provider: Janice Buttler
   Time      Type             1       2        3        4        5          6      7       8         9       10       11      12         13        14      15         16        17       18       19        20        21         22       23   24       25   26        27       28        29        SD        31
  08:00     Fnit          j   OP   j op,    l•·KYI     AL    j   AL     j   KY   I cs\     AL   I   DR   I   OP   I   AL   I Ac.     j   DR   j    LJ)      AL    I   i.L   j   KY   j   ~LI      AL     l•KYI cs            j   AL   l•KYI    DP   j   AL_[E.__j•L:i_J AL            I   AL     ]tJ'ili'~~'.fi~\'.if
      PRN
-~·:9:@.~t~:q;~:~~-sj.~,~:]r~:.$½.aµ:i!~v:~cjtt(Pl:!:i@rl''.Qti~~~~i,~:$9--')"'.~',~+::;;~~x~rm~1y;,~q ·;~¼~-,~~\ii)P~t¢c1i -:;;·:. p_~l.1,13~0,1'~;!~~-:?,9;: _.:] _;)$i:i.6':i'.tlfpa~~-/1:p,?~2~.V~:-•?;5¥.:'6..'"l~}~tai:f·:'D¢~_:, ,,--~~~(?915::,~4:o.o;J ''.!;n'd:Pate~ ·: :,.o~~-~!r! !5 '·1 ~]59
 albuterol sulfate 2.5 mg/3 ml (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider: Kabeeruddin Hashmi
   Time      Type
            rmes
                              1        2       3        4        5
                                                                            •      7       8         9       10       11      12         1s        14      1s         1s        n        1s       1s        20        21         22       2s   24       2s   26        21      zs         2s        so
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  PRN                     1        j1!;;91          I I I I I I I I I I                                                                       I         I I I                        I        I         I         I         I 2!£5 r;::2,
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  Patient Status Changes
  Patie-nt S'tatllS                         Descriptfon                                              To/from                                              Date
 Active                                     Admitted to Facility                                                                                             02118/2016 13:19

  Pain Assessment
  Date                        Scofe         Scale                     Location                      Reason                      lnlt!als          Interventions                                                            Result                        FoHow Up Datetlme                     lnltfals

  Order:



  PRN Effectiveness
 Admin Dat,e                                                                                                                    Follow Up Date                               Result                                                                      Reason                           Initials

  _Order:




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                                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 342 of 486 PageID: 1021

Monmouth Adult {MCCI)                                                                                                         February 2016                                           Order Record History
~entJJaii'ie~;,·~•~·      -~~                                            ;~£:i:P~ia'rrl-1D ---· ·.   ...-Me~~~-@-~::~•·   -~_t!riliSSi01:ttl~e.·" :·   :.Date_d~Eiirth<, 1.~$¢x:':"
FREEMAN, DONELL                                                      26184                                                    0613012015               12/2511975        [   M
 AllerClle,i;:     No Known Allefgies

 Dla<inosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Nat Otherwise Specified, Abnormality of Gait

Notes
OrderNo             lnltial$            Note Categoty        Note Date                   ltem                   Status         Note
3960657             KY                  General              02/0312016 08:00 Zoloft (Sertraline)               Refused        dont want
                                                                              100.mg tablet
3960657             KY                  General              0212012016 08:00 Zoloft (Sertraline)               Missed         no show
                                                                              100 mg tablet
3960657             KY                  General              02/23/2016 08:00 Zoloft (Sertraline)               M!ssed         in class
                                                                              1OD mg tablet
3960657             LJ                  General              02127/2016 08:00 Zoloft (Sertrallne)               Missed         no show
                                                                              100 mg tablet

 Initials Legend
Initials         User
AL               Labarbera, Ashley, LPN
cs               Smalls, Cherie, LPN
DP               Perrin, Debra, LPN
DR               Reyes. Doris, LPN
 KY              Yeager, Kunberly, LPN
LJ               Jefferson, Lanee,_ LPN


Qrder~dministration Sites
Abbrevtatlon            Site




  ,;. COilRECT CARE                                                                                                       Page 2 of2                                                            01/0S/2018 18:17
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                                                     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 343 of 486 PageID: 1022

Monmouth Adult (MCCI)                                                                                                                                                      March 2016                                                                                             Order Record History
 ..-:P?,IEirit¾-!8rJJt$;·.,-.. :-.... ·                                      ···:·,·.,P:~ntllr.,···                              ·:•.,.-Merl-J:l~~ro#                -,Adaj!_s:~~~Q.a~'-: .        ';:Date:¢.. B!rtl}_         _s·ex:·.
  FREEMAN, DONELL                                                             26184                                                                                      06/30/2015                 12/25/1975                  M
   AllerQ!es: · No Know-n-A'"'lle,-rg~ies

  DiaanosJs; Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not OtheJWise Specified, Abnormality of Gait


Discontinued
  Medication Orders
                                                               .:;;~-:~~~.f:l;i:;i,;:i)!.~.µfut~!J.flil!')Jfil_(?'[B~~;!•: ·:-~~;l!.?~~~!0_0/,l·:,.S~l>TT!K~!~~~~p~J _:{ita_r:t-Datl?;:'• .,:O:I_IR~l2p1_f;t:pB_:p9:l ':'!~i¼ 'Pill~X(i~~R?,!f~1~'i(l7~5_9,
,i'9.f!:IE!f.J)t~i,;;~~~!-;~j ~.:Q.t,di!W§Jii.~?96ffiPf¢(e(l:!li:4J.O_ey(20{:~ilp1;~5,f/,                                                                                                                                                                                                                                                 1




  Zoloft {Sertraline) 100 mg tablet give 2 tablet PO Q AM for 90 days. med reiiewal. - Ordering Provider: Janice Buttler
   Time          TYpe                1         2        3       4      s           6             7           a            e             10    11   12       13      14      1s        16      17     1a       19         20      21          22        23       24     2s    26      27       2a           29         30-        31
:1·0-s:oo·     j1n1t             I~ oFt j      rev   I AL I cz I n-: I cs                  j    AL      I LO I KY I LO I AL I                      LJ   I LJ I AL I op              j i<v   I At I cz I KY I or- I At                     j • op   j   oR   t   AL   I~ cr I~ LJ I   LJ   j   11.1.   j    oP      I 1..-y   J   A_l:_J
        PR!l
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 albutero!-sulfate 2.e; mg/3 rnL (0.083 %) solution for nebulization: give t milliliter INH Every 3 hours PRN for 180 days_ - Ordering Provider: Kabeeruddin Hashmi
   Time
  PRN
                Type
                  irl;es
                                     1         2        3       4     5            s             7
                                                                                               18:2],
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  Tylenol Extra Strength (Ace1aminophen) 500 mg 1ablet give 2 rablet PO Q HS PRN for 7 days. - Ordering Providec Daniel Unachukwu
   Time          Type                1         2        3       4     5            6             7           6            9             10    11   12       13      14     15         16      17     18       19         20      21         22         23       24    25    26       27       28           2S         30         31
  PRN         -flmes              ro@}lq:fif~~~~-~ill)~f.1ymt~-41r~lfu~j~~lill!B:'i~~lBJl?~;~~}~~jt~}Z.~~1ip(tt.K~iv~J;l~-~t~if-i1l~::~lfu~"'1~~Y.t~t·q:l"'2.~~q~~~l1                                                                                                I I I I ] I 1~~%:~q              2•1 ;




  Patient Status Changes
  Patrent.Status-                                    Oe-:scripti_on                                                        TotFrom                                         Oat,

 Active                                              Admitte.d-to Facility                                                                                                   03/07/2016 13:20

  Pain Assessment
  Date                                $-core         scale-                Location                                     R.eason                     lnltlal:s-      Interventions                                                     Result                            Follow Up Date~ime                       Initials

  Otd&r:




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                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 344 of 486 PageID: 1023

Monmouth Adult (MCCI)                                                                                                                March 2016                                                      Order Record History
. _,:_PatJ~~r,frj~_!L:~-· ., ,:                        '-:·:1.; ::-~! ,~atientm:·" .           ··:Med:~e-~d:#.   ::~>,;->} --~:.Adrrliss-ion.Date ..        :.=tJ~~-~-~L~---"'- I --~ex.:
 FREEMAN, DONELL                                           26184                                                                  06/30/2015                    12/25/1975      / M
 AtierQies: NO Kn·own Allergies


  Dlaonosis: UnSpecifi"ed-Major pepression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


 PRN Effectiveness
  P,.dmln Date                                                                                               Follow Up Date                            Result                               Reason           Initials

 Order:




  Notes
  OrderNo            Initials     Note-.Category   Note Date                Item                         Status                    Note-
  3938191            VC           General          03/0712016 18:21 albuterol sulfa1e 2.5                Missed                    prn
                                                                    m9/3 ml (0.083 %)
                                                                    solution for
                                                                     nebulization
  3960657            DR           General          03/01/2016 O{i:OO Zoloft {Sertrallne)                 Missed                    no show
                                                                    100 mg tablet
  3960657            DP           Gl?r;eral        03/22/2016 08:00 Zolofi (Sertraline)                  Missed                    MISSED
                                                                    100 mg tablet
  3960657            CZ           General          03/25/2016 08:00 Zoloft (Sertraline)                  Missed                    ns
                                                                    100 mg tablet
  3960657            LJ           General          03/26/2016 08:00 Zoloft (Sertraline)                  Missed                    no show
                                                                             1oo   mg tablet
  4378484            DP           General          03/29/2016 21 :5~ Tylenol Extra                       Refused                   refused
                                                                            Strength
                                                                             (Acetaminophen}
                                                                            500 mg tablet

  Initials Legend
  Initials      User
  AL            Labarbera,Ashley, LPN
  cs            Smalls,·Cherie,.LPN
  CZ            Zieml;la;-Cheryl, LPN
  DP            Perrin, ·.Debra, 'LPN
  DR             Reyes, Doris, LPN
  KY            Yeager, K{mberly, LPN
  LD             Divtla, Lawrence, LPN
  w             Ji?;fferson, Lanee, LPN
  VC             Cotroneo, Veronica, LPN

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                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 345 of 486 PageID: 1024

Monmou.th Adult (MCCI)                                                                                                                       March 2016                                                           Order Record History
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FREEMAN, DONELL                                                26184                                                                    06130/2015                  I 12/25/1975                     I    M
 Allerqies: No Known Allergies

 Dla<moslS: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



Ord_er Administration Sites
Atlbreviation       Site-




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                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 346 of 486 PageID: 1025

Monmouth Adult(MCCI)                                                                                                                                                         April 2016                                                                                                   Order Record History
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 FREEMAN, DONELL                                                               26184                                                                                       06/30/2015                       12/25/1975             I   M
  Alleraies;       No Known All€.i-9ie_s

 DiaQnosis: Unspecified Major Depression, Recurrent EJ)isode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
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 Zoloft(Sertraline) 100 mg tablet: give 2 ta]llet PO Q AM for90 days. med renewal. - Ordering Provider: Janice Buttler
  Time      1:ype-           1        2            3           4       5            6         7         8             9       10       11        12        13        14      15      16          i7          18     19        20        21      22      23       24        25      26      27      28      29       30       31
j oa:oo jin!t            I   At   I   KY      I    KY     J   Ort    w.1~if@';Jfil~~~1J?#f~~~{JftI~~~l?t,)]m!@,i}fuillf~]will~~,~~4mq~2~~~-~'.fJ(;~~:~]t'iE~~n,'~E)~~2q~~~{n,ltr~:1Eqi;&:~'t).:S.,{~]!:iW:Y:JJft~t'~jntg~bij:&~4?1]i~J!:f.!~1f'i,,{t~
,~¢.i#@;f'.,19~~-~~~Fi~]-;Pfi:1:en~ui:ti;ls:;,(~P®ili~¼i.i:./@lQ.~_i'.QmP1.~t9~~::T~~-~@ri~~1~9-~~·::ps_rq_9~~;:4,;~1t~ .P?f~~qf_s~.,14~-~~·J.:.":Staft'(;}at~-~" ;_94@~1~~:-.o~.cgrr:J:·.;~~~r;oate;::·;_:,:wf~.01_~.::~rn?9·'
:Z6toft ·(Se"rtraUne) 100 mg tablet.give 2 tablet PO Q AM for 90 days. med renewal. ~ Ordering Provider: Janice Buttler
  Time      Type             1        2            3           4       5            6         7         8             9       10       11        12        13        14      15      16          17         18      19        20        21      22      23       24        25      26      27      28      29       30       31
I08:00     llniL        JIDP.afil~4K~fl1~~~wl!.~4                      IC)'     I   OR    I   AL    I   OR     I   AL     I   CZ   I   Al.   I   l>R   I   Ort   I   AL   I~ ICZ     CZ      I   Df>    I    AL   I. IOP      op       a        a       cs    l"KVI        oR   1•0PI       KY   I a I cz <T"j§:,,;q
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  albuterol sulfate 2.5 mg/3 ml {0 ..08;3 %) solution for nebulizatlon: give 1 mil!iliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
                                      2                                5            6         7                       9       10       11        12        13        14      15      16          17         1S      19                 21       22      23      24         25      26      27      28      29       30       31
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 Patient Status Changes
 Patient status                               Oescriplion                                                             To/From                                               Date



 Pain Assessment
 Date                         Score           Scale                           Lo(;.ition                           Reason                         Initials           ln~entlons                                                              Result                          Follow Up Oatetime                 !nltials

 Order:




  Ji., CORRECT CARii;                                                                                                                                                 Page 1 of2                                                                                                                                  01105/2018 1B:17
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Monmouth Adult(MCCI)                                                                                                                April 2016                                              Order Record History
,.P:~U~ht'.N9.q18: ::                                                                           .:Me_tt Rec0m ff~ ..,.<.:::_{( ;:?\~~on-tl!=lte      .·.:::.-:Date;Of~if1h _
                                                                                                                                  06/30/2015               12/25/1975          M
 A1leri:11es:

 Diae!nosis: 'Unspecified Major            DeJJresSion,    Re:Cl.lrrent Episode,. Alcohol Abuse, Asthma Not Otherwise Specified, Abnormallty of Gait


PRN Effectiveness
Admin Date                                                                                                     F-01low Ue_ Date                   Result                           Reason            Initials

Order.



Notes
OrderNo              Initials•   N<tte Catego:ry     Note Date            Item                             Status                 Note

3938191              VG          General             04!04/2016 18:4.1 albuterol sulfate 2.S               Refused                prn
                                                                          mg/3 mL (0.083 %)
                                                                          solution tor
                                                                          nebulization
4398688              CZ:         Genera!             04/15/,2016 08:00 Zoloft (Sertra!ine)                 Refused                dontwant
                                                                      100 mg tab[et
4398688              DP          General             0411912016 08:00 Zoloft (Sertraline)                  Missed                 missed
                                                                      100 mg tablet
4398688              KY          General             04/2412016 08:00 Zoloft(Sertraline)                   Refused                dent want it this morning
                                                                      100 mg 1ab!et
4398688              DP          General             04126/2016 08:00 Zoloft (Sertraline)                  Refused                refused
                                                                      100 mg tablet

 Initials Legend
Initials         User
AL               Labarbera, Ashley, LPN
cs               Smalls, Cherie, LPN
CZ               Ziemba, Cheryl, LPN
DP               Perrin. Debra, LPN
 DR              R1::yes, Doris, LPN
KY               Y~ger, l<jmberly, LPN
VG               Cotroneo, Veronica, LPN


 Order Administration Sites
 ~breviation            Site




  ,i,. CORRECT C:ARE                                                                                                          Page 2 of 2                                                                 01/05/201818:17
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                                     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 348 of 486 PageID: 1027

Monmouth Adult(MCCI)                                                                                                                                         May2016                                                                                                                Order Record History
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 FREEMAN, DONELL                                                     26184                                                                               06/30/2015                        1212511975               I       M
  Allerciles;   No-KnoWri Allergies

 Diaancrais: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnonnality of Gait


Discontinued
 Medicati9n Orders
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 Zoloft.(Sertraline) 100 mg tablet give 2 tabietPO Q AM for 90 days. med renewal. - Ordering Provider: Janice Buttler
  Time      TYpe                    2        3      4          5         6           7                    9       10    11       12       13       14        15         16        17       18       19         20           21        22      23         24       25        26          27     28        29       30      31
 oe:oo !friit          J   !(Y-r    AL   P' op··,   Bi'\   J   AL    I   AL    ) •   K,Y   J   L)    )   * AL_!   0~ l_KY    )   AL   J   AL   J    KY   J   BM     j   Al   J    KY   J   KY   J   AL -   J   Al       I   K\'   J         i ,;.c   !   OF!.   I ,. KY i   ;O.l.   r   At   ' ,. KY   I --KY-T ~ o;;·-, t y:y'
     PRN
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 albuterol sulfate 2.5 mg/3 ·ml (ij.083 %} solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
  Time      Type-          1        2        3      4          5         6           7
                                                                                               •          9       10   11        12       13       14        15         16        17       18       10         20           21        22      23         24       25        26          27     28        29       30      31
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 Patient Status Chanies
 Patient Statu$                          Description                                                       To/From                                           Date



 Pain Assessment
 Da1e                      score          Scale                     Location                             Reason                   h1itials         Interventions                                                                 Result                             Follow Up Datetlme                        Initials

 Order:




 PRN Effectiveness
 Adm in-Date                                                                                                                      Follow Up Date                                 Result                                                                                Reason                             lnit1als

 Order:



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  _ll, CORRECT CARE                                                                                                                                 Page 1 of 2                                                                                                                                                 01/05/201818:17
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                                    ·--··------··                                                    ~--------~--~----···--,····--···---·· · - - · ··--···                                                                                                                                                                        c-:-----
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Monmouth Adult (MCCI)                                                                                                                          May 2016                                                  Order Record History
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FREEMAN, DONELL                                                26184                                                                     0613012015                     I 1212511975 I M
Allerales: No Known _Allergies

 Diaqnosis; .Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specffied, Abnormality of Gait

Notes
Orde-rNo             Initial$       Note category      Note-Oate                    Item                             S1'ltU$              Note
4398688              DP             General            05/03/2016      oa:oo
                                                                         20I9-tt {Sertra!ine)                        Refused              refused
                                                                         100 mg tablet
439868S              KY              General           05/071201.6 08:00 Zo\oft (Sertraline)                         Refused              "Im fasting"
                                                                         100 mg tablet
4398688              AL              General           05/09/2016 08:00 Zolofl (Sertraline)                          Refused              refused to come to med cart
                                                                         1DD mg. tablet
4398688             AL               General           05/23/2016 08:00 Zoloft (Sertraline)                          Adm{nlstered         refused to come up for meds
                                                                                    1DD mg tablet
4.398688             KY              General           05!25/2016 08:00             Zoloft (Sertraline)              Refused              dontwant
                                                                                    100 mg tablet
4398688              KY              GeQ.eral          05/28/2016 08:00             Z.oloft (Sertraline}             Refused              "freeman is cured"
                                                                                    100 mg tablet
4398688              KY             General            05/29/2016 08:00             Zolofl (Sertrallne)              Refused              dontwant
                                                                                    100 mg tablet
4398688              DP              General           05/30/2016 08:00             Zolott (Sertraline)              Refused              refused
                                                                                    100 mg tablet
4398688              KY              General           05/31/2016 OB:00             Zo!oft (Sertrallne)              Refused              dontwant it
                                                                                    100 mg tablet

                        end
Initials        LJso,
AL             Labarb.era., Ashley, LPN
BM             Mckittrick, Bonnie, LPN
DP             Perrin, Debra, LPN
DR             Reyes, Doris, LPN
KY             Yeager, Kimberly, LPN
LJ             Jefferson, la.nee, LPN
RC              Cardin. Robert, LPN


Qrder AdministrationSite$_
Abbreviation            Site




  -~ CORJu:ct CARE.                                                                                                                  Page2of2                                                                       01/05/2018 18:17
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          Monmouth Adult (MCCI)                                                                                                                                                                                                            June 2016                                                                                                                            Order Record History
                  ,.: P.atI~Jtt:.!fafne:"...... .                                                                                                                             ·· :... Med Recor_!L                           · ::,},i:!niissibn Date .                  : ;pat~n)f ~~--.            ..Sex::
                   FREEMAN, DONELL                                                                                                                                                                                                     06/30/2015                        12/25/1975                    M
                    Alle~<1ie::;:       No KnownPJISrgles

                   01aonos1s: Unspecified Major Depression, Recurrent.Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnorrnalrty of Gait


              Discontinued
                   Medication Orders
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                   Zoloft (Sertraline) 1"00 mg tablet:                                   9iVe 2· tablet PO Q AM for 90 days. med renewal. - Ordering Provider: Janice Buttler
                    Time         Type                   1          2          3               4                5               6           7           8            9           10        11       12            13               14       15         16           17     18       19         20         21          22          23              24              25       26       27       2s      2!3       30        31
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                   albuterol sulfate· 2.5 mg/3 ml (d.08~ %) solutiori for nebulization: give 1 milliliter !NH Eveiy 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddln Hashmi



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                   albuterol SUifate 2.5 mg/3 ml (0.083 %). solution-for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
                    Time         Typ_e                  1          2          3               4                5               6           7           8            9          10         11       12            13              14        15         16           17     18       19        20          21          22          2.3             24              25       26       27       28      29        30        31
                   PRN              lmes        I·};'       -:ii ,m,·,"•r"',;;"1"'""''·'"'"'"l'"'i@~,l,!!"->,fi'}' ie''r·""'"'1
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                   Patient Status Changes
                   Pafamt Status                                         Desc:ription                                                                                To/From                                                               Date



                   Pain Assessment
                   Date                                 Score            Scale                                         Location                                   Reason                             !ni1tals                    Interventions                                                                Result                                               Fol law U_e_ Date time                 Initials

                   Order:




                     I, _COJIRECT CARE                                                                                                                                                                                             Page 1 of2                                                                                                                                                               01/0512016 18:17
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       Monmouth Adult (MCCI)                                                                                                       June2016                                                       Order Record History
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       FREEMAN, CONELL                                       26184                                                               06/30/2015                 12125/1975         I M
        AllerQles:     No Kn.own Allergies

        □ ia~nosis:    u·nspecified M8.joi.-DSpres5iorl; ·Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


       PRN Effectiveness
       Admin Date                                                                                             Follow U_e_ Date                     Result                                Reason             lnitlals

       Order:




       Notes
       Or;:ierNo         lnltiills   Note category   Note Date                Hem                        Status                  Note

       4398688           KY          General         0610112016 08:00 Zoloft(Sertraline)                  Refused                dontwant
                                                                      100 mg tablet
       439868B           AL          General         06/02/2016 08:00 Zoloft (Sertraline)                Refused                 refused md Mh referrel
                                                                      1oo mg 1ablet

        Initials Legen
        lnlt!als      User
       AL             l,.abarbera, Ashley, LPN
       DP             Perrin, Debra, LPN
        KY            Yeager, Kimberly, LPN
        LJ            Jeffers•on, Lanee, LPN


        Order Administration Sites
       Abbreviation _§_it&




          h-   CORRECT CARE                                                                                                 Pa_ge2 of2                                                                           01/05/201818:17
        .~&O~IITIUNS




                                                                                                                                                                                                    MCCI MED.. RECORDS
                                                                                                                                                                                                     .---,--   -. ..,_.~ 345
·,--                                                  -··-····-·--·--~-,--~-,,-,,~=--~c:-c-c-~~~-.,.-,-~
                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 352 of 486 PageID: 1031

Monmouth Adult (MCCJ)                                                                                                                         July 2016                                                                              Order Record History
.-.P?t!enrn.aqui\:                                                           · •.P.at[~)_Q., .,.:·       .: . Med Recofd # ·        :;~:-;_~~i:ssTon~        _-r       Dale·of.Birilj         -,s~x.:: ..
 FREEMAN, DONELL                                                           '26184                                                         06/30/2015                  12/25/1975                M
 AllerJ'.:11~:     No Known A118'q;iies.

 Diacmosis: Unspecified Major-Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
Medication Orders
         PRN
J~~r~N,9:iJ¥'E!~~9~,:yl·:-'9.@.¥J~@µ·s~~''PkinP.l~c3::1.~-®~;7}$~~:{k-::'.;~~~::>A /'.Q!#~9ni!r\~~~;;;::i;:;_:~,:lf?.~{g~~At;,.l:;:$qbii'Jif':P.a~_);:,:~q,t,9_·1_~-:::1~!~!J :~_ttP~~:::_:_·:~OJJ.:'._8.i\.~~--1 :~@,[)~t¢;_:\.~ ·-;_1~22t?.o:1_~~ ,1 s::s·~
albuterol sulfate 2:5 mg/3 mL {0.083 %) solution for-nebulization: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddln Hashmi
  Time         Type              ,       2      3         4        5         6        7       8
                                                                                                     •    10     11     12     13     14      15        16    17       18      19       20.       21        22   23   24   25   26    27    28   29       30     31
 PRN            mes                   11:34
                                                                 .,_
                                                                 2e:SS                                   12:17                                                        l9!S3
                                       sa-
                                                                  ,,                                      <a-                                                          sa-

                                         "                                                                 "
                                                                                                         10:17
                                                                                                          sa-
                                                                                                                                                                       "


Patient Status Chan9es
Patient status                                Description                                             To/From                                Dam




 Pain Assessment
 Oat~                            Score        Scaie.                   Location                      Reason              Initials    lntl'.llNentlons                                                  Result               Follow Up Datetime        Initials

Order:




PRN Effectiveness
Admln Date                                                                                                               Follow UI): Date                    Result                                                         Reason               Initials

Order.




Noms
OrderNo               lnitfals       Note Category            Not&.Date                   Item                        Status                Note




Initials         Use_r_
OP               Penin,.Debra, LPN

  1.1-   CORRECT· CARE                                                                                                                 Page 1 012                                                                                                       01/05/201 B '18:17
..6'i.,0~11·1'1011s




                                                                                                                                                                                                                                        MCCI MED RECORDS 346
                                                       ,.,•---•••e     •     ,-•,   "•"---··----·•-------·-----·------
                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 353 of 486 PageID: 1032

Monmouth Adult (MCCI}                                                                                                             July 2016                                                                      Order Record History
.-:..J>atient.~ame: ;.::;                     .-: ..._;p~ti~rlt)q'.·.,-.        , ::,M~-R~co.i9-.~:., ::,:~,:c:L.::J-,::,)\dry:iTssi6ri P.~!:!~ ..   . :-Da_!:e of Birth   :Sex:
 FREEMAN, DONSLL                            26184                                                                            06/30/2015                12/25/1975            M
  AHerQies:        No Kl'lown°J\llergies

 Dia!',lnosis: Unspecified MajOf _Depression, Recurrerit Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait




 Order Admin_istration Sites_
 _Abbtey:l_~tlon      _$Lte




   h. CORRECT CARE                                                                                                       Page 2 of2                                                                                                 01/05/2018 18:17
  _..,.s.0.1,~'f-;o~~




                                                                                                                                                                                                                   MCCI MED RECORDS 347
                                                                    •••---•••     ••-•----            -----------------------•••--•                                                ,;,•"   •   ••M•   •   ,;,,    •·•·-   ••~••"'•'•••-••---'-•'''•""•••.'.>'~•--
                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 354 of 486 PageID: 1033

Monmouth Adult (MCCI)                                                                                                                             August 2016                                                                                          Order Record History
                                                                        .. ;.-Patient ID ·               ..'"fy1ei:IR~fd#,                · · /«lmissi6n:Date                ;pate-·<1f Birth.-.   -Ti. sex:
                                                                     26184                                                                       06130/2015                  12/2511975             I   M
  .Alleraies:


 Diaanosls; Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwfse Specified, Abnormality of Gait


Discontinued
 MeQication Orders
        PRN
_:;ptiij~#~tjo:~~;~_M:]~;:;;;j! _._:q«.l¢tl~lli,~ij'\;~~~-~~¢/~:?.(7Ji~~-;~-~~;;fo.r.~:;1;:}n¥YM-~1:t:}{.I "i!@!~fa@fl'il~!5:1er.¢#;'\(-~i):1)';?Q~.0.16 .~] 9;~1>;·;j:>Si:J~jtj1t;p~e:-,:'_Q.\?@.lt;291, §·;;~~?!.J ?~~·f(_ p;;te::-:; -~,2,~9_,1_~:J'4;0:9.,( .~Eii'~J¾te.:~ : :·.1_:~~29i?, :_ 1:s:99
 albuterol sulfate 2.5 mg/3 ml (0.083 %) solution for n9bulization: give 1 mWi!l1er INH Every 3 hours PRN for 180 days. -Ordering Provider: Kabeeruddin Hashmi




r~ [m~ I I I I I I l~~:1 1·1I I I I I I I l I I I I I I I I I 11I I I
  Time        Type              'l       2       3      4       5       6       7        a        9      10       11       12      ~3      14       15       16      17       18      19       20        21      22     23      24       25       26      21       2s      29       30      31


                                                                                                                                                                                                                                                                 17
                                                                                                                                                                                                                                                                  ;
 Patient Status Chan~es
 Patient Stat1.1$                             Dascriptlon                                         To/From                                          Date



Pain Assessment
Date                            Sc.ore        .Scale.               Location                    R&ason                      Initials      lnterveotions                                                       Result                        Follow Up Datetrma                  lnitlals

Order:.




 PRN Effectiveness
Admin Date                                                                                                                  FoUowU_e_ Date                         Result                                                                     Reason                        lnitia!s

Order.




 Notes
OrderNo              Initials        Note Category          Note Date                tt.m                              Status                    Noto




 Initials Legend
 llll_tials     User
 OP             Perrin, Debra, LPN

.AJ~Rf~'i11C::oAf~                                                                                                                           Page 1 of2                                                                                                                           01(05/2018 18:17




                                                                                                                                                                                                                                                             MCCI MED RECORDS 348
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                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 355 of 486 PageID: 1034

Monmo1.1th Adult (MCCI)                                                                                    August2016                                   Order Record History
~~~~(:Neirne: :_-::::                                 -·._,_fatieitt)O ... ·,   :._:_M~_;Re9(1~#-;   ,,_. Adn:,~Sion-Date   ,pa1e-o1:atrth . :1 ,Sex:
FREEMAN, DONELL                                      26184                                                  0013012015       I 1212511975 I M
 AllE!l"tlies:-         No Known Allergies
 Diaancsis: Unspecified Major-Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



Ord~ Administration S_i1es
Abbreviation               Site




  t,;. .COR!U(CJ CARE                                                                                   Page2of2                                                   01/05/2018 18:17
 '4M<.3   (I   L Ir l   j. (I !f $




                                                                                                                                                          MCCI MED RECORDS 349
                                     ... ··   .... --·· --•• ..··-····-.----=~~--cc-~--c-c-==-:--.,,--,-
                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 356 of 486 PageID: 1035

Monmouth Adult (MCCI)                                                                                                                   September 2016                                                                                       Order Record History
.,J?.~~ra .Name: ..                                                       Pat/eritJ!?- :- ·            · Med·~et0r:d..c#.          . , .-Admissi_ori.,Dafo          .,. pate_m Birth   ·    -sex:~
 FREEMAN, DONELL                                                     26184                                                                 06130/2015                 12/25/1975              M
  Aller;::iie_s;   No KnQwn Allerg'ii::_s
 Diaqnosis: UnspecifiEd Major-Depr?sSion, Recurrent Epi5:ode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
    PRN
~P@!'j~\~MWi;1.8,,1.~.g~-?,k']}Ri';c!.S:f~·.:~¢9(1i~!~e,~tfa'22.1~6f~\:;,,~.$.:~(;;;:~:1;i:-;1(~f:_'.1M~~\~;:{;;;{~;~~)igfi'.ilf:i!sfei'.~~-~:?)/:?!1.1?;~~QJ ~ -~~~fg :?S_4.D.ID1tP~e~.{0_5nqf.?O.r1}¥. ,,_1_;~.!-:J {start p~[~};!,,:9_~?§.lf9,l~:::~~~-C).g,1 --~M:iO_a'{e:; =~A,~m~f13,~
 albuter61-sulfate,2.5 mg/3 ni.L (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days.~ Ordering Provider: Kabeeruddin Hashmi
  Time         Type              1       2     3     4       5        6      . 7        8      9     10       11      12      13      14      15      16      17      18       19      20      21       22     23       24      25      26      27      28       29       30      31


IPRN         rm..           1 1. .~ n~·, 1 I I I I · I I I I I I I I I I I I I I I I I I I I I                                                                                                                                                                                   rM%1
d?.@:~tr,~?i.~.na1J ~f_9rg~~~-t+:¥.9rjt:~T~-'{~~-(d1.;~;;,M&~~i:v1:~;.q:_;;~~ffiL~~.P~~~~4~~§~~ti"!~:;R~~e.r~~1ro¥e.~:-:: ~~f.9,1s4~~R~J_,~El)P_,~'w::: ':J~ 1?P1~~
Tylenol {Acetarriinophen) .325 m~ tablet: give 2 tablet PO BID AM & HS PRN for90 days. -Ordering Provider: Kabeeruddin Hashmi
  nme          Type              1       2     3     4       5        6        7        8     8      10       11     12       13      14      15      16      17      1s       19      20      21       22     23       24      25      26      27      28       29       30      31
 PRN         p1mes           ,~~~1~r~~j\~11~.iiJ[$triF~~mi11~ri1~,~ri~~Jh!fil~Rfa~r.fill1§l:l'Jiq~¥£~ifllillL~4~,~1!i~~q~(f-4~~-1@®1~eE:it.%p~~9wlr~1, l~) ,                                                         I I I I I I I P-~~~mi

Patient Status Changes
Patient Stahl:s                              Description                                       To/From                                       Data



 Pain A~e.ssment
 Date                            Score       Seal&               Location                     Reason                   Initials      Interventions                                                  Result                        Follow Ue_ Datetime                 Initials

Order.




 PRN Effectiveness
Admin Date                                                                                                             Follow Up Date                        Result                                                               Reason                         lnitfals

Order:




 Notes
OrderNo               Initials       Note category       Note Date                 Item                            Status                  Note




.Ar~A.R~11._ ~A~~                                                                                                                      Page1 of2                                                                                                                        01/05/201618:17




                                                                                                                                                                                                                                                 MCCI MED RECORDS 350
                       ',   H-•-••••••----•••                • ••,
                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 357 of 486 PageID: 1036

Monmouth Adult (MCCI)                                                                                                 September 2016                                                                                                              Order Record History
-~-~~Jut-!arn~\:.•.                         •.. _:_,_,;_;;~t{er')tlD ·, ..   .-:. J..tei::CR.e.~ # ,·.   ::.:.: :. :,+:. ,-, A~m~!bn.Oate :      ;.,_o"¢e bf_Birth:-               ·$eK:·-
FREEMAN, DONELL                             26184                                                                       06/3012015                1212511975                          M
 Allerol~:      No Known Allergies

 Dlaanosts;: Unspecifi~d Major bepr"essi0n, ReCurrent Episode, Alcohol Abuse, Asthma Not Other..vise Specified, .Abnormality of Gait



 Initials Legend
lrritial:s   l!§i:er
AL           Labarbera.~hley, LPN
DP           Perrin. Debra, LPN


Qrder Adrninistratioo_Sites
p.bbreviation          Site




  h,   CORR.ECT CA.FIE                                                                                               Page2of2                                                                                                                                                                   01/05/201818:17
 ..-.SO-LO'-Jla~s




                                                                                                                                                                                                                                                            MCCI MED RECORDS 351
                                                                                         ------·--..                    -------·-·-•·         - .....o.•,-------=-:::......, -~--..:..~--    ,~- -~ _.,, -   - .,:..:...i...._.~.....:.....c....-.~.......;:;;_-.-.,,;::._.,.•. :,:..:;.~,.:,_; ___ ,: __ ,:_,.,..:·-   . ·-·.-.,,·;;·,'--
                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 358 of 486 PageID: 1037

Monmouth Adult (MCCI)                                                                                                                          October 2016                                                                       Order Record History
  .. -.P.a\.ient'Naine:i~iJ~.,.                                      i .:,-,,~ati~flD_;,           ·.-:.,,::Me{fRi!iiotcl # ._;.,        ::._1~q-~e,,:.--:          , ·-.~:¢J3iritJ •,.::.J ,:_Sex~i--
  FREEM/>.N, DONELL                                               26184                                                                        06/3012015             12125/1975 J M
   Alleroles:    No Known Allergies

  Diaqnosls: Unspecified Major Depres5ion, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specrfied, Abnormality of Gait


Discontinued
  Medication. Orders
         PRN
·1 :/Qffi~r::~jf:~_~rMi.~:=f~:J:,X1@err~'<l.'ti;@,;:;-pqmpJ~(~-~~~~P1~!!~~~~?t~i;¼/-m'@~T~@~~f~&!~-:;it1:!?Z9{?ft~}1~,4::.;$:WM1t'.P.#t~:i:::991~p/~P~~-:~w-'-97•:.,t,'.$feif-o:S.W~!Y.P.t¥2§!~~1~;:•,1_,4;.99.:l·:J:_n_~~?l~J/,; ·1.?.12mo1.f:i.. •-1s:59
  albuterol sulfate 2.5 mg/3 mL (0_-()83 %) :;;"elution for nebulization:. give 1 mllliliter INH Every 3 hour$ PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
   Time      Type                        2     3     4       5         6       7           8   9       10       11        12        13    14     15      16    17      18      19      20      2'\       22   23   24   25   26    27      28     29       30     31

 ~
 :,~9.rp~t.J0:~;~§.~~1;~;.;::] \.~W$r.~~~s!)~tjiri'P.~.:~2.1~v~1.§"_):_t~~};~;'f;:;::1.rwj;,~~n:;,;~;'.iJ'..l:i.$iM{ti1~J?JB_fy,WE:?r·~~P.@!i?Y~' '~-~.:_5f·,:,J/.~Wbm.JtJzi;stef:·,,_;g_~wo:16fWi~~):,~rt:oa1e:.: ,~t~q~~--:·~-~®J J~n~rpate=:,_.-, 4;21_211~.1.6. -":t~;~s
  Tylenol (Acetaminophen} 325 mg tablet give 2 tablet PO BlD AM & HS PRN for 90 days. - Ordering Provider: Kabeeruddin Hashmi
   Time      Type                1       2     3     4       5         6       7           8   9       10       11        12        13    14     15      16    17      18      19      20      21        22   23   24   25   26    27      28     29       30     31

 jPRN       rmes I I I I I I I I I I I I l'~,ul I I I I I I I I I I I l'~."l'~~"I
  Patient Status Changes
  Patient Status                             Description                                        To/From                                         Dato




  Pain Assessment
  Date                           Score       Scale               Location                      Reason                       Initials     lntenoentions                                               Result              Follow Up Oatetlme            lnitials

  Order.




  PRN Effectiveness
  AdmlnOate                                                                                                                 FollowU_e_ Cate                   Result                                                     Reason                    Initials

  Order:




  Notes
  OrderN<i          ln'rtials-       Note Category       Note Oa1e                  Item                               status                  Note




    /,. CORRECT CA·RE                                                                                                                      Page 1 of 2                                                                                                   01/05/201818:H
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                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 359 of 486 PageID: 1038

Monmouth.Adult (MCCI}                                                                                                             October 2016                                                     Order Record History
,;Jp~i,8~-~Narne;.. ·.                              .~, ..P:al:i8n~:ID ::,·, .-; :~] , : ),1!ed flecci.td '!I:·.-'.' -.rr··:.:Ad_(ri.fss]of'i.~t~:.-:·   :• ..-:oP?i~~Blitn ..   j       ·Sex:·.
FREEMAN, lJONELL                                  26184                             I                                       I      os13012015              12125/1975                I    M
 Allecoies: No Known Allergtes

 Dfa~onosis_: Unspecifie<;f Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not otherwise Specified, Abnormality of Gait


Initials Legend
lnitCals      Us~_r_
AL            Labarbera, Ash!e-y, l.,PN
DR            Reyes, Doris,. LPN
KM            McCray, Kamisha,:LPN


Order Administration Sites
Abbr,viatJon           Site




 1. CORReC-T CARE                                                                                                             Page2of2                                                                        01/05/201818:17
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                                                       Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 360 of 486 PageID: 1039

            Monmouth Adult (MCCI)                                                                                                                      November 2016                                                                                     Order Record History
            .. ·p~effi:N~e:- ..                                               J;,,.,,patieoilD ..,.. ,       -·.-,.M~~:Re~.#.\·    0
                                                                                                                                       -·        .·:•:;Adi'nission.D~te :-.\~:[.\Pa-ie_Of.-Birtti ...   -1 .sex:·-,
             FREEMAN, DONELL                                                   26184                                                                   06/30/2015             I   12/25/1975            I    M
              AllerQies:         No Kilown Al!erg[es

             Diatlncsis: UQ~p·e_cified Major Depression,. Recurrent Episode, Alcohol Abuse, Asthma Not otheNv"ise Specified, Abnormality of Gait


            Discontinued
             Medication Orders
                  PRN
            ~:Pm~t;N_:¢¾~,1:$l~i~4 ~◊i9¥t~~tii~t;i@nJpleii#l~1.2~~~~;~~);s.:_~:.,;,,~·i','/~·,;,;;;:,~~~n-:.W'1\~~t:~r:fil.~l~~~:;- /:;J 1~_?g1, 6/;1J:l'.lW-iic].~:~~-m~·'gat~·::;o:P~!2□1'.2o~~:~~7_.:j. :_,St~ :qa~e~:':'.:'9!5(~.s~o~ ~'.)_4:0_o.J ::J=n~[!:::i~>.·: :121~,:2P~ p::~ 3:s~
             a,lbu'terol SJ.il~te 2.5 mg/~ ml (0.083 %} solution for nebulizatlon: give 1 milliliter lNH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
              Time         Type                        2     3     4      5        6      7              9    10     11      12             13    14       15      16      17      18      19      20         21       22      23    24    25      26     27     28     29       30     31
            IPR~ F;mes                                                                                                                                                                           I',\~ I I I I I I I I I I 1:;d:J
            ;1~(lltl_f~~ q9t~-~h)$J~tci~~:t[~~'/4'.~~~~~}J~$§!~;~;yu;-,_V\k)~;-:!:f-;~J:@·~J;~WTI(~~~a:;-';:? 12116120,6' Hl~~SUl:imlt ~/22J2of6 12:29                                                                      l-:siirtflate· ::J™516 "'l9":001   End Oi:lte: ,; ~~2.1f?0.~,6]~;69
             Tylenol (Acetaminophen) 325. mg tablet give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider: Kabeeruddin Hashmi
              17me         Type                1       2     3     4      5        6       7      8      9    10     11      n              13    14       15      16      17      18      19      20         21       n       D     M     -       B      V      •      -        m      ~


            IPRN         rm"              IIIIIIIIIIIIIIIIIII                                                                                                                                                         I I I l"~:·1, ~·1 I l";g·1 r";~,I
             Patient Status Changes
             Patient Status                                Description                                    TofFrom                                         Date

             Active                                        Admitted to Facility                                                                             11/16/2016 13:03

             Pain Assessment
             Date                              Score       Scale              Location                   Reason               Initials           Interventions                                                     Result                      Follow U_e_ Datetime          lnltlals

             Order:




             PRN Effectiveness
             Admin Date                                                                                                        Follow U_e_ Date                          Result                                                                 Reason                  Initials

             On:ler:




               !. CORRECT CARE                                                                                                                      Page 1 of2                                                                                                                 01/0512018 18:17.
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                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 361 of 486 PageID: 1040

Monmouth Adult (MCCI)                                                                                        November 2016                                       Order Record History
·'. J~~-~N~.c---:- -                            ~[f:~•.~atient ID                       ~Recf,rd#.      ·., _)\dr(lissicn,_Da~   -.,patepf.Birth :. __L_pex:::
FREEMAN, DONELL                                         26184                                                  06130/2015         1212511975 I M
 AllerQles: No KnownAlletg1es


 Dia-cmosls: Unspecffied MajoJT DepreSSion, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Notes
OrderNo        Initials.   Not& categoiy   Not-e Date                    Item                 st,tus           No1e

4814065        vc          General         11/20/2016 19:41 albuterof sulfate 2.5             Refused          pm
                                                                         mg/3 ml (0.083 %)
                                                                         solution for
                                                                         nebu!lzatlon

 Initials Legend
lnltlals   µ~er.
KM         McCray, ~misha, 'LPN
 LD        Divita, Lawrence, LPN
VC         Cotroneo, veronica, LPN

Q_rder Administration Sit11s
Abbreviation     Site




                                                                                                                                                                            01/05/201616:17
 _j,J~l\Rtr1Ti ~Ar~                                                                                         Page2of2




                                                                                                                                                                   MCCI MED RECORDS 355
                                                 -. .     ;·.   -~ ·""     .
                                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 362 of 486 PageID: 1041

Monmouth Adult (MCCI)                                                                                                                                                                                      December 2016                                                                                                                 Order Record History
  J)~Je11~.~a_[!l~                                                                                   . .-,,:~a.t1Bntfq .. ·                           ·•..-iMed Re<iO«I #.·_._                          Adrnissior'l DatL                      .,·oate··0.sir,,h, .                $~: .·
 FREEMAN, DONELL                                                                                    26184                                                                                                    06/30/2015                          12/25/1975                         M
   Allerqies:            No Known Allergies

  DlaanosiS: Unspecifte"d Major Depressh;m, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
        PRN
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 atbuterol sulfate.2,5 mg/3 ml (0.083 %) solution for nebulization: give 1 milliliter \NH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
  lime           Type                                   2           3          4           5             6            7         s           9          10       11            12           13         14         15         16         17          18          19            20     21         22    23       24      25        26        27          28    29     30       3i

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   albuterol sulfate 2.5 mg/3 ml (0.083 %} solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
  Time           Type                        1          2          3           4          5             6             7         8           9          10       11            12           13         14         15         "16        17          16         19             20     21         22    23       24       25       26        27          28    29     30       31
  PRN      __Emes                        :11'"~~It/,   "''"'i '''~'!lj'•"''""q"'"""'T'"' lij""""P'
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 hydrocortisone 1· % Topical Ointment give i ointment TOP BID AM & HS PRN for 1 0 days. - Ordering Provider. Kabeeruddin Hashmi
  Tlme           Type                        1          2          3           4          5             6             7         8           9          10       11            12           13         14         15         16         17          18         19          20        21         22    23      24       25       2B         27         28     29     30       31
lPRN-                                                         1!$0l/;'1\W~Wj"IT:.l'~f\11),~~"1I1Ji1;:J.::.:#,iim~,\1;111t;;,w;,wtA11!if)m1.'.iiN.l'l''1!..lf'."?$i~;rr:,f.<',lTl!0P:Jt~'.k:!l';;:Ec.:.1'::;':lfr~w,:.1~~,if?',,_~~'.vl!;,;f,~,.;,>,]ii{1;;:}Hl:~-i';;c'.'-·[ 19:10 I' I';: ,<i IAP.·n-1 Mt,,"' I' R•~/; IA<>· ~q 1
                jTlmas               1~s"-<Wµm;;,a..~>!>~jl,'
                                       -~'"'):t" .Jllii~. •1•ru~•·p=       '1",.1-,,,.;,...I •~v- ~-""'"'~'"r··~·-~r:.~~-.•1mWi"""r"" 1"'-"-''· ~·~'"''l··-~'irt,.,1,.--·-"·1 ··-·"'·.,.,l~"='·'t· ,.,,...~1---'""'·' ~...-'-'"-"'l"··-- 0•-·-
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 hydrocortisone 1 % Topical Ointment: give 1 ointment TOP 81D AM & HS PRN for 7 days, - Ordering Provider: Kabeeruddin Hashmi
  Time
  PRN
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:Q:~ef:J·~-~I:.{!¥!:3:~ ~,,.1;.1·;·/·):Q.r.d¢T:.::Sta:6Jif.!~',O#:hP!~e'o:'12121:mrt.s:;1a:59;::__-::,~.:\~:'[;);:.-,~~•_:}ij :~{;'aSt:A~tiiil':ll&~if.f;;•,.;:: ;;1o/~.W?O_:t.S_'.-'-~~-~¥:_:-:·J ·:$.i;l.b_nfi(E.?,a1~i.:~9.W¥¥P'?.§.:~·~2:~"j .",'$.farl:,Qal:e~·:                                               :_~~01l'.)_:,~_$:po,, :::~'d '08~e;·: ::12121 /'2016 . 18:59
 Tyienal (Acetaminophen) 325 mg tablet: gtve 2 tablet PO B1D AM & HS PRN for 90 days. - Ordering Provider: Kabeeruddin Hashmi
                                                                                                                                                                                                                                                                                               n
                                                                                                                                                                                                                                                                                  l'~'~''l:,j't'T:;,t;T""~'f'"'"'J"';,,ur:,,!ll',,"-'l:i'!',I
   Time          Type                                   2          3           4          5             6             7         8           9          10       11           12            13         14       15     16               17         18          19          m         ~                D       M        •        •          u          a      a      m        ~
  PRN           rrimes                                                                                                                                                                                        08:19 118:25                                                                                                                     1
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   !.   CO-RREC'T CARE                                                                                                                                                                                  Page 1 of3                                                                                                                                               01/05/2018 18'.17
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                                                                                              ,,   _______           ·----·         . ---···· ···,----··.·.                             .- .---·------,,                                                                                    ,--.·
                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 363 of 486 PageID: 1042

Monmouth Adult (MCCI)                                                                                                                         December 2016                                                                            Order Record History
 ,:P._<t(~atTih:;,;,:                                                   )~.~fient.U;>                :"i!'¥.d R~.e~if ... ----·        .. , ;;Adinission_,Date -:         j':~:Date.¢Birth. , J Sex: ..
 FREEMAN, DONELL                                                                                                                              06/30/2015                     12125/1975            I M
  A!lernie$: No Known Allergies

 Diaqnosis:    Unspecified Major Depression, Recurrent'Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


•:p_fd~iN&>~T~~9.:~!?·,l:Z~d;ef$tiifuS:,'J;¢lrri'~l~~~~:!isf!,~?X~--~•::I, :•.\Wltt.i¥hi/~'.:.,b$~(~:_d'nJAJsti:ifecfi;'.:- · ~ '()~017. 19:2?'. / Submlt aate: 1 Z/13/2016 14;29 ·/ iSiatt Date~ , 121211201.s- ~9:00f ~ti Date· .'-'.0.3(~11.20,.,]'. -:1_?;_59.           1




 Tylenol (A.cetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days. -Ordering Provider: Kabeeruddin Hashmi
  Time     Type                1       2      3     4       5       6             7          6   9     10      11      12         13     14       15       16        17      18          19   20     21       22   23   24   25   26    27    28   29       30      31
 PRN      ffimes         L~'¥J~W~IT.M~IDT~f~ll~ffll.&-~i(&~'fii$~_[1I(llf1f.~~11~.liili!l~Lt~~£qJTI7%-ill!bl:i~h'Fir7!~~i::lfilitt~t,;e:.~!~1t,l~tJ;';)J~Fi3;i:                                                                                                    1~:o
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 Patient.Status Changes
 Patient Status                             Description                                           To/From                                        Date-



 Pain Assessment
 Date                          Score        Scale               Location                         Reason                  Initials      lnteiventlons                                                      Result              Follow Up Oatetime        Initials

 Order.




 PRN Effectiveness
 Admln Date                                                                                                              Follow Up Date                             Result                                                    Reason               lnitlals

 Order:




 Notes
 OrderNO           lflitlals       Note- Category       Note Date                     Item                          Status                     Note

 5744942           VG              General              12/31/2016 19:06 TyleJ'\01                                  Refused                    pm
                                                                         {Acetaminophen)
                                                                         325 ·mg tablet
 5744943           VC,             General              12/31/20i6 19:06 albuterol sulfate 2.5                      Refused                    pm
                                                                         mg/3 mL (0.083 %)
                                                                         solution for
                                                                         nebulization




                                                                                                                                           Page2of3                                                                                                       01/05/201B 18:17
 .kJ~RLS!;';fl C/f~
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                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 364 of 486 PageID: 1043

Monmouth Adult (MCCI)                                                                             December 2016                                                                                                                     Order Record History
·.J:atieiJtNarri.M- /~--~                   .: .. ,p,~r,110::.,   .'./Med ReCC~_ff: ..;.::   ,-::;Ad_ryii~sjcifJ '-~~-: -. :   :J:.   pa1ii·.of,B!rt!\'_
FREEMAN, DONELL                            26184                                                    06/3012015                  I     12/25/1975                           I       M
 AllerQies:     No Known Allergies

 Diaanosls;. Uospecffied Major--Depr~ion, Recurrent Episode, Alcohol Abu.se, Asthma Not otherwise Specified, Abnormality of Gait


 lnitiali; Legend
Initials      User
DP            Perrin, Debra, LPN
DR            Reyes, Doris•. LPN
LAM           Maldonado, Laura, LPN
LD            Divita, Lawrence, LPN
MS            Sihomb\Jlg,_ Michael,. LPN
OB            Bizer, Orfa
vc            Cotroneo, Veronica, LPN


Qrder Administration Sites
Abbreviation         Site




   .\I. COl'IRECi CARE                                                                          Page3of3                                                                                                                                                                   01/05/201818:17
 .-.,s   Q l. V l l O ~ ~




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                                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 365 of 486 PageID: 1044

Monmouth Adult (MCCI)                                                                                                                                            January 2017                                                                               Order Record History
.,.-.Pati~.n!-.Nairie:: :•: ·,                                                       ,i.,,;~.ii~_n;>•            '· ,.)~ed-~E:~ #:"-'_:_~-.: . .'--+.-~:::Ad'nJlSSiO~.Date:> ·                :::.D~e.-¢-J!Jrth.; .._'. LSe>;:
                                                                                  26184                                                                          06/30/2015                    12/2511975             I   M
   Alleraies:             No Known Allergies

  Dlaqnosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specffied, Abnom,a[ity of Gait


Discontinued
 Medication Orders
~:o.r.a~.1Ni;f~;~-~-~-9:t;;:1;;;¢_ri.ll\ih§:tat.u,s.~,~\®m~1eteci~V1.~11:N'.i:'l!.~_9~}:':;::-:;~_..,,::ii.~~::Wd-::~s$(~l:im!6.~~a;·-::..::·~~.1,41:2_~~1:.;~;P<J :::.1~·;s.a~mn_ pa1~:_.,;•:9i1.o.~~9-)?: A.1:4~ J-.:,:Sli=ittJ)~:'.:· :g.v1w2q.1:1-A_a~~-il :-;~~so~1I::o.r~~:~

   Time           Type

                                     --~------wa•=~-~-~~-~-~~~-~~~~~
  prednisone 20 mg tablet give 2 tablet PO Q AM for 5 days.• Ordering Provider. Pauline Tyas
                                          1.             2     3      4      5        6         7       B    9     10         11       12        13         14       15         16       17     18       19      20       21      22    23   24   25   26       27       28



·;¢fi;)~#o;-'"~~~-f..~'(.~j;:tr.@.~,zjat~;'.·J:,~ii;'i:l1~(~:fM/1;'U29'11,:~1'7:$~t~<.•:);;j~\;~;1[1J\!r(~~1\)'.i;~'~i.:M~~~l,291!~~iPQ~bin~~:p$12::p:1_1~~f291? ::1.11_.~_:,j :JS~:oate,-; ::'P1{_j-9f2CJ~'7:.,·P~.~-o·] ~Erjd':D_i:ife:.:: ::.•91~.1.!f?.O·J:?. ·.9?~~-9_
 Zyrtec (CetTrizine) 10 mg tablet: give 1 tablet PO QAM for? days, dose given. - Ordering Provider: Pauline Tyas
   Time           Type                    1              2     s      4      s        6         7       a    9     10         11       12        1s         14       1s         16       11     ta       1s      20       21      22    23   24   2s   2s       21       2s
                                                                                                                                                                                                                                                                                  29




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                                    1~,rn1IB,~~1~1.m'igliill~@ll¾'eyfil~!i~(~kCiJ1\                                 Ill   j   cs   I   O!t   I   LAM   I    DP   I   OP     I   MS   p;~]§'.fltt·g,J~I.~l~~],1~:\}l-~%'.~v.~fl~J1~:~!ij:Jtt~½t:Jp½:½:::¾J~~1u~~~::01~;:E;:~1:~~0m2.h>Viitf.Y:l
        PRN
{:Q~:-~a.~,;:.:~:7~~(',~IX@~4~TI~@~~2:.~glijj~t~\J~AfJ~/~;1:t;;;~~;P~tl½',<:1i:i'.),'.~iPr'Yli~~~hi8J}G!S.fM.m1r1~efe'.zjJ~~~~~m~~;::~,:1~~-~::iggJ ,:.$,tB_~-~e:":-')~:~,16.J_1';_t!_%!J::;rw1:r~E!t~:::-::, 96!20(2~17.• t,3.;~..
 albuterol ·$ulfate 2.5 mg/3 rriL (0.083--%) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering ProVider: Kabeeruddin Hashmi
   Time           Type                    1              2     3      4      5        6         7       a   s      10         11       12        13         14       15         15       17     18       19      20       21      22    23   24   25   26       27       28       29        30        31

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;~-~-it90:.;;;g?4~~f;:_;rJ.;;pro.~r:$~fu.Js:;::;:~_µfup~~¢~~~~V~Ql7/:1,'!i~r~-~FJF!·~/wr:tt.~Jt:;,;~~-J:i:~r.f.:~tn1~~~~e~:'.tN~-3!,l2!'.2Q\Y)1.~=-21};[:§§!lt;i;}.?l"M::-~·1W~~~:~Jmtsta'rrti.#t~: ::;~~g11~~,-~/t~:~.~:1:,~~J:";'~~10!~",?3~[~~
 Tylenol (Acetaminophen) 325 mg tablet: give 2 tablet PO BID AM & liS PRN for 90 days. - Ordering Provider. Kabeeruddin Hashmi
   Trne           Type                    1              2     3      4      s        e         7       a   9      10         11       12        13        14        1s         1e       n      1e       19      20       21      22    23   24   2s   2s       27       2a       2e        30        31
JP:RN           frries l"'d,"I I                                     I I I l''l~"l I I I I I l'~,"l'~;'I                                                                             l'~~"I          I I I I I 1•~~'1'~',"I                                 I        I        I         I         I        I

 Patient Status Changes
  Patient Status                                             Description                                     To/From                                                 Date

 Active                                                      Aclmitled to FaC1lily                                                                                     01/05/2017 14:08

  Pain Assessment
 Date                                      Score             Scale               Location                   Reason                      Initials           Interventions                                                       Result              Follow Up oatetime                  lnltlals

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    i;, CORR.•. CT C-A.RE                                                                                                                                    Page1 of2                                                                                                                   01/051201818:1'6
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                                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 366 of 486 PageID: 1045

Monmouth Adult (MCCI)                                                                                                                       January 2017                                                       Order Record History
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               -.                                                           ·':._,.:P-a~tID_=,.:.·   -,. ,:".Med_Riciircl #        ···:·;,AdffilSSloi1·Date        · :Oate_ofBirtt'!:;   :.f:-.~~--
FREEMAN, DONELL                                                         26184                                                               06/30/2015                 1212511975         I   M
 AUe~ies:          No Known Allergies
 Diaqnosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gaft



PRN Effectiveness
A<:lmin Date                                                                                                              Follow Up- Date                     Result                                  Reason            Initials

Order.




Notes
OrderNo                 Initials            Note Category       Note Date                 Item                       status                 Note




 Initials Legend
Jnitials _!,!_ser
CS            Smalls, Cherie, 1..PN                                                                                                                                                                                                           ). i::
DP            Perrin, Debra, LPN
DR            Reyes, Doris, LPN
LAM           Maldonado, Laura, LPN
LD            Ofvita, Lawrence, LPN
MS            Sihombing,. Michael, LPN


Order Administration Sites
Abl'.1:reviation            Site




 .111- COitRl:CT CARE                                                                                                                  Page 2 of 2                                                                          01/051201818:16
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                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 367 of 486 PageID: 1046

Monmouth Adult {MCCI)                                                                                                                          February 2017                                                                                            Order Record History
 ,,~iei'.J~ N.~~;:.·:..                                              :-;::::,Fatlerlti!l i                 ·:~~ Record tJ.              <·'.A~s$ioi:i·pate                    ·:O~.~f_Birth_,:   f       $~ ,;.•·
 FREEMAN, DONELL                                                    26184                                                                      06/30/2015                     12/25/1975             I    M
    Al\er:ales:       NOKnown Al!ergies

 Diaanos!s: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
~:p@erN"o::i'.~~~p-~~~-<~!J~i9inel:;$-t~~f.'.'.'.~rriPf~e~:~q-~qfl,\~_~:5~:•.f;iil.]1;t?;i~'-;'.,iY~~~~-;~J _J;,'~:A!:irili.oi{;_t$!~.c1ri·f'.~'tt.3'~,1!,~-~~P/;] :,_s~D(ft_~i~e::''_:9~i112~~?/.~_;+1 ti :;s_1ar:t-p§fe~ :~;'.9?.'_~1,:zqrrA~~P:l-:~.a oa~_.,,.:;;.o;,qs,?9_1,.7,~=~~:~
 hydrocortisone 1 % Topical Ointment give 1 ointment TOP BID AM & HS for 10 days, - Ordering Provider: Kabeerudctin Hashmi
    Time         Type                                                           7        8           9       10       11   12     13      14      15       16      17         18       19       20        21        22        23    24            26     27     28      29       30      31
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   PRN
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 albuterol sulfate 2.5 mg/3 ml (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days, - Ordenng Provider: Kabeeruddin Hashmi
    Time_ Type-                             2      3       4   s       6        7        8           9       10       11   12     13      14      15       16      17         18       19       20        21        22        23    24    25      26     27     28      29        30     31

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\'9ij!~.Np~/!B?ffl~-f~~t:4-:,\:qi;i;fefM'efi'i'.fP9l'OPl~WP~~~t?.0:1.'.?.3·)1~~;;;:,·;i/;·;\'.1g;Y,{!!l{n~~Pr;#;jqirJ:~t~difi!ij~¢1:e~;,_1'g.;9_?(,1.~lf,?,!1.7.j~.~@};Ji'.$'~~'tnWga~:,dW.1¥2:0.1}}.i.:~."1:~ ).·~:$!~rt:o.at~_~'.:~·J?!.g,1=120,3_~.-~1~;~~:fJ5t1,f:~~e::::·:1p_~1.12:917.;J:?~~--'
                                                                                                                                                                                                                          0




 Tylenol (Acetaminophen) 325 mg tabl~t give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider: Kabeeruddin Hashmi
    Tlme         Type               1       2      3       4   s       s        7        a           s       10       11   12     13      14      15      16       17          18      19       20        21        22        23    24    2s      26     27     2a      29       30      31

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 Patient Status Changes
 Patient Status                                  OescrlpUon                                          To/From                                      Da.te



 Pain Assessment
 Date                               Score        Scal,a,           Locatioo                    Reason                       Initials     Interventions                                                          Result                     Follow Up Oatetfme                lnltlals

 Order;




 PRN Effectiveness
 Admln Date                                                                                                                 Follow Up Date                        Result                                                                       ReaSQn                    Initials

 Order:



    i, CORREtT CJ.RE                                                                                                                       Page 1 of2                                                                                                                          01/0512018 18:'lS
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                                     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 368 of 486 PageID: 1047

Monmouth Adult (MCCI)                                                                                             February 2017                                               Order Record History
.. , ~~erit Nari·f~;.. '...,-                           _i:_:)~~!enf_lo·. -' ·    ::.'.-\:Mf!dR~!!, -    .-,1,:(AdmiSsiorr[;)ate: ..   •.-,Oate":of.Birl.h·: -   l- ~$ex:·:
FREEMAN, DONELL                                         26184                                                     06/30/2015            1212511975                   M
 Alleraies:       No Known Allergfes

 D!acmoslS: Unspecified Majoi Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Notes
OrderNo             Initials    Note Category   Note Date             Item                    Status               Note

 5744942            OB          General         02103/2017 19:26 Tylenol                      Missed               pod lock down
                                                                  (Acetaminophen)
                                                                  32? mg tablet
6140013             CM          Adm!nisVc3tion 02/27/2017 08:00 hydrocortiso11e 1 %            Refused
                                                                  Topical Oinbnent
6140013             OB          Admiili;;tration 02/27/2017 19:00 hydrpcortisone 1 %          Refused
                                                                      Topical Otntrnent

 Initials Lea end
Initials       Use-r
 CM            McCormack, Christine, LPN
cs             Smalls, ·Cherie, LPN
 DP            Perrin, Debra, LPN
 DR            Reyes, Doris, LPN
 KM            McCray, Karnish a, LPN
 KM            Muller, Karen·, LPN
 LK            Krantz, Laura, LPN
 08            Sizer, Orfa
RC             ~Tdin, Robert, .LPN
VC             Cotroneo, Vercmica, LPN


Order .b.dministration_ Site,;
Abbreviation           Site




   s C. ORRECT. CAiiE                                                                                          Page2of2                                                                  01/05/2018 18;16
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                                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 369 of 486 PageID: 1048

Monmouth Adult (MCCI)                                                                                                                                                 March 2017                                                                                                                     Order Record History
 ._:J¾rttent.:}Jam~:;_::;,i_;,:i<{ :;;i/r'.t~;:,~_,.,::.... .:· ·                                                    • ·: fyled J~.e'Cl)ril $1               ~~..i'rriissib_n _Date·_, ..;.: ....   :k ,;oate:af,Bii!:r(' ::~: :~-
  FREEMAN, DONELl..                                                                                                                                                06/30/2015                       I   12/25/1975           I       M
   Alleioies: No· Known·A_Uergles


  o;aano,~; Unspecified Major Pepression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
  Medication Orders
 :.O@~i~,~~~X-:.,_,~:~~-~~'S~~~j[AAffl~!~~~-;OgJ03J_:wg;,:~:a.~~?:\;_~;i'.-.'.ij~\:<;'/,~.W,~.~h;,:J;·:@:ij:A(!ifi_iA.iste'i~:;:;:,:_,p'.¥.~{@1,?,.::O§;QQ';,J :'SU:b.!m.t'-P,8:te:,: 9.2/~f2..9, ff~O~_;'y_l::'))S1aiJ:Peltf:!: r,:-~2(~1/~0_17,:;~,j ):nd;0_eti;i_: -. ::,.1?-3~qJ(?~,lJ 8:5,9
   hydrocortlsone 1 % TopicarOintment; give 1 ointment TOP BID AM & HS for 10 days. - Ordering Provider: Kabeeruddin Hashmi
   Time  Type
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  08:00 - ~

  19:00
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                                                                                                            ii\!k'lif!ij\ll_.\@l\\j!!'i.'filil /Ji!"1J ,',t)iift iii¼4;ilil'..i!11,~L;'.;;,i[~fil:R}cJiJ;;z;c_;:1~]1'lliif:if:i:1Jilet,1ME'~:,,,,-,,:f:jl,t't,qrl£i,ml2''i'dl[0@1'f¾W!_@H:!itficcq:t,:ctj
                                                                                                                                                       "i'i</bfu !illiii, il!it~ 1'iii~W "}""' ~ts@ •·t!idi! ill,(,~: ~.§'} ;;&,.,t :;;ii!;~s\!Y,\i)iS$\ i:'B'ijis,?Jj:l.~~j ,-:£l'!'.: ~1,;;,,;,};l'l8it
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:~bt?A¢i::N~_i.:~~~~:i,W)'ii~'@'~~~Wii;;E:G:Q~pJ~~~~~-9:t~~fl.;~M.i9.$:t:;:~!iiiN~fi·:Y~~~~-117:tr$JBS~~Mtmi:\~f.ejj?tj~:';;:;:rwwO!?C11iE'.9~:~0.:;/l·:--$Atmilt:?4tt.¢;_:;,J?f~Cll_?R.U·,P-~':fi.:1::~.f(D'a.fe.:_:,: P31.2_Q1:?:f>~T:1s.nq~j;:_~~--pa,t~:-~,- ,p~~~7:··~s:SS
  hydrocortisone 1                  % Topical Ointment give 30' m)l!iliter TOP BID AM & HS for 10 days. - Ordering Provider.: Kabeeruddin Hashmi
   Time
  08;00
                Type
               [nit
                                                2        3
                                                                      •          5    6       7                9      10         11        12:        13-   14         15          16          17       18     19
                                    i~!!i1lli:JW.lill'JlJ!'2J.ii]t,lll'iliiij,lliilili:l11!!'i'l!t]i&JIIJ@fJ!J'flik1~1~1i.li!i;li!i.i!J\illlit:li]i"".~''l""',t;~,,.,vx#..ii:ljiiiij,i,i~'.~<j•8f.ibsf,;1 Q§',1'
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1 19:00        !nit              ~4N:%'1%Jf,iieH1lliJ1~~1{~141~1.\!.fJ@.tW£!fill-~1~1¢JfFJi:f!l ~~.½§ ~[~;i{tlli!/J~f.ffi}li\~,P~icJ1~112ii1£i@1~~1~Alifu1!'.\fi.f1~                                                    so-
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       PRN
:;PW!~f,_Nof~~~i}:lJPF,f'.~t~-~H;~~Sed\dlfl.1 _8t.29~{?~i'9?~r:,?t~:x~:,;1;,wr.!t[¥,P;ii;Y,JJ3¥f~ifrrj)_fy$_1Efr£i.c!;->:'J?@>V_2.q,~ §,'- 19_;g~-,, ·,t :$~:0!)1~.'P~.te-, 1-2f13l20":16 ' '14:29 I start Date. :-·,Vl!.2:z.mP:~ §. ,_4;90_'1 )~rid,'.l;)al¢:, })_ey20/~,?~ V.· .F~ :5?
  albuterol sulfate 2·.s mg/3                       ml {0.083 %) scilution for nebulization: give 1 milHllter INH Every 3 hours PRN for 1 BO days. - Ordering                                                                        Provider: Kabeeruddin Hashmi
   Time         Type,                           2        3            4          5    6       7       8        9      10        1i         12         13    141-       15          16         17        18     19       20           21        22    23           24          25           26            27            28       29        30        31
 LPRN_j_                      _l           I         I          I         _L__J       ~ L___l_                     L.... I         ___L           I   ~            J~~~                              _L_ I          L            I        _J        I _ L_L                            L_ I                   _L            I    _J __L_                   I
,i_~ef'Nd~(,~#t~JM~:i\J:i,C\@e.l:)~!i_;~;:i¢!S#!Pi~t~iNQ~~~~11::,J8J09}'.~;;~.;,,;;_;J~%~~t'.l~>:.,'j:;-;tasif;~rfi!~.isf~reo~:,:.~.-,:P,?H:,?1;2QF::•;19@1~~;J:$~.b.i=niFQat~;::-'.1f!.~~1~1$:'..et~:2s.,p$birt)furte~-- :}2/2~!?.9.f?/l~:{}~"ij. -~-~pate:--· ::~"ff..'1B_:59_
 Tylenol (Acetaminpphen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider: Kabeerudd!n Hashmi
                                                                                                                                                                                                                                                                                                         V                      W         W
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 Patient Status Chanses
  Pati1mtStatus                                       Daseription                                              To/From                                                Dale




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 ...!1.11.~0L\/T'IO'NS
                                                                                                                                                             Page 1 of 3                                                                                                                                                                01/05/201818:16




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                                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 370 of 486 PageID: 1049

Monmouth Adult (MCCI)                                                                                                                         March 2017                                                                 Order Record History
,::Pil'ltiel']t t':l.ar:ne::., ..- ,'-'.--                             ,,·/<,.J:>?ne.n1~P             . zM~J~ecord #.,:.              :.AdiriiS~i.';''!'!' p_ate-.::::,;::' LiB.__~e·otBirth   _sex:
 FREEMAN, DONELI,.                                                    281.84                                                               0613012015                           12/25/1975       M
 AUe11:1ies:         No Known Allergies

 rnai:mosis: Unspecified Major Depression; Recurr~n.t Episode1 Alcohol Abuse, Asthma Not otherwise Specified, Abnormality of Gait


Pain Assessrnent
Date                                 Scare          Scale           1..-0caticm                  Reason               Initial$       lnterventlons                                                     Result   Follow Up oatetrme     Lnitials

Or<fer:




PRN Effectiveness
Admin·.Date                                                                                                           fof(ow     U:e_ Date                     Result                                           Reason               Initials

Order:.




Notes
OrderNo                 Initials             Note Categoty.   Note Data               Item                         Status                    Nata

6140013                 LO               Administration       0~0212017 08:0Q hydrocortisone 1 %                   Released
                                                                                      Topical _Ointment
§302332                 DR                   Administration 03/22/20'17 19:00 hydro cortisone 1 %                  Refused
                                                                              Topical Ointment
6302332                 OB                   Administration 03/24/2017 19:00 hydrocortisone 1 %                    Refused
                                                                               Topical Ointment
6302332                 OB               Administration       03/27/2017 19:00 hydrocortisone 1 %                  Refused
                                                                               Topical Ointment
6302332                 OB               Administration       03/28/2017 19:00 hydrocortisone 1 %                  Refused
                                                                               Topical Ointment

 Initials Legend
initials
cs                """
                  Smalls, Ch8rie, LPN                                                   MS          Sihombing, Michael, LPN
DP                Perrin, Debra, LPN                                                        OB      Biz.er, Orfa
DR                Reyes-·, Doiis, LPN
JEN               Nenez, John, LPN
lAM               Maldonado, Laura, LPN
 LO               Divita, Lawrence, LPN
 LJ               Jefferson, lanee, LPN
 LK               Krantz, ~ura., LPN


  -:\1 CORRECT CARE
..-..SQlUTJONS
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                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 371 of 486 PageID: 1050

Monmouth Adult {MCCI)                                                                                             March 2017                                                         Order Record History
'.P..~\ent:t-~al)'le~:. :~:_i:,:i                  :. /;f_~~\O, >)    . ~: ~)~iad-R~cofd #. _:,-:·..   :-.J,, :;~!S~_ion_pate •   ,-.,Qafe:Of81rth,: --:~ -:SeXf·, 1-
FREEMAN, DONELL                                    26184                                                        06/30/2015         12/25/1975           f M
 AUer<1ies:       No Known Allergies

 Dia,mosts: Unspeqffieq·Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



Q_rder Administration Si~
Abbreviatlo_!I _       Site
AFAR                   Affected Areas




                                                                                                                                                                                                         0H0S/20161$:16
 .J.:J'{AR!~1-'tA1H                                                                                          Page 3 of3




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                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 372 of 486 PageID: 1051

Monmouth Adult (MCCI)                                                                                                                                            April 2017                                                                                        Order Record History
,•·P.~1-~,N~e~·....     ,a·,:.:; i-?ii                                        ·.Patleht 10:':'. :·            __.- .'/·MM Reiord ~: ..                •. Ai:l!'rliSSion-~.i:1.t~·             :Pate··or Birth·,_-- '_)·._,_sex:
FREEMAN, PONELL                                                       26184                                                                                 06/3012015                        12/25/1975 / M
 Allerqtes:        No KtJOWn Alle'fgies

 Diaqnosls: Unspecified Major-Depress[on, Recurrent Episode, A!cahol Abuse, Asthma Not Othen,vise Specified, Abnormality of Gait


Discontinued
 Medicatipn Q.rders
     PRN
\:9F~6~i•(:;~q~~'.~i:\t::§·~ws~,::~.!~aj:~~~i.Q;}:,":,3;:f;~}'!_:.":"I:.:\Mm~~;,'0:ill§~~1~fi4~G:X:,1.~V~.9~!3;,J~~-;~:.:ffl§iit:Pale_:_:::~?f:i;3f:2,0,1F)_~~:29:I ::·$1at1,iPhl~_:,::c;,1~2120_~-~y1~;.oR;I :Erid'.-oat_~~:::__:~2Pl.tD:~:i'.-'.'1~:§~
albu~erol sulfate 2.5 mg/3 ml (D.063 %) solution ·far .nebuliz.ation: giVe 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
 Tlme      l'.ype              1         2       3       4       5        6           7        a          9       10       11       12       13       14         15         16          17     1a       19       20        21       22         23   24   25   26    27     28     29       30     31
I PRN I                  I         I         I       I       I        I          I         I         I        I        I        I        I        I          I          I           I        ~\ii!!i~~fi\'li,~&:'t/Jlb'#.J"li/dl',f,iiii::Jl&J6¥/::,iiil\]).~;,ifulrnc:c:Q~§e::/¥2>i;~i1;S;'tiJ;;tfijsl


 Patient Status t;hanges
Patient Status                               De3CtipliQll                                                 To/From                                                OatB

Discharge_d                                  Discharged                                                                                                           04/17/2017 11:12

Pain Assessment
Date                           Score         Seale                   l.ocatton                           Reason                      lnitfa!s         lnteivent!ons                                                             Result                    Follow Up Datetime           lnrtlais

Order:




 PRN Effectiveness
Admin Date                                                                                                                          Follow Up Date                                  Result                                                                Reason                   lnltla!s

Order.




 Notes
OrderNo             Initials       Note Category         Note Date                        lwm                                   Status                       Note




 Initials Legend
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   ~. CORRECT CARE
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                                                                                                                                                        Page1 of2                                                                                                                        01/05/201818:16




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                                 Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 373 of 486 PageID: 1052

Monmouth Adult (MCCI)                                                                                 April 2017                                                Order Record History

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FREEIVI.O,N, DONEl,.L                                                                              06/30/2015             12/25/1975           I    M
  AIMirQ!es:       NO Known Allef9ie5

 DlaQnos1s: Lfospecified Major Dspress"ion, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



 Order Administration Site_s_
 Abbreviati_pn           Sit&




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                                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 374 of 486 PageID: 1053

                                                                                                                                                                                    May 2017                                                                                                       Order Record History
        ,.Patle.llt.N~me:·             :,·,1·.- •                                             ,·. :. P.atier!tto::- ,.,            . ,_,,,_Med R¢ci,i-d #.                  M~~1~!1' Date .                    .. :J~~te::;:f~irtn ·,-~-;
           Al!erclies:

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            Time           Type                          2       3       4         5            6             7       8        9       10       it       12       13       14       15         16         17        18       19       20       21        22       23       24       25        26       27       28       29        30        31
       I               I                I           _l       I       I         I          I               I       I       I        I        I        I        I        I        I          I         I          I        I        I        I         I        I        I        I        _l        I        I        I         I         I        I




           Patient Status Changes
           Patient Status                                    Descrlptlon                                                       To/From                                              Date



           Pain Asse.ssment
           Date                              Score           Scala                     Location                               Reason                      Initials         Interventions                                                            Result                           Follow Up Date'tlme                      Initials

           Order:




           PRN Effectiveness
        Admin Date                                                                                                                                        Follow Up Date                                 Result                                                                      Reason                              Initials

           Order:




           Notes
        OtdarNo                   Initials          Note Category            Note Date-                           Item                               Status                     Note




           Initials Legend
           IJ1itials        !J~r



        Prder A\lministration Sites
           Abb.revlation            Site




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                                                   Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 375 of 486 PageID: 1054

                                                                                                                                             June 2017                                                                                      Order Record History
  ,:)?:i:i't.ii;int_l'J~me:,,                                            J;-·f f'"¢JeDtJD~>.::-            Med~/o,µ_ -              )'.idi:ti.i,ssioq:D.ate :'-·         ; Pa!MfSlcto .         1- ,§ex, ,


       Alleroies:


      Diacinosis:



       Orders

  'o~~f::,,=,;_fcIC'ntifl!1;1iratur,y.•,~;~,~--;-.,·,,,,,:~'.Ft,''''0"'>'-''{:-T-::,~~~ -~0~_,··:•.:;-~.:c·:\:ii: ,vy,~lfl~r~~-;-
,-1                                                                                                                                                                'hq}\Sybm~'@te:-::·; ...,·                \" I'll!anp..f~:c'             :"''' :_f:Eiiif',r,i,'!e,•:·

       Time       Typ_e                        2     3     4       5        6       7        8     9   10     11     12      13     14       15        16          17      18      19      20       21       22    23    24       25   26       27       28       29          30              31
                 I                                                                                                                                                                                                                                                                      ~


      Patient Status Changes
      Patient Status                               Description                                     To/From                                  Dato



      Pain Assessment
      Date                             Score       Scale               Location                   Reason              Initials:   tnrerventions                                                          Result                    Fonow Up Datettme                   Initials

  Order.




      PRN Effectiveness
  Admin Date                                                                                                          Follow U.e_ Date                         Result                                                              Reason                          lnffials

      Order.




  Notes
      OrtierNo            lnitia!S       Neta Category         Note Date                Item                       status                Note




      Initials Legend
      Initial~       User




      Order Administration Site~
  jl..bPreviation               Slt&



       r,   CORRECT CARE
  ....d».,:30LV~IOlli
                                                                                                                                    Page1 of1                                                                                                                              Oi/05/2018 18:16




                                                                                                                                                                                                                                                                                                                                     !"
                                                                                                                                                                                                                                                     MCCI MED RECORDS 369
                                                                                                                                                                                                              ·-·'~----·-·;-.--·-                                                               ..... ,.,.··,,:,:.- -
                                                                                                                                                                                                                                                                     . .. ,·.,::...,:,:.,.-,_:;.,                       -   . ~~,.
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 376 of 486 PageID: 1055




                                                              MCCI MED RECORDS 370
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 377 of 486 PageID: 1056




   Monmouth County
   Monmouth Adult {MCCJ)                              Infirmary Admission Record
   1 waterworkS road
   Freehold, NJ07128
   P;::tient Msme                  Peh'e-nt Number              Booking Numbsr              Birth Dote     Dele Of Service
   0OflELL FREE:MMJ                26'(84                       J279258                     12/2611975     6)3012016
                                Admission to be completed by person receiving patient in infirmary

        Date: 6/30/2015                              Time:4pm

        Admitting Diagnosis:
         s/i

    Patient Problems.·
    1   Observed                                                                                  Confirmed By
    IDa/e             Category Type                      Problem
    !
                                                                h /Ab
    I06-30-2015       Acute
                                 PSYCH: Substance Al
                                 Abuse                     co o           use
    I06-30-2015       Chronic    RESP: Asthma
                                 PSYCH:
                                                         Asthma Not Otherwise Specified
                                                         Unspecified Major Depression,                                            I
    ~6-30-2015 Acute             Depression              Recurrent Episode                                                      .J
   I Vital Signs
        Time4pm

    Patient Vitals:
        Observed Blood                                                           Pulse Ox      Weight      BM/
                                      Pulse     Resp. Rate Temp
        Date     Pressure
        06-30-
        2015                                     18              98.00
        04:00 PM 106161               87
        J=..ST.. - - - - - - - - - - - - - - - - - - - - - - - - -
    Known Allergies: List and describe reaction
        Pailent Allergies:
                       -·············-··-··--------------------
        Observed
        Date          Type
        _()6--30-2015 Al/ergv Items
                                                      Allergy
                                                      No Known Allel'gie§_ __ - · - · - - - - - - - - - - -              ___J
                                                                                                                                     I
         Emotional Status:        GZl Relaxed GZl CooperaUve         □ Withdrawn     D Openly Anxious     □ Uncooperative


         Impairment
         Hearing Impairment:      GZI None    □ Decreased □ Deaf □ Hearing Aid


                                      DecreasedD RI □ Lt
                                                                                                                                           I
                                         Deaf D Rt D Lt
                                   Hearing Aid □ Rt O Lt




                                                                                                                             Pag~ I of J




                                                                                                             MCCI MED RECORDS 371
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 378 of 486 PageID: 1057




    Mtiomouth County
    Monmouth AduJt(MCClf                                 Infirmary Admission Record
    1 waterworks ronrJ
    Fnu?hoJd, NJ0'1'128
    Patient Name                       Petfen( ,Vumber             Booking Number            Birth Date    Dale Of Service
    DDrlELL FREEMA~J                   261&4                       3279258                   1212511975    613-01'2015



     Vision:                       E21   None □ Glasses       D    Contacts   D     Cataracts □ Artincia/ Eye □ Glaucoma
     Communication:                @ Understands English           O   Does not understand English
     Drug or Alcohol Use:          e/ol>, crack cocaine

     Skin Assessment
     Presence of lesions:          ®     No O Yes, describe:
                       Describe:
                                                                                                                                      i
                                                                                                                                      1,
     Color·                        brown
     Temperature:                  E2l Wam1 0 Dry □ Cool               □ Moist

     Edema                         @ No O Yes, describe:
     Describe:

           Fingemails: Color: pink
               CapAlary Refill: less f/Jen 3 seconds
                       Condition: stable
               Toenails: Color. clear
                       Condition: stable

     Physical Assessment:
                   Lung Sounds: clear
                         Pulses: regular
        Abdominal Palpation: soft non tender
                   Heart Sounds: U. T.A.
               Bowel Sounds: positive all 4 quads

     Nutrition Assessment:
     Last Intake:
           Food (Datemme): 6/30/15 2pm
           Fluid (Datemme): 6130115 2pm
     Recent Weight
     change:
                                   O     Yes, Increase    O   Yes, Decrease @ No

                        Reason:

     Difficulty Swallowing:        0 Yes, describe        ®   No

     Special Diet:                 0     Yes, describe @ No

     Feeding Tube:                 0 Yes, Type & feeding schedule (!'!. No



                                                                                                                        Page 2 of J




                                                                                                            MCCI MED RECORDS 372
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 379 of 486 PageID: 1058




    Monmouth Coun\j'
    Monmouth Adult (MCCI)                                  Infirmary Admission Record
    1 waterworks road
    Froefm/d, NJ07728
    P,'>tient Name                        Patient Number          Booki{lf] Number       Birth Dele         Deie Of service
    OONELL FREEMAN                        26184                   J.z79268               121~5/1975         S/30/2015

     Feeding Tube:                •   tf'Yes,-fjip,,-& feeding scliediiie-i!fNo' -- --• __ , ·- ._, ----·
               Type & feeding
                    schedule

     Elimination Assessment
     Last Bowel Movement: 6/30115 am
                  Constipation:       0     Yes ® No
                        Diarrhea:     0     Yes ® No

     Urine:
                    Frequency: 3 x a day
                        Urgency: O Yes @ No
                     Discharge: O Yes @ No
                        Burning:      0 Yes ~l No

     Potential for Injury:
              Steady on Feet ~) Yes O No
                        Descrtbe
               Aids to Mobility:      E2l   None □ Cane D Crutches D Walker D Wheelchair D Prosthesis
                   Recent Fall: 0 Yes @ No
                        Descrtbe




     E-Slgned by Lawrence Divila n-O<i/30/2015 04:35 PM EST                                                              Page 3 of 3




                                                                                                             MCCI MED RECORDS 373
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 380 of 486 PageID: 1059




    Monmollih County                                            Infirmary Progress Notes
    Monmouth Adult (MGCJ)
                                                                    FOR INFIRMARY USE ONLY
    1 Wdterworlrs road
    Freehold, NJD1728
                                                                                                                                 Date Of service
                                                                                                                                 7'/2712015


                                                                                                                  7 r1.i201S 8:00'.00 7/31/2015 7:59:00
    thiamine HCI 100 mg tabl-et                                     1.00 tablet   Morimouth Facility: Q AM
                                                                                                                  AM                  AM
    albuterol sulfate 2,5 mg.B ml {0.033 %) rnlutlon for
    nehullza.Uon
                                                                    1.00
                                                                    milliliter
                                                                                  Monmouth Fadl!ty: Evi!r/ 3
                                                                                  hours
                                                                                                                  7/t/2015 2:00:oo PM    !;J
                                                                                                                                         2812015 59
                                                                                                                                                  l: :00

                                                                                                                  7/15/2015 8:00:00      l0/13/2015 7:59:00
    Zoloft \Sertrallne) 100 mg tablet                               1.50 tablet   l\•1onmoutl1 Facility: Q AM
                                                                                                                  AM                     AM                   i,.
     PaUent Problems:
    ,---·-~·-···   ... ·-         -----------··--·-----------------------
       Observed
    I, Date                 Category     Type                       Problem                                      Confirmed By
    1


     06-30-2015 AC' ~e
    '1                    PSYCH: SubS/ance                          A 'coho! Abuse
                   "''    Abuse                                      ''
    I06-30-2015 Chronic   RESP: Asthma                              Asthma Nol Otherwise Specified
    !06-JQ_
            2015 Acute    PSYCH:                                    Unspecified Major Depression,  Janice Buttler
    '-                  __Q,pre,1,s1011                             Recurrent §pisode _
    Patient Allergies:
    iObserved T
    /Date        ype                                          Allergy
    i06-30-2015 Allergy_ items
         D   Vital Signs Taken
                                                           .. No Known Allergies ....                                                                         I'·
    Patient Vitals:
         Observed           Blood          .   ..                                                                                                             Ii
                                               Pulse       Resp, Rate Temp                   Pulse Ox           Weight          BM/                            I
         Date               Pressure
                                                                                                                                                               ''
                Added 07/27/2QJ502:12PMESTbykFacMna LPN                    f----------------------~
         S)NO complaints
         0) e&a. med compliant, po intake adequate,
         A) on snu due to mh observailon.
         P) cleared by mh and transfered to gp in stable condition.
         pt education was given.




         E•Sigried by Kathryn Faekina 11 07/27/2015 02: 12 PM EST                                                                              Page t nf !




                                                                                                                                   MCCI MED RECORDS 374
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 381 of 486 PageID: 1060




    Monmouth County                                            Infirmary Progress Notes
    Monmouth Adult (MCCV
    1 wat.erworlfs road
                                                                 FOR INFIRMARY USE ONLY
    Freeh(}/r/ 1 NJD7728




                                                                                                            7/1/2015 3:00!00    7/31/2015 7:59:(]0
    thiamln<': HCI WO.mg bblet                                   LOO tablet    Monmouth Filcility: Q AM
                                                                                                            .8.M                AM
    albuterol rnlfate 2.5 mg;3 ml (OJJ33 %) solution for         1.00          Monmouth Facmty: Every 3     7/1/2015 2:00:00 PM !!?8/2015 1:59:00
    nebulization                                                 milliliter    hour:.
                                                                                                            7/15/2015 8\00:00   10/13/2015 7:59:00
    Zo!oft {Sertrallne) WO mg tablet                             1,50 tablet   Monmouth Facilit-1: Q AM
                                                                                                            AM                  AM
    Patient Problems:
     Observed
    ! Date       Catego1y Type                                   Problem                                   Confin11ed By
    1
    j 06-30-2015 Acute                 ~r::sc:-1: Substance Alcohol Abuse
    \06-30-2015 Chronic                RESP: Asthma               Asthma Not Otherwise Specified                                              i

    '
    \06-30-2015
    L._..__
                Acute
                    _____          _
                                       PSYCH:
                                       Depression
                                                                  Unspecified Major Depress(on,
                                                                .J3-~.cur_re_n_t_E~p_i_s_o_d_e_____
                                                                                                    Janice Buttler                        j          '
    Patient Allergies:

    I         ~erved       Type                            Allergy                                                                                   I
                  30-2015 Allergy Items.                   No Known Allergies
     D Vital Signs Taken
    Pan·ent Wais:
    IObsetved              Blood
                                           Pulse        Resp. Rate Temp                  Pulse Ox         Weight        BM/
    i Dale

              -
                           Pressure

                    Adqed 071271201512:35AM EST by dgranafLPN f - - - - - - - - - - - - - - - - - - - - - - - - - - ,
                                                                                                                                                     i
                                                                                                                                                     !_.

        Checked 011 I/M during rounds

        No complaints at this time.
        1/M is sleeping in bed.
        l!M being monitored i11 Infirmary due to MH concerns.
        Continue to monfiur.                                                                                                                         L




      6-Signecl by Darren Gn:inal n 07/27/2015. 12:35 AM EST                                                                          Pngc l of!




                                                                                                                          MCCI MED RECORDS 375
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    Monmouth County                                             Infirmary Progress Notes
    Monmouth Adult (MCCi)
                                                                  FOR INFIRMARY USE Oil LY
    1 wat.uworks road
    Freehold, MJ07728




                                                                                                                 7/1)2015 8:00:0o     7/31{2:015 7'.59:DO
    thiamine HCI 100 mg tablet                                     1,00 tablet Monmouth Fadlfu/: Q AM
                                                                                                                 Af,A                 AM
    albuterol sulfate 2.5 mg/3 fill (0.083 %) !;O!utlon 1or        1.00          Monmouth f11cility: Every3      7/1_/2015 Z:00:00 PM ~;~28/20151:59:00
    nebull:tation                                                  mll!illter    hOurs
                                                                                                                 7/15-'2015 8:00:00   10/13i2015 7:59:00
    Zofoft {~ertraline) 100 mg tablet                              1.50 tablet   Monmouth Facmty: Q AM
                                                                                                                 AM                   Ml

    Patient Problems:
     Observed
                       Catego,y Type                              Problem                                       Confirmed By
     Date
     06-30-2015 Acute                   PSYCH: Substance Al               h I Ab
                                        Abuse                        co o          use
     06-30-2015 Chronic                 RESP: Asthma              Asthma Not DtheMise Specified
                                        PSYCH:                    Unspecified Major Depression,
     06-30-20·15 Acute                                                                                          Janice Buttler
                                        Depression                Recurrent Episode
    Patient Allergies:

    [g~terved          Type                                    Allergy
    l06-30-2015 Allergy)lems_ . .                              No Known Allergies
     i;;J Vital Signs Taken
    Patient Wais:
     Observed Blood
                                          Pulse         Resp. Rate Temp                   Pulse Ox            Weight         BM/
     Date            Pressure
     07-26-
     2015
     0.9:23 PM 104/67 62    16                                            98.30
    I~ST._ _ _ _ _ _ _ _ __

             Added 07126/2015 09:215 PM EST by csmallsLPN                 f-----------------------~
        S- No medical or mental heaffh complaints offered
        0- Inmate smihhg and joking with staff, no self inju,y noted or reported. Po intake adequate
        A- Inmate housed in the 1nfirma,y secondary to mh observation
        P- Continue to monftor




      E-Si1Jm.:d by Cherie Smalls n 07/2ti/201S 09:25 PM EST                                                                                Pilge 1 of!




                                                                                                                                MCCI MED RECORDS 376
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 383 of 486 PageID: 1062




    Monmouth County                                                 Infirmary Progress Notes
    Monmouth Adult (MCGI)
                                                                     FOR INFIRMARY USE ONLY
    1 wate/works road
    Fff}.Qhoh::I, NJD7728
    Pa/ientName
    DOI-JELL FREEMAN


                                                                                                                 1,1112015 a:oo:oo    7131;2d1s 7:59:oo
    thiamine HO 100 mgtab!~t                                          LOO tablet    Monmouth Facility: Q Al'v1
                                                                                                                 AM                   AM
    albuterol su11ate 2,5 mg.13 ml (0,083 %) solutton for             LOO           Monmouth Facility: Every 3   7/1/2015 2:00:00 PM ~~)28120lS l:S 9 :00
    m:bull-zatton                                                     mlll\Ht~r     hours
                                                                                                                  7115/2015 8:00:00   10/13/2015 7:59:00
    Zoloft (S:e1tralln~) 100 mg tablet                                1.50 tablet   Monmouth f.acllitf, Q AM
                                                                                                                  AM                  AM
    Patient Problems:
     ObServed                                 ········-·-·-·-----
     Date              Category Type                                  Problem                                    Confirmed By
     06-30-2015 Acute      PSYCH: Substance Al h I Ab
                           Abuse               co o use
     06-30-2015 Chronic    RESP: Asthma      Asthma Not Otherwise Specified
     06 _30_2015 Acute ____PSYC/-1:          Unspecified Major Depression, J
                           Depression                                              8 ti/_e!
                                          __ R,;r;_,11renl Ecp1~oqe __________a~,c~!J_
    Patient Allergies:
     Observed    Ti                                    Allergy
     Date         ype.
     _G§-3Q-2015 All!'[fJJ')l".111'=....-----N=o~K;~n~o~w~n~A~l/e~c~g~ie~s_ _ _ _ _ _ _ _ _ __
     □   Vital Signs Taken
    Patient Vitals:
    lg!~erved-         ~~~~~ure          ---~~;~·-· R;~;~~t~·;;~; · ---~u~s~-~~--we,~hi - ·                                   ~~------·--1
    L .~ - - - - ~ ~ ~ - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -                                                           __   J

             Added 071').6120.1512:0BPMEST"bycsmal(JLPN·>----------------------~

      S- Na medical or mental health complaints offered
      0- Inmate observed in the day space interacting with others. Po intake adequate, No self injury noted or
      reported.
      A-Housed in the infirmary seconda1yto mental health observation
      P- Continue to monitor per Ml-I orders




                                                                                                                                                            j.
                                                                                                                                                            L




     E-8tgncU by Cherie Smalls n 07n6!20l:i 12:08 PM EST                                                                                    P,1ge l of 1




                                                                                                                                 MCCI MED RECORDS 377
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 384 of 486 PageID: 1063




    Monmouth County                                              Infirmary Progress Notes
    Monmouth Adult (MGCJ)
                                                                  FOR INFIRMARY USE OtJLY
    1 waterworks road
    Freehold• N.J07T28




                                                                                                                  7/1/2015 8:00:00   7/31;2015 7:59:00
    thiamin.: HCI 100 mg tablet                                    1.00 tablet   Monmouth F-.idlity: Q AM
                                                                                                                  AM                 AM
                                                                                                                                                          i
                                                                                                                                                          I
    albuterol sulfate 2.S mg/3 ml (t}.083 %) rn!ution for          LOO           Monm<>Uth F3cilit>;: Every 3     7/1/2015 2:00:00 PM ~!~28/20151:59:00   '.
    nebulizatlon                                                   rnillilitet   h<lurs
                                                                                                                  7/15/20158:00;00   10/13/2015 7:59;00
    Zoloft {5ertr"aHne} 100 mg tablet                              1.50 tablet   Monmouth Fat!llty: Q AM
                                                                                                                  AM                 AM
    Patient Problems:
     iObse1ved
     [Date        Category Type             Problem                        Confirmed By
    I                      PSYCH: Substance Al I /Ab
    ; 06-30-2015 Acute     Abuse              co 10  use
    '1
    , 06-30..2015 Chronic  RESP: Asl/1ma    Asthma Not 0/henvise Specified
    I
    i  06-30-2015 Acute    PSYCH:           Unspecmed Major Depression, Janice Buttler
                                        p~p(e_~ion                 Recurrent Episode                    -·--·-"------ ___ -·-···- •..---~
    Patient A flergies:
        Observe-d~_T_ _ __
    IDate
    I
                    ype                                      Allergy
    I Q6-30..2015       Al/ergv Items                       .No. Known Alle!9.~ie~s______
        D   Vital Signs Taken
    Pauent Vitals:
    jObserved            Blood
                                             Pulse        Resp. Rate Temp                   Pulse Ox            Weight        BM/
    LQi'~                Pressure                                                                                                               .J
               Added07t26/2015J2:26AMEST bydgranatLPN                   f-----------------------~
         Observed 1/M during rounds

        No complaints/No evidence of ag11ation at this time.

         /IM sleeping in bed

         1/M being monitored for MH reasons.
         Continue to monitor until cleared by MH staff.




        E-Signell by Darren Granat n 0712ti/20l5 12:26 AM ES'r




                                                                                                                                 MCCI MED RECORDS 378
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   Monmouth County                                               Infirmary Progress Notes
   Monmouth Adult (MCCIJ                                           FOR INFIRMARY USE ONLY
   1 waterworks mud
   freeho/ri, NJD1128
   P{ltient Name                              Patient Number
   DONELl FREEMMJ                             26184


                                                                                                                 111/2015 8!00:00     7/31/2015 7!59:00
    thiamine HO 100 mg tablet                                      LOO tablet Monmouth facility: Q AM            AM                   AM
    albuterol sulfate 2.5 rn9/3 ml (0.033 %) Htlution for           LOO          Monmoutl, Facitify: Every 3     7/1/2015 2:00:00 PM ~;:i28/2015 1:59":00
    nebullzatlon                                                    milliliter   hours
                                                                                                                 7/15/2015 8:00:00    10/13/2{)15 7:59:00
    Zoloft {SerfrallneJ 100 mg tablet                               1.50 tablet Monmouth Facllity: Q AM          AM                   AM

    Patient Problems:
    ~--~-----------------·----··-------····
      Observed                                                              ConmmedBy
                   Category Type             Problem
      Date
      06-30-2015 Acute      PSYCH: Substance Al I I Ab
                            Abuse              co 10   use
    j 06-30-2015 Chronic RESP: Asthma        Asthma Not Otherwise Specified
                            PSYCH:           Unspecified Major Depression,
    i 06-30-2015 Acute
    L_._                    De ression       RecutTent E isode
                                                                            Janice BuM/er

    Patient Allergies:
    r-obServed             ·-·-·-·- ----·--
    J   oate    Type                                            Allergy
    !08-30-2015 Allergy Items                                   No Known Allergies
        RI   Vital Signs Taken
    Patient Vitals:
        Observed Blood                                    Resp. Rate Temp                 Pulse Ox             Weight        BM/
                                              Pulse
        Date     Pressure
        07-25-
        2015
        08:49 PM 136/91                        74          18               98.90
        EST

               Ar!ded 071251'201/i 0B:/J3PMESTbycsma/ls LPN               1----------------------~
         S-No medical or mental health complaints offered
         0- Inmate is calm, quie~ compliant wfth vitals. No self injury noted or reported. Po intake good
         A- In innrmary secondary to mental health observation
         p, Continue to monitor until cleared per MH staff




        £-Signed by C11erie Smnlls. n 07/25/1015 08:53 PM EST                                                                                Page l of 1




                                                                                                                                 MCCI MED RECORDS 379
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 386 of 486 PageID: 1065
                                                                                                                                                          ''




                                                                                                                                                 •
                                                                                                                                            '

                                                                                                                                             •
    Monmouth County                                              Infirmary Progress Notes
    MonmouUt A d11Jt (MGCI)                                        FOR IUflRMARY USE OtllY
    1 waterwork! road                                                                                                                       .         '
    Free.110/d, NJ07128
    PBtlentMome
    DONELL FREEMA»


                                                                                                             11112015 a:oo:oo    1131;201s 7:59:00
    thiamine HO 100 mg tablet                                      1.00 tat;ilet Monmouth·faci!IW: Q· AM     AM                  AM
    albuterol 5ulfate 2,5 mg/3 ml (0,083 %) so1utlon for           1.00         Monmouth Facility: Every 3   7/1/2015 2:00:00 PM ~::i28/20151:59:00
    nebullzation                                                   milliliter   hours
                                                                                                             7/15/2015 8:00100   10/13i2015 7:59\00
    zoiott {.S.ertrallne) 100 mg tablet .                          l.S0 tabh!i Monmouth Fiicrnty: Q AM
                                                                                                              AM                 M-1

     Patient Problems:
            -- - · - - - - - - - - - -
       Obse,ved
                                                                                                                                                               I'
                                                                                                                                                               '
                     Category Type                                 Problem                                   Conff1med By
       Date
                                PSYCH: Substance                   Al h I Ab
      06-30-2015 Acute          Abuse                                co o    use
       06-30-2015 Chronic RESP: Asthma                             Asthma Not Othe1wise Specified
     ' 06-30-2015 Acute ___PSYCH:                                  Unspecified Major Depression, Janice Buttler
    !                           [)_epresslon                       Recurrent Episodcce _ _ _ _ _ _ _ _ _____________ _
     Patient Allergies:
     g~~erved _T_y_p_e__                                     Allergy

         06.30-2015 AlleJgy-"ltece,.,_m._.,s'-----------'-No Known_A,"'lleecr,,,gi-ces.,__ _ _ _ __
      □ Vital Signs Taken
     Patient Vitals:
     1
     [0bserved
      Date
                          Blood
                          Pressure
                                             Pulse         Resp. Rate Temp                        _ _V_ll_e_lg_h_t_ _BM_l_ _
                                                                                           Pulse Ox                                    -_·1
                Added 0712f!l2!)15 o, :06 PM EST bycsma/[s LPN ! - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - .

          S- No medical or mental health complaints offered
          0- Inmate is calm, quiet, and complaint with vitals and meas, po intake good
          A- Housed in the infirmary secondary to men/a/health observation
          P- Continue to monitor until cleared per mental health staff                                                                                             i
                                                                                                                                                                   i:


                                                                                                                                                                   I
                                                                                                                                                                   I
                                                                                                                                                                    I
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          t!-Sign~d by Cherie




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                                                              MCCI MED RECORDS 381
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    Monmouth County
    Monmouth Adnlt (MCCI)
    l Waterworks Road
    Freehold, NE 07728
                                             Mental Healtll Services Treatment Plan
                                             For NON-Acute Mental Health Events                                                                ccs
                                                                                                                                      CORRECT CARE
                                                                                                                                      S O I. t; l        <J Ii 6


      Patient Name                                 Patfcnl Ntwiher           BookingN1m1be1'                    DnteofBMh             Todap's Oatc>
     Freeman, Donell                               Patient Nllmbcr         32792,-"'-58"----~---'---"l"'2/~2Secllc::9:_:_7,::_5___i_.:::81""-7:.::12"'-01o.-5,___-1
    TREATMENT MODALITY:                   IS) Special Needs          D   Group Therapy                 O Individual Therapy
    DIAGNOSIS•
    Depressive Disorder NOS: Alcohol and Cocaine Dependence
    'If patient currently under psychiatric treatment, utili2e diagnoses determined by psychiatric provider,


    focus of Treatment: Remission of depressive symptoms, including those associated with substance abuse.
    Goals: To alleviate depression and improve mood: to develop appropriate coping and relaxation skills; to identify triggers
    to substance use and relapse prevention strategies· to prevent Injury to self or others: to support medication compliance,
    Treatment Interventions to be Utmzed: Monthly contacts with MH staff; visits with psychiatric prescriber ix/3 months
    while prescribed psychotropic medication,
    Start Date of Treatment:              Anticipated Completion Date:

                      N~ I'); For patients prescribed psychotropic medication
                       ,
                      1~v
                                               (Psychiatric Provider initials) _
                                                                                       -w             Psychiatrist shall review plan.
                                                                                        _..,=,,..______ (MHP inilialsl

    Treatment Plan Update: Date of Update:                     Anticipated Completion Date:

    Progress Toward Original Goals:


     Revised Focus of Treatment:

     Treatment Interventions to be Utilized:

     Note: For Patients Enrolled In Spec la I t,leeds Program - Review Treatment Plan Every Six (61 Months and Sign Selow If No
     Update• N""ded, Treatment Plan Shall Be Updated At Least Annually.
     Review Date: _ _ _ _ _ _ _ _ Reviewing staff Signature: _________________
     Review Date:                 Reviewing Staff Signature:
     Review Oate:                 Reviewing Staff Signature:




                                                                              '       ·   Signature•                                              Date
                                                                                  'I agree lo participate in this treatment plan,




2007 Oorr,ac/ Car0-t10LJ1!0011, LLC

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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 389 of 486 PageID: 1068




     Monmouth County
     Monmouth Adult (MCCI)
     1 Waten,•orki;: Ro.ad
     Freehold, NE 07728
                                                Mental Health Services Treatment Plan
                                                For NON-Acute Mental Health Events                                                ccs
                                                                                                                          CORRECT CARE
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      Palumf Name                                     Pat/em :\'umbC!r         Booking Number            va,e of /Jirrh   Toda)' ·s Dale
      Freeman, Douell                                 Patient Number           3279258                   12/25/1975       2/1/2016
     TREATMENT MODALITY:                     12] Special Needs           D   Group Therapy       D     Individual Therapy                         ''I
                                                                                                                                                  !•
     DIAGNOSIS*                                                                                                                                   '
     Depressive Disorder NOS: Alcohol and Cocaine Dependence
     •11 patient currently under psychiatric treatment, utilize diagnoses determined by psychiatric provider.


     Focus of Treatment: Remission of depressive symptoms, including those associated with substance abuse.
     Goals: To alleviate depression and improve moog: to develop appropriate coping and relaxation skills· to identify triggers
     to substance use and relapse prevention _strategies: to prevent iniury to self or others: to support medication compliance.
     Treatment Interventions to be Utilized: Monthly contacts wijh MH staff: visits with psychia!1ic prescriber 1x/3 months
     while prescribed psychotropic medication.
     Start Date of Treatment:                 Anticipated Completlon Date:

                                     patients prescribed psychotropic medication -                    chiatrist shall review plan.
                         -=:iµ.,_ _ _ _~{Psychlatrtc Provider initials)             ----'f"'i-~--(MHP inltlals)


     Treatment Plan Update: Date of Update:                        Anticipated Completion Date:

     Progress Toward Original Goals:


     Revised Focus of Treatment:

     Treatment Interventions to be Utilized:

     Note: For Patients Enrolled in Special Needs Program - Review Treatment Plan Every SI< (6) Months and Sign Below If No
     Updates Needed. Treatment Plan Shall Be Updated At Least Annually.

     Review Date: _ _ _ _ _ _ _ _ Reviewing Staff Signature: - - - - - - - - - - ~ - - - - - -
     Review Date:                 Reviewing Staff Signature: - - - - - - - - - - - - - - - - ~
     Review Date:                 Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



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                                                                                                                                     Date
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                                                                                •1 agree to participate in this trea ment plan.




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 390 of 486 PageID: 1069
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   Monmou1h County                                              Staff Referral Form
   Monmouth Adult (MCCTJ                                           Mental Health
   1 watfmT(Orks road
   Freehold, NJ0'112B
   Plflier,t Neme                   Patient. Number                Booking Number     BirJJ Dele    Dete Of S&rl,'fce
   DONELL FREfMAU                   2'3184                         3279253            12.12611976   111112016


    Type:                 0   Emergent       O   Urgent     ®   Routine
    Mental Health:        □ Psychiatric Provider [;;I MH Professional □ MH Nurse □ Other
    Other:
    Reason for Referral:
     requesting to speak to mental health about anxiety/depression
    Additional Information (including interim actions taken):
     nla




     B-Signed by Cheryl Roman lt Olli l/2016 09:07 AM EST                                                           P:i.g'-! I ofl

     E-Signed hy Alid11 Cnputo-Smi1h n 01/11)2016 I0:59 AM EST



                                                                                                        MCCI MED RECORDS 384
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 391 of 486 PageID: 1070




    Monmouth County                                              Staff Referral Form
    Monmouth Adult (MCCI}
                                                                     Mental Heafttl
    1 vmterworks roed
    Free.hold, NJ01128
    Fetien{ Msme                       PBtfent Number               Booklr,g Number    Birth D&te   Date Of s,nvlce
    DOflELL FREEMAN"                   26184                        3279253            12125/~975   612/20'{6


     Type:                  0   Emergent       O   Urgent (!) Routine
     Mental Health:         ~ Psychiatric Provider          0 M~I Professional □ MH Nurse □ Other
     Other:
     Reason for Referral:
      1/M refusing medication states •1•m cured"
     Additional Information (including interim actions taken):
      eval

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     F.-8igncd byAshJe.y Latarbera 1106/02/2016_ 10:1 l AM EST                                                    Page 1 of I
     E-Si1,rned by Alicia Caputo-Smith h 06/03)2016 08:16 AM BST



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       Monmouth County
       Monmouth Adult (MCClj
       1 waterworks road
       Freehold, NJ 07728
                                                                                                                                                                   ])                                                   ~ccs
                                                                                                                                                                                                                        CORRECT CARE
                                                                                                                                                                                                                        SOLUilO'!S
        732-868•3665                   ext, 3651 Fax 732,888•3669
                                                                  Paqa 1 of 2
                                                      CIWA-AR SCORE SHEET Alcohol and 89nzodiazepine Withdrawal
                     Patlenl Name                                                            Patient Number                                              Booking Nvmber                           Date of Birth                  ! Today's Date:
                  FREEMAN, DONELL                                            I                       26184                               I                     3279258                            12/25/1975                        6/30/2015
       complete CIWA-AR assessments q                                                 C()ntact HCP lfCIWA-AR::->19                                                             Contact HCP If CIWA-AR score ;:, 10 prior to
       shift x 6 days and priot to eactl                                              CIWA score ;:,. i 5 schedule ne:.:t cllnlc day with                                      last dose Librium on day 5
       Librium dost)                                                                  HCP
       Contact Behavioral Heallh/HCP for                                              Contact HCP for Delirium Treme),s                                                    Contact HCP for delerloratlng ccndllion
       positive BH screen arid place on                                               OYi:s DNo                                                                            Including, but not 1/mi!ed to,
       suicide watch □ Yes □ No                                                       A combination of these symptoms Indicate DTS                                         unre-5pon.s.lvaness, multiple seizures,
                                                                                      and is a medlcal emergency: Hal!uclna.tlons,                                         unstable vita.I signs, persistent vomiting or
                                                                                      Oelirlurn, Tremors, Contusion Aoitation.                                             dehvdratlon,
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       Pressure
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                                     /Sl <90 or /D\<60 c,// HCP                                            ZDfEt/               i"¾1 i'-f /ltt)
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       Pulse                         >'\20 or <60 call HCP                                                         ,;       '      'Kl                                  ,'3
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       Re$pirntlot1s                 <10 or ::-24 call HCP                                                         Ill             l'l                  i.?I        ,J._,v           I Ir>             ,<ii'                      ~         I)       1!4
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      Headaches, Fullness in Head                                                                                       V          /,               {                                0                                                                   )

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      Expresses thounhts about selfMharm?                                                                      □Yt.,f1'1        , riY               DY=,.          DY N            □ Y[lfl\l          CJYr11'1               D              N    >'IYDN
      Has patient had a negative visit/phone catl with
      farnUv/frierids since-last nursh,,,,., encounter?                                                        DY,l!fN           □Ycif'.I           DYOO           DY N            DYl!!N             DYi.11                 DY N                DY~
      Has the patient gon~ to eciurVvideo court since
      last nursing encounter and report.$ thal It didn't go                                                    DYtifN            DYr}.i             DY[;,!(        DYI\N           DYeifi             DY~                    DY~N                DY,l<Jl"I
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                   Monmouth County
                   Monmouth Adult (MCCI)
                   -J waterworks road
                   Freehold, NJ 01728
                   732-866-3665 ext. 3651 Fax 732-866-3669
                                                          Paae1 of2
                                                    CIWA-AR SCORE SHElaT Alcohol and Benzodiazeplne Withdrawal
                                                                            Patient Number                            Booking Number                                Date of Birth           Today's Dale:
                                       Patient Name
                             FREEMAN, DONELL                      I              26184                                     :)279258                                 12125/1976                   6/30/2015
                   CompJela ClWAvAR assessments q                     Contact HCP 11 CIWA-AR>19                                                  Contact HCP If CIWA-AR score >10 prior to
                   shift x 5 days and prior to each                   ClWA score >15 schedule next clinic day with                               la$tdose Librium on day 5
                   Librium dose                                       HCP
                   Contact Behavioral Health/HCP for                  Contact HCP for Delirium Tremens                                           Cont:;1ct HCP for deteriorating condition
                   posmve BH screen and pfac~ on                      □ Yes     □ No                                                             Including. but not !lmlted to,
                   ~ulctde watch OYes □ No                            A combination of these symptoms indicate DTs                               unresponsiveness, multlpla seizures,
                                                                      and is a medical ernergericy: Hallucina.tlons..                            1.mstable \'Ital signs, per$istent vomiting or

                            ...                                       Delirium, Tremors. Confusion. Aaitat!on.
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                   Pressure
                                           (S) >18D or {D) >110 cal! HCP
                                          fSl <90   or rDl<60 call HCP                JOC/5r, I¼,,             :f   101, i3              ~i.         ~I               !If/a:,
                   Pulse                  >120 or <;60 can HCP                           \     r,,                    lo       Iii           .                ,,V       /f,£i
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                  Temperature              >101.1f call HCP                        Cj                     "l
                  Respirations            -::10 or >24 call HCP                            'j{
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                   NauseaNomitlng                                                                                   n                    )                    )            )'

                  Tremors                                                                                           n                ;                    )
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                  Agitation                                                                                                          )              I J
                  Ta-ctile Disturbances                                                                             r)           ( I                  ,,                                    ')
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                  Visuel Dl$tllrbancas                                                                              n            I                                       I          I       J
                  Anxiety                                                                                           't                                                  I           I       J
                  Headaches, Fullness in Head                                                                         r                              ()                I
                  Orientation                                                                                                    0                                         fl           J
                                            Total Score (max score 67)                C J                             I              V                    I                         IJ
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                  Excresses· thouahts about self•harm?                                □Y 1 .....-..i     □Y N       ~           OY1t'1N              DY                 riYON       ovwn,.1           □ YON

                  Has patient had • negative vls!Vphono call with
                  familvlfr\ends e:lncE, last nurslna encounter?
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                  Has the patient gone to court/video court since
                  last nursing encounter and reports that it didn't go                                                          ov¢l                 DY~                ¢"□N        OYi!!N            □YON
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                  Expressas feelings there is nothing to look                                                                     ..L.                                                  /
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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 394 of 486 PageID: 1073




              Monmouth County
              Monmouth Adu/I (MCCI)
              1 watemorks road
              Freenolc/, NJ 07728
                                                                                                                                                                                  ~ccs
                                                                                                                                                                                  CORRECT CARE
                                                                                                                                                                                  soiur10HS
              732-B66-3665 ext. 3651 Fax 732-B66-3669
                                       pl:l<'le 1 Of2
                                                         CIWA-AR SCORE SHEET Alcohol and Benzodiazepine Withdrawal

                                                                                                                                                                    I 12125/1975 I
                                                                                                                                          Booliing Number              Date of Birth        Today's Date:
                                  Patient Name
                        FREEMAN, DONELL                                        I              Patient Number
                                                                                                   26184                    I                3279258                                         6/30/2015
                                                                                                                                                         Contacl HCP lf ClWA-AR score >10 prior to
              Complete CIWA-AR assesl)tnents q                                        Contact HCP If ClWA-AR>19
              &h!ft x 5 days and prior to each                                        CJVVA &core >15 schedule- next clinic:; day with                   !aatdose Librium on day 5
              Librium close                                                           HCP
              Cor.t~ci. "Sehaviora.l HealthfHCP for'                                  Contact HCP for Delirium Tremej,s                                  Contact HCP for deteriorating cor"ldit!on
              positive BH screen and place on                                         □Yes        □ No                                                   including, but not limited to,
              suicide watch □ Yes □ No                                                A combination of theso siymptoms indicate DTs                      unrespon$iveness, multlple seizums,
                                                                                      and i$ a medlcal emergency: Halluclnat\ons,                        unstable vital signs, persistent vomiting o.r
                                                                                      De!lrJum. Tremors Confusion Anitatlon,                            dehvdraUon.
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              Blood                        {S) >180 or (D) >110 call HCP
              Pressure                     isi <90 or ID\<60 call HCP
              Pulse                        >120 or <80 call HCP
              Temperature                  >101,1F call HCP
              Respirations                 -<10or>24ca11HCP
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              Tremors
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              Agitation
              Tactile Disturbances
              Auditory Dlsturbanc~s
              Visual Disturbances
              Anxiety
              Headaches, Fullnaas in Head
              Orientation
                                               Total Score (max score 67)
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              '="'nresses thounhts about sett-harm?                                                      DYtJN          OYDN              C!YDN    □ YON          DY □ N    □YON           □YON    DYDN
              Has patient had a negative vlslVPhone call with                                                           □ YON             □ VON    □YON           OYDN      DYDN           □YON     □YON
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              famifv/friends since fast nurslmr encount~r1
              Has the patientgone to court/VldM court since
              last nursing encou·nter and reports \hat it didn't go                                      □YON           □YON              □YON     DY□ N          □ YON     DY□ N          □Y□N     □YON
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                  Monmouth County
                   Monmoulh Adult (MCCI)
                   1 waterworks road
                   Freehold, NJ 07728
                                                                                                                                                                   ....._ccs
                                                                                                                                                                   CORRECT CARE
                                                                                                                                                                   80LUi10MS
                   732-866-3885 ext. 3651 Fax 732-866-3669
                                                          Pama12 or 2
                                                    CIWA-AR SCORE SHEET Alcohol and Benzodl•zepine Withdrawal
                                     Pa~ient Name
                            FREE:MAN, OONELL
                                                                   I             P:;i\lent Number
                                                                                        26184
                                                                                                                    I        Booking Number
                                                                                                                                  3279258
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                                                                                                                                                       Date of8irth   Today''.3 Date:
                                                                                                                                                                       613012015

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                  NAUSEA & VOMITING-Ask "DQ YQU fuel sic!< to your                              AUDITORY D1$TURBANCES~Ask Are you more aware of sounds around
                                                                                                                                              a


                  stomach? Have you vomited?" Observation                                       you1 Are they harah? Do they frtghten you? Are you hearing anything thal
                  O No nausea. no vomiting                                                      Is dtsturt:ltng to you? Are you hearing things you Know are not therer
                  1 Mild Nausea with na vomiting                                                0 Not present
                  4 Intermittent nausea with {fry heaves                                        1 Veiy mild harshness or ability to frighten
                  7 Constant nausea, frequent dry heaves & vomiting                             2 Mild harGhness or ability to frighten
                                                                                                3 Moderate ha?hness or ability to frighten
                                                                                                4 Mod~rately s vere halluclnations
                                                                                                5 Severe hal!Udnatlom:i,
                                                                                                6 Extremety severe hallucinations
                                                                                                7 Conl!nuous hallucinations
                  TR.EMOR~Ann!;i extended, fingers spread apart.                                VISUAL Ol$TU~BANCES-Ask, "Does the light appear to ba loo blight? Is
                  Ob$ervation                                                                   the color different? Does it hurt your eyes? Are you seeing anylhing that is
                  0 No tremor                                                                   disturbing ta you? Are you seeing thihg& you know are not there?
                  1 Not v!s!ble but can be felt fingertip to fingertip
                  4 Moderate, wi1h patlenfs arms extended
                  7 Severe, even with arms not extended
                                                                                                0 Not pre$ent
                                                                                                1 Very mild sensitivity
                                                                                                2 MIid sensitivity
                                                                                                                                                                                        I:
                                                                                                                                                                                        i.
                                                                                                3 Moderate sensltlvity
                                                                                                4 Moderately severe hallucinations
                                                                                                5 Severe hallucinalions

..._              PAROXYSMAL SWEATS.Observallon
                                                                                                6 Extremely severe hallucinations
                                                                                                7 Continuous halluc!natlons
                                                                                                ANXIETY-Ask UDo you feel nervous?''
                  o No sweat vlslb[e                                                            ONo anxiety, a.Lease
                  1 Barely perceptlble sweating, palms moist                                    1 Mildly anxious
                  4 Beads of sweat obvious on forehead                                          4 Moderately anxious, or guarded. so anxiety is Inferred
                  7 Drenching sweats                                                            7 Equivalent to a.cute panic state, as seen in severe delirium or acute
                                                                                                achlzoDhren!c reactions
                  AGITATION-Obsarvatlon                                                         HEADACHE FULL.NESS IN HEAD-As~ "Does your head teal dlfferentr
                  O Normal activity                                                             Does it feel llke there is a band around your headr Otherwlie rate severity.
                  1 Somewhat more than normal activity                                          Do not rate dizziness or ighthe&dedness:,
                  4 Moderately fidgety and res11ess. shifting_ positions                        ONot present
                  frequently                                                                    ·f Very mild
                  7 Pacei bai::k and forth during most of the interview, or                     2 Mild
                  constantly thrashes about                                                     3 Moderate         I
                                                                                                4 Mot!erately severe
                                                                                                S Severe
                                                                                                8 Very severe
                                                                                                7 Ex1remel\/ severe
                  TACTILE DISTURBANCEs.Ask 'Hove you had any                                    ORIENTATION-Ask "Whal day Is this? Whore are you? Who am I?"
                  ltchfng, pins & needles sensations, bumit'lg or                               o Oriented and can do serial additions
                  numbness, or do you feet bugs crawling on or under                            1 Cannot.do serial additions or ts oncerte!n.about the date
                  yoU1'$kln?"                                                                   2 Oisortenled 1ordale by riO more than 2 calendar days
                  oNane                                                                         3 Disoriented for date by more than 2 calendar days
                  1 Very mild !tohin.9, pins & needles, burning, or                             4 Disoriented for place andlor person
                  numbness
                  i M!ld Uchlng, pins & ne_adfes, burning, or numbness
                  3 Moderate itching, pins & needles, bt1rning, or
                  numbness
                  4 Moderately severe hallucineitlons
                  5 Severa hallucinatlon&
                  6 Extremely severe hallucination~
                  7 ConUniJous halluolnatlons
                  <-10·.slable. '·, · ,:···:.l(I.A5;iMi!d·to,Moderate,Wilhdrawal                                    16-19 Moderate withdrawal             >20 Severe wllhdrawal

       f:I 201Q Corre<l! Cllre Sol.i'.ion•. Llc
       CCSTX19 RotYi~ci 21J111
                                                  11111111~~\ll l!~ll ~l i\lHl l l \l l il !l l l l l ~l l l l~l l l l l l l ~mm1;~111u11111~mi
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            Monmouth County
            Monmouth Adult(MCCI)
            1 waterworks road
            Freolwld, NJ 07728
                                                                                                                                                                                                       ccs
                                                                                                                                                                                              CORRECT CARE
                                                                                                                                                                                              60LVT                0·'1/i
            732-8fi6•3665 ext. 3651 Fax 732·866-3669
                                                      p:;iqe 1 of2
                                                              COWS SCORE SHEET Opiate Withdrawal
                              Pallant Name                               Patient Number                                    Booking Number                            Date of 6lrth                  ) Today's Date:
                     FREEMAN, DOIIIELL                       I              26184                                            3279258
                                                                                    Contact HCP for deterioral\ng condition includlng, but not
                                                                                                                                                                     1W5/1975                               711/2015
            Complete       COWS ;,,12 increase        Coritaci8ehaviora1
            COWS score     COWS score sheet to        Hea fth/HCP for positive BH   limited to, unresponsiveness, multiple selzures, unstable
            sheet every 8  QIO (every 6 hours) and     screen and place on suicide- vital signs, persi$tent vomiting, or dehydration.
            hours          $chedule next clinic day   watch □Yes □ No
                           with HCP
            Discontinue COWS score shi?at if COWS aoore remains <12 for 72 hours
                                   Comvlete each section of SC" sheet "'-ve-z rm UI <12 far 72 hours.                                                                                                 .
                                                                              Date
                                                                              Time
                                                                                       /;           .·1        l 2-,
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                                                                                        •                                                                                                             ,
            Brood Pressure                      (S) >180 or (0) >120 call HCP
                                                                                        \       ,,        ~
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                                                                                                                               (Y.71{                 10'-ff<.4         10£                  ;i;    17); ,.       [Q       .s
            Resllng Pulse
                                                is1 <90 or ID\<60 call HCP
                                                >120 or <60 call HCP                                   ">.      In I                -- ,y;,..           ,,0'
                                                                                                                                                                        ..,                          rn·           I

            Temperature
             Respirations
                                                :>101.iF call HCP
                                                <10 or >2..4 call HCr'
                                                                                          Cl
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             Ret.ting pulse rate
             Tremor
                                                                                                                      ,              ,..                     n            0,                                       6
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                                                                                                                                                                                                                   ,,
             Sweating
             G!Upi,,et                                                                                          I     J                    J                .,                         '                            /
                                                                                                                    '"",
             Restlessness
                                                                                                                    -.,,                   "'                                                                       r
             Yawning
                                                                                                                                                                                                                    I'>
             Pupil Sl?e                                                                     I
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             Anxiety lltfltablllty
             Bone/Joint Aches                                                                                   0
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             Skin
             Runny Noserrearlng
                                                                                                                (    }"                                                   j ,                                           r,
                                                                   fotal Score
                                                                 /max score 481
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                                                                                   Behavlort I H0alth Screen
             E;,:i,resses thouahts about sa\t•harrn?
             Hes patient had a negatf\le visit/phone. call with
                                                                                       OY N DY"™
                                                                                        □YI N                   □YlilN
                                                                                                                                 DY'"'
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                                                                                                                                                                                                    DY N !aYDN
                                                                                                                                                                                                    DY1 N DYi,m
           ~J~/friends slhce last nurslnci encounter?
             Has the p"atient gOne to court/video court since-last                      DYC N DYl!!N                             □ Yl         ,,N           DY!llN        □ Yt.m                    DY N           OYp!N
             nursinil ancounter and rel'lorts that It didn't ao well?                                                                                            '
              Expresses feeling~ thats is no.thing 1a look forward to !n                □Ym                     DY~              □Yl~                       □Y~N          □ Ye:JN                   DY      II'    DYpill
              the ttJture? rFeelin,,s of houelessness/helr J&ssne&s)                                                                          I'
                                                    Clinical Staff Initial                          "\'.'           ~~                                  ~l,J\                         '~      2                         ,;'t,{
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              Initial                           Sianature                Initial                Sia nature                                  I      itj,.,.,IA
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          Monmouth County
          Monmouth Adult (MCCJ)
          1 wate,works road
          Freehold, NJ 07728
                                                                                                                                                                      ,,rdl/~,   ccs
                                                                                                                                                                      CORRECT CARE
                                                                                                                                                                      60Lli1JONS
          732-866-366$ ext. 3651 Fax 732-866-3669
                                           p~qe 1 <-1f2
                                                   COWS SCORE SHEET Opiate Withdrawal
                        Patient Name                       Patlenl Number                                  Booking Number                                  Date of Birth     j iaday's Date:
                 FREEMAN, OONELL                  I             26184                                           3279256                                    1212511975            712/2015
          Comt>lote      COWS ::,12 Increase        Contact Bahaviorel                                      Contact HCP fur deteriorating con<litfon 1nclud/ng, but not
          COWS score     COWS scote sheet \o        Heallh/HCP for positive BH                              Umlted to, unre~ponsivene!ls, multiple seizures, 1Jnotable
          !)heet every B QID (every 6 hours) and    si;;:reel'l and place on suicide                        vital sigf'iS. persistent vot'l'litlng, or dehydration.
          hou1s          sc:hedule ne,it cl!nlc day watch □ Yes □ No
                         with HCP
          Olsccmtlnue COWS score sheet if COWS score remains <12 foJ 72 hOurs
                                       Ci'.:lmnlete each sectlQn of sco
                                                               Date '1
                                                                                       •heat V
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                                                                                                       6
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                                                                                                                TID until <12 fo 72 hours
                                                                                                                                I ,;
                                                               Time         r          ,\'   "'        -nlll ID'.~i!~ \;.                           Cl

          Blood Pre3sure            (S) >180 or (D) >120 c•II HCP
                                    rs\ .;90 or rtikSO call HCP
                                                                            ~···---
                                                                                 '...i., /',\
                                                                                             ,111/.
                                                                                                                  /II     /J.q             h•)tn
          Re:sting Puls~            >120 or '<60 call HCP                   f ,, 1:..                  ii                 ''..4                        ~
           Temperalure              >101.1F call HCP                             \'\.                              Ci      f/'7            V
                                                                                                                                                   ~.w
          Resl)iration:9            <10 or>24 call HCP                          i~.n         L,    ,•U'                     l,                     K
                                                                            COWS Seo.,--
          Resting pulse rate                                                     "             rJ                     ,.                       u
          Tremor                                                                              117                     ·,                       LI
          Sweating                                                                                     I               '')                     .J
                                                                                                   -)                     ')                    "?
          GI Upset
          Resllessness                                                           J                "'\                 ,1                           J
          Yawning                                                                ' )
                                                                                  "1
                                                                                                 ' '\                 I                             .)

          Pup!! Size                                                                             IJ                                                '.)

          Anxiety llrrltablllty                                                  J                                                                     J
          Bone/Joira Aches                                                      7 /                                                                .,)
                                                                                                                               ~



          Skln                                                                                                     r                           ->
          Runny Noseffefiring                                                                                     I                            {'")

                                                          Total Score             [i
                                                      imax score 48\                              \               1-                           0
          Excresses thouahts about self.harm?
          Has patient had a-negative vlsltJphohEI call with
          fahlilv/ftlends since last nursinn encounter?
          Has. tne patlent 9oh:e to court/video cou,rt since tas.t
          nmsln□ enwunter and teoorts that it d\dn't ao well?
                                                                     BehaViora' n
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          E)-:presses feelings there iS nothing to look fo,wiud lo ln       OYJi!'.lN        [J~                  )>E.Y ON                     □Ylll"          □YON          OYON OYON
          the future? fFeel1nc:1s of honelessnesslhelnlessness1
                                                  Cllnicat Staff Initial        i.W           '(\v'                       11r·         t--a ~
           Initial                 Sianature               lnitlal
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   CCS 'P:20 Riivl)P\12014




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            Monmouth County
            Monmouth Adult (MCC/)
            1 waterworks road
                                                                                                                                             ,,\ifr,.
                                                                                                                                           CORHCT CARE
                                                                                                                                                        CCS
            Freehold, NJ 07728                                                                                                             SOLUTIONS
            732-866-3665 ert. 3651 Fa" 732-866-3669
                                               P..:1,.,1<12 of:!
                                                           COWS SCORE SHEET Opiate Withdrawal
                             Patient Name
                     FREEMAN, DON ELL                    I           Patient Number
                                                                        26184
                                                                                            J         Booking Number
                                                                                                         3279258
                                                                                                                            J   Date of Birlh
                                                                                                                                12125/1975        I     Today's Date:
                                                                                                                                                          71112015




                                                                   COWS Clinical 011iate Withdrawal Scale                                                            ---~
            Resting Pul•a Rate: measured after the pt. Is silting                     Tremor:: obse,vation of outstretched hands
            or lying for one minute
                                                                                      o nJ;i tremor
            Dpulse rate 80 or below                                                   1 tremor can be felt but not cbserved
            1 PUise rate 81•100                                                       :2 slight tremor observable
            2 pulse ra1e 101~120                                                      4 grass ttemor or muscle twitching
            4 01.llse rate areater than 120
            Sweating: over past½ hour not accounted for by                            GI Upset; over the last ½ hour
            room temperature or patient activity
                                                                                      o no GI sympioms
            Ono report of oh ills or flus ti Ing                                      1 stot11ach cramps
            "I pt. reports chills or nushlng                                          2 nausea or looas stool
            2 flushed or obiServable moisture on face                                 3 vomiling or diarrhe.;,
            3 beads of sweat on brow or race                                          5 multipla episodes of vomiting <>r diarrhea
            4 sweat .stream/no off face
            Restlessness: observaUon during assessment                                Yawning: obseNalion on assessment

            o ab)e to sit tltiU                                                       Ono yawning
            1 report5 difficulty silling still, but ls able to ~o so                  1 yawning once ot twice during assessment
            3 frequent shifting or extraneous movements of legs/arms                  2 yawning 3 or more- !Imes during assessmenl
            5 unable to sit still for more than a few $econds                         4 vawninri several times/minute
            Pup[) Sile;                                                               Anxiety or lrrltablllty:

            O pupils pinned or normal size for room l!ght                             Onone
            1 pup~s possibly larger than normal for room light                        1 pt. reports lncre~slng irritability or anxiousness
            2 pupils moderately dilated                                               2 pt. obviously Irritable or anxfous
            5 riunUs so dilated that.on1v the rim of the iris ls visible              4 Pt. so irrHab!e or amdous that narticlnat(on in the assessment is dlff1cul!
            Bone or Joint Aches: if pt. was having pain                               Skin:
            previously, only the additional componentat~\buted to
            opiate withdrawal Is scored.                                              0 .skfr, fs smooth
                                                                                      3 gooseflesh can be felt or hairs slan4lr.g up on arms
            O not pre:s_ent                                                           5 prom!nent-goosMlesh
            1 mild diffuse discomfort
            2 pt. repor(s severe dJffuse-achlMg Of joints/muscles
            4 pt. is tubbing joints or mu sties. &- is unable to sit still
            because ofdi$r»mfott
            Runny Nose or Tearing: not accounted for by cold
            symptoms or alle'Qies
             O not present
             1 nasal stuffin~ss o, unusually tnolsteye·s
             2 no·$8 running or te.:ulng
             4. nose cxmstarl(lv nmnlnn or.tear;11 s1re,amlnr1 down cheeks
             6•12Mlld                                 13•24 Modemta                       2'""36 Moderatsl}f Severe              ::.-a& seve"'·
             Withd,.,.wal                             Withdrawal                          \i\t'ifbdtawai                         Withdrawal




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                                                                                                                                     MCCI MED RECORDS 392
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          Monmouth County, NJ
          Monmouth Adult (MCCI)
          1 waterworks road
          Freehold, NJ 07728
                                                             Nebulizer Treatment Flow Sheet
                                                                                                                                             ~ccs
                                                                                                                                             CORRECT CARE
                                                                                                                                             SOLUTIONS
          732-866-3665 Fax 732-866-3669
          Pa(Jent Name                                         Patienl Number                 Booking Number                DsM of Binh        Tods 1;'s Data
 i...,.. FREEMAN DONELL                                        26184                          3279258                       12/25/1975 1/812017

          Allergies        _--i-.;:...==-----------------------------
          When was onset of Attack ~- ru))                         C,,O:::::,                   When was last Attack -~7..,_'·.,_l-v.J=·.,_1_.,,G__
                                                                                                                                                 , I]'.:\'-'--'_ _

          Nursing Survey:
                                    Breathing: □Normal 'd..abored □Severe Distress
                     Use of Accessory Muscles: 'ylYes □No
                                       Lungs: Claar:    □ BIiaterai □ Right □ Left
                                                             Wheezing: □ lnspiratory □ Expiratory ~spiratory & Expiratory
                                                                                0RUL □ LUL ~LL 0LLL □Th,.i;oughout

                                                                                       ..                                                     '
                                                                                                       Provider Must be Notified before contlduing
                                                                                      ,:;;
                                                                                      :,;,
                     Pre-Treatment                           Pre-Treatment/                              Pre Treatment                    Pre Treatnient
          Treatment #1                                Treatment #2                    ::,·     Treatment #3                       Treatment #4/
          Time: ,\: ">O                 .,,.,.        Time:                                    Time:                              Time:         !
          Peak Flow: ;¼'O                             Peak Flow:                               Peak Flow:                         Peak Flow: ,,
          BP:                                         BP:                             ti![     BP:                                BP:        '
          Pulse: "'1lt                                Pulse:                                   Pulse:                             Pulse:    '
          Reso:     ;)( )                             Reso:                                    Reso:                              Resn:
          Temp:                                       Temo:          .
                                                                                               Temo:                              Temo:
          Sa02: Ci'i<"IO
                  Medication:
                                                      Sa02:
                                                             Meflication:
                                                                                      Iii!     Sa02:      !
                                                                                                      M~fcatlon:
                                                                                                                                  Sa02:
                                                                                                                                             Medication:
            V1)\lbuterol □Atrovent                      □AlbutEiro I □Atrovent                     □Albuterol □Atrovent             □Albuterol □Atrovent
              '     Post Treatment                           Post Treatment            mi
                                                                                       \:]:
                                                                                                         Po~f Treatment                   Post Treatment
          Time: l-1 ', l"S tJ• •~                     Time: i                                  Time: I                            Time:
          Peak Flow: <::o·-)                          Peak Flow:                               Peak FJow:                         Peak Flow:
          BP:
          Pulse:
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          Notes.                                                                               I




           MD Call Required:                     □Yes (Refer to   MD Orders) □ No
           MD Call Required:                     □ Return   to Cell □ Move to Medical Housing (ii available) □ Refer to Emergency Dept.

          Nurse Signature: _ _ _ _ _ _ _~ - - - - - - - - - - - - - - - - - - - - - - - -




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 11.~.2013


                                                                                                                                    MCCI MED RECORDS 393
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                                                              MCCI MED RECORDS 394
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                 MONMOUTH COUNTY SHERIFF'S OFFICE
                    DEPARTMENT OF CORRECTIONS
                    MEDICAL RECORDS RELEASE AUTHOR!ZATION

    To Whom it May Concern:

            I,    DONNELL FREEMAN                hereby give my permission to the

    Monmouth County Correctional Institution for the release of my medical

    records to the medical depanment at the New Jersey Department of Corrections



    Date:

    Witness:~~
                   4/17/2017                               Inmate Signature:~~

                                                           DateofBirth: \2.., 2>'    frµ
                                                                                         -~
                                                                                                           i
                                                                                                           i.
                                                                                                           i-.:




                                                                                    MCCI MED RECORDS 395
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 402 of 486 PageID: 1081




       Monmouth Count,,
       Mo11mnut/, Am,/J (MCCI)
       1 waterworks rood
       Freehold, NJ 07728
                                             Authorization for Release of Information
                                                   At:TOR[ZAClON PARA D!Vlll.-1.R JNfOR..'1'1.ACION                                           ~ccs
                                                                                                                                               CORRECT CARE
                                                                                                                                               80lUT(0/\IS'
       7Jl-866-366S ex/. 3651 F,r,: 732-866-3669
       Paii2mNamll                                               Pmiem N11mber                           Dou o/Brr1l1                   Todnr ·x {)me
       FREEMAN, DONELL                                           26184                                   12/25/1975                     11/13/2015
       AKA(AUas):                                                BoM:ing Numb/fr                                                        Sot/al Secwi~• Nu
                                                                         58                                                             14S864878

                                                                                        To Release Information To/ A divut ar informaci6n a:
                                                                                        Name of organiz;:ition or individual I Nombre

                                                                                        Addrass I Diretci6ri
                                                                                        } WOJtJtWOrh rf!4JI
                                                                                        PrethvW, NJ 07718
                                                                                   'f   7ll-ttM-Jd6j e-..lZ JOSI F{U: 7JNJ66~J669

            Thts aulho za.\ion Includes records n:ilating to the following (please dleck) / La pre~nte autoriz;;cl6n cornprende los reglstros


                                                                                                                  &~r-~ Lcl
            reladonados can lo que se detalla a contlnuacl6n (por favor, marque la opci6n correcta):                      •

                     0 Al/(emalri~ng records I Otros reg!stroi; rest.antes       6.st'ladfy I Especificar                                       rcsu 113
                     □ Mental heatlh lreatmenl I Tratamiento de salud menial     ~·
                     D Chen,lcal dependency treatment/ Tra\amlento de ctrogadicci6n o alcoholismo
                     Cl HIV or AIPS related 1ests and treatment I Tratarn!en\o O~ruebas de SIDA o VIH
       2     Porpose for di!idosure (this line mus! be cornp!eted) / Ptop6sito de la divu!9acl6n {se debs -comp\atar este rengl6n): _ _ __

       3.    fnctlcate dales of interest/ lndique las fechas imporlanles.
             If no dale-range is; pro\/ide.d 1 release will cover the previous year only I St no se lndica ef perlodo de diwlgad6n, Ja misma lendtii lugar
             sOlo por el 1ennlno del alio anterior.

       4.    I understand lhat I may revo/<e !his aulhorlz;:ilion a! ~riy time               4.    Comprendo qtJe puedo revocar la ;:i~e$ente atJtortzaol◊n en
             by providing written notice, except lo the extent that release of                     cualquter momenlo s!empre. que notffiq\Je mi <lecl,\6n por
             informaUon has already occurred In reliance upon it.                                  escrito, salvo que la dlvulgad6n de mt infonnaciOn .se haya
                                                                                                   efectu.a:do dependiendo de <licha autori:rnciM.
                                                                                             5,    Comprendo que conforrne e la Ley Federal (42CFR - CMigo
       5.    I un<fef3tatid that under Federal Law (42CFR PM 2) records                            de Nom,ativa federal - Parte 2) los registrO$ relaclonados
             rela!!ng to 1reatmen1 for Chemic.al dependency cannot be                              oon el lratamlento para el elcoholismo o drogadlccl6n no
             released without my speciflC authori.zation as 1ndlcated under                        pueden dlvulgarse sin ml previa a.utorlzacl0n especlfica \al
             "1.''                                                                                 como indica el punlo ~1."
                                                                                             6,    Entiendo que fa infoimacl6n qu& se divulgue en retaci0n a mi
       6,    I understand lhat infotma1io" disclosed under this
                                                                                                   autorlzaci6n no puede ser revela.da nuevamente _por la parte
             authoriza11on rnay not be disdosad again by the recipient
                                                                                                   receplora de la misma sln mi debida aprobacl6n tal coma lo
             without my approval other tha11 as authorized by state and
                                                                                                   ind/can las feyes estalales y fader.ales.
             redeKll laws.
                                                                                             7.    CotrtprendQ que reciblM tratamienta lncluso si me niago a
       7.    I understand that l will receive treatment even if I refuse to                        otorgar mi aprobaci6n; pero, aslmismo comprendo que
             providQ approval, but also (ftlde<$t3nd thal refusing !O
                                                                                                   rehusarme a autoriiar la dh.1ulgaci6n de tni lnformaci6n Pllede
             authOrize Information may affeet the na\ure of the treatment
                                                                                                   afociar!a nahJfa)eza rlel ttalamiento que se n,e ptoporclone.
             ptovidect.
                                                                                             8.    Aceplo a>1imir de rasPonsabilklad ~ todas las pefson21s que
       e.    I agree 1o• hold harmle.ss all persons acting upon this
                                                                                                   aci:l.ien.can buena fe baja la present~ aLitorizaci0n.
             authorization in good faith.
                                                                                             9.    ManlfieStO que una fotocopia \endra el mismo valor que su
       9.    U Is my Intention that s photocopy Will be as valid as this                           copla original.
             origina.l.
                                                                                             10. La ptesenb1 a_utorizaef6n ~ndta vatidet pAr el pli:1,2.0 df} un
       10, This authorization shall be- valld for one year from thG da«t
                                                                                                   afio a partlr do ht fecha de mi firma.
             of my &igh;ilura.


                                                           p to patient I St no 6$ la 1lrma de\ paclente. indicar relaciOn con el


                                                                                                                                              Date




     C7'°3UN003{/ACCBJ000t 13




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 403 of 486 PageID: 1082



 1.11 lcl/ZOlti 11: 50: 4_7 AM -0500 FAXCOM                                                                                                                                        PAGE 2                OF 5


     Nov. 13. 2015 10:30AM                                                                                                                                               No. 2797            P. 1/1



       Ml'.!i.u.u~utb County                        Authorization for Release of Information
       Mo•,..•lh Adult (MCC]J
       ] W/JUnf/OYlt t()l,lrf
                                                            AUTOlUUClON' P,1.1\.A tlrvl'.Jl'..A.)l lNFORMAC!ON                                                                 .Ji.CCS
                                                                                                                                                                                CORRECT CARE
       P'rl!l!h61,J, NI om~                                                                                                                                                     lJ O \. fJ T      O JI 8
       732-866-$66S ,n 3651 Fax 1JM66-Jli61
       P.Q1~n,N""',                                                          Pm/Int :Nvmbbr                                         Dal, qfBrrJh                       Tia/Uly ',1 .00f4
       FRE'tMAN DONELL                                                        26184                                                 1111.5/1915                        U/13/2015                                i.
              Alw ·



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       -4.   I un~eo:itand lhl.!lf I rnay revoko this ~u\tt¢iiV:l!ion &t any 1\mo                                  d.,   Comi:irendc       1J,Ui:   t:iueo'o fQ\loc-.ir la f'JM,SQnts liu"(llflti.~0(1 GIil
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       7,    l unQernl,1'14 thal       J wl1\ r'QcChiB ~lmlilf'll a~n If 1 refuse- Ul                              7.    Comprentro -qu!t l'Bcibi/'e lmlemi~n1o 1t1duso .si me nie,go a
             provJde approve!, but also umtt1t11!ert\1 th~I refu.a!n" to                                                 i:rtaf~ar -ri'li. apret:i~cMn;- ~e!lro, Hfmb1mo comprendO quc
             auth91:i2er lnfal'rl'l:alfan may. ,)M"ett lll& natoo, of 1h11 tnuitmtnl                                     toh\l~ ~ -ovtorf~?-r RI dfvlAgldiin d& ml lhfarn'lacldn pu!!da
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       g, It le ttry _Jnuintton !hat ll pholoco,oy will be                  ~!I   "lfe.fid a!i. 1h11               9.    Monttl~to. qu. 1ma f~locopia li:md"ra. eJ ml-orno V?l(i,r que 111u
             oriijlnBI.
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       10. Thlt. eutha.r1UJiP!l !.he.ti tut vs\llf for one y.l;lt1.r frQffl th, th11t-e                            1P. i... p,-.&>11n1o t11il.:>t/:z-StM11 .-ndrt valJd41;% par •I plato dil un
            bl my .i;nat:tna.                                                                                           lflQ i ~rtir dit NI fQ,»h• clt mi fhrlliL



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      Q.,:'~~11~11




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 404 of 486 PageID: 1083




                                                  Mental He.nltti Sorvloes
                                              Medication Consent Form
                                                      Ant>-deprossallt
                                                                                                             ,ACCS
                                                                                                              CORl\eCT CARE
     .'                                                                                                       60LUTJOH6



   I'pt::C7r1~?71icwfft lnm•~--                                         ~     N,_,.
                                                                                                                                     I
      1,
      agree to treatment With the !olkiwing medications in the dosage recommended to me by the psychiatric provider.                 !
      ( J Trazodone                                    ( ) Welloutrin
      ( ) Tricyc!k An!idepressant (TCA)                ( ) Mirt=apioe
     '&-i:sSRI     7 ., ; ,G..,.                       ( ) SNRI (Effexar, Cymbalta, Pristiq)
      / j Other  if      /::;?'[[

      I have been made aware that the ionowlng are benefits 1ha1 may occur through taking these medications:

               Dec:rea5ed sympioms of depression (depressed mood, arodtfy, insomnia, excess g:uilt, worthlessness,
               low energy, agilalion, poor conoenlra!ion), and/or symptoms of an)(iety.

     l haVe bean made aware 'l:hat possible side effects of taking these niedjtafione may be:

     ( ) All   meas below     priaplsm (pliapism is a persistent and painful erection (hard penis) that lasts more than 4
                              hours). This~ a rare but serious sexual side effect that~ nottrsalod Immediately can
                              lead to scaning and permanent eri,i,tile rlysfuno!ion Ooss of s""1J;j function). Alert
                              medical slBff immediately if you experienc,o these symptoms

     ( ). All meos below:     mania/hypomania (a>rcessiva energy), sedaaon, nausea/vomiting, impaired cognttn,e and
                              motor functioning (racing thoughts, fatigue), sexual dysfunction 0ow sexual drive) anxiety,
                              wlthdraw,3J syndrome, asthenla (Jos~ of eneirgy)1 Increase in suicidal ideation

     ( ) Trazodone            dizziness., F1ausea, nasal congestion
     () TCA                   dry moUlh, constipation, blurred vision, dlfflcully u~nating, cardiac contiuclion defects,
                              hypo/hypertension ~ow/high blood pressura), weight gain, sweating
    '¥'.ssRJ                . nausea, diarrhea, headache.s 1 anxiety, insomnia, fatigue-, tremors, akathisia
                              (rastlessness)
     I)  SNRI                 nausea 1 headaches 1 swaating 1 fnsom11ia 1 hypartension (not Cymbalia}
     ( ) Wellbutrin           headaches, nausea, anxiety, insomnia. seizures
     ( ) Mlrtazapine          dry mowth, oonsfipalicm, sedation, neutropen!a, weight gafn

     ( )   ____
     Concurrent use of qther med!Cfiftions ma-y fm:reasa the risk of prfap;sm, lncJuding typical antip!iYChotlr;.sj
     and clc,zaplne, rfsperidone, oJanzapine, aripriprazole, quetiapine, terniosJn, tamsulosln, a~osin,
     prazosin, hydralazine, buspirone, hydroxyzihe, heparin, acer,ocumoro~ warfarin, 'farlalafi}, sildenatil

     I volunl,\rily agree to take the medication(•) listed above as p=bed by the psychiatric provider. I understand
     that I may choose to withdraw this penn!ssion in the Mure at my discretion. I have had an opportunity to :isk any .
     questions, and I am satisfied with the explanations. All the -side-.effects listed aboVe have been expfained to me 1
     and I understand the ks and benefit; of taking this medication.

                                       7!)!5                      \,         \                              )I,
     =--:-,-,-c--=--,-.,+r.r.--:---r          Date                Pa ant's Signature                       ~



                                                                                                              MCCI MED RECORDS 398
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 405 of 486 PageID: 1084




    Monmouth County
    Monmouth A dull {MCCJ)                                          Treatment Plan
    1 waterworks road
    Free.hold, NJ07728
    PMientName                          Pttlient Number               Booking Number         Birth Dete              Dale Of ser1,'/ce
    oorJElL FRE.EMMl                    2"184                         ~27!1258               12.125/1975              12.712015


       ®   initial Treatment Plan O Addendum to existing Treatment Plan

    Patient Problems:
     Obse,ved
                      Category Type                               Problem                          Confirmed By
     Date
     06-30-2015 Acute                PSYCH: Substance             Al I /Ab
                                     Abuse                          co 10  use
    I06-30-20'/ 5 Chronic            RESP: Asthma                 Asthma Not O/he,wise Specified
                                     PSYCH:                       Unspecified Major Depression,
    L06-30-2015 Acute                                                                            Janice Buttler
                                     Depression                   Recurrent Episode

      Medical Condition to be addressed:
      Asthma
      Diagnostic Needs:
      pi( flow
      Treatment Goals:

        1. No exarbalion of asthma
                                                                                                   D      Check for addftfoosl goal ~ntty


      Intervention:

       Goal: No exarbalion of asthma
       Service Modanty (Nurse, Sociaf Worker, Etc) and Process:
             educate smoking cessation be aware and avoid ltiggers
          Anticipated Date for Goar attainment 1012712015

      Educational Interventions:

       Service Modanty (Nurse, Social Worker, Etc) and Process:
             educate smoking cessation be aware and avoid triggers
          Anticlpated Date for Gcal attainment 1012712015


      Review Date for Treatment Plan:                        10/27/2015
      Follow Up Appointment                                  90days




     E-Signcd by Catherine Jord::in n 07/27/lOl.'i 12:SS PM EST                                                                     Page I of I




                                                                                                                       MCCI MED RECORDS 399
                                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 406 of 486 PageID: 1085
Monmouth Adult {MCCI)                                                                                                                                                            July 2015                                                                                                                                             Order Record History
    1   F,'.atlen1 ~~mi:t-.-.·. ,.                                                  .. ,; ,.P~*~t Ii;> ·· :.i.c•·'-21-             -::~eo Re_~ri!..~,-·              · Adiri~. p~~ ·                         :.-·PateOf_Birlh .. j Se?::•
    FREEMAN, DONELL                                                                26184                                                                                    06/30/2015                         12/2511975                           I           M
        AllemJes:         No Known Allergies

        Diai;inosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Galt
                                                                                                                                                                                                                                                                                                                                                                                                                   i
                                                                                                                                                                                                                                                                                                                                                                                                                   1. ·.
Discontinued                                                                                                                                                                                                                                                                                                                                                                                                       '
    Medication Orders
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    chlordiaz€!Poxide 25 mg capsule: give 2 capsule PO BID AM & HS for 2 days. - Ordering Provider: Theresa Raskauskas
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    08:00
    19:00
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    thiamine HC! 1'00 mg tablet: give 1 tablet PO Q AM for 30 days. If unable to give oral thiamine, contact Provider. - Ordering Provider: Kabeeruddln Hashmi
     11me Type                                       2        3      4        6        6          7          8           8         10     11        12       13       14        15         16        17        18              i9             20                21            22           23       24         25          26           27              28           29           30               31
    08:0D ltnit                          KF .,      KF    I   KF   I "OL I DL I        ICF   I    KF   I     Kf:'    I   KF    I   KF   I_§_    I   LO      I KF I KF I l(F I              l<F    I l(F I KY I                 cs       I     KF            I       1(~   I       KF   I   KF   I   KF    I    cs t cs I                 kF   I         R)       I   RJ      I     R)          l,~:'q~_::
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    Zoloft {SertraUne) 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - Ordering Provider. Janice Buttler
        Tlrne       Type                  1         2         3      4        5        6          7          8           9         10      11       12       13       14        15         16        17        18              19             20                21            22           23       24         25          26           27              28           29           30               31
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    Zoloft (Sertraline) 50 mg tablet give 1 tablet PO Q AM for 90 days. - Ordering Provider: Janice Butlter
        Time        Type                  1         2         3      4        5        6          7          8           9         10     11        12       13      14         15        1S         17        18              i9            20                 21            22           23       24         25          26           27              28           29           30              31
1os,oo I"''                          jil.iil!ll " I " I              OL   I °' I " I " I " I " I "                                        Is    I to I " I            KF    lil~qr•1~~!!ifrllj~'ilt)llJi,l;#j>lll!:ii~'ii'~'1'KN,i!lp1'11,1/!jii,i;ti,~Ji!i~i']~~,9:,s';i~;]~':!'i,J:'ill.iq~;¼l!lj!!f;,i,!,'·j
     PRN
:1~,~~m:«~!1~~§-~;\5;[ff~~t~~f.-:}®lnP!~~c1;:Q7,1,Q_8/?C!r;1:,'.~_~l§.IJ:~L~i1::_'.;r,:·?i.1N.9~@FS~-:r~~l«i<frrffn)~ef~,.''i',:.Q7J0,fHW1~1~i~.~l3$ ,';'.f. .su'Qm!t· ()~~- ::9..7!®~m-~:.1 ~=~6',j -T~rf-™l~: ... o-r~0_1_(2~1·s_ ::1¥:09.'I ~EpifjQ~J~{- .,.:0_7/08129I5 1~;®:
    acetaminophen 325 mg tablet give 2 tablet PO B(O AM & HS PRN for 7 days, For muscle pain or spasm. - Ordering Provider: Theresa Raskauskas
        Time        Type                  1         2         3      4       5         6          7          8           'iJ       10     11        12       13      14         15        16         17        18              19            20                 21            22           23       24        25           26           27           28              29          30               31
IPRN fTimes:                         I          I         11~= 3s fl9 :11 j 19: 35 I         I         !I1E~i~~lliUh~ft~~~Willli!f!klit~:ill!!.~~illll~J'J~S~~l!E!t~&1~~.r,!ifl~~Jil]~i~~tl~i%?.¥11~~'.T:~;~£:tl~·~t~l~:.<J/:.lr,~i:::.l~i?-::~l::t+r:'.~hll1.tij~:~~~~~~~:J;ti,,}):.,.fA
1J)fd~f;N_o;~:.,~.~-.sr.~.1:r:&J n~@ef,'$fe.W$::;;'.P~CT1:~!~~ .~~,2~t?oJst.J3Jilii}·.,·:::,;\/c'~-'; f:Y~rr!!'!.§ ~;.;:i"L~.ia$!:Mmmr~etea:·. :~· _.pl;llj_4!~,~'.HJ~,QB;i A::$ul}rrl~-tiaJe:: .~7fott?O? ~.:: 11_'.i34J ·:~:pa1~: . _: Jm~1-~o.1~ -9~:0_9 )·J~Jld -:D~!'l:- : ;1_p2~121!~§. -,~.~_:se
 albuterol sulfate 2.5 mg/3 rril (0.083 %} solution for nebufization: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider: Theresa Raskauskas
     Time           Type                  1         2         3      4       5         6          7          8           9         10     11        12       13      14         15        16         17        18              19            20              21   22                       23       24        25           26           27           28              29           30              31
    PRN             imes                                                                                 ·zr:er                                                                                                           17:5-7                            1a:u 20:2e                                      10:1,i:nt::40
                                                                                                           * .ill.                                                                                                         ~   11                               *    lD       *    D                          .- Ci




    .A.r~'\nVir, ~"rl                                                                                                                                                  Page1of4                                                                                                                                                                                               01!05-12018 18:17
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                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 407 of 486 PageID: 1086
Monmouth Adult (MCCI)                                                                                                                                 July 2015                                                                                             Order Record History
  ~~t}Jary,~";:,                                                 ·\. ,r p..aue~qo_               •. MedRiico!'l..#                 1
                                                                                                                                  • •     •   :A<f1T1isslq.n .[?ate,           ,- :·_Date·_c(s~J :sex:··
FREEMAN, DONELL                                                  26184                                                                            06/30/2015                      12/2511975            I   M
  Allem!es:     No Known Allergies

 Diaqnosls: Unspecified Major Depression 1 Recurrent Episode, Alcohol Abuse, Asthma Not othmwlse Specified, Abnormality of Gait


,9fd!~Ni!l,!~J~.l~~rn,J l<::!rilef!,\!jWt••~o/jij,\i\1'11(~.?/!lSl?~i'•j~~lll'1',J::f,':,i•h"/fl!t"<l.;,,,:;j {tj\!Jl\tlm<(i/ll<h(<ik:.; 97(11Af,o?i)!;,~1$lf1.;•JsufiiiiKll';.i~'.~ii7/iff&~q••1:1 !36J                     SJartJJ;if;<: '· .PIIP)/2JJ1~'.19:bil.! •gnQ,Dii\~:, , 071!l81l.oTs, ., 6:69
 loperamlde 2 mg capsule: give 1 capsule PO BID AM & HS PRN for 7 days. For addltlonal loose bowel movements following initial loperamide dose, Do not exceed 16mg in
 24 houi$.• Ordering Provider. Theresa Raskauskas
  Time     Type            1        2       3      4       5         6       7       8     9       10      11      12       13           14          15        16        17            18     19   20       21        22         23      24   25      26      27      28      29       30     31
IPRN      fnme,        I       J        I        !!9,u I         I       I       ll!ikl!!'~]nil!l!i!Wll¾f~lfili~~~~:.llfilil!]~l~tliflti!
.;~.~t:t{~;~~:@t®~l!~:kAArii~l:~~~:ffo\irt'IPJ~1!d.f!.f,JA!f:@1'.~~::1~;131;1.;;;~;t~:,_;:'h.~-t-~·ff;::•'kl-·:~a~{~<irfif~~lal:~-~~~g:1_·~.;)~:~s;I.$!i~_rn1rt:i~~;;-~~~,~~~9·1~--J'~\s_tar'.f.'Di#!ef::'.:::a_7,01l201'5';r~.:~t,,)~gg,q.~:· ::-.
  meclfz{ne 25 mg chewable tablei:"iilV8-Ttabiet PO Bib AJ\Jf& HS PRN for7 days. lf nausea or vomiting occurs. - Ordering Provider: Theresa Raskauskas
  Time                              2       3      4       5         6       1       a                                       13          14          15        16         17           18     19   20       21        22         23      24   25      26      27      28      29       30
                                         19':3:119:11119:35                                                                             ~l~~M~Jif.}filif4;?/l!iiffl1Ut~~~~:til~~~:,'tl16~~1l!Jl:JJ.~t/,{l!~~fi~\1~tJAtl!tt,~i/l,ilft:~ti:ijt'.<t~t2U~wi~li'it't:::tli'.'.F
                                            KV     CS      CS


,IJi\\<iU'!o::;,1w~.~lim:Offi~tll\Ofi!1t:,,9fi!~i"!!'!lii>ll?W?.~i.ll)!Jl~i!ig,·,,~"''"''';:'M)n'il.'i;'4 Jostf>~m!~~~i!!.''','•'9!'•.0/21/' •:~a,"'! ~fl::i!.~liiiiM,!i;\.'' ·W'o@~•· :Jo"~
 Naprosyn (Naproxen) 500 mg tablet give 1 tablet PO BID AM & HS PRN for 10 days. -Ordering Provider: Kabeeruddin Hashmi
                                                                                                                                           15                                                  • ~ a D M -                                                               m M
  Time
 PRN
            Type                    2              4                                 B     9       10     11     12      13
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 Patient Status Changes
 Patient StatuJ:;                       04scriptlon                                         To/From                                                  o,..
 Active                                 Admitted to Faci!lty                                                                                           07/2712015 09:10

 Pain Assessment
 Da1e                       score        Scale                  Location                  R&ason                     lnitlali:;         Interventions                                                            Result                         Follow Up Oatetlme                 lnit!als

 Order:



 PRN Effectiveness
 Admin Date                                                                                                          Follow Up Date                                     Result                                                                     R&a$on                      lnitlals

 Order:




   ii:. CORRECT CARI?                                                                                                                         Page2of4                                                                                                                               01/05/2018 18:17
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                                                                                                                                                                                                                                                                     MCCI MED RECORDS 401
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                                       Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 408 of 486 PageID: 1087
Monmouth Adult {MCCI)                                                                                            July 2015                                            Order Record History
 .-~am6£:_;,:.                                                                   · , MeQ ReCOicf # ·    ·., cAdmis>i<>o oat•;7 .· ,Pirt• of Blrth ..   T .Sei:'
FREEMAN, DONELL                                                                                              06/3012015          f 12125/1975          I   M
  AHerqfes:    No Known A11e"r9fes

 Dfaqnosis: Uns·pecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Notes
OrderNo          tnitlillS   Note Category   Note Cate           Item                         Status          Not<,
3157918          YE          Genetal         07/01/2015 19:00 chlordiazepoxide 25             Refused         states does not need it
                                                                 mg capsule
3157918          KF          General         07/02/2015 08:00 chlordiazepo.xlde 25            Refused         did not want
                                                                 mg capsule
3157918          KY          General         07/0212015 19:00 chlordlazepoxlde 25             Refused         " l dont want them"
                                                              mg capsule
3157918          KF          General         07/03/2015 08:00 chlordiazepoxide 25             Refused         refused
                                                                 mg r;apsu!e
3157975          LD          General         .07/08/2015 21 :01 albutero! sulfate 2.5        Hold             not needed
                                                                mg/3 ml (0.083 %)
                                                                 soluUon for
                                                                 nebul!zatron
3157975          cs          General         07/19/2015 17:57 albuterol sulfate 2.5          Missed          im did not needed it
                                                              mg/3 ml (0.083 %)
                                                                                                                                                                                                     I·
                                                              solution for
                                                                 nebuli'zation
3157975          LD          General         07/21/2015 18:22 albuterol sulfate .2.5         Hold            not requested
                                                              mg/3 ml (0.083 %)
                                                              solution for
                                                              nebullzation
3157975          LD          General         07/2212015 20:26 albuterol sultate 2.5          Hold            not needed, not requested
                                                              mg/3 ml (0.083 %)
                                                              solutlon for                                                                                                                           i
                                                              nebuliz:aUon
3157975          cs          General         07/2512015 10:14 albutero! sulfate 2.5          Hold            not needed at this 1ime
                                                              mg/3 ml (0.083 %)
                                                              solution for
                                                              nebulization
3157975         cs           General         □712612015 16:40 albulerol sultate 2.5          Hold            not needed at this time
                                                              mg/3 mL (0.083 %)
                                                              solution fur
                                                                nebulizatlon
3193866         LD           General         07/1412015 20:00 Naprosyn                       Refused         dont want
                                                              (Naproxen) 500 mg
                                                                tablet




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..,..,. o ~ ~,  , o ~ a                                                                                  Page3of4                                                                 01/05/2018 18:17




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                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 409 of 486 PageID: 1088
          Monmouth Adult {MCCI)                                                                                               July 2015                                               Order Record History
           -;.Patie,?Ji.Na!T!e~ ,•;                  ,,.,.,, ;: ~:~,ail-~!li"11)' ,~.,   +r:,~.,,Meq R~_~:#,,,_.:.      AqrnJ~tiior\P,ate •:·.. t•I·-•. -oateotBlrth   ..Sex: .. 1•
          FREEMAN, DONELL                                 26184                                                           oe13012015               I 1212s11s75           M
           Allerqies:        No Known Allergies

           maono,isc Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Galt


          lnl!ials Legend
          lnitials       Uset
          AL             Labarbera, Ashley, LPN                                                                                                                                                                                      !'•'"
                                                                                                                                                                                                                                     i'·
          cs             Smans, Cherie, LPN
          CZ             Zlemba, Cheiyl, LPN
          DL             Lazaro, Danlelle, LPN
          KF             Fackina, Kathryn, LPN
          KY             Yeager, Kimberly, LPN
          LD             Divita, Lawrence, LPN
          RJ             Jenkins, Roxanna
          YE             Everson, Yvette, LPN


          Order Administration Site's
          Abbtaviafion           Sft&




           it CORRECT CARI!                                                                                             Page 4 of 4
          ..,d'l!r,,3C,l~1JON3                                                                                                                                                                  01(05/201818:17




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-~;,··.                                             - - - ·····. .·. ·.··-···                                        ···--· c - - - - - - - -                                                                .· . ,-.t_·----   ·-·
                                             Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 410 of 486 PageID: 1089
Monmouth Adult (MCCl)                                                                                                                                                  August 2015                                                                                      Order Record History
 )¼tlanuia~:,.                                                               ·,·:.. Jlatlentl,ti .. ·-~,             .;i:, ·,M.e4-ij.e!;(lrd ~ ·                 '.:-:_i;dmisilonJ?att(~:.• _:(J?,irl!' :Of Birth        _Sei_<:~·.:
 FREEMAN, DONELL                                                          26184                                                                                        00I301201s                I 1212511975                M
   Al!elllles:   No Known Allergies
  Dlaqnosis: UnspeClfled Major Depression, Recurrent Episode, A!cohOI Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
~\Q~~;:t:f9:r-~-~£1.~P1~i-:J ~Q@Eif:~~gcS~?.i'i:?.~UY:n.Ueti!/J(!Mi'~04':;:f§:it5~f,-,\;;·;;;y,~~~:1{i:J,~~I/;~~r~~i~-~7-~Wl~~ '. j .;:$.U.~mrt:,E;i~~-: ;-~7114(.2()is:_:t~;-5~ .1,'.Sfu°r:f0~::. '07f1~~1.$_·:!?~]-:'~M Qillf!:·, _,1_91p{~OJ~ JJ7:~9-
 Zoloft (Sertraline) 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - Ordering Provider: Janice Buttler
  Time         Type                      2       3        4         5                   7
                                                                res I '
                                                                                                  8             9         iO        11         12       13        14       15         16    17       18   19        20       21
 06:oo _Jliilt              I Lj j '{j I         CZ   I   II)                lU     ,-11,     res:         I   cs     I   It)   I   ii.)   I   At   I   RJ   I    cs   l   XR     I   KR   r ct -1-Rj l   DL.   I   R)   I   R)        I a TTs7
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      PRN
{9~~f~":)!f~:~1c~r._~:\:]49:ri:J~r$J&W.;'.:!(:f@:j~)~0}1/212~l2ms~:1:\1;~\~:;~.;_,~i':;,i~Tw:~·,1~~%1,).T~:'el~.m~~~.(~~w:0.~:._µM_15&0,1§;;-t?9:~~- r:'k$4bf:rsJtP.a!~~: ·_ :~~fl?~_/2.9,1~ :s1_ ~~~-J.,.~1~·1t~€t: ?IVIP.1 (2.91,:1 '1_:4:1@:1 '}~ritf_•pafo: ::::·~2'28/.2~:t-? :_1j·:~
 albutefO! sulfate 2.5 mg/3 ml {0.083 %) solution for nebulizat1on: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider: Theresa Raskauskas
  Time.      Type                1       2       3        4         S         6         7         8             9         10        11         12       13        14       15         i6    17       18   19        20       21         22   23   24       25      26       27       28       29         30    31
(PRN       I                I        I       I        I         I        I         I          I            I         I          I          I

 Patient Status Changes
 Patient Status                              Dsscription                                                        To/From                                                    Oat.



 Pain Assessment                                                                                                                                                                                                                                                                                                         i·/
 Date                            Scora       SCal:8                     Location                               Reason                          lnftlalS          Interventions                                                    R~$Olt                       Follow Up Oatetima                  h1ltla!s

 Order.



 PRN Effectiveness
 Admln Date                                                                                                                                    Follow u~ Date                              Re.suit                                                             Reason                         Initials
 Ordar:




 Notes
 OrderNo              Initials       Now C"ategory          Note Date                        Item                                          Status                      Note




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                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 411 of 486 PageID: 1090
Monmouth Adult {MCCI}                                                                             August 2015                                          Order Record History
.;::r~nt_N~~·_::;•:;-..:...                    _i">l_lont.10' ,   •··. ;i   MeiJ_ Re(:9rd_~   ",1\dmiS~onDate..;:,   ---r: Oateof.Blrth..   .. sex::
FREEMAN, DONELL                             26184                                                 os13012015           I   1212511975         M
 AUen:iJes:     No Known Allergies
 D!aqnosls; Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnonnality of Galt


Initials Legend
Initials      Use,
AL            Labarbera, Ash:ley, LPN
cs            Smalls, Cherie, LPN
CZ            Ziemba, Cheryl, LPN
DL            Lazaro, Danielle, LPN
KR            Reed, Kendra
LJ            Jefferson, Lanee, LPN
RC            cardin, Robert, LPN
RJ            Jenkins, Roxanna


Order Admjnistr.i_tJ<:>_n Sites_
Abbreviation         Site




_,k.f~Rl~~1T1 CuAVi                                                                           Page 2 of2                                                          01/05!201618:17




                                                                                                                                                           MCCI MED RECORDS 405
 <   ,•-••-••••H'                                ,--------                                    ···----•,--   -----
                                                                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 412 of 486 PageID: 1091
            Monmouth Adult (MCCI)                                                                                                                                                                                         September 2015                                                                                                                                        Order Record History
             •Patian.t.~~, ..                                                                                     , .:.;,-P,atlenUD                                     )taq Rec:oj"o # .                              .. Admi6&16.fL~e·..                       · · DatoofJll~h •. ! . Sex:
             FREEMAN, DONE.LL                                                                                     26184                                                                                                      06/30/2015                             12/25/1975 I M
             Allel°QleS: No Known Allei'gies

              Diaonosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


            Discontinued
              Medication Orders
            ,;o~fiP.fP:'f]:.'.:qrv~;~~~;;;~.®1i~iJ.e.~. ~.ww12~rnx~~:J$}(::•'.;',(;.~~-~.n);/,;\j,;~-_;'<llrlir'il.~,:.-•!:."•.:·19{~.?:@R1~ -'R8;~,Q, d:·:SUP,trj_il:o_a.le'::: Pm!4/~oi_S·:15~",J,:-SiartJ)}~1¢: :,Q!0~9J§: -P.8_'.9'J'( :cl:::ili:fllirte;::'7'fo/t~fl<Ji~, 07.:.59
            Zoloft (Sertraline) 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - Ordering Provider. Janice Buttler
                Tune-              Type                                  2        s            4           5           8           7           8           9          10          11          12          13          14          15          16          17          18          19          20          21          22          23         24            25           26           27            28           29            30           31
              os:oo !1n1t                                I           I   DL   I   RJ      I   RJ      I c ~ ~T                                 flj    I DI. I          ff.l   I    ~J     I    cs     I ::_. I _a I                RJ     I ot I u I                   RJ     I ~ cs I         cSc    I   RJ      I _RJ       /   DL     I R) I            RJ      I     LJ      j    KR      I 11.J I           RJ      I cs l:i.'.€:T!:;~4
                      PRN
            ·"'"'~,.,, .,.,s,.1.1~ ,v~o,·
                                     ·-'~'-'~1•,'..!;!:~~~4s:,_
                                                     ~,···,:..,~""'~'"'•'"Vi•lio'1',i'e<5«0'0CC,'fl': '''Wil\\o>''''' !"•'CA~·,·, ''""iifiid'''' ·.cp'91·'M20W09"8· 'l''SiJ'~il"""''' '07/01/201!i'i1'"''1 ·s1cl.rt,~ ,.......07,0112015 ,a,oo I ·E"-0 .,., .,.,21••~15·.fa,59···
                                                         0
            :•.'Y.1/.-!!/!, ...~!!_Q'•.H,.,.1,,.-.-., Nt••:.:•                         ,~\!lt"'·~-, :'~ .....}-!, ...... ·:.".L,,1-!1?,i•l:,,r.•!1'•.>•·,.,,,.. ,c1f",x.: :::i,,<.<:>~1;",\iffi'!~.j!'_ ,.. ... .--~,·),· ·. _!>', ,,._ .-, ,,,, ,.',,,.~, :1 1,.... !!'1~ ·'P,<" ·,'• •. ·.•., .. ,_ •· ... ,., .-., f ·,·: ·-~ ...   _!li'<."~e;__ -;-,,..! ,, , .,. ......,_.;., ,., .. '.. ,.,':"' .. -~ ._ ''--'..•; _.,, f:.'i"":"'1' _-.-., ...'·
                                                                                                                                                                                                                                                                                                                                                                        1
             albutero! sulfate·2.s mg/3 ml (0.083 %) sofution for nebu!ization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskauskas
                Time               Type                          1       2        3            4           5           8           7           8           9          10          11          12          13          14          15          16          17          18          19          20          21          22          23         24           25            26           27            28           29           30            31

            !PRN flmes ! I I I ! I I I I I I I I !~t,' I I I I I I I                                                                                                                                                                                                                                              j           I I I I I I I I 1:•;\~3]
              Patient Status Changes
              Patient status                                                  Pescrlp-tion                                                                  To/From                                                              Date




              Pain Assessment
             Dato                                                Score        Scale                            Location                                  Reason                                 Initials            lnWl"l'entlons                                                                             Result                                         Follow Up Datetlme                                      lnltlals

             Order:




              PRN Effectiveness
             Admln Date                                                                                                                                                                         FollowU_e_oam                                           Result                                                                                                  Reason                                           {nltiats

              Order:




              _Ai<!Rfff~T, Ctl\f?                                                                                                                                                                                       Page 1 of2                                                                                                                                                                                        01{05/2018 18:17




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                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 413 of 486 PageID: 1092
Monmouth Adult (MCCI)                                                                                             September 2015                                   Order Record History
.:P.i:.tle~f_t•.fEI_~ , . ·                                           ·<·:P~.              M,d Rii:im! #: ...   . A~mt~!~_ifD.ale -:   .Oe,te.of.Blrth . I ·So,:
                                                                                                                                                                                                 '.
FREEMAN, DONELL                                                   26184                                             06130/2015         1212511975 I M
  Allerqle$:      No Known Allergies

 Diaanosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Galt

 Notes
OrderNo              lnltia!a         Note Category      Note- Date         Item                     Statu$          Now

3157975              CZ               General            09/14/2015 09:0S albuterol sulfate 2,5      Refused         dont need
                                                                          mg/3 ml (0.083 %)
                                                                          solution for
                                                                            nebullzation
3210101              CS               General            0911912015 08:00 Zoloft (Sertraline)        Mlssed          no show
                                                                          100 mg tablet

 Initial§ Legend
 Initials       User
 cs             Smalls, Cherie, LPN
 CZ             Ziemba, Cheryl, LPN
                                                                                                                                                                                                 :.-·
 DL             Lazaro, -Oanlelle, LPN
 KR             Reed, Kendra
 u              Jefferson, Lanee, LPN
 RJ             Jenkins, Roxan_na


 Order Acf_ministration Site$_
 Abbl'fl_vlation        Sit£.




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   t. CORRECT OAR!:                                                                                               Page2of2                                                    01/05/2018 18:17
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                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 414 of 486 PageID: 1093
Monmouth Adult (MCCI)                                                                                                                      October 2015                                                                                               Order Record History
·..-P.~ent N~e~--.                                                ~lel'lttb:_,                        ·Med·Rec::oi'~                ' ·. Adrj)iSSl~b-~le,      ··._J ..   ,oate· _Of Birtfi ---'.- :::L _~~ex,:,:' -1. . -
  FREEMAN, DONELL                                                 26184                                                                    06130/2015            I        1212511975                I     M
   A!!erqies: No Known Allergies
 Dia!:lnosts: Unspecified MaJor Depression 1 Recurrent Episode1 Afcohol Abuse, Asthma Not Otheiwise Specified, Abnormality of Gait

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Discontinued
 Medication Orders
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'{¢fi]$.t)~o::\~~~P) (,)_t:;l:\P~-~-f:l$@_tf.iS;,ii.:bJ#,ti'1@._~;1or.C!.?/~1n_~ ;~'$:_;l§;,{i~1}.r,~-~rI~~;:;:.~J::~A~/tJfo~:~~?iTT91..1@Pq_1_~-:~;QD ,f~~-m.~~pa1e;,_:-:l~?!.~_4/f.~~.$-_-'.1_~-;~~ J. . :$t~f!·_oate: . ::--9.7h~~,? :-.~e;9q,J :·Ertd',l)ii~efr,.: --~ 01~~-0!Ji•;0.7;~
 Zoloft (Sertralioe) 100 mg tablet give 1.5 tablet PO Q AM for 90 days. - Ordering Provider: Janice Butller
  Time       Type                    2        3      4       5       S       7       B       9       10       11     12      13       14      15      16      17          18         19         20         21         22      23   24   25      26     27   28   29       30     31
joa:oo jlnit                " ·1     Rl   I   Ll   I " I RJ I " I            OL jt!!lllll!l!li.liillJ~1~<1{iljml,llmliii'W~~<i!!Jl/lJ~1~J!!WEtjii.l.'tll!q""2tli']:l~l~l'llili]iQJ"'1.~j~)\i1~~$iL'4li'ffi§l!!l'il~.!i.'il'lji'l,".;tj
,\l\tjef1'/o!:9!1"i),!1'9ffi~(!'l.t!i\il~;:iXlqljtJi/i!!~J!)IM!iilli~l~!,~~J;\)'\:i,i\1iPN!/!!!'ll~!,:}:J;~•(A<lf!i1ffl;!l~,tdVi',•W(il\!1'1Pl.8 W?t!'/ :;,,j ;soM\~ tii<ilS.••, ~p,ol'f~i?j$) 6!'1~.· j:.Jli.~:~aiii,;• ',\~1~~1.s.P•"l\' !cl';M·llatii: ,:: '91Je§/20lV~T:51l
 Zoloft (Sertraline) 100 mg tablet give 2 tablet PO Q AM for 90 days. - Ordering Provider. Janice Burtler
  T!me      Type            1        2        s     4        5       s       1       a        9      10       11     12      1s       14      1s      1s      11          1s         19         20         21         D       ■    M    ■       m      V    ■    ■        •      ~
Ioa:oo     /1n1t        T1lll!l,',Jiffl!~lllffi!J-l!f-ii!L~I " I "' I                                C,   I   cs   I OL I " I         cs   I CZ I CZ I • " I cs I " I ,u I "                                          R,)    lf\J r~LJ,LJ jRJ IRJ jAL ja:i IPS IRC
      PRN
.'.~~~~m'r,R;f;fl:~-:Qm.~.($tat~~!l~:9Q~P.!ef~<t.'1.~(Z~,i_QJ/?;!,,~~if.,fl~::.y;~,:N,~~ffili/iji).1~!'Art".iJlii:~ii?t)~W_'!ffi~P1Q ,:9.9:9~~-~;1"'.Sl~gr!'.llt:Qi:ir~;::,JmRJ.~W~.i'i,1_ &4:;·J:'&:i~tt O:~d~(0,;-0?{0:1.{Z9~.!>. ,,14~0.:1 ._'..Eli9.:P~te;•' .:::11J@.?.9J. 9-:~ 3~9
 a:1buterol sulfate 2.5 mg/3 mL (0.083 %} solution for nebullzation: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskauskas
  Time       Type           1        2        $      4       5       6       7       a       9       10       11     12      13       14      15      16      17          i8         19         20         21        22       23   24   26      26     27   28   29       30     31

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 Patient Status Changes
 Patient Status                           Description                                         To/From                                        Date




 Pain Assessment
 0.te                        Score        Seal&                  Location                   Reason                     loltials      Interventions                                                              Result                   Follow Up Dateume            Initials

 Order.



 PRN Effectiveness
 Admin Oat&                                                                                                            Follow Up Date                        Result                                                                          Reason              Initials

 Ordar:




 .;..r~>"1tff~1'l °oAM                                                                                                                 Page 1 of 2                                                                                                                      O'l/0512018 18:17




                                                                                                                                                                                                                                                            MCCI MED RECORDS 408
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                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 415 of 486 PageID: 1094

Monmouth Adult (MCCI)                                                                                           October 2015                                     Order Record History

;'.,::e~t\e'nfNanuV.: ·                          ''i;.\, ;. ,BatiOl)t 10•.:; ,_;:;,.J,, Me<! ~•coi'd# ·   :·,._A~i0_11_bate ..;:   · )?._atetoHlirt~ .   sex:·
 FRE~MAN, DONELL                                       26184                                                    06/30/2015          12/25/1975            M
  Allerales:     No Known Allergies

 Oiacmosts: Unspecified Major Depression, Recurrent Episode, Atcohol Abuse, Asthma Not Othaiwise Specified, Abnonnality of Gait


 Notes
 OrderNo           lllitials   Note category   Nata Date            Item                        Status           Note

 3578194           cs          General         10/1712015 08:00 Zoloft (Sertralino)             Missed           !n speaker Jam
                                                                100 mg tablet
 3578194           LJ          General         10/24/2015 08:00 Zoloft (Sertraline)             Missed           no show
                                                                     100 mg tablet



 Initials      User
 AL            Labarbera, Asnley, LPN
 cs            Smalls, Cherte 1 LPN
 CZ            Ziemba, Cheryl. LPN
 DL            Lazaro, Danielle, LPN
 KY            Yeager, Kimberly, LPN
 LJ            Jefferson, Lanee, LPN
 PS            Stager, Patricia, LPN
  RC           Gardln, Robert, LPN
  RJ           Jenkins, Roxanna


  Ord11r Admini,;tration Sites
  Abbrevfatlon        stte




  .•tJ~Rflrr'1r111>An                                                                                         Page2of2                                                      01/0512018 18:17




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                                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 416 of 486 PageID: 1095
Monmouth Adult (MCCI)                                                                                                                                   November 2015                                                                                                      Order Record History
. e,,iiMt:1<.ome; ,.                                    LJ:>_;: ~,:1;~:·;. ,.pat:'i8r\fltJ.-                   . K11~:-RBC9.o:i ~ ::. -             :Admfsslo.n; J;)a;te_....              ··oate 9f ~~:;~][~~~-:.                                                                                                          \·,:·

                                                                     26184                                                                              06/3012015                          1212511975 I M                                                                                                                  i,.
  ARe1ttles:


  Diaqnosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse 1 Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
                                                                                                                                                                                                                                                                                                                            i-,:
 Medication Orders
;.:Q~,~•tJ9}\~.5_1_~.1,~:::'tj i~~'~fo1u_~t~];';pp)P.ltj1¢..9Jl~.?.9:l.~';.:9.7~~~~~-'R::~1'.~l},;j~Y)frl~~::z:·~E;i;tti~EA.ijirjjf.)f,1~~~;;1,::~· ,;~f!~J~-' ~:!)!?,, :;-i:- ~~prott__pat(!;~.:~_~p71~~1-~-.--~ ~-~1$.,1 ·-s..~r:tDate,,, -~9!~~~~-:\9!3•(?[;1,l ·'En.d.'~e::- ',_;_0?,{~?91 ~,:qz:~9
                                                               0



 Zoloft (Sortraline) 100 mg tablet give 2 tablet PO Q AM for 90 days. - Ordering Provider. Janice Buttler
   Time      Type              1       2       3       4        5         6        7           8       9       10       11       12       13       14        15         18        17        18       19       20       21        22       23       24       25        26       27       28       29        30      31
 joe:oo jinit           I cs I cs I I AL I Rl I RJ I L.1 I LJ I RJ f RJ I Al.- I R"J I !O I KY I                                                              cs
                                                                                                                                                                       " " " " " " " '" " " " cs EJ~~&ftJI
       PRN
'.;~·¢@~.N~.2:~t5.~~?,§!Wf ;\Qr.?,l!W;$ij'.t\j"~j;j\@to:P)9't~~(t~~-l?-~½~·arsac+:;;;f:;,: ',1 '!;?mllten', ;,; ,:;1_\J~~A9_Qfll'l~<i~;~i;:_.:i,~~~9,_p ~~-:~ rA'iSi;it!ri'l:i(!µ~fa;,; ;9f!9,y.2,9,1~,:~~J-~4.;f _·$µl·r.r:§tne;;-':.Jl~{9:1f!~!?>;J_4;_00:j .'.~d::f.!.~49;;·,· ·~~_@i§'Prn~.' -'~~.
   albuterol sulfate 2.o m~ ml (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 1ao days. - Ordering Provider; Theresa Raskauskas
             Type              1                                5                              •       9       10       11       12       13       14                   16        17        18       19       20       21                 23       24       25                 27       28       29        30      31

                                                                     I'
   11me                                2       3       4                           7                                                                         1S                                                                  22                                   26
(PRN        I             I        I       I                                   I         I         I       I        I        I        I        I         I          I        I         I                  I        I         I        t        I        I         I        I        I        I         I         l'i&¼~ij
                                                     ' '                                                                                                                                         '
  Patient Status Chan~es
  Patient Status                            ~c.ription                                                  To/From                                              Date



  P~in Assessment
  Oat,,                        score        Seale-                  Location                           Reason                     Initials         Interventions                                                            Re.suit                          follow Up Datetime                       Initials

  Order.




  PRN Effectiveness
  Admln Date.                                                                                                                     Follow U_e_ Date                               R8s1.dt                                                                         Reason                          lnitial!S

  Order:




  Notes
  OrderNo           Initials       Note- Cate.gory         Note Date                    ttem                                 Status                     Neta




  .AJ~ALRtr111 ~A~~                                                                                                                                  Page 1 of2                                                                                                                                         01/05/2018 16:17




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                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 417 of 486 PageID: 1096
Monmouth Adult (MCCI)                                                                                        November 2015                                     Order Record History
 .P~ti8nt Nam~-: .. 1, ~:.'.,___:;;.-    •··'-"-···   . :-:,.,~atieiitJo·.: .     :, M<d Record#     .. ,L,Admis•~n Date          · JJaleeifBlrth · l._.Sex:
FREEMAN, DONELL                                       26184                                                   06/30/2015            12125/i975 I M
 Allerores:       No Known A!IEifQTes

 Dlaano,fs;      Unspecified Major Depression, Recurrent Episode, Alcohol Abuse,            Asthma   Not Otherwise Specified, Aboonnality of Gait




Initials       u,..-
AL             Labarbera, Ashley1 LPN
cs             Smalls, Cherle, LPN
KR             Reed, Kendra
KY             Yeage,, ~mberly, LPN
u              Jefferson, Lanee, LPN
RJ             Jenkins, Roxanna


Order Administration Site$
Abbreviation           Site_




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 .&.Jr~_BiRfqTl ~AM                                                                                         Page 2 of2                                                    01/05/2018 18:17




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                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 418 of 486 PageID: 1097
Monmouth Adult (MCCI)                                                                                                                                      December 2015                                                                                                  Order Record History

;,~~(~~:                                                                                                        . ·.,-'M~Fecci~#:                      -_~'P.!~l2_ri Date --·         _;.,.Date:rif_Bi_tu{<    :I      ,SBxt ..
 FREEMAN, DONELL                                                                                                                                           06/30/2015                     12/25/1975               I     M
 Allera(es;      No Known Allei"gles

 D\aqnosis; Unspecified Major Depression. Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specrfied, Abnom,a!lty of Gait


Discontinued
 Medication Orders
:_~~~:fi:,;,~~A~,~;N '1!~~r<1~f~~;,_<pr;imP.!~~~1~1,<H~9~.11wtft~t.i~W-~;;1;;/t~;t.Vptt1~n:'.ii)(-;~~¥f~~\11m~-~•,H::; ~:1 o/1 .§0l"~~;,::1.~=-®~,:f;;.$Uh_r'ffitJ'.:!iii~;,;,:t~o1:1~ws.. _·1.1 f?O .I ;-~mrt ·aa~i . -1.?'!'J1[.®10J_~:;J?.oJ ;_iii~ :pate;·;- .gr.16120,_s~ ~1,~:~·
 Mobic (Meloxlcam) 7.5 mg tablet give 1 tablet PO Q HS for 15 days, -Ordering Provider: Kabeeruddln Hashmi
  Time      Type              1      2       3         4         5        6         7        8            9         10       11       12     13       14        15       16      17       18        19        20          21       22    23       24        25       26       27         28       29        30          31
[ 10:00   ]ntt           j "       I "-    j U'C j cs        I vc I " I ,, I AL I AL I cz I vc I cs I cz I vc I "                                                      1,1,i:,;o]~,iilli]~&-il'~,!i,,i!\!:,!lil'.'i!ii.]l!i,¼]t;;d~li']!c's'ti~l'it~li\b\lil];,'il"i;;l~\,'~~l1':,o.iii!1li!tiifi:•,l
;p_li!~t~~-Q~?m~-~-ij>~l:f.9fo~r.s93w!!;-X~P.l~te<J:~.n~:1;$~.oc11t~§7.i~~-1!'-"'Y:•;t'(d1£~~~-;•(,:;J;·~tMf.tl'irrfs.ter~.i:l~--'.:p~9.1~QW";~,6:~;: ;J ~~l\?iillt:DEl!e'i.; ;,9mri~gi_?::t~A~ 1::S1aJ1: Dial~;                                        ~-:~ ~0_8/~1~'.·:~~::9{},) :1:ni:( l;)ai~':::· ___qr~:z,o~ ,~: ;-~"-~
 Zoloft (Sertraline) 100 mg 1ablet: give 2 tablet PO Q 1W, for 90 days. - Ordering Provider: Janice Buttler
  lime         Type                  2       3         4         5        6         7        8            9         10       11       12     13       14        15     16 17              18        19        20          21       22    23       24        25       26        27        28       29        30          31
1os:oo lln!t             I Kl!jAL-···r       KIi   I   AC"JTCJ        j   l)    j   AL   j   AL     j    Cl     I   RC   I   AL   j   (5   [ LO   I   KR    I   Ai -   ~~             ]    KY   I   OL    j   LJ       T r;y·     rJ;Y~--T ct··r·iR-T cs I                     CS    j   KR   j   AL    f   I(\'    I   AL   I

        PRN
_.:J))'~,($'~;lil9f~!2~-~~-1:!);!.ijpf~~i($P.i!tit~~;;J~~P..!~.~:AAt~i;t~:f:~{'.n,~~-l?~JV ~'.1rr:,:~c-~,W,.!f\~i}('\~~l:~lt.if§!~!': -, ;_pq1~.1~,;1~!59.,: -~t:~\:ibrfiiJ·PSte; .:),2(~_-9/'2_0_;'1~ J3ffi~. 1··:$t~l!1•"Dat€~_,- J2f~8{?9.~~-;1_4~0_~.:J.:!$tf,~~i.e .: ._';D~@_Q1~- 13_:59
  albuterol sulfate 2.5 mg/3 ml (0.083 %) solution for nebuliza!lon: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider. Kabeeruddin Hashmi                                                                                                                                                                               r-
   Time        Type                    2     3         4         5        6         7        8            9         10       11       12     13       14        15       16      17       18        i9        20          21       22    23       24        25       26        27        28       29        30          31
ilPRN      I             ,~                        """',l!illclll!l!!'Jl11l!fu,"\iiii1?icii1lliilli!iillllft1!!!i!!l!i1J&lll!l,,'!i!!lii!il~~)ll,1Jhlijin~lil',/'<i\i)s."i!!!iif)tiltl!!l\i]lil,/,l'JJ!!,il,if;j,1M.ih,']i'lii,'sl,o\!,\,;ilfliil;il:iii5~ll~-*jj[l'ltlfl;t1] ~!!;,,ii        I         I           I        I
::-·9Mlii:~,1~{Mltl,?JW:-?:~J{@'.@"j~~wusr~,{.~ll.@~~Jt.m.~r?9~JH)~~=P.#~:):::;~\)~;::•,;·:Mf§"J:;~~,-:J;;~"Mni.ltf!S~_f~k, ·.{@~.~,1io14, g~.:~:.,;_l~'-~bm}t;t)J!l~';::. ~7fflv~o~€ 1_ 1.~·-1.:'$t_'ait;ID_~:·· :.'P7/f!1},2.~~:f ;'(4~9□'1 El'id::Q'aje_::·                                         '12J2!3"ffeQ1f.~-~-;~g
 a!buterol sulfate 2.5 mg/3 ml (0.083 %) solution for nebulization: give 1 mi!ltUter JNH Every 3 hours PRN for 180 days. - Ordering Provider: Theresa Raskat1skas
   llme        Type           1.       2     3          4        5         6        7         6           9         10       11       12     13       14        15       16      17        18       19        20          21       22    23        24       25       26        27        28       29        30          31
                                                                                                                                                                                                                                                                                    1;~,:j~ff~:Ji~,'.f,;Jitil:&4
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 Patient Status Changes
 Patferitstatu&                            Oes<.rlption                                                       ToJFrom                                           Date



 Pain Assessment
  Oa1e                        Se ore       Scala                     Location                           Reason                         Initial$       l11terveritions                                                          Result                            Follow u_e_ Datet!me                  Initials


  Onier.




                                                                                                                                                        Page 1 cf2                                                                                                                                       01/0512018 18:17
  ,.AJt11'V1ff~Tl~A,~]_



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                                      Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 419 of 486 PageID: 1098
Monmouth Adult (MCCI)                                                                                                        December 2015                                                        Order Record History
 J~~.tten~  ~~~"'I                                     ' ...-.-.PaW:is,tlD_-,.'.._.:   ";:.·,..M.~ _,_~eCOrd # _       .:;·:_,: Admi~siorl pate,-.,.   :;I _kpate o1 Birth. ,:·.1 ~ex:
FREEMAN, DONELL                                        26184                                                                      06/3012015            I   1212511975        I   M
 Alletrtles;     i'.JO""f(riOWn AflB~fes

 Diaonosis, Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


PRN Effectiveness
Admin Dabl-                                                                                                  Follow U_e_ Date                     Result                                 Reason           Initials

On:f&r.




Notes
OrderN0            Initials    Note Category   Note Date                  Item                          Status                  Noto
3578194            LJ          Generaf         121051.015 08:00 ZOlofi (Sertrafine)                     Missed                  no show
                                                                100 mg tablet

 Initials Legend
 lnitiaJs      User
Al.            Labarbera, Ashley, LPN
 cs            Smalls, Cherle., LPN
 CZ            Ziemba, Cheryl, LPN
DL             Lazaro, Daniell'?, tPN
 KR            Reed, Kendra
 KY            Yeager, Kimberly, LPN
 LD            DiVita, Lawrence, _LPN
 LJ            Jefferson, Lanee, LPN"
 LPC           Carvalho, Luis, LPN
 RC            Cardin, Robert, LPN
 TR            Rohrmao, Timothy, LPN
 VC            Cotroneo, Veron~, LPN


 Orc!er Administration Sites
 Abbra'liation        Sit&




 .A_iiR~Rrr~TI iA1\                                                                                                        Page 2 of2                                                                          01(05/201818:17




                                                                                                                                                                                                      MCCI MED RECORDS 413
               ···--••*" ,..                                      ·---.. - ..,----                                  ··---- ,---··· ------- .
                                                     Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 420 of 486 PageID: 1099
Monmouth Adult (MCCI}                                                                                                                                                            January 2016                                                                                                      Order Record History
  ·.Fatl!!:!nt Name!                                                                   ·:;··_-;--p~~ief!(lO_ .. ,,; ...           ·.. :·_.Med~cor<I# .:                    .:_.-.Adm~iorl.:Oate :                   Pate-9f.Birtn          Sex:_,
  FREEMAN,DONELL                                                                       26184                                                                                     06/30/2015                         1212511975                 M
     Al!emies:        No Kil0WJ1-A1Jergies

     Diaooos•: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not otheiwise Specified, Abnormality of Galt


Discontinued
     Medication Orders
'i,Qri,ie~~N'di:~:,~~7-.~.W~?i1 {PrU~N$tliW!J};\~urJIP~~d..9'1fll~?01§),Qf-.§~~:~·w~~'- :,\j.}~_t'.Mlnf(,:Istetii.dl ~:'\'DVQ&'.~~~,;(i!B:P,~·~:..r~-q~)fl-~.PJ.i!Ei:::=-.'(btO!/2P".~~::_1 _6;t9 I- -:"S\a'd -~te::'.:·                                                        1~~9.~ ,5 .pe;OQ-:j \l:?M -~~- ·;. ·o_1!_¢$~-t6. 'f:/!<1?9
  ,:'.oloft {Serm,llne) 100 mg tablet: give 2 tablet PO Q AM for 90 days. - Ordering Provider. Janice Buttler
     lime         Type              1          2         3         4        S               6         7          8            9       10       11       12       13         14       15          16        17       18       19       20       21        22       23       24       25        26       27       28       29         30       31
 jQ.!3:00     !tnil             1 K'I' 1 im I            l:R  J~1A1J1U:lJHrlf.lffIDf(m~ilJ~~1ti1:•1L~t~]~~'iJ!~~~i-&ib~~#:-1~Jt~h~}?£JJJ~iml~Jil~~t1JYI*,¥.:~i)JY1~~~:BJ;::ii*-:.},tll:~21*~l~t-~ffit½tL1.t1~~NJfE~2t:Jft~~~-J
                                                               I   Re   I   Al

!.'.Pig'#'.flS0~~~~~9AA7'!!lf(~ftlRl~~~:t&tti.~!;:;pornpw~tO:MiQ$/i~t~r~1~~r-t,)'.!if~::.·1;·1i:~~H~.':.??l~:h~~~n':!~t$Jai,#li;t:::-;:t1:¥~~J.!Jo:'p,8i~:~.;:J '.:$41:1.ffij~J~at~!.: .-i~-~1;k~ 5:q2_;J·~$fart.tY~~ . .•:'91~0~,i!~,'.16)i~;p~rj ,\_Etj'Q ·i;i*~;: .;; ,0\V~9~'9:·:P7-'~~f
  Zoloft (Sertraline) 100 mg tablet give 2 tablet PO Q AM for 90 days. med renewal. - Ordering Provider: Janice Buttler
     Time         Type              1          2         3         4        5               6         7          8            9       10       11       12       13         14       15          16       17        16       19       20       21        22       23       24       25        26       27       28       29         30     31
 J   oa:oo 11nr1;               F~~~)~!~piMI                                                P,L   I DG I CZ I KV I cs                      ta I I       KY       0G    JOG       I~          ,~KRj         KR   It RC I RC        1~KRI        CG        czj~cslcs                  ALjKvfKRj+OG!Dl                                 KR   I KR

       PRN
1-.-;~t-N?~!,®.@~,~-,.1,;;:1:w.~w,~!l~MP~~:·,~,~~1)l.i:1$'f!?~!?'(s'}~?;'.;:~::;,;(VV{j~~.r\,~'.:(:1il'?~~i'A~rn,.ws~r~:::~:;i,fil!l~P:IG;::1:t~;a~,1~!;S!Jtil'.tj!iJbatih:";121?,4f:?9,1.6 ;1.~_:.~s:j:J~l~.r'.Ji:Pclt!!i_i'.'::.:121f~-o:1p. '-1'!~00J)~ttcf-,Dijfo, •, -.06f2rqo_-~~,:~:3~.9,
     albuterol sulfate 2.5 mg/3 ml (0.083 %) solution fornebulizatlon: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Providec Kabeeruddin Hashmi
      Tlme        Type                         2         s         4        5               6         7          8            9       10       11       12       13-        14       15          16       17        18       19       20       21        22       23       24       25        26       27       28       29         30       31
     PRN      I                 I          I         I         I        I              I          I         I             I       I        I        I        I         I         I           I        I         I        I        I        I         I        I        I        I         I        I        I        I          I        I        I


     Patient Status Changes
     Patient Status                                  Description                                                               To/From                                               Da1'e

  Active                                             Admitted to Facility                                                                                                              01/0512016 08:19

     Pain Assessment
     Date                           Score            Scale                       Location                                     Reason                     Initials          interventione                                                            Result                           Follow Up Datetime                       !n!tlafs

  Order:



     PRN Effectiveness
     Admin Date                                                                                                                                          Follow UE_ Date                                  Result                                                                         Reason                          Initials

     Order:




     ,4fiR~RU~TI ¢/\~~                                                                                                                                                       Page 1 of2                                                                                                                                         01/0512018 18:17

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                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 421 of 486 PageID: 1100
Monmouth Adult (MCCI)                                                                                                     January 2016                                 Order Record History
··.P..<!lierit.t:!affle!'                                                    :-,,,,.! :.:   ~-•p.eci,td#';., .   ·r   .Admissllih~ale'O,:,,   l   Daieo!B)r!h ].Sex:
FREEMAN, DONELL                                                                                                          06/30/2015           I   12/25/1975   I M
 Allernles: No Known Allergies

 D!aqnool.s: lJnspecified Major Depression 1 Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnomiality of Gait


Notes
OrderNo                lnltlals    Nate Category   Not:e Date         Item                          Status                Note

3960657                KR          General         01/1612016 08:0o Zoloft (Sertraline)             Missed                nsx3
                                                                    100 mg tablet
3960657                RC          General         01/1812016 08:00 Zoloft (Sertraline)             Missed                refused to come to cart
                                                                    100 mg tablet
 3960657                KR         General         01120/2016 08:00 Zoloft (Sertraline)             Missed                nsx3
                                                                    100 mg tablet
3960657                cs          General         01/2312016 08:00 Zoloft {Sertraline)             Missed                no show
                                                                    100 mg tablet
 3960657                DG         General         01/2812016 08:00 Zoloft (Sertraline)             Missed                did   not show
                                                                    100 mg tablet

 Initials Legend
 Initials         User
 AL               Labarbera, Ashley, LPN
 cs               Smalls, Cherie. LPN
 CZ               Ziemba, Ctleryl, LPN
 DG               Granat, Darren, LPN
 DL               Lazaro. Danielle, LPN
 KR               Reed, Kendra
 KY               Yeager, Kimberly, LPN
 RC               Cardin, Robert, LPN


 Ord~ Adminil;tration Sit8l>
 Abbreviation               Sita




 .JLVC/,f\A~~TI q,Ari                                                                                                  Page 2of 2                                                 01/05/201816:17




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                                                    Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 422 of 486 PageID: 1101
Monmouth Adult (MCCI)                                                                                                                                            February 2016                                                                                              Order Record History
                                                                                                                                                                                                                                                                                                                                 ;
    .:,'..~)!itif_N_affi¢;., .' ,··'                                           .,,,;:Plrtlei,t 10'   .             ·:.MedRe~,                          ·.: A~misskii~oat&·                         pate af8irtli        Sex~·-
                                                                                                                                                                                                                                                                                                                                 t-.
     FREEMAN, DONELL                                                          26184                                                                              06130/2015                        1212511975            M
      A!lerqies:          No Known Allergfes

     0iaimosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwlse Specified, Abnormality of Gait


Discontinued
     Medication Orders
    r:~r@.~r:Jll.o.fa~~f:¥3~'IEJ::bf0.W:$~W~.l:: :p_otn.J5!~W.gJWQ~QJ~~:ntlJ5~/.:·:~~,T1:T,t~t;i:;/,;. -1 ,:41.&~:A~lh.l.~tet~i- ::; :A44W~o.1s_ :.o~;oo,:: :1i,: $Onm~.-q~e: , :t ~1.~&q~_6 _.15_~9~- J~-:~~-: ::01 r~2q1 ~k~a.:_oo:J _;i;M ·oa~e~-: ·:009st291 a: Q7:59_
     Zoloft (Sertraline) 100 mg tablet give 2 tablet PO Q AM for 90 days. med renewal. - Ordering Provider. Janice Buttler
       Time        Type                        2      5        4        5        6        7          8        9        10       11       12       13        14       15         16        17       18     19       20    21      22       23           24     25       28     27       28       29        30          31
i   j 08:00      llnff.          -1 -op--,   QP    1•_1<':'.J _AL   r   AL    i ~[_cs l              A~   I   OR   I   DP   I   AL   I   AL   I   DR   I    l)   I   AL     I   AL   I    KY   I   AL   I AL J * KY [ cs       [AL    J   ·_~v_l       OP   1 11.L I   AL   1~ L,J I   AL   I   Al.    j\:tl'ili:'.~1t'.&::~il
           PRN
~P:@.~.fl~~ii:iJ?~.@.~~!4f'9Ktet~~~~@li9l>~~~~,~-!\:f'~~::;T,~'.,;;~:::j?.%'AAf:Mfu.~t!~¢'d:: .·. ·:· Q~.i:1.W®JJ(:1~~?1:f:: -J:,$µ:ll(iitt:~t~:.:::1.p?~.2~~:,:~s.J:-_-$tarI:~_:,.,:4~~opJ~~i:l-Pate_~:_'.::~~~!¥,~~1.9.. 1~·,
     albuterol sulfate 2,5 mg/3 ml (0.083 %) solution for nebu!iz8tion: give 1 milliliter !NH Every 3 hours PRN for 180 days. -Ordering Provider: Kabeeruddin Hashmi
                                                                        s        s                   a
                                  I l':tl ! I I I I I I I I I I I I I I I I I I l::r l!ft I I I I I
       Time,       Type                1       2      3        4                          7                    g       10       11       12       13       14        1s         1a        11       1s     19       20    21      22       23           24     25-      2s     21       2s       29        3o          31

      PRN         rrnes                                                                                                                                                                                                               2            1
                                                                                                                                                                                                                                                                                                       j='°" r,.J,-,,g


     Patient Status Changes
     Patient Sta1us                                ~criptfon                                                   To/from                                               Date

     Active                                        Admitted to Facility                                                                                               02/18/2016 13:19

      Pain Assessment
      Date                             score       $Cale                     Location                         Reason                      Initials         !nterve-ntions                                                     ~suit                             follow U_e_ DatMlme                   ln!tfals

      Order.



      PRN Effectiveness
     Admin Dat,e                                                                                                                          Fallow U_e_ Date                               Result                                                                    Reason                       Initials

      Ordet:
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      .,,i}J~fil~~~TI ~Af~                                                                                                                                   Page 1 of2                                                                                                                                 01/05/201816:17




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                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 423 of 486 PageID: 1102
Monmouth Adult (MCCI)                                                                                                           February 2016                                         Order Record History
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..::Pa11"" )"ame:,, ·. '· ,                                   ) ,.,:p_~u~·nt m                -.-.-: Me~."i:~~~.i:d i-.,._.   ,~m~~e·        ·. :.oat& of Birth .   :s~x:- ...
                                                                                                                                                                                                                                  '·
 FREEMAN, OONELL                                          26184                                                                 06130/2015      12125/1975            M
  Anerqies:       No Known A11erg1es                                                                                                                                                                                              I'
                                                                                                                                                                                                                                  !·
 rnaonosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwlse Specified, Abnomiality of Gait                                                                                               I

 Notes
 On:lerNo           ln!Oals       Not~ Category   Note Date               tte-m                                 Status          Not&

 3960657            KY            General         02103/2016 08:00 Zolofl (Sertraline)                          Refused         dont want
                                                                           100    mg tablet
 3960657            KY            General         02120/2016 08:00 Zoloft {Se<traline)                          Missed          no show
                                                                   1oo ms tablet
 3960657            KY            General         02/2312016 08:00 Zolofi (Sertraline)                          Missed          in class
                                                                   100 mg tablet
 3960657            LJ            General         0212712016 08:00 Zoloft (Sertrallne)                          Missed          no show
                                                                   100 mg tablet

 Initials Legend
 Initials      User
 AL            Labarbera, Ashley, LPN
 cs            Smalls, Cherie, LPN
 DP            Perlin, Debra, LPN
 DR            Reyoo, Dorts, LPN
 KY            Yeager1 Kimberly, LPN
 LJ            Jefferson, Lanee, LPN


 OrdeJi'sJ!ministration SitEe_s
 Abbr~vlatlon         Site




 .Ji,,J~R/lfrqT1~/'!'~                                                                                                        Page2 of2                                                             01/0$/2018 18:17




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                                                                                           ....                                                                     ···----- ··----      ----=~----./,...:;~.~:,..,. .:·   . .-
                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 424 of 486 PageID: 1103
Monmouth Adult (MCCI)                                                                                                                                          March 2016                                                                                             Order Record History
 ., :P?tlerit t,/Srtle;· ..                                                  , ,~atiwii 10·                   •J ;.:,, Merl p.~ro #                     .f,dffl~!i§ri p_a~::: .-.          ·,.Date¢.Birth.        I   Sex:
  FREEMAN, DON ELL                                                       26184                                                                              06/30/2015                        12/25/1975          I    M
  Allerules: No Known Allergles

  Diaanosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwlse Specified, Abnorm~lity of Galt


Discontinued
  Medication Orders
-!:P.ili'tifJ~@':J~~P.~l:ii'•:tJ rp.~~;$.!a-~f..Pt?mPretea.~@~'~1-'!'Jf;!!,~'.d, ~':·=:!.(,\'.,;i/~f1'J~~n,rJ:;:1)hµ~fl\~rnl!'IJst$1#tl~W: '. ~rqi(l?p.1;6.t•_i??;o_o;. ,·. f· s~bifi.il.:Q~: : ,1,";.!_/~o/~R~.s.: -~-5.i.l? .'I_: Star.t:pati;!:\' _:01tR61_2p1 t;:, _pa_;o_o,j :i§Wi(D_ate_~ ..::::~~P?t?.9.Hk07~59.
  Zoloft {Sertraline) 100 mg tablet give 2 tablet PO Q AM for 90 dqys, med renewal. - Ordering Provlder: Janice Buttler
   Tlll'le      l'ype            1       2       3        4        5         6         7       8   9   10   11  12                          13         14   15   16  17                           18   19    20         21  22   23            24       25       26       27       28     29        30         31
IIos,oo_ Jtott                l"DJa;l_~:,_:__J___A:J_cz I          KV    I   cs   I   AL     J l D _ ~ Lo jAL-JLJ                      I    LJ     I   Al/0~_-T-KY fAt                    I       ci fKY77iP          IAL l'OPf"bR         I   At   J .. czl*~JI          ta   I Al     j DP     1-w         jAL       I
       PRN
l{~t'~-~~;,;,~~~t_%)lP.!'9.~ti~~;-~;~_ti:JRl.~~-t!"o~~~~,t.ih~~-i~it;_,;'J:J<~{!it/&i!tWPtr!~J1ZQ~.W~-!l#i.fl'.i~~~~~Ji1'.t;;:~--~t~~9~~:i1,2_fi9,~-;:{:~V1:it'ffi.fR~e::,';~?.(~~,o1.~ ·_1_3;5~_':lr~-~~~~,)W,f{}~'.1~(';~4:.9[}]-'.'C.Otj\f:1:<it.E:!;__~--:.~_?@~p:1ij1·'.1~.~~
  albuterol sulfate 2.5mg/3 mL (0_083 %) solution for nebulization: give 1 milliliter INH Eve,y 3 hours PRN for 180 days. - Ordering Provider: Kabseruddin Hashmi
   TOne         Type            1        2       s        4        5         8         7       8        9         10     11      12         13         14       15       16         17            18   19    20        21      22     23       24       25       26       27       28     28       30            31
  PRN           !me<>                                                              18!21
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,~glp!ir1N9.~~:~~J~:,l;')ii!?.~~Wli~~ffiQOfflPJeti~}\w,;f.~®t~'il-W:~$$:~~t~:;~1.~;~~~;!.)®;JHi!#f:1;i(~J~)~(';Mr,rii~t¢.fe(~.;::J.i~~.P:.~$/?P:L~.:·¥:H~;hJ::~~-tm\ft)P.~~:--,_='9~1f~~o1.~:-l~t5.3.h~art.P!lW1:;:~:~!.?lY2~W,'.;!~199.1 ;J:;_@·-q·ate}.'. ;.9.$Jf-1~~jf?.'!,~-~
  Tylenol Extra Strength (Acetaminophen) 500 mg tablet: give 2 tablet PO Q HS PRN for 7 <lays. - Ordering Provider: Daniel Unachukwu
   Time         Type            1        2       3        4        s         e         1       a        9         10     11      12         13         14       1s       1e         17        1s       19    20        21      22     23       24       25       26       21       2a     29       30           31
 IPRN         E'.ffi8$        p!!t!&!}~'"li'lil!/j)]ffl!l,jl•~li<j•JFiil!Jj1J-lll~'l'lEililfi:il.'l'~iil.srllj~!lillipiilli:l!lJi~}~l;t!iJ]!!!k"i:.IJl::iimi1¥¥~¼1=\,l!f1:l;i,~:tj                                                                  I        I        I        I        I':;: I              l;il~!:l'}

  Patient Status Changes
  PatreritStatus                              oascription                                                To/From                                               Date

  Actlve                                     Admitted to Faomty                                                                                                  03/07/2016 13:20

  Pain Assessment
  Date                           Store        Scale-                    Location                       Reason                     lnltlals             Interventions                                                        Result                       Follow U_p_ Datetime                  lnltlals

  Order:




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                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 425 of 486 PageID: 1104

Monmouth Adult (MCCl)                                                                                                          March 2016                                                               Order Record History
.-·:.P.:~U~i\t-~.!,=.,:_,-• .. ':                          1-:   -~-~nt-jD.' . •              \Madl~ec9rcl'.#, ...     . _:. Adn1iss1on Dale .                                    I.
                                                                                                                                                          ;r~_glJ.. .~.-~Lr!!!:::.._ . $ex.:
  FREEMAN, 0ONEL..L                                          26184                                                             06/30/2015                 12/25/1975 I M
  AUetQies:      NO Known Allergies

 o~ono,is: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


 PRN Effectiveness
                                                                                                              Follow Up Date                     Result                                        Reason           !nltlals                 i'
 AdmlnDate
                                                                                                                                                                                                                                         '
 Order:
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 Notes                                                                                                                                                                                                                                   :,:·\
 OrderNo           lnttialsc        NoW Cate90ty   Note Date-              Item                           Status               Note
 3938191           vc               General        03107/2016 18:21 albuterol sulfate 2.5                 Missed               prn
                                                                    m9/3 mL (0.083 %)
                                                                    solution for
                                                                    nebulization
 3960657            DR              Genera!        03/01/2016 08:00 Zoloft (Sertrallne)                   Missed               no show
                                                                    100 mg tablet
 3960657           DP               General        03/22/2016 08:00 Zoloft (Sertraline)                   Missed               MISSED
                                                                    too mg tablet
 3960657            CZ              General        03/25/2016 08:00 Zoloft (Sertrallne)                   Missed               ns
                                                                    1oo mg tablet
 3960657            LJ              General        03/26/2016 08:00 Zoloft (Sartraline)                   Missed               no show
                                                                           1 oo   mg tablet
 4376464            DP              General        03/29/2016 21 :59 Tylenol Extra                        Refused              refused
                                                                     Strength
                                                                     (Acetaminophen)
                                                                     500 mg tablet

   nitials L!!9end
  lnitii!IIS   user
  AL           Labarbera, Ashley, LPN
  cs           Smalls, Cherie, LPN
  CZ           Ziemba, ~heryl, LPN
  DP            Perrin, Debra, LPN
  DR            Reyes, Doris, LPN
  KY           Yeager, Kimberly, LPN
  LD            Divita. Lawrence, LPN
  LJ            Jefferson 1 Lanee, LPN
  vc            Cotroneo, Veronica, LPN

                                                                                                                           Page2of3                                                                                   01/05/2018 18:17
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                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 426 of 486 PageID: 1105
Monmouth Adult (MCCI)                                                                                                       March 2016                                                     Order Record History
,.Pilfi,m!N•iili:'·.                    ,.; . t,~:j\.p~u~,:JP_,, ... ·,            .,:~·_M_e!,i;Record#.·>=:·;   ::J~. . ._AdMisslon_Date_ -..._J: .:D8te·Of8ifth.". I s~:
FREEMAN, DONELL                             26184                                                                         0613012015         I 1212511975 I M
 Allerqies:    No Known Allergies

 Dlai:mos~: Unspecified Major Depr135sion, Recurrent Episode, Alcohol Abuse1 Asthma Not Otherwise Specified, Abnormality of Gait



Order Adminis1:rn.tion Sites
Abbreviation_      Site




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                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 427 of 486 PageID: 1106

Monmouth Adult (MCCI)                                                                                                                         April 2016                                                                                          Order Record History
 ',.~!eOl.N~_;_:~:::..:c -· ., .. ,                                   ;;;:,>PeUentib> .,, ..•       J   .JcMedReca/{;(.               :Mm,issi_orl b!'t~· ,::_- :i.:J ;-..:_p~tf,i)f 9'irth .,.,. I -'~x:_
 FREEMAN, DONELL                                                      26184                                                              0613012015                 I 1212511975 I M
  Allen:iie&;      No Known Allergies

 Diacinosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse1 Asthma Not Otherwise Specified, Abnormality of Galt


Discontinued
 Medication Orders
·.,l)i;i~/.ffi!J,~!",iP®'{j,i!I ,[1,ti1~i~•®#'·'1\Jil~n\0(¢!;!l ~Qj.6~~f1$i/(:\:fi,1i1~i[,~•;g:~~{.'"/¢,:4/\l:'lt\'J~. re;Wi:1'$.•1,f,jit Pli"''•· _1"130120.16',J~lO~ J·· ll(liit
 Zoloft (Sertraline) 100 mg 1'!blet: give 2 ta\,let PO Q AM for90 days. med renewal. -Ordering Provider. Janice Buttler
                                                                                                                                                                                                                         °'""'.   Oj/~,2916 ,.jlll:90,1   '""' ))ate,·.,. "Af'l5"9\6c•filJ59

  TIITle      Typ&              1         2     3       4      5          6      7      8       9        10   11     12       13      14      15       16       17         18      19       20        21      22    23     24       25     26      27       28      29       30       31
J08:00 (intt                I " 1 " I " I " j,/;l,'(~iifiii-Tiilii'llo';tpl,t;!:>]!li/J.Ji.l{;J~1lii!!l;i!l]iaii>~~l.lt!l]~1!)~:!J!'.~Jl,itili:!JJlf,E.;,)ij1J!i!!i.{}~~qii\~¾',:ij~}tL""JJ~ll'\¾i!lfJJ!,'i,iJ)K!Mfil]/J_,,i,q;,:.,;;,,ljil&dtM
:P~,$'fr:N~~!.~~~i•i~(;j ,~'J'Jijj·WS~~wt~•i\~i;iii_~U~rQ~!QmP1J}J).~~~.iW-'.t;{.:'!;';:;~~~~-,:~~·i:!::"J:.«$~:~trrl!t~i:li.~:-.c~·:i971~?91.~·-;:qar99,;t:t)~r.,~~;.; :.~W?9/Z9f$:-'1_4;~-~ •J-::Siiirl_ bat~;·,-::.:.®9.~~21_:8:'. -~;qo::j .'-~~qg_lµtJ.tt;i;<' -071'.04~?91_6_:so!.•~::
 Zoloft (Sertrallne) 100 mg tablet: give 2 tablet PO Q AM for 90 days. med renewal. • Ordering Provider. Janice Buttler
  Time        Type              1         2     3       4      5          6      7      8       9        10   11     12      13       14      15       16        17        18      19       20        21      22    23     24       25     26      27       28     29        30       31
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 albuterol sulfate 2.5 mg/3 ml (0.083 %) sorution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider: Kabeeiuddin Hashmi
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 PRN
                Type
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 Patient Status Chanaes
 Patient Status                               Description                                       ToJFr<im                                      Oate



 Pain Assessment
 oa1e                            Sr;ore       Scale                  Location                 Reason                   Initials      IOUtl'Velltlons                                                       Result                     Follu~_Up DffitJrne                Initials

 Order:




  .Aiif\Rf<F1 ~A!I~                                                                                                                    Page 1 o12                                                                                                                          01/05/2018 18:17




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                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 428 of 486 PageID: 1107

Monmouth Adult (MCCI)                                                                                                                               April 2016                                                      Order Record History
 ,~ieht~:·:.... ,'                                               ()j}',n;eot 109            .,:.,_.'.Me.d~eoord#.                     ··: ,f,j_1!!~0n-b!'.i\e        .·.·: Oate.of~i$   ;J ;._§le:i:·.
FREEMAN, DONELL                                                   26184                                                                        06130/2015                1212511975       I M
Al!ern!es: No Known Allergies

 Dlacinosls: l)nspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


PRN Effectiveness
Admin Data                                                                                                             Fol1ow U£_ Date                          Result                                    Realion             Initials

Ord.er:



 Notes
 OrderNo            Initials       Note Category          Note. Date         Item                                Status                            Noto

 3938191            VC             General                04/04/2016 18:41 albuterol su~ate 2.s                  Refused                           prn
                                                                           rng/3 ml (0.083 %)
                                                                             solution for
                                                                           nebulfzatlon
 4398688            CZ             General                04/15/2016 08:00 Zoloft(Sertraline)                    Refused                           dontwant
                                                                             100 mg tablet
 4398688            DP             General                0411912016 08:00 Zoloft (Sertraline)                   Missed                            missed
                                                                             100    mg tablet
 4398688            KY             General                04/24/2016 08:00 Zoloft (Sertranne)                    Refused                           dont want it this morning
                                                                           100 mg tablet
 4398688                DP         General                04/2612016 08:00 Zoloft (Sertraline)                   Refused                           refused
                                                                           100 mg \able\

                             nd
 lnll:ials        User
 AL               lebarbera, Ashley, LPN
 cs               Smalls, Cherte, LPN
                                                                                                                                                                                                                                                      I
 CZ               Ziemba, Cheryl, LPN
 DP               Perrin, Debra, LPN
 DR               Rayes, Doris, LPN
 KY               Yeager, Kimberly, LPN
 VC               Cotroneo, Veronica, LPN


 Orger Admini,;tration S_i!ll§_
 ~bbreviation               S[te




   k ¢01\RECT CARE                                                                                                                          Page2of2                                                                               01/05/2018 18:17
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                                                                                                                                                                                                                        MCCI MED RECORDS 422
                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 429 of 486 PageID: 1108
Monmouth Adult (MCCI)                                                                                                                                      May 2016                                                                                           Order Record History
..,-~ien.f.Naf'T!~:,:,:..,                                              .. -:.,;.P~!i~_l.9                · ;: _ M$d;!!_~rcl:#·.'.:.              }¼lmisslo11 P.ate             , Dale 9f lilrll\.      J Se,s
 FREEMAN, DONELL                                                         26184                                                                         0613012015                   1212511975              I M
  A!lerqies:      No Knowri Allergies

 Dlacino:sis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
  Medication Orders
~-:QJ~.:{~f~~t)~r,,~~§8~.;~)!;~9~~~j_1;;JJJ~~~ht!~~,0~1.~~GQ~,;).~}S.i\ s;,,~:-:~:vi.m~:::~in.~~-~-~!l:in.lttl~.~:- _::--:971q~-~~s,;:o~:,OO:,                              "I !;$!,lbO'flt~at~:. :.9.~~{?.~t9 _i•1:1~2i] _,.5.1art. D,sl~~~ :~'.f'q_5f?_9.1~ .:o~:op j~ ~:iJO_,Date~., ; 011~201 e·.- ~7;$.9
 Zoloft (Sertraline) 100 mg tablet: give 2 tablet PO Q AM for 90 days. med renewal.- Ordering Provider. Janice Buttler
  Time       Type                        2       3        4        5         6   7  B         6      10      11                 12       13       14       15      16      17       16       19       .20        21      22     23     24       25       26       27      28       29       30         31
 -mr:ocr·-11ntt              I i,y I     AL   T•DP"l      BM   I   AL   7   "Alf+KYTTi___ T*-·Ac·1·-··of···T-KV             I   AL   I   AL   I   KY   I   BM     ! Al l   KY   I   KY   I   AL   I   A.L    I   KY    I ~-raft 1.., KY I                Al   I   Al   J ~ KY   I~ KV\~         DPT;    Y.YI
      PRN
!JJ;r(9~r,N.jl:r,;;~@!~~1.1  _~~-\I 1rq~~~,J;i_a;l;l~:;.::_::Pfl'if(pj~~~:Q:s~~-1J?. t:~~~~Y~-'.; ;'.;:;.:/,'VYfn~rr:: ~J,_=t1.;r.i~l1>,t;1tt\irJi~;;:·. ·:.;·;~!:1~~01~ :~*~::·-;.l, ·§Ubf.Q~'o.at~:., •12~412~_1!5_ ·..1;3:~ I<~aitp~e;t:_-:.µn~!~t?,_:·:~ f;~.9:'I ~- i;tjd~~1e;:.~-,            :q.-1fe'"-13:59
 albuterol sulfate 2.5 mg/3 mL (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeerudd!n Hashmi
  Time         Type              1       2        3       4        5        6       7
                                                                                             •        9       10       11       12       13       14       15      16      17       18       16       20         21      22
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 PRN        rimes            I       I                                                                                                                                                                                                                                                      sa-
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 Patient Status Chanaes
 Patient Statw,                                De.seription                                            To/From                                             Oa"'



 Pain Assessment
  Dat,                           Score         Scale                    Lacation                     Re.:ison                    Initials         !ntarventiO!lS                                                      Result                       Follow Up Datetime                   Initials
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 Ord.er.




  PRN Effectiveness
                                                                                                                                 Fonow Up Data                             Result                                                                    Reason                         lnitla!s-
 Admln O~te

  Order:



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                                                         Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 430 of 486 PageID: 1109
Monmouth Adult (MCCI)                                                                                                       May 2016                                          Order Record History
,,f.iiti~_nq~am'e:-,·-                .'.<..',-i ,L:-·,·:•                                       ,~Recor#            ·•.A,dmls~;p_ije; -.     . Dato9f Sirth.   : _s~X:·_..
FREEMAN, DONELL                                                                                                          06/30/2015            12/25/1975          M
 Alleroles:              No Known Allergies

 01aono,is; Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Notes
OrderNQ                    Initials          Note Category    Note Date          lwm                  Staw.,             Note

43986M                     DP                General          0510312016 08:00 Zolofl (Sertraline)    Refused            refused
                                                                               100 mg tablet
4398688                    KY                General          05107/2016 08:00 Zoloft (Sertraline)    Refused            "Im -fasting"
                                                                               100 mg tablet
4398688                    AL                General          05/09/2016 08:00 Zoloft (Sertraline)    Refused            refused to come to med cart
                                                                               1 00 mg tablet
4398688                    AL                Genera(          05/23/2016 08:00 Zoloft (Sertraline)    Admfnlstered       refused to come up fur meds
                                                                               100 mg tablet
4398688                    KY                General          05/25/2016 08:0◊ Zoloft (Sertraline)    Refused            dontwant
                                                                                 100 mg tablet
4398888                    KY                General          05/28/2016 08:00 Zoloft (Sertraline)    Refused            "freeman is cured"
                                                                               100 mg tablet
4398688                    KY                General          08/29/2018 08:00 Zoloft (Sertrallne)    Refused            dontwant
                                                                               100 mg tablet
4398688                    DP                General          05/30/2016 08:00 Zoloft (Sertrallne)    Refused            refused
                                                                                 10D mg tablet
4398688                    KY                General          05/31/2016 OB:OO ZolOlt (Sertraline)    Refused            ctontwant it
                                                                               100 mg tablet

                             end
 Initials          User
AL                 Labatllera, Ashley, LPN
SM                 Mckittrick, Bonnie, LPN
DP                 Perrin, Debra, LPN
 DR                Reyes, Doris, LPN
 KY                Yeager, Kimberly, LPN
 LJ                Jefferson. lanee, LPN
 RC                Cardin, Robert, LPN


 Order Administration Sites
Abbreviation                 Site




   -~ C<JRRl:CT CARE.                                                                                                ?age 2 of 2                                                         01/05/2018 18:17
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                                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 431 of 486 PageID: 1110

             Monmouth Adult (MCCI)                                                                                                                                                    June 2016                                                                                                          Order Record History
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                                                                                                                                                               =                                                . ;patoofalrtli . I ..Sex::
                FREEMAN, CONELL                                                                                                                                                   06130/2015                      12125/1975                   I       M
                    Allernies:      NO Known Alli:frgies

                    DlaqnosIs: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnonnality of Gait


              Discontinued
                Medication Orders
               "[¢_ttf~f*:.f~~~-~-·!}t ,Or,dCf,$t~~-;~1~_~li\)J~:(t~/()~~~-,:9.~:1.~;;:::;;;:r:;::;·;. y,{1JW?:ff:A~·-- I;~~ Ai:l/ii\fi~~di -;,; :: 07/03/2016 ocoo :_:J :Sµtimtt:0_1;i~i:i;: m12_~:11_~ow ., 14;52_.:! ,:~tart qme,:. --~'!)5!:29~ 6_.;_j)B:00 1·-.'l:;:!'!d·_0ate;· . ,07,1o'f{2Plif, 01.::59
                Zo!oft (Sertraline) 1'00 mg tablet: give 2 tablet PO QAM for 90 days. med renewal. - Ordering Provider: Janice Buttler
                    Time         Type        1        2       3       4      5          6        7            8          9        10        1i       12       13         14           15         16        17       18         19          20          21        22       23       24      25       26        27        28      29        30       31
               I 08:00 l1ntt              I • KY I • " 1,1Ml;i~]iil!li1l'lf.,ffli•••l•~~l!i'.Y,j]i:.,lMll:lilik1[]tiiltlllllliiilli!!fh~i;i::u1~,!fuj;,l'~:'&i111~11w.iiiilllll,,;~l!~nlliii~\.i1.J:.:,;(]\1U~l~lti!i:~;!ii,jf//lT;,.k,•X>l!1!\i:,ll];;//i!i~l'i;;,·;,,·1,,c~tJs1~:!;~:~l[it,i;
                           PRN
               ~~-@~.f~~,0:2r~~·~,wr;_;] :~9rd-~(:SW4K\GP:ITIP.l~leii:l.:®~~~~}~,:~1·3}~f::r;·;::~if''./'.™~·.:1;::1:-:~~s:t.~o'_(Ii,bij~~~;ti i.:~!.1BraQ-1~ ,;~f!~9,~ 1_1{.':$uf?fi;l!'f1)a~~:· .~1;?1~~;2,9.1.~ -:~,\3:~?_(·.,~if.Q.~~r., _t2/~-~~~~:,;1_,~~-1 :Ef!~_,:-qate;.::-, :Q.Sf29~0~?~tf:~
                    albuterol sulfate 2.5 mg/3 mL (0.083 %) solution for nebulizafion: give 1 milliliter INH Every 3 hours PRN for 180 days. -Ordering Provider: Kabeeruddin Hashmi
                                                      2       3       4      5          6        7
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                    albuterol sulfate 2.5 mg/3 mL (0.083 %) solution for nebu!ization: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
                                                                                          s         a            a                                                                                                                                               22                                 ?R        ?7        1A       29       30       31

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                                                 1          2        3       4                              7           9       10 11    12     13    14     1s     rn        11                                    1a         19           20         21                 23       24      2s       __        -·        __

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                                          1-''"'~''iil'""""'li!i!lll!im1''""'"1j'''""';J"-l'"""l~r''illfl'™'~llnti'li1"'"11'ill~,;,rl:il"ij
                                               "-=ia.y:'"f.m!mttll !, \"'t;',i)i;'ly\i.ltiJllllli(fWl;i/;. •™l~\                                     ''"'~ '""            ·'·"""'":        ' 1' ' "'1' "' "1'"(~c
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                    Patient Status Changes
                    PafiantStatU$                           Descriptr-o-n                                                 TofFrom                                                     Oate




                    Pain Assessment
                                                                                  Loc11tlon                             Reason                        Initials           Interventions                                                                      Result                              Follow Up Datetirne                   Initials
                    Date                         Score      Scale

                    Order.                                                                                                                                                                                                                                                                                                                                   f.:
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                      fr   CORRECT CARE                                                                                                                                     Page1of2                                                                                                                                                    01/051201818:17
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                                      Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 432 of 486 PageID: 1111
Monmouth Adult (MCCI)                                                                                           June 2016                                               Order Record History
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                                                                                                          ,Admission Qate ,.· '.   Pale of)lirth   I :)ex: .
FREEMAN, DONELL                                        26184                                                 06130/2015          I 12/25/1975      I   M
 Allarqlas: No Kn6Wn Allergies

 □ ~onosls:     Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality-Of Gait


PRN Effectiveness
Admin Date                                                                                  Follow U_e_ Date                Result                             Reason            Initials

 Order.




 Notes
 OrderNo          lniti!lls     Note category   NoteOata           Item                  Status                Note

 4398688           KY           General         06101/2016 08:00 Zoloft {Sertraune)      Refused               dontwant
                                                                 100 mg tablet
 4398688          AL            General         06/02/2016 08:00 Zoloft {Sertrallne)     Refused               refused md Mh referral
                                                                 100 mg tablet

 Initials Legen
!nltlals      User
 AL           Labarbera, Ashley, LPN
 OP           Perrin, Debra, LPN
 KY           Yeager, KJmberly, LPN
 LJ           Jefferson, Lanee, LPN


 Order AdministratiQ_n Sites
 Abbreviation        $it~




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                                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 433 of 486 PageID: 1112

Monmouth Adult (MCCI)                                                                                                                        July 2016                                                                                   Order Record History

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FREEMAN, DONELL                                                       26184                                                               06130/2015                    12125/1975               M
 AnerQles: NO Known Allergies

 Dlaqnos1s: Unspecified Major D~pression 1 Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
Medication Orders
     PRN
f~!~-l~~~;i_~,il~:~jT;~m~,;~µs~~:;_g~P,1~1¢.~·~-~..,:s\~Y~~-:~:n;:.<·:;;~v.i~~~r,.-:j;~-11•.t~~1)/i~tJ:11n~er~.a.\:< .~:11120,201 s~•~?=41 :-:·f :$~~mw.@t!:lt:.:0&?Q(?mf ,_1_~;s7 ,) :_~WtJ:J,~e:·_-,.-~P61fsg~;rn::~A-if:io·j :if:}t_d-.p~;' .. r21.22/'201a. 1a:s~
 albuterol sulfate 2.5 mg/3 mL (0,083 %) solution for nebulization: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Providec Kabeeruddin Hashmi
                                                                                         a              10                   13              15       16        17       18      19      20.      21       22    23   24   25      26     27    28   29       30     31
  Time
 PRN
              Typ,,
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 Patient Status Changes
 Patient Status                               Description                                         To/From                                    Date




 Pain Assessment
                                  Score       Scale                 Location                     Reason                Initials     !!'lterventlons                                                     Result              Follow Up Datetlme            Initials
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 Ordar:




 PRN Effectiveness
                                                                                                                       Follow UJl: Date                         Result                                                          Reason                initials
 Ad.min Da~

 Order.




 Notas
 QrderNo              inltia.ls       Note Category       Nott Date                   lwm                           Status                 Note




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 DP             Perrin. Debra, LPN

   ,1c CORRECT CARE                                                                                                                    Page 1 of2                                                                                                            01{051201818:17
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                                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 434 of 486 PageID: 1113

Monmouth Adult (MCCI}                                                                                                                   July 2016                                                                 Order Record History
1. -~P.'atient}~anie;.,:::;
  FREEMAN, DONELL
                              .-:~:~::.:::,.    --; -- :.--....... •   I.~t_.,P:>
                                                                       26184
                                                                                    .,.::,Me~:H~.l;jco~#-.. ,0.:._,._:   •••   ;.\AdrriJsSiciriQ¢e·.,
                                                                                                                                     06/30/2015
                                                                                                                                                        :,:-Oa!.aofBlrth_ - ,:Sex:
                                                                                                                                                           12125/1975          M
   Afier-qies:      NO-Known AH8rgies
   Dla.qnosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



  Order A9_mlt1i!>trntion Sites
  Abbreviation           -Stte




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    ..Ji.f~RtR~~Tl ~Ar\


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                                                Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 435 of 486 PageID: 1114
Monmouth Adult (MCCI)                                                                                                                               August 2016                                                                                             Order Record History
.:·Rinie·~1 N:ti~ii:                                                    ..: ·Patient ID                  :,.'f-!!edtl~rdW,            .- :I.;: ··Admtss\6n.·Date, -·            p,rt, af_!llrth, . I Sex: •·
 FREEMAN.! DQNELL                                                    26184                                                                         06/30/2015                   12/2511975         I M
  Alleraies:      No Known Allergies

 Dlaanos1s: Unspecified Major Depression, Recurrent Episode, Al.coho! Abuse, Asthma Not Othe,wise Specified, Abnormallty of Gait


Discontinued
 Me<licatio11 Orders
       PRN
.::pi"'d~)-~~<~~~-1.Ag~;~;;IJ._ ~o/c«.J~t:~r~tu-~Ht:~rTTP!$fe~~~~~.2()1,6·•~-~?g;,:.~):~~:;1~~-~;~Wrt;.,;;JJ·)_:µi_~lf,9,ITlltHstet~~~-;,~;_'1, 1_Jf.~~20.16 .-:!!~:~1,-,:: J):>Ytiiri_rt:o:~e(~--;~:®f.9(201 §·;f~~:fif_J:;·$~ff( Q,ate::-:.--~~,29¥.~~-'-J~;og,, i_~tf? :t;J:at~:., :- :1,1p~201a ~1,5.~59
  albuterol sulfate 2.5 mg/3 ml {0,083 %} solution for nebulizatlon: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi




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  T!m~Typ~                        123456                                          7         8      9       10       11       12      13       14      15       16       17       18      19      20       21       22      2~       24       25      26       27      26       29       30       31
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 Patient Status Changes
 Patient S~tus                                  Descrlptlon                                         To/From                                           Date




 Pain Assessment
 Oate                             Sc.ore        ScJ.i\e            Location                       Reason                      Initials       intmverrtlons                                                     Re.suit                         Follow U_~ Daretfme                  ln!tlals

 Order:



 PRN Effectiveness
                                                                                                                               FOll1'>W Up Date                        Result                                                                     Rtoason                        !nitia!s
 Admin Date

 Otd&r.




  Notes
  OrderNo              lnltials        Note Category      Note Date                      11<>m                            Statua                    Note




  Initials Legend
  l.!!_ltials   User
  DP            Perrin, Debra, LPN

                                                                                                                                                Page 1 of2                                                                                                                             01105/2018 18:17
  .JS~F\~~~TI itA~l



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                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 436 of 486 PageID: 1115

Monmouth Adult (MCCI)                                                                             August2016                                    Order Record History

 c:!I~~m~:.~_:·.-. ·:                                             ._:_M~_:R89Qrd#';         Adm~ionD!ife '";_:_   · Da18~Birth   Sex:
FREEMAN, DONELL                                                                                  06/30/2015        12/25/1975     M
 Allert1ies: NO Known Allergies

 Diaanosis: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



 Order Admi11istrntlo11 SitEIS
 AbQ_reviation   Site
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                                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 437 of 486 PageID: 1116
Monmouth Adult (MCCI)                                                                                                                     September 2016                                                                                    Order Record History
,r.f?-_f!!i:.'.ft~N"ariie: _. ,.                                           ·.:··:_ Patjant:19-'.'· ·       · ·_Metf~~r.d.#.           . . ,'°:'dl!'lission:Pafo            pat'e_bt Birth -·   ·j _sex::
 FREEMAN, DOWELL                                                        26184                                                                  06/30/2015                  12/25/1975           I   M
  A!lerAies:          NO-KnOWn Allergies

 DiaQnosis: Unspecified Major Depression, Recurrent ~pisode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Galt


Discontinued
 Medication Orders
   PRN
,;6.@i~~4B~Id-!;giti.~¥'~1®'£~q~piete~~O~¥P~\r~~J~R~ffGf..~~~:;~c1~;~:ei<!njmJSW~~-:/:-.:~WJ!¥P~.1(}-;~ffl:1;::,_-::J.:·,~µWnit.p«fet:;o@¥@~$- :1;~.!J"~ii~i~Wl79.~,~q~14::P~J --~m1"n~:\. •1?!'A'~,9~~~
 albuterol sulfate 2.5 mg/3 ml (0,083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days .• Ordering Provider: Kabeeruddin Hashmi
  Time          Type                       2      3        4       5         6         7        8      9    10    11     12      13    14       15       16        17      18      19      20       21      22     23   24    25       26      27      28      29       30        31
rRN           Lwnes
                                               !!I    -                                                                                                                                                                                                                        ]"IJ::.i\ij
                                                  D
                                                                                                                                                                                                                                                                               LJ
,·;Q~M'.ti#~{~.t1:,&f '.\Qt~f.~tij~t:~:Q~P,~¢.g'.~:m;X?~l~);J~.)AA!~:~~~jq!il~;~.:):'\IYf)l:l~t:1W:;:}f;~#'.tf.Mffi1tl~~:-'':·:::1t11.?l~91'2g,_el,1r,tBl;,'.t,:$4~fi!.rf.~fl:t~<-.:~!?f~1q[:'·~g~~_;f~;St~I't:b:)it~~;, --~'~?!g,q~S.:.~~~:~~.D.'1·i:El:i!iP~W:'; ·~-?.W~,7:~(),~·.,1a;5~
 Tylenol (Acetaminophen) 325 mg tablet: give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider. Kabeeruddin Hashmi
   Time         Type              1       2  s 4 s e 7 a e 10 11 12 13 14 1s 16 11 1a 1s w 21 u                                                                                                                    ~    ~     ~       a        27      28      29       30        "31
 PRN          fines            i•~Jillllif~~~~~pll•'llllf&i<JilimJ11ii111iit1'1!'i!iif,1!lfill~trS:1~1¼l]WiMil:'f~!iil~.;;iii\\jWW..J;J'1l!iE:11I' ..'c'                                                          I I I I I I I I l!i\,ili i11

 Patient St.t_tus Changes
 Pi:itient Status                               Description                                             To/From                                Oat&



 Pain Assessment
 Oate                              Score        Scale                  Location                        Reason             l11itials   !nterv<>nt!ons                                                     Result                  Follow Up Datetime                 Initials

 OrdtJcr.



 PRN Effectiveness
 Admin Cate                                                                                                               Follow U_p_ Date                        Result                                                         Reas-on                        lnltfals

 Order:




 Notes
 OrderNo                Initials     Note Category             Note Date                   Item                        Status                Note




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                                 Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 438 of 486 PageID: 1117
Monmouth Adult (MCCI}                                                                                 September 2016                                                           Order Record History
.·.-~rir ~amef: .- -'                        ,J1111ieot ID , .,...:      Med.R~li.:                  Actrnisston _Oate        :Dateor51n11·:     I   $ex:'
FREEMAN, DONELL                            26184                                                        06/30/2015            12/25/1975         I M
Allero!~s:      No
           Known Allergies

 DlaQnos1s: Unspecified Major DE';!presskm, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Speclfied, Abnormality of Galt



 Initials Lege
ll}Itiahs   Us_'![
AL          Labarbera, Ashley, LPN
DP          Perrin, Debra, LPN


Order Administration Sites
Abbra-viation        Site




 J.Lf~RttJ~\V1~                                                                                     Page 2 of 2                                                                                                   01!0512018 18:17




                                                                                                                                                                                      MCCI MED RECORDS 432
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                                                                                                                                                                 ·--·,c.~~~-.~ ✓~--   •-• •   •J..~."•, .•,.•,i .• - - . : · · . , ; '   '•"~-
                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 439 of 486 PageID: 1118
Monmouth Adult (MCCI)                                                                                                                  October 2016                                                                                        Order Record History
 .;~nt)Jamts, ·.                                                                                .: :.:Meirn~~ # _:-;             -,~.AijmisslQfl Jf~te.,•: ·:        -·.P~t?::¢]3irt!:l .   -.J ._Sax~-:·.
 FREEMAN, DONELL                                                                                                                       06/30/2015                     12/2511975              I    M
  Allerq!es;    No   Known        Allergies

 DiaW1osis:     Unspecified Major Depression, RE!current Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait

                                                                                                                                                                                                                                                                                       i.
Discontinued
 Medication Orders
     PRN
i_;~~r~~;~~J\4M&,N;,;Qft.l#f@?!tlj_~ff-~9.qmP¥.,M!;J2J~~Q16::~~~~>Aft~~;y;,;· im\M~J~.<1:;µ~st•;MrriJ(ii$(er.~'.:i;fiirtJ!~~-q,1.~·;(fi;J:~2-:;--,(;:,;$Ji~ftl~-:~_rgw2PJ.~~,1~;~,p:w_ 1;'.~l~rftf~:~:.:c'~-~¥1~~1~;:;1A~9-l-.t;_lll! ~1:~,.1}_.~~2~~_'.l~Ji~~
 albuterol sulfate 2.5 mg/3 ml (0,083 %) solution for nebulization: give 1 milliliter !NH Every 3 hours PRN for 180 days.• Ordering Provider: Kabeeruddin Hashmi
  lime      Type                      2     3      4       5       6       7       B       e      10      11      12      13      14       15       16          17      18      19      20         21        22    23   24   25      26       27        28   29       30     31
JPRN
~~Q:ij(~~~:":§'.~~~r;.::,:1 ~titg~~J{}9[;;j(;tj~P,i~~ei;t~ ~_V2Q,'i ~·trn~~~~!:f'.:'.!•~U.~~-.>%ffi~·r;,~;4:.,w:i'$t;Ad@.I_G[$_~r§:'~t(\ ·;Tl.(~ @_1.?. ,1_~~5t-. :,J/~brrj~J;)~te::: 09f~1S 1212-9 I starl Oate: ,..rl$72?]2q:i~)l.!:!:0!5J :'.!;Oa:oate::._., "1~21120:1 s .JS~9
 Tylenol (Acetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days. • Ordertng Provider. Kabeeruddin Hashmi
  TITTie    Type              1       2     3      4       5       6       7       a       9      10      11      12      13      14       15       16          17      18      19      20          21       22    23   24   25      26       27        28   29       30     31

IPRN
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 Patient Status Changes
 Patient Status                           0escrip1ion                                       To/From                                       Date



 Pain Assessment
 Date                         Score       Scale                Location                   Rea$on                    lnlt!als     lnter..emions                                                           Re-suit              Follow Up Oatetlme                  lnitials

 Order:




  PRN Effectjveness
 Admln Date                                                                                                         Follow U_e Date                         Result                                                                Reason                     lnltials

  Order:




  Notes                                                                                                                                                                                                                                                                                i .·
  OrdarNo          lnttials       Note Category        Note Date               Item                            Status                   Note




    '. CORRECT CARI::                                                                                                              Page 1, of2                                                                                                                      01(05/2018 18:17
  ...aiuo~UTIO>!B




                                                                                                                                                                                                                                                                                       i.
                                                                                                                                                                                                                                                   MCCI MED RECORDS 433
                              Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 440 of 486 PageID: 1119
Monmouth Adult (MCCI)                                                                                      October 2016                                         Order Record History
.. ,Pati~ntName;,'                                    7.~,PJ1~iet1tJi;> >:   i• , Med /l-d   #:   .. ·:..A~rijf~\Q~.pa,113,.:, ;;   ,Gfl~~£taiith ·   ·Sex: .
FREEMAN, DONELL                                       26184                                                 06/30/2015               12/25/1975        M
 AUec<tles:    No Known Allergies
 Diaqnosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not OtherNise Specified, Abnormality of Gait


 lniti               end
 lriitfals    U$er
AL            Labarbe~, Ashley, LPN
 DR           Reyes, Doris, LPN
 KM           McCray, Kamisha, LPN

 Order Administration SitE!§.
Abbrevi1;1tlotl      Site




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   .(.._ CORRl::CT ¢ARE                                                                                 Page 2 of2                                                         01/05/2018 18:17
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                                      ···------·· .   --· . ..----------- ~------,:------..----                                         ·-------                                              ··-•·;•~»•,·
                                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 441 of 486 PageID: 1120
         Monmouth Adult (MCCI)                                                                                                                         November 2016                                                                                     Order Record History
         . )>~effi,Name-:-..                                                       ?Patit;ini ID _.::.-t· ..
                                                                            ~'.. ,·1                                .. ,.M"l'Recof!I.• ·         .:·:~cf/'Jlisslon,D;rte .... - : :t_. Dafoot.airtli .,   1 ~ei:'-._
          FREEMAN, DONELL                                                  26184                                                                         06/S0/2015              I   12/2511975           I   M
          Aller<ites: No Known Allergles

          o;aonosi" Unspecifietj Major Depression, Rerorrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


         Discontinued
          Medication Orders
               PRN
         !;_Qrtf~~~#;)~,l~~,f(C~l:!Qt~R~tif~i1~~ltl@_~1.~_~,;g1;~r~1.~:_5_i;i:.~~}=·)({:jp;.~~~fff'.;ii','ll~~~~f~fo~~-;')-: .1 1~/~1,6.::TI!3~ 1l1:: (_::.v~~bffi~"thif¢ :,·~~!2□,'.201,'~ _,:_,1~_:_51_. j. :_$tafi ;~~lif :: ·,tlf5.t2_~01_ ~-)_4~.:j :,EM Pi:rl/lt.' 1;2{22_,;:?0_:l 1r:,~        a~:~
           albuterol sulfate 2.5 rr19/3 mL (0.083 %} solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. • Ordering Provider: Kabeeruddin Hashmi
           Time      Type                     2       3       4       5          6         7        8           9    10      11     12     13     14       15       16      17       18      19       20       21          22   23   24    25       26    27     28     29         30         31
         IPRN       jnmes                                                                                                                                                                          1·::1               I        I I I           I        I I I                 I           1:, ., , ,1
         ij~~-tr"~f'!~l~:~~rn ~11!m~-t~a_w~~i'X.$!?ffiP~~:tt~~~-®-~~~n:~;~,:;::;~;):·;;;);'~:·W~!~~:fJ.:!;i8$t~lf\t~~t¢i'fi'/?"~:~.~.w~o-,1,,:;··1fj:~5.ir.:::J,;$U.~/n!fJ:~.a.tet. ·,owz.:@_q:1_9;".tf~9.:f ~St~r'(0~if. :)J9~,2~.1:1:1 :::,$:~] ,. S!'iQ'O..ii~t'!: ., ]Zl~'l@.~_6"18;.SS
          Tylenol (Acetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days, - Ordering Provider: Kabeeruddin Hashmi
           1",me                              2       3       4       5          6         7        a          9     10      11     12     13     u        11      1s       ff       1a      19       m        ~           n    a    M     ■        m     v      ■      ~          m          ~
          ~         rnmes-                                                                                                                                                                                                                      j
                                                                                                                                                                                                                                          0a~s 0s~a      I I IesL;~i I                     p,L~.6:~


          Patient Status Changes
          Patisnt Status:                          Oescrip1icm                                                  To/From                                   Date
          Active                                   Admitte<I to Faci!lty                                                                                     11116/2D16 13:03

          Pain Assessment
          Date                        Score        Scale                  Loc.rtlon                            Rea,5on               lnitials    Interventions                                                      Resutt                  Follow Up Datetime-              ll'lltla.1$

          Order:




          PRN Effectiveness
          Admin Oat&                                                                                                                  Follow U_e_ Date                     R.e5u!t                                                             Reason                    Initials

          Order:




          ...AJ~Rf~\T, ~A~l                                                                                                                         Page1of2                                                                                                                    01/0512018 18:17




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                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 442 of 486 PageID: 1121
Monmouth Adult (MCCI}                                                                                                                November 2016                                         Order Record History
<~a-pent N~h1i{ .: ,                                              ::J;-,.. • -~~fienttD·-.. :•      .: M&:d f{8COrd1f .       · , :,Adr_ftiss-iOh..Da!_? ,.   •Jlat•.'" Birth . j · sex:
FREEMAN, DONELL                                                      26184                                                             06130/2015             1212511975        I   M
 AUarares:       No Known Ailergl6s

 DiaQtlosls: Unspecified MS.jor Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait

Notes
◊rderNo            Initials        No~ category             Note Date                Item                        Status               Note
4814065            vc              General                  11120/2016 19.:41 albuterol sulfate 2.5              Refused              pm
                                                                              mg/3 mL (0.083 %)
                                                                              solution for
                                                                              nebullzatlon

Initials Legend
lnlJl;'j_lS   µi;:_er
KM            McCray, Karnish.a, LPN
LD            Divita, Lawrence, LPN
VC            Cotroneo, veronica, LPN

OrdJ1r Administration Sites
Abbroviation            Site-




 ..J':t.f~EtRf~Tl tAr)                                                                                                              Page2of2                                                                 01/05/2018 18: 17




                                                                                                                                                                                              MCCI MED RECORDS 436
                                ••---••   ,, _ _ ,_ _ _ H   •••-,,,•,-••,            H•H--••••--.   '•<   ',,•            .     '    - - -       •---•••----         ---            -••'       .   '·'. 11:· ' "   •     . .     .   --····-
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                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 443 of 486 PageID: 1122

Monmouth Adult (MCCI)                                                                                                                                          December 2016                                                                                                                 Order Record History

JjueptName:.                                                              . :;:~f)a,$8ntlQ ,.·                   .. )Med Record#~                            Admissiol'i :Date                  -.-·oate·0.s1rµi.             Sax:
 FREEMAN, OONELL                                                         26184                                                                                    06/30/2015                      12/25/1975                   M
 Al!erQies:     No Known Allergies

 Dlacmoiliiili: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not otherwise Specified, Abnonna!ity of Galt


Discontinued
 Medication Orders
     PRN
.:Qr.il~~~}NO!;:-'.M,.¥.~_,:;J~~~~~~;i,~-qajip).et~~--Jw.n~20,_B;:::;1~:~9.r                                                                                                               -1
                                                                             :~~'~r,,:.,:,t;t:.as(~~ij'jif!1~1i:.~¢.d: ;. :· JY#J1¢.5~~f.. :·§UP.-ro_i_t;·~~;: ,-;~}i0/2016 '.1~;~. j·;sla~ ,D:ale~·::. D.SJ2!5l?,~t~ ..:~ 4:9~J. :EM Date:                                                                    ,:.,_:~?f¥?~~'.J3-J~
  albuterol sulfate 2,5 mg/3 ml (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
  Trne        Type          1        2         3         4         s         6         7         a         9         10        11        12       13        14        15        16        17       1a         1a       20        21         22        23       24       2s             26        27     2s    29    30        31
1IPRN I                 I        I         I         I         I         I         I         I         I         I         I         I         1 1 I                        I         1 1 I                         1 1 ji1ile.:,n,;;i:w1]eii.~,i.:.;,,111,\lll.½li1.19,:,J,,;,;,!,''ic,.~;;,,F,ac,,l:i!£,:,1
.,_"9~f~i?;#ffe¼~·,~::j;it!f4b.r::~vm~t?~te~~:~41~~i..9.~.t~::~f.'.n-S:::.:;;;~;)H~;;:}~W(i:\l'~~:~o.rn,n1~~~~;::;:A~1.1~~-~;. w_!o~·.1:f:,supr:ott:o:aie,:.:.,_21-~~1_2gJ?..:_1~:~ ,J::-$fa_tt:rta1~:·:_;·.1_?::2~-2.~~-· :1.4;~~[1:~~.Pate:·.:~,· ¥~~1,201_7. 1.~i~(i
 albuterol sulfate 2,5 mg/3 mL (0.083 %} solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashml

  Tune        Type           1       2         '3        4         5         6         7         S.        9         10        11        12       13        14        15        16        i7        18        19       20        21         22        23       24       25             26        27     2B    29     30       3-1

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 hydrocortisone 1 % Topical Ointment give 1 ointment TOP BID AM & HS PRN for 10 days. -Ordering Provider: Kabeeruddin Hashmi
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 hydrocortisooe 1 % Topical Ointment give 1 ointment TOP B1O AM & HS PRN for 7 days. - Ordering Provider: Kabeeruddin Hashmi
                             1        2         3         4         5         6         7         8         9        10         11       12        13        14        15       16         17       18        19        20        21        22        23       24       25             26        27      28   29     30       31
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 Ty.lenol (Acetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days, - Ordering Provider: Kabeeruddin Hashmi


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Monmouth Adult (MCCI}                                                                                                                      December 2016                                                                                        Order Record History
.:l:_4i!en~ N:8!1'.I~,·.:.: ,:..,. : .                                                             , .. ,~~eiord#.i·                 ,.; Admis11ionJ)aie_:.        ::·.patecfBirth .,.I .Sex:
FREEMAN, DONELL                                                                                                                            06/30/2015                  12/2511975          I M
  Alleroies:         No Known Allergies
 Diaqnosh>: Unspecified Major Depresslon, Recurrent Episode, Alcohol Abuse, Asthma Not Otheiwise Specified, Abnormality of Gait


'Pil1!!':N.o:'•¥••~4g,,;•j ,,Oiilir:Stmus:i,•p\Smpi1>1W•omM2ij;,1; 11a:;;~'';,••,·, ;, ,;. ,;1,11,Jt!lih.:i .' ;,J,,@¥t,i\am!i\1Sleied~: . ·,, 1#1s1""1' ''?•1T. · ],•ll\>bmtt:Dme!· 1211 S/<!O/.e; 1,,2s i . ,s1~tt~a1e'..   .12!J.112,01,•;\•ill,o,t .e0tt oa1.,,,; . o;,i2.11.2ow   1g,e•,
Tylenol (/\Cetaminophen) 325 mg tablet: give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider. Kabeeruddin Hashmi
                                                                             7       8       9       10      11      12      13       14      15      16      17       18       19        20
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 Patient Status Changes
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 PatJent Status                                  Description                                  To/From                                        Date-                                                                                                                                                        !
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 Pain Assessment
 Date                                    Score   Scale            Location                  Reas-on                    Initials     lntervantlons                                                   Result                         Follow Up Datetime               1011:lals

 Order:



 PRN Effectiveness
                                                                                                                       Follow Up Date.                        Result                                                                  Reia~on                     Initial$
 Admln Date

 order:



 Notes
 OnierNo                 Initials          No¼ Category    Not.a Date              lt,m                            Status                   No!>

 5744942                 vc                General         12131/2016 19:06 Tylenol                                Refused                  pm
                                                                                   {A<::etruninophen)
                                                                                   325 'mg tablet
 5744943                 VC                General         12/31/2016 19:06: albuterot sulfate 2.5                 Refused                  pm
                                                                                   mg/3 ml (0.0B3 %)
                                                                                   sohJtion for
                                                                                   nebu!iz~tion




   ·l'   CORReCT CA.RE                                                                                                                  Page2of3                                                                                                                        01/051201818:17
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                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 445 of 486 PageID: 1124
Monmouth Adult (MCCI)                                                                                        December 2016                                                                                          Order Record History
· ::.Patieri~Name{::. --: ::;.::-{:~:-:;:.~::;;~- ·    -~ip~8i)HIJ_:_.   . .': .. Med ReOOri!# ..c.c,   .:)i.d_rriission ,_[)_~~~ : : ·:,   I:   Q91&a;BirtK.. J ·$f:x:.
 FREEMAN, 0ONELL                                      26184                                                   06/30/2015                    I    12/25/1975            I   M
  AllerQies:      NOiKiiOWriAlfergles

 Diaonos!s: Unspecified Major Depression1 Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait



 Initials      User
 DP            Perrln1 Debra, LPN
 DR            Reyes, Doris, LPN
 LAM           Maldonado, Laura, LPN
 LO            DMta, Lawrence, LPN
 MS            Sihombing, Mlchael, LPN
 OB            Bizer, Orfa
 vc            Cotroneo, Veronica, LPN


 Order AdministratlQn Sites
 AbbrevlatCon          Site




   .I! COAREet CARE                                                                                        Page3 of 3                                                                                                                               01105/201818;17
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                                           Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 446 of 486 PageID: 1125
Monmouth Adult (MCCI)                                                                                                                                January 2017                                                                                             Order Record History
.•. p~_np,Ja(\1e::,                                                        -;;~¢ienUo:.· ;·,;::::..;-J ;.: ..-Med•R~coi(#: .:·                   tdITilSSf9f\Date:. ·            ;:.Qa):e,¢.!3.irtlt:,:. L-~ ;      1
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 FREEMAN, □ ONELL                                                      26184                                                                         06/30/2015                   12/25/1975 I              M
  Alleroies: No Known Allergies

 Dla0;nosiS: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwfse Specified, Abnom,a[ity of Gaft


Discontinued
 Medication Orders
;.;'9i:a~;iN.~:,\:_~~-~-Q:iil~!p~~f§~S4t,S_~·,:;i.~P.1ete~ ~1n~~tij 1,(il;i:1,;®x.'.-;';:,<:;{;''}~_:}:s,:b:t,a.st'.~~f/l'ff)ltJerj~cf'.l' ::.,: .01/14120117 oa;oo ';•:j-:!sµb.rnff .Qal~:_ :,O_tJ,~f2?'1 .-:1.~:~ -I ·-,S1art.Pate::. mn 0/~~lY-::Qe~pw) J'.'.r:id' .o~e ::: 01/15~~ 17;: or,se·
 prednisone 20 mg tablet give 2 tablet PO Q AM for 5 days. • Ordering Provider: Pauline Tyas
  Time       Type             1.       2        3        4        5       6        7        6        9       10       11      12       i3       14       15       16      i7       18       19      20       21             22   23    24       25       26       27       28      29        30         31
                          1~1~@!!00.,tl!V•J~•i!Ml••i " 1cs 1,, 1""' 1,, w&m~~•J1.1:~1,.,,q;;l'l!illiJJ!!J0.:t,J~•*mJi1if.s-,,~"!""npN;;.-1_ip1i/2ti11,~'.'""*'-li,'jj~~;,~"1"ii<,t:p;;.,4,\1,ii•,1
(9@iW(No.;s~.$~~;i?bP.'~~-~af~_;:yd~if.li>@:~:~fltt/.~~j1r::9i~_-s:1i/f;!;;:·;;~;_;;;~'Y.Y11.~l1;~~iK1;,~:Mry)1rr~re.re-~.:·;; . . ;;'~11~ f?.@'J~?'~ ~ID:QS·:1 :~.ubfliJt t1ia.f~; ::,.~.1 ~~f291?: .;,~1-~: 1-·~art.-l;)~ii:· ;'.<J1!.l 9:f2_1:1,1·f:,:G.~,;90;1 :·, t£fuf:O~_~:. . ·:.'~1tt.7/~0c17 '.Q,7~49.;
 Zyrtec {Cetlnzine) 10 mg tablet: give 1 tablet PO Q AM for 7 days. dose given. - Ordering Provider: Pauline Tyas
  11me.      Type             1        2        s        4        s       e        1        a        e       10       11      12       1a       14       1s       1s      11       1a       ,s      20       21             22   2s    24       2s       2s       21      2s       w         30         a1
1oa:oo j1nit              1•~m.JM1,l!&l\l!lil.D!Jlml!ll';iii!ilia~iiiil'!i-"'I " , cs 1" 1"' , " 1" 1"' p:1a@ilw,,de,1.t1n1wt'<M,i1Ji*ll';J1\:f,..~:)!t1v,,q~¼1:l<Ji'»\/ll;l'1i"'i)J,~.llt]'rt~.:]i;tt.1,1;;\id:q
      PRN
t,Qr,8~;f'Jtf.':;:s.;71~~"~Jr;J .~m.t4,~~$~t1.is~~!-~f;ll~:P4f.Hi!~~.11;;;a;?;P:~;:,:;:','.~:!::1::i ':.l:'.<YYPWtr'!,;:h:,hP!Sft!>if@inlM@te:.i:1/!;:·;~:~_2i:a::ir~o,w:,·.~~,#$rrl?~Obm!I" P':ate:::"; j.21:1~~q 1. ~. -~1.#ii. J,$.tai"t;-P¢e:r:., 1;@2/~~,!~ .J~:Q9.J ;;~~:~:QE!W: ··:::98/20f2g~-r :1_3:.~~~
 albuterol sulfate 2.5 mg/3 mL (0,083 %) solution for nebullzation: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordertng Provider: Kabeeruddin Hashmi
  Time        Type                     2        3        4        s       6        7        8        9       10       11       12      13       14       15       16      17       18       19      20       21             22   23    24       25       26       27       28      29        30         31

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:P.f.t!.~t.--~/~;·:srffi~f.;~;;J.:·Pnf~r:sraws;:,:p_pttipf~fii(,Q~1Ml~bp/!1.~~·!;i!:~ii~.~;:·;.giffl~~)f'.:;z;J:•:~t'~:~if!Ji)~Sf'.I:!~:.!:~_i'.~-~J~_.2Q.F·1~1~?,7_;~,4 ::S_t,\!l_tijtt;l;l,~.e:: ·j·•1w.1 ~@1 ~/,1:'4_~~--r.·,S~arri;;.ift~;''':;j~~/~~-'~':19:~◊j ·,,EridJh~te: ,·;: Q~Y¥-1L:.~:,??-
 Tylenol {Acetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days. - Ordering Provider: Kabeeruddin Hashmi
  Tone        Type             1       2        3        4        5       6        7        a        9       10       11       12      13       14       15       18      17       ,a       19      20       21             22   23    24       25       26       27      ,.       29        30         31

IIPRN          mo.,         1n:z7                                                08:lll                                                       18:46 011:s1              ea:~1                                                         ea~J1 ia:n
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 Patient Status Chan£!es
 Patfent Status-                             Description                                              To/From                                           Oam
 Active                                      Admitted to Facility                                                                                            01/05/2017 14:08

 Pain Assessment
 Oare                          score         Scale                    Location                      Reason                      Initials       Interventions                                                      Result                           Follow Up Date-time                  lnltlals

 Order.




 ,_&J~R~i~T! ~Ari                                                                                                                                 Page1 of2                                                                                                                               01/05/201818:15




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                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 447 of 486 PageID: 1126

Monmouth Adult (MCCI)                                                                                                January 2017                                                             Order Record History
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FREEMAN, DONELL                                            26184                                                       00/30/2015                  12/25/1975           I    M
  AUsroles:       No Known Allergies

 Diaci:nosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


PRN Effectiveness
Admin Date                                                                                           FollowUeDate                         Result                                     Reason             Initials

Order:




Notes
 OrderNo               Initials    Note Category   Note Date             Item                    Status              Note




 Initials Legend
 lnitia!i:i    User
 cs            Smalls, Cherie, LPN                                                                                                                                                                                              !··
 DP            Perrin, Debra, LPN
 DR            Reyes, Doris, LPN
 LAM           Maldonado, Laura, LPN
 LO            Divita, Lawrence, LPN
 MS            Sihombing, Miehae!, LPN


 Order Administration Sites
 Abh!"!l:Y!iiJ!Qtl _ §:J1e




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                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 448 of 486 PageID: 1127
Monmouth Adult (MCCI)                                                                                                                                              February 2017                                                                                                                  Order Record History
    ,,~~.                                                                   . ·:;,PatlehUQ·;,, ...                ·:·..Med Record# .                      <<A~~isaj_~_pate                           0$1:, .of -~i!fu                 ~x:,-
    FREEMAN, DONELL                                                     26184                                                                                      06/3012015                        12/25/1975                        M
    AUerole$:      No Known Allergies
    Diaanosls: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
    Medication Orders
::o_@er.Nci:,•:~W®~~~MtQfiiijf:_:$(a~~m:P'~(TjjJ{~~~:.~:~1jj~/J§;~~\1(:~fr:\i'.1;~~iW~.~~~tJ _;;@:M.~Tri/$r.~r ,y~:-J)31~1J~~i9.q?J ;' ,$\l'!{iit~@~2/i-fl2~~!,:;;os,~'41 :"f :,s_lart;_oat'e:, ,:~lf?/2.1~.?.q~z-,.,~,~~.l?:( ._E;i}d Datfl!. ,•;i,:03/?31~91 !,:'~ a:~                                                                                           ; .
  hydrocortisone 1 % Topical Ointment give 1 ointment TOP BID AM. & HS for 10 days.~ Ordering Provider: Kabeeruddin Hashmi                                                                                                                                                                                                                                         I
    Time      Type              1       2        3         4       5        6        7       8           9         iO          11       12          13        14       15         16       17        18          19              20       21           22       23        24       25        26       27        28     29       30       31                        ! ..
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 albuterol sulfate 2.5 mg/3 mL (0.083 %) solution for nebulization: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
    iime         Type           1       2        3         4       5        6        7       s           9         10          11       12          13        14       15         16       17        18          19              20       21           22       23-       24       25        25       27        28     29       30      31
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i:t:!@i!i,N:oi'!,~?~/W~,X;[,<1i!!•i'fililf<l~~:•1,on\plef!'g'9~i?,11?~~Jii~~~;,,,1Hi'?.'ic\111!1~1$iiilM'M1i\~iiiJiil'i!~l'e•;:)i:,9?1,12fF,q1~;:,~@(:,:,J,'Su~mltJl•"'''•'1ls!1¥'>1Jl.':i 4:>~J ·1ll•rl o.at~:. ;'1. 21~1~1~ ,1 ~'9Ri:,Etid ,t;,ate: ·•.·9:,p,, 12011; 10,~
    Tylenol (Acetaminophen) 325 mg tablet give 2 lablel PO BID AM & HS PRN for 90 days, • Ordering Provider: Kabeeruddin Hashmi
     Tlme        Type           1       2        3         4       s         6       7       a           9         10          11       12          13        14       15         16       17        18          19              20       21           22       23        24       25        26       27        28     29       30      31
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    Patient Status Ch~ngas
    Patient Status                           Oeserfptlon                                                  TotFrom                                                      Date




    Pain Assessment
    Om                          Score         S<:al$                   Location                          ReaMn                               lnltials         Interventions                                                                    Result                               Follow Up Datetime                      Initials

    Order;




    PRN Effectiveness
    Admfn~te                                                                                                                                 Follow Up Date                            Result                                                                                           Reason                          Initials

    Order:




    _.A.f~8i.R[~T1 ~A~i                                                                                                                                         Page 1 ot2                                                                                                                                                    01/05/201818;16




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                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 449 of 486 PageID: 1128

Monmouth Adult (MCCI}                                                                                         February 2017                                              Order Record History
.. P¢1an~N~;, ..-.;·                                                   ·· -:-:-MM Re00rd-#, :,:.,,..;"·   . ;~dmis~lorrtY~~--- .   ·.-.Date ·oJ.Blrth-·   c.   ·Se1c·:
FREEMAN, DONELL                                                                                                0613□12015           12/25/1975                   M
AUeraies: No Known Allergies

 DlaQnosls~ Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not otherwise Specified, Abnonna!ity of Gait


Notes
OrdarNo         Initial$   Note C1;1tegory   Note Date      Item                         Status                Nore
 5744942        OB         General        02/0312017 19:26 Tylenol                       Missed                pod lock down
                                                           (Acetaminophen)
                                                           325 mg tablet
 6140013        CM         Administration 02/27/2017 08:00 hydrocortlsone 1 %            Refused
                                                           Topical Ointment
 6140013        OB         Administration 02/27/2017 19:00 hyclrocortisone 1 %           Refused
                                                           Toplcal Ointment

 Initials Legend
 Initial$   Um
 CM         McCormack, Christine, LPN
 cs         Smalls, Cherie, LPN
 DP         Perrln, Debra, LPN
 DR         Reyes, Doris, lPN
 KM         McCray, Karnish a, LPN
 KM         Muller, Karen, LPN
 LK         Kranlz, Laura, LPN
 08         Sizer, Orta
 RC         Gardin, Robert. LPN
 vc         Cotroneo, Veronica, LPN


 Order Administration_ Sites
 Abbreviation     Site




                                                                                                            Page2of2                                                                01'05/2018 i8:16
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                                                       Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 450 of 486 PageID: 1129
Monmouth Adult (MCCI)                                                                                                                                                  March 2017                                                                                                       Order Record History
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 FREEMAN, DONELL                                                                                                                                                      06/30/2015                  12/25/1975 I             M
     Allernies:     No Known Allergies

     maono;o: Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
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 hydrocortisone 1 % Topical Ointment: give 1 olntmentTOP BID AM & HS for 10 days. - Ordering Provider: Kabeeruddin Hashmi


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     hydrocortlsone 1 % Toplcal Ointment: give 30 milliliter TOP BID AM & HS for 10 days. -Ordering Provider: Kabeeruddin Hashmi
      Time       Type                1             2        3       4       5       s       7           a        9        10          11       12       15       14     15      16        17       18     19      20        21        22         23        24        :; 5       26  27  2B  29
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        PRN
;QFfef,~~!~_'€7~~~;,;,J/Pt4*-f:i®l!U..S:~'i•J~~~ea'\'0411 ~~r~-;-:~2f91#v;~'-'?if·:1:r,~-;?.'Y.'fr~~r;t:_ii,\+-~la..SfA.~ril.l.f1"w.te(aq;:f:,>·1~.1/Ji(i.~ !}, 19_~~-9 :·, 'I -~U:0.r'(llt.'b~te~- _-)~(1?1q·1_a_,;~-~:29., ·l:. Siar:t;_~!3'. ,: ,·21~.2.,~q.-, ~ _,_4,~o ( J~rid_•p;;1~: :• ,.0.~0/?_0~ ! · 1,3 :59_
     albuterol sulfate 2.5 mg/3                        ml (o.oes %) solution for nebullzation: give 1 milliliter !NH Every 3 hours PRN for 180 days. - Ordering Provider: KabeenJddin Hashmi
      Time       Type                1             2        3       4       5       6       7           a        9           10       11       12       13       14     15      16        17       18     19      20        21         22.       23        24        25         26           27          28           29       30       !:11
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     Tylenol (Acetaminophen) 325 mg tablet give 2 tablet PO BID AM & HS PRN for 90 days, ~ Ordering Provider: Kabeeruddin Hashmi
      Ttme       Type                1             2        3       4       5       6       7       8            9           10       11       12       13       14     15      16        17       18     1'9     20        21         22        23        24            2$     26           27           28           29      30       31

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     Patient Status Changes
     Pati&nt Status                                     Oascrlption                                               ToiFrom                                              Date




      k CORRECT CARE                                                                                                                                              Peg;, 1 of3                                                                                                                                                01/05120181S:16
     ...&h.$0lVT!OI/S




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                                            Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 451 of 486 PageID: 1130

Monmouth Adult (MCCI)                                                                                                                   March 2017                                                                    Order Record History

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FREEMAN, DO!';ELL                                               26184                                                                0613012015                      12/25/1975      M
 Al!e1T1ies: No Known Allergies

 Diaonosis:        Unspecified Major !lflpression, Recurrent Episode, Alcchol Abuse, Asthma Not otherwise Specified, Abnormality of Gait                                                                                                                          !.
                                                                                                                                                                                                                                                                  I.-·.:---
 Pain Assessment
 Dote                             Score     Si=ale            L,ocation                        R&El$Qn               lnfUals    lnterventklns                                               Result           Follow Up Datetfme        tnitials

 Order:




 PRN Effectiveness
                                                                                                                     Follow U_e_ Date                     Result                                             Reason                  Initials
 AdminD~

 Orde:r:



 Notes
 OrderNo              lrtlttals     Note Category        No'WDat9                    Item                        Status                 Note

 6140013              LD            Adm1nistration       03/0-212017 08:00 hydrocortisone 1 %                    Released
                                                                           Topical Ointment
 6302332               DR           Administration 03/22/2017 19:00 hydrocortisone 1 %                           Refused
                                                                                     Topical Ointment
 6302332               DB           Administration       D3/24/2011 19:00 hy'drncortlsone 1 %                    Refused
                                                                          Topical Ointment
  6302332              DB           Administration       03/27/2017 19:00 hydrocortlsone 1 %                      Refused
                                                                          Topical Ointment
 6302332               06           Administration       03/28/2017 19:00 hydrocortisone 1 %                      Refused
                                                                                     Topical Ointment

  Initials Le
  Initial$        u.aer
  cs              Smalls, Chene, LPN                                                     MS        Slhombing, Michael, LPN
  DP              Penin, Debra, LPN                                                      DB        Bizer, Orfa                                                                                                                                                      1.;·,1
  DR              Reyes, Doris1 LPN
  JEN             Nanez, John, LPN
  tAM             Maldonado, Laura. LPN
  LD              Divita, Lawrence, LPN
  LJ              Jefferson, Lanee, LPN
  LK              Krantz, Laura, LPN


    J   COflR~Cl CARE                                                                                                              Page2of S                                                                                               01/0612018 18:16
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                                  Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 452 of 486 PageID: 1131
Monmouth Adult (MCCI)                                                                                           March 2017                                                      Order Record History
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FREEMAN, DONELL                                  26184                                                        06/30/2015            12/25/1975 I M
 AUer,afes;   No Known Allergies

 01a,mosls: Unspeclfied Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Galt



Order Adlllinistration ,$_ites
Abbmvlatlon      _§_ite
AFAR              Affected Area,




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 .Ai.f~Rt.R~q:r, C/•r~i                                                                                    Page3of3                                                                             01/05/2018 HUS




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                                               Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 453 of 486 PageID: 1132

Monmouth Adult (MCCI)                                                                                                                                                     April 2017                                                                                          Order Record History

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FREEMAN, DONELL                                                          26184                                                                                        06/30/2015              I    12/25/1975           I   M
 AUarqles; No-Known Allergies
                                                                                                                                                                                                                                                                                                                           !'•
 Diaonosis, Unspecified Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not Otherwise Specified, Abnormality of Gait


Discontinued
 Medication Orders
       PRN
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 albuterol sulfate 2.5 mg/3 mL (0.083 %) solution for nebulization: give 1 milliliter INH Every 3 hours PRN for 180 days. - Ordering Provider: Kabeeruddin Hashmi
  Tlme         Type                1       2       a       4        5           e           1         a         9       10        11        12          13       14       15       1s       ;7      1a       19      20       21      22      23       24      25       26      27      28       29       30     31
1PRN 1                        1        1       1       1        1           1          1          1         1       1         I         1           1        1        1        1        1         11m:~l111il!i'~iil~liit'Jli'iiii.s:li..'iii,l!J:),1,..~1Zl!:,1W::,M~l\~1t.i.i,f:1'il{t11~~,c:i1,;~s~Rt'.iir:W,ii..!f,1


 Patient Status Changes
 Patient Status                                De&cl'iptio11                                                     To/From                                                Oa!B

 Discharged                                    Discharged                                                                                                                  04/17/2017 11:12

 Pain Assessment
                                   Score       Scale                    l.,ocat!on                              Reason                        lnitfa!s        Interventions                                                        Result                         Fr;:,llow Up Date-time              Initials
 Date
 Order:




  PRN EffectlVeness
                                                                                                                                              Follow U_e_ Date                          Rasult                                                                      Rea.son                       !nltlals
 Admin Date

 Order.




  Notes
  QrderNo               Initials       Note Category           Note Date                          ltom                                   Stat□s                       Note




  Initials Legend
  lniOals         U$er




     L CORRECT CARE                                                                                                                                               Page1 of2                                                                                                                              01/05/201818:16
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Monmouth Adult (MCCI)                                                                                                              April 2017                                      Order Record History
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                                                                1                     ;:.:,!'1~B~Ci:!rd #>.· ·_.__-:-::] -_ :.·._Ad/:niUio~'.O~e   :·Dat~<lfBli1h.-,_ j $ex:
FREEMAN, OONELL                                                                                                                06/30/2015           12/25/1975       I   M
 A!!amles: - "No Known Allergies

 Diaqrrn5is:   Unspecffied Major Depression, Recurrent Episode, Alcohol Abuse, Asthma Not otherwise Specified, Abnormality of Gait


Order Administration l';_ites
Abbreviation      Si¼-_




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 ~Jifll•~~Tl ~A,i                                                                                                           Page 2 of 2                                                         01/05/2018 18:16




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                                                        Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 455 of 486 PageID: 1134
                                                                                                                                                                        May 2017                                                                                                 Order Record History
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           Orders

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         :9:r:,1f!;f«tr;::nij;-::·,, .:)I                                                                                           :L'astAd./nfr~f~ct:·
                                                                                                                                    0

                                                                                                                                                                          -                 · .. [$ubm.ltb...,,',                      ·. ,ii .so, ltP•w.cc ·                     ·::;:;lj~f}ij'rifi~~;:'·i-::-.' .. v


           T!flie     Type                          2        3       4        5        6         7             8   9       10       i1       12       13       14       15         16        17       18       19       20    21       22        23       24       25      26     27       28       29         30        31

                                                                 1        T       1        T                           I        I        I        l        I        I          I                                    T                        I        I        I        T7             I        I         I         T7
                    _l               I        I
                                                        '                                            ' '                                                                                I         I        I



          Patient Status Changes
          Patiem; Status                                Descrlptlon                                                 To/Fr.om                                            Date



          Pain Assessment
          Date                              Score           Scala                 Location                         Reason                     lnitia!S         Interventions                                                        Result                          Follow Up Date-time                  1nitlals


          Order:.




          PRN Effectiveness
          AdminOate                                                                                                                           Follow Up Date                                Result                                                                      Reason                       Initials

          Order:




           Notes
          Ol'derNo            Initials        Note Catego!l_             Notlit Date                   ltam                              Status.                    Note




           Initials Legend
           Initials       User_




           Or<!er Administration Sites
           Abbreviation           Site



                                                                                                                                                                 Page 1 of 1                                                                                                                                  01/0512018 18:16
           .A~iRlR~~T, 1JAM


                                                                                                                                                                                                                                                                                       MCCI MED RECORDS 449
-·,:··
                                                                                                                                                                                                                                    -----····--•"·-··
                                          Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 456 of 486 PageID: 1135
                                                                                                                                                 June 2017                                                                               Order Record History
.::.:.:~~irit'${Hhe:~;                                           y, ;.,i'~\l<ni16:,0.                    Meti!<eoi~~                       /\d!ili.ssio~Oare :, .. ; T :Ba1e,otaJctlt,,      I .~ex:·
  A!lerales:

 Dlaqnosis;



  Orders

j~~@~t]Er-:,r.. :/'"J;rt~,~lU~(,:'/1~/-··: ··::· :·•· .'' '·_:·::::•1- ·:·:::-::?i   :Y:T:/ ';'. :.-.-. ·::.~·'J•i;a~·:1t,~IT!!rt~~~{-:;         :K!~'/          J.-!Srffiiu~-q$itE!:,_. ·              , ·JJS!a~c•                      ··, -iJ··:end'5l~i-,,

  Time      lype                      2      3       4       5       6        7         8       9      ID      11       U       13         MW           M       17      18       19          m   ~      ll      D      MM           ■       V      ~      B       m       ~

           I                                                                                                                                                                                                                                                             =
                                                                                                                                                                                                                                                                         1='1




 Patient Status Changes
 Patient status                           Description                                            Tll/From                                       Oa1a



 Pain Assessment
 Date                         score       Scale                  Location                     ReaSQn                     Initials      Interventions                                                 Result                    Follow U.E_ Datettme           Initials

 Order.




 PRN Effectiveness
 Admin Date                                                                                                              Follow U_e_ Date                     Result                                                            Reason                     Initials

 Order:




 Notes
 OrderNo           Initials     Note Category            Note Date                   Item                           Status                    Note




 Initials Legend                                                                                                                                                                                                                                                                                  !:

 Initials __User




 Order Administn1tion Sil.es
 Abi.tteviatlon      S!t&



 AJ1R~R~~! clr~                                                                                                                            Page1 of1                                                                                                             01/05/2:01818:16




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                                                                                                                                                                                                                                           MCCI MED RECORDS 450
                                                                                                                                                                                                              ~ - - ~ - - · ; - ,--.-:.-.--.-···   .,.,=-z::::;:.;._:.;:-- -~-.r - -   --:;;;,;
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 457 of 486 PageID: 1136




                                                              MCCI MED RECORDS 451
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    Monmouth County
    Monmouth Adult {MCCl]                                 Infirmary Admission Record
    1 waterworks roaci
    Freehold, N.J07728
    h:tient Name                      Patient r-Jumber                Bookmg 1\1umber              J3irth Dete     Dt7.te Of Serr.ice
    DOflELL FRE€MAM                   2:6'[84                         'J.279"258                   12/25Ji97S      61:3-012015
                                  Admission to be completed by person receiving patient in infinmary

        Date: 6/3012015                                  Time:4pm

        Admitting Diagnosis:
        sli
    Patient Problems:
    'Observed
                      Category Type                          Problem                                     Confirmed By
    !Date
    !
         6-30-2015 Acute           PSYCH: Substance ,, h /Ab
                                   Abuse            .HJCO a  use
         6-30-2015 Chronic         RESP: Asthma              Asthma Nat Otherwjse Specified
                                   PSYCH:                    Unspecified Major Depression,
         6-30-2015 Acute
    ~                              Depression                Recurrent Episode             .. _.. _____ .... -··

   I Vital Signs
        Time4pm

    Patient Vitals:
        Observed Blood
                                                                                                                                        -·,
        Dale     Preswre
                                      Pulse        Resp. Rate Temp                      Pulse Ox     Weight        BM/
                                                                                                                                          I
                                                                                                                                           '
                                                                                                                                           I


        08-30-                                                                                                                             '
    2015
    04:00PM
            106/61                      87         18                 98.00
    EST                                                                                                          - ~
   Known Allergies: List and describe reaction
    Patient Allergies:
    IObserved         ;     . -
    1Date                 ype
    I.Q&-30-2015 Allergy items
                                                          Allergy
                                                          No Known Allergies .. ________________                                   ____J
                                                                                                                                          I
        Emotional Status:         0     Relaxed    EZl   Cooperative □ Withdrawn □ Openly Anxious □ Uncooperative

        lmpainnent:
        Hearing lmpainment         Ga   None □ Decreased □ Deaf □ Hearing Aid

                                      Decreased      D    Rt □   Lt
                                             DeafORIOLt
                                    Hearing Aid □ Rt □ Lt




                                                                                                                                  Pagel of3




                                                                                                                    MCCI MED RECORDS 452
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 459 of 486 PageID: 1138




    Monmouth County
    Monmouth Adult {MCCI}                                Infirmary Admission Record
    1 waterwork$ road
    Fre.~boJd, NJ07728
    PetknfName                         Petient Number               Booking Number          Birth Dete    Date- Of Sef11ict1
    OOt-IEll FREEMAN                   26134                        327.9258                1212.511915   6)3-012015



     Vision:                       0 None D Glasses O Contacts D Cataracts □ Arliticial Eye □ Glaucoma
     Communication:                @ Understands English            O   Does not understand English
     Drug or Alcohol Use:          etoh, crack cocaine

     Skin Assessment:
     Presence of lesions:          @ No        O   Yes, describe:
                       Describe:
     Color:                        brown
     Temperature:                  0    Warm       0 Dry   □ Cool □ Moist
     Edema                         @ No O Yes, describe:
     Describe:

          FlngemaHs: Color: pink
               Capnlary Refill: less then 3 seconds
                     Condiiion: stable
               Toenaifs: Color: clear
                     Condition: stable

     Physical Assessment:
                 Lung Sounds: clear
                        Pulses: regular
       Abdominal Palpation: soft non tender
                Heart Sounds: UT.A.
               Bowel Sounds: positive a/14 quads

     Nutrition Assessment
     Last Intake:
          Food (Datemme): 6130115 2pm
          Fluid (Datemme ): 6/30115 2pm
     Recent Weight
     change:                       O    Yes, Increase      O   Yes, Decrease @ No

                       Reason:

     Difficulty Swallowing:        0 Yes, describe ® No

     Special Diet:                 0    Yes, describe @ No

     Feeding Tube:                 0 Yes, Type & feeding schedule @) Na



                                                                                                                         P1:1ge2of3




                                                                                                           MCCI MED RECORDS 453
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 460 of 486 PageID: 1139




    Monmouth Counfy
    Monmouth Adult (MGCI)                                 Infirmary Admission Record
    1 wat.wworks road
    Freehold' N.JOnlB
    Petient ,'V&me                      Patient Number             Bookin,g /\11..'mber         Birih Dete        Dete Of Serl'ice
    OONELL FREEMAN                      26184                      3279258                      12/15)1915        613-012015

     Feeding Tube:                • tf'Yes,-Type-& feei"iiii1isciiedu/e-®·No'             -- --~--• ·-. " -----
               Type & feeding
                    schedule

     Elimination Assessment
     Lasi Bowel Movement 6130115 am
                  Constipation:  O       Yes   t!l   No
                       Diarrhea: 0       Yes   © No

     Urine:
                    Frequency: 3 x a day
                       Urgency: O Yes @ No
                    Discharge:      O    Yes   ® No
                        Burning: 0 Yes @ No

     Potential for Injury:
              Steady on Feet: @> Yes O No
                       Describe
              Aids to Mobiliiy: E2I None        D    Cane    D   Crutches □ Walker        D   Wheelchair □ Prosthesis
                   Recent Fall: 0 Yes @ No
                      Describe




                                                                                                                                         .i
                                                                                                                                         I

                                                                                                                                         I
                                                                                                                                         I
                                                                                                                                         !·



    £~Signed by Lawrence Divita 11 06/30/2015 04:35 PM EST                                                                    Pagc3of3




                                                                                                                  MCCI MED RECORDS 454
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 461 of 486 PageID: 1140




                                                                                                                                                                  13

    Monmouth County                                         Infirmary Progress Notes
    Monmouth Adult {MGCJ)
                                                                FOR INFIRMARY USE ONLY
    1 w.atenvork:s road
    Freehold, NJD1128
    Patient ,'Jam~                                                     Baoking Numb~r                    .Birth D8fe
    OONELL FREEMAN                                                     3279258                           12.12611975


                                                                                                                 7,1/20158:00:00          7/31/2015 7:59:00
    th famine HCI 100 mg tablet                                 1.00 tablet        Monmouth facility. Q AM
                                                                                                                 AM                       AM
    atbuteroT SUifate 2.5 mQ.B ml f0.033 %) solution for        1.00               Monmouth Fa-cmty: Every 3     7/1/2015 2:00:00 PM ~J28/2015 1:59:00
    ne-bulizat1on                                               mitlwter           t1ours
                                                                                                                 7/15/2015 8100:00        10/13/2015 7:59:00
    Zoloft {SertraHneJ 100 mg tablet                            1,50 tablet        Monmouth Fad!ity; Q AM
                                                                                                                 AIV1                     AM
    Patient Problems:
    l    ·-•--~--.. . .                                                                                                              .   -·-----··-·-        '
    I Observed            Category     Type                     Problem                                         Confirmed By
                                                                                                                                                             i
    jDate
    '06-30-2015 Acute                 PSYCH: Subsiance
                                      Abuse
                                                                AJ· coh o/Ab use
    '
    ioB-30-2015 Chronic               RESP: Asthma              Asthma Nol Otherwise Specified
    i                                 PSYCH:                    Unspecified Major Depression,
                                                                                               Janice Buttler
    1
        06-J0-2015 Acute             _Q<epression               Recurrent Episode.
    Patient Allergies:
                                                                                                                                                                  I
    !Observed    T
                                                           Allergy
    :Date         ype
    i06--30-2015 Allergy jt,,m'!_ __
        □ Vital Sfgns Taken
    Patient Vda/s:
    ~--------------··---·- -· ·-,.                                     ····-···   --·-·-                                                            ·- - ~1
        Observed          Blood
                                           Pulse       Resp. Rate Temp                       Pulse Ox          Weight        BM/
        Dale              Pressure                                                                                                               ---- ...... J


                 Added 07127/20!502:12PMESTbykFacklna LPN              f----------------------~
         S)NO complaints
         0) e&a . med compliant. po intake ar:lequate.
         A) on snu due lo mh observallon.
         P} cleared by mh and transfered to gp in stable condition.
         pl education was given.




        E-Sigoed by Kathryn fackina n 07/27/2015 02:12 PM EST                                                                                     f'3.ge t of I




                                                                                                                              MCCI MED RECORDS 455
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 462 of 486 PageID: 1141




   Monmouth County                                         Infirmary Progress Notes
   Monmouth Adult (MCCV                                      FOR INFIRMARY USE ONLY
   1 wat-erworks road
   FraeJu;'IJd, NJD7128
   Palient Neme                                                      Booking f>lumber              8/rtbDete            Date Of Service
   DOl'IELL FREEMAN                                                  J-279258                      1'2/2511975          7/26/2015

                                                                                                                                                     I'
                                                                                                                                                     ' -
                                                                                                            711i2015 a:oo:oo   7/31/2015 7:59:co
   thiaminl! HG 100.mg tablet                                 1,00 tablet   f\,1onmouth Farilrr)~ QAM
                                                                                                            .J\M               AM
   a!butero! sulfate 2,5 mg;3 ml (0.083 %) solution for
    nebu!Jzation
                                                              1.00
                                                              milliliter
                                                                            Monmouth Facility: EveroJ 3
                                                                            hour~
                                                                                                            711/WfS 2:00:00 PM  t:/S/20l.Sl:S9 :00

                                                                                                            7115/20156:00!00    10/13/2015 7:59:00
   Zo!oft {Sertrallne) 100 mg tablet                          1.50 tablet r,ofonmouth Facflify! Q AM
                                                                                                            AM                  AM

    Patient Problems:

    !!Observed
      Dale           Category Type                           Problem                                       Confim1ed By

    jo6-30-2015 Acute                  ~f:,,~H: Substance A/coho/Abuse
    :06-30-2015 Chronic RESP: Asthma                         Asthma Not Otherwise Specified
    , _ 0_      Acute   PSYCH_-                              Unspecified Major Depression, Janice Bult/er
     06 3 2015______Dee,-ession
    ________                                                 Recurrent Episode
    Pat;ent Allergies.·
                                                                                                                                                     I
    jg!terved
    I06-30-2015
                     Type                                 Allergy
                     AllemyJtems._ _ _ _ _!_!N,,.o-"Kn=o,,,,vn'-'Ac,:l"',e"',p""ies=------
    □ Vital Signs Taken
                                                                                                                                          _J
                                                                                                                                                     I
    Pa#ent Vitals:
    IObseived--8=/o-o~d-----------
    lDate             Pressure            Pulse       Resp. Rate Temp                   Pulse Ox          Weight        BM/
                                                                                                                                                     I
            Atkled07J27tW1512:35AMESTbydgranatLPN                   !------------------------,                                                        !

      Checked on 1/M during rounds

      No complaints at this time.
      JIM is sleeping in bed.
      /IM being monitored in Infirmary due to MH concerns.                                                                                            ,.
      Continue to monitor.




     E-Signed by Darren Granat n 07n7/2015 12:35 AM EST                                                                               Page 1 of I




                                                                                                                          MCCI MED RECORDS 456
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 463 of 486 PageID: 1142




    Monmouth County                                             lnfi nnary Prog rass Notes
    Monmouth Adult {MGCI)
    1 watQJWorhs road
                                                                  FOR INFIRMARY USE ONLY
    Freshold, NJ0'1728
    Pfllient Name                                                         Bool:mg Number                                  Dete  or Service
    008El.L FREEMAN                                                       l27S25S                                         7126/Z-015

    ~~.:~;}~\;~/Hf::{:\:
                                                                                                              7/1/W15 8:00:00     7/31/2015 7:59:00
    thramine HCI 100 mg tablet                                     1.00 tablet Monmouth Fad!tt.y; Q AM
                                                                                                              AM                  AM
    albl.itero! suffate 2.5 mg/3 ml (0,083 %) !::olutlon for       1.00         Monmouth facirity: Every 3    7/112015 2:00:00 PM ~~S/20!S l:S!}:OO
    nebulb:ation                                                   mmmter       hour!.
                                                                                                              7/15.l20158i00:00   1D/13i2015 7:59:00   I•
    Zofoft {~rtraline) 100 mg   tablet                             LSO tablet Monmouth Facility: Q AM                                                  I
                                                                                                              AM                  AM
    Patient Problems:
     Observed
                       Category Type                              Problem                                    Confirmed By
     Date
     06-30-2015 Acute                    PSYCH: Substance Al h /Ab
                                         Abuse              co o   use
     06-30--2015 Chronic                 RESP: Asthma             Asthma Nol Othenvise Specified
                                         PSYCH:                   Unspecified Major Depression,
     06-30-2015 Acute                                                                                        Janice Buttler
                                         Depression               Recurrent Episode
    Parrent Allergies:
    fObserve,{         iype                                                                                                                            i
    1Date                                                      Allergy                                                                                 I
    I06-30-2015 A//ergy)lems_ ...                              No Known Allergies
     G'l Vital Signs Taken
    Patient Vitals:
    ·--·"~ -·--- ., ~ - - - - - - - - - - - - - - - - - - -
    ; Observed Blood
                                           Pulse        Resp. Rate Temp                    Pulse Ox      Weight          BM/
    'Date      Pressure
      07-26-
      2015
     09:23 PM t04IBl   62     16                                          98.30
     ~ST,___ _ _ _ _ _ _ _ _ _ __

             Added07/21l/201509:25PME.STbycw,a/lsLPN                     f-----------------------,
      S- No medical or mental heaffh complaints offered
      0- Inmate smiling and joking wfth staff, no self injury noted or reported. Po intake adequate
      A- inmate housed in the inffrmary secondary to mh observation
      P- Continue to monitor




     E-Signcd by Cherie Smalls 11 07/26/2015 09:25 PM EST                                                                               P;\ge I of l




                                                                                                                            MCCI MED RECORDS 457
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 464 of 486 PageID: 1143




   Monmouth County                                                    Infirmary Progress Notes
   Monmouth Adult {MCCI}                                               FOR INFIRMARY USE ONLY
   1 waterworks road
   Ff'Q.ahold, NJD1728
   Patient Mame                            Pstienf Number                      6ool<fnr; Number              Birth Date           Dde Of &a:n:iCff
    DONELL FRfEf.lfAN                      26134                               3278258                       'f2/2!i/1975         71261Z015



                                                                                                                     7,11/2015 8:00:00    7/31!2o"lS 7:59:00
   thiamine HCt 100 mgtabl~                                             LOO tablet    Monmouth FacHit:y: Q AM
                                                                                                                     AM                   AM
    albuterol sulfate 2.5 mg/3   ml (0,083 %) solution for              1.00          Monmouth Faci!fty, Every 3     7/1/2015 2:00:00 PM t;;?S/20lS t:S9-;00
    nebullzatlon                                                        ml!llllt~r    hours
                                                                                                                     7,1,5/2015 8;00100   10/13(2015 7:59:00
    Zoloft (Sertral!n<!!} 100 mg tablet                                 1.50 tablet   Monmouth F.;idHty: Q AM
                                                                                                                     .AM                  .A.1\1

    Patient Problems:
    !observed                                     ...... --·----··-
    !Date              Category Type                                    Problem                                    Confirmed By

     06-30-2015 Acute                     ::::s~H: SubS/ance Alcohol Abuse
     06-30-2015 Chronic     RESP: Asthma        Asthma Not Othe,wise Specified
       _ _      AC11te     PSYCH.·              Unspecified Ma/Jr Depression,   J8 1. B ttl
     06 30 2015        ____ Depression   .. ____Rf'E.'d_f@.n( Episog1' __________ ~C"._ll__e:__
    Patient Allergies:


     g;;::5 7i:;gy /,_, lec,m"s"----·                    _---------"~"':'-'-;-";n.,_,:"'w"'n'-'A"'-l lcce,.,rg,cie"s'------------ ______         _   .J
     □   Vital Signs Taken
    Patient Vitals:
                        Blood .             ..     .        . ··-··------·--··--. ··--···-·---····-···-·----- --·
    IObserved           Pressure              Pulse          Resp. Rate Temp           Pulse Ox      Weight       B/J/1
     Date

             Added07!26/20/512:08PMESTbyc,;malfsLPNf----------------------~

      S- No medical or mental health complaints offered
      0- Inmate observed in the day space interacting ,vith others. Po intake adequate, No self injury noted or                                                  !··:
      reported.
      A- Housed in the infirmary secondary to mental heaffh observation
      P- Conlfnue to monn.or per MH orders




      E-Signc.l by Cherie Smalls 1i O?n6!20! 5 12;08 PM EST                                                                                     P'llge 1 of' i




                                                                                                                                    MCCI MED RECORDS 458
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 465 of 486 PageID: 1144




    Monmouth C.Otmty                                           Infirmary Progress Notes
    Monmouth Adult (MCCI)                                       FOR !Nf!RMARYUSE ONLY
    1 waterworks r-oad
    Freehold I N.J01728
    P-efient Name                        Patient Number                6ooking Numb-er               Bilib Dete            Date Of Servtc,;
    DOUELL FREEMAN                       26184                         3279258                       11125/1975            7125/2015

    ~;()::·.~tti~~~;:' :-~}I~'.,-:??::;_:5,~~}{?~·f\.:~~:t~:~J~W_?~{~*:rt-Jr;:.I:f!}?~~J;.:}(·{t:.,~~i~:;-,})?r~t;l
                                                                                                             711/2015 8:00:00      7/31i2015 7:59:00
    thiamin~ HO 100 mg tablet                                    LOO tatiret Monmouth Facility: Q Af.-1
                                                                                                             AM                    /l..M
    p!buterol sulfate 2.5 mg/3 mL tp.Q.83 %) rnlutkln for        1.00          Monmouth Facility: Every3     7/1/2015 2·00:00 PM 12/28/2015 1:59:00
    nebulization                                                 milliliter    hour~                              '    •           PM
                                                                                                             7/15/201.5 8:00:00    10/13/2015 7:59;00
    Zolort tSertrallnr) 100 mg tablet                            1.50 tablet   Monmouth Faci!fty: Q AM
                                                                                                             AM                    AM

    Pa~ent Problems:
    i Obseived         Category Type                             Problem                                    Confirmed By
    iDate
    !                                   PSYCH: Substance         A! h /Ab
    !06-30-2015 Acute                   Abuse                      co o    use
    i
    : 06-30-2015 Chronic                RESP: Asil,ma            Asthma Nol Otherwise Specified
                                                                 Unspecified MaJor Depression,
    i' 06-30-2015
                                        PSYCH:
                       Acute                                                                    Janice Buttler
                                        Depre_ssion              Recurrent Episode
    Patient Allergies:
    IObserved          Tupe                                 Allergy
    1Date               ''
    l06-30-2015        Alfergv Items                        No Known Alle_rg_,.,iecos:_______
        □ Vital Signs Taken

    Patient Vdals:
    iOl,served          Blood
                                            Pulse         Resp. Rate Temp                Pulse Ox          Weight          BM!
    LI)'."~..           Pressure

              Added07/26!2015J2:26AMEST bydgranatLPN                  f------------------------~
         Observed 1/M during rounds

         No complaints/No evidence of agitation at this time.

         /JM s/eepiiig in bed
         l!lvl being monitored for MH reasons.
         Continue lo monitor until cleared by MH staff.




        E-Sigrnid by Darren GranHl n 07/26/20!5 12:26 AM EST




                                                                                                                            MCCI MED RECORDS 459
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    Monmou1h County
    Monmouth Adult (MCCI)
                                                             Infirmary Progress Notes
                                                               FOR INFIRMARY USE OMLY
                                                                                                                                                         I'.
                                                                                                                                                         !
    1 waterworks mad
    Freehold, {IJJ{)112.IJ




                                                                                                               1ili2015 8:00:00    7/31/2015 7:59:00
    thiamine HO 100 mg tablet                                   1.00 tablet    Monmouth Facility: Q AM
                                                                                                               AM                  AM
    albuterol sulfate 2.5 mg/3 mL (0.033 %) 5<llution for       1.00          Monmouth Facility: Every 3       ]/l/20lS 2:00:00 PM ~;,:28/20.151:59:00
    nebull.zatlon                                               mlll!llter    hours
                                                                                                               7/15/2015 8:00100   10113/2{115 7:59:00
    Zoloft {Sertrallne} 100 mg tablet                           1.50 tablet   i'~1onmouth Fad!ity.   Q AM      AM                  AM
    Patient Problems:
     Observed
     Date             Category Type                            Problem                                        Confirmed By

     06-30-2015 Acute                   i,:;;;:-i: SubSlance Alcohol Abuse
     06-30-2015 Chronic                 RESP: Asthma           Asthma Not O/he,wise Specified
                                        PSYCH:                 Unspecmed Major Depression,
    'j 06-30-2015     Acute
                                        De ression             Recwrent E isode                               Janice Buttler

    Patient Allergies:
    l"Obseived                                              Allergy
    JDate       Type
    '06-30-2015 Al/ergv Items                               No Known Allergies
    Ga   Vital Signs Taken
    Patient Vitals:
    IObserved Blood                       Pulse      Resp. Rate Temp                   Pulse Ox             Weigh/        BM/
    iDale           Pressure
    '07-25-
     2015
              136191                      74          16               98.90
     08:49 PM
    f=ST
            Ac/ded07!25/201508:53PMESTbycsma//sLFN                  !-----------------------,
      S-No medical or mental health complaints offered
      0-- Inmate is calm, quie( compliant with vffals. No self injury noted or reported. Po intake good
      A- In infirmary secondary lo mental health observation
      P- Continue lo monffor until cleared per MH staff




     E*Sfgned by Cherie Sm&lls 1107/25/2015 08:53 PM EST                                                                                Pagel orJ




                                                                                                                             MCCI MED RECORDS 460
Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 467 of 486 PageID: 1146




    Monmouth County                                           Infirmary Progress Notes
    Monmouth Adtilt {MGCI)
                                                                FOR INflRMARY USE ONLY
    1 1/lliti>.JWOrks rOBd
    Free.hold, NJ07728




                                                                                                              1/1/2015 a:oo:oo    11311201s 7:59!00
    thiamine H.a 100 mg tablet                                   1.ao ta91et   Monmouth·F.;i,ci!itV, Q AM
                                                                                                              AM                  AM
    albutero! :sulfate 2,5 mg/3 ml t'0,033 %) rnlutlon for       1.00          Monmouth Facility: Every3      7/1./2015 2:00:00 PM 1;;;28/20151:59:00
    nebu!ization                                                 milliliter    hours
                                                                                                              7/15/2015 8:00:00   10/13/2015 7:59:00
    Zofoft [S-ertrallneJ 100 mg tablet                           1.50 tablet   Monmouth Facility: Q AM
                                                                                                              AM                  AA.J
    Patient Problems:
     Observed
     Date              Category          Type                   Problem                                      Confi,med By

     06-30-2015 Awte                     ~;J;},H: SubSlance Alcohol Abuse
     06-30-2015 Chronic         RESP: Asthma                    Asthma Not Olherwjse Specified                                                          I
    iOO-J0- 2015 Acvte          PSYCH:                          Unspecified Major Depression,  Janice Buttler
    '-·-·-- ______,____..... -· DeQression                      Recurrent Episod_e_ _ _ _ _ _ __
    Pauenl Allergies:
     observed
     Date             Type                                   Allergy
                                                                                                                                                        i
     06-30-2015 _Aller=gv~lte~m=s_ _ _ _ _~No Known A=l/e="=gi=es~---
                                                                                                                                                        i'
     □ Vital Signs Taken
                                                                                                                                                        i'
    Patient Vitals:
    l Observed
    [Qate
                       Blood
                       Prossure
                                             Pulse       Resp. Rate Temp                  Pulse Ox          Weight        BM/
                                                                                                                                                        I
             Arided07/251'lf)/501:06PMESTbycsmall•LPN                  f----------------------~
      S- No medical or mental health complaints offered
      0- Inmate is calm, quiet, and complaint ,vith vitals and meds, po intake good
      A- Housed in the infirmary secondary to mental health observation
      P- Continue to monitor until cleared per mental health staff                                                                                      i
                                                                                                                                                        i;



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     E-Signed by Cllerie Smalls n 07/25/2015 0 I:06 PM EST                                                                              Page 1 ofl




                                                                                                                            MCCI MED RECORDS 461
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                                                              MCCI MED RECORDS 462
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  Mo11mouth County
  Monmouth Adult (MCCI)
  l Waterworks Road
  Freehold, NE 07728
                                        Mental Health Services Treatment Plan
                                        For NON-Acute Mental Health Events                                                    ccs
                                                                                                                     CORRECT CARE
                                                                                                                     SOl.l;l          <JtiS

  Perrien! :Vamc                             Pati~lff ,Vw,Jlh:r         Booking :V1'mher             Date oflJfrrh    Today's ()ate
  Freeman Donel!                             Patient Number - ·3279258           12/25/1975 8/7/2015
                                                               · - - "-"-----L-"==='-"--..L:"--'-=='---..1
 TREATMENT MODALITY:              IZl   Special Needs             D   Group Therapy           0    Individual Therapy
 DIAGNOSIS•
 Depressive Disorder NOS: Alcohol and Cocaine Dependence
 "If patient currently under psychiatric treatment, utilize diagnoses determined by psychiatric provider.


 Focus of Treatment: Remission of depressive symptoms. including those associated with substance abuse                                        L.-.
 Goals: To alleviate depression and improve mood: to develop appropriate coping and relaxation skills: to identify triggers
 to substance use and relapse prevention strategies; to prevent Injury to sell or others: to support medication compliance.
 Treatment Interventions to be U!Jllzed: Monthly conlacts with MH staff; visits with psychiatric prescriber 1x/3 months
 while prescribed psychotropic medication.
 Start Date of Treatment:        Anticipated Completion Date:

              N4111>; For patients prescribed psychotropic medication

               I·
                   ·
                                                                                  -w Psychiatrist shall review plan.
                                        (P$ychiatric Provider inlllals) --I.<'-";;;,:_ _ _ _ _ (MHP initials>


 Treatment Plan Update: Date of Update:                   Anticipated Completion Date:

 Progress Toward Original Goals:


 Revised Focus of Treatment:

 Treatment lntervenlions to be Utilized:

 Note: For Patients Enrolled In Spoclol !lloeds Program - Review Treatment Plan Every Six (6) Months and Sign Below If No
 Update• Noeded. Treatment Plan Shall Be Updated At Least Annually.

 Review Date: _________ Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Review Date:           Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Review Date:           Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                                                                          · · Signature•/
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                                                                            •1 agree to participate in this tre»tmant plan.




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        Monmouth County
        Monmouth Adult (MCCJ)
        1 Watern•orkr;; Ro.ail
        Freehold, NE 07728
                                                                       Mental Health Services Treatment Plan
                                                                       For NON-Acute Mental .Health Events
                                                                                                                                                                                   rtr               ,,,,ccs
                                                                                                                                                                                                    CORRECT CARE
                                                                                                                                                                                                    S◊l\JT\ONS


         Prt11,mt ,'Vame.                                                          Patiem :Vumbe,-                          Booking Numhef                               Date of lifrth              Today ·s Date
       =F:.:re:..:e:::m::a:::n,,_,-"'D'-"o'-"n"'-el:.:.l_ _ _ _ _--1..oP..=a:::ti:c:e:::nt:..:.,N.,::n:::m:,:b:.:e::...r--<...3::::2::.:7c::9-"2"-58"----=---'--1""2"-/2,::5:::.i.::c19::.;7c::5:....L;::2ic::lc:..:f2:::0c:..:16 - - - '
        TREATMENT MODALITY:                                   1:81 Special Needs                          □ Group Therapy                                      □ Individual Therapy                                                         IC
                                                                                                                                                                                                                                            l C

       DIAGNOSIS•                                                                                                                                                                                                                           L
                                                                                                                                                                                                                                            ;
       Depressive Disorder NOS: Alcohol and Cocaine Dependence
       'If patient currently under psychiatric treatment, utilize diagnoses determined by psychiatric provider.


       Focus of Treatment: Remission of depressive symptoms, including those associated with substance abuse.
       Goals: To alleyiate depression and Improve mood: to develop appropriate coping and relaxation skills: to identify triggers
       to substance use and relapse prevention strategies: to prevent lniury to self or others· to support medication compliance.                                                                                                           I:
       Treatment Interventions to be Utilized: Monthly contacts with MH staff; visits with psychiatric prescriber 1x13 months
       while prescribed psychotropic medication.
       Start Date of Treatment:                                  Anticipated Completion Date:


                                              patients prescribed psychotropic medication - MHP                                                                  ehiatrist shall review plan.
                            _:~p.~_ _ _ _ (Psychiatric Provider initials) ----'~4--~-- (MHP initials)


      Treatment Plan Update: Date of Update:                                                       Anticipated Completion Date:

      Progress Toward Original Goals:


      Flevlsecl Focus of Treatment:

      Treatment Interventions to be Utilized:

      Not&: ~or Patients Enrollod in Special Nee<ls Program - Review Treatment Plan Every Six {6) Months and Sign Below If No
      Updates Needed. Treatment Plan Shall Be Updated At Least Annually.

      Review Date: _ _ _ _ _ _ _ _ Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      Review Date:                 Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
      Review Date:                 Reviewing Staff Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

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                                                                                                                                                                                                                Date
                                                                                                                            •1 agree to participate in this trea ment plan.




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   Monmou1h County                                                Staff Referral Fonn
   Mo-nmouth Adult {MCCIJ
                                                                        Mental Hea!tll
   i   w.afJM'work!l road
   Freehold, N.J0'1128
   Prtt'rent Neme                       PatieJ'ilNumber                 Booking Number   Birth Dete     Deie Of Sr:1rt-1ce
   DONELL FREEMAN                       '-'l1"4                         3279253          12/2511ff1S.   111112016


       Type:                 0   Emergent      O    Urgent    ®      Routine
       Mental Health:        □ Psychiatric Provider [;;) MH Professional □ MH Nurse □ Other
       Other:
       Reason for Referral:
       requesting to speak to mental hea#h about anxiety/depression
       Additional Information (including interim actions taken):
       n/a




       E-Signed by Cheryl RomannOlil In016 09:07 AM EST                                                                 P:ige 1 ufl

       E-Signed by Alicio Capi.110-Smith n-01/11/2016 10:59 AM EST



                                                                                                          MCCI MED RECORDS 465
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    Monmouth County                                                    Staff Referral Form
    Monmouth Adult (MCGI)
                                                                           Mental Heaftb
    1 wnterwor!G roed
    Freehold, NJ07728
    PetienfName                            Pstfent Number                 Bockfr,g r,Jumt;er   BirthD&t-e   Dete Of Service
    DONELL FREEMA!f                        ma,                            3279253              11125/1975   612/201:S


     Type:                     0     Emergent      O    Urgent @ Routine
     Mental Health:            E2I   Psychiatric Provider E2I MH Professional □ MH Nurse □ Other
     Other:
     Reason for Referral:
      1/M refusing medication states 'I'm cured"
     Additional Information (including interim actions taken):
      eval

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     F.-Si1:,,ned by Ashley Lal'<arl,,ero n0610211016_ 10:1 t AM EST                                                     Page t of I
     E-Sibrned by Alicia Caputo-Smith n 00/03/2016 08:16 AM EST



                                                                                                              MCCI MED RECORDS 466
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           Monmouth County
           Monmouth Adutt (MCCJ)
           1 waterworks road
           Freehold,NJ 0772B
                                                                                                                                                                                                                                        ~ccs
                                                                                                                                                                                                                                        CORRECT CARE
                                                                                                                                                                                                                                        SOLIJi'IO/.IS
           732..1Jfi6,3665            ext. 3651 Fax 732,866-3069
                                                           Pane 1 of2
                                                 CIWA-AR SCORE SHEET Alcohol and Benzodiazepine Withdrawal
                            Patlenl Name
                  FREEMAN, DOIIELL                                    I             Patient Number
                                                                                     26184                                    I             Booking Number
                                                                                                                                                          3279258                          12/25/1975
                                                                                                                                                                                                           Today's Date:
                                                                                                                                                                                                       Date of Birth
                                                                                                                                                                                                            6/30/2015                        I
           Complete CIWA-AR assessments q                                    Contact HCP If CIWA~AR>19                                                                           Contact HCP if CIWA-AR score > 1o prior to
           shift x 5 days- and prior ta each                                 CIWA score >i5 schedule next c!!n!c day with                                                        last dose Librium on day 5
           Librium dose                                                      HCP
           Contact Behaviorat Health/HCP for                                 Contact HCP for Delirlum Tremehs                                                                  Contact HCP for deteriorating condition
           positive SH screen and prace on                                   OYes GNo                                                                                          including, but not lim[led to,
           suicide watch □ Yes □ No                                          A combination of thesa symptoms indicate OTS                                                      unresponSJVeness, multiple seizures,
                                                                             and is a rY!edtcal emergency: Ha!Juclnatlons,                                                     unstable vita) s'.gns, persistent vomiting or
                                                                             Delirium, Tremors, Confusio11, An-/tatfan.                                                        dehvdra(lorr,
           /y;J:•;\~)'..\   ..          -.:: ..-··',.
                            ·,•.-:-.,'-''          :·;: .• .. coirinlete ea·ch SectiofiOf score sh-eeteVe""                                                  l(_ . . . . .   urs x 6 daVs                                                        .,
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       Blood                      J~lS <90
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       Pressure
                                       >180 ~'.,\~) >110 caU HCP
                                           or O <60 calf HCP                                     ZiiJiq P¾1                           f4/i18                                                             105,V:J                         f                       to-f/,.,i
       Pulse                      ->'\20 or -<60 call HCP                                         .. '                ' 'l
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       Tempetature                >101.1Fca/lHCP                                                  'l!t          'f'                   LI          {J
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       ~e$piratlo11S              <10 or >Z4 call HCP                                                                                             '                          ~                                                                   ,..:        )         /I
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       Nausea!Vorniting                                                                            i)             0                    CP                                I
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      Auditory Dfsturbances                                                                                           0                                                 .J                                                                                       ;
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      Visual Disturban~es                                                                            ,>               C,
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      Anxiety                                                                                        a             \)                 I~                                     ...         6
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       Headaches. Ft.dlne:ss in Head                                                                ....           r,                  (
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       Orfenlatlol'I                                                                                Cl            <\",                {.
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                                      Total Scoro (max score 67)                                    ,:;,
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      Exnresse.s thoo□ hts about :s-e!f~harm?                                                    □Ynt.. 1   i   rtJ.y                 oy~1                   □Y N                    ov=•                 m:                             G                  N    J;Y□ N
      Ha.s patient h-iid a negative visltlphona catl with                                        C!Y;z!"N       Qy                    □Yoo'
                                                                                                                                                              DY N                   □Y!B1l               DY~                            □ Yl            N       □ Yi;;,,'l
      famiHfrler.ds: since last nur.stna encounter?
      Has the paUSntgone 10- court/video CO'!Jrt since
      !ast nursing enC-0\Jnter and reports that It didn't go
      well?
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      Expresses teetings there ls nothing to look
      forward to in the future? (FeeUngs of
      ho"ele.ssnesa/hei"'leasnei,s'
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                    Monmouth County
                    Monmouth Adult /MCCI)
                    1 waterworks road
                    Freehold, NJ 07728
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                                                                                                                                                                                                      CORRECT CARE
                                                                                                                                                                                                      SO~VTI0/1/$
                    732-866-3665 ext. 3651 Fax 732-866-3669
                                                                     Pane1 of2
                                                           CIWA-AR SCORE SHEET Alcohol and Benzodiazepine Withdrawal
                                   Patient Name                                    Patrenl Number
                                FREEMAN, DONELL                           I                25184
                                                                                                                            Booking Number
                                                                                                                                   3279258
                                                                                                                                                                                   Date of Si rth
                                                                                                                                                                                   12/2511975
                                                                                                                                                                                                                 Today's Date:
                                                                                                                                                                                                                  6/30/2015
                    CompJele CfWA~AR assassments q                            Contact HCP If CIWA-AR>19                                                    Contact HCP If CIWA~AR score >10 prior to
                    shift x S days and prior to each                          CIWA score >15 schedule next clinic day with                                 la&. dos-e Librium on day 5
                    Librium dose                                              HCP
                    Contact Beha11!oral Health/HCP for                        Contact HCP for Deliriurn Tremens                                            Conti"c:t HCP for deteriorating condltlon
                   posJUve BK scteen and Pface on                             □ Yes    □ No                                                                including. but not lfmlted to,
                   $Ulclde watch □Ves □ No                                    A combination of these symptoms indicate DTs                                 unresponsiVeness, mul1!ple se!zure-s,
                                                                              and is a medical emergency: Hallucina!lons..                                 unstable vital signs, persistent vomiting or
                                                                              Oeliriurn, Tremors, Confusion, Anitatlon,                                    dehvctration.


                                                                                 Date 1 7-.. 11 I   I' ""      IIY'                                                            ~      1)/<J            '11..,
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                   Blood
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                   Pressure
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                                             (S} >180 or (D) >i1 O can HCP
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                   Pulse                     >120 or <60 call HCP                                  )          r.           (o         I,               .                   !V         I                 I~•
                   Tempefature
                   Resplrations
                                             >1QUF call HCP
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                  Auditory Disturbances
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                  Orientation                                                                     l                                                                                                    ,.y
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                                                 Total Score (max score 67)
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                  Exaresses thouahts about self~harm?                                                                                                                                                  u               □ YON
                  Hes patient had a negative vlslt/phon, call with
                  famllvfff1ends $inct last nurs!na encounter?                                                                                                                                         ovJ;11(/ · □YON
                  Has the patient gone to court/video court since
                  last nursing encounter and reports that it didn't go                                                                                                                                 OYi!!N          □YON
                  wall?
                  Expresses feelings there is nothing to look                                   /
                  forward to in the Mure? (Feeling• of
                  honelessnessfhelolessness\
                                                                                             OYijN           □YC                                                                                       □Yoi □YON




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       CCS 't)(19 RovlSGi:I 2014




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 475 of 486 PageID: 1154



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              Monmouth County
             Monmouth Adu/I (MCC/)
             1 wateJWorks road
             Free/fa/cl, NJ 07728
                                                                                                                                                                       .A.CCS
                                                                                                                                                                        CORRECT CARE
                                                                                                                                                                        SOlUilONS
             732-il66·3665 ext. 3651 Fax 732-866-3669
                                                               P,a(l~ 1 of:2
                                                    CIWA-AR SCORE SHEET Alcohol and Benzodiazeplne Withdrawal
                                Patient Name
                        FREEMAN, DONELL                                  I              Patient Number
                                                                                                26184             I         Booking Number
                                                                                                                               3279258
                                                                                                                                                            Date of Birth
                                                                                                                                                            12/25/1975 ·
                                                                                                                                                                             I   TOday's Date;
                                                                                                                                                                                  6/30/2015
            complele CIWA~AR assessments q                                       Contact HCP if ClWA~AR>19                                 Contaci HCP if C!WA~AR score >10 prior to
            shift x 5 d?tya and prior ta each                                    C!WA score >15 schedv!e next cllnlc day with              last dose Librium on ctay 5
            Ublium dose                                                          HCP
            Contact 13ehavioral Health/HCP for                                   Contact HCP for Dellrium Tremehs                          Contact HCP for deteriorating cor'!dition
            positive BH screen and place on                                      C'.IYes □No                                               including, but not limited to,
            suicide watch □ Yes □ No                                             A combination of lhese symptoms indicate Dis              unresponsiveness, muJt[p!e seizures,
                                                                                 and i$ i-'I med!cal emergency: HalluclnaUons,             unstable vital s!gns, persl$t-ent vomiting o.r
                                                                                 Del!rJum, Tremors Confusion Afll..tatron.                 dehvdralion,
          ' '.'; ",~)5~tt/ · · -F~-: ,·.:· ::·/:;,¾;'it:·;.,_corrii>Jete ea.eh sectloi'f of.score sheet ever 8 hours                          x 5 davs ·
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           S!ood                     (S) >180 or (D) >110 call HCP
                                                                                     Time
                                                                                         ..,, .,.,         I           I
                                                                                                     . .,'\(lfu!s Si•ns ·'.·

           Pressure                  /Sl <90 or /Dl® call HCP
           Putse                     >120 or <SO call HCP
           Temperature               >101,1FcaUHCP
           Respirations              <10 or>24 caU HCP
         · ?~~i:"-~..   i~,: f. ~:~-~•\";:J?::- 1i:F\'1~1\:' '. )·· ·.             ·': c·',i\'(·:'.''>'iCIWAsAr Scorhia . ·                ,...     ·.·,·
           Nausea:Nomitlng
           'Tremors
           Paroxysmal sweating
           Agitation
           Tactile Dil!iturbances
           Auditory Disturbances
          Visual Disturbances
          Anxiety
          Headaches, Fullness in Head
          Orientation
                                        Total Score (max score 67)
         :~1.,:~~t1i~\~;.~f(.::.t,'lt~:.f:~r:::rf!·:~~-.._·.....\...--:., :~.     ··= -,,, ·   ,,.:86ha\lloral Health Screen                          '.                             .


          E"""resses thoutih1$ about $alf-harrn?                                                    DYtJN □YON QYtJN               □YON           □ YON        □YON         □YON         □ YON
          Has patient had a negattve Vis!Vphone call with
          famfiVffrienc!s since lastnuTS/na encounter?                                            □YON      □YON           □ YON   □Y□N           □YON         DYDN         □YON         □YON
          Has the patient gone t-o courttvrdeo court .sJnce
          last nursing encO\.lnter and reports that it didn'tgo                                   □YON      □YON           □YON    □ YON          □Y □ N      OY□ N         □ Y□ N       □YON
                                                                                                                                                                                                     t
          well?
          Expresses feelings !here is nothing to look
          rorw-ard to in the future? (Feelings of                                                 □YON      liJYON         □ YON   □YON           □ YON       □YON          □YON         □YON
          hO"""'ieSSM!.'is/he£Mlessness'
                                                     Cfrnrcar Slaff rnmar
         . fflltiat,k ' 1S!ciriatufe't:i,1:...~-1:-J~~•:;:•"... ~":.,;,.:•~ biitlal~, . : Si . ·att.ii-e~ .... -·',.               .. ,   lnltlal ·· Sionature .· ·                              ;




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Case 3:18-cv-07802-BRM-ZNQ Document 88 Filed 12/14/20 Page 476 of 486 PageID: 1155




             Monmouth County
             Monmouth Adult (MCClj
             1 waterworks road
             Freehold, NJ Q77l8
                                                                                                                                                       .-.CCS
                                                                                                                                                       CORRECT CARE
                                                                                                                                                       SOLUTIONS
             732-866-3665 ext. 3651 Fax 732-866-3669
                                      Pama 2 or2
                                          CIWA-AR SCORE SHEET Alcohol and Benzodlazepine Withdrawal
                             Patient Name
                     FREEMAN, OONELL
                                                          I         Patient Number
                                                                         26184
                                                                                               I        8ooking Number
                                                                                                             327925~
                                                                                                                                       Date of Birth I Today's Date:
                                                                                                                                     I 12/25/1975       613012015

            •.c,J'~'. ·;·~ ~~r;t\•:'_;f:,. _- ,f_✓., ~-:.;· :.\1i'/i(S-&--~....... CU:~f-1n.stitute Wdhdrawal .Asseament for Alcohof
             NAUSEA & VOMIT!NG-Ask "Do you rGOI sic!< to your                                   AUDITORY DtSTURBANCE'.S-As.k: ~Are you more aware of sounds al'Qund
             stomach? Have you vomited?" Observation                                            you? Are t~ harah? Do. the_y frtghten you? Are you hearing anything that
             0 No nausea. no vom1Un9                                                            Is d!sturiJfng to you? Are you he-arlng things you know are not therer
             1 Mild Nausea with no vomiting                                                     ONot present
            4 lntetm!tient nausea with Ory heaves                                               1 Very mild harshness or ability to frighten
            7 Constanl nausea, frequent dry heaves & vomiting                                   2 MIid hars.hne.s-::. or abiHty to frighten
                                                                                                3 Moderate ha?,hne.ss or ability to frighten
                                                                                                4 Moderately s vere halluc!nations
                                                                                                5 Severe hallucinations
                                                                                                $ Extremely severe ha!Judn::itions
                                                                                                7 Cont!tu.10-us h~llucinations                                                    i
            TREMOR..Anns extended, finger& spread apart                                         VISUAL Dl$TURBAl'ICES-Ask, "Does the light appear to be loo Otighl? Is
            ObservatiOn                                                                         the color different? Does it hurt your eyes? Are you seeing anything that is
            0 No tremor                                                                         disturbing to you? Are you seeing things you know are not thete?
             1 Not vis!ble but can be felt fingertip to flngert!p                               0 Not pr8$-snt
            4 Moderate, with pat!enrs arms extended                                             1 Very mild sensitivity                                                           i!
            7 Severe, even with arms not extended                                               2 Mild sensitivity
                                                                                                3 Moderate sensitivity                                                            '·
                                                                                                4 Moderately severe halluc.inatlons
                                                                                                5 Severe hallucinations
                                                                                                6 Extremely severe hallucinations
                                                                                                7 Continuous hallucinations
            PAROXYSMAL SWEATS-Observation                                                       ANXIETY~Ask ~oo you feel nervous?''
            0 No sweat Visible                                                                  o No anxiet)', al ease
            1 Barely perceptible sweating, palms moLs1                                          1 Mildly anxious
            4 Beads of $Weat obvious on forehead                                                4 Moderately anxious, or guarded. so anxiety is inferred
            7 Drenching sweats                                                                  7 Equivalent to acute panic state, es seen ln severe delirium or acute
                                                                                                schizophrenic reactions
            AGITATION-Obsetvation                                                               HEADACHE FULLNESS 11'1 HEAD-As/< "Does your head feel dlllerentr
            o Normal actlvlly                                                                   Does it feel like th era is a barid around your head?~ Otherwi8e rate severity.
            1 Somewhat mare than normal actlvlty                                                Do not rate dizziness or 11ghtheadedness,
            4 Moderately fidgety and restless. shifting positions                               D Not present
            frequently                                                                          1 Very mild
            7 Paces back and forth during most of the interview, or                             2Mlld
            ,constanffy thrashes about                                                          3 Moderate        I
                                                                                                4 Moderately severe
                                                                                                5 Severe
                                                                                                SVery severe
                                                                                                7 Extremelv -s,eve-re
            TACTILE DISTURBANCES-Ask "Have you had any                                          ORIENTATION-Ask "Whal day is this? Where are you? Who am I?"
            itching, pins & needles sensations, burning or                                      0 0-rlent.ed and can do serial additions
            numbness. or do you feel bugs crawflng on or under                                  1 Cannot do serial adcfltions or ls utlcertairi about the date
            yourskin?·                                                                          2 Disoriented 1ordale by no more than 2 calendar days
            ONone                                                                               3 Dt:sorien1ed for dale by more than 2 calendar days
            1 Ver/ mild itohlnQ, pins & needles, burning, or                                    4 D/sori-ented for place and/or person
            numbness
            2 MIid itching. plna & needles, burning, or numbness
            3 Moderate itching, plns a neetlle$1 burning, or
            numbness
            4 Model'ate!y severe haIIUcinatlons
            5 Severe hal!uci'latlons
            6 Extremely severe haUuclnations
            7 Continuous haltuelt'latlons
            <-10-,S!al,le. '·. · ::·:J~;\5;;..i..•t,:l'Moderale'"""lhdrawal                                  16-19 Moderate withdrawal              >20 Severe withdrawal

   Cl ioio COlt!!CI. em. SoMlons. LlC
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             Monmouth County
             Monmouth Adult (MCCI)
             1 waterworks road
             Fteeltokl, NJ 07728
                                                                                                                                                                                             ccs
                                                                                                                                                                                  COARECT CARE
                                                                                                                                                                                  6Qti/T                O•l!i
             732-866·3665 ext. 3651 Fa~ 732-866-3869
                                               Po11re 1 of;?
                                                        COWS SCORE SHEET Opiate Withdrawal
                            Patient Name                         Pallant Number                                    Booking Number                               Birth
                                                                                                                                                              Date of               j       Today's Date:
                    FREEMAN, DOt,,IELL
             Compfete
                                                       I             26184                                            3279258                         I 12t:!5/1975                          7/112015
                            COWS >12 increase          Cont.aCt"'Behavioral                                         Contact HCP for deteriorating condition including, but not
             COWS score     COWS score sheet to       Health/HCP fQ~ posilive SH                                    limited co, unresponsiveness, mtt/tfple seizures, u-ns:table
             sheet every 8  QIO (every 6 hours} and    screen and place on sulclde                                  vii.at signs, persistent vomiting, or dehydratlol"I.
             hours          schedule ne-xt clinic day wa1ch □Yes □ No
                            with HCP
             Discontinue COWS scor~ sheet if COWS score rernalns<12 for     hours       n                                                                                                                       I
                                                                                                                                                                                                                ,_
                                           Comotete each a-ectlOn ofsc~                 sheet               ve--     Tm .,....     til <12 for 72 hourS                                 ,                       j.
                                                                Date /;                             1 2--                 N (I'-,,       1/..11.U'.)              1 f?,            If~              11"1        '
                                                                      Time     I        't       11'. 'a                    "111          11 "i                      I~/C,          Jq/f            TrM\
                                                                                                 Sinn•                         A    -
                                                                                                                                                                                        ,
            Sfood Pressure             (S) >180 oc (0) >120 call HCP
                                                                               \       :,:; i l(,'5,v:i                 (4.71!                                   1,x
            Re~Jting Pulse
                                       is, <90 or ID\<60 call HCP
                                       >120 or <60 calf HCP                               ':>        In I                     .-,, . !O'fNt-f .,,,, r, tau,_ ,S
                                                                                                                                          ~70·
                                                                                                                                                                              ,r   I~

            Tti,mper-awre
            Respirations
                                       >101:IF cal! HCP
                                       <10 or >24 caff HCP
                                                                               a
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            Resting pulse rate
            Tremor'                                                                       ..,....                                                 n
                                                                                                                                                   n                 0
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                                                                                                                                                                                                    6
                                                                                                                                                                                                     6
            Sweating                                                                                     l ..:.>                                  :'J                 J                             0
            GfUp.set                                                               .                          1                               (                          .)                         /
            Restlessness                                                                                    ',                                1                          J                          r'
            Yawning                                                                                                                          n                                                      r
            P~pJI S)Ze                                                             I
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                                                                                                            )                                { }
                                                                                                                                                                                              _.,
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            Anxiety /lrritabUlty
            Bone/Joint Aches
            Skln
                                                                                                     0
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                                                                                                                                              I
                                                                                                                                                                                                    r,r
                                                                                                                                                                                                    ,..., i
            Runny Nose-.rrearlng                                                                    CJ                                                                                               /';
                                                               rota! Score
                                                                                       .1          0                                         \'.),                    l             't ~
           i;.;.,,,..,ressas thouchts about selt•harm?
           Has patient had a negative vlsil/phone callwitfl
                                                           /max score 48'
                                                                          aehavio~ I Health
                                                                              □Yr N DY
                                                                                                           16" •          □Yr ""             _f!YDN
                                                                                                                                                                  □~~              DY N 0YDN
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                                                                              DY! IN □ Y                                  DY( N              □YgN                 DY               DY N DYi;aN
           faml!}l:lfriends slhce lest oursfno·en-counter?
           Has tha patient gone to court/video court sinee r.;lst             DY[ N DYl:'.l'N                             DYi N              DY(IIN               □ Yu!N           DY N □YµN
           nursino encounter end renorts that It didn't ao well?                                                                                          ,                   .
           Expresses feeling$ there is nothing 1o look forward to In
           the ttltute? lFeefinas of hooelessnes&1'1elo1&.ssnes.s'
                                                                              DY
                                                                                        rv         DY!::!N                □Yl                □YlllN               DYl:'.IN
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           Initial                   Sianature
                                                    Clinlcal Staff fnitlal

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        Monmoutl'I County
        Monmouth Adult (MCCI)
        1 watelWork.s road
        Freehold, NJ 07728
         732-e66-366!; ext. 3851 Fa" 732-866-3869
                                          Paae1of2
                                                   COWS SCORE SHEET Opiate Withdrawal
                      Paliant Name                        Patient Number                                      !:looking Number                              Date of Birth        Today's Date:
            FREEMAN, DONELL                       I              26184                                             3279258                                 12125/1975             71212015
        Complete   COWS > 1:2 increase                     Contact Behavloraf                                     Contact HCP f-ordeteriorat!ng condition /ndud/ng, but not
        COWS score COWS score sheet to                     Health/HCP for positive BH                             limited to, unresponsivene:ls, multiple seizures, unstable
        sheet every B   QJD {every 6 hours) and            screen and place on suicide                            vifal siglis. persistent vol'l'litlng, or dehydration.
        hours           schedule next ellnlc day           Welch □ Yes □ No
                        wHh HCP
        OiscontJnJJe COWS score sheet if COWS score remains < J2 1o1 72 hours
                                     Comnlete each section of sco • sheet V""' TIO until <12 fo 72
                                                                     Date   1                   :.                 I   '1kl                           ., hours
                                                                     Time     I          >\"I             ,v           m;\iJI',,, \;. :A                                    I

        61ood Pressure

        Resting PulS!!
                                   (S) >180 or (D) >120 call HCP
                                   cs\ s90 o, (D)<60 ca!I HCP
                                   >120   or <60 can HCP                    i /: •
                                                                                  .v,,•1$

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                                                                                                                                             11,,if)
                                                                                                                                                      i::..
        Temperature                >101.1F call HCP                            \                                           ,:;     '7                J,lO
        RHpiraUons                 <10or>24ca!!HCP                            c,                                                 t,
                                                                                                                                             '                                                         '   .
                                                                                I    - '\.V
                                                                            COWSSco.;n,
                                                                                                -                            I
                                                                                                                                                     "'                                                '
        Resting pu)se     rate-                                                    "                 J                     A                     ~
        Tremor                                                                            .           .../                  I                    L'
        Sweating                                                                                  '       )                M                     1....7
        GI Upset                                                                                          )                /)                      ·:i
        Restie,ssJ'less                                                             I            ',,..    )                Ii                     __,                                       -
        Yawning                                                                     .J                                     /)                        >
        Pupil $i:t&                                                                 I            I                     /)                            ',)

        Anxiety lfrritabi!lty                                                       >                                                                 )

        Bone/Joint Aches                                                          '/                                             -               ' .J
        Skin                                                                                                                                     u
        Runriy Nosefiearing                                                         1                                  /                         \',
                                                        Total Score                V

        Expresses thouqhts abQut self-harm?
                                                      (max score 48)


        Has patient had a riegaUve 'illt.itJphone: call with
                                                                      Behaviora.,.
                                                                            □ YYN OY
                                                                            OYt:N 0 N
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                                                                                                                       MY □ N
                                                                                                                       uYSj!N
                                                                                                                                                 0
                                                                                                                                                 ~
                                                                                                                                                                  □YON
                                                                                                                                                                  □YON
                                                                                                                                                                                □YON
                                                                                                                                                                                □YON
                                                                                                                                                                                         OYDN
                                                                                                                                                                                         □YON
        familV/ftle.nds since last nursing encounter?
        Has. the patient gone to court/video COtJrt since ta.st             DY.!ZIN □'r'RN                             xiY □N                    OYiaN            □Y□ N         □YON     □YON
        nurslnn encounter and tenorts that it didn't no weU?                      /
        Expresses fee/lng.s there is nothing to look fo,wg;d lo In          OYJ!JN 0 ~                                 ,ie_r □ N                 Dr UN            □YON          □YON     □YON
        the futu~? fFee!lmis afhooelesiness/hel"''"'ssnes&\
                                          Ctlnic.at Staff lnitiiil          ~"(I/               f\1\./                      //('                  1--17
        Initial                   Sianature               tnltlal                  Signature                                      Initial                   .        Sia nature
                                                                                                                                                                                                  'i
                                                               rlr       1/          /'t.     "'f.,._ •,.:III                          1.vv                f )/    JV---
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                Monmouth County
                Manmauth Adult (MCC/)
                1 wat&JWorks road
                Freehold, NJ 07728
                                                                                                                                                ,,,,,;t,,.
                                                                                                                                              CORRECT CARE
                                                                                                                                              SOLL'TfONS
                                                                                                                                                             ccs
                732-866·3665 ext. 3651 Fax 732-866·3669
                                                   Pan~.i. of:2
                                                           COWS SCORE SHEET Opiate Withdrawal
                                  Patient Neme
                         FREEMAN, DON ELL                 I         Patient Number
                                                                        26184
                                                                                          7        Booking Number
                                                                                                       3279258
                                                                                                                              I Date of Birth I Today's Date:
                                                                                                                                12125/1975        71112015




                                                                  COW$ Clinical Oni~ta Withdrawal Scale                                                           .........
               Re,.Hng Pulse Rate: measured after the pt. Is sitting                 Tremor:: observation of outstretched hands
               or lying for one minute
                                                                                     o no tremor
               D pulse rate 80 or below                                              1 "tremor can be felt bul not observed
               1 pulse rale a1.100                                                   2 slight tremor observable
               2 pulse rate 101~120                                                  4 gross tremor or muscle twitching
               4 nufse rate ore.ater 1flan. 120
               Sweating: over past ½ hour not accounted for by                       GI Upset:~over the last½ hour
               room temperature or patient acflvtty
                                                                                     O no Gl symp1orns
               Ono rePort of ohms or flushing                                        1 stomach cramp;;:
               1 pt. reports chills or Rushing                                       2 nausea or loose stool
               2 ffushed or o.bseNable mofsture oo face                              3 vomiting or diarrhe.a
               3 Wads of sweat on brow or face                                       5 multiple ep!sodes of vom1ttn9 or diarrhea
               4sweat .strei:tm/-- off face
               Restleasness: observation during assessment                           Yawning: observation on assessment
               Oable to sit s.1iU                                                    Ono y~wntng
               1 reports diffictdty sitJing .still, but is able to ~o so             ; yawning once or twice during assessment
               3 frequent shifting or extraneous. movements of legs/arms             2 yawning 3 or more times during assass.rnenl
               5 unable to sit a-till for more than a few seconds                    4 "-'awninri several times/mlnute
               Pupil Slxe:                                                           Anxiety or lrritablllty:
              O pupl!s Pinn~ or normal .$I:t.e fot room light                        O none
              1 pupl[s possibly Jaf't;let than normal for room light
              2 pupils modera.t,ety dilatect
                                                                                     1 pt reports !ncreaeslng irrltablilty or arixiou!'!ness
                                                                                     2 pt. obviousfy trrltabi,e or anxious
                                                                                                                                                                              1:
              5 ,.,u;..,ilt so dllated that onl\i the rim of the irls is visible     4 flt, so irritable or anxious that oarticloatlon in the assessment is difficult
              Bone or Joint Achea, If pt. was having p•in                            Skin:
              previously, only the add~ional component attributed to
              opiate withdrawal Is scored.                                           o skrn Is smooth                                                                         i
                                                                                     3 gooseflesh can be felt or hairs standing up on arms
              Onel pre.sen1                                                          -5 prominent goasellesh
              1 mild dlffu:se discomfort
              2 pt. reports severe d,lffuse a<.:h1ng offointstmuscles
              4 pt is rubbing joints or m1Jscies. & is utlabfe to sit still
              be~w~e ot discomfort
              Runny Nose or naring: not accounted for by cold
              symptoms or allergies
              o net presenl
              1 nasal stuffine!ios or unusually moist &ye$
              2 noae runlifng or tearing
             4 nose c<:mstal\"" runnfnn ortear-s str~amin~ down cheeks
              5-121111<1                             13•24 Model'lto-                   25-38 Mo<ler.,tety S.,v.,n,              >a-G sever..
              Withdrawal                             Withdrawal                         Wl!hdtawal                               Wlthd"""°I




   ~2010COlll'lll C11rti St>klllilrlJ, LLC
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          Monmouth County, NJ
          Monmouth Adult (MCCIJ
          1 waterworks road
          Freehold, NJ 07728
                                                                  Nebulizer Treatment Flow Sheet
                                                                                                                                                                  .ilCCS
                                                                                                                                                                  CORRECT CARE
                                                                                                                                                                  SOLUTIONS
          732-666-3665 Fax 732-866-J669
          Patient Name                                              Pati&nl Number                         Booking Numbet                      Date of Birth           Today's Data
 lir...-i..:F:...:R.;:E=-:E::cM::cA..::.N.:.i..::D:.::Oc.::.N;.::E=L:=L_ __,.::2cc6.:.;18::..:4'--------'---=3=27.:...:9:..=2cc58=------'-'1'-=2'--=/2""5I'-'-1""97'-'5'-'---1~/8"'/2""'0'"'1-'-7_~
          Allergies_-1-.::;..r:::,,>.:r:L._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

          When was onset of Attack ~-f:u})                                c; n::,                            When was last Attack _---..J-fu·fv/=·"-1'---""G,.,f'bCC-J~-
          Nursing Survey:
                                  Breathing: □Normal 'cilabored □Severe Distress
                   Use of Accessory Muscles: '!iJYes □No
                                     Lungs: Clear:      □ Bilateral □Right □ Left
                                              Wheezing: □ lnspiratory □ Expiratory 'bJJ}lspiratory & Expiratory
                                                        ORUL DLUL ~LL DLLL □Th,i;oughout

                                                                                                    HH         Provider Must be Notified before contir.iuino
               Pre-Treatment                                  Pre-Treatment/                        ;:::          Pre Treatment             Pre Treatment
                                                                                                    :•::
          Treatment #1                                   Treatment #2                                       Treatment #3              Treatment #4/
          Time: ,, :<::o           .~\VV"               nme:                                        ~{      Time:                     Time:         /
         Peak Flow:                                     Peak Flow:
         BP:
                                ~'()
                                                        BP:                                         m~
                                                                                                    •:::
                                                                                                            Peak Flow:
                                                                                                            BP:
                                                                                                                                                       Peak Flow:
                                                                                                                                                       SP:                 ''
         Pulse: ·1 (,,
         Reso:
         Temn:
                          ·~,                           Pulse:
                                                        Reso:
                                                        Temn:
                                                                                                            Pulse:
                                                                                                            Reso:
                                                                                                            Temo:
                                                                                                                                                       Pulse:
                                                                                                                                                       Reso:
                                                                                                                                                       Temn;
         Sa02:           (.,%Q/iJ                       Sa02:                                                      :                                   Sa02:
                Medication:                                    Meffication:                         !l!I Sa02: Meqlcatlon:                                     Medication:
            ~ lbuterol □Atrovent                           □Albuterol □Atrovent                                     □Albuwo1 □Atrovent                    tlAlbuterol □Atrovent
            L

         Time:
                   Post Treatment
                 C.Ji ', I<.,. (J -                     Time: !
                                                                Post Treatment                      il !
                                                                                                    :n: Time: f
                                                                                                                      Po~• Treatment                           Post Treatment
                                                                                                                                                       Time:
                                ,o,,-,
                         -
         Peak Flow:                                     Peak FJow:                                         Peak FJow:                                  Peak Flow:
         BP:                                            BP: I                                              BP: I                                        BP;



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                                 ··J<;
         Pulse:
         Resn;                ~      ..
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                                                        Res
                                                                                                           Pu'1,e':
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         Temn:                                          Te ':                                              Teri ID:                                    Jemn;
         Sa02:              {..i';l 01~                 Sa 2:                                               Sa'02:                                     Sa02:
                                                                                                    ;;~         I
         Notes:                                                                                             I



         MD Call Required:                    □Yes       (Refer to MD Orders)                  □ No

         MO Call Required:                        OReturn to Cell □Move to Medical Housing (if available) □ Refer to Emergency Dept
         Nurse Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                          11110011111m1~11m1n11m11111111m11;1~
                                          ~   D   a   1 1 7 9 b    ~   2 1 6 9 $ S 3 1 C 4 0 S 1 9 3 9 C P
0 20 IO c»tr&cl C111& Sclulkms, UC
11.2l!.2013



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                                                                                               MCCI MED RECORDS 475
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                 MONMOUTH COUNTY SHERIFF'S OFFICE
                     DEPARTMENT OF CORRECTIONS
                    MEDICAL RECORDS RELEASE AUTHOR!ZATION

    To Whom it May Concern:                                                                                i
                                                                                                           I
                                                                                                           !
            I,    DONNELL FREEMAN                hereby give my permission to the

    Monmouth County Correctional Institution for the release of my medical
                                                                                                           !
    records to the medicat department at the New Jersey Department of Corrections                          i
                                                                                                           I

    Date:

    Witness:~
                  4/17/2017                                Inmate Signature:8~

                                                           Date of Birth: \ 2_ _ ~ ,   A-µ
                                                                                          -~
                                                                                                           I




                                                                                                           I
                                                                                                           ,_




                                                                                    MCCI MED RECORDS 476
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         Monmouth County
        Monmn!J/l1 Adt.ll (MCCI)
        1 waterwcrks r()atf
        Freefw/d, MJ Q7728
                                              Authorization for Release of Information
                                                    At.:TORfZAC!ON !'AR.\. DIVl/1..AR JNFOR.'\I.AC!ON                                        ~ccs
                                                                                                                                             CORRECT CARE
                                                                                                                                             80llfT(ONS'
        73)-866-366S ext. 3651 F,rx 712-866-3669
                                                                 Patii;.m Number                         Dart ofBlnh                  Totkrx 's na,~
        FREEMAN DONELL                                           26184                                   !212511975                   11(1312015
        AKA(Alias}:                                                                                                                   SMltJI Secwi1)•Hl1
                                                                                                                                      145864878

                                                                                       Tc Release information To I A dlvul- ar lnformaci6n a·.
                                                                                       Narne o organization ar indfvldua/ t Nomtire

                                                                                       Addr-a-ss i DitecciOl'l
                                                                                       J Wl1./tf1WOrks n>/14
                                                                                       Freeho/11, NJ 07il!J
                                                                                       7J:Mf~.id6S e.u J6$J Far: 7J2~66~J66P

               Thts auiho ation includes records r~fating to the foUowlng (please check) / La pre:wnte auiorizad6n comprende los regfstros
               relaclonados con lo que se dela!la a contlnuaci6n (por favor, marque la opci6n .corrects):              ~

                       O Nl l'emaining records I Otros reglatros res tan Ies
                       □ Mental health lreatmen! / Tratamiento de s:aJud merrlal
                                                                                    6. S!le-cify J Especiflcar
                                                                                    ~
                                                                                                                    f2.:e...,i:.,tJ ltJry     ref> ll   lf3
                       D Chemical dependency treatmel'lt fTra.\am!ento de drogadicciOn o ale¢h¢1ismo
                       ti HJV or AIDS related !ests -and treatment/TratamlehiO o pruebas de SIDA o V!H
        2       Purpose for disclosure (this line mus! be completed) I Ptop6sito de la divulgaciOn (:se debe compte\ar este rengJl'.tn): _ _ __


        3.     fndicate dates of interest/ lndique las fechaa importaf\tes. ---,..-,--,,----~----,---~-,--..,.,----,-----~
               If no dale~ranga is: provided, release will cover the previous year only I Si 110 se indica ef periodo de diw}gaci6n, J,a mlsma tendrii ~ug.at
               SOio pore! terrnino <let ano anterior.

       4.      r underst-aod !hat I may revoke this authorization al .&ny time              4-    Comprendo que puedo revocar la .oresen1e autorizaolon en
               by providing wrttten notice, except lo the extent 1ha1 rnlease of                  ,cuak!uier momento slempre que ootifique ml decisi6n por
               information has already occurred in reliance upon It.                              e:serito, salvo que la divu1gad0.ll de mt infonnsdbn M haya
                                                                                                  efectuado dependiendo de d!ch~ autoriuici6n.
                                                                                            5,    Comprendo que conforroe 1:1 la Ley Federal (42.CFR - C6digo
        5.     I unde!'Stand that under Federal Law (42CFR Part 2} records                        de Normativ.a federal - F'arte :!) lo$ registrO$ relaelonados
               relaflng to treatmem for Chemical dependency cannot be                             con el tratamhmto para el alcoholismo o drog.adlccl6n no
               released without my .specific authorl.zation as )nd!c!rl.ed Uhder                  pueden dh.iulgqrse sin mi previa autorfa:acl6n especlfica tal
               ''L''                                                                              como fndica el pun!o ~1.~

        6,     ! ooderstand that information dlsctosed under this                           6.    Ent'iendo que fa infonnacf6n que- se divufgue en relaciOn a mi
               authoriza1lon rnay not be disclosed again by the recipient                          autori2aci6n no puede sar revelada nuevamente por la parte
               wiJhoot my .spµroval other than as authorized by stale and                         receptora de la misma $In rnl debida aprobadOn tal coma lo
               rede~t laws.                                                                       ind/can {as /eyes estatate.s y feden:iles:.

       1.      I understand that I wl11 receive treatmem even if I refuae to                7.    Cotnpmndo que recib)M tratamiento lnciuso si me n/ego a
               provide -appravat, but af$o ood~tand that refusing w                               otorgar mi a!)robaci6.n; pero, as!mismo comprendo quQ
               authorize 1nformation may affect the nature of the treatment                       rehusarrne a automar l:a dh.lotgaci6n rle lni !nformaci6n puede
               provided.                                                                          a1ectar la nah.Jfaleza de! ttatamient:O que se ma propOrclone.

        8.     J agree lo ho1d hannless au persons acting upon thlS
                                                                                            8.    Acepto &)(imir de resPansabiiidad .a tad.as las. petso.nas que
               authorlzatian in good faith.                                                       act:Uen .con buena fe baja la presente· autorizaci6n.

       9.      If Is my Jntentian that a photocopy will     be as valid as thiS             s.    Manlflesto que una fotooopia lendra el mismo 1,ralor que su
               ortgin~L                                                                           copla origlnaf.

       10. This authorization shall b& valid for one yaar from the dat$                     10. La pret.ente atttorizaef6n t.endrii valkiet por ~ -pli':112.0 de un
            of my siQttilh.rre.                                                                   afio a partlr de la fecha dlf mi firrna.

               Pa

                                                           p to patient J Si no e$ la f1rma del paclente, indicar re1aci6n con el


               WtneS$ sign




    CT,tCJLJN(J(),,o).CCB/G61:Jf l3




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     Nov. 13. 2015 1t:30AM                                                                                                                             No,   1797        P. 1/1



       M!.!JS.moutb Coup.ty                     Authorization for Release of Information
       M••.,.olliiAdJ!ll (!,/CCI}
       ] )t)a.Jb'wt)T}t 1'(),f.Uf
       l'reeho/11, NJ 07728
                                                      AU'WlUZAClOi< r Ml.A OIV'ffi'..All.lNli'Ol'IMAC!ON                                                     ACCS
                                                                                                                                                             ·coRRECT CARE
                                                                                                                                                             80LUT           (>Nil
       731-86~-5665 "'1 ~6Sl Fa, 1!:1-666,,J669
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                               DONELL                                                                                  U./2511915                    1111312015



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             retacion»OOa con io ciue &iec de!al~ a o:mtirn.Ja¢!6!l (por i'iivor, m21rq~ Ja opcl6n corro~v):

                     □ "' remoinlng R:ieorr;I~, Olroo tt!'gi:,Vo-1 fffttnld              J\ Rriedfy , Eape;dficaT                {2s--~,£t·,                 re:£ u   Its
                     D ~ental health trec.lm!nt l'fratam~nlo de aalud men~ ~                                                     •
                     o Chttml«,/ dw-,nc1eni::,r tfQJi,lf1$1f J 'rt~tamlento d" drOQadted6n o e!Caho!!sm-0
                     □ H1\f or AlOS related t<,Gt~ and ffl\mCl:l'lt/Trt11lcflllenlt> tr prwbH de SIOA n V1H

      2          Pu'?Olile for disd®llm (1h15' \l'ne- must be o::impLete<l) I Prop6:slto de la dMJlgaelOJ'I {U <lobQ c.m'lp!.ot;ir QS.\Q ro7l96n): _ _ __

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             b~ prow;ing wrli'ti111 (ID~. Q)(Cllpt ID i:he .IOOJVlt lhai re/~i-1i6   or                     cuak:Juieir rnori-wnlo sh,mpre ,q~ noti~u~ ml d~dmort por
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      5,.    I unde:t·Allll'td that tmdcr Fed~I Lew (42CFR Part 2.) f~rd~                                   da Noon;,tl'w Fea.eml ... PW 2) lei reg~lros rtt\it:i~:s.
             f6111llng \Q tn:JJlrni,,rtt (ot cheltlf.c:al dQponrJoni:y e:irw:11,1: ~
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             without my irpprovaJ othor th~ H 1.1utbo~ bY ~t"'te erid                                       t~p10-ra ®
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      7.     t ut!dersl~n4 that I wm l'QIC'l!VQ ~lment. e:~n If 1 refuse oo                          7.     Cornprend(r que Mcibirt tral11mi-4:n1o /nduso .si me nl&go- ,1
             ptOVMfe appr0Vftl1 bUf ISlSCI undtt?lf4nd thi!l refualr111 t<1                                 i:n.argar fl'll ~acf6n~ Pe!lro, .a&lmi11mo cotnpr-enclo que
             authoxi:te !l'J-fotmaliof'I m~ i:ll'fett lhfl= nann. of th& trlD-tmtnl                         toh\l~ J e-vtorf::tilr ~ drvLA{r,l..a'Dn d& mf lt1t4nl'Jacldn pr.tedEJ
             proYJ('.fe\f_                                                                                  aretlar ia n.aturn!cu tftil tteh1m1tn10 (II.le se me ptQpordone..

      a.     I    eQri!J!   'lo hold harn'lkl~ 5U pe~of'IIJ. e.cifn9 vpori lli/5                     6.     A°:fID e>.imir do: rcaporuu,bllldad 11 tadas le.s l)e:J'&tln11s !lU!
             .;,1.nhcrl.ut!tm Ir! gobd 1~Jth.                                                               llciuen. con b\.len1111& be:lo bt present& auta~dori-

      9.     fl 1$ my Jnl$1'!110fl that 4 photocopy wtll be       ~si   11alid as. this              ~.     Manffl~to <IU. vna fotoeopio l\,ndri e.l mklrno ~1;1r qvo eu
             orli,mBI,                                                                                      CC;1pie origir,at.

      111. Thia eufuortUJ:ioo !lfflt.(I be va.ild for one :rear frQCJ1 -ths d'-t,e                   1-D. ~     pt1U1ilf/ltl'   aub)tlztitJ611 iti'ldr! vaNdu po,. •I phn:c dt un
            bl my itlqnafilra.                                                                              .atio a Pil,rtir d.- 9ft fQ,~h• ~, ini ilmt;i.
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                                                            pto paief\lf Si nc .f:S fa fITT¥1a d~{ pscttnte, met                rrelacl6n cOM el




                                                                                                                                                        MCCI MED RECORDS 478
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                                                   Menml H""ltli Services
                                               Medication Consent Fonn
                                                       Anti-dep~

                                                                                                              ACCS
                                                                                                               COUECT CAl\E
     .'                                                                                                        6Q.J.UTIOH6


   Ift~r:m';;;.f°;,NPA                          ,nm.re M,nbar

      I.
      agree lo treatment with lhe iollowing modica!ions in the dosage recommended to me by !he psycttiatric provider:

     ( ) Trazodone                    .                 ( ) Welloutnn
     ( ) Tricycflo Anlidepressan! (TCA)                 ( ) Mirlazapine
     ~SRI          ·7 ., ; G,..                         ( ) SNRI (Effex□r, Cymba'""" Pris!iq)
     /)Other     L.f//::;?'[[
      I have been made awane that the foOowlng ar,, benefits thal may occur through taking these medication.:

              Dec:reas:00 symproms of depress'ton (depressed mood, arooety, '1nsomni:a, excess guilt, worthlessness,
              '"."' ene,m.,. agi!allon, poor concenb-afion), and/or symptoms of an,:ie!y.

     1have beer, mede e,ware that possible side effects of laking !h..e medications may be:

     ( ) AJI meds below        prtapism (pri/lpism ls a persistent and painful erael:ion (hard penis) that Iasis more than 4
                               hours). This is a ram but serious sexual side effect that ff not treated Immediately can
                               lead to scamng and permanent er,,c;;ie !lysfunc6on (loss of s&XUal funcBon). Alert
                               medical siaff hnmedlate!y ff you experience these symptoms

     ( ). All moos below,     maniahiyporrrania (axcassive energy). sedation, nausealvomlting, impaira<I cognttive and
                              motorfunc!ioning (racing thoughts, fatigue), sexual dysfunction 0ow sexual drive) anxiety,
                              wfthdrawa/ syoorome, aslherila (Jos.,, of energy), increase in suicidal Ideation

     ( ) Trazoclone            di:z:zlne.s:s., Rausea1 nasaI congestion
     () TCA                    dry moU1h, conslipafion, blurred vision, olfficuJty urinating, cardiac conduction defects,
                               hypo/hypertension ~ow/high l>lood pressure), weight gain, sweating
    'y<(ssRJ                 , nausea:, dianhe.a, headaches1 arode!y, insomnia, fatigue. tremors, akathisia
                               (restlessness)
     l) SNRI                   nausea, headaches, sweating 1 fnsomnia, hypertension (not Cymbalta}
     ( ) We/lbutrin            headat:hes, nausea, anxiety, ffisDtnnia~ seizures
     ( ) Mir\a:Zapine          dry mooth, constipation, sedation, neutropenia, weigh1 galn

     ( )

     Concurreut use af qt/rer medlatfans tni!I-Y lm:rease the risk of ptia-pism, in~vding typical antipsycbolics;
     and cfozapine~ iisp&ridoner o!am:ap;ne,. aripripnnole:.,. quetfupine, tem~o.s.Jn, faf11$uJosfn., a~~fn,.
     pr.rzosln. /Jydralazine, baspirone, frydroxYZ,ii?e.,. heparinr acer,ocumoro~ warfarin, tadalafi),. sildena:fil.

     f vo!~nf:'lrily agree to take the modlcaffon(s) listed above es prescribe<i by the psychiatric provider. I understand
     that I may choose to withdraw this penmssion in the Mure at my discretion. I have had an opportunity to ask any .
     questions, and I am sa!isfied with the explanations. AJJ 111• side-eflec!s listed above have been explained to me,
     and I undermndthe ks and benefits of taking this medication.

                                        7!)t5
     ;:-:-::,c;-:===-tt;;,;<=:c-::--7' Date
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                                                                   Pa ent's$igne\l.Jre                      ~
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    Monmouth County
    Monmouth AdU-lt {MCCJJ                                      Treatment Plan
    1 wate.nror/fs road
    FreehoJd, NJO'l728
    Petient Nsme                      Patient. Nwnber            BcaAfng Number   BirthDele           D;,Je Of Sel'lr'IC&
    OONELL FREEMAN                    2$184                      3'27'9'258       i2/25J1976           12712015


       @) Initial Treatment Plan O Addendum to existing Treatment Plan

    Patient Problems:
              ··--·~------···
    ! Obse/1/ed
                                -----------------------------------
    / Date             Category Type                          Problem                  Confimied By
                                    PSYCH: Substance Al h /Ab
    ii 06-JO-2015      A
                           cue
                                I
                                    Abuse              coo use
    !06-30-2015Chronic              RESP: Asthma     Asthma Nol O/he11Wse Specified
    1 _30_2015 Acute                PSYCH:           Unspecified Ma1or Depression, Janice Bultler
    106
     .. _ _                         Depression       Recurrent Episode                  _ _ _ _ _ _ __

     Medieal Condition to be addressed:
      Astltma
     Diagnostic Needs:
      pk flow
     Treatment Goals:

       L No exarbation of asthma
                                                                                       D   Check fOre-ddit,'on&I goel &ntty


     Intervention:

       Goal: No exar/Jation of asthma
       Service Modafity (Nurse, Social Worker, Etc) and Process:
                educate smoking cessation be aware and avoid triggers
           Anticipated Date for Goar attainment: 10/2712015

     Educational Interventions:

       Service Modanty (Nurse, Social Worker, Etc) and Process:
                educate smoking cessation be aware and avoid triggers
           Anticlpated Date for Goal attainment 10/27/2015


     Review Date for Treatment Plan,                      10/27/2015
     Follow Up Appointment                                90days




     E-SigneU by Catherine Jordan n 07127/2015 12:55 PM EST                                                           Pagel ofl




                                                                                                       MCCI MED RECORDS 480
